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                  Nos. 21-1251, 21-1252 & 21-1253

      In the United States Court of Appeals
       for the District of Columbia Circuit
        HEATING, AIR-CONDITIONING, & REFRIGERATION
            DISTRIBUTORS INTERNATIONAL, et al.,
                         Petitioners,
                                       v.
        U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,
                        Respondents.

            On Petition for Review of Final Agency Action of the
             United States Environmental Protection Agency
                   86 Fed. Reg. 55,116 (October 5, 2021)

                            JOINT APPENDIX
                               VOLUME I

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       New Kroll findings reveal how illegal imports of HFCs continue to enter EU
    Brussels, 15 April 2020 – New findings from corporate investigations firm Kroll provide evidence on
    how large quantities of illegal imports of HFCs (hydrofluorocarbon) gases are still entering the EU
    market, despite improvement in enforcement activities in 2019. Kroll’s investigation identifies various
    means in which the illegal gases are entering the EU, shedding light on the enormity of the problem.

    “The latest findings from Kroll reveal the complexity of the problem. The numerous ways HFCs are
    crossing European borders is truly concerning and shows this problem requires a concerted approach,”
    said Mark Vergnano, President and CEO of The Chemours Company, member of the European
    FluoroCarbons Technical Committee (EFCTC).

    Through an investigative study, commissioned by the EFCTC, Kroll has followed up on 228 reports of
    illegal activity between March and December 2019. Hundreds of shipments, many from China, were
    identified. This intelligence was shared with enforcement agencies in a dozen member states,
    resulting in increased enforcement activity, evident in recent seizures in Bulgaria and Italy. Alarmingly,
    most reports are related to single-use canisters (illegal on the EU market). Many of these products
    were sold on internet market platforms, such as eBay, OLX, and MarktPlaats. 2019 saw 444 requested
    takedowns by Kroll from 15 market platforms.

    Kroll reveals shipments arrive through various ways including misdirected transhipments, quota abuse,
    open smuggling, and counterfeit products. Combined, Kroll has been able to build evidence of a total
    of at least 3,000 tonnes of HFCs. Extrapolated data indicates that this could be equivalent to as much
    as 4.7 million tonnes of CO2 equivalent, or as much as driving more than 3.5 million new cars for one
    year. As investigations continue, this may prove to be just the tip of the iceberg. Large-scale illegal
    imports not only hamper the EU’s climate goals, but also fund other illegal activities and reduces
    national tax revenue from legal alternatives.

    “However, the new findings do show that efforts to stop illegal imports are starting to have an impact.
    The 228 reports on the Action Line from across Europe have enabled us to track where some of the
    shipments are coming from, where they are going, and how they’re transported,” Mark Vergnano
    added. “I hope these measures will continue to have an impact.”

    The EFCTC Action Line for anonymous reporting of illegal F-gas products and illegal F-gas trade is
    available at: https://efctc.integrityline.org/index.php




    EFCTC
    Rue Belliard 40 b.15 B-1040 Brussels Belgium
    Tel. 32.2.436.93.00 www.fluorocarbons.org




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      www.fluorocarbons.org

      About EFCTC
      The European FluoroCarbons Technical
      Committee is a sector group of the European
      Chemical Industry Council (Cefic) and is
      represented by the companies Arkema,
      Chemours, Daikin Chemical, Honeywell and Koura.
      Its main objectives are to provide up to date
      information about applications, safety, health and
      environmental effects for HFCs
      (hydrofluorocarbons), HFOs (hydrofluoro-olefins),
      and the relevant European and international
      legislation.




    EFCTC
    Rue Belliard 40 b.15 B-1040 Brussels Belgium
    Tel. 32.2.436.93.00 www.fluorocarbons.org




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                                Doors wide open
                                Europe’s flourishing illegal trade in
                                hydrofluorocarbons (HFCs)

                                April 2019




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            the cooling sector.                      systems.

            2                                                                                                  Environmental Investigation Agency                  Doors wide open                                                                                                               3



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                Summary
                Hydrofluorocarbons (HFCs) were introduced      baseline of 37% in 2018 and 45% in 2021. In       Customs data for 2018 demonstrates that       to determine whether or not HFC
                as replacement chemicals for Ozone-            2017, in anticipation of the 2018 supply cut,     a large number of EU member states            shipments are within quota and a               EIA’s analysis
                Depleting Substances (ODS), which are being    HFC prices skyrocketed.4                          significantly increased HFC imports,          number of loopholes in the system allow        of European
                phased out by the Montreal Protocol due to                                                       despite the major HFC supply cut of 37%.      unscrupulous traders to reap quick profits,
                their impact on the ozone layer.               As early as 2016, and despite huge                EIA’s analysis of European customs data       exploiting a demand for cheap HFCs with        customs data
                                                               stockpiling of HFCs in 2014 before the F-gas
                Although HFCs do not deplete the ozone         Regulation came into effect, reports of illegal
                                                                                                                 indicates that bulk HFC imports in 2018       little risk of punitive measures.              indicates
More than 80%   layer, they are potent greenhouse gases,       (non-quota) HFCs in European markets
                                                                                                                 were too high for compliance with the 2018
                                                                                                                                                               Illegal trade of HFCs undermines the F-gas     that bulk HFC
                                                                                                                 quota. If EU-based HFC production and
of companies    with global warming potentials (GWP)           began to emerge. Major HFC producer               equipment authorisations are assumed          Regulation, results in additional HFC          imports in 2018
                of the commonly used HFCs ranging              Honeywell claimed that 10 million tonnes                                                        emissions that fuel global warming and
surveyed were   between 675 and 3,922.1 In the past two        CO2e of HFCs had been illegally imported in
                                                                                                                 to be at 2017 levels, the amount of HFCs
                                                                                                                                                               significantly reduces government income        were too high
                                                                                                                 placed on the market in 2018 would be
aware of or     decades, global emissions of HFCs have         2015, equivalent to more than 5% of the total     117.5 MtCO2e, some 16.3 MtCO2e above the      and the profits of legitimate businesses.      for compliance
                soared and, in 2015, baseline emissions        allocation.5 Such reports have since grown
suspected       were predicted to reach 4.0-5.3 billion        both in frequency and severity, with 2018
                                                                                                                 available quota of 101.2 MtCO2e. This could   Continued availability of HFCs outside the
                                                                                                                                                               HFC phase-down schedule will hinder the        with the 2018
                                                                                                                 be characterised as open smuggling of
illegal HFC     tonnes of carbon-dioxide equivalence per       witnessing a deluge of reports of illegal HFC     HFCs (i.e. imports openly shipped through     uptake of climate-friendly technologies and    quota.
                year (GtCO2e/year) by 2050.2                   use and trade throughout the EU.6
trade and 72%                                                                                                    customs without quota). In addition,          ultimately threaten the success of the F-gas
                                                                                                                 there is clearly some level of cross-border   Regulation and the EU’s climate goals.
had seen or     Furthermore, as relatively short-lived         In late 2018, EIA conducted two surveys,
                                                                                                                 smuggling of HFCs which is under the          EIA is concerned that the illegal trade,
                climate pollutants, their global-warming       the first to determine the status of EU
been offered    impact, typically measured over a 100-         member state efforts to comply with the           radar of customs authorities. There           along with stockpiling of HFCs in 2017, has
                                                                                                                 are significant discrepancies between         produced a false sense of security in terms
refrigerants    year time horizon, actually impacts over       F-gas Regulation and the second to obtain
                                                                                                                 Chinese export and European import data       of availability of HFCs to meet the phase-
                just a few decades. Given the dire need for    data and views on the illegal trade directly
in illegal      urgent emission reductions, cutting HFC        from key industry stakeholders.                   that could indicate fraudulent import         down steps from 2018 onwards. Future
                                                                                                                                                               quota cuts will be difficult to meet unless
disposable      use is one of the most effective tools to
                                                               This report summarises information from
                                                                                                                 declarations.
                                                                                                                                                               the transition to low-GWP alternatives is
                help prevent runaway climate change.
cylinders.                                                     these surveys and presents an analysis            EIA’s customs data analysis also indicates    accelerated.
                The need to address HFCs has long              of customs and HFC Registry data, which           an additional 14.8 MtCO2e were imported
                                                                                                                 in 2017, over and above that reported by      There is an urgent need for all EU member
                been recognised by the European Union          supports claims from prominent industry                                                         states and the European Commission
                (EU). Initially, EU legislation focused on     stakeholders that large quantities of illegal     companies to the HFC Registry under
                                                                                                                 the F-gas Regulation. The significant         to immediately improve enforcement
                addressing HFC leakage from cooling            HFC refrigerants are entering the EU market.                                                    of the F-gas Regulation and implement
                equipment. In 2014, the EU significantly                                                         discrepancies between EU customs data
                                                               Reports from industry indicate that               and HFC Registry data need to be examined     additional measures to accelerate the
                strengthened the old F-gas Regulation,                                                                                                         transition to HFC alternatives.
                including an economy-wide phase-down in        large-scale illegal HFC trade and use             further at company, country and EU level.
                HFC supply and a number of bans on HFC         is occurring in an absence of effective
                                                               enforcement by member states. More than           Given the availability of cheap HFCs
                use in certain equipment and products.3                                                          outside the EU, it is not surprising that
                The new F-gas Regulation aims to cut           80% of companies surveyed were aware of
                                                               or suspected illegal HFC trade and 72% had        much of the illegal trade is reported
                HFC use by 79% by 2030 over average use                                                          to be occurring at EU border countries.
                during the 2009-12 period. Starting in 2015,   seen or been offered refrigerants in illegal
                                                               disposable cylinders.                             The current HFC reporting system
                it stipulates a step-wise decrease in HFC                                                        does not allow customs authorities
                supply, with major reductions from the
                                                                                                                                                                                                              Below: ISO tank in transit




4                                                                                                                                                                                                                                   5



                                            JA6
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                Hydrofluorocarbons (HFCs) were introduced      baseline of 37% in 2018 and 45% in 2021. In       Customs data for 2018 demonstrates that       to determine whether or not HFC
                as replacement chemicals for Ozone-            2017, in anticipation of the 2018 supply cut,     a large number of EU member states            shipments are within quota and a               EIA’s analysis
                Depleting Substances (ODS), which are being    HFC prices skyrocketed.4                          significantly increased HFC imports,          number of loopholes in the system allow        of European
                phased out by the Montreal Protocol due to                                                       despite the major HFC supply cut of 37%.      unscrupulous traders to reap quick profits,
                their impact on the ozone layer.               As early as 2016, and despite huge                EIA’s analysis of European customs data       exploiting a demand for cheap HFCs with        customs data
                                                               stockpiling of HFCs in 2014 before the F-gas
                Although HFCs do not deplete the ozone         Regulation came into effect, reports of illegal
                                                                                                                 indicates that bulk HFC imports in 2018       little risk of punitive measures.              indicates
More than 80%   layer, they are potent greenhouse gases,       (non-quota) HFCs in European markets
                                                                                                                 were too high for compliance with the 2018
                                                                                                                                                               Illegal trade of HFCs undermines the F-gas     that bulk HFC
                                                                                                                 quota. If EU-based HFC production and
of companies    with global warming potentials (GWP)           began to emerge. Major HFC producer               equipment authorisations are assumed          Regulation, results in additional HFC          imports in 2018
                of the commonly used HFCs ranging              Honeywell claimed that 10 million tonnes                                                        emissions that fuel global warming and
surveyed were   between 675 and 3,922.1 In the past two        CO2e of HFCs had been illegally imported in
                                                                                                                 to be at 2017 levels, the amount of HFCs
                                                                                                                                                               significantly reduces government income        were too high
                                                                                                                 placed on the market in 2018 would be
aware of or     decades, global emissions of HFCs have         2015, equivalent to more than 5% of the total     117.5 MtCO2e, some 16.3 MtCO2e above the      and the profits of legitimate businesses.      for compliance
                soared and, in 2015, baseline emissions        allocation.5 Such reports have since grown
suspected       were predicted to reach 4.0-5.3 billion        both in frequency and severity, with 2018
                                                                                                                 available quota of 101.2 MtCO2e. This could   Continued availability of HFCs outside the
                                                                                                                                                               HFC phase-down schedule will hinder the        with the 2018
                                                                                                                 be characterised as open smuggling of
illegal HFC     tonnes of carbon-dioxide equivalence per       witnessing a deluge of reports of illegal HFC     HFCs (i.e. imports openly shipped through     uptake of climate-friendly technologies and    quota.
                year (GtCO2e/year) by 2050.2                   use and trade throughout the EU.6
trade and 72%                                                                                                    customs without quota). In addition,          ultimately threaten the success of the F-gas
                                                                                                                 there is clearly some level of cross-border   Regulation and the EU’s climate goals.
had seen or     Furthermore, as relatively short-lived         In late 2018, EIA conducted two surveys,
                                                                                                                 smuggling of HFCs which is under the          EIA is concerned that the illegal trade,
                climate pollutants, their global-warming       the first to determine the status of EU
been offered    impact, typically measured over a 100-         member state efforts to comply with the           radar of customs authorities. There           along with stockpiling of HFCs in 2017, has
                                                                                                                 are significant discrepancies between         produced a false sense of security in terms
refrigerants    year time horizon, actually impacts over       F-gas Regulation and the second to obtain
                                                                                                                 Chinese export and European import data       of availability of HFCs to meet the phase-
                just a few decades. Given the dire need for    data and views on the illegal trade directly
in illegal      urgent emission reductions, cutting HFC        from key industry stakeholders.                   that could indicate fraudulent import         down steps from 2018 onwards. Future
                                                                                                                                                               quota cuts will be difficult to meet unless
disposable      use is one of the most effective tools to
                                                               This report summarises information from
                                                                                                                 declarations.
                                                                                                                                                               the transition to low-GWP alternatives is
                help prevent runaway climate change.
cylinders.                                                     these surveys and presents an analysis            EIA’s customs data analysis also indicates    accelerated.
                The need to address HFCs has long              of customs and HFC Registry data, which           an additional 14.8 MtCO2e were imported
                                                                                                                 in 2017, over and above that reported by      There is an urgent need for all EU member
                been recognised by the European Union          supports claims from prominent industry                                                         states and the European Commission
                (EU). Initially, EU legislation focused on     stakeholders that large quantities of illegal     companies to the HFC Registry under
                                                                                                                 the F-gas Regulation. The significant         to immediately improve enforcement
                addressing HFC leakage from cooling            HFC refrigerants are entering the EU market.                                                    of the F-gas Regulation and implement
                equipment. In 2014, the EU significantly                                                         discrepancies between EU customs data
                                                               Reports from industry indicate that               and HFC Registry data need to be examined     additional measures to accelerate the
                strengthened the old F-gas Regulation,                                                                                                         transition to HFC alternatives.
                including an economy-wide phase-down in        large-scale illegal HFC trade and use             further at company, country and EU level.
                HFC supply and a number of bans on HFC         is occurring in an absence of effective
                                                               enforcement by member states. More than           Given the availability of cheap HFCs
                use in certain equipment and products.3                                                          outside the EU, it is not surprising that
                The new F-gas Regulation aims to cut           80% of companies surveyed were aware of
                                                               or suspected illegal HFC trade and 72% had        much of the illegal trade is reported
                HFC use by 79% by 2030 over average use                                                          to be occurring at EU border countries.
                during the 2009-12 period. Starting in 2015,   seen or been offered refrigerants in illegal
                                                               disposable cylinders.                             The current HFC reporting system
                it stipulates a step-wise decrease in HFC                                                        does not allow customs authorities
                supply, with major reductions from the
                                                                                                                                                                                                              Below: ISO tank in transit




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                                                                                                                                                                         JA7
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HFC customs data analysis
EIA utilised HFC customs data from Europe (Eurostat)7             HFC-125, HFC-143a, HFC-152a, HFC-134a, HFC-1234yf,         Customs data for 2018 indicates significant over-                minus export plus EU production) added to issued
and China (CTI)8 to examine trade in bulk HFCs from               HFC-1234ze and other saturated and unsaturated             supply of HFCs to the European market                            authorisations for HFCs contained in imported
2016-18 and to compare EU-reported HFC imports                    fluorides. HS code 382478 covers mixtures containing                                                                        refrigeration, air-conditioning and heat pump equipment.
and exports to company reported HFC Registry data                 perfluorocarbons (PFCs) and HFCs (but not containing       European customs data shows that bulk9 HFC imports               Exemptions under Article 15(2) (e.g. HFCs used as
presented by the European Environment Agency (EEA).               CFCs or HCFCs). It includes HFC-507A, HFC-404A, HFC-       fell in 2018 compared to 2017 but increased compared             feedstock, for use in military equipment or metered
                                                                  410A and HFC-407C as well as other HFC and PFC blends.     to 2016 (See Figure 1). Taking the Global Warming                dose inhalers) are subtracted from the POM, which is all
The analysis is relatively complex due to the range of                                                                       Potential (GWP) of the HFCs based on the CN codes of the         calculated on a CO2e basis.11
codes used by the international Harmonised System (HS)            European trade data adds an additional two numbers         imports,10 EIA estimates that bulk HFC imports in 2018
and European Combined Nomenclature (CN) system. At                to each code, with distinct codes for some widely used     represented 119.4 MtCO2e, while exports represented 48.5         In 2017, HFC production of 49.6 MtCO2e and
the international level (including Chinese customs data),         HFCs and HFC blends. Therefore the data can more           MtCO2e. If the exports are subtracted from the imports, it       authorisations of 11.1 MtCO2e were reported. In addition,
six-digit HS codes 290339 and 382478 are used to cover            clearly define imports and exports of specific HFCs        can be estimated that 70.9 MtCO2e of HFCs were placed            the 2018 quota was reduced by 14.2 MtCO2e to account
all HFCs and some other chemicals. HS code 290339                 subject to the HFC phase-down, including on a CO2e basis   on the market from bulk trade (see Table 2).                     for exemptions.* If these values are used as a proxy for
covers fluorinated, brominated or iodinated derivatives           (see Table 1).                                                                                                              2018 data (which is not available), the estimated quota-
of acyclic hydrocarbons, including HFC-32, HFC-23,                                                                           The calculation for the amount placed on the market              relevant POM in 2018 would be 117.5 MtCO2e. This is
                                                                                                                             (POM) under the HFC phase-down is essentially                    some 16.3 MtCO2e above the 2018 available quota of 101.2
                                                                                                                             bulk HFCs physically placed on the market (import                MtCO2e.




                                                                                                                                                                                           EU28 Global HFC Imports
                                                                                                                                                                                        HFC imports into the EU from 2016-2018

                                                                                                                                                                                90000                                                                                 180
                                                                                                                                                                                80000                                                                                 160
                                                                                                           Blend
    CN CODE                              Chemical name                                  HFC                                                                                     70000                                                                                 140
                                                                                                        components
                                                                                                                                                                                60000                                                                                 120
    2903 39 21                           Difluoromethane                              HFC-32




                                                                                                                                                                                                                                                                              MtCO2 e
                                                                                                                                                                       Tonnes
                                                                                                                                                                                50000                                                                                 100
    2903 39 23                          Trifluoromethane                              HFC-23
                                                                                                                                                                                40000                                                                                 80
    2903 39 24                       Pentafluoroethane and                           HFC-125,                                                                                   30000                                                                                 60
                                      1,1,1-trifluoroethane                          HFC-143A                                                                                   20000                                                                                 40
    2903 39 25                          1,1-difluoroethane                           HFC-152a                                                                                   10000                                                                                 20
    2903 39 26                       1,1,1,2-tetrafluoroethane                       HFC-134a                                                                                       0                                                                                 0
                                                                                                                                                                                               2016                     2017                      2018
    2903 39 27                        Pentafluoropropanes,                        Incl. HFC-245fa,
                                      hexafluoropropanes                            HFC-236fa,                                                                                                                          Year
                                    and heptafluoropropanes                       HFC-236ea, HFC-
                                                                                        227ea
                                                                                                                                                                                                  TotalTonnes
                                                                                                                                                                                                  Total Tonnes                        Total  MtCO2e
                                                                                                                                                                                                                                      Total MtCO2
                                                                                                                                                                                                                                                 e
    2903 39 31                      2,3,3,3-tetrafluoropropene                      HFC-1234yf
    2903 39 35                      1,3,3,3-tetrafluoropropene                      HFC-1234ze                                                                            Figure 1: HFC imports into the EU from 2016-2018 according to European customs data

    2903 39 39                     Other unsaturated fluorides                      Other HFOs
                                                                                                                                                                                        Tonnes                                                      MtCO2e
    3824 78 10                Containing only 1,1,1-trifluoroethane                  HFC-507A        HFC-143a/HFC-125
                                    and pentafluoroethane                                                                                               Year           HFC               HFC              Imports                HFC                 HFC                Imports
                                                                                                                                                                     imports            exports            minus               imports              exports              minus
    3824 78 20               Containing only 1,1,1-trifluoroethane,                  HFC-404A        HFC-142a/HFC-125/                                                                                    Exports                                                       Exports
                        pentafluoroethane and 1,1,1,2-tetrafluoroethane                                  HFC-134a
                                                                                                                                                        2016          66,405             24,144               42,261             140.78              44.26                96.51
    3824 78 30                 Containing only difluoromethane                       HFC-410A         HFC-32/HFC-125
                                   and pentafluoroethane                                                                                                2017          80,440             24,321               56,119             166.58               47.91               118.68
                                                                                                                                                        2018          69,988            24,348               45,640              119.42              48.47                70.95
    3824 78 40                Containing only difluoromethane,                       HFC-407C        HFC-32/HFC-125/
                        pentafluoroethane and 1,1,1,2-tetrafluoroethane                                 HFC-134a                                                                   Table 2: 2016-18 import and export of HFCs according to European customs data

    3824 78 80           Containing unsaturated hydrofluorocarbons                 Incl. HFC-448,
                                                                                     HFC-450A
                                                                                                                                                                                           *based on the amount subtracted from the baseline in order to calculate the 2018 quota of

                                                                                                                                                                                           101.2 MtCO2e, as per Annex 5 of the F-Gas Regulation. Discussions with industry suggest that
Table 1: EU trade codes for key HFCs and HFC mixtures
                                                                                                                                                                                           exemptions may be as high as 17 MtCO2e, however there is no available data to confirm this.


6                                                                                                                                                                                                                                                                                         7



                                                                 JA8
HFC customs data analysis                                                                                                       USCA Case #21-1251             Document #1955329                            Filed: 07/15/2022                       Page 13 of 561

EIA utilised HFC customs data from Europe (Eurostat)7            HFC-125, HFC-143a, HFC-152a, HFC-134a, HFC-1234yf,         Customs data for 2018 indicates significant over-                minus export plus EU production) added to issued
and China (CTI)8 to examine trade in bulk HFCs from              HFC-1234ze and other saturated and unsaturated             supply of HFCs to the European market                            authorisations for HFCs contained in imported
2016-18 and to compare EU-reported HFC imports                   fluorides. HS code 382478 covers mixtures containing                                                                        refrigeration, air-conditioning and heat pump equipment.
and exports to company reported HFC Registry data                perfluorocarbons (PFCs) and HFCs (but not containing       European customs data shows that bulk9 HFC imports               Exemptions under Article 15(2) (e.g. HFCs used as
presented by the European Environment Agency (EEA).              CFCs or HCFCs). It includes HFC-507A, HFC-404A, HFC-       fell in 2018 compared to 2017 but increased compared             feedstock, for use in military equipment or metered
                                                                 410A and HFC-407C as well as other HFC and PFC blends.     to 2016 (See Figure 1). Taking the Global Warming                dose inhalers) are subtracted from the POM, which is all
The analysis is relatively complex due to the range of                                                                      Potential (GWP) of the HFCs based on the CN codes of the         calculated on a CO2e basis.11
codes used by the international Harmonised System (HS)           European trade data adds an additional two numbers         imports,10 EIA estimates that bulk HFC imports in 2018
and European Combined Nomenclature (CN) system. At               to each code, with distinct codes for some widely used     represented 119.4 MtCO2e, while exports represented 48.5         In 2017, HFC production of 49.6 MtCO2e and
the international level (including Chinese customs data),        HFCs and HFC blends. Therefore the data can more           MtCO2e. If the exports are subtracted from the imports, it       authorisations of 11.1 MtCO2e were reported. In addition,
six-digit HS codes 290339 and 382478 are used to cover           clearly define imports and exports of specific HFCs        can be estimated that 70.9 MtCO2e of HFCs were placed            the 2018 quota was reduced by 14.2 MtCO2e to account
all HFCs and some other chemicals. HS code 290339                subject to the HFC phase-down, including on a CO2e basis   on the market from bulk trade (see Table 2).                     for exemptions.* If these values are used as a proxy for
covers fluorinated, brominated or iodinated derivatives          (see Table 1).                                                                                                              2018 data (which is not available), the estimated quota-
of acyclic hydrocarbons, including HFC-32, HFC-23,                                                                          The calculation for the amount placed on the market              relevant POM in 2018 would be 117.5 MtCO2e. This is
                                                                                                                            (POM) under the HFC phase-down is essentially                    some 16.3 MtCO2e above the 2018 available quota of 101.2
                                                                                                                            bulk HFCs physically placed on the market (import                MtCO2e.




                                                                                                                                                                                          EU28 Global HFC Imports
                                                                                                                                                                                       HFC imports into the EU from 2016-2018

                                                                                                                                                                               90000                                                                                 180
                                                                                                                                                                               80000                                                                                 160
                                                                                                          Blend
    CN CODE                              Chemical name                                 HFC                                                                                     70000                                                                                 140
                                                                                                       components
                                                                                                                                                                               60000                                                                                 120
    2903 39 21                           Difluoromethane                             HFC-32




                                                                                                                                                                                                                                                                             MtCO2 e
                                                                                                                                                                      Tonnes
                                                                                                                                                                               50000                                                                                 100
    2903 39 23                          Trifluoromethane                             HFC-23
                                                                                                                                                                               40000                                                                                 80
    2903 39 24                       Pentafluoroethane and                          HFC-125,                                                                                   30000                                                                                 60
                                      1,1,1-trifluoroethane                         HFC-143A                                                                                   20000                                                                                 40
    2903 39 25                          1,1-difluoroethane                          HFC-152a                                                                                   10000                                                                                 20
    2903 39 26                       1,1,1,2-tetrafluoroethane                      HFC-134a                                                                                       0                                                                                 0
                                                                                                                                                                                              2016                     2017                      2018
    2903 39 27                        Pentafluoropropanes,                       Incl. HFC-245fa,
                                      hexafluoropropanes                           HFC-236fa,                                                                                                                          Year
                                    and heptafluoropropanes                      HFC-236ea, HFC-
                                                                                       227ea
                                                                                                                                                                                                 TotalTonnes
                                                                                                                                                                                                 Total Tonnes                         TotalMtCO
                                                                                                                                                                                                                                      Total MtCO2e
                                                                                                                                                                                                                                               2
                                                                                                                                                                                                                                                e
    2903 39 31                      2,3,3,3-tetrafluoropropene                     HFC-1234yf
    2903 39 35                      1,3,3,3-tetrafluoropropene                     HFC-1234ze                                                                            Figure 1: HFC imports into the EU from 2016-2018 according to European customs data

    2903 39 39                     Other unsaturated fluorides                     Other HFOs
                                                                                                                                                                                       Tonnes                                                      MtCO2e
    3824 78 10                Containing only 1,1,1-trifluoroethane                 HFC-507A        HFC-143a/HFC-125
                                    and pentafluoroethane                                                                                              Year           HFC               HFC              Imports                HFC                 HFC                Imports
                                                                                                                                                                    imports            exports            minus               imports              exports              minus
    3824 78 20               Containing only 1,1,1-trifluoroethane,                 HFC-404A        HFC-142a/HFC-125/                                                                                    Exports                                                       Exports
                        pentafluoroethane and 1,1,1,2-tetrafluoroethane                                 HFC-134a
                                                                                                                                                       2016          66,405             24,144               42,261             140.78              44.26                96.51
    3824 78 30                 Containing only difluoromethane                      HFC-410A         HFC-32/HFC-125
                                   and pentafluoroethane                                                                                               2017          80,440             24,321               56,119             166.58               47.91               118.68
                                                                                                                                                       2018          69,988            24,348               45,640              119.42              48.47                70.95
    3824 78 40                Containing only difluoromethane,                      HFC-407C        HFC-32/HFC-125/
                        pentafluoroethane and 1,1,1,2-tetrafluoroethane                                HFC-134a                                                                   Table 2: 2016-18 import and export of HFCs according to European customs data

    3824 78 80           Containing unsaturated hydrofluorocarbons                Incl. HFC-448,
                                                                                    HFC-450A
                                                                                                                                                                                          *based on the amount subtracted from the baseline in order to calculate the 2018 quota of

                                                                                                                                                                                          101.2 MtCO2e, as per Annex 5 of the F-Gas Regulation. Discussions with industry suggest that
Table 1: EU trade codes for key HFCs and HFC mixtures
                                                                                                                                                                                          exemptions may be as high as 17 MtCO2e, however there is no available data to confirm this.


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    HFC imports country by country                                                                      Austria Global HFC Imports                                                        Latvia Global HFC Imports                                                           Malta Global HFC Imports
                                                                                              600                                                    2.5                        800                                                      2.5                           150                                                    1.5
    The overall reduction in 2018 imports (See Figure 1)                                                                                                                                                                                 2
                                                                                              500                                                    2                          600
    is primarily due to a reduction in reported imports                                       400                                                                                                                                                                      100                                                    1




                                                                                                                                                                                                                                                  MtCO2 e
                                                                                                                                                                                                                                         1.5




                                                                                                                                                                       Tonnes




                                                                                                                                                                                                                                                                                                                                    MtCO2 e
                                                                                                                                                           MtCO 2 e
    to the Netherlands, the largest importing country                                                                                                1.5




                                                                                                                                                                                                                                                              Tonnes
                                                                                     Tonnes
                                                                                              300                                                                               400
    in the EU. There is, however, a worrying trend of                                                                                                1                                                                                   1
                                                                                              200                                                                                                                                                                       50                                                    0.5
                                                                                                                                                                                200
    significantly increased imports over 2016-18 in a                                         100                                                    0.5                                                                                 0.5
    number of countries that could indicate illegal trade                                       0                                                    0                                0                                                  0                               0                                                    0
    hotspots. For example, imports of HFCs in 2018 were                                                 2016               2017           2018                                            2016               2017               2018                                          2016               2017            2018
    more than 100% higher than 2016 imports in Austria,                                                                    Year                                                                              Year                                                                                Year
    Belgium, Denmark, Greece, Ireland, Latvia, Malta,
    Poland, Portugal, Romania and Sweden (See Figure 2).                                                       Total Tonnes       TotalMtCO
                                                                                                                                  Total MtCO2e
                                                                                                                                           2
                                                                                                                                            e                                                    Total Tonnes
                                                                                                                                                                                                 Total Tonnes           Total MtCO2e
                                                                                                                                                                                                                        Total MtCO2
                                                                                                                                                                                                                                   e                                                  Total Tonnes
                                                                                                                                                                                                                                                                                      Total Tonnes       Total MtCO
                                                                                                                                                                                                                                                                                                         Total MtCO2e
                                                                                                                                                                                                                                                                                                                   2
                                                                                                                                                                                                                                                                                                                    e




                      Belgium Global HFC Imports                                                       Denmark Global HFC Imports                                                         Poland Global HFC imports                                                          Portugal Global HFC Imports
               6000                                                10                         40                                                 0.05                           4000                                                          8                        250                                                0.2
               5000                                                8                                                                             0.04                           3000                                                          6                        200
                                                                                              30                                                                                                                                                                                                                          0.15
               4000




                                                                                                                                                                                                                                                   MtCO 2 e




                                                                                                                                                                                                                                                                                                                                    MtCO2 e
                                                                                                                                                                       Tonnes
                                                                                                                                                                                                                                                                       150
                                                                        MtCO2 e




                                                                                                                                                                                                                                                              Tonnes
                                                                                                                                                            MtCO 2 e
                                                                   6                                                                             0.03
      Tonnes




                                                                                     Tonnes




               3000                                                                           20                                                                                2000                                                          4                                                                           0.1
                                                                   4                                                                             0.02                                                                                                                  100
               2000
                                                                                              10                                                                                1000                                                          2                                                                           0.05
               1000                                                2                                                                             0.01                                                                                                                   50
                  0                                                0                           0                                                 0                                    0                                                       0                          0                                                0
                       2016                 2017            2018                                       2016               2017           2018                                              2016                  2017             2018                                        2016              2017            2018
                                            Year                                                                          Year                                                                                   Year                                                                           Year

                             Total Tonnes
                             Total Tonnes          TotalMtCO
                                                   Total MtCO2e
                                                            2
                                                             e                                                  Total Tonnes
                                                                                                                Total Tonnes      Total
                                                                                                                                  Total MtCO2e
                                                                                                                                        MtCO2e                                                    Total Tonnes
                                                                                                                                                                                                  Total Tonnes          Total
                                                                                                                                                                                                                        Total MtCO2e
                                                                                                                                                                                                                              MtCO2e                                                 Total  Tonnes
                                                                                                                                                                                                                                                                                     Total Tonnes         Total
                                                                                                                                                                                                                                                                                                        Total   MtCO2e
                                                                                                                                                                                                                                                                                                              MtCO2
                                                                                                                                                                                                                                                                                                                   e




                       Greece Global HFC Imports                                                       Ireland Global HFC Imports                                                         Romania Global HFC Imports                                                         Sweden Global HFC Imports
               800                                                 1.5                        50                                                 0.2                            600                                                          1.2                       300                                                    0.6
                                                                                                                                                                                500                                                          1                         250                                                    0.5
                                                                                              40                                                 0.15
               600                                                                                                                                                                                                                                                     200                                                    0.4
                                                                   1                                                                                                            400                                                          0.8




                                                                                                                                                                                                                                                                                                                                    MtCO2 e
                                                                                                                                                                                                                                                              Tonnes
                                                                                                                                                                                                                                                   MtCO 2 e
                                                                                              30                                                           MtCO2 e
                                                                          MtCO 2 e




                                                                                     Tonnes




                                                                                                                                                                       Tonnes
      Tonnes




               400                                                                                                                               0.1                            300                                                          0.6                       150                                                    0.3
                                                                                              20                                                                                                                                                                       100                                                    0.2
                                                                   0.5                                                                                                          200                                                          0.4
               200                                                                            10                                                 0.05                                                                                                                   50                                                    0.1
                                                                                                                                                                                100                                                          0.2
                                                                                               0                                                 0                                0                                                          0                           0                                                    0
                 0                                                 0
                                                                                                       2016              2017            2018                                             2016               2017                 2018                                        2016               2017            2018
                      2016                  2017            2018
                                                                                                                         Year                                                                                Year                                                                                Year
                                            Year

                                                                                                               TotalTonnes
                                                                                                               Total Tonnes       Total MtCO2e
                                                                                                                                  Total MtCO e                                                    Total
                                                                                                                                                                                                  Total Tonnes
                                                                                                                                                                                                        Tonnes          Total
                                                                                                                                                                                                                        Total MtCO2e
                                                                                                                                                                                                                              MtCO2e                                                 Total Tonnes
                                                                                                                                                                                                                                                                                     Total Tonnes          Total
                                                                                                                                                                                                                                                                                                        Total    MtCO2e
                                                                                                                                                                                                                                                                                                              MtCO e
                              Total Tonnes
                              Total Tonnes         Total MtCO2e
                                                   Total MtCO2e                                                                             2                                                                                                                                                                     2




    Figure 2: HFC imports from 2016-18 according to European customs data




8                                                                                                                                                                                                                                                                                                                                             9



                                                                        JA10
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    HFC imports country by country                                                                   Austria Global HFC Imports                                                         Latvia Global HFC Imports                                                             Malta Global HFC Imports
                                                                                              600                                                 2.5                          800                                                     2.5                             150                                                    1.5
    The overall reduction in 2018 imports (See Figure 1)                                                                                                                                                                               2
                                                                                              500                                                 2                            600
    is primarily due to a reduction in reported imports                                       400                                                                                                                                                                      100                                                    1




                                                                                                                                                                                                                                                MtCO2 e
                                                                                                                                                                                                                                       1.5




                                                                                                                                                                      Tonnes




                                                                                                                                                                                                                                                                                                                                    MtCO2 e
                                                                                                                                                        MtCO 2 e
    to the Netherlands, the largest importing country                                                                                             1.5




                                                                                                                                                                                                                                                              Tonnes
                                                                                     Tonnes
                                                                                              300                                                                              400
    in the EU. There is, however, a worrying trend of                                                                                             1                                                                                    1
                                                                                              200                                                                                                                                                                       50                                                    0.5
                                                                                                                                                                               200
    significantly increased imports over 2016-18 in a                                         100                                                 0.5                                                                                  0.5
    number of countries that could indicate illegal trade                                       0                                                 0                                 0                                                  0                                 0                                                    0
    hotspots. For example, imports of HFCs in 2018 were                                              2016               2017           2018                                             2016               2017               2018                                            2016               2017            2018
    more than 100% higher than 2016 imports in Austria,                                                                 Year                                                                               Year                                                                                  Year
    Belgium, Denmark, Greece, Ireland, Latvia, Malta,
    Poland, Portugal, Romania and Sweden (See Figure 2).                                                    Total Tonnes       TotalMtCO
                                                                                                                               Total MtCO2e
                                                                                                                                        2
                                                                                                                                         e                                                     Total Tonnes
                                                                                                                                                                                               Total Tonnes           Total MtCO2e
                                                                                                                                                                                                                      Total MtCO2
                                                                                                                                                                                                                                 e                                                    Total Tonnes
                                                                                                                                                                                                                                                                                      Total Tonnes       Total MtCO
                                                                                                                                                                                                                                                                                                         Total MtCO2e
                                                                                                                                                                                                                                                                                                                   2
                                                                                                                                                                                                                                                                                                                    e




                      Belgium Global HFC Imports                                                    Denmark Global HFC Imports                                                          Poland Global HFC imports                                                            Portugal Global HFC Imports
               6000                                                10                         40                                              0.05                             4000                                                         8                          250                                                0.2
               5000                                                8                                                                          0.04                             3000                                                         6                          200
                                                                                              30                                                                                                                                                                                                                          0.15
               4000




                                                                                                                                                                                                                                                 MtCO 2 e




                                                                                                                                                                                                                                                                                                                                    MtCO2 e
                                                                                                                                                                     Tonnes
                                                                                                                                                                                                                                                                       150
                                                                        MtCO2 e




                                                                                                                                                                                                                                                              Tonnes
                                                                                                                                                         MtCO 2 e
                                                                   6                                                                          0.03
      Tonnes




                                                                                     Tonnes
               3000                                                                           20                                                                               2000                                                         4                                                                             0.1
                                                                   4                                                                          0.02                                                                                                                     100
               2000
                                                                                              10                                                                               1000                                                         2                                                                             0.05
               1000                                                2                                                                          0.01                                                                                                                      50
                  0                                                0                           0                                              0                                     0                                                       0                            0                                                0
                       2016                 2017            2018                                    2016               2017           2018                                               2016                  2017             2018                                          2016              2017            2018
                                            Year                                                                       Year                                                                                    Year                                                                             Year

                             Total Tonnes
                             Total Tonnes          TotalMtCO
                                                   Total MtCO2e
                                                            2
                                                             e                                               Total Tonnes
                                                                                                             Total Tonnes      Total
                                                                                                                               Total MtCO2e
                                                                                                                                     MtCO2e                                                     Total Tonnes
                                                                                                                                                                                                Total Tonnes          Total
                                                                                                                                                                                                                      Total MtCO2e
                                                                                                                                                                                                                            MtCO2e                                                   Total  Tonnes
                                                                                                                                                                                                                                                                                     Total Tonnes         Total
                                                                                                                                                                                                                                                                                                        Total   MtCO2e
                                                                                                                                                                                                                                                                                                              MtCO2
                                                                                                                                                                                                                                                                                                                   e




                       Greece Global HFC Imports                                                    Ireland Global HFC Imports                                                          Romania Global HFC Imports                                                           Sweden Global HFC Imports
               800                                                 1.5                        50                                              0.2                             600                                                          1.2                         300                                                    0.6
                                                                                                                                                                              500                                                          1                           250                                                    0.5
                                                                                              40                                              0.15
               600                                                                                                                                                                                                                                                     200                                                    0.4
                                                                   1                                                                                                          400                                                          0.8




                                                                                                                                                                                                                                                                                                                                    MtCO2 e
                                                                                                                                                                                                                                                              Tonnes
                                                                                                                                                                                                                                                 MtCO 2 e
                                                                                                                                                        MtCO2 e
                                                                                              30
                                                                          MtCO 2 e




                                                                                     Tonnes




                                                                                                                                                                     Tonnes
      Tonnes




               400                                                                                                                            0.1                             300                                                          0.6                         150                                                    0.3
                                                                                              20                                                                                                                                                                       100                                                    0.2
                                                                   0.5                                                                                                        200                                                          0.4
               200                                                                            10                                              0.05                                                                                                                      50                                                    0.1
                                                                                                                                                                              100                                                          0.2
                                                                                               0                                              0                                 0                                                          0                             0                                                    0
                 0                                                 0
                                                                                                    2016              2017            2018                                              2016               2017                 2018                                          2016               2017            2018
                      2016                  2017            2018
                                                                                                                      Year                                                                                 Year                                                                                  Year
                                            Year

                                                                                                            TotalTonnes
                                                                                                            Total Tonnes       Total MtCO2e
                                                                                                                               Total MtCO e                                                     Total
                                                                                                                                                                                                Total Tonnes
                                                                                                                                                                                                      Tonnes          Total
                                                                                                                                                                                                                      Total MtCO2e
                                                                                                                                                                                                                            MtCO2e                                                   Total Tonnes
                                                                                                                                                                                                                                                                                     Total Tonnes          Total
                                                                                                                                                                                                                                                                                                        Total    MtCO2e
                                                                                                                                                                                                                                                                                                              MtCO e
                              Total Tonnes
                              Total Tonnes         Total MtCO2e
                                                   Total MtCO2e                                                                          2                                                                                                                                                                        2




    Figure 2: HFC imports from 2016-18 according to European customs data




8                                                                                                                                                                                                                                                                                                                                             9



                                                                                                                                                                                                                                                            JA11
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                                                   Comparison of customs data with reported data                    Export Data
                                                   The EEA produces an annual report on HFC data reported           Since an increase in HFC imports might be balanced                  • a large number of small imports of 100 tCO2e or less
 Calculated on a CO2e basis, in




                                                                                                                                                                                         
                                                   by companies to the HFC Registry according to the                by an increase in HFC exports, EIA also examined                      (which are exempt from the phase-down) account
 2017 European customs data                        requirements of the F-gas Regulation. The latest EEA             European export statistics, comparing them to HFC                     for at least part of the 728 tonne import discrepancy.
                                                   report analysed 2017 reported data, concluding that the          Registry data.                                                        This seems unlikely since the average GWP of the
 indicates HFC imports of 166.6                    HFC phase-down is operating within quota, although EU-                                                                                 728 tonnes of HFCs would have to be over 16,500 to
                                                                                                                    The export data shows a larger discrepancy between
 MtCO2e, 12.1 MtCO2e higher than                   wide bulk POM of HFCs increased from 2016 to 2017, from
                                                                                                                    HFC Registry data and European customs data than
                                                                                                                                                                                          account for the 12.1 MtCO2e discrepancy. In addition,
                                                   159.1 MtCO2e to 166.6 MtCO2e. This was just 0.4% below                                                                                 according to the EEA, some companies importing
 the HFC Registry data                             the 2017 quota limit (170.3 MtCO2e) compared to previous
                                                                                                                    the import data. European customs data shows                          amounts under 100 tCO2e still report to the HFC
                                                                                                                    significantly lower exports in 2016 and 2017 than
 (see Table 3).                                    years where POM was 4-6% below the limit.12
                                                                                                                    data reported to the HFC Registry (see Table 4). In
                                                                                                                                                                                          Registry.

                                                   Although a few cases of quota exceedance were reported           2017, European customs data reports 24,321 tonnes               Given that reports to the HFC Registry are self-declared
                                                   in 2017, both by importers of bulk HFCs and equipment            of HFCs exported from the EU, compared to 29,120                (only companies importing over 10,000 tCO2e are subject
                                                   importers, these were balanced by companies that did             tonnes reported to the HFC Registry. If CO2e exports            to audit) and there is limited or no cross-checking with
                                                   not fully use their quotas.                                      are calculated according to the CN codes, the data              customs data, there is great potential for manipulation
                                                                                                                    indicates that only 47.9 MtCO2e HFCs were exported in           of HFC Registry reported data. EIA is concerned at
                                                   Import Data                                                      2017, while companies reported exports of 50.6 MtCO2e           the discrepancy between European customs and
                                                                                                                    to the HFC Registry, a difference of 2.7 MtCO2e.                HFC Registry data of 14.8 MtCO2e, which represents
                                                   EIA compared 2016 and 2017 bulk import data according                                                                            approximately 8.7% of the 2017 quota.
                                                   to HFC Registry data (presented by the EEA) and                  Taking the import and export data together, the
                                                   European customs data. For European customs data, EIA            European customs data indicates that a significantly
                                                   excluded HFCs and PFCs that do not fall within the quota         higher amount of HFCs (5,527 tonnes) was placed on the
                                                   (i.e. HFOs and PFCs).                                            European market in 2017 than was reported to the HFC
                                                                                                                    Registry. In CO2e terms, the discrepancy is 14.8 MtCO2e,
                                                   Both HFC Registry and European customs data show a               equivalent to 8.7% of the total quota (see Table 5).
                                                   more than 10% increase in bulk imports, on a tonnage
                                                   and CO2e basis, from 2016-17, suggesting stockpiling (see        There are a number of possible explanations for these
                                                   Table 3). In fact, according to HFC Registry data, bulk          discrepancies, including:
                                                   HFC imports on a CO2e basis in 2017 were the highest                 • incorrect CN codes have been used for imports or
                                                   level in 10 years, other than in 2014 when significant HFC




                                                                                                                          
                                                                                                                          exports
                                                   stockpiling took place. European customs data indicates
                                                   that the increased imports come from China as opposed                • companies not registered to the HFC Registry are




                                                                                                                          
                                                   to the second largest trading partner, the USA.13                      importing significant quantities of high-GWP HFCs
                                                                                                                        • registered companies have misreported import data
                                                   According to European customs data, 2016 bulk imports




                                                                                                                          
                                                                                                                          to the HFC Registry (e.g. reported high-GWP imports
                                                   were lower than those reported to the HFC Registry by
                                                                                                                          as lower-GWP)
                                                   2,557 tonnes, while in 2017 the imports according to
                                                   the European customs data are higher by 728 tonnes.                  • registered companies have misreported export




                                                                                                                          
                                                   However, if the CO2e of the imports are calculated, based              data to the HFC Registry (e.g. reported exports but
                                                   on the GWPs of the reported CN codes, the discrepancy                  actually sold the HFCs on the European market)
                                                   between the two sets of data is much higher in 2017 than
                                                   in 2016. Calculated on a CO2e basis, in 2017 European
                                                   customs data indicates HFC imports of 166.6 MtCO2e, 12.1
                                                                                                                                            HFC exports (tonnes)                HFC exports (MtCO2e)
                                                   MtCO2e higher than the HFC Registry data (see Table 3).
                                                                                                                                        HFC      European                  HFC       European
                                                                                                                        Year                                Difference                           Difference
                                                                                                                                      registry   customs                 registry    customs
                                                                                                                        2016            27,414     24,144     -3,270       50.7        44.3         -6.4

                                            HFC imports (tonnes)                 HFC imports (MtCO2e)                   2017            29,120     24,321     -4,799       50.6        47.9         -2.7

                                        HFC       European                   HFC      European                      Table 4: Comparison between HFC Registry and European customs HFC export data.
                               Year                          Difference                             Difference
                                      registry    customs                  registry   customs

                               2016     68,962      66,405     -2,557        142.2       140.8          -1.4                           Imports minus exports (tonnes)    Imports minus exports (MtCO2e)
                               2017     79,712      80,440      728          154.5       166.6          12.1
                                                                                                                                        HFC      European                  HFC       European
                                                                                                                        Year                                Difference                           Difference
                                                                                                                                      registry   customs                 registry    customs
                    Table 3: Comparison between HFC Registry and European customs bulk HFC import data
                                                                                                                        2016           41,548     42,261       713         91.5        96.5          5.0
                           
                                                                                                                        2017           50,592     56,119       5,527      103.9        118.7        14.8

                                                                                                                    Table 5: Difference between HFC Registry and European customs import/export combined data




10                                                                             Environmental Investigation Agency   Doors wide open                                                                                                           11
                                                 JA12
                                                                                                                      USCA Case #21-1251                 Document #1955329                  Filed: 07/15/2022        Page 17 of 561
                                                Comparison of customs data with reported data                    Export Data
                                                The EEA produces an annual report on HFC data reported           Since an increase in HFC imports might be balanced                  • a large number of small imports of 100 tCO2e or less
 Calculated on a CO2e basis, in




                                                                                                                                                                                      
                                                by companies to the HFC Registry according to the                by an increase in HFC exports, EIA also examined                      (which are exempt from the phase-down) account
 2017 European customs data                     requirements of the F-gas Regulation. The latest EEA             European export statistics, comparing them to HFC                     for at least part of the 728 tonne import discrepancy.
                                                report analysed 2017 reported data, concluding that the          Registry data.                                                        This seems unlikely since the average GWP of the
 indicates HFC imports of 166.6                 HFC phase-down is operating within quota, although EU-                                                                                 728 tonnes of HFCs would have to be over 16,500 to
                                                                                                                 The export data shows a larger discrepancy between
 MtCO2e, 12.1 MtCO2e higher than                wide bulk POM of HFCs increased from 2016 to 2017, from
                                                                                                                 HFC Registry data and European customs data than
                                                                                                                                                                                       account for the 12.1 MtCO2e discrepancy. In addition,
                                                159.1 MtCO2e to 166.6 MtCO2e. This was just 0.4% below                                                                                 according to the EEA, some companies importing
 the HFC Registry data                          the 2017 quota limit (170.3 MtCO2e) compared to previous
                                                                                                                 the import data. European customs data shows                          amounts under 100 tCO2e still report to the HFC
                                                                                                                 significantly lower exports in 2016 and 2017 than
 (see Table 3).                                 years where POM was 4-6% below the limit.12
                                                                                                                 data reported to the HFC Registry (see Table 4). In
                                                                                                                                                                                       Registry.

                                                Although a few cases of quota exceedance were reported           2017, European customs data reports 24,321 tonnes               Given that reports to the HFC Registry are self-declared
                                                in 2017, both by importers of bulk HFCs and equipment            of HFCs exported from the EU, compared to 29,120                (only companies importing over 10,000 tCO2e are subject
                                                importers, these were balanced by companies that did             tonnes reported to the HFC Registry. If CO2e exports            to audit) and there is limited or no cross-checking with
                                                not fully use their quotas.                                      are calculated according to the CN codes, the data              customs data, there is great potential for manipulation
                                                                                                                 indicates that only 47.9 MtCO2e HFCs were exported in           of HFC Registry reported data. EIA is concerned at
                                                Import Data                                                      2017, while companies reported exports of 50.6 MtCO2e           the discrepancy between European customs and
                                                                                                                 to the HFC Registry, a difference of 2.7 MtCO2e.                HFC Registry data of 14.8 MtCO2e, which represents
                                                EIA compared 2016 and 2017 bulk import data according                                                                            approximately 8.7% of the 2017 quota.
                                                to HFC Registry data (presented by the EEA) and                  Taking the import and export data together, the
                                                European customs data. For European customs data, EIA            European customs data indicates that a significantly
                                                excluded HFCs and PFCs that do not fall within the quota         higher amount of HFCs (5,527 tonnes) was placed on the
                                                (i.e. HFOs and PFCs).                                            European market in 2017 than was reported to the HFC
                                                                                                                 Registry. In CO2e terms, the discrepancy is 14.8 MtCO2e,
                                                Both HFC Registry and European customs data show a               equivalent to 8.7% of the total quota (see Table 5).
                                                more than 10% increase in bulk imports, on a tonnage
                                                and CO2e basis, from 2016-17, suggesting stockpiling (see        There are a number of possible explanations for these
                                                Table 3). In fact, according to HFC Registry data, bulk          discrepancies, including:
                                                HFC imports on a CO2e basis in 2017 were the highest                 • incorrect CN codes have been used for imports or
                                                level in 10 years, other than in 2014 when significant HFC




                                                                                                                       
                                                                                                                       exports
                                                stockpiling took place. European customs data indicates
                                                that the increased imports come from China as opposed                • companies not registered to the HFC Registry are




                                                                                                                       
                                                to the second largest trading partner, the USA.13                      importing significant quantities of high-GWP HFCs
                                                                                                                     • registered companies have misreported import data
                                                According to European customs data, 2016 bulk imports




                                                                                                                       
                                                                                                                       to the HFC Registry (e.g. reported high-GWP imports
                                                were lower than those reported to the HFC Registry by
                                                                                                                       as lower-GWP)
                                                2,557 tonnes, while in 2017 the imports according to
                                                the European customs data are higher by 728 tonnes.                  • registered companies have misreported export




                                                                                                                       
                                                However, if the CO2e of the imports are calculated, based              data to the HFC Registry (e.g. reported exports but
                                                on the GWPs of the reported CN codes, the discrepancy                  actually sold the HFCs on the European market)
                                                between the two sets of data is much higher in 2017 than
                                                in 2016. Calculated on a CO2e basis, in 2017 European
                                                customs data indicates HFC imports of 166.6 MtCO2e, 12.1
                                                                                                                                         HFC exports (tonnes)                HFC exports (MtCO2e)
                                                MtCO2e higher than the HFC Registry data (see Table 3).
                                                                                                                                     HFC      European                  HFC       European
                                                                                                                     Year                                Difference                           Difference
                                                                                                                                   registry   customs                 registry    customs
                                                                                                                     2016            27,414     24,144     -3,270       50.7        44.3         -6.4

                                          HFC imports (tonnes)                HFC imports (MtCO2e)                   2017            29,120     24,321     -4,799       50.6        47.9         -2.7

                                      HFC      European                   HFC      European                      Table 4: Comparison between HFC Registry and European customs HFC export data.
                             Year                         Difference                             Difference
                                    registry   customs                  registry   customs

                             2016     68,962     66,405     -2,557        142.2       140.8          -1.4                           Imports minus exports (tonnes)    Imports minus exports (MtCO2e)
                             2017     79,712     80,440      728          154.5       166.6          12.1
                                                                                                                                     HFC      European                  HFC       European
                                                                                                                     Year                                Difference                           Difference
                                                                                                                                   registry   customs                 registry    customs
                  Table 3: Comparison between HFC Registry and European customs bulk HFC import data
                                                                                                                     2016           41,548     42,261       713         91.5        96.5          5.0
                         
                                                                                                                     2017           50,592     56,119       5,527      103.9        118.7        14.8

                                                                                                                 Table 5: Difference between HFC Registry and European customs import/export combined data




10                                                                          Environmental Investigation Agency   Doors wide open                                                                                                           11
                                                                                                                                                                             JA13
                   USCA Case #21-1251                                                                                     Document #1955329                                                                                                       Filed: 07/15/2022                                                          Page 18 of 561
Chinese customs data highlights further inconsistencies                                                                                                                                                                                                                                                                                       2017 stockpiling
A comparison of European customs import data
(import of CN codes included in HS codes 290339 and
                                                                                                                                                                                                   If the average GWP of 2017 bulk imports is assumed to
                                                                                                                                                                                                   be 1,938, as per HFC Registry data reported by the EEA,
                                                                                                                                                                                                                                                                                                                                              It is also clear from the HFC Registry data, customs data     HFC prices
                                                                                                                                                                                                                                                                                                                                              and 2018 HFC price signals (see Box) that significant
382478 from China) with Chinese customs export                                                                                                                                                     the additional 2,203 tonnes in 2017 imported into the EU                                                                                   stockpiling took place in 2017 in preparation for the 2018
                                                                                                                                                                                                                                                                                                                                                                                                            HFC prices have been closely monitored by Öko-
data (export of HS codes 290339 and 382478 to the                                                                                                                                                  would equate to 4.3 MtCO2e, equivalent to an additional                                                                                    cut. Bulk HFC imports to the EU as a whole were 21%
                                                                                                                                                                                                                                                                                                                                                                                                            Recherche on behalf of the European Commission
EU) during 2016-17 reveals additional variations, with                                                                                                                                             2.5% of the quota.                                                                                                                         higher in 2017 than in 2016.14 The customs data shows
                                                                                                                                                                                                                                                                                                                                                                                                            since the start of the F-gas Regulation. The data
the Chinese data consistently higher. According to                                                                                                                                                                                                                                                                                            a significant spike (more than 200%) in 2017 imports in
                                                                                                                                                                                                   EIA acknowledges the need for caution in drawing                                                                                                                                                         include prices reported by 25 service companies
European customs import data, 51,858 tonnes of HFCs                                                                                                                                                                                                                                                                                           Denmark, Latvia and Poland over 2016. The increase in
                                                                                                                                                                                                   conclusions from EU and Chinese customs data                                                                                                                                                             (in Estonia, France, Germany, Italy, Portugal and
were imported from China to the EU in 2016 and 67,820                                                                                                                                                                                                                                                                                         imports to Poland is also supported by the significant
                                                                                                                                                                                                   comparisons. For example, discrepancies may                                                                                                                                                              Spain) and 23 Original Equipment Manufacturers
tonnes in 2017, whereas Chinese customs export                                                                                                                                                                                                                                                                                                increase in Polish companies reporting imports. In 2015,
                                                                                                                                                                                                   potentially be explained by time lag between export and                                                                                                                                                  (OEMs).17
data puts these figures at 57,753 and 70,023 tonnes, a                                                                                                                                                                                                                                                                                        27 companies reported bulk imports; this rose to 53 in 2016
difference of 5,895 and 2,203 tonnes respectively (see                                                                                                                                             import or where the exporter has incorrectly assigned a
                                                                                                                                                                                                                                                                                                                                              and 181 in 2017, far higher than any other EU country.15
Table 6).                                                                                                                                                                                          transit country as the final destination point. However,
                                                                                                                                                                                                   the trade discrepancies are quite pronounced in some                                                                                       The EEA report (based on HFC Registry data) also notes
                                                                                                                                                                                                   specific countries and bear further examination. Over                                                                                      that there is a reserve of quota authorisations (i.e.
                                                                                                                        2016                               2017
                                                                                                                                                                                                   the 2016-17 period, Chinese export data was more than                                                                                      authorisations for placing HFC-containing equipment on
                                                                                                                                                                                                   100% higher than European import data in Denmark                                                                                           the market) built up by equipment importers during 2015
 EU HFC imports from China                                                                                         51,858                             67,820                                       (238%), Greece (104%), Lithuania (123%) and Croatia                                                                                        and 2016. The reserve was partially used up in 2017, the
 (tonnes) – European customs data                                                                                                                                                                  (304%) (see Figure 3). Luxembourg is another outlier;                                                                                      first year that imports of HFC-containing equipment had
 Chinese HFC exports to EU                                                                                         57,753                             70,023                                       Chinese trade data shows an export of 3,000kg to                                                                                           to be covered by the phase-down. It is currently almost
 (tonnes) – Chinese customs data                                                                                                                                                                   Luxembourg in 2017, but European customs data has                                                                                          twice the amount of actual annual equipment imports,16
                                                                                                                                                                                                   zero imports during 2016 or 2017 (for this reason it was                                                                                   therefore a reasonable assumption is that the reserve will
 Difference between European and                                                                                    5,895                                  2,203                                   excluded from the graph).                                                                                                                  be fully used up for equipment imports in 2018 and 2019.
 Chinese customs data (tonnes)
                                                                                                                                                                                                   Other notable discrepancies include Latvia, which in                                                                                       EIA is concerned that stockpiling of bulk HFCs in 2017,
 Percentage difference between                                                                                      10.2%                                  3.2%                                    2017 imported 16.1 tonnes of pure HFCs (HS code 290339)                                                                                    the reserves of authorisations and illegal imports have
 European customs and Chinese                                                                                                                                                                      according to European customs data and 245 tonnes                                                                                          created a false sense of security in terms of the supply
 customs data                                                                                                                                                                                      according to Chinese customs data. Similarly, Malta                                                                                        of HFCs from 2018 onwards. Given the steep cut in
                                                                                                                                                                                                   imported 3.8 tonnes of pure HFCs in 2017 according to                                                                                      supply in 2018, future stockpiling will not be possible and
Table 6: Comparison between European customs import data
                                                                                                                                                                                                   European customs data but 31.3 tonnes according to                                                                                         a further cut in 2021 is likely to be difficult to achieve
           
         and Chinese customs export data
                                                                                                                                                                                                   Chinese customs data. These discrepancies could be an                                                                                      unless a faster transition to low-GWP alternatives is
If the average GWP of 2016 bulk imports is assumed                                                                                                                                                 indication of undeclared or mis-declared imports and                                                                                       achieved.                                                     HFC prices in Europe began seriously rising in
to be 2,062, as per HFC Registry data reported by the                                                                                                                                              illegal trade.                                                                                                                                                                                           2017 in anticipation of the 2018 HFC quota cut.
EEA, the additional 5,895 tonnes of HFC imports would                                                                                                                                                                                                                                                                                                                                                       By the second quarter of 2018, the price of HFC-
equate to 12.2 MtCO2e, equivalent to more than 7% of                                                                                                                                                                                                                                                                                                                                                        410A was 859% higher for OEMs and 833% higher
the 170.3 MtCO2e quota allocation for the year.                                                                                                                                                                                                                                                                                                                                                             for service companies than in 2014. Similar price
                                                                                                                                                                                                                                                                                                                                                                                                            hikes have been seen for other HFCs, with the
  150%                                                                                                                                                                                                                                                                                                                                                                                                      highest price increases for those HFCs with the
                                                                                                                                                                                                                                                                                                                                                                                                            highest GWP (e.g. HFC-404A).
  100%
                                                                                                                                                                                                                                                                                                                                                                                                            According to the latest Öko-Recherche report,
     50%                                                                                                                                                                                                                                                                                                                                                                                                    prices in 2018 have flattened out to a large extent
                                                                                                                                                                                                                                                                                                                                                                                                            and demand for refrigerants, despite the large
     0%                                                                                                                                                                                                                                                                                                                                                                                                     quota cut, was said to be low.18 Potential reasons
                                                                                                                                                                                                                                                                                                                                                                                                            for this given in the report include stockpiling
  -50%                                                                                                                                                                                                                                                                                                                                                                                                      in previous quarters (i.e. in 2017), increased care
                                                                                                                                                                                                                                                                                                                                                                                                            in handling refrigerants, reduced demand due
 -100%
                                                                                                                                                                                                                                                                                                                                                                                                            to transitions to lower GWP technologies and
                                                                                                                                                                                                                                                                                                                                                                                                            possible illegal trade in refrigerants.
 -150%

 -200%                                                                                                                                                                                                                                                                                                                                                                                                      HFC-404A prices in particular dropped in
                                                                                                                                                                                                                                                                                                                                                                                                            2018; after reaching a high of 1,190% of the 2014
 -250%                                                                                                                                                                                                                                                                                                                                                                                                      baseline in quarter one, prices paid by service
                                                                                                                                                                                                                                                                                                                                                                                                            companies dropped in the next two quarters to
 -300%                                                                                                                                                                                                                                                                                                                                                                                                      1,042%. Companies indicated that large HFC-
                                                                                                                                                                                                                                                                                                                                                                                                            404A quantities were available on the market,
 -350%                                                                                                                                                                                                                                                                                                                                                                                                      due to large quantities stockpiled in 2014, virgin
                                                                                                                                                                                                                                                                                                                                                                                                            quantities supplied at low prices (i.e. illegal trade)
                                   BULGARIA




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                                                                                                                                                                                                                                                                                                                                                                                                            and reclaimed quantities.




Figure 3: European customs import data compared to Chinese customs export data as a percentage of European import
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          data for 2016 and 2017 combined.


12                                                                                                                                                                                                                                                                                                 Environmental Investigation Agency         Doors wide open                                                                                                        13
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Chinese customs data highlights further inconsistencies                                                                                                                                                                                                                                                                                 2017 stockpiling
A comparison of European customs import data
(import of CN codes included in HS codes 290339 and
                                                                                                                                                                                                   If the average GWP of 2017 bulk imports is assumed to
                                                                                                                                                                                                   be 1,938, as per HFC Registry data reported by the EEA,
                                                                                                                                                                                                                                                                                                                                        It is also clear from the HFC Registry data, customs data       HFC prices
                                                                                                                                                                                                                                                                                                                                        and 2018 HFC price signals (see Box) that significant
382478 from China) with Chinese customs export                                                                                                                                                     the additional 2,203 tonnes in 2017 imported into the EU                                                                             stockpiling took place in 2017 in preparation for the 2018
                                                                                                                                                                                                                                                                                                                                                                                                        HFC prices have been closely monitored by Öko-
data (export of HS codes 290339 and 382478 to the                                                                                                                                                  would equate to 4.3 MtCO2e, equivalent to an additional                                                                              cut. Bulk HFC imports to the EU as a whole were 21%
                                                                                                                                                                                                                                                                                                                                                                                                        Recherche on behalf of the European Commission
EU) during 2016-17 reveals additional variations, with                                                                                                                                             2.5% of the quota.                                                                                                                   higher in 2017 than in 2016.14 The customs data shows
                                                                                                                                                                                                                                                                                                                                                                                                        since the start of the F-gas Regulation. The data
the Chinese data consistently higher. According to                                                                                                                                                                                                                                                                                      a significant spike (more than 200%) in 2017 imports in
                                                                                                                                                                                                   EIA acknowledges the need for caution in drawing                                                                                                                                                     include prices reported by 25 service companies
European customs import data, 51,858 tonnes of HFCs                                                                                                                                                                                                                                                                                     Denmark, Latvia and Poland over 2016. The increase in
                                                                                                                                                                                                   conclusions from EU and Chinese customs data                                                                                                                                                         (in Estonia, France, Germany, Italy, Portugal and
were imported from China to the EU in 2016 and 67,820                                                                                                                                                                                                                                                                                   imports to Poland is also supported by the significant
                                                                                                                                                                                                   comparisons. For example, discrepancies may                                                                                                                                                          Spain) and 23 Original Equipment Manufacturers
tonnes in 2017, whereas Chinese customs export                                                                                                                                                                                                                                                                                          increase in Polish companies reporting imports. In 2015,
                                                                                                                                                                                                   potentially be explained by time lag between export and                                                                                                                                              (OEMs).17
data puts these figures at 57,753 and 70,023 tonnes, a                                                                                                                                                                                                                                                                                  27 companies reported bulk imports; this rose to 53 in 2016
difference of 5,895 and 2,203 tonnes respectively (see                                                                                                                                             import or where the exporter has incorrectly assigned a
                                                                                                                                                                                                                                                                                                                                        and 181 in 2017, far higher than any other EU country.15
Table 6).                                                                                                                                                                                          transit country as the final destination point. However,
                                                                                                                                                                                                   the trade discrepancies are quite pronounced in some                                                                                 The EEA report (based on HFC Registry data) also notes
                                                                                                                                                                                                   specific countries and bear further examination. Over                                                                                that there is a reserve of quota authorisations (i.e.
                                                                                                                        2016                               2017
                                                                                                                                                                                                   the 2016-17 period, Chinese export data was more than                                                                                authorisations for placing HFC-containing equipment on
                                                                                                                                                                                                   100% higher than European import data in Denmark                                                                                     the market) built up by equipment importers during 2015
 EU HFC imports from China                                                                                         51,858                             67,820                                       (238%), Greece (104%), Lithuania (123%) and Croatia                                                                                  and 2016. The reserve was partially used up in 2017, the
 (tonnes) – European customs data                                                                                                                                                                  (304%) (see Figure 3). Luxembourg is another outlier;                                                                                first year that imports of HFC-containing equipment had
 Chinese HFC exports to EU                                                                                         57,753                             70,023                                       Chinese trade data shows an export of 3,000kg to                                                                                     to be covered by the phase-down. It is currently almost
 (tonnes) – Chinese customs data                                                                                                                                                                   Luxembourg in 2017, but European customs data has                                                                                    twice the amount of actual annual equipment imports,16
                                                                                                                                                                                                   zero imports during 2016 or 2017 (for this reason it was                                                                             therefore a reasonable assumption is that the reserve will
 Difference between European and                                                                                    5,895                                  2,203                                   excluded from the graph).                                                                                                            be fully used up for equipment imports in 2018 and 2019.
 Chinese customs data (tonnes)
                                                                                                                                                                                                   Other notable discrepancies include Latvia, which in                                                                                 EIA is concerned that stockpiling of bulk HFCs in 2017,
 Percentage difference between                                                                                      10.2%                                  3.2%                                    2017 imported 16.1 tonnes of pure HFCs (HS code 290339)                                                                              the reserves of authorisations and illegal imports have
 European customs and Chinese                                                                                                                                                                      according to European customs data and 245 tonnes                                                                                    created a false sense of security in terms of the supply
 customs data                                                                                                                                                                                      according to Chinese customs data. Similarly, Malta                                                                                  of HFCs from 2018 onwards. Given the steep cut in
                                                                                                                                                                                                   imported 3.8 tonnes of pure HFCs in 2017 according to                                                                                supply in 2018, future stockpiling will not be possible and
Table 6: Comparison between European customs import data
                                                                                                                                                                                                   European customs data but 31.3 tonnes according to                                                                                   a further cut in 2021 is likely to be difficult to achieve
           
         and Chinese customs export data
                                                                                                                                                                                                   Chinese customs data. These discrepancies could be an                                                                                unless a faster transition to low-GWP alternatives is
If the average GWP of 2016 bulk imports is assumed                                                                                                                                                 indication of undeclared or mis-declared imports and                                                                                 achieved.                                                       HFC prices in Europe began seriously rising in
to be 2,062, as per HFC Registry data reported by the                                                                                                                                              illegal trade.                                                                                                                                                                                       2017 in anticipation of the 2018 HFC quota cut.
EEA, the additional 5,895 tonnes of HFC imports would                                                                                                                                                                                                                                                                                                                                                   By the second quarter of 2018, the price of HFC-
equate to 12.2 MtCO2e, equivalent to more than 7% of                                                                                                                                                                                                                                                                                                                                                    410A was 859% higher for OEMs and 833% higher
the 170.3 MtCO2e quota allocation for the year.                                                                                                                                                                                                                                                                                                                                                         for service companies than in 2014. Similar price
                                                                                                                                                                                                                                                                                                                                                                                                        hikes have been seen for other HFCs, with the
  150%                                                                                                                                                                                                                                                                                                                                                                                                  highest price increases for those HFCs with the
                                                                                                                                                                                                                                                                                                                                                                                                        highest GWP (e.g. HFC-404A).
  100%
                                                                                                                                                                                                                                                                                                                                                                                                        According to the latest Öko-Recherche report,
     50%                                                                                                                                                                                                                                                                                                                                                                                                prices in 2018 have flattened out to a large extent
                                                                                                                                                                                                                                                                                                                                                                                                        and demand for refrigerants, despite the large
     0%                                                                                                                                                                                                                                                                                                                                                                                                 quota cut, was said to be low.18 Potential reasons
                                                                                                                                                                                                                                                                                                                                                                                                        for this given in the report include stockpiling
  -50%                                                                                                                                                                                                                                                                                                                                                                                                  in previous quarters (i.e. in 2017), increased care
                                                                                                                                                                                                                                                                                                                                                                                                        in handling refrigerants, reduced demand due
 -100%
                                                                                                                                                                                                                                                                                                                                                                                                        to transitions to lower GWP technologies and
                                                                                                                                                                                                                                                                                                                                                                                                        possible illegal trade in refrigerants.
 -150%

 -200%                                                                                                                                                                                                                                                                                                                                                                                                  HFC-404A prices in particular dropped in
                                                                                                                                                                                                                                                                                                                                                                                                        2018; after reaching a high of 1,190% of the 2014
 -250%                                                                                                                                                                                                                                                                                                                                                                                                  baseline in quarter one, prices paid by service
                                                                                                                                                                                                                                                                                                                                                                                                        companies dropped in the next two quarters to
 -300%                                                                                                                                                                                                                                                                                                                                                                                                  1,042%. Companies indicated that large HFC-
                                                                                                                                                                                                                                                                                                                                                                                                        404A quantities were available on the market,
 -350%                                                                                                                                                                                                                                                                                                                                                                                                  due to large quantities stockpiled in 2014, virgin
                                                                                                                                                                                                                                                                                                                                                                                                        quantities supplied at low prices (i.e. illegal trade)
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                                                                                                                                                                                                                                                                                                                                                                                                        and reclaimed quantities.




Figure 3: European customs import data compared to Chinese customs export data as a percentage of European import
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          data for 2016 and 2017 combined.


12                                                                                                                                                                                                                                                                                                 Environmental Investigation Agency   Doors wide open                                                                                                          13
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EIA industry survey                                            Results at a glance                                                                                                                                                                                 72%
                                                               *September 2017 to September 2018                Yes        No                                                                         Have you seen or been offered                                28%
In September and October 2018, EIA sent a                                                                                                                                                             refrigerants in disposable cylinders?
questionnaire to a range of heating, ventilation,
                                                               Have you experienced
air-conditioning and refrigeration (HVACR)                                                                               67%                                                                    83%
                                                               any refrigerant supply                                                   Are you aware of or                                           In your view, are your clients/
representatives, including industry associations,
                                                               problems in the last                                      33%            suspect ongoing illegal                                 17%   members adequately aware of the             some/most of
refrigerant suppliers and contractor associations. The                                                                                                                                                                                        industry are aware   24%
                                                               12* months?                                                              HFC use?                                                      impact of the 2018 reduction step
survey requested information on refrigerant prices, the
scale and severity of illegal HFC use, potential drivers                                                                                                                                              under the HFC phase-down, as                                 59%
of illegal trade, awareness of current penalty regimes                                                                                                                                      17%
                                                                                                                                                                   heard about it anecdotally         well as the other measures under                             17%
                                                               Have any of your
in member states and recommendations for improving             members/clients                                                                                         offered suspect HFCs 22%       the EU F-Gas Regulation?
                                                                                                                                        Have you or your
enforcement of the F-gas Regulation. Responses were            expressed concern about                                   94%                                                                22%
                                                                                                                                        clients directly                   direct experience
received from 18 companies, primarily refrigerant                                                                                                                                                     Is there an adequate supply of                               47%
                                                               refrigerant price the last                                 6%            experienced                                    none 39%
suppliers and industry associations, in 11 EU member
                                                               12* months?                                                              HFC theft?                                                    affordable low-GWP alternatives                              53%
states (see Fig 4, results at a glance).
                                                                                                                                                                                                      in your area/sector?
Price Rises                                                    Have any of your
                                                               members/clients                                                          Are your clients/members
In all, 95% of the 18 companies reported that customers        expressed concern about                                    17%           aware that the use of                                   94%   Are you aware of any actions your                            17%
had expressed concern relating to refrigerant price            refrigerant supply the                                    83%            disposable cylinders is                                 6%    national government is taking to                             83%
rises over the previous 12 months. Nine companies gave         last 12* months?                                                         illegal in Europe?                                            tackle illegal trade of HFCs?
detailed price information; price rises were on average
between 136-147% for high-GWP refrigerants (HFC-404A,
HFC-410A, HFC-134a, HFC-407C and HFC-407F) while           Figure 4: EIA industry survey – results at a glance
prices for HFC-1234yf decreased by an average of 14%.
                                                           15 out of 18 companies answered ‘yes’. Three companies                       EIA asked whether respondents were aware that                 Industry views on government enforcement
The survey data revealed some significant regional         noted receiving anecdotal and media reports, while just                      disposable cylinders were illegal and if they had been        action against illegal trade in HFCs
price variations that might be an indicator of illegal     three companies were unaware of illegal HFC use.                             offered HFCs in disposable cylinders or seen any in use.
trade. For example, the average price of HFC-404A in       The widespread use of disposable cylinders was                               Only one respondent felt that its clients/members were        Only three out of 18 companies were aware of
September 2018 quoted by two refrigerant suppliers         repeatedly mentioned, while many companies also                              unaware of the ban. Despite this, 72% of respondents          government action to address illegal HFC trade.
and an association in Greece and Cyprus was €44.80/        stated their belief that illegal HFCs were being placed                      had seen or been offered refrigerants in disposable           Croatia, Italy and the UK were the only countries where
kg, compared to an average price of €140.09/kg in two      on the market in refillable containers, either by                            cylinders. Respondents from Denmark and Greece                respondents were aware of enforcement actions being
companies in Denmark (taking out the impact of the tax)    companies outside the quota system or companies                              noted that although their clients are aware of the ban,       taken, although no prosecutions were reported. EIA also
and Belgium. Similar variations were quoted for other      placing amounts over their allocated quota. Eastern                          they may still buy disposable cylinders as they are           asked what governments should be doing to enforce
high-GWP gases (e.g. HFC-410A cost €37.50/kg in Greece/    Europe was repeatedly mentioned as a potential source                        cheaper and easily available. The automotive sector           the F-gas Regulation. Almost half of the companies
Cyprus compared to €105.48/kg in Denmark/Belgium).         of illegal HFCs, along with several non-EU countries                         was highlighted as an area where they are used heavily.       responded that greater capacity to inspect and
                                                           including Albania, China and Turkey.                                         Trading platforms such as eBay and Facebook were              investigate illegal trade was required (including market
Refrigerant supply                                                                                                                      mentioned as key selling tools for disposable cylinders.      surveillance) and many companies noted the need for
                                                           Five companies mentioned web-based platforms,                                                                                              higher penalties and better enforcement by customs.
Some 66% of respondents experienced refrigerant            including eBay and Facebook, as a source of illegal                          Awareness of the HFC phase-down                               Companies also noted the need for more information at
supply problems over the 12-month period preceding         sales. Informal sales through SMS texts were also                                                                                          the contractor and customs levels, and that additional
September 2018, particularly for HFC-404A and HFC-         mentioned several times.                                                     EIA asked if respondents felt their clients were              actions to remove barriers to the adoption of low-GWP
134a. Several companies indicated the supply situation                                                                                  adequately aware of F-gas Regulation measures, in             alternatives (including training and safety standards)
was more severe in 2017 and eased up in 2018, albeit       Theft                                                                        particular the impact of the 2018 reduction step. Ten out     should be addressed.
with very high prices.                                                                                                                  of 17 respondents (59%) felt their clients and members
                                                           Seven out of 18 companies reported that they or their                        were adequately aware, four (24%) felt that some or           Industry views on actions it can take to reduce
Price increases in HFCs were of greater concern to         clients had either experienced HFC theft or been offered                     most of industry were aware, while three companies
                                                           HFCs they suspect to be stolen. Reported HFC thefts
                                                                                                                                                                                                      illegal trade
users than supply problems. All but one company                                                                                         felt their clients were not adequately aware.
had received complaints about refrigerant prices.          were located in Germany, Greece, The Netherlands and                         Given 2018 is the third year of implementation with
                                                                                                                                                                                                      Fourteen companies had suggestions on how industry
One respondent noted the link to supply problems           the UK. One German refrigerant supplier reported a                           a significant cut in HFC use, this lack of awareness,
                                                                                                                                                                                                      itself can tackle illegal trade. The most common
since customers were reducing the amount of stock          large-scale theft in July (of over 800 cylinders) and an                     which will result in higher ongoing demand for HFCs
                                                                                                                                                                                                      response was to lower prices of new refrigerants,
kept in warehouses, given the high prices. Another         attempted theft from its Munster headquarters and two                        than expected, is of concern.
                                                                                                                                                                                                      followed by speeding up the availability of compressors
explained how high prices fuel illegal trade: “The         thefts from its Dutch branch. One refrigerant supplier
                                                                                                                                                                                                      working with low-GWP refrigerants and raising
reason [for] importing illegal material is mainly the      noted a rise in offers of refrigerants from companies                        Supply of low-GWP alternatives                                awareness among clients of illegal trade and the
incomprehensible rise in prices.”19                        that do not normally deal with refrigerants.
                                                                                                                                                                                                      availability of alternatives. Carrying out market
                                                                                                                                        Asked if there was an adequate supply of affordable low       surveillance, putting pressure on authorities to carry
Awareness of illegal trade                                 Disposable cylinders                                                         GWP alternatives available, eight out of 17 respondents       out more inspections and implementing training for the
                                                                                                                                        (47%) stated there was. Several other companies               servicing sector were also mentioned.
In response to the question “Are you aware of or suspect   Disposable cylinders facilitate illegal trade because                        noted there was adequate supply; however, they were
ongoing illegal HFC use (non-quota HFC use or illegal      they are easy to transport and difficult to trace; they                      expensive (five), transitional substances only (three) or
cross-border trade) in the sector/country you work in”,    have been banned in the EU since 2007.                                       technical challenges remained (one).



14                                                                                                 Environmental Investigation Agency   Doors wide open                                                                                                                  15
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EIA industry survey                                            Results at a glance                                                                                                                                                                                   72%
                                                               *September 2017 to September 2018                Yes        No                                                                           Have you seen or been offered                                28%
In September and October 2018, EIA sent a                                                                                                                                                               refrigerants in disposable cylinders?
questionnaire to a range of heating, ventilation,
                                                               Have you experienced
air-conditioning and refrigeration (HVACR)                                                                               67%                                                                    83%
                                                               any refrigerant supply                                                   Are you aware of or                                             In your view, are your clients/
representatives, including industry associations,
                                                               problems in the last                                      33%            suspect ongoing illegal                                 17%     members adequately aware of the             some/most of
refrigerant suppliers and contractor associations. The                                                                                                                                                                                          industry are aware   24%
                                                               12* months?                                                              HFC use?                                                        impact of the 2018 reduction step
survey requested information on refrigerant prices, the
scale and severity of illegal HFC use, potential drivers                                                                                                                                                under the HFC phase-down, as                                 59%
of illegal trade, awareness of current penalty regimes                                                                                                                                      17%
                                                                                                                                                                   heard about it anecdotally           well as the other measures under                             17%
                                                               Have any of your
in member states and recommendations for improving             members/clients                                                                                         offered suspect HFCs 22%         the EU F-Gas Regulation?
                                                                                                                                        Have you or your
enforcement of the F-gas Regulation. Responses were            expressed concern about                                   94%                                                                22%
                                                                                                                                        clients directly                   direct experience
received from 18 companies, primarily refrigerant                                                                                                                                                       Is there an adequate supply of                               47%
                                                               refrigerant price the last                                 6%            experienced                                    none 39%
suppliers and industry associations, in 11 EU member
                                                               12* months?                                                              HFC theft?                                                      affordable low-GWP alternatives                              53%
states (see Fig 4, results at a glance).
                                                                                                                                                                                                        in your area/sector?
Price Rises                                                    Have any of your
                                                               members/clients                                                          Are your clients/members
In all, 95% of the 18 companies reported that customers        expressed concern about                                    17%           aware that the use of                                   94%     Are you aware of any actions your                            17%
had expressed concern relating to refrigerant price            refrigerant supply the                                    83%            disposable cylinders is                                 6%      national government is taking to                             83%
rises over the previous 12 months. Nine companies gave         last 12* months?                                                         illegal in Europe?                                              tackle illegal trade of HFCs?
detailed price information; price rises were on average
between 136-147% for high-GWP refrigerants (HFC-404A,
HFC-410A, HFC-134a, HFC-407C and HFC-407F) while           Figure 4: EIA industry survey – results at a glance
prices for HFC-1234yf decreased by an average of 14%.
                                                           15 out of 18 companies answered ‘yes’. Three companies                       EIA asked whether respondents were aware that                   Industry views on government enforcement
The survey data revealed some significant regional         noted receiving anecdotal and media reports, while just                      disposable cylinders were illegal and if they had been          action against illegal trade in HFCs
price variations that might be an indicator of illegal     three companies were unaware of illegal HFC use.                             offered HFCs in disposable cylinders or seen any in use.
trade. For example, the average price of HFC-404A in       The widespread use of disposable cylinders was                               Only one respondent felt that its clients/members were          Only three out of 18 companies were aware of
September 2018 quoted by two refrigerant suppliers         repeatedly mentioned, while many companies also                              unaware of the ban. Despite this, 72% of respondents            government action to address illegal HFC trade.
and an association in Greece and Cyprus was €44.80/        stated their belief that illegal HFCs were being placed                      had seen or been offered refrigerants in disposable             Croatia, Italy and the UK were the only countries where
kg, compared to an average price of €140.09/kg in two      on the market in refillable containers, either by                            cylinders. Respondents from Denmark and Greece                  respondents were aware of enforcement actions being
companies in Denmark (taking out the impact of the tax)    companies outside the quota system or companies                              noted that although their clients are aware of the ban,         taken, although no prosecutions were reported. EIA also
and Belgium. Similar variations were quoted for other      placing amounts over their allocated quota. Eastern                          they may still buy disposable cylinders as they are             asked what governments should be doing to enforce
high-GWP gases (e.g. HFC-410A cost €37.50/kg in Greece/    Europe was repeatedly mentioned as a potential source                        cheaper and easily available. The automotive sector             the F-gas Regulation. Almost half of the companies
Cyprus compared to €105.48/kg in Denmark/Belgium).         of illegal HFCs, along with several non-EU countries                         was highlighted as an area where they are used heavily.         responded that greater capacity to inspect and
                                                           including Albania, China and Turkey.                                         Trading platforms such as eBay and Facebook were                investigate illegal trade was required (including market
Refrigerant supply                                                                                                                      mentioned as key selling tools for disposable cylinders.        surveillance) and many companies noted the need for
                                                           Five companies mentioned web-based platforms,                                                                                                higher penalties and better enforcement by customs.
Some 66% of respondents experienced refrigerant            including eBay and Facebook, as a source of illegal                          Awareness of the HFC phase-down                                 Companies also noted the need for more information at
supply problems over the 12-month period preceding         sales. Informal sales through SMS texts were also                                                                                            the contractor and customs levels, and that additional
September 2018, particularly for HFC-404A and HFC-         mentioned several times.                                                     EIA asked if respondents felt their clients were                actions to remove barriers to the adoption of low-GWP
134a. Several companies indicated the supply situation                                                                                  adequately aware of F-gas Regulation measures, in               alternatives (including training and safety standards)
was more severe in 2017 and eased up in 2018, albeit       Theft                                                                        particular the impact of the 2018 reduction step. Ten out       should be addressed.
with very high prices.                                                                                                                  of 17 respondents (59%) felt their clients and members
                                                           Seven out of 18 companies reported that they or their                        were adequately aware, four (24%) felt that some or             Industry views on actions it can take to reduce
Price increases in HFCs were of greater concern to         clients had either experienced HFC theft or been offered                     most of industry were aware, while three companies
                                                           HFCs they suspect to be stolen. Reported HFC thefts
                                                                                                                                                                                                        illegal trade
users than supply problems. All but one company                                                                                         felt their clients were not adequately aware.
had received complaints about refrigerant prices.          were located in Germany, Greece, The Netherlands and                         Given 2018 is the third year of implementation with
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One respondent noted the link to supply problems           the UK. One German refrigerant supplier reported a                           a significant cut in HFC use, this lack of awareness,
                                                                                                                                                                                                        itself can tackle illegal trade. The most common
since customers were reducing the amount of stock          large-scale theft in July (of over 800 cylinders) and an                     which will result in higher ongoing demand for HFCs
                                                                                                                                                                                                        response was to lower prices of new refrigerants,
kept in warehouses, given the high prices. Another         attempted theft from its Munster headquarters and two                        than expected, is of concern.
                                                                                                                                                                                                        followed by speeding up the availability of compressors
explained how high prices fuel illegal trade: “The         thefts from its Dutch branch. One refrigerant supplier
                                                                                                                                                                                                        working with low-GWP refrigerants and raising
reason [for] importing illegal material is mainly the      noted a rise in offers of refrigerants from companies                        Supply of low-GWP alternatives                                  awareness among clients of illegal trade and the
incomprehensible rise in prices.”19                        that do not normally deal with refrigerants.
                                                                                                                                                                                                        availability of alternatives. Carrying out market
                                                                                                                                        Asked if there was an adequate supply of affordable low         surveillance, putting pressure on authorities to carry
Awareness of illegal trade                                 Disposable cylinders                                                         GWP alternatives available, eight out of 17 respondents         out more inspections and implementing training for the
                                                                                                                                        (47%) stated there was. Several other companies                 servicing sector were also mentioned.
In response to the question “Are you aware of or suspect   Disposable cylinders facilitate illegal trade because                        noted there was adequate supply; however, they were
ongoing illegal HFC use (non-quota HFC use or illegal      they are easy to transport and difficult to trace; they                      expensive (five), transitional substances only (three) or
cross-border trade) in the sector/country you work in”,    have been banned in the EU since 2007.                                       technical challenges remained (one).



14                                                                                                 Environmental Investigation Agency   Doors wide open                                                                                                                    15
                                                                                                                                                                                                      JA17
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Illegal trade in HFCs                                                                                                                            PROZON, a Polish NGO dedicated to reducing emissions
                                                                                                                                                 of ODS, has expressed concern about “massive and
                                                                                                                                                                                                              WHY IT PAYS TO BREAK THE LAW
                                                                                                                                                                                                              In March 2018, a two-day inspection of cars
                                                                                                                                                 growing” HFC smuggling entering Poland through the
The information provided by industry stakeholders                         Asercom, German refrigerant suppliers Westfalen and                    border with Ukraine and from Turkey (via Romania,            crossing the Polish-Ukraine border at Dolhobyczow
alongside multiple media reports and trade data                           Frigoteam Handels and retailer Rewe stated that illegal                Bulgaria, Hungary and Slovakia). It has also raised          highlighted the lucrative nature of black market
analysis suggests a growing prevalence of illegal HFC                     refrigerants entering Europe in 2018 were equivalent                   concerns that companies exceeding quotas is an even          trade in HFCs.
use impacting countries across the EU. In November                        to 20% of the legal HFC quota. Chemours claims that in                 bigger problem.22
2018, the European association of refrigeration, air-                     2018 around 22.5 MtCO2e were illegally imported into                                                                                Three attempts to smuggle HFCs hidden in LPG
conditioning and heat pump contractors (AREA)                             the EU.21                                                              Italian industry sources have pointed to Albania, Malta,     tanks were prevented by customs officers. The
published a member survey covering 16 countries.                                                                                                 Poland and Greece (via Turkey) as the source of most
                                                                          Figure 5 illustrates potential trade routes for smuggled                                                                            cars contained between 64-90 litres of refrigerant;
Results of their industry survey showed over three                                                                                               black market HFCs in Italy. One source claimed that ISO
                                                                          HFCs according to industry reports and intelligence                                                                                 two of the cases were confirmed to be smuggling
quarters of the respondents were aware of illegal trade                                                                                          tanks of illegal HFCs are entering Italy from Croatia,
of higher GWP products. AREA stated that illegal trade                    gathered by EIA. Industry stakeholders report that illegal             a statement supported by the fact that Chinese trade         HFC-134a, with a market value of PLN4,600 (€1,060)-
was most significant in EU border countries, with the                     HFCs are entering the EU from Russia and Ukraine in the                data shows significantly higher exports to Croatia than      PLN6,500 (€1,510). The culprits were fined between
number of cases growing throughout 2018.20                                north-east and from Turkey and Albania in the south-                   Croatia’s import data (e.g. 480.8 tonnes compared to         15-21% of the market value.31
                                                                          east. Poland has been repeatedly highlighted as a first                57.3 tonnes in 2017).
In early 2019, Coolektiv, a ‘Committee of Experts’                        point of import for illegal HFCs entering through Ukraine                                                                           According to PROZON, the culprits and the cars,
including refrigerant producers Chemours and                              and shipped directly from China.                                       Media reports have also highlighted illegal HFC trade        with refrigerant still in them, were sent back to
Honeywell, refrigeration components association                                                                                                  in the Baltic States. In August 2018, the customs            Ukraine, leaving them at liberty to make another
                                                                                                                                                 authority of Estonia reported “a significant increase”
                                                                                                                                                                                                              attempt at smuggling the HFCs into Poland.32
                                                                                                                                                 in the number of attempts to import refrigerant from
                                                                                                                                                 outside the EU, with more than 200 attempts to bring         This not only highlights the potential scale of
                                                Norway                                                                                           illegal cylinders across the border from Russia.23 The
                                                                                                                                                                                                              illegal HFCs flooding into Poland from non-EU
                                                                                                                Russia
                                                                                                                                                 same report suggested Lithuania’s exchequer had
                                                                                         Estonia                                                 lost up to €5m in 2018 due to increased sales of illegal     border countries but also shows the need for more
                           From                                                                                                                                                                               effective enforcement through confiscation of illegal
                                                           Sweden                                                                                refrigerants.24 A refrigerant supplier from Latvia
                           Faroe                                                                                                                 reported to EIA a drop in sales in 2018 of 44% due to        refrigerant and higher fines to deter repeat offenses.
                                                                                           Latvia
                           Islands                                                                                                               illegal refrigerants on the market.25
                                                                                   Lithuania
                                                Denmark                                                                                          Greek industry raised strong concerns about the high
                                                                                  Russia                                                         levels of ongoing illegal HFC trade in responses to EIA’s   while PROZON estimates at least 30% of HFC-134a
                                                                                                     Belarus                                     survey. All Greek respondents mentioned Albania and         currently used in Poland’s MAC servicing sector is from
                                                                                                                                                 mainland Turkey as non-EU countries from which              questionable or simply illegal sources.28 A refrigerant
                United                                                                                                                           illegal HFCs were arriving; one specified trucks coming     supplier in Croatia stated: “We think that [a] much
               Kingdom                                                                                                                           over the border as the method of smuggling. EIA spoke       bigger problem are refrigerants imported into the EU
                                  Netherlands                                                                                                    with multiple industry sources at Chillventa 2018 who       and placed on the market outside of quota system. This
                                                                                    Poland
                                                                                                               Ukraine                           reported that illegal refrigerants constituted 50-80% of    practice is the most obvious in automotive aftermarket
                              Belgium            Germany                                                                                         the total market in Greece, Bulgaria and Romania. In        where according to the info we get from the market,
                                                                                                                                                 July 2018, 14 Greek HVACR representatives wrote to the      the vast majority of HFC-134a being sold by automotive
                                                            Czech Republic
                                      Lux                                         Slovakia                                                       Greek Government claiming that illegal refrigerants from    spare parts dealers in Croatia had probably been placed
                                                                                                                                                 Bulgaria, Albania, Macedonia and Turkey were costing        on the EU market outside of quota system”.
                                                                                                            Moldova
                                                                                                                                                 the Greek state over €20 million in lost VAT and taxes.26
                         France                                 Austria                                                                                                                                      The use of illegal disposable cylinders has also been
                                                                              Hungary
                                                                                                      Romania                                    Areas with different taxation rates were also cited as      repeatedly reported in the media, showing up in the
                                        Switzerland
                                                              Slovenia                                                                           source points, for example the Faroe Islands, which is      UK, Ireland, Germany, France and The Netherlands.29
                                                                                                                                                 not subject to the Danish HFC tax, was mentioned by a       According to a recent news article, after a tip-off from
                                                                Croatia    Bosnia and
                                                                                                                                                 respondent to EIA’s survey as an entry point for suspect    Dutch customs authorities, the Dutch inspectorate
                                                                           Herzegovina                                                           HFCs into Denmark. This could partly explain why            seized 123 disposable cylinders of HFC-134a from a car
                                                                                           Serbia         Bulgaria
                                                                                  Montenegro
                                                                                                                                                 China’s customs data shows an export of more than           parts warehouse in Rotterdam that had been imported
                                                                                          Kosovo                                                 10 tonnes of HFC mixtures to Denmark in 2017 while          outside of the EU quota system.30
                                                            Italy
                                                                                              Macedonia
                                                                                                                                                 European customs data shows no imports from China.
       Spain                                                                                                                                                                                                 Traders reported that illegal use was incentivised by the
                                                                                      Albania
                                                                                                                                                 The prevalence of illegal HFC-134a in the mobile            lack of enforcement; even if caught, fines and penalties
                                                                                                                         Turkey                  air-conditioning (MAC) servicing market has been            are too low to act as a deterrent, especially in comparison
                                                                                                Greece                                           repeatedly raised. In Italy, about 5-10% of the mobile      to the profits that can be made on the black market.
                                                                                                                                                 air-conditioning HFC market is estimated to be illegal27


                                                                Sicily



                                             Tunisia                      Malta
                          Algeria

Figure 5: Potential trade routes for illegal HFCs entering the EU


16                                                                                                          Environmental Investigation Agency   Doors wide open                                                                                                       17
  		
                                                                    JA18
                                                                                                                                                     USCA Case #21-1251               Document #1955329                  Filed: 07/15/2022         Page 23 of 561

Illegal trade in HFCs                                                                                                                            PROZON, a Polish NGO dedicated to reducing emissions
                                                                                                                                                 of ODS, has expressed concern about “massive and
                                                                                                                                                                                                               WHY IT PAYS TO BREAK THE LAW
                                                                                                                                                                                                               In March 2018, a two-day inspection of cars
                                                                                                                                                 growing” HFC smuggling entering Poland through the
The information provided by industry stakeholders                         Asercom, German refrigerant suppliers Westfalen and                    border with Ukraine and from Turkey (via Romania,             crossing the Polish-Ukraine border at Dolhobyczow
alongside multiple media reports and trade data                           Frigoteam Handels and retailer Rewe stated that illegal                Bulgaria, Hungary and Slovakia). It has also raised           highlighted the lucrative nature of black market
analysis suggests a growing prevalence of illegal HFC                     refrigerants entering Europe in 2018 were equivalent                   concerns that companies exceeding quotas is an even           trade in HFCs.
use impacting countries across the EU. In November                        to 20% of the legal HFC quota. Chemours claims that in                 bigger problem.22
2018, the European association of refrigeration, air-                     2018 around 22.5 MtCO2e were illegally imported into                                                                                 Three attempts to smuggle HFCs hidden in LPG
conditioning and heat pump contractors (AREA)                             the EU.21                                                              Italian industry sources have pointed to Albania, Malta,      tanks were prevented by customs officers. The
published a member survey covering 16 countries.                                                                                                 Poland and Greece (via Turkey) as the source of most
                                                                          Figure 5 illustrates potential trade routes for smuggled                                                                             cars contained between 64-90 litres of refrigerant;
Results of their industry survey showed over three                                                                                               black market HFCs in Italy. One source claimed that ISO
                                                                          HFCs according to industry reports and intelligence                                                                                  two of the cases were confirmed to be smuggling
quarters of the respondents were aware of illegal trade                                                                                          tanks of illegal HFCs are entering Italy from Croatia,
of higher GWP products. AREA stated that illegal trade                    gathered by EIA. Industry stakeholders report that illegal             a statement supported by the fact that Chinese trade          HFC-134a, with a market value of PLN4,600 (€1,060)-
was most significant in EU border countries, with the                     HFCs are entering the EU from Russia and Ukraine in the                data shows significantly higher exports to Croatia than       PLN6,500 (€1,510). The culprits were fined between
number of cases growing throughout 2018.20                                north-east and from Turkey and Albania in the south-                   Croatia’s import data (e.g. 480.8 tonnes compared to          15-21% of the market value.31
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In early 2019, Coolektiv, a ‘Committee of Experts’                        point of import for illegal HFCs entering through Ukraine                                                                            According to PROZON, the culprits and the cars,
including refrigerant producers Chemours and                              and shipped directly from China.                                       Media reports have also highlighted illegal HFC trade         with refrigerant still in them, were sent back to
Honeywell, refrigeration components association                                                                                                  in the Baltic States. In August 2018, the customs             Ukraine, leaving them at liberty to make another
                                                                                                                                                 authority of Estonia reported “a significant increase”
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                                                                                                                                                 in the number of attempts to import refrigerant from
                                                                                                                                                 outside the EU, with more than 200 attempts to bring          This not only highlights the potential scale of
                                                Norway                                                                                           illegal cylinders across the border from Russia.23 The
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                                                                                                                Russia
                                                                                                                                                 same report suggested Lithuania’s exchequer had
                                                                                         Estonia                                                 lost up to €5m in 2018 due to increased sales of illegal      border countries but also shows the need for more
                           From                                                                                                                                                                                effective enforcement through confiscation of illegal
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                           Faroe                                                                                                                 reported to EIA a drop in sales in 2018 of 44% due to         refrigerant and higher fines to deter repeat offenses.
                                                                                           Latvia
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                                                                                   Lithuania
                                                Denmark                                                                                          Greek industry raised strong concerns about the high
                                                                                  Russia                                                         levels of ongoing illegal HFC trade in responses to EIA’s    while PROZON estimates at least 30% of HFC-134a
                                                                                                     Belarus                                     survey. All Greek respondents mentioned Albania and          currently used in Poland’s MAC servicing sector is from
                                                                                                                                                 mainland Turkey as non-EU countries from which               questionable or simply illegal sources.28 A refrigerant
                United                                                                                                                           illegal HFCs were arriving; one specified trucks coming      supplier in Croatia stated: “We think that [a] much
               Kingdom                                                                                                                           over the border as the method of smuggling. EIA spoke        bigger problem are refrigerants imported into the EU
                                  Netherlands                                                                                                    with multiple industry sources at Chillventa 2018 who        and placed on the market outside of quota system. This
                                                                                    Poland
                                                                                                               Ukraine                           reported that illegal refrigerants constituted 50-80% of     practice is the most obvious in automotive aftermarket
                              Belgium            Germany                                                                                         the total market in Greece, Bulgaria and Romania. In         where according to the info we get from the market,
                                                                                                                                                 July 2018, 14 Greek HVACR representatives wrote to the       the vast majority of HFC-134a being sold by automotive
                                                            Czech Republic
                                      Lux                                         Slovakia                                                       Greek Government claiming that illegal refrigerants from     spare parts dealers in Croatia had probably been placed
                                                                                                                                                 Bulgaria, Albania, Macedonia and Turkey were costing         on the EU market outside of quota system”.
                                                                                                            Moldova
                                                                                                                                                 the Greek state over €20 million in lost VAT and taxes.26
                         France                                 Austria                                                                                                                                       The use of illegal disposable cylinders has also been
                                                                              Hungary
                                                                                                      Romania                                    Areas with different taxation rates were also cited as       repeatedly reported in the media, showing up in the
                                        Switzerland
                                                              Slovenia                                                                           source points, for example the Faroe Islands, which is       UK, Ireland, Germany, France and The Netherlands.29
                                                                                                                                                 not subject to the Danish HFC tax, was mentioned by a        According to a recent news article, after a tip-off from
                                                                Croatia    Bosnia and
                                                                                                                                                 respondent to EIA’s survey as an entry point for suspect     Dutch customs authorities, the Dutch inspectorate
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                                                            Italy
                                                                                              Macedonia
                                                                                                                                                 European customs data shows no imports from China.
       Spain                                                                                                                                                                                                  Traders reported that illegal use was incentivised by the
                                                                                      Albania
                                                                                                                                                 The prevalence of illegal HFC-134a in the mobile             lack of enforcement; even if caught, fines and penalties
                                                                                                                         Turkey                  air-conditioning (MAC) servicing market has been             are too low to act as a deterrent, especially in comparison
                                                                                                Greece                                           repeatedly raised. In Italy, about 5-10% of the mobile       to the profits that can be made on the black market.
                                                                                                                                                 air-conditioning HFC market is estimated to be illegal27


                                                                Sicily



                                            Tunisia                       Malta
                          Algeria

Figure 5: Potential trade routes for illegal HFCs entering the EU


16                                                                                                          Environmental Investigation Agency   Doors wide open                                                                                                        17
  		
                                                                                                                                                                                                            JA19
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              Methods of illegal trade                                                                                                                                                              Large shipments of non-quota HFCs or HFCs
                                                                                                                                                                                                    in excess of quota

              There are two distinct mechanisms with respect to           or destination of the HFC shipment). The significant                                                                      To date, EIA is not aware of any seizures of illegal HFCs
              the illegal trade of HFCs in the EU. The first can be       discrepancies between Chinese export and European                                                                         shipped into the EU in large tanks or ISO tanks. However,
              characterised as open smuggling of HFCs. This is where      import data could be to some extent an indication of                                                                      one industry source claimed ISO tanks were coming
              companies import non-quota HFCs though the normal           fraudulent import declarations.                                                                                           into Italy from Croatia41 while others have claimed
              customs channels. EIA’s analysis of 2018 customs data                                                                                                                                 large-scale imports are entering Poland.42 In EIA’s
              suggests that as much as 16.3 MtCO2e of bulk HFCs           Small scale/opportunistic smuggling via land                                                                              experience, such large shipments are rarely checked
              were illegally placed on the market in this way in 2018     and sea borders                                                                                                           due to unfamiliarity with the process, lack of adapters
              and more than 14.8 MtCO2e in 2017. The companies                                                                                                                                      needed to take a sample or lack of facilities to test the
              responsible could be registered in the HFC Registry or      There have been multiple accounts of relatively small                                                                     refrigerants. Industry insiders have noted concern that
              not, although one would expect the latter to be picked      amounts of illegal HFCs entering the EU via land                                                                          customs may only check if an importer is on the HFC
              up by customs authorities as it is a simple matter to       borders in vehicles (see box ‘Why it pays to break the                                                                    Registry and do not always check the amount of quota
              check if a company is registered or not.                    law’). One Austrian stakeholder told EIA: “What we hear                                                                   it has or request the Document of Conformity (DoC) in
                                                                          is that HFCs are brought in from Turkey or Serbia, via                                                                    the case of equipment imports.43 Given that customs
              A recent shipment seized in Rotterdam is an example         Bulgaria or Croatia, and in small quantities, i.e. in single                                                              officials have no way of determining how much quota
              of this. An illegal shipment of 600 cylinders of HFC-134a   use bottles, in private cars, mostly. So there’s a few                                                                    has already been used, the system is wide open to abuse
              was directly imported from Turkey by sea container.         bottles here and a few bottles there. Mostly 134a, for use                                                                (see Section on Regulatory Loopholes).
              The shipment was openly imported with the correct           in MAC. I have now also heard that there’s a lot coming
              commodity codes, however the Dutch importing                in via Poland from Ukraine.”34 The Estonian tax and                                                                       Illegal internet sales
              company was not registered in the HFC Registry.33           Customs Board claimed in 2018 there had been over 200
                                                                          attempts to bring illegal cylinders of refrigerant across                                                                 Online platforms are a popular way of selling illegal
              The second mechanism, which is much harder to               the border from Russia.35 Bulgarian customs officers                                                                      HFCs. They allow sellers to reach a large network of
              quantify, is the more traditional smuggling of HFCs         seized 12 disposable cylinders (six 10.9kg cylinders of                                                                   potential buyers without necessarily being registered
              across borders. This can occur outside customs              HFC-404A and six 13.6kg cylinders of HFC-134a) from                                                                       as an F-gas-licensed company. Some platforms simply
              channels altogether or where HFCs are concealed             an empty minibus covered by a blanket. The bus was                                                                        give a number to call or text to arrange for a private sale.
              either physically or through fraudulent documentation       allegedly on its way to Western Europe from Romania.36                                                                    Some enforcement efforts have enabled suspicious
              of HFC shipments (e.g. mislabelling the type, purpose       German authorities stopped a vehicle crossing the
                                                                                                                                          ©PROZON Fundacja Ochrony Klimatu
                                                                                                                                                                                                    adverts to be removed but the actual seller is rarely
                                                                                                                                                                                                    prevented from posting a new advert the following day.
                                                                                                                                         Above: Tanks and cylinders for F-gases                     To date, EIA is aware of just one successful prosecution
                                                                                                                                                                                                    of illegal online HFC selling, in Italy.44
                                                                                                 Below: Polish customs stopping
                                                                                           smugglers with R-404A in LPG car tank         border from Poland containing seven 10kg cylinders
                                                                                                                                         of HFC-404A and eleven 12kg cylinders of HFC-134a.
                                                                                                                                         The occupants of the vehicle claimed to be en route to
                                                                                                                                         Romania but were unable to provide proof of ownership
                                                                                                                                         of the cylinders.37

                                                                                                                                         In April and May 2018, there were also reported
                                                                                                                                         incidents of refrigerants coming into southern Italy
                                                                                                                                         on fishing boats from Malta to Sicily (originally from
                                                                                                                                         Turkey). The number of fishing boats from Malta makes
                                                                                                                                         this difficult to monitor.38

                                                                                                                                         Offloading in transit
                                                                                                                                         Instances have been reported of refrigerants coming
                                                                                                                                         through Greece ‘in transit’ from non-EU countries to
                                                                                                                                         other non-EU countries but then offloaded and replaced
                                                                                                                                         with empty cylinders to ship onwards.39 EIA spoke with              Above: Screenshot of disposable cylinders of
                                                                                                                                         one Italian company which sent a shipment of HFC-                          R-134a for sale on facebook in Greece
                                                                                                                                         134a to Serbia via Bulgaria; two weeks later it realised
                                                                                                                                         the disposable cylinders, intended for export outside
                                                                                                                                         EU, were illegally made available on the Italian market.
                                                                                                                                                                                                    In July 2018, Cooling Post conducted a simple search
                                                                                                                                         The company filed an official complaint and found that
                                                                                                                                                                                                    of German site eBay Kleinanzeigan, finding 80 German
                                                                                                                                         the company in charge of the shipment had used fake
                                                                                                                                                                                                    vendors offering HFC-134a in disposable cylinders.
                                                                                                                                         papers. An investigation is ongoing.40
                                                                                                                                                                                                    By August, this number had increased to 120 vendors.
                                                                                                                                                                                                    Many vendors appeared to have access to reasonable
                                                                                                                                                                                                    quantities with offers of discounts for multiple
                                                                                                                                                                                                    cylinders.45 In Italy, a presenter on a Canale 5 TV
                                                                                                                                                                                                    programme Striscia la Notizia successfully purchased
                                                                                                                                                                                                    (without an F-gas licence) an 800g bottle of HFC-410A
                                                                                                                                                                                                    from a seller on Amazon.46


              18                                                                                                                         Doors wide open                                                                                                      19

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              Methods of illegal trade                                                                                                                                                               Large shipments of non-quota HFCs or HFCs
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              There are two distinct mechanisms with respect to           or destination of the HFC shipment). The significant                                                                       To date, EIA is not aware of any seizures of illegal HFCs
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              customs channels. EIA’s analysis of 2018 customs data                                                                                                                                  large-scale imports are entering Poland.42 In EIA’s
              suggests that as much as 16.3 MtCO2e of bulk HFCs           Small scale/opportunistic smuggling via land                                                                               experience, such large shipments are rarely checked
              were illegally placed on the market in this way in 2018     and sea borders                                                                                                            due to unfamiliarity with the process, lack of adapters
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              not, although one would expect the latter to be picked      amounts of illegal HFCs entering the EU via land                                                                           customs may only check if an importer is on the HFC
              up by customs authorities as it is a simple matter to       borders in vehicles (see box ‘Why it pays to break the                                                                     Registry and do not always check the amount of quota
              check if a company is registered or not.                    law’). One Austrian stakeholder told EIA: “What we hear                                                                    it has or request the Document of Conformity (DoC) in
                                                                          is that HFCs are brought in from Turkey or Serbia, via                                                                     the case of equipment imports.43 Given that customs
              A recent shipment seized in Rotterdam is an example         Bulgaria or Croatia, and in small quantities, i.e. in single                                                               officials have no way of determining how much quota
              of this. An illegal shipment of 600 cylinders of HFC-134a   use bottles, in private cars, mostly. So there’s a few                                                                     has already been used, the system is wide open to abuse
              was directly imported from Turkey by sea container.         bottles here and a few bottles there. Mostly 134a, for use                                                                 (see Section on Regulatory Loopholes).
              The shipment was openly imported with the correct           in MAC. I have now also heard that there’s a lot coming
              commodity codes, however the Dutch importing                in via Poland from Ukraine.”34 The Estonian tax and                                                                        Illegal internet sales
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                                                                          attempts to bring illegal cylinders of refrigerant across                                                                  Online platforms are a popular way of selling illegal
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              quantify, is the more traditional smuggling of HFCs         seized 12 disposable cylinders (six 10.9kg cylinders of                                                                    potential buyers without necessarily being registered
              across borders. This can occur outside customs              HFC-404A and six 13.6kg cylinders of HFC-134a) from                                                                        as an F-gas-licensed company. Some platforms simply
              channels altogether or where HFCs are concealed             an empty minibus covered by a blanket. The bus was                                                                         give a number to call or text to arrange for a private sale.
              either physically or through fraudulent documentation       allegedly on its way to Western Europe from Romania.36                                                                     Some enforcement efforts have enabled suspicious
              of HFC shipments (e.g. mislabelling the type, purpose       German authorities stopped a vehicle crossing the
                                                                                                                                           ©PROZON Fundacja Ochrony Klimatu
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                                                                                           smugglers with R-404A in LPG car tank          border from Poland containing seven 10kg cylinders
                                                                                                                                          of HFC-404A and eleven 12kg cylinders of HFC-134a.
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                                                                                                                                          other non-EU countries but then offloaded and replaced
                                                                                                                                          with empty cylinders to ship onwards.39 EIA spoke with              Above: Screenshot of disposable cylinders of
                                                                                                                                          one Italian company which sent a shipment of HFC-                          R-134a for sale on facebook in Greece
                                                                                                                                          134a to Serbia via Bulgaria; two weeks later it realised
                                                                                                                                          the disposable cylinders, intended for export outside
                                                                                                                                          EU, were illegally made available on the Italian market.
                                                                                                                                                                                                     In July 2018, Cooling Post conducted a simple search
                                                                                                                                          The company filed an official complaint and found that
                                                                                                                                                                                                     of German site eBay Kleinanzeigan, finding 80 German
                                                                                                                                          the company in charge of the shipment had used fake
                                                                                                                                                                                                     vendors offering HFC-134a in disposable cylinders.
                                                                                                                                          papers. An investigation is ongoing.40
                                                                                                                                                                                                     By August, this number had increased to 120 vendors.
                                                                                                                                                                                                     Many vendors appeared to have access to reasonable
                                                                                                                                                                                                     quantities with offers of discounts for multiple
                                                                                                                                                                                                     cylinders.45 In Italy, a presenter on a Canale 5 TV
                                                                                                                                                                                                     programme Striscia la Notizia successfully purchased
                                                                                                                                                                                                     (without an F-gas licence) an 800g bottle of HFC-410A
                                                                                                                                                                                                     from a seller on Amazon.46


              18                                                                                                                          Doors wide open                                                                                                      19

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                                                                                                                                                                                            JA21
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                                                                                                                                                                                                 Right: F-gas LPG

Action being taken by EU member states to                                                                                                                                                          analyzer used
                                                                                                                                                                                                     by customs

address illegal trade in HFCs
If a company is known to have exceeded its HFC quota                           were received from the following countries: Austria,                     Table 7 shows the levels of penalties reported by
under the F-gas Regulation, the European Commission                            Belgium, Bulgaria, Cyprus, Czech Republic, Denmark,                      member states. The level of penalties imposed varies
will reduce its next quota by double the amount by                             Finland, Germany, Luxembourg, the Netherlands,                           considerably from country to country, from as low as
which it was exceeded. In all other respects, the burden                       Poland, Slovenia and the UK.                                             €160 to as much as €4 million (both Belgium). Finland
of enforcement lies on the member states.                                                                                                               did not specify types of penalties for each infraction
                                                                               The responses demonstrate a variety of approaches and                    but stated that the punishment for deliberate criminal
In September 2018, EIA contacted each EU member                                some clear enforcement successes but EIA is concerned                    action which results in destruction of the environment
state requesting information on efforts to implement                           at the lack of strict penalties being applied, which                     would warrant a two- to six-year jail sentence.
and enforce the F-gas Regulation. Thirteen responses                           reduces the deterrent effect for would be criminals.                     EIA also requested information from member states
                                                                                                                                                        on action taken to punish offences under the F-gas
                                                                                                                                                        Regulation. The responses suggest that very few
  Breach                                    Penalty                                                                                                     penalties have been applied and most of those imposed
                                                                                                                                                        have related to leakage checks and record keeping.
  Intentional release of HFCs               • Czech Republic – fine up to €39,000                                                                       In 2017, Bulgarian customs seized 7,000 kgs of HFCs.
                                                                                                                                                                                                                     ©PROZON Fundacja Ochrony Klimatu

  in breach of Art 3(1)                     • Cyprus – fine up to €5,000 (forward to Court of Justice if bigger)
                                                                                                                                                        The country also imposed 36 fines (of unknown
                                            • Belgium – none                                                                                                                                                        The scale of penalties and their application has a
                                                                                                                                                        amounts) relating to disposable cylinders, non-quota
                                            • Denmark – fine or in severe cases imprisonment up to two years, case by case basis                                                                                    big impact on illegal trade. The lucrative nature of
                                                                                                                                                        POM of HFCs, importing HFC-containing equipment
                                            • Luxembourg – prison sentence one month - one year or fine €50,000 - €500,000                                                                                          selling black market HFCs in the EU means that large
                                            • Poland – fine apx €930-€3,500                                                                             without a quota and paperwork infringements.
                                                                                                                                                                                                                    profits can be made through criminal activity. Unless
                                            • Slovenia – fines of €1,200-30,000                                                                         Denmark reported a seizure of non-refillable containers
                                                                                                                                                                                                                    penalties are high enough and imposed regularly, black
                                            • UK – max penalty apx €225,000                                                                             at Copenhagen airport in 2018, although no further
                                                                                                                                                                                                                    market traders will simply factor penalties into regular
                                                                                                                                                        details were given.
                                                                                                                                                                                                                    business costs. Moreover, without proportionate and
  Placing HFCs on the market                • Czech Republic – fine up to €39,000                                                                                                                                   dissuasive penalties applicable across all member
                                                                                                                                                        Czech authorities have issued 95 fines since 2015
  without a quota in breach of              • Cyprus – fine up to €5,000 (forward to Court of Justice) if bigger                                                                                                    states, those with lesser penalties will undermine
  Art 15(1) para 2                          • Belgium – prison sentence eight days – three years, fines €160 up to €4,000,000.                          amounting to 2,264,000 CZK (approx €88,600). Most
                                                                                                                                                                                                                    efforts undertaken by neighbouring countries.
                                            • Denmark – fine or in severe cases imprisonment up to two years, case by case basis                        fines were issued for infringements related to incorrect
  Placing equipment or                      • Luxembourg – prison sentence one month – one year or fine €50,000 - €500,000                              leakage checks. The biggest fine issued was 290,000
  products on the market in                                                                                                                             CZK (approx €11,350) for leak checks and record-keeping     Measures to monitor and enforce the F-gas
                                            • Poland – fine apx €1,400-€10,500
  breach of Art 11 & Annex II               • Slovenia – fines of €1,200-30,000                                                                         infringements. Cyprus also reported fines had been          Regulation
                                            • UK – max penalty apx €225,000                                                                             applied for record-keeping infringements although no
  Importing equipment                                                                                                                                                                                               Member states reported on a number of activities
                                                                                                                                                        details were given.
  containing HFCs without a                                                                                                                                                                                         undertaken to support implementation and
  quota in breach of Art 14(1)                                                                                                                                                                                      enforcement of the F-gas Regulation. These included:
                                                                                                                                                        Poland conducted over 600 inspections in 2017
                                                                                                                                                        preventing over 80 attempts to illegally import HFCs.       • publishing information on web-based platforms and
  Importing equipment                       • Czech Republic – fine up to €39,000                                                                       In the first half of 2018, more than 400 illegal HFC          through associations
  containing HFCs without                   • Cyprus – fine up to €5,000 (forward to Court of Justice) if bigger                                        imports were stopped. One fine was issued in 2017.          • production of an F-gas Regulation handbook for
  a declaration of conformity               • Belgium – prison sentence eight days – three years, fines €160 up to €4,000,000.                          Poland maintains its own electronic database of               Custom Officers
  in breach of Art 14(2)                    • Denmark – fine or in severe cases imprisonment up to two years, case by case basis                        HFC reporting, which includes imports and exports
                                            • Luxembourg – prison sentence one month – one year or fine €50,000 - €500,000                                                                                          • including F-gases in Custom’s Risk Analysis, risk-
                                                                                                                                                        of less than 100 tCO2e. The reports are analysed and
                                            • Poland – fine apx €1,400-€10,500                                                                                                                                        profiling for imports of bulk F-gases
                                                                                                                                                        compared with reports submitted to its Database of
                                            • Slovenia – fines of €1,200-30,000                                                                         Reports (DBR) and discrepancies followed up with the        • organising workshops and seminars for stakeholders
                                            • UK – max penalty apx €225,000                                                                                                                                           including customs
                                                                                                                                                        companies in question.
                                                                                                                                                                                                                    • on-site customs training and use of mobile
  Placing on the market                     • Czech Republic – fine up to apx €58,500                                                                   The UK reported 23 investigations in 2018 covering a          gas analysers
  non-refillable containers                 • Cyprus – up to €5,000 (forward to Court of Justice if bigger)                                             range of breaches including imports of F-gas without        • regular inspections at customs and regular in-country
  (e.g. disposable cylinders)               • Belgium – Seizure of property and fines, potential destruction or re-export                               quota, sales of gas in disposable cylinders, sales of gas     inspections/market surveillance
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                                            • Denmark - fine or in severe cases imprisonment up to two years, case by case basis                                                                                    • monitoring of online marketplaces such as eBay,
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                                            • Poland – fine apx €1,400-€10,500                                                                                                                                        working with e-retailers to remove illegal products
                                                                                                                                                        undertakings, deliberate release of F-gas and failure to
                                            • Slovenia – fines of €1,200-30,000                                                                                                                                       from sale, prevent them being sold and gather
                                            • UK – max penalty apx €225,000                                                                             carry out the appropriate leak checks or record keeping.
                                                                                                                                                                                                                      evidence about those involved in these activities
                                                                                                                                                        However, no prosecution has been carried out to date.
                                                                                                                                                        In 2018, the UK changed its criminal sanctions to civil     • intelligence-led investigations
Note: Bulgaria did not have an English version available, Finland gave limited information and Germany/Austria did not give details
                                                                                                                                                        penalties (in all but one infringement) in the hope that    • targeted campaigns – e.g. in Denmark aimed at
Table 7: Penalties for breaching provisions of the F-gas Regulation in member states                                                                    it would be easier to apply and therefore act as a more       marketing of split heat pumps to non-authorised
                                                                                                                                                        effective deterrent.                                          persons, in the UK on the servicing ban.




20                                                                                                                 Environmental Investigation Agency   Doors wide open                                                                                                   21
                                                                       JA22
                                                                                                                                                            USCA Case #21-1251              Document #1955329                      Filed: 07/15/2022    Page 27 of 561
                                                                                                                                                                                                 Right: F-gas LPG

Action being taken by EU member states to                                                                                                                                                          analyzer used
                                                                                                                                                                                                     by customs

address illegal trade in HFCs
If a company is known to have exceeded its HFC quota                           were received from the following countries: Austria,                     Table 7 shows the levels of penalties reported by
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                                                                                                                                                                                                                     ©PROZON Fundacja Ochrony Klimatu

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                                                                                                                                                                                                                    profits can be made through criminal activity. Unless
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  products on the market in                                                                                                                             CZK (approx €11,350) for leak checks and record-keeping     Measures to monitor and enforce the F-gas
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                                            • UK – max penalty apx €225,000                                                                             carry out the appropriate leak checks or record keeping.
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Table 7: Penalties for breaching provisions of the F-gas Regulation in member states                                                                    it would be easier to apply and therefore act as a more       marketing of split heat pumps to non-authorised
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20                                                                                                                 Environmental Investigation Agency   Doors wide open                                                                                                   21
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Regulatory loopholes and tools to combat                                                                                          HFC licensing

illegal trade                                                                                                                     Trade in ODS has historically been controlled by
                                                                                                                                  licensing systems, as required by the Montreal Protocol.
                                                                                                                                                                                              on the SAD.56 The creation of an electronic link between
                                                                                                                                                                                              the HFC Registry (HFC quota allocation in tCO2e) and
                                                                                                                                  The Protocol considers a licensing system to be a           the information on the SAD (HFC imports by CN code)
                                                                                                                                  scheme whereby a license is granted by a competent          could allow a real-time comparison between actual HFC
Control of HFC trade at the customs level                                                                                         authority (here, the European Commission) for an            imports declared at the border and current available
                                                                                                                                  individual to export and import controlled substances. To   HFC quota in the HFC Registry.
In order to place HFCs on the EU market, companies           describes quantities in kilogrammes or tonnes. While
                                                                                                                                  be effective, it should cover all controlled substances –
must apply for and secure HFC quotas which are               it is potentially possible for customs to calculate the                                                                          In order to function, the SAD would need to contain
                                                                                                                                  whether new, used, recycled or reclaimed and regardless
allocated for free. Since 2017, imports of HFCs in pre-      tCO2e based on the GWP of the HFC or HFC blends being                                                                            information on the tCO2e of HFC trade, not just the CN
                                                                                                                                  of the purpose of the export or import – and should be
charged equipment have also required an HFC quota.           imported, this adds an extra administrative burden                                                                               code since the CN codes for HFC imports are usually
                                                                                                                                  supported by a ban on unlicensed exports and imports.
Importers of pre-charged equipment must either have          to the customs procedure. ASHRAE reports some                                                                                    not sufficient on their own to calculate the tCO2e.57 The
                                                                                                                                  In addition to facilitating compliance with relevant
HFC quotas allocated to them directly or secure an           82 different HFC blends with varying GWPs that are                                                                               system would be further enhanced by future inclusion
                                                                                                                                  reporting requirements, licensing systems help prevent
“authorisation” from another HFC quota-holder.               subject to the F-gas Regulation.51                                                                                               in the EU Single Window, assuming this becomes
                                                                                                                                  illegal trade by allowing cross-checking of information
Quotas and authorisations are not needed for imports of      Even if an importer is clearly importing an amount                   between exporting and importing countries. 53               mandatory across the EU.
less than 100 tCO2e of HFC per year (in equipment or as      in excess of the company’s annual quota (e.g. in one
bulk gas). This is almost 70kg of HFC-134a or 25.5kg HFC-    shipment), customs are still not able to determine                   While a licensing system for ODS exists, the EU does        Other customs tools
404A. Bulk HFCs supplied directly to an undertaking for      that the shipment is in contravention of the F-gas                   not have an HFC licensing system, based on an early
export are also exempt from the phase-down, as are HFCs      Regulation since the importer could claim (legitimately              decision made by the Commission not to incorporate          The EU’s Import Control System (ICS) requires
for military equipment, destruction, feedstocks, and, from   or otherwise) that part of the shipment is for re-export             one in the revised F-gas Regulation. At the time, the       a pre-declaration from the carrier or authorised
2018, MDIs.47                                                outside the EU.                                                      Commission cited certain barriers, explaining its           representative to be submitted prior to goods arriving
                                                                                                                                  decision as follows:                                        in the EU.58 The ICS has the potential to be a useful
Currently the European Commission is not generally           The lack of customs control is of particular concern                 “Unless required by an international agreement under        tool to combat illegal trade in HFCs as it can enable
obliged to cross check data reported by F-gas traders to     given the influx of new companies reporting on F-gas                 the Montreal Protocol, a licensing system should            information from the exporter to be cross-checked
the HFC Registry with EU customs data. If a company          activity since the F-gas Regulation began. A total of                not be envisaged for the HFC in order to reduce             with the self-declared information from the importer.
places more than 10,000 tCO2e HFCs (almost seven             1,699 companies reported during 2017, 33% more than                  the administrative burden for the companies and             However, discussions with industry suggest that this
tonnes HFC-134a) on the market in any one year it must       the previous year.52 The increase is mostly due to the               authorities involved. Furthermore, the applicable           system is not always enforced.
have its report verified by an external auditor. However,    large increase in new companies reporting bulk HFC                   customs codes do not (yet) distinguish between HFCs
it is not clear how transparent the auditing process is      imports; some 564 companies reported imports of bulk                 and other substances serving the same purposes.”54          Informal Prior Informed Consent (iPIC) is a voluntary
and whether auditors have any minimum standards              HFCs compared to just 282 in 2015.                                                                                               program run by the United Nations Environment
they must adhere to.                                                                                                              Whether valid at the time or not, these barriers no         Program (UNEP) to provide participating countries with
                                                             The current system is inadequate to confirm the
                                                                                                                                  longer exist; the Kigali Amendment adopted in 2016          real-time access to licensing system data from other
All goods imported into the EU should be declared            legitimacy of new entrants and to prevent them from
                                                                                                                                  makes clear that an HFC licensing system is now             participating countries.59 It currently focuses on ODS
to the customs authorities of the respective member          importing in excess of quota. Companies can simply
                                                                                                                                  required while new CN codes for specific HFCs and           but some countries already include screening for HFCs
state using the Single Administrative Document (SAD),        shut down to avoid repercussions or mis-declare data to
                                                                                                                                  groups of HFCs have been in place since 2015.55             and a newly updated version will allow for information
which is the common import declaration form for all          the HFC Registry.
                                                                                                                                                                                              on HFCs to be included. As Montreal Protocol Parties
the member states.48 The SAD details information                                                                                  The F-gas electronic registry, with some modifications,     begin to implement HFC licensing systems, greater
regarding the importer, exporter, CN Code, weight            It is clear that the current system does not allow
                                                             customs officials to effectively enforce the F-gas                   could fulfil part of the function of an HFC licensing       efforts should be made to enhance communication on
and units of goods, country of origin, destination and                                                                            system. To do so, it would need to be electronically        HFC trade with key EU trading partners.
other key data contained in the Integrated Tariff of         Regulation. From EIA’s perspective, there are two
                                                                                                                                  linked to the TARIC database employed by customs
the European Communities (TARIC) database. 49 The            potential solutions:
                                                                                                                                  authorities, which contains the information declared
information is self-declared by the importer and is not
                                                             1. A per-shipment licensing system akin to the EU’s
cross-checked with any information from the exporter.
                                                              
                                                                licensing system for ozone-depleting substances                                                                                                    Below: Customs trained by PROZON
Other documents may be required, e.g. a Customs Value
                                                                (ODS), whereby customs officials have documentation                                                                                                     at Gdansk container terminal
Declaration if the value exceeds €20,000 and transport
documentation (e.g. a Bill of Lading or Air Waybill).           authorised by the exporter and importer within a
For equipment containing HFCs, the F-gas Regulation             system managed by the European Commission
requires a Declaration of Conformity (DoC), confirming       2. A real-time live updating of the centrally held
that the HFCs inside the equipment are accounted for
                                                                  
                                                                F-gas register, whereby customs authorities can
within the quota system of the F-gas Regulation (i.e.           check if an importer has available quota. Additional
that they have quotas or authorisations covering the            documentation would be needed for imports which
amount of HFCs in the equipment).50                             are destined for immediate re-export or when
Customs have access to the HFC Registry where they              claiming another exemption to the quota system.
can check whether or not an importer is registered
and access the importer’s annual quota allocation
or authorisation, although there is no access to
information to let customs know how much a company
has already imported.

Furthermore, the quota allocation and authorisation are
measured in tonnes CO2 equivalent, whereas the SAD




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Regulatory loopholes and tools to combat                                                                                          HFC licensing

illegal trade                                                                                                                     Trade in ODS has historically been controlled by
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                                                                                                                                  scheme whereby a license is granted by a competent          could allow a real-time comparison between actual HFC
Control of HFC trade at the customs level                                                                                         authority (here, the European Commission) for an            imports declared at the border and current available
                                                                                                                                  individual to export and import controlled substances. To   HFC quota in the HFC Registry.
In order to place HFCs on the EU market, companies           describes quantities in kilogrammes or tonnes. While
                                                                                                                                  be effective, it should cover all controlled substances –
must apply for and secure HFC quotas which are               it is potentially possible for customs to calculate the                                                                          In order to function, the SAD would need to contain
                                                                                                                                  whether new, used, recycled or reclaimed and regardless
allocated for free. Since 2017, imports of HFCs in pre-      tCO2e based on the GWP of the HFC or HFC blends being                                                                            information on the tCO2e of HFC trade, not just the CN
                                                                                                                                  of the purpose of the export or import – and should be
charged equipment have also required an HFC quota.           imported, this adds an extra administrative burden                                                                               code since the CN codes for HFC imports are usually
                                                                                                                                  supported by a ban on unlicensed exports and imports.
Importers of pre-charged equipment must either have          to the customs procedure. ASHRAE reports some                                                                                    not sufficient on their own to calculate the tCO2e.57 The
                                                                                                                                  In addition to facilitating compliance with relevant
HFC quotas allocated to them directly or secure an           82 different HFC blends with varying GWPs that are                                                                               system would be further enhanced by future inclusion
                                                                                                                                  reporting requirements, licensing systems help prevent
“authorisation” from another HFC quota-holder.               subject to the F-gas Regulation.51                                                                                               in the EU Single Window, assuming this becomes
                                                                                                                                  illegal trade by allowing cross-checking of information
Quotas and authorisations are not needed for imports of      Even if an importer is clearly importing an amount                   between exporting and importing countries. 53               mandatory across the EU.
less than 100 tCO2e of HFC per year (in equipment or as      in excess of the company’s annual quota (e.g. in one
bulk gas). This is almost 70kg of HFC-134a or 25.5kg HFC-    shipment), customs are still not able to determine                   While a licensing system for ODS exists, the EU does        Other customs tools
404A. Bulk HFCs supplied directly to an undertaking for      that the shipment is in contravention of the F-gas                   not have an HFC licensing system, based on an early
export are also exempt from the phase-down, as are HFCs      Regulation since the importer could claim (legitimately              decision made by the Commission not to incorporate          The EU’s Import Control System (ICS) requires
for military equipment, destruction, feedstocks, and, from   or otherwise) that part of the shipment is for re-export             one in the revised F-gas Regulation. At the time, the       a pre-declaration from the carrier or authorised
2018, MDIs.47                                                outside the EU.                                                      Commission cited certain barriers, explaining its           representative to be submitted prior to goods arriving
                                                                                                                                  decision as follows:                                        in the EU.58 The ICS has the potential to be a useful
Currently the European Commission is not generally           The lack of customs control is of particular concern                 “Unless required by an international agreement under        tool to combat illegal trade in HFCs as it can enable
obliged to cross check data reported by F-gas traders to     given the influx of new companies reporting on F-gas                 the Montreal Protocol, a licensing system should            information from the exporter to be cross-checked
the HFC Registry with EU customs data. If a company          activity since the F-gas Regulation began. A total of                not be envisaged for the HFC in order to reduce             with the self-declared information from the importer.
places more than 10,000 tCO2e HFCs (almost seven             1,699 companies reported during 2017, 33% more than                  the administrative burden for the companies and             However, discussions with industry suggest that this
tonnes HFC-134a) on the market in any one year it must       the previous year.52 The increase is mostly due to the               authorities involved. Furthermore, the applicable           system is not always enforced.
have its report verified by an external auditor. However,    large increase in new companies reporting bulk HFC                   customs codes do not (yet) distinguish between HFCs
it is not clear how transparent the auditing process is      imports; some 564 companies reported imports of bulk                 and other substances serving the same purposes.”54          Informal Prior Informed Consent (iPIC) is a voluntary
and whether auditors have any minimum standards              HFCs compared to just 282 in 2015.                                                                                               program run by the United Nations Environment
they must adhere to.                                                                                                              Whether valid at the time or not, these barriers no         Program (UNEP) to provide participating countries with
                                                             The current system is inadequate to confirm the
                                                                                                                                  longer exist; the Kigali Amendment adopted in 2016          real-time access to licensing system data from other
All goods imported into the EU should be declared            legitimacy of new entrants and to prevent them from
                                                                                                                                  makes clear that an HFC licensing system is now             participating countries.59 It currently focuses on ODS
to the customs authorities of the respective member          importing in excess of quota. Companies can simply
                                                                                                                                  required while new CN codes for specific HFCs and           but some countries already include screening for HFCs
state using the Single Administrative Document (SAD),        shut down to avoid repercussions or mis-declare data to
                                                                                                                                  groups of HFCs have been in place since 2015.55             and a newly updated version will allow for information
which is the common import declaration form for all          the HFC Registry.
                                                                                                                                                                                              on HFCs to be included. As Montreal Protocol Parties
the member states.48 The SAD details information                                                                                  The F-gas electronic registry, with some modifications,     begin to implement HFC licensing systems, greater
regarding the importer, exporter, CN Code, weight            It is clear that the current system does not allow
                                                             customs officials to effectively enforce the F-gas                   could fulfil part of the function of an HFC licensing       efforts should be made to enhance communication on
and units of goods, country of origin, destination and                                                                            system. To do so, it would need to be electronically        HFC trade with key EU trading partners.
other key data contained in the Integrated Tariff of         Regulation. From EIA’s perspective, there are two
                                                                                                                                  linked to the TARIC database employed by customs
the European Communities (TARIC) database. 49 The            potential solutions:
                                                                                                                                  authorities, which contains the information declared
information is self-declared by the importer and is not
                                                             1. A per-shipment licensing system akin to the EU’s
cross-checked with any information from the exporter.
                                                              
                                                                licensing system for ozone-depleting substances                                                                                                    Below: Customs trained by PROZON
Other documents may be required, e.g. a Customs Value
                                                                (ODS), whereby customs officials have documentation                                                                                                     at Gdansk container terminal
Declaration if the value exceeds €20,000 and transport
documentation (e.g. a Bill of Lading or Air Waybill).           authorised by the exporter and importer within a
For equipment containing HFCs, the F-gas Regulation             system managed by the European Commission
requires a Declaration of Conformity (DoC), confirming       2. A real-time live updating of the centrally held
that the HFCs inside the equipment are accounted for
                                                                  
                                                                F-gas register, whereby customs authorities can
within the quota system of the F-gas Regulation (i.e.           check if an importer has available quota. Additional
that they have quotas or authorisations covering the            documentation would be needed for imports which
amount of HFCs in the equipment).50                             are destined for immediate re-export or when
Customs have access to the HFC Registry where they              claiming another exemption to the quota system.
can check whether or not an importer is registered
and access the importer’s annual quota allocation
or authorisation, although there is no access to
information to let customs know how much a company
has already imported.

Furthermore, the quota allocation and authorisation are
measured in tonnes CO2 equivalent, whereas the SAD




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Non-refillable containers                                       THE COST OF FREE HFC QUOTAS                                    Conclusions
The EU first banned placing non-refillable (disposable)         Under the F-gas Regulation, HFC quotas are
containers of ODS on the market in the EU ODS                   allocated for free. Most of the quotas (89%) are               A review and analysis of survey, HFC Registry and            to the HFC Registry. Allocating quota at cost would help
Regulation in 2000 and then again in 2009.61 It later                                                                          customs data alongside widespread media reports              deter illegitimate traders from joining as new entrants
                                                                grandfathered to incumbents, primarily the large
banned placing non-refillable containers of HFCs on                                                                            indicates that Europe is faced with a substantial level      in the future.
the market in the F-gas Regulation in 2006 and then             producer companies and some major distributors,
                                                                allowing monopolistic price increases of legal                 of illegal use and trade in HFCs.
again in 2014.62 The justification for this prohibition was                                                                                                                                 The 100 tCO2e exemption for imports also muddies
emissions-related, namely non-refillable containers             HFCs (which in turn supports lucrative black                   EIA’s analysis of 2018 customs data suggests that as         the waters and encourages illegal trade. This amount
“are designed to be disposable, which means that any            markets for illegal HFCs). The other 11% of                    much as 16.3 MtCO2e of bulk HFCs were illegally placed       is equivalent to almost 70kg of HFC-134a (GWP 1,430),
fluorinated gas left in such containers will eventually         HFC quota each year is divided evenly between                  on the market in 2018. This represents more than 16%         which means that a company can legally import five
be emitted to the atmosphere.”63                                new entrants. After three years, new entrants                  of the 2018 quota and is in addition to illegal imports of   13kg HFC-134a cylinders without registering with the
                                                                become incumbents.                                             HFC-containing equipment and illegal HFCs that are           HFC Registry or having quota.
The F-gas Regulation defines a non-refillable container                                                                        undoubtedly being smuggled under the radar of customs.
as “a container which cannot be refilled without being                                                                                                                                      The widespread use of disposable cylinders in the
                                                                Allocating quotas for free encourages profiteering
adapted for that purpose or is placed on the market                                                                            EIA’s analysis also indicates a discrepancy between          illegal trade (including HCFC illegal trade) warrants
                                                                from quota trading, given the volatility of HFC                European customs data and HFC Registry data of at least      efforts by member states to make legislative changes to
without provision having been made for its return for
refilling.”64 This definition, which was not included in        prices. Allocating HFC quotas at cost would                    14.8 MtCO2e in 2017, equivalent to 8.7% of the 2017 quota.   ease the enforcement challenge. The current ban under
the EU ODS Regulation, therefore creates an exception           reduce the incentive to trade quotas and help                                                                               the F-gas Regulation should be strengthened to ban
                                                                secure important financial resources to support                HFCs are being illegally imported in large and small         the use (not just the placing on the market) of all non-
for disposable containers where “provision ha[s]
                                                                                                                               containers, including in illegal disposable cylinders,       refillable cylinders, no matter whether or not provision
been made for its return for refilling.” It complicates         enforcement of the F-gas Regulation.60
                                                                                                                               and are sold on the market through various channels          is made for their return. The EU and its industry should
enforcement since it is not clear what evidentiary
                                                                                                                               including web-based platforms. Illegal HFCs are coming       also work toward a global ban on disposable cylinders.
requirements one must meet to show provision has
                                                                                                                               into Europe from China directly and via EU-border
been made for its return for refilling and no guidance
                                                                                                                               countries, in particular via Russia, Ukraine, Turkey and     EIA believes that the illegal trade in HFCs and
has been forthcoming from the Commission.                     Lost profits due to illegal HFC trade
                                                                                                                               Albania. Customs data discrepancies indicate key entry       stockpiling of HFCs in 2017, alongside the reserve of
                                                                                                                               points are likely Denmark, Greece, Latvia, Poland and        authorisations built up by equipment importers since
Although it is often relatively easy to detect disposable     Governments are losing considerable tax revenues due
                                                                                                                               Malta, however all member states should take steps to        2015 have produced a false sense of security in terms
cylinders, it is not always easy to prove that they have      to the illegal HFC trade, through direct loss of VAT and
                                                                                                                               examine customs data in relation to company data in          of meeting the phase-down target from 2018 onwards.
been placed on the market since the start of the ban in       import duty, but also through the indirect impact that
                                                                                                                               the HFC Registry.                                            Future supply cuts will not allow stockpiling, given the
2006. From a compliance and enforcement perspective,          illegal trade has to lower the price of legal refrigerants.
                                                                                                                                                                                            2018 step is already some 48% of the baseline in real
a use ban (without the return exception) would be             A recent report from Polish NGO PROZON estimated                 There is an urgent need to immediately improve               terms. Companies therefore could face HFC shortages
superior to the current POM provision since it avoids         that Poland’s treasury lost €7 million in 2018 due to            enforcement of the F-gas Regulation, particularly at the     in 2019 and 2020 and critical shortages in 2021 (when
the additional burden on authorities to prove whether         illegal refrigerant imports valued at €55 million, some          EU border level. Member states need to seize, prosecute      supply is again reduced) unless action is taken to speed
or not the non-refillable container was placed on the         40% of Polish demand.66                                          and apply sufficiently high penalties. Penalties that        up the transition to low-GWP alternatives and better
market prior to the ban entering into force.                                                                                   have been determined by member states are generally          manage HFCs in circulation through improved leakage
                                                              A previous report suggested Lithuania’s exchequer                not high enough to deter HFC smuggling and are rarely        control and reclamation.
Non-refillable containers are popular globally as they        had lost up to €5m in 2018 due to increased sales of             applied. Those applied to date are primarily related to
allow refrigerant sellers to avoid investing in a fleet of    illegal refrigerants.67 In July 2018, 14 Greek HVACR             leakage and record keeping infringements, suggesting         Additional or stronger bans on HFCs in certain
refillable containers and their disposable nature means       representatives wrote to the Greek Government                    that awareness of illegal trade and/or capacity to act on    equipment (e.g. heat pumps and air-conditioners)
they can be freely traded. These attributes also make         claiming that illegal refrigerants from Bulgaria, Albania,       it at customs level is low.                                  would further support the right direction of the
them attractive to black market traders, as highlighted       Macedonia and Turkey were costing the Greek state                                                                             market, which in some sectors has failed to keep up
in EIA’s industry survey and multiple media reports.          over €20 million in lost VAT and taxes and posing a              Enforcement of the F-gas Regulation is clearly               with the phase-down. There also remain barriers to
The use of non-refillable containers is not banned by         threat to the environment and public health.68                   hampered by the absence of a system whereby customs          the adoption of climate-friendly alternatives created
the Montreal Protocol; however, Decision XIX/12 asks                                                                           officials can determine if an import of bulk HFCs or         by outdated standards and a lack of training on
Parties to consider banning the use of non-refillable         These reports demonstrate that the illegal HFC trade             HFC in equipment is covered by quota and have the            flammable refrigerants.
containers on a voluntary basis.65 In addition to the EU,     is causing significant financial impacts on multiple             power to prevent a shipment which takes an importer
India, Canada and Australia have all banned HFCs in           EU states, as well as on legitimate businesses that              over its quota. This is an essential requirement of a        Reclamation of HFCs, while increasing, is still falling
disposable cylinders. Given the entry into force of the       are seeing profits squeezed by the low prices of illegal         licencing system, which is now required under the            far short of what is required to ensure a smooth phase-
Kigali Amendment, efforts should be made to pursue a          refrigerants. Ironically, poor enforcement is often              Montreal Protocol’s Kigali Amendment, and should be          down and will be impacted by ongoing illegal trade
ban on HFCs in disposable cylinders at a global level.        blamed on the lack of finances available to build                implemented without delay.                                   which reduces the price incentive to reclaim. In 2017,
                                                              sufficient capacity to tackle it.                                                                                             1,659 tonnes (3.9 MtCO2e) was reclaimed, an increase
                                                                                                                               This is particularly critical in light of the significant    of about 26% over 2016 and around 2% of the EU supply
                                                                                                                               rise in the number of companies registered to trade.         of virgin HFCs (in CO2e terms).69 In comparison, one
                                                                                                                               Thousands of companies are now, to some extent,              industry analysis calculates that around 24 MtCO2e of
                                                                                                                               legitimised at customs level through their company           reclaimed HFCs would be required in 2018 for smooth
                                                                                                                               name being registered in the HFC Registry; however,          implementation of the F-gas Regulation.70
                                                                                                                               customs has no way of assessing whether they are
                                                                                                                               importing within their quota or reporting actual imports




24                                                                                        Environmental Investigation Agency   Doors wide open                                                                                                      25
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Non-refillable containers                                       THE COST OF FREE HFC QUOTAS                                    Conclusions
The EU first banned placing non-refillable (disposable)         Under the F-gas Regulation, HFC quotas are
containers of ODS on the market in the EU ODS                   allocated for free. Most of the quotas (89%) are               A review and analysis of survey, HFC Registry and            to the HFC Registry. Allocating quota at cost would help
Regulation in 2000 and then again in 2009.61 It later                                                                          customs data alongside widespread media reports              deter illegitimate traders from joining as new entrants
                                                                grandfathered to incumbents, primarily the large
banned placing non-refillable containers of HFCs on                                                                            indicates that Europe is faced with a substantial level      in the future.
the market in the F-gas Regulation in 2006 and then             producer companies and some major distributors,
                                                                allowing monopolistic price increases of legal                 of illegal use and trade in HFCs.
again in 2014.62 The justification for this prohibition was                                                                                                                                 The 100 tCO2e exemption for imports also muddies
emissions-related, namely non-refillable containers             HFCs (which in turn supports lucrative black                   EIA’s analysis of 2018 customs data suggests that as         the waters and encourages illegal trade. This amount
“are designed to be disposable, which means that any            markets for illegal HFCs). The other 11% of                    much as 16.3 MtCO2e of bulk HFCs were illegally placed       is equivalent to almost 70kg of HFC-134a (GWP 1,430),
fluorinated gas left in such containers will eventually         HFC quota each year is divided evenly between                  on the market in 2018. This represents more than 16%         which means that a company can legally import five
be emitted to the atmosphere.”63                                new entrants. After three years, new entrants                  of the 2018 quota and is in addition to illegal imports of   13kg HFC-134a cylinders without registering with the
                                                                become incumbents.                                             HFC-containing equipment and illegal HFCs that are           HFC Registry or having quota.
The F-gas Regulation defines a non-refillable container                                                                        undoubtedly being smuggled under the radar of customs.
as “a container which cannot be refilled without being                                                                                                                                      The widespread use of disposable cylinders in the
                                                                Allocating quotas for free encourages profiteering
adapted for that purpose or is placed on the market                                                                            EIA’s analysis also indicates a discrepancy between          illegal trade (including HCFC illegal trade) warrants
                                                                from quota trading, given the volatility of HFC                European customs data and HFC Registry data of at least      efforts by member states to make legislative changes to
without provision having been made for its return for
refilling.”64 This definition, which was not included in        prices. Allocating HFC quotas at cost would                    14.8 MtCO2e in 2017, equivalent to 8.7% of the 2017 quota.   ease the enforcement challenge. The current ban under
the EU ODS Regulation, therefore creates an exception           reduce the incentive to trade quotas and help                                                                               the F-gas Regulation should be strengthened to ban
                                                                secure important financial resources to support                HFCs are being illegally imported in large and small         the use (not just the placing on the market) of all non-
for disposable containers where “provision ha[s]
                                                                                                                               containers, including in illegal disposable cylinders,       refillable cylinders, no matter whether or not provision
been made for its return for refilling.” It complicates         enforcement of the F-gas Regulation.60
                                                                                                                               and are sold on the market through various channels          is made for their return. The EU and its industry should
enforcement since it is not clear what evidentiary
                                                                                                                               including web-based platforms. Illegal HFCs are coming       also work toward a global ban on disposable cylinders.
requirements one must meet to show provision has
                                                                                                                               into Europe from China directly and via EU-border
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                                                                                                                               countries, in particular via Russia, Ukraine, Turkey and     EIA believes that the illegal trade in HFCs and
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Although it is often relatively easy to detect disposable     Governments are losing considerable tax revenues due
                                                                                                                               Malta, however all member states should take steps to        2015 have produced a false sense of security in terms
cylinders, it is not always easy to prove that they have      to the illegal HFC trade, through direct loss of VAT and
                                                                                                                               examine customs data in relation to company data in          of meeting the phase-down target from 2018 onwards.
been placed on the market since the start of the ban in       import duty, but also through the indirect impact that
                                                                                                                               the HFC Registry.                                            Future supply cuts will not allow stockpiling, given the
2006. From a compliance and enforcement perspective,          illegal trade has to lower the price of legal refrigerants.
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a use ban (without the return exception) would be             A recent report from Polish NGO PROZON estimated                 There is an urgent need to immediately improve               terms. Companies therefore could face HFC shortages
superior to the current POM provision since it avoids         that Poland’s treasury lost €7 million in 2018 due to            enforcement of the F-gas Regulation, particularly at the     in 2019 and 2020 and critical shortages in 2021 (when
the additional burden on authorities to prove whether         illegal refrigerant imports valued at €55 million, some          EU border level. Member states need to seize, prosecute      supply is again reduced) unless action is taken to speed
or not the non-refillable container was placed on the         40% of Polish demand.66                                          and apply sufficiently high penalties. Penalties that        up the transition to low-GWP alternatives and better
market prior to the ban entering into force.                                                                                   have been determined by member states are generally          manage HFCs in circulation through improved leakage
                                                              A previous report suggested Lithuania’s exchequer                not high enough to deter HFC smuggling and are rarely        control and reclamation.
Non-refillable containers are popular globally as they        had lost up to €5m in 2018 due to increased sales of             applied. Those applied to date are primarily related to
allow refrigerant sellers to avoid investing in a fleet of    illegal refrigerants.67 In July 2018, 14 Greek HVACR             leakage and record keeping infringements, suggesting         Additional or stronger bans on HFCs in certain
refillable containers and their disposable nature means       representatives wrote to the Greek Government                    that awareness of illegal trade and/or capacity to act on    equipment (e.g. heat pumps and air-conditioners)
they can be freely traded. These attributes also make         claiming that illegal refrigerants from Bulgaria, Albania,       it at customs level is low.                                  would further support the right direction of the
them attractive to black market traders, as highlighted       Macedonia and Turkey were costing the Greek state                                                                             market, which in some sectors has failed to keep up
in EIA’s industry survey and multiple media reports.          over €20 million in lost VAT and taxes and posing a              Enforcement of the F-gas Regulation is clearly               with the phase-down. There also remain barriers to
The use of non-refillable containers is not banned by         threat to the environment and public health.68                   hampered by the absence of a system whereby customs          the adoption of climate-friendly alternatives created
the Montreal Protocol; however, Decision XIX/12 asks                                                                           officials can determine if an import of bulk HFCs or         by outdated standards and a lack of training on
Parties to consider banning the use of non-refillable         These reports demonstrate that the illegal HFC trade             HFC in equipment is covered by quota and have the            flammable refrigerants.
containers on a voluntary basis.65 In addition to the EU,     is causing significant financial impacts on multiple             power to prevent a shipment which takes an importer
India, Canada and Australia have all banned HFCs in           EU states, as well as on legitimate businesses that              over its quota. This is an essential requirement of a        Reclamation of HFCs, while increasing, is still falling
disposable cylinders. Given the entry into force of the       are seeing profits squeezed by the low prices of illegal         licencing system, which is now required under the            far short of what is required to ensure a smooth phase-
Kigali Amendment, efforts should be made to pursue a          refrigerants. Ironically, poor enforcement is often              Montreal Protocol’s Kigali Amendment, and should be          down and will be impacted by ongoing illegal trade
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                                                                                                                               This is particularly critical in light of the significant    of about 26% over 2016 and around 2% of the EU supply
                                                                                                                               rise in the number of companies registered to trade.         of virgin HFCs (in CO2e terms).69 In comparison, one
                                                                                                                               Thousands of companies are now, to some extent,              industry analysis calculates that around 24 MtCO2e of
                                                                                                                               legitimised at customs level through their company           reclaimed HFCs would be required in 2018 for smooth
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                                                                                                                               importing within their quota or reporting actual imports




24                                                                                        Environmental Investigation Agency   Doors wide open                                                                                                      25
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Recommendations                                                                                                                References
                                                                                                                               1. E.g. GWP of HFC-32 is 675, GWP of HFC-410A is 2,088, HFC-404A is 3,922
Recommendations for the European Commission and EU member states:                                                              2. Velders et al (2015). Future atmospheric abundances and climate forcings from scenarios of global and regional hydrofluorocarbon (HFC) emissions. Atmospheric




                                                                                                                                                                                                                                                                                                     		
                                                                                                                               Environment Volume 123, Part A, Pages 200-209. Available at https://www.sciencedirect.com/science/article/pii/S135223101530488X
                                                                                                                               3. Regulation (EU) No 517/2014 of the European Parliament and of the Council of 16 April 2014 on fluorinated greenhouse gases and repealing Regulation (EC) No 842/2006.
                                                                                                                               Available at: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=celex%3A32014R0517
• Implement a fully functional per shipment HFC licensing system which allows                                                  4. Cooling Post (2017). 2017 ends with 60% price rise. Available at: https://www.coolingpost.com/uk-news/2017-ends-60-price-rise/
  customs officials to obtain necessary real-time information to determine if                                                  5. Cooling Post (2016). 10m tonnes of illegal F-gas enters Europe. Available at: https://www.coolingpost.com/world-news/over-10m-tonnes-of-illegal-F-gas-enters-europe/
                                                                                                                               6. As reported in Cooling Post, ACR Journal and racplus.
  HFC imports are within the specified quota for a particular company. A first                                                 7. Eurostat Database (2018/19). Available at: https://ec.europa.eu/eurostat
  step towards this could be through a real-time quota system connecting the                                                   8. China Trade Information (2018). Goodwill China Business Information. Available at: http://www.b2bchina.com.hk/
                                                                                                                               9. Bulk refers to HFCs not placed inside equipment.
  HFC Registry to the Single Window environment for customs and requiring the                                                  10. For CN codes containing only one HFC the GWP stated in the AR4 are used. For CN codes covering multiple gases an average GWP has been calculated of all gases covered.
  tCO2e of any bulk or equipment import to be noted on the SAD. The real-time per                                              E.g. For CN code 29033924 covering HFC-125 (GWP 3500) and HFC-143a (GWP 4470) an average GWP of 3985 has been used.
                                                                                                                               11. See Table A5.21 in European Environment Agency (2018). Fluorinated Greenhouse Gases 2018. EEA Report No 21/2018. Available at: https://www.eea.europa.eu/publications/
  shipment licensing system must ensure that a company stays within its quota                                                  fluorinated-greenhouse-gases-2018
  at all times. For example, if a company wishes to export HFCs it can only receive                                            12. European Environment Agency (2018). Fluorinated Greenhouse Gases 2018. EEA Report No 21/2018. Available at: https://www.eea.europa.eu/publications/fluorinated-
                                                                                                                               greenhouse-gases-2018
  that credit back on its quota once the export has occurred.                                                                  13. European Environment Agency (2018). Fluorinated Greenhouse Gases 2018. EEA Report No 21/2018. Available at: https://www.eea.europa.eu/publications/fluorinated-
                                                                                                                               greenhouse-gases-2018
                                                                                                                               14. Eurostat Database (2018/19). Available at: https://ec.europa.eu/eurostat
• Explore ways to improve reporting and monitoring of HFC trade with exporting                                                 15. European Environment Agency (2018). Fluorinated Greenhouse Gases 2018. EEA Report No 21/2018. P13. Available at: https://www.eea.europa.eu/publications/fluorinated-
  countries, given that many of these countries are also ratifying the Kigali                                                  greenhouse-gases-2018
                                                                                                                               16. EEA (2018)
  Amendment and will be implementing licensing systems. The iPIC system                                                        17. Öko-Recherche (2019). Monitoring of refrigerant prices against the background of Regulation (EU) No 517/2014. Q3/2018 – January 2019.
  could be used to help monitor, record and collate all the data on HFC imports and                                            18. Öko-Recherche (2019). Monitoring of refrigerant prices against the background of Regulation (EU) No 517/2014. Q3/2018 – January 2019.
                                                                                                                               19. Pers. Comm. (2018). EIA Illegal Trade Survey, OEM
  exports even before controls come into force. The ICS could help provide export                                              20. AREA survey on availability & supply of refrigerants (Nov 2018) available at: http://area-eur.be/news/installers-increasingly-aware-illegal-trade-refrigerants
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                                                                                                                               USCA Case #21-1251                                  Document #1955329                                         Filed: 07/15/2022                          Page 33 of 561




Recommendations                                                                                                                References
                                                                                                                               1. E.g. GWP of HFC-32 is 675, GWP of HFC-410A is 2,088, HFC-404A is 3,922
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                                                                                                                               Available at: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=celex%3A32014R0517
• Implement a fully functional per shipment HFC licensing system which allows                                                  4. Cooling Post (2017). 2017 ends with 60% price rise. Available at: https://www.coolingpost.com/uk-news/2017-ends-60-price-rise/
  customs officials to obtain necessary real-time information to determine if                                                  5. Cooling Post (2016). 10m tonnes of illegal F-gas enters Europe. Available at: https://www.coolingpost.com/world-news/over-10m-tonnes-of-illegal-F-gas-enters-europe/
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  HFC imports are within the specified quota for a particular company. A first                                                 7. Eurostat Database (2018/19). Available at: https://ec.europa.eu/eurostat
  step towards this could be through a real-time quota system connecting the                                                   8. China Trade Information (2018). Goodwill China Business Information. Available at: http://www.b2bchina.com.hk/
                                                                                                                               9. Bulk refers to HFCs not placed inside equipment.
  HFC Registry to the Single Window environment for customs and requiring the                                                  10. For CN codes containing only one HFC the GWP stated in the AR4 are used. For CN codes covering multiple gases an average GWP has been calculated of all gases covered.
  tCO2e of any bulk or equipment import to be noted on the SAD. The real-time per                                              E.g. For CN code 29033924 covering HFC-125 (GWP 3500) and HFC-143a (GWP 4470) an average GWP of 3985 has been used.
                                                                                                                               11. See Table A5.21 in European Environment Agency (2018). Fluorinated Greenhouse Gases 2018. EEA Report No 21/2018. Available at: https://www.eea.europa.eu/publications/
  shipment licensing system must ensure that a company stays within its quota                                                  fluorinated-greenhouse-gases-2018
  at all times. For example, if a company wishes to export HFCs it can only receive                                            12. European Environment Agency (2018). Fluorinated Greenhouse Gases 2018. EEA Report No 21/2018. Available at: https://www.eea.europa.eu/publications/fluorinated-
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  that credit back on its quota once the export has occurred.                                                                  13. European Environment Agency (2018). Fluorinated Greenhouse Gases 2018. EEA Report No 21/2018. Available at: https://www.eea.europa.eu/publications/fluorinated-
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• Explore ways to improve reporting and monitoring of HFC trade with exporting                                                 15. European Environment Agency (2018). Fluorinated Greenhouse Gases 2018. EEA Report No 21/2018. P13. Available at: https://www.eea.europa.eu/publications/fluorinated-
  countries, given that many of these countries are also ratifying the Kigali                                                  greenhouse-gases-2018
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  could be used to help monitor, record and collate all the data on HFC imports and                                            18. Öko-Recherche (2019). Monitoring of refrigerant prices against the background of Regulation (EU) No 517/2014. Q3/2018 – January 2019.
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 HFC Production and Consumption –
 Proposed Rule

 Stratospheric Protection Division
 Office of Air and Radiation
 U.S. Environmental Protection Agency
 Washington, D.C. 20460




 April 2021




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       Data contained in this memo are derived from the Environmental Protection
Agency (EPA)’s Greenhouse Gas Reporting Program (GHGRP). While EPA has
received additional data in response to the Notice of Data Availability published
February 11, 2021, the Agency has not included that production, import, and export
data in tables 1 and 2 to protect information claimed as confidential. EPA is in the
process of collecting additional data (e.g., for companies that have not previously had to
report to GHGRP) and intends to release revised production and consumption data for
the baseline and more recent years with the final rule.

        The American Innovation and Manufacturing (AIM) Act provides formulas for how
to set baselines for both production and consumption of regulated hydrofluorocarbons
(HFCs). The equations are composed of an HFC component, a hydrochlorofluorocarbon
(HCFC) component, and a chlorofluorocarbon (CFC) component. For the HFC
component, EPA is directed to calculate the average annual quantity of all regulated
substances produced in the United States from January 1, 2011, through December 31,
2013. Tables 1 and 2 provide EPA’s current estimate of the data it is proposing to use to
establish the baselines for production and consumption. Table 3 provides a list of
companies that reported production, destruction, import, and/or export data to EPA for
the baseline years. Table 4 provides a list of companies that reported production,
destruction, import, and/or export data to EPA for 2017-2019, which are the years EPA
is proposing to base allowance allocations on. EPA has updated the lists of companies
in tables 3 and 4 to include those that have reported for the first time in 2021.

HFC Production, Import, and Export (2011-2019)

    Table 1: Net Supply of AIM-Listed HFCs (excluding HFC-23) Reported to GHGRP
    in Years 2011-2019 (Million Metric Tons Exchange Value equivalent (EVe)1)
                                    Production minus
       Reporting
                    Net Supply2    Destruction minus     Imports        Exports
         Year
                                     Transformation
    2011                244               323             49.6            129
    2012                235               321             48.2            135
    2013                288               348             70.6            131
    2014                266               336             64.8            134
    2015                297               273              116           91.6
    2016                239               251              102            114
    2017                285               259              122           95.9
    2018                303               233              145           74.3
    2019                294               218              142           65.9


1
  The exchange values listed in the AIM Act for each regulated HFC are numerically identical to the 100-
year global warming potentials (GWPs) of each substance, as given in the Errata to Table 2.14 of the
IPCC’s Fourth Assessment Report (AR4) and Annex F of the Montreal Protocol. As such, for the HFCs
regulated under the AIM Act, EVe and carbon dioxide equivalent (CO2e) are identical.
2
  "Net supply" means the CO2e quantities of bulk HFC produced + imported – exported – transformed –
destroyed, and is equivalent to the term “consumption.”


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 Table 2: Imports of AIM-Listed HFCs Reported to GHGRP in Years 2011-2019
 (Million Metric Tons EVe)
   Reporting                                             All Other AIM-Listed
                   HFC-134a      HFC-125    HFC-32
       Year                                           HFCs, Excluding HFC-23
 2011                 16.7         14.6       1.26               17.0
 2012                 19.1         17.1       2.63               9.38
 2013                 17.3         31.3       5.33               16.7
 2014                 15.3         28.6       7.24               13.6
 2015                 28.1         48.2       9.53               29.8
 2016                 33.0         42.8       4.81               21.5
 2017                 21.0         71.5       8.02               21.5
 2018                 12.4         93.8       10.5               28.3
 2019                 12.4         60.9       10.4               58.0

Companies Reporting Production, Import, Export, or Destruction of AIM-listed HFCs

    Table 3: List of Companies that Reported Production, Import, Export, or
       Destruction to the GHGRP for Any AIM-Listed HFC (2011–2013)*
                                                                   Produced
         Company name                 Imported     Exported         and/or
                                                                  destroyed
3M Company                               x             x               x
Advanced Specialty Gases                       x
A-Gas                                          x                            x
Air Liquide                                    x            x
Airgas Refrigerants, Inc                       x            x
Airgas Specialty Gases                         x            x
Altair Partners LP                             x
Arkema Inc                                     x            x               x
Automart Dist                                  x
AutoZone Parts, Inc                            x
BMP International Inc                          x
Brooks Automation, Inc                                      x
Chemours                                       x            x               x
Combs Gas, Inc                                 x
Covestro LLC                                                x
Daikin America Inc./MDA
                                               x
Manufacturing
Electronic Fluorocarbons                       x            x
First Continental International                x


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    Table 3: List of Companies that Reported Production, Import, Export, or
        Destruction to the GHGRP for Any AIM-Listed HFC (2011–2013)*
                                                                   Produced
         Company name                 Imported     Exported         and/or
                                                                  destroyed
 FSD Group LLC                           x
 General Motors LLC                                    x
 GlaxoSmithKline LLC                                   x
 HARP USA**                                            x
 Honeywell International Inc                           x                 x                   x
 Hudson Technologies Company                           x
 ICOR International Inc                                x                 x
 Iofina Chemical**                                                                           x
 Kidde Fenwal, Inc                                                       x
 Kivlan & Company, Inc                                 x
 Lenz Sales & Dist., Inc                               x
 Linde Electronics & Specialty Gases                   x                 x
 Matheson Tri-Gas, Inc                                                   x
 Mexichem Fluor Inc                                    x                 x                   x
 Mondy Global, Inc                                     x                 x
 National Refrigerants, Inc                            x                 x
 Ninhua Group Co Ltd                                   x
 Old World Industries, LLC                             x
 Praxair Inc                                           x                 x
 Refricenter of Miami Inc                              x
 Solvay Fluorides, LLC                                 x
 Technical Chemical Co                                 x
 Tulstar Products, Inc                                 x                 x
 USA Refrigerants                                      x
 Wal-Mart Stores, Inc                                  x
 Weitron, Inc                                          x
* Up to date as of 3/31/2021.
** Companies denoted with two asterisks reported to the GHGRP for the first time in 2021. EPA has not
yet verified their data, and has not included their HFC production, destruction, import, and/or export
figures in tables 1 and 2.




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     Table 4: List of Companies that Reported Production, Import, Export, or
          Destruction to the GHGRP for Any AIM-Listed HFC (2017-2019)*
                                                                    Produced
           Company Name                Imported     Exported         and/or
                                                                   Destroyed
3M Company                                x             x               x
Accella Polyurethane Systems                            x
Aerosol Gas Company                       x
A-Gas                                     x                             x
Air Liquide                               x             x
Airgas Specialty Gases                    x
Altair Partners LP                        x
Arkema Inc.                               x             x               x
AutoZone Parts, Inc.                      x
BMP International Inc                     x
Brooks Automation, Inc.                   x             x
CC Packaging LLC                          x
Chemours                                  x             x               x
ComStar International                     x
CRC Industries Inc                        x
Daikin America Inc./MDA
                                          x             x
Manufacturing
E.I. DUPONT DE NEMOURS                    x
Electronic Fluorocarbons                  x
FCI USA INC                               x
First Continental International           x
FluoroFusion Specialty Chemicals,
                                          x
Inc.
FSD Group LLC                             x
GlaxoSmithKline LLC                       x
Honeywell International Inc.              x             x               x
Hudson Technologies Company               x
ICOOL USA Incorporated                    x             x
ICOR International Inc                    x             x
Iofina Chemical**                                                       x
Kidde Fenwal, Inc.                                      x
Kivlan & Company, Inc.                    x
Lenz Sales & Dist., Inc.                  x
Linde Electronics & Specialty Gases
(division of Linde Gas North America      x             x
LLC)
Matheson Tri-Gas, Inc.                                  x



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      Table 4: List of Companies that Reported Production, Import, Export, or
          Destruction to the GHGRP for Any AIM-Listed HFC (2017-2019)*
                                                                     Produced
           Company Name                 Imported     Exported         and/or
                                                                    Destroyed
 Mexichem Fluor Inc.                       x             x               x
 Mondy Global, Inc.                        x             x
 National Refrigerants, Inc                x             x
 Ninhua Group Co Ltd                       x
 Praxair Inc.                              x             x
 Quality Chemical International Inc        x
 Refrigerants, Inc.                        x
 RGAS LLC                                  x
 RLX REFRIGERANTS                          x
 RMS of GEORGIA, LLC                       x
 Scales N Stuff                            x
 Showa Chemicals of America Inc**          x
 Solvay Fluorides, LLC                     x
 Spray Products Corporation                x
 Summit Refrigerants                       x
 Technical Chemical Co                     x
 Tradequim LLC                             x
 Tulstar Products, Inc.                    x
 Tyco Fire Products, LP                                  x
 Veolia                                    x
 Wal-Mart Stores, Inc.                     x
 Weitron, Inc.                             x
* Up to date as of 3/31/2021.
** Companies denoted with two asterisks reported to the GHGRP for the first time in 2021. EPA has not
yet verified their data, and has not included their HFC production, destruction, import, and/or export
figures in tables 1 and 2.




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 Refillable and Non-refillable Cylinders:
 Analysis of Use, Emissions, Disposal, and
 Distribution of Refrigerants



 Stratospheric Protection Division
 Office of Air and Radiation
 U.S. Environmental Protection Agency
 Washington, D.C. 20460




 April 2021




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  Appendix C. Estimation of Emissions under Various Recovery Scenarios for Non-refillable
  Cylinders during Disposal ........................................................................................................ 38




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 1. Introduction
 Hydrofluorocarbons (HFCs) are generally gases at standard temperature and pressure but are
 stored as liquids in pressurized metal containers for transport and storage. HFCs used as
 refrigerants in stationary air-conditioning, refrigeration, and to a lesser extent motor-vehicle air-
 conditioning (MVAC) are most commonly stored and transported in “30-pound” metal cylinders.

 There are two primary types of cylinders; Disposable cylinders are used once before disposal,
 and refillable cylinders which can be used multiple time throughout the cylinder lifetime.
 Refrigerants can be emitted from non-refillable and refillable cylinders due to several conditions,
 including overfilling and subsequent exposure to excessive heat or blunt contact; mechanical
 damage to valves; valve defects; cylinder corrosion; and human error. Refrigerants may also be
 emitted from heels (i.e., the portion of refrigerant that remains in an otherwise empty cylinder) in
 non-refillable cylinders during disposal.

 To prevent refrigerant remaining in non-refillable cylinders from being emitted to the atmosphere
 upon disposal, service technicians can recover the refrigerant heel before recycling the
 cylinders. However, refrigerant remaining in the cylinders is not typically recovered, resulting in
 venting of refrigerant to the atmosphere when disposing of the cylinders.1

 Non-refillable cylinders have been banned in a number of countries including Australia, Canada,
 India, and the European Union (EU) member states. These countries have implemented
 different legislative approaches, including use bans, placement on market bans, and bans as
 conditions of the permits needed to handle refrigerants.

 This report combines and updates several previous analyses on the refrigerant cylinder market
 and associated emissions prepared in 2010 and 2012, which included research and industry
 outreach (Stratus 2010a; Stratus 2010b; Stratus 2012). This report evaluates the use of non-
 refillable and refillable refrigerant cylinders in the United States and estimates emissions from
 cylinders resulting from transport, storage, improper disposal, and heels. In addition, this report
 examines the impacts associated with replacing non-refillable refrigerant cylinders with refillable
 cylinders in the United States, including potential emission savings, costs, and other
 implications, and highlights non-refillable cylinder bans in Australia, Canada, India, and the EU.
 The remainder of the report is organized as follows:

        Section 2 provides an overview of non-refillable and refillable cylinders in the United
         States;
        Section 3 provides estimates of emissions from cylinders resulting from transport,
         storage, improper disposal, and heels, and provides emissions savings estimates for
         replacing non-refillable with refillable cylinders;




 1 Section 608 of the Clean Air Act required the U.S. Environmental Protection Agency (EPA) to establish regulations
 to reduce emissions of ozone-depleting substances (ODS) and their substitutes, including hydrofluorocarbons
 (HFCs). 40 CFR Part 82, Subpart F details the rules and regulations that prohibit knowingly venting ODS and HFC
 refrigerant during maintenance, service, repair, or disposal of refrigeration and air-conditioning equipment.




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         Section 4 analyzes the costs associated with replacing non-refillable cylinders with
          refillable cylinders;
         Section 5 provides an analysis of global and state policies banning non-refillable
          cylinders;
         Section 6 provides a summary of illegal trade and enforcement case studies;
         Section 7 provides conclusions;
         Appendix A: Methodology Used to Calculate Emissions from Cylinders during Transport
          and Storage;
         Appendix B: Methodology Used to Calculate Emissions from Heels (Theoretical and
          Empirical) in Non-refillable Cylinders; and
         Appendix C. Estimation of Emissions under Various Recovery Scenarios from Non-
          refillable Cylinders during Disposal.

 2. Cylinders in the United States
 The “30-lb” cylinder is the most commonly used cylinder for air-conditioning and refrigerant
 servicing and is the focus of this report. Both virgin and reclaimed refrigerant2 can be
 transported and stored in refillable and non-refillable 30-pound cylinders. Based on input from
 industry sources, it is estimated that there are approximately four to five million 30-pound HFC
 cylinders used to charge stationary air-conditioning and refrigeration systems annually in the
 United States, including both non-refillable and refillable cylinders (Airgas 2021a; Fluorofusion
 2021). For the purposes of this report, it is assumed that 4.5 million HFC cylinders were sold in
 the United States in 2020. Industry estimates that refillable cylinders account for between less
 than 1 percent and 10 percent of all 30-pound cylinders used, with a general assumption that
 the quantity of refillable cylinders as a percentage of all 30-pound cylinders used is closer to 1
 percent as of 2020 (Airgas 2021a; Fluorofusion 2021; National Refrigerants 2021). Table 1
 provides the distribution of HFC refrigerant types assumed to be sold in 30-pound cylinders in
 the United States in 2020 based on refrigerant demand for servicing and charging equipment
 estimated by EPA’s Vintaging Model (EPA 2020).
                                    Table 1. HFC Refrigerants in Cylinders
                                  Refrigerant     Distribution of Refrigerants
                                                          in Cylinders
                                HFC-134a                      22%
                                R-410A                        51%
                                R-407C                         3%
                                R-404A                        12%
                                R-507A                         2%
                                R-407A                         9%
                                Total                         100%
                                Source: EPA (2020)




 2 Refrigerant that is recovered from equipment, however, is transported and stored in special recovery cylinders that

 are designed differently from non-refillable and refillable cylinders. Recovery cylinders are outside the scope of this
 analysis.


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      2.1. Non-refillable Cylinders
 Disposable cylinders are specifically manufactured to be single-use. These cylinders are
 charged with refrigerant, sold for use to fill or service equipment, and disposed (EIA 2018).
 Many stationary air-conditioning and refrigeration systems are serviced using refrigerants
 transported in non-refillable cylinders that receive classification from the U.S. Department of
 Transportation (DOT) as DOT-39 cylinders. These cylinders come in several sizes, including 15-
 pound, 30-pound, and 50-pound varieties, with the 30-pound cylinder being the most commonly
 used in the stationary air-conditioning and refrigeration system servicing industry.

 DOT-39 cylinders have a single one-way valve, and because of this feature, DOT prohibits the
 refilling of cylinders due to safety concerns3. They must be disposed of after use, either by
 recycling as scrap metal or disposed of as solid waste in a landfill. Non-refillable cylinder valves
 come with a rupture disk pressure relief device that allows the contents to be released when the
 pressure limits are exceeded. Once activated, this type of relief device ruptures and cannot
 reseal. If cylinders are disposed of improperly (i.e., without recovering all refrigerant remaining
 in the cylinder), the residual refrigerant is emitted to the atmosphere. Table 2 summarizes the
 specifications for DOT-39 non-refillable cylinders.
                       Table 2. Specifications of “30-lb” DOT-39 non-refillable cylinder
                                                                       30-lb
     Service Pressure (psi)                 260                         308                         400
     Test Pressure (psi)                    325                         385                         500
     Water Capacity (lb)                    30.4                        30.4                        30.4
     Height (in)                            16.8                        16.8                        16.8
     Diameter (in)                           9.5                         9.5                         9.5
     Construction Standards             DOT39 TC39M                 DOT39 TC39M                 DOT39 TC39M
     Source: AMTROL 2017, 40 CFR 178,65 (i)

 As discussed above, for purposes of this analysis it is assumed that the vast majority of
 refrigerant cylinders sold annually in the United States (i.e., 99 percent) are non-refillable, or
 approximately 4.46 million cylinders. The remaining 45,000 cylinders (i.e., 1 percent) are
 assumed to be refillable.

      2.2. Refillable Cylinders
 Refillable cylinders reduce emissions of refrigerant resulting from the improper disposal of non-
 refillable cylinders and have been mandated in several countries.4 Refillable cylinders have a
 combination valve with separate ports for refrigerant removal and refrigerant filling, and a safety-
 relief device. The refrigerant filling port is typically locked so that only the refrigerant supplier
 can fill the cylinder. Upon being emptied5 by service technicians, refillable cylinders are typically




 3 49 CFR 178.65 (i)
 4 Canada, Australia, and European Community member countries.
 5 As with non-refillable cylinders, refillable cylinders will not typically be 100 percent empty. Service technicians will

 generally stop using a cylinder once all the liquid-phase gas has been extracted while the vapor-phase gas remains
 as a “heel.”


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 returned to the wholesaler, who refunds the deposit paid when the cylinder was purchased. The
 empty refillable cylinders are collected by the wholesaler and returned to the refrigerant
 manufacturers to be refilled. The refrigerant manufacturers evaluate, clean, and refill the
 cylinders to be sent back onto the market. A refillable cylinder would be filled an average of 1.5
 times per year and could be filled up to 3–4.5 times per year (Refrigerant Services 2012, A-Gas
 2021b).6 Assuming refillable cylinders are properly maintained, they can be reused for more
 than 20 years (A-Gas 2021b, National Refrigerants 2021, ICF 2011).

 3. Emissions from Cylinders
 Emissions from refrigerant cylinders can occur under various conditions. The frequency with
 which these conditions occur and the amount of refrigerant released varies and depends in part
 on the type of cylinder. Refrigerant heels are also emitted during disposal once the cylinder
 breaks down enough for refrigerant to be released.

        3.1. Cylinder Transport and Storage
 In order to allow for safe levels of gas expansion, cylinders should not be filled to more than 80
 percent of their capacity (UNEP 2010). Overfilling cylinders at levels above this capacity can
 lead to refrigerant losses from exposure to excessive heat. When temperatures increase, the
 liquid refrigerant in the cylinder will expand into the vapor space above the liquid. If the liquid is
 heated to approximately 130°F, it will fill the available space in the cylinder. Continued heating
 and expansion of the liquid will result in the cylinder pressure relief valve releasing the contents
 to relieve excess pressure (in the case of refillable cylinders) or all of the refrigerant charge (in
 non-refillable cylinders). It could also result in the cylinder’s rupture if the safety-relief valve is
 not functioning or not present, and the temperature reaches a sufficiently high level (Rapid
 Recovery 2012b). The United Nations Environment Programme (UNEP) Manual for
 Refrigeration Servicing Technicians states that cylinders should never be exposed to
 temperatures above 52°C (~ 126°F) (EPATest 2019; UNEP 2010). This type of refrigerant loss
 is of particular concern during cylinder transport, because temperatures inside closed vans or
 trucks can reach levels sufficient to cause cylinder overheating on hot, sunny days (EPATest
 2019). This type of refrigerant loss can also occur during cylinder storage. However, it is unlikely
 that cylinders would be stored in locations where they are exposed to temperatures above
 126°F for a sufficient amount of time to bring the liquid refrigerant to a sufficient temperature to
 cause a release or rupture (Rapid Recovery 2012b).

 Cylinders that are overfilled – and thus under excessive pressure – are more vulnerable to
 rupturing when they come into blunt contact with something (e.g., with other cylinders if they are
 not well secured in the back of a truck, or with the ground if they fall out of a truck). Also, a
 damaged safety-relief valve can increase a cylinder’s vulnerability to rupturing if the cylinder is
 overfilled. Mechanical damage to a cylinder valve can result in the refrigerant being lost to the
 atmosphere even if the cylinder is not overfilled. Valves can be damaged when cylinders are
 mishandled (e.g., if they are dropped or not properly secured in a truck); they can also function




 6
     To be conservative, refillable cylinders were assumed to be filled 1.5 time per year.



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 improperly if they are plugged (e.g., by dirt) or covered (e.g., by labels or plastic wrap) (UNEP
 2010).

 Valves that are poorly manufactured also can contribute to refrigerant loss. A valve that does
 not properly close will not provide a sufficient protective seal against the high-pressure contents
 within the cylinder. This type of refrigerant loss can occur during cylinder storage as well as
 transport.

 Cylinders can also rust and corrode over time, which can result in pathways developing through
 the metal for refrigerant to escape. This refrigerant loss condition would not typically occur in
 cylinders in transport because those cylinders are generally in active use and would be regularly
 evaluated and resorted (as necessary) by refrigerant manufacturers. This condition is more
 applicable to cylinders in storage, especially those that are improperly stored outdoors where
 they may be exposed to the elements, although such storage conditions are unlikely (UNEP
 2010).

 Cylinders can lose refrigerant if the individuals handling them open the valves (deliberately or
 accidentally). Over the course of its travels from refrigerant manufacturer to end use, a cylinder
 is typically transported to three or four locations (i.e., wholesalers, distributors, and end users,
 and potentially brokers) and can be handled as many as 10 to 20 times (Refrigerant Services
 2012). Thus, there are many opportunities for human error. This type of refrigerant loss can
 occur during cylinder storage as well as transport.

    3.1.1. Refrigerant Loss Types and Prevalence of Refrigerant Losses
 The amount of refrigerant that is emitted during cylinder transport and storage depends on the
 conditions under which the refrigerant is lost, such as ruptures, slow leaks, and safety-valve
 releases. Types of refrigerant losses and the prevalence of these refrigerant losses for refillable
 and non-refillable cylinders were identified by Stratus (2012) through industry outreach.
 Cylinders that rupture lose their entire refrigerant charge. When the cylinder ruptures, the
 pressure drop causes the liquid refrigerant to flash into vapor, which has an explosive effect.
 Slow leaks due to defective valves will eventually lose their entire charge (minus the heel) if the
 leaks are not detected in time.

 If a refillable cylinder has a functional safety-relief valve and experiences an excessive increase
 in internal pressure (e.g., due to overfilling), the safety-relief valve will allow venting of a small
 amount of the refrigerant to prevent the cylinder from rupturing. The amount vented will be only
 enough to bring the internal cylinder pressure back down to a safe level before the valve
 recloses. Depending on the internal pressure (which in turn depends on factors such as the
 atmospheric pressure and temperature), this amount could be as much as 20 percent of the
 cylinder’s capacity (i.e., because a cylinder is considered to be overfilled if it is filled to greater
 than 80 percent capacity) or as little as 1 percent of the refrigerant in the cylinder (Refrigerant
 Services 2012).

 For non-refillable cylinders, the safety-relief valve has a rupture disk pressure-relief device that
 does not reseal once activated. As a result, the entire refrigerant charge will be lost if a non-
 refillable cylinder’s safety-relief valve is activated.



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 The frequency of the different types of refrigerant losses can differ by cylinder type. For
 instance, defective valves are considered “very rare” among domestically manufactured non-
 refillable cylinders (Rapid Recovery 2012a). It is estimated that approximately 0.02 percent of all
 refillable cylinders have defective valves that result in refrigerant loss (Refrigerant Services
 2012).

 Refillable cylinders are more prone to refrigerant losses associated with mechanical damage
 and corrosion because they are reused many times (Rapid Recovery 2012a). It is estimated that
 0.02 percent of all refillable cylinders experience mechanical damage or corrosion that results in
 refrigerant loss (Refrigerant Services 2012). The overall percentage of refillable cylinders that
 experience refrigerant loss due to human error and overfilling is about 0.04 percent (Refrigerant
 Services 2012). Table 3 summarizes the refrigerant loss types for non-refillable and refillable
 cylinders during transport and storage identified by Stratus (2012).
    Table 3. Summary of Refrigerant Loss Types from Cylinders during Transport and Storage
                   Type of refrigerant loss             % of refrigerant in  % of cylinders
                                                          cylinder that is  that experience
                                                          emitted due to    this type of loss
                                                         this type of loss
  Non-refillable cylinders
  Mechanical damage to valve                                   95%a              0.01%b
  Overfilled cylinder with defective safety-relief valve ruptures               100%                   0.01%b
  (e.g., due to extreme heat or blunt contact)
  Overfilled cylinder with effective safety-relief valve releases               95%a                   0.01%b
  overfilled amount (e.g., due to extreme heat or blunt
  contact)
  Refillable cylinders
  Mechanical damage to valve                                                    95%a                   0.02%
  Overfilled cylinder with defective safety-relief valve ruptures               100%                   0.01%b
  (e.g., due to extreme heat or blunt contact)
  Overfilled cylinder with effective safety-relief valve releases            Up to 20%                 0.01%b
  overfilled amount (e.g., due to extreme heat or blunt
  contact)
  a Assumes all refrigerant is lost, minus the heel. The heel is estimated to be approximately 1.25 lbs. (~5 percent)

  (see Appendix A for full list of assumptions).
  b The likelihood of these types of losses occurring is considered negligible. 0.01 percent is considered the

  smallest likelihood of a loss occurring.



     3.1.2. Emission Estimates from Cylinder Transport and Storage
 Based on the refrigerant loss types and prevalence of loss types for non-refillable and refillable
 cylinders identified by Stratus (2012), emissions from cylinders during transport and storage
 were updated for 2020 to reflect an updated distribution of refrigerants sold annually in 30-
 pound cylinders. See Appendix A for a more detailed review of the methodology for these
 estimates.

 Annual emissions from refrigerant losses during cylinder transport and storage currently total
 approximately 31,500 pounds of refrigerant (including approximately 31,000 pounds and 500




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 pounds emitted from non-refillable and refillable cylinders, respectively). In total, these
 emissions contribute approximately 31,300 MTCO2e per year as shown in Table 4.
                       Table 4. Emissions from Cylinder Transport and Storage
                             % of all
                                                               Metric tons
      Refrigerant        refrigerants in   Pounds emitted                               MTCO2e
                                                                  emitted
                            cylinders
  Non-refillable Cylinders
  R-134a                       22%              6,840               3.10                  4,437
  R-410A                       51%             15,841               7.19                 15,003
  R-407C                        3%              1,080               0.49                   869
  R-404A                       12%              3,600               1.63                  6,405
  R-507A                        2%               720                0.33                  1,302
  R-407A                        9%              2,880               1.31                  2,753
  Total                       100%             30,962               14.0                 30,768
  Refillable Cylinders
  R-134a                       22%               111                0.05                    72
  R-410A                       51%               257                0.12                   243
  R-407C                        3%                17                0.01                    14
  R-404A                       12%                58                0.03                   104
  R-507A                        2%                12                0.01                    21
  R-407A                        9%                47                0.02                    45
  Total                       100%               502                0.23                   498
  Total (All
                                 -             31,464              14.27                 31,267
  Cylinders)
 Note: Totals might not sum due to rounding.

     3.2. Disposal of Non-refillable Cylinders
 Non-refillable cylinders are not designed to be reused and are prohibited from refilling under
 DOT regulations given safety concerns, and therefore they must be disposed of after they are
 used. If cylinders are disposed of without recovering the remaining refrigerant heel, that
 refrigerant would be emitted to the atmosphere.

 There is substantial uncertainty regarding the volume of heels that remain in cylinders when
 they are not properly disposed of or the magnitude of the resulting emissions. To better
 understand the emissions of refrigerant remaining in non-refillable cylinders, it is necessary to
 determine the amount of refrigerant remaining in the cylinders at the time that they are deemed
 to be “empty” by service technicians. A theoretical study was conducted by Stratus (2010a) to
 estimate true heel ratios that would remain in cylinders under differing field servicing and
 recovery conditions. A second study by Stratus (2010a) involved collecting empirical data on
 refrigerant remaining in cylinders collected after use in the field by service technicians for
 charging stationary refrigeration and air-conditioning systems. Based on the average heel
 amount found in the theoretical and empirical studies, an analysis of potential emissions from
 non-refillable cylinders under various recovery scenarios was also conducted (Stratus 2012).




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    3.2.1. Theoretical Heel Estimation
 The theoretical heel estimation study conducted by Stratus (2010a) included six refrigerants
 based on input from EPA technical experts and industry sources, as well as a review of
 available literature.
                          Table 5. Refrigerants included in theoretical study
         Refrigerant             Constituents                          Cylinder Masses
        HCFC-22                    HCFC-22                  Non-refillable – 15 lbs., 30 lbs., 50 lbs.
                                                                 Refillable – 30 lbs., 125 lbs.
        HFC-134a                   HFC-134a                         Non-refillable – 30 lbs.
                                                                 Refillable – 30 lbs., 125 lbs.
        R-410A              HFC-32 and HFC-123                      Non-refillable – 25 lbs.
                                                                      Refillable – 100 lbs.
        R-407C         HFC-32, HFC-125, and HFC-134a                  Non-refillable – 25 lbs.
                                                                       Refillable – 115 lbs.
        R-404A          HFC-125, HFC-134a, HFC-143a                   Non-refillable – 24 lbs.
                                                                       Refillable – 100 lbs.
        R-507A              HFC-125 and HFC-143a                      Non-refillable – 25 lbs.
                                                                       Refillable – 100 lbs.


 The theoretical heel amount that would remain in a typical cylinder was estimated under two
 different scenarios. In the first scenario, the cylinder is assumed to have been emptied in the
 field and disposed of without a vapor recovery process. When the liquid phase refrigerant is
 being charged, the pressure in the cylinder approaches the system suction pressure.

 The theoretical study described estimated heel amounts based on the thermodynamic
 properties of six refrigerants HCFC-22, R-134a, R-410A, R-407C, R-404A, and R-507A –
 considering use and disposal of 13.5-L (822 in3) non-refillable cylinders (i.e., 30-pound
 cylinders) exclusively. In this study, the heel amounts were theoretically estimated under three
 conditions:

          1. Heel amounts in cylinders after field charging without recovery;
          2. Heel amounts in cylinders after vapor recovery until the cylinder pressure reaches 10
             percent of the initial cylinder pressure; and
          3. Heel amounts in cylinders after vapor recovery until the cylinder pressure reaches
             certain vacuum pressures (0, 5, 10, 15, 20, 25, 29 inHg at vacuum).
 For comparison with other studies, theoretical heel amounts estimated following field charging
 without recovery were also considered. The study results show that for cylinders after field
 charging, but without recovery, the heel amounts range from:

         0.50 lbs. to 1.08 lbs. for air-conditioning;
         0.29 lbs. to 0.66 lbs. for medium-temperature refrigeration; and
         0.15 lbs. to 0.35 lbs. for low-temperature refrigeration.

 The average heel amounts included 0.31 pounds for HFC-134a and 0.65 pounds for R-410A.




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    3.2.2. Empirical study of heels
 To complement the findings of the theoretical study, Stratus (2010a) collected data from a
 refrigerant technician company measuring quantities of refrigerant remaining in non-refillable
 cylinders after being used to service stationary air-conditioning and refrigeration equipment in
 the field. The range in heel amounts estimated in the theoretical study are smaller than the
 amounts of refrigerant remaining generated in the empirical study. In the empirical study, the
 average amount of refrigerant remaining across all refrigerant types and applications was 1.08
 lbs., with a range of 0.28 lbs. to 3.69 lbs. Stratus (2010a) indicated one reason why the amounts
 in the empirical study exceed the estimates in the theoretical study could be that often, a service
 technician will decline to take a cylinder “into the field” if he determines, simply by lifting the
 cylinder, that there is not enough refrigerant remaining in the cylinder to make transporting it
 worthwhile. Service technicians would prefer to have their service vehicle loaded with full
 cylinders at the beginning of the day to minimize the number of trips back to the vehicle that
 would be necessary when charging systems in the field.

    3.2.3. Comparison of results to other studies
 A comparison of the theoretical and empirical studies by Stratus (2010a) shows that the results
 of this analysis are comparable to the results of other studies (see Table 6). In a previous study
 of 30-pound non-refillable cylinders commissioned by EPA, the estimated heel amount after
 recovery to 29 psi was approximately 0.56 pounds (EPA 2007). Another proprietary study of
 amounts of refrigerant remaining in non-refillable cylinders conducted by a private company
 indicates an average amount of 0.59 pounds (approximately 2 percent) for 128 cylinders. In this
 study, cylinders containing HCFC-22 accounted for nearly 70 percent of all cylinders and had an
 average amount of 0.66 pounds. Cylinders containing R-404A, which accounted for
 approximately 25 percent of all cylinders, contained an average amount of 0.39 pounds. AHRI
 estimated that heel amounts in cylinders at system suction pressure (i.e., following use of
 cylinder for charging in the field) range from approximately 0.45 pounds (1.5 percent) to roughly
 0.90 pounds (3 percent). These estimates were based on AHRI calculations; the specific
 assumptions made in these calculations were not provided (AHRI 2000).
          Table 6. Comparison of amount of refrigerant remaining from different sources
           Source               Average Amount                Amount by sector or use
     Theoretical study                   NA                     AC: 0.5 lbs. to 1.08 lbs.
                                                          Medium-temp 0.29 lbs. to 0.66 lbs.
                                                            Low-temp: 0.15 lbs. to 0.35 lbs.
     Empirical study              1.08 lbs. (3%)             Appliance Servicing: 0.64 lbs.
                                                               Residential AC: 1.02 lbs.
                                                               Commercial AC: 1.13 lbs.
                                                                   Chillers: 1.15 lbs.
     EPA, 2007                     0.56 lbs. (2%)                          NA
     Airgas, 1998                 1.65 lbs. (6%)                           NA
     AHRI, 2000           0.45 lbs. (2%) – 0.90 lbs. (3%)                  NA


 Stratus (2010a) indicated potential causes for variation between the results of the different
 studies could be due to differing baseline assumptions and whether the study was theoretical or
 empirical. The results of an empirical study can vary depending on assumptions about operating



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 conditions and the size of the sample. Theoretical studies can also produce varying results
 depending on assumptions about operating conditions (e.g., whether there are any assumed
 inefficiencies in the cylinder-to-system connection). For example, the theoretical study in this
 analysis was based on ideal operating conditions, such that the cylinder temperature achieves
 equilibrium with ambient air.

 This assumes that the service technician spends more time charging the system and recovering
 the refrigerant than may be reasonable, where a technician might sacrifice refrigerant for the
 sake of expediency. As shown in Table 6, estimates of the amount of refrigerant remaining in
 cylinders at the time of their disposal vary. Industry sources contacted by Stratus (2010a)
 confirmed the fact that there is uncertainty as to how much refrigerant remains in cylinders when
 they are determined to be “empty.” In general, several sources suggested an estimate of
 approximately 1.0 pounds (roughly 4 percent of the 24- pounds of refrigerant in a 30-pound
 cylinder’s capacity) would be reasonable.

 However, recent industry outreach indicated non-refillable cylinders contain approximately 1 to
 1.25 pounds of residual heel and another estimated the typical heel in a non-refillable cylinder is
 approximately 1.5 pounds (A-gas 2021a, Fluorofusion 2021). This analysis therefore assumes a
 residual heel of approximately 1.25 pounds.

    3.2.4. Avoided Emissions Under Different Refrigerant Recovery Assumptions
 Disposal emissions can be reduced by employing refrigerant recovery practices to minimize the
 heel or by utilizing refillable refrigerant cylinders that can be used multiple times before they
 need to be disposed. How service technicians dispose of used non-refillable cylinders will
 determine whether refrigerant that remains in the cylinder is vented to the atmosphere or
 recovered for reuse. To understand whether refrigerant remaining in cylinders is emitted to the
 atmosphere, it is important to know:

       When service technicians make the decision to switch to fresh cylinders;
       Whether service technicians recover the refrigerant remaining in the cylinders before
        they dispose of them;
       How (and to whom) service technicians dispose of the cylinders; and
       Whether there are downstream opportunities for refrigerant recovery after cylinders are
        no longer in the service technician’s possession.

 Disposal of non-refillable cylinders could present opportunities for downstream recovery (i.e.,
 after the cylinder leaves the hands of the service technician). These practices have implications
 for the potential for refrigerant remaining in the cylinders to be either vented or recovered.

 The prevalence of the different disposal practices is difficult to estimate. Input from industry
 sources varied considerably, and the majority of sources noted that there is no conclusive
 evidence about how service technicians dispose of cylinders. Several sources indicated that
 service technicians are aware of appropriate disposal methods (i.e., following AHRI guidelines
 for evacuating cylinders and opening their valves before having them recycled), but there seems
 to be less certainty on the issue of whether service technicians recover all refrigerant before
 recycling cylinders, or whether they allow the refrigerant to vent.



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 Stratus (2012a) examined potential total avoided emissions under different refrigerant recovery
 practices based on the amount of refrigerant that remains in the cylinder and the percentage of
 cylinders that are vented. These emission estimates were updated for 2020 to reflect an
 updated distribution of refrigerants sold annually in 30-pound cylinders. Appendix C describes
 the full methodology and emission estimates across various recovery scenarios.

 These estimates varied depending on the stringency of the recovery effort. The annual GHG
 emissions decrease substantially when refrigerant remaining in the cylinder is recovered to just
 0 inHg vacuum, compared to venting the refrigerant remaining in the cylinders. Increases in
 vacuum pressure during recovery lead to more substantial avoided emissions.

 In the scenario where the typical amount of refrigerant remaining is approximately 1.25 pounds,
 estimated annual emissions can amount to between 0.55 MMTCO2e and 5.5 MMTCO2e,
 depending upon the percentage of cylinders vented (see Appendix C). The assumed baseline is
 that 1.25 pounds of refrigerant remain in the cylinder that is vented unless recovered, and that
 95 percent of all cylinders are vented (A-gas 2021a, Fluorofusion 2021). Therefore, the
 assumed annual emissions are 5.2 MMTCO2e.

 Avoided emissions increases as refrigerant recovery vacuum pressure increases, as shown in
 Table 7. Based on the findings of the theoretical study, it is estimated that true heel amounts for
 different end uses are typically close to 0.5 pounds. The results of the empirical study revealed
 that cylinders are typically disposed of with an average of approximately 1.0 pounds of
 refrigerant remaining.
        Table 7. Heel amounts (lbs.) assuming vapor recovery to various vacuum pressures
    InHg         Psig
                          Kpa abs.      R-134a     R-410A      R-407C      R-404A     R-507A
   vacuum      vacuum
      0          0.00      101.35        0.13        0.09        0.11       0.12       0.12
      5          2.46       84.42        0.11        0.07        0.09       0.10       0.10
     10          4.91       67.49        0.08        0.06        0.07       0.08       0.08
     15          7.37       50.56        0.06        0.04        0.05       0.06       0.06

 Based on this analysis, it is apparent that there are benefits to be gained through recovering
 refrigerant from non-refillable cylinders and that these benefits become larger with more
 stringent recovery practices. More time is required to achieve higher vacuum pressures, ranging
 from approximately 3 minutes to reach a 0 InHg vacuum to approximately 9 minutes to reach a
 15 InHg vacuum (AHRI 2000).




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       3.3. Emission Reductions by Replacing Non-refillable with Refillable Cylinders
 To understand the potential emission effects of replacing all non-refillable 30-pound cylinders
 with refillable ones, the calculations were run using the assumption that all 4.5 million 30-pound
 cylinders manufactured each year are refillable.7

 To model the number of new refillable cylinders each year, an estimate of 5 percent of the total
 fleet needs to be newly manufactured to account for disposals from refillable cylinders reaching
 end-of-life annually and to account for any damaged cylinders. Emissions from cylinder disposal
 were estimated assuming 1.25 pounds of refrigerant are remaining in the cylinders (see
 Appendix C). The emissions between the current scenario with both refillable and non-refillable
 and the hypothetical scenario with all cylinders replaced with refillable cylinders is shown in
 Table 8. Replacement of non-refillable cylinders with refillable cylinders in the United States
 would be estimated to prevent approximately 5.2 MMTCO2e per year in emissions.

        Table 8. Estimated Annual Emission Changes from Replacing Non-refillable Cylinders with
                                          Refillable Cylinders
                                                       Pounds   Metric tons
                        Scenario                                                     MTCO2e
                                                       emitted    emitted
     Transport and Storage
     Actual scenario (mostly non-refillable cylinders)              31,464            14.27                 31,267
     Hypothetical scenario (all refillable cylinders)               33,602            15.24                 33,392
     Change in emissions under hypothetical
                                                                     2,138             0.97                  2,125
     scenario
     Disposal
     Actual scenario (mostly non-refillable cylinders)              5,530,100         2,508                5,497,009
     Hypothetical scenario (all refillable cylinders)                281,250           128                  279,487
     Change in emissions under hypothetical                             -
                                                                                      -2,381              -5,217,523
     scenario                                                       5,248,850
     Total Change in Emissions                                     -5,246,711        -2,380               -5,215,398



 4. Cost Analysis of Replacing Non-refillable with Refillable Cylinders
 Replacing non-refillable cylinders with refillable cylinders could have other implications for
 businesses in addition to emission savings. Estimating the economic impacts of replacing non-
 refillable cylinders with refillable cylinders must account for the costs associated with replacing
 the cylinders themselves and the costs associated with the change in procedure handling of
 refillable cylinders (i.e., returning the cylinders to be refilled).




 7  In actuality, if all non-refillable cylinders were replaced with refillable ones, there would need to be more than 4.5
 million cylinders in circulation to avoid lags in transport times. This issue is addressed in ICF (2011). For this analysis,
 it is assumed that an all-refillable scenario would still involve a total of 4.52 million cylinder trips per year because the
 volume of refrigerant produced, transported, and stored would not change simply due to the transition to all refillable
 cylinders.



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     4.1. Entities Potentially Subject to Non-refillable Cylinder Ban
 A ban on the use of non-refillable cylinders would directly impact those companies that sell,
 distribute, or repackage refrigerant in disposable cylinders. For this preliminary analysis,
 affected entities are assumed to be producers, importers, exporters, reclaimers, and companies
 that sell and distribute HFCs (e.g., blenders, repackagers, and wholesalers or distributors of
 refrigerants).8 Table 9 lists the affected industries by NAICS code and the estimated number of
 businesses affected.
     Table 9. List of Potentially Affected Industries of Non-refillable Cylinder Ban by NAICS Code
                                                                              Estimated Number
          NAICS
                          NAICS Industry Description                             of Businesses
          Code
                                                                                    Affected
          325120          Industrial Gas Manufacturing                                 0a
          562920          Materials Recovery Facilities                                65a
                          Refrigeration Equipment and Supplies Merchant
          423740                                                                      645b
                          Wholesalers
                          Warm Air Heating and Air-Conditioning Equipment
          423730                                                                     2,220b
                          and Supplies Merchant Wholesalers
                          Other Chemical and Allied Products Merchant
          424690                                                                     6,069b
                          Wholesalers
        Source: Census Bureau (2020)
        a Based on known HFC producers and reclaimers.
        b It was assumed that 50 percent of businesses within these NAICS codes are refrigerant wholesalers

        and would be affected by the non-refillable cylinder ban.


     4.2. Estimated Economic Impacts
 For the purposes of quantifying direct compliance costs for this analysis, it was assumed that
 reclaimers, wholesalers, and distributors of refrigerant cylinders currently sell refrigerant solely
 in non-refillable cylinders.9

 Cost of cylinders. Industry estimates that refillable cylinders are approximately three times the
 cost of a disposable cylinder (A-Gas 2021a, National Refrigerants 2021). This analysis assumes
 a disposable cylinder costs approximately $12, and a refillable cylinder is $36 (National
 Refrigerants 2021). While the price of a refillable cylinder is higher than that of a non-refillable
 cylinder, a refillable cylinder has a lifetime of 20 years and is refilled an average of 1.5 times per
 year and could be refilled as many as 3–4.5 times per year (Refrigerant Services 2012, A-Gas
 2021b), resulting in one refillable cylinder potentially replacing 30 non-refillable cylinders over its



 8
   For the purposes of this preliminary analysis, it is conservatively assumed that producers transport
 refrigerant primarily in containers larger than 30-lbs. cylinders and therefore the total inventory of 4.5
 million cylinders was distributed across importers, exporters, reclaimers, and companies that sell and
 distribute HFCs (e.g., blenders, repackagers, and wholesalers or distributors of refrigerants) defined by
 the NAICS codes in Table 9
 9
   Industry estimates that refillable cylinders account for between less than 1 percent and 10 percent of all
 30-pound cylinders used, with a general assumption that the quantity of refillable cylinders as a
 percentage of all 30-pound cylinders used is closer to 1 percent (A-Gas 2021a, National Refrigerants
 2021, Fluorofusion 2021). For the purposes of this analysis, it is assumed that all cylinders sold in the
 United States are non-refillable.


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 lifetime. Assuming all refillable cylinders are refilled an average of 1.5 times per year,
 approximately 3,015,000 refillable cylinders would need to be purchased to replace non-
 refillable cylinders. Cylinder sales were distributed across businesses in proportion to their
 annual sales (Census Bureau 2020). The costs of purchasing refillable cylinders were also
 annualized over the 20-year lifetime, using a 9.8 percent10 discount rate appropriate for this
 industry.

 Cost of transport. Refillable cylinders are heavier than non-refillable cylinders. Industry
 estimates are that a non-refillable cylinder weighs approximately 6–7 lbs. when empty and a
 refillable cylinder is approximately 15–17 lbs. empty (National Refrigerants 2021). Additional
 transportation costs are anticipated due to the increased weight from refillable cylinders during
 transport from refrigerant distributor or wholesaler to end user and from the return of refillable
 cylinders for refilling.

 Transportation costs were established based on the incremental cost to ship a truckload of non-
 refillable versus refillable cylinders.11 Costs were estimated assuming a truck could fit
 approximately 1,120 non-refillable cylinders or 870 refillable cylinders (ICF 2011). A truckload of
 either cylinder type would cost approximately $6,600 per trip (FedEx 2021). Because refillable
 cylinders are returned after use, an additional return trip is required.

 Table 10 summarizes the cost assumptions associated with replacing non-refillable cylinders
 with refillable cylinders.
                   Table 10. Cost Assumptions Associated with Non-refillable Cylinder Ban
                      Parameter                                   Assumption
      Cylinder type                               Non-refillable                   Refillable
      Cylinder purchases                            4,522,500                     3,015,000
                       a
      Cost of cylinder                                  $12                           $36
      Lifetime of cylinder                            1 year                       20 years
      Weight of cylindera                              7 lbs.                       17 lbs.
                                        b
      Number of cylinders per truckload                1,120                          870
      Freight cost per truckloadc                     $6,600                        $6,600
      Freight cost per cylinder                       $5.89                          $7.59
      Annual trips                                       1                             3d
      a National Refrigerants (2021)
      b ICF (2011)
      c FedEx (2021)
      d Refillable cylinders are assumed to be refilled 1.5 times per year and require two-way transport, or a total of

      three trips.




 10
    The average cost of capital over the last 8 quarters available (September 2018 to June 2020) in three
 industry segments: Chemicals and Allied Products; Industrial, Computers, Electronics and Auto
 Manufacturing; and Wholesale and Retail Trade. Duff & Phelps, 2021. Available at
 https://dpcostofcapital.com/us-industry-benchmarking, accessed March 1, 2021.
 11
    Although cylinders containing refrigerant cannot be shipped via a commercial carrier, the incremental
 cost difference between shipping a 17-lbs. refillable cylinder and a 7-lbs. disposable cylinder is assumed
 to proxy the additional costs associated with transporting cylinders to end-use.


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 Management Costs. Because refillable refrigerant cylinders need to be returned to a reclaimer
 or wholesaler/distributor for reuse, it is assumed that each company will utilize approximately 10
 percent of a full-time employee (i.e., 4 hours per week) to coordinate the return of refrigerant
 cylinders. The cost assumptions for each industry to maintain a cylinder return program are
 presented in Table 11.
                       Table 11. Costs to Manage a Cylinder Return Program
                                                        % of FTE Needed to    Annual
 NAICS                                     FTE Annual
           NAICS Industry Description                  Run  a Cylinder Return Cost per
 Code                                        Wagea
                                                              Program          Firm
 562920 Materials Recovery Facilities             $42,260.00b              10%                 $4,226
        Refrigeration Equipment and
 423740                                           $38,400.00c              10%                 $3,840
        Supplies Merchant Wholesalers
        Warm Air Heating and Air-
 423730 Conditioning Equipment and                $39,570.00d              10%                 $3,957
        Supplies Merchant Wholesalers
           Other Chemical and Allied
 424690                                           $38,400.00c              10%                 $3,840
           Products Merchant Wholesalers
 a FTE  annual wage is for occupation code 43-5000: Material Recording, Scheduling, Dispatching, and
 Distributing Workers.
 b BLS (2020a)
 c BLS (2020b)
 d BLS (2020c)




 Using the methodology and additional assumptions described above, Table 12 below
 summarizes the estimated number of businesses potentially affected by the non-refillable
 cylinder ban as well as the estimated annualized costs at a 9.8 percent discount rate. Using a
 9.8 percent discount rate, total annualized compliance costs across affected businesses are
 estimated to be $18.2 million.
     Table 12. Estimated Economic Impact from Non-refillable Cylinder Ban using a 9.8 percent
                                         Discount Rate
                                         Estimated Number of                   Total
                    NAICS Code
                                         Businesses Impacted               Annualized Cost

                       562920                      65                          $276,879
                       423740                      645                        $1,256,168
                       423730                     2,220                       $4,543,467
                       424690                     6,069                      $12,156,183
                        Total                     8,999                      $18,232,696




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 5. Global and State Policies
 Non-refillable cylinders have been prohibited in Australia, Canada, the EU, and India12 through
 different approaches ranging from use-bans to placement on market bans. The success of
 these legislative actions has been mixed, influenced by intricacies of the regulations, trade with
 other countries, and labeling inaccuracies.

      5.1. Non-refillable Cylinder Ban in Australia
 Disposable cylinders were banned in Australia in 2007 after an amendment was added to the
 Ozone Protection and Synthetic Greenhouse Gas Management Regulations of 1995, which falls
 under the Ozone Protection and Synthetic Greenhouse Gas Management Act of 1989.

 The ban was implemented as a condition of the permits needed for refrigerant trading
 authorization and refrigerant handling. The section states that the permit holders must only use
 refillable storage containers for the storage of refrigerant (Australian Refrigeration Council
 2020). This approach avoids burden associated with proving whether a container was placed on
 the market before or after the ban was put in place (EIA 2019).

      5.2. Non-refillable Cylinder Ban in Canada
 Disposable cylinders were banned in Canada in incremental phases, taking into account
 different refrigerants with each additional regulation. The two main pieces of legislation were the
 Federal Halocarbon Regulations of 2003 followed by the Ozone-depleting Substances and
 Halocarbon Alternatives Regulations of 2016, both of which were under the Canadian
 Environmental Protection Act of 1999. The ban on non-refillable cylinders includes the following
 restrictions:

         The storage, transport, and purchase of halocarbons must be in a container designed
          and manufactured to be refilled (Government of Canada 2003).
         Any imports of HFCs and HCFCs to be used as refrigerants must be stored in a refillable
          cylinder (Government of Canada 2016).
         Any HCFC that is manufactured to be used as refrigerant must be stored in refillable
          cylinders (Government of Canada 2016).

      5.3. Non-refillable Cylinder Ban in the European Union
 Disposable cylinders were banned in the EU in 2007 (EIA 2018). The placement on market ban
 began with non-refillable containers of ODS in 2000 and again in 2009 in the European Union
 Ozone Depleting Substances Regulations. Eventually, non-refillable containers of HFCs were
 also banned from market placement under the Fluorinated Gas (F-Gas) Regulation in 2006 and
 again in 2014 (EIA 2019).

 Because regulations ban placement on market, it is often difficult to determine whether a
 cylinder was placed on the market before or after the ban went into place (EIA 2019).




 12
    The use and ownership of disposable cylinders is illegal in India (Cooling Post 2019). Due to limited available
 information, India’s ban is not elaborated on further in this section.


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 Additionally, some refrigerant suppliers have found ways around the ban, by using refillable
 cylinders but with no plan to return them for refill (Cooling Post 2019).


 6. Illegal Trade and Enforcement Case Studies
 The phasedown of HFCs (in certain regions) has led to illegal smuggling of these substances
 globally, often using non-refillable containers. Disposable cylinders facilitate illegal refrigerant
 trade, and inhibiting this trade would be a benefit of a ban on the use of non-refillable cylinders.
 This section discusses the implications of illegal trade of HFCs, highlights several examples of
 illegal trade in Asia and Europe, and discusses current CFC and HCFC enforcement programs
 in the United States.

    6.1. Smuggling of Non-Refillable Cylinders and its Financial Implications
 Non-refillable cylinders are popular in some countries as they do not require the seller to invest
 in a fleet of refillable containers (EIA 2019). In regions with HFC import restrictions, smuggling
 has often occurred in non-refillable cylinders. The smuggling of non-refillable cylinders has
 significant emissions and financial implications. From an emissions perspective, the continued
 trade and use of HFCs from smuggling can result in the release of the refrigerant heel into the
 atmosphere (EIA 2019). Illegal trade also has negative financial implications for governments
 and legitimate businesses (EIA 2019). Governments with HFC taxes are at risk of losing tax
 revenue (i.e., VAT and import duty) and businesses can experience indirect impacts from the
 effects illegal trade can have on lowering the price of legal refrigerants (EIA 2019). For example,
 Poland’s treasury lost 7 million Euros in 2018 due to illegal refrigerant imports valued at 55
 million Euros, and Lithuania’s exchequer lost approximately 5 million Euros in 2018 as a result
 of increased sales of illegal refrigerants (EIA 2019). Moreover, legitimate businesses are seeing
 their profits decrease as consumers are attracted to the low prices of illegal refrigerants. Illegal
 imports of HFCs in Europe also slows the adoption of HFC alternatives and undermines the
 success and benefits of the F-gas regulation (EIA 2019).

 In 2007, the EU banned disposable refrigerant cylinders in the EU and on EU flagged vessels.
 However, reports of illegal (non-quota) HFCs in European markets began to emerge in 2016.
 Honeywell reported that 10 MMTCO2e of HFCs had been illegally imported in 2015, totaling
 about 5 percent of the total allocation (EIA 2019). In more recent years, the industry has seen
 an increase in both the frequency and severity of illegal HFC reports (EIA 2019). From 2016 to
 2018, illegal trade hotspots occurred in Austria, Belgium, Denmark, Greece, Ireland, Latvia,
 Malta, Poland, Portugal, Romania, and Sweden. These countries’ 2018 HFC imports were more
 than 100 percent higher than their 2016 imports (EIA 2019). One report found that reported
 imports to European customs officials exceeded the quota amount by 16 percent in 2019 and 33
 percent in 2020 (King & Spalding, 2020).

 Industry reports highlight concerns about effective enforcement to regulate illegal large-scale
 HFC trade and use, with more than 72 percent of surveyed companies indicating they had seen
 or been offered refrigerants in illegal disposable cylinders (EIA 2019). Analysis of European
 customs data revealed that bulk HFC imports in 2018 exceeded the 2018 quota, which could
 indicate open smuggling of HFCs (EIA 2019). Moreover, EIA (2019) also identified



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 discrepancies between Chinese export and European import data which could signal potential
 cross-border smuggling and false import declarations by European countries (EIA 2019).

 There are two main methods of illegal trade in the EU. The first mechanism includes open
 smuggling of HFCs where companies import non-quota HFCs through normal customs
 channels (EIA 2019). EIA’s analysis of 2018 customs data suggests that as much as 16.3
 MTCO2e of bulk HFCs were illegally placed on the market in this way in 2018 and more than
 14.8 MTCO2e in 2017 (EIA 2019). The second mechanism encompasses smuggling HFCs
 across country borders, which can occur outside customs channels altogether or where HFCs
 are concealed either physically or through fraudulent documentation of HFC shipments (e.g.,
 mislabeling the type, purpose or destination of the HFC shipment) (EIA 2019, European
 Fluorocarbons Technical Committee 2020).

    6.2. CFC and HCFC Enforcement Programs in the United States
 The United States has established two specific programs targeting illegal imports of CFCs and
 HCFCs at the national level: Operation Cool Breeze and Catch-22 (UNEP 2013).

 Operation Cool Breeze was designed to respond to the growing illegal trade of CFCs, which
 accelerated soon after the phaseout of CFC production in 1995. EPA estimated that 7,500 to
 15,000 MT of illegal CFC-12 were imported between 1994 and 1995 (UNEP 2013). Operation
 Cool Breeze was an effective strategy that highlighted the importance of national coordination,
 cross-agency information sharing, customs trainings and awareness, and criminal prosecution.
 As a result, close coordination between the U.S. EPA, Customs, and U.S. Department of Justice
 prosecutors resulted in 44 prosecutions and the seizure of more than 862 MT of CFCs. The
 United States also relied on international cooperation with counterparts in Mexico, Canada,
 China, and Russia to support international efforts to halt the illegal trade of CFCs (UNEP 2013).

 Catch-22 was an extension of Operation Cool Breeze. Catch-22 was an inter-agency campaign
 to aggressively identify and convict those found to be illegally smuggling HCFCs into the United
 States (UNEP 2013). Similar to Operation Cool Breeze, Catch-22’s operations relied on the
 cooperation and communication of several parties including EPA, customs personnel, industry
 groups, and other stakeholders, such as freight forwarders. Catch-22 was a successful
 operation, resulting in criminal prosecutions (most of which have occurred in Miami, Florida)
 (UNEP, 2013).

 For example, in 2010 Mar-Cone Appliance Parts Co. (Marcone) was convicted and sentenced
 due to the illegal receipt, purchase, and sale of 101 MT of HCFC-22 smuggled into the United
 States. Marcone was sentenced to five years of probation, ordered to pay a $500,000 fine,
 perform community service (a $400,000 payment to an environmental enforcement not-for-
 profit), implement an Environmental Compliance Plan, and re-pay the United States the total
 value of the crime. The success of Marcone’s investigation was a result of the coordination of
 EPA; Immigration and Customs Enforcement’s Office of Investigations in Miami; the Florida
 Department of Environmental Protection, Criminal Investigation Bureau; and the Miami-Dade
 Police Department, Environmental Investigation Unit, united under Catch-22 (Offices of the
 United States Attorneys 2010).


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 7. Conclusion
 Refrigerant losses can occur from refrigerant cylinders under a variety of circumstances during
 transport, storage, and disposal, the frequency and severity of which depends in part on the
 type of cylinder. In 2020, virtually all refrigerant cylinders sold in the United States are non-
 refillable, which can result in approximately 31,000 MTCO2e in emissions from transport and
 storage per year from 4.46 million cylinders. In addition, non-refillable cylinders can experience
 emissions during disposal if unrecovered refrigerant is released. The amount of refrigerant heel
 remaining in non-refillable cylinders can vary by refrigerant type and recovery practices by
 servicing technicians, but is estimated to be approximately 1.25 pounds of refrigerant per
 cylinder. Disposal emissions from non-refillable cylinders can therefore equal 5,222,000
 MTCO2e per year, assuming the heel is completely released from 95 percent of the cylinders .

 By comparison, refillable cylinders can also experience refrigerant losses during transport and
 storage of approximately 500 MTCO2e per year from approximately 45,000 cylinders in the
 United States. While refillable cylinders have emissions during disposal, they have a lifetime of
 20 years and are continually refilled throughout their lifetime, reducing annual disposal
 emissions relative to disposable cylinders due to a smaller proportion of refillable cylinders
 disposed of per year compared to disposable cylinders.

 Replacement of non-refillable cylinders with refillable cylinders in the United States would
 therefore be estimated to save approximately 5,215,000 MTCO2e per year in emissions.

 There are other implications associated with replacing non-refillable cylinders with refillable
 cylinders, including potentially higher costs associated with purchasing and transporting
 refillable cylinders (e.g., due to heavier weight and increased transportation time to return
 cylinders). Non-refillable cylinders have been successfully banned in several countries,
 including Australia, Canada, the European Union, and India. These bans appear to be helpful in
 identifying illegally imported material and have been part of comprehensive regulatory
 approaches to ensure effective implementation of programs phasing down regulated
 substances. Additionally, bans on non-refillable cylinders help reduce landfill waste through the
 reuse and refill of cylinders.




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 Appendix A. Emission Estimates for Cylinders during Transport and Storage
 This section presents the results of an analysis of total annual emissions from refrigerant losses
 during cylinder transport and storage conducted by Stratus (2012).13 It includes a description of
 the methodology used to calculate these impacts and resulting emissions. These emission
 estimates were updated for 2020 to reflect an updated distribution of refrigerants sold annually
 in 30-pound cylinders.

 Methodology
 The following steps explain how the total annual emissions from refrigerant losses during
 cylinder transport and storage were calculated. More information on the variables identified in
 these steps can be found in Table A- 1 and Table A- 2.

            1. For each type of cylinder, the total number of cylinder “trips” (i.e., times traveling
               from refrigerant manufacturer to end use) in a year was calculated as the product
               of:
                   a. The number of cylinders of that type manufactured in the United States
                        each year
                   b. The average number of times per year that a cylinder is filled (only once for
                        non-refillable cylinders).
            2. For each type of cylinder and for each type of refrigerant loss that a cylinder could
               experience, the total amount of refrigerant emitted each year was calculated as the
               product of:
                   a. The total number of cylinder trips per year (result from Step 1)
                   b. The percentage of cylinders transported and stored that experience the
                        specific type of refrigerant loss
                   c. The average amount of refrigerant in a full cylinder
                   d. The percentage of the refrigerant in the cylinder that is emitted due to the
                        type of loss.
            3. The resultant products for each cylinder/refrigerant loss type combination (from
               Step 2) were then summed to produce the total annual emissions (in pounds)
               resulting from refrigerant losses during cylinder transport and storage.
            4. The total annual emissions resulting from refrigerant losses during cylinder
               transport and storage (from Step 3) were then converted into GWP-weighted
               emissions using each refrigerant’s GWP.
 The values used for several of the variables identified above are based on the information
 presented in Sections 2 and 3 and are presented in Table A- 1. Table A- 2 presents values for
 several other key inputs used in the analysis, indicating the corresponding step in the above
 process.




 13 Other factors in evaluating the comparative advantages and disadvantages of the two types of cylinders is the
 amount of resources consumed in their manufacture and potential waste due to improper disposal. One argument for
 using refillable cylinders is to reduce the amount of recyclable metal that is landfilled. Another differentiating factor is
 the implications of the cylinders’ differences in size and weight for the amount of energy required to transport them
 (ICF 2011). These considerations are outside the scope of this analysis.


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 Table A- 1. Summary of information on types of refrigerant loss from transported and
 stored cylinders
              Type of refrigerant loss               % of refrigerant in     % of cylinders that
                                                       cylinder that is     experience this type
                                                     emitted due to this           of loss
                                                        type of loss
  Non-refillable cylinders
  Mechanical damage to valve                                95%a                   0.01%b
  Overfilled cylinder with defective safety-relief                        100%                        0.01%b
  valve ruptures (e.g., due to extreme heat or blunt
  contact)
  Overfilled cylinder with effective safety-relief valve                  95%a                        0.01%b
  releases overfilled amount (e.g., due to extreme
  heat or blunt contact)
  Refillable cylinders
  Mechanical damage to valve                                              96%a                        0.02%

  Overfilled cylinder with defective safety-relief                        100%                        0.01%b
  valve ruptures (e.g., due to extreme heat or blunt
  contact)
  Overfilled cylinder with effective safety-relief valve              Up to 20%                       0.01%b
  releases overfilled amount (e.g., due to extreme
  heat or blunt contact)

  a. Assumes all refrigerant is lost, minus the heel. The heel is estimated to be approximately 5 percent (see list of
  assumptions below).
  c. The likelihood of these types of losses occurring is considered negligible. We use 0.01 percent as the smallest
  likelihood of a loss occurring. See list of assumptions below



 Table A- 2. Key variables used in calculations
  Step                   Variable                                          Value                        Source/notes
    1     Total number of 30-pound cylinders                4.5 million                            A-Gas 2021; Fluorofusion
          manufactured in the United States each                                                   2021
          year
    1      % of 30-pound cylinders that are                 1%                                     A-Gas 2021; Fluorofusion
           refillable                                                                              2021; National
                                                                                                   Refrigerants 2021
    1      Total number of 30-pound cylinders               Non-refillable cylinders:              Derived from total number
           of each type manufactured in the United          4,455,000                              of 30-pound cylinders
           States each year                                 Refillable cylinders: 45,000           manufactured and
                                                                                                   percentage of 30-pound
                                                                                                   cylinders that are
                                                                                                   refillable

    1      Average number of times per year that            Non-refillable cylinders: 1            ICF 2011; Refrigerant
           a cylinder is filled                             Refillable cylinders: 1.5              Services 2012

    2      Total number of cylinder “trips” per year        Non-refillable cylinders:              Derived from Step 1
                                                            4,455,000                              calculations
                                                            Refillable cylinders: 67,500




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      2      Average amount of refrigerant in a “full”        24 lbsa                                See assumptions in notes
             cylinder                                                                                below

      2      Types of refrigerant losses                      See Table A- 1                         N/A

      2      % of refrigerant in cylinder that is             See Table A- 1                         N/A
             emitted due to each type of loss


      2      % of cylinders that experience                   See Table A- 1                         N/A
             each type of loss

      2      % of cylinders containing each                   R-134a: 22%                            EPA 2020
             type of refrigerant                              R-410A: 51%
                                                              R-407C: 3%
                                                              R-404A: 12%
                                                              R-507A: 2%
                                                              R-407A: 9%
      4      GWP                                              As reported in The Montreal            Ozone Secretariat 1987
                                                              Protocol on Substances that
                                                              Deplete the Ozone Layer


  a   Assuming cylinder is filled to 80 percent capacity, and full capacity is 30 lbs (see assumptions below).


 Assumptions
 Stratus (2012) made several assumptions to estimate the total annual emissions resulting from
 refrigerant losses during cylinder transport and storage:

           Analysis only includes emissions from 30-pound cylinders. As noted above, 30-pound
            cylinders are the most commonly used cylinders for transporting refrigerant in the United
            States. For simplicity, this analysis does not include emissions from transport and
            storage of cylinders of other sizes.
           Analysis only considers emissions from “outbound” cylinder trips. Cylinders returning
            from service technicians to wholesalers and then to reclaimers, disposers, and
            refrigerant manufacturers (the actual life cycle will depend on the type of cylinder) are
            not considered.
           Every type of refrigerant loss is assumed to occur in at least 0.01 percent of all cylinders.
            Based on input from experts contacted for this analysis, the likelihood of certain types of
            refrigerant losses occurring in cylinders is negligible. For this analysis, every type of
            refrigerant loss is assumed to occur in at least 0.01 percent of all cylinders.
           All cylinders have a maximum capacity of 30 lbs. and are filled to 80 percent capacity,
            unless overfilled. This assumption is made to simplify the analysis. The cylinder capacity
            will vary depending on the cylinder manufacturer, because every cylinder has slight
            differences in size.
           Refrigerant heels remain in cylinders that lose refrigerant due to defects in or damage to
            valves. The heel is assumed to equal approximately 5 percent of the original refrigerant
            charge. It is assumed that cylinders that experience a rupture will lose the refrigerant
            heel, and cylinders that experience a safety-valve refrigerant release will retain the heel.




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 Results
 Emissions from transport and storage of cylinders for 2020 are presented in terms of absolute
 pounds and in terms of their impact on climate (using MTCO2e) and the ozone layer (using ODP
 metric tons).

 Non-refillable cylinders
 Table A- 3 presents the estimated pounds of emissions resulting from each type of refrigerant
 loss that non-refillable cylinders might experience. The table shows that refrigerant losses from
 non-refillable cylinders result in emissions of approximately 31,000 pounds of refrigerant per
 year.
 Table A- 3. Emissions from non-refillable cylinder transport and storage – pounds emitted
        Type of loss          Total          Average      % of refrigerant in % of cylinders      Pounds
                           number of        amount of       cylinder that is        that          emitted
                             cylinder       refrigerant     emitted due to      experience
                            trips per          in full     this type of loss    this type of
                               year          cylinder                               loss
  Mechanical damage to      4,455,000            24               95%              0.01%          10,135
  valve
  Overfilled cylinder with       4,455,000         24               100%              0.01%       10,692
  defective safety-relief
  valve ruptures (e.g.,
  due to extreme heat or
  blunt contact)
  Overfilled cylinder with       4,455,000         24                95%              0.01%       10,135
  effective safety-relief
  valve releases
  overfilled amount
  (e.g., due to extreme
  heat or blunt contact)
  Total                             N/A            N/A               N/A              N/A         30,962


 Table A- 4 presents the estimated MTCO2e of emissions resulting from refrigerant losses from
 non-refillable cylinders, based on the breakdown of refrigerants transported and stored in 30-
 pound cylinders. As the table shows, emissions from non-refillable cylinders account for
 approximately 30,768 MTCO2e per year.
 Table A- 4. Emissions from non-refillable cylinder transport and storage – MTCO2e emitted
                                               Pounds emitted
                                 % of all
                                                  (using total       Metric tons
      Refrigerant            refrigerants in                                            MTCO2e
                                               pounds emitted         emitted
                                cylinders
                                               from Table A- 3)
  R-134a                          22%                6,840                 3.10          4,437
  R-410A                          51%               15,841                 7.19          15,003
  R-407C                           3%                1,080                 0.49           869
  R-404A                          12%                3,600                 1.63          6,405
  R-507A                           2%                 720                  0.33          1,302
  R-407A                           9%                2,880                 1.31          2,753



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                                                Pounds emitted
                               % of all
                                                   (using total       Metric tons
      Refrigerant          refrigerants in                                               MTCO2e
                                                pounds emitted         emitted
                              cylinders
                                                from Table A- 3)
  Total (All)                   100%                 30,962              14.04            30,768
  Note: Totals might not sum due to rounding.


 Refillable Cylinders
 Error! Reference source not found. presents the estimated pounds of emissions resulting
 from each type of refrigerant loss that refillable cylinders might experience. The table shows that
 refrigerant losses from refillable cylinders result in emissions of approximately 500 pounds of
 refrigerant per year. This amount is considerably smaller than the amount emitted from non-
 refillable cylinders. This discrepancy is logical, considering the estimation that refillable cylinders
 account for only 1 percent of all 30-pound cylinders in use.
 Table A- 5. Emissions from refillable cylinder transport and storage – pounds emitted
                             Total
                                             Average       % of refrigerant in
                          number of                                             % of cylinders
                                            amount of        cylinder that is                         Pounds
      Type of Loss         cylinder                                            that experience
                                          refrigerant in     emitted due to                           emitted
                           trips per                                           this type of loss
                                           full cylinder    this type of loss
                              year
  Mechanical damage         67,500               24                95%               0.02%                 307
  to valve
  Overfilled cylinder           67,500             24                100%              0.01%               162
  with defective safety-
  relief valve ruptures
  (e.g., due to extreme
  heat or blunt contact)
  Overfilled cylinder           67,500             24                 20%              0.01%               32
  with effective safety-
  relief valve releases
  overfilled amount
  (e.g., due to extreme
  heat or blunt contact)
  Total                          N/A               N/A                N/A               N/A                502


 Table A- 6 presents the estimated MTCO2e of emissions resulting from refrigerant losses from
 refillable cylinders, based on the breakdown of refrigerants transported and stored in 30-pound
 cylinders. As the table shows, emissions from refillable cylinders account for approximately 500
 MTCO2e per year. Again, the discrepancy between these figures and those indicated for non-
 refillable cylinders (Table A- 4) are due to the very small percentage of 30-pound cylinders that
 are refillable compared to those that are non-refillable.




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 Table A- 6. Emissions from refillable cylinder transport and storage – MTCO2e emitted
                                                Pounds emitted
                               % of all
                                                   (using total       Metric tons
  Refrigerant              refrigerants in                                              MTCO2e
                                                pounds emitted         emitted
                              cylinders
                                                from Table A- 5)
  R-134a                        22%                   111                0.05             72
  R-410A                        51%                   257                0.12             243
  R-407C                         3%                    17                0.01             14
  R-404A                        12%                    58                0.03             104
  R-507A                         2%                    12                0.01             21
  R-407A                         9%                    47                0.02              45
  Total (All)                   100%                  502                0.23             498
  Note: Totals might not sum due to rounding.




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 Appendix B. Estimate of Emissions from Heels (Theoretical and Empirical) in
   Non-refillable Cylinders
 Theoretical Estimates of Amount of Refrigerant Remaining in Non-Refillable Cylinders
 This section describes the approach used by Stratus (2010a) to estimate theoretical heels in
 non-refillable cylinders under different field servicing and recovery conditions.

         Refrigerants studied
 Based on input from EPA technical experts and industry sources, as well as a review of
 available literature, six refrigerants were included in the theoretical study. Table B- 2 lists the
 refrigerants that were selected for inclusion, along with information about the cylinder sizes they
 are typically sold in and the use for which they are commonly purchased. These refrigerants
 include HCFC-22 (HCFC-22) and HFC-134a (R-134a) and blended refrigerants R-410A, R-
 407C, R-404A, and R-507A.

 The estimated theoretical heel amounts resulting from the three refrigerant recovery conditions.
 Table B- 1 presents the estimated heel amounts for each of the six refrigerants for three
 applications (air-conditioning, mid-temperature refrigeration, and low-temperature refrigeration)
 assuming that no vapor recovery process was used following field servicing. Average estimated
 heel amounts ranged between 0.31 lbs. and 0.70 lbs.

 It is important to note that the four blends are comprised of different measures of multiple pure
 refrigerants. Aside from R-134a, which was included in the study, refrigerants that are combined
 to create the mixtures were not considered individually and for the purposes of this study, these
 refrigerants, are included only insofar as they determine the characteristics of the refrigerant
 blends of interest.

 Table B- 1Error! Reference source not found. shows the typical quantities of refrigerant
 contained in a 13.5-L non-refillable cylinder for each refrigerant studied. As shown, the amount
 of refrigerant in a 13.5-L cylinder is 30 lbs. for pure refrigerants (HCFC-22 and R-134a) and 24
 lbs. to 25 lbs. for refrigerant blends. The difference between refrigerant charge sizes for pure
 and blended refrigerants is due to the potential fractioning of the refrigerant mixtures, which
 could selectively vaporize the low boiling temperature constituent of the mixture.
 Table B- 1. Typical refrigerant mass in a 13.5-L non-refillable cylinder
                HCFC-22         R-134a        R-410A         R-407C         R-404A     R-507A
  Mass (lb)       30              30          25             25             24         25
 Source: National Refrigerants 2009b.


         Model used and simulated operating conditions
 Xprops™, a refrigerant property analysis software developed by Thermal Analysis Partners
 (TAP), was used to estimate heel amounts for the six refrigerants. This model can generate
 theoretical heel amounts and other outputs based on inputs that simulate operating conditions.
 The Air-Conditioning, Heating, and Refrigeration Institute’s (AHRI’s) Standard 540-2004 was
 used to determine typical operating conditions of air-conditioning and refrigeration systems
 (AHRI 2004). The AHRI standard provided information on the suction dew point temperature,


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 discharge dew point temperature, and the return gas temperature. Based on the suction dew
 point temperature that corresponds with different uses of refrigerant (e.g., air-conditioning, mid-
 temperature refrigeration, and low temperature refrigeration), the suction pressure of the six
 targeted refrigerants was calculated using Xprops.

        Heel estimation
 The estimated theoretical heel amount that would remain in a typical cylinder was estimated
 considering two different scenarios. In the first scenario, the cylinder is assumed to have been
 emptied in the field and disposed of without a vapor recovery process. When the liquid phase
 refrigerant is being charged, the pressure in the cylinder approaches the system suction
 pressure.

 This causes the moisture in the air to condense on the cylinder surface. As the last of the liquid
 refrigerant is removed from the cylinder, the refrigerant is in the vapor phase. As heat is
 transferred from the high temperature ambient air to the low temperature cylinder, the
 refrigerant in the cylinder becomes superheated vapor. During this process, the cylinder
 pressure decreases and ultimately reaches the system suction pressure.

 Using the calculated system suction pressure (Psuction) and the assumption that the typical
 ambient temperature (Tamb) is 24°C, the density of the refrigerant vapor (ρvapor, cylinder) can be
 calculated for each of the refrigerants based on the following function by using the Xprops
 software:

                                   𝜌      ,              𝑓 𝑃        ,𝑇

 Once the density of the refrigerant vapor and the internal volume (Vinternal) of the cylinder are
 known, the mass of the heel (mheel) can be calculated as follows:

                                    𝑚         𝜌     ,          𝑥𝑉

 In the second scenario, the cylinder is assumed to have been used in the field and then
 subjected to a vapor recovery process. In the vapor recovery process, the cylinder ultimately
 reaches a final recovery pressure. Two final recovery pressures were explored: vapor recovery
 to a certain final pressure based on AHRI Standard 740-1998 and vapor recovery to several
 specific vacuum pressures.

 Recovery to AHRI Standard. To estimate the heel in a cylinder that has undergone vapor
 recovery based on AHRI Standard 740-1998, the following assumptions were made:

       Cylinder is at ambient temperature (Tamb) 24°C;
       Initial recovery pressure (Precovery, initial) is at the system suction pressure (Psuction); and
       Final recovery pressure (Precovery, final) is 10 percent of the initial cylinder pressure.
 Given these assumptions, the density of the refrigerant vapor in the cylinder was calculated
 using Xprops for each of the six refrigerants. Given the cylinder’s internal volume and the
 previously calculated density of the refrigerant vapor, the masses of the refrigerant heels and
 the percentage of the total that the heel accounts for were calculated.




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 Recovery to specific pressure. To estimate the heel in a cylinder that has undergone vapor
 recovery based on several specific vacuum pressures, the following assumptions were made:

        Cylinder is at ambient temperature (Tamb) 24ºC; and
        Final recovery pressure is below the atmospheric pressure [measured at 0, 5, 10, 15, 20,
         25, and 29 inches of mercury (inHg) vacuum].
 As in the process to estimate the heel in a cylinder that has undergone AHRI standard for
 refrigerant recovery (Standard 740-1998), once the final recovery pressure and the ambient
 temperature were known, the density of the refrigerant vapor was calculated for each of the six
 refrigerants.

 The estimate of the mass of the heel and the percentage of the initial volume remaining are
 calculated based on the density of refrigerant vapors.

         Results
 This section presents the results of the theoretical study, including the estimated theoretical heel
 amounts resulting from the three refrigerant recovery conditions. Table B- 2 presents the
 estimated heel amounts for each of the six refrigerants for three applications (air-conditioning,
 mid-temperature refrigeration, and low-temperature refrigeration) assuming that no vapor
 recovery process was used following field servicing. Average estimated heel amounts ranged
 between 0.31 pounds and 0.70 pounds.
 Table B- 2. Suction dew heel amounts (lbs.) assuming no vapor recovery at Psuction and Tambient
                   point temp.    HCFC-
    Application                              R-134a   R-410A R-407C        R-404A R-507A
                       (°C)         22
  Air-conditioning       7.2       0.72        0.50    1.02       0.66      1.03        1.08
  Mid-temp.
  refrigeration         -6.7       0.44        0.29    0.61       0.39      0.62        0.66
  Low-temp.
  refrigeration        -23.3       0.23        0.15    0.32       0.20      0.33        0.35
  Average                NA        0.46        0.31    0.65       0.42      0.66        0.70
  Note: Figures have been rounded to two decimal points.


 Table B- 3 provides the estimated heel amounts for each of the six refrigerants for three
 applications (air-conditioning, mid-temperature refrigeration, and low-temperature refrigeration)
 assuming a vapor recovery process based on the AHRI standard for refrigerant recovery
 (Standard 740-1998) was used following field servicing. Average estimates ranged between
 0.03 lbs. and 0.06 lbs.
 Table B- 3. Heel amounts (lbs.) assuming vapor recovery to AHRI standards
                     point        HCFC-
   Application                             R-134a    R-410A    R-407C    R-404A        R-507A
                   temp. (°C)       22
 Air-conditioning      7.2         0.07     0.05      0.09      0.06       0.09          0.09
  Mid-temp.
  refrigeration          -6.7         0.04       0.03      0.06    0.04       0.06       0.06
  Low-temp.
  refrigeration         -23.3         0.02       0.01      0.03    0.02       0.03       0.03




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                      point          HCFC-
    Application                                 R-134a    R-410A   R-407C   R-404A    R-507A
                    temp. (°C)         22
  Average               NA            0.04       0.03      0.06     0.04     0.06      0.06
 Note: Figures have been rounded to two decimal points.


 Table B- 4 provides the estimated heel amounts for each of the six refrigerants at different
 vacuum pressures assuming a vapor recovery process following field servicing. Average
 estimates ranged between 0.04 lbs. and 0.06 lbs. The range of heel amounts indicated in Table
 B- 6 corresponds to heel ratios of between 0.01 percent to 0.51 percent, across all refrigerants
 and at vacuum recovery pressures ranging from 0 inHg to 29 inHg. These ratios are consistent
 with the results of a study conducted by AHRI (2000) that considered the effects of different
 recovery pressures on heel ratios. The results of this study showed that under pressures
 ranging from system suction pressure to 20 inHg, the ratios decline from system suction
 pressure (ratios between 1.5 percent and 3 percent for different refrigerants) to less than 0.5
 percent at 0 psig (for all refrigerants and close to 0.1 percent at 20 inHg for all refrigerants
 (AHRI 2000).14 Figure 1 illustrates the declining heel amounts at higher vacuum pressures for
 each of the refrigerants.
 Table B- 4. Heel amounts (lbs.) assuming vapor recovery to various vacuum pressures
   InHg        Psig         Kpa      HCFC-
                                                 R-134a   R-410A   R-407C    R-404A    R-507A
  vacuum      vacuum        abs.       22
     0          0.00      101.35      0.11        0.13      0.09     0.11     0.12       0.12
     5          2.46       84.42      0.09        0.11      0.07     0.09     0.10       0.10
     10         4.91       67.49      0.07        0.08      0.06     0.07     0.08       0.08
     15         7.37       50.56      0.05        0.06      0.04     0.05     0.06       0.06


 Empirical Study of Amounts of Refrigerant Remaining in Non-Refillable Cylinders
 Stratus (2010a) collected data by measuring quantities of refrigerant remaining in non-refillable
 cylinders after being used to service stationary air-conditioning and refrigeration equipment in
 the field. A refrigerant recovery, measurement, and recording framework was designed to
 facilitate collection and analysis of the data obtained with a Phoenix, Arizona refrigerant
 distributor. This section describes the methodology employed for collecting the data and the
 results produced.

          Methodology
 A sample of 30-pound non-refillable cylinders was collected by the Phoenix distribution
 company from service technicians who used the cylinders for various applications (i.e., servicing
 of residential air conditioners, appliances, commercial refrigeration systems, and chillers). The
 amounts of refrigerant remaining in the cylinders were measured, recorded, and analyzed. The
 cylinders were subjected to a recording and testing process that involved identifying the
 application for which the cylinder was used and the type of refrigerant it contained and
 measuring the amounts of refrigerant remaining by weighing the cylinders when they were
 obtained after use in the field.




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        Results
 For this study, 110 30-pound non-refillable cylinders were collected and evaluated over a two-
 month period. As they were collected, the cylinders were identified as having been used to
 service stationary equipment in four categories of applications:

       Residential air-conditioning (e.g., standard home roof/split systems);
       Chillers (e.g., industrial and mechanical uses);
       Appliances (e.g., refrigerators and air conditioners); and
       Commercial refrigeration (e.g., supermarket refrigeration systems).
 Many service technicians might service systems in only one of these applications, but some
 might service systems across multiple applications. The term “refrigerant remaining” is used in
 this section of the report. Due to the constraints of the cylinder collection component of the
 empirical study, it was not possible to determine whether the refrigerant remaining in the
 cylinder meets the regulatory definition of a heel (as defined in 40 CFR 82.3).

 The cylinders collected for this study contained the following refrigerants: HCFC-22, R-404A, R-
 408A, R-410A, and R-507. Table B- 5 provides the distribution of the cylinders by refrigerant
 type and application.
 Table B- 5. Summary of cylinders collected by refrigerant and application
                HCFC-22        R-404A        R-408A         R-410A        R-507
  Application     30 lb         24 lb         24 lb          25 lb         25 lb       Total
                 cylinder     cylinder       cylinder      cylinder      cylinder
  Appliance
                     2            0              0             0             0           2
  servicing
  Residential
                    32            0              0             0             0          32
  A/C
  Commercial
                    24           12              0             2             5          43
  refrigeration
  Chillers          26            5              2             0             0           33
  Total             84           17              2             2             5          110
  Source: ARS 2009


 For each cylinder collected, an initial pressure gauge reading was taken and the cylinder’s
 weight recorded. Refrigerant recovery equipment was then used to extract the refrigerant
 remaining in the cylinder by pulling a vacuum. For 47 (or 43 percent) of the 110 cylinders
 collected, there was no pressure in the cylinder, either because the cylinder valve was opened
 and the refrigerant remaining in the cylinder was vented or because the refrigerant had already
 been recovered. Of these 47 cylinders:

       The refrigerant remaining in the cylinder was recovered by the source for 16 cylinders
        (all contained HCFC-22);
       Twelve cylinders had no pressure, but the valves had been closed; and
       Nineteen cylinders had no pressure and the valves were open.
 Of the latter two types, it is unknown whether refrigerant was recovered by the source or if the
 refrigerant was vented. Of the 63 cylinders that remained under pressure (i.e., had measurable
 amounts of refrigerant remaining), most contained HCFC-22 and came from the residential air-




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 conditioning sector. Table B- 6 provides a summary of cylinders with pressure by refrigerant and
 source.
 Table B- 6. Summary of cylinders collected with pressure by refrigerant and application
                             HCFC-22     R-404A         R-408A        R-410A          R-507
  Application                 30 lb       24 lb          24 lb         25 lb          25 lb       Total
                             cylinder    cylinder       cylinder      cylinder       cylinder
  Appliance servicing           1            0             0             0              1              1
  Residential A/C               28           0             0             0             28              28
  Commercial refrigeration      7            8             2             2             19              7
  Chillers                      11           4             0             0             15              11
  Total                         47          12             2             2             63              47

 Of the cylinders that remained under pressure, the amounts of refrigerant remaining varied, with
 a mean of 1.08 lbs. Table B- 7 and Table B- 8 provide summary statistics of the amounts by
 refrigerant and application.
 Table B- 7. Mean and median amounts of refrigerant remaining (lbs.), by refrigerant
                Number of       Mean         Median        Standard
  Refrigerant                                                                Minimum        Maximum
                cylinders      amount        amount        deviation
  R-404a            12           1.40            0.96          0.91           0.42              2.91
  R-410A             2           0.96            0.96          0.09           0.89              1.02
  R-507             2            0.53            0.53          0.03           0.51              0.55
  Total             63           1.08            0.70          0.79           0.28              3.69

 Table B- 8. Mean and median amounts of refrigerant remaining (lbs.), by application
                 Number of      Mean         Median      Standard
   Application                                                          Minimum      Maximum
                  cylinders    amount        amount      deviation
  Appliance            1        0.64          0.64          N/A            N/A         N/A
  servicing
  Residential         28        1.02          0.68          0.80           0.28        3.69
  A/C
  Commercial          19        1.13          0.87          0.78           0.33        2.91
  refrigeration
  Chillers            15        1.15          0.68          0.84           0.47        3.26
  Total               63        1.08          0.70          0.79           0.28        3.69




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 Appendix C. Estimation of Emissions under Various Recovery Scenarios for Non-
   refillable Cylinders during Disposal
 Stratus (2010a) implemented a five-step process to estimate the quantity of annual emissions
 resulting from disposal of non-refillable cylinders. These steps include estimating or
 identifying the following:

          1. Number of non-refillable cylinders used per year;
          2. Percentage of cylinders containing different refrigerants;
          3. Amount of refrigerant remaining in typical 30-pound non-refillable cylinders after
             use;
          4. GWP of the refrigerants in question; and
          5. Total amount of GHG emissions resulting from disposal of non-refillable cylinders
             with refrigerant remaining under varying assumptions about venting.

 The information used to complete each of these steps was collected through a review of
 available information in previous studies and input from industry sources. Detailed explanations
 of each step of the approach are provided below.

 Estimate the number of non-refillable cylinders used per year. Based on input from industry
 sources, it is estimated that there are between 4 million and 5 million 30-pound cylinders used
 to charge stationary air-conditioning and refrigeration systems annually, including both non-
 refillable and refillable cylinders (Airgas 2021a; Fluorofusion 2021). For this study, it is assumed
 that there are 4.5 million cylinders (non-refillable and refillable) used to service stationary air-
 conditioning and refrigeration systems annually.

 In addition, based on conversations with those familiar with the stationary air and refrigeration
 servicing industry, it is estimated that refillable cylinders account for between less than 1
 percent and 10 percent of all 30-pound cylinders used, with a general assumption that the
 quantity of refillable cylinders as a percentage of all 30-pound cylinders used is closer to 1
 percent (Airgas 2021b; Fluorofusion 2021; National Refrigerants 2021). For this study, it is
 assumed that the percentage of refillable cylinders is 1 percent, meaning that the total number
 of non-refillable cylinders would be or 4.46 million (99 percent of 4.5 million).

 Estimate the percentage of cylinders containing different refrigerants. Table 1 presents the
 estimated distribution of non-refillable cylinders sold annually for servicing stationary air
 conditioning and refrigeration systems, by type of refrigerant. For this study, the distribution of
 refrigerant types assumed to be sold in 30-pound cylinders in the United States in 2020 was
 based on refrigerant demand for servicing and charging equipment estimated by EPA’s
 Vintaging Model (EPA 2020).
 Table C- 1. Breakdown of cylinders by refrigerant type
            Refrigerant           Distribution of Cylinders
  HFC-134a                                   22%
  R-410A                                     51%
  R-407C                                      3%
  R-404A                                     12%



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  R-507A                                       2%
  R-407A                                       9%
  Total                                       100%


 Estimate the total amount of refrigerant remaining annually in typical 30-pound non-refillable
 cylinders after use. The total annual amount of refrigerant emitted each year from disposing of
 non-refillable 30-pound cylinders was estimated based on (1) the typical amount of refrigerant
 remaining in a non-refillable 30-pound cylinder; (2) the total number of non-refillable cylinders
 used per year (estimated in Step 1 to be 4.46 million); and (3) the distribution of the total
 number of cylinders used by type of refrigerant.

 Four scenarios were developed based on different assumptions of the amount of refrigerant
 remaining in cylinders at the time of disposal, as follows:

        Scenario 1: 0.5 lbs. of refrigerant remaining per cylinder;

        Scenario 2: 1.0 lbs. of refrigerant remaining per cylinder;

        Scenario 3: 1.25 lbs. of refrigerant remaining per cylinder;

        Scenario 4: 1.5 lbs. of refrigerant remaining per cylinder; and

        Scenario 5: 2.0 lbs. of refrigerant remaining per cylinder.

 For each scenario, the total volume of refrigerant remaining was calculated by multiplying the
 appropriate amount of refrigerant remaining per cylinder times the estimated number of
 cylinders (i.e., 4.5 million cylinders distributed across the six refrigerants). Table C- 2 shows the
 estimated volume of refrigerant remaining under each scenario, for each type of refrigerant and
 in total. If all cylinders are disposed of while still containing 1.25 pounds of refrigerant, an
 estimated that 5.53 million pounds of refrigerant would be vented.
 Table C- 2. Total Amount of Refrigerant Emitted by Scenario and Refrigerant
      Refrigerant      Pounds per cylinder       Number of cylinders      Total pounds
                        Scenario 1 0.5 lbs. of refrigerant remaining
  R-134a                       0.5                     984,741               492,371
  R-410A                       0.5                    2,280,453            1,140,227
  R-407C                       0.5                     155,485                77,743
  R-404A                       0.5                     518,285               259,142
  R-507A                       0.5                     103,657                51,828
  R-407A                       0.5                     414,628               207,314
  Total (All)                                         4,457,250            2,228,625
                       Scenario 2 – 1.0 lbs. of refrigerant remaining
  R-134a                       1.0                     984,741               984,741
  R-410A                       1.0                    2,280,453            2,280,453
  R-407C                       1.0                     155,485               155,485
  R-404A                       1.0                     518,285               518,285
  R-507A                       1.0                     103,657               103,657




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      Refrigerant        Pounds per cylinder         Number of cylinders         Total pounds
  R-407A                       1.0                        414,628                   414,628
  Total (All)                                            4,457,250                 4,457,250
                        Scenario 3 – 1.25 lbs. of refrigerant remaining
  R-134a                          1.25                    984,741                  1,230,927
  R-410A                          1.25                   2,280,453                 2,850,567
  R-407C                          1.25                    155,485                   194,357
  R-404A                          1.25                    518,285                   647,856
  R-507A                          1.25                    103,657                   129,571
  R-407A                          1.25                    414,628                   476,822
  Total (All)                                            4,457,250                 5,530,100
                         Scenario 4 – 1.5 lbs. of refrigerant remaining
  R-134a                           1.5                    984,741                  1,477,112
  R-410A                           1.5                   2,280,453                 3,420,680
  R-407C                           1.5                    155,485                   233,228
  R-404A                           1.5                    518,285                   777,427
  R-507A                           1.5                    103,657                   155,485
  R-407A                           1.5                    414,628                   621,942
  Total (All)                                            4,457,250                 6,685,875
                         Scenario 5 – 2.0 lbs. of refrigerant remaining
  R-134a                           2.0                    984,741                  1,969,483
  R-410A                           2.0                   2,280,453                 4,560,907
  R-407C                           2.0                    155,485                   310,971
  R-404A                           2.0                    518,285                  1,036,570
  R-507A                           2.0                    103,657                   207,314
  R-407A                           2.0                    414,628                   829,256
  Total (All)                                            4,457,250                 8,914,500
  Note: For the purposes of this table, it is assumed under each scenario that every cylinder is
  disposed with the same amount of refrigerant being emitted.

 Estimate the total amount of GHG emissions resulting from disposal of cylinders with refrigerant
 remaining in them. The total amount of emissions resulting from each of the four scenarios was
 calculated based on (1) the total estimated amount of refrigerant remaining in cylinders by type
 of refrigerant and (2) the percentage of cylinders that are vented.

 Table 3 provides the resulting estimates. For example, under Scenario 3 (1.25 pounds
 refrigerant remaining), assuming 100 percent of cylinders are vented, it is estimated that the
 disposal of non-refillable cylinders would result in GHG emissions of approximately 5.50
 MMTCO2e. Because it is unlikely that all cylinders will be vented, emissions for each refrigerant
 were also estimated based on varying assumptions about the percentage of cylinders that are
 vented. For example, under Scenario 3, if 95 percent of cylinders is vented (with the remaining 5
 percent of cylinders disposed of properly), the resultant estimated emissions of GHGs would be
 equivalent to approximately 5.22 MMTCO2e.




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 Table C- 3. Refrigerant emissions under cylinder recovery scenarios, distributed by percent of
 cylinders vented
                  Scenario 1       Scenario 2       Scenario 3      Scenario 4        Scenario 5
  Percent of    (0.5 lbs. Heel)  (1.0 lbs. Heel) (1.25 lbs. Heel) (1.5 lbs. Heel)   (2.0 lbs. Heel)
   cylinders
     vented        MMTCO2e         MMTCO2e          MMTCO2e         MMTCO2e           MMTCO2e
      10            0.29              0.58             0.58             0.86              1.15
      20            0.58              1.15             1.15             1.73              2.30
      30            0.86              1.73             1.73             2.59              3.46
      40            1.15              2.30             2.30             3.46              4.61
      50            1.44              2.88             2.88             4.32              5.76
      60            1.73              3.46             3.46             5.19              6.91
      70            2.02              4.03             4.03             6.05              8.07
      80            2.30              4.61             4.61             6.91              9.22
      90            2.59              5.19             5.19             7.78             10.37
     100            2.88              5.76             5.76             8.64             11.52




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                                                                                      June 18, 2021
 Cindy Newberg
 Director, Stratospheric Protection Division, EPA
 1201 Constitution Ave NW
 Washington, DC 20004
 newberg.cindy@epa.gov


                        FCI Comments on Notice of Proposed Rulemaking
 Dear Cindy,
         From the NPRM we already feel that the EPA has considered all of the most vital factors
 that will have an effect on the HFC phasedown. It has become all the clearer that the EPA is an
 agency that all US citizens can rely on to have a positive impact on the environment, our human
 health, and simultaneously our economic wellbeing.
         We are very grateful for and appreciate that the EPA can offer this opportunity to us to
 share our ideas formally with the agency, and all other stakeholders during this very important
 time affecting each of our industries.
         For many of the subjects discussed in the NPRM we strongly agree, and for others we
 have prepared comments that propose suggestions that we hope would further protect U.S.
 industries and American jobs. Today we hope to share our input and comments sought by the
 EPA, and have listed those discussions below following the sequential order of the NPRM:


 1. Using 2017-2019 to Calculate Allowance is Best for American Companies
 VI. What are EPA’s Proposed Options for Determining Allocations?
    With regards to determining who is eligible for allowance, the NPRM states the “EPA is
 proposing to issue allowances to companies that produced or imported HFCs in 2017, 2018,
 and/or 2019, and were still active in 2020.”
      “EPA proposes that considerations for determining who should receive allowances in this
 initial rulemaking would include providing a seamless a transition as possible to a regime where
 allowances are needed to produce and import HFCs, promoting equity, timeliness of
 implementation, and availability of robust data.”



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     We firmly concur with the decision to use the years of 2017-2019 because these years reflect
 the most current market. Additionally, we strongly agree that by excluding those who were
 absent in the market in 2020 gives a clearer idea as to who is still active in the HFC market
 presently.


    A.
     By using 2017-2019, the EPA will guarantee that small to medium sized businesses who
 have recently entered or innovated within the market, such as FluoroFusion, can begin the phase-
 down fairly. For example, industries using low-GWP products like HFC-152a are fast-growing
 and environmentally friendly, therefore using any earlier years would represent an inaccurate
 landscape of market share. Data from the EPA in Table 1 shows how the total consumption of
 HFCs went from an average GWP of 249 MMTEVe in 2011-2013, to an average of 294
 MMTEVe in 2017-2019. This is an 18% increase in total consumption of HFCs during that time,
 and any industry with that much change will have a significant evolution of market players.
                      Table 1. Total Consumption of HFC (EPA’s GHG)
                           Year          Total Consumption (as GWP)
                           2010                  235,000,000
                           2011                  241,000,000
                           2012                  227,000,000
                           2013                  278,000,000
                           2014                  254,000,000
                           2015                  264,000,000
                           2016                  240,000,000
                           2017                  285,000,000
                           2018                  304,000,000
                           2019                  294,000,000
                           2020                      N/A


         B.
          Ms. Lisa Massaro from DuPont’s Public Comment published on February 24th, 2021,
 advocated for the use of 2017-2019 to calculate allowance as well. Her reasoning is because
 many industries have taken time to innovate their products to meet “new SNAP rules/notices and
 shifts in demand for higher energy efficient products” that became effective in 2010, such the
 XPS industry being required to transition from HCFCs to HFCs. Since it was only 2010 when
 these changes became effective, then the years 2011-2013 would be too soon to represent the
 most accurate demand and usage rates. However, by using the years 2017-2019 to calculate
 allowances, the HFC market will have had time to re-center, and be accurately represented. This
 is an ideology that we agree with wholeheartedly.
         C.

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         Finally, another important reason to use 2017-2019 is because China, Mexico and India
 have later HFC phasedown timelines based on their signing of the Kigali Amendment that are 7-
 11 years later than the United States’ phasedown in the AIM Act.
        Leading up to 2017-2019, there have been costly innovative efforts to either implement
 lower GWP HFCs, like HFC-152a, into applications like foam blowing based on BASF’s public
 comment or to transition from HCFCs to HFCs, as also mentioned in DuPont’s public comment
 by Lisa Massaro.
         If we do not ensure these companies or their suppliers receive the proper allowance based
 on these recent innovation efforts between 2017-2019, it could halt these projects that would
 otherwise benefit the environment and progress of the industry. It is likely those technologies
 would be redeveloped or moved to countries that have more lenient HFC phasedown policies
 like China, Mexico, and India. At the very least, this would mean a loss of competitive advantage
 in the USA for these newly innovated products.
         Over the next 7-11 years HFC production and end products in these developing countries
 will be unhindered by any downturn, becoming stronger and stronger global competitors.
 Therefore the U.S. should rely on the latest and most accurate market information of 2017-2019
 to be better poised to protect American industries and be against this competitive disadvantage.
         Once again, China, India, and Mexico are the first, second, and third largest HFC
 manufacturers in the world other than America, and based on the Kigali Amendment phase down
 timeline they each will first feel the effects of an HFC phasedown 10 and 13 years later than the
 U.S. In Table 2, it can be seen that the group China and Mexico are in will not experience
 changes of 10% all the way until 2029. India will wait even further and have their first 10%
 reduction all the way until 2032! These are 7 and 11 years later compared to the 2022 date for
 the US required in the AIM Act.
         For your reference, China has more than 10 HFC factories, and produces all major types
 of HFCs such as HFC-32, HFC-125, HFC-134a, HFC-143a, HFC-152a, HFC-223, HFC-236fa,
 and HFC-245fa. Although India has one factory currently, they produce HFC-134a, HFC-32 and
 HFC-125, and another 2 HFC factories were announced to be built in the next 2 years! Mexico is
 another large producer of HFCs, and potential competitive threat to the US since their 10%
 phasedown will not be until 2029 as well. Mexico is currently a significant supplier of HFC-134a
 to the US, they have the supply to be able to take advantage of the US in the same way.
        As you can see, HFC production is already shifting towards the other 3 nations. It is
 unreasonable to apply legislation that would also shift production of newly innovated end
 products there as well by not providing adequate allowance to the needs to the recently
 developed U.S. market between 2017-2019.




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           Table 2. Group 1 (China, Mexico) and Group 2 (India) Delayed Phasedown Timeline




        Due to their later phasedowns than the US and resulting abundant supply, China, India,
 and Mexico are poised to compete intensely with exports of their lower-priced HFCs and HFC
 end products to the United States. There is a great risk for them to overtake American markets,
 who will be forced to rely on those foreign markets’ unregulated HF finished goods especially.
 Using 2017-2019 will be vital to protect all American companies and especially small businesses
 and from this competitive threat.


 2. Transfer Offset of 1% Promoting Flexibility
 D. What are EPA’s Proposed Provisions for Transferring Allowances?
 “EPA is proposing that the offset be five (5%) percent and is taking comment on a range from
 one percent to 10 percent. A five percent offset would meet the AIM Act statutory directive and
 provide a net environmental benefit without discouraging trading necessary to meet market
 demands.”
        A.
         Especially during the first several years of the phasedown, we believe a transfer offset of
 1% will permit these innovators the flexibility to sustain their new operations. In the case they
 require more allowance because of the greater market share gained, then they would not be
 dramatically hindered with a 5-10% offset. Once again, China, India, and Mexico are still
 growing their HFC production and exports quickly, and will be a tough competitor for the U.S.


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         In the case that an American company will require less allowance, a 1% transfer offset
 will allow for those in need to acquire more at a minimal cost. A company in need may be
 challenged with less allowance than needed, a high price per allowance, and a high transfer
 offset per allowance. This will add costs to small businesses that they may not be able to cover
 and as a result lose business and inevitably their company. A 1% transfer offset would help to
 alleviate one additional cost to smaller businesses and help sustain their livelihood.
        B.
         Furthermore, we believe and suggest that any third-party brokers of consumption and
 production allowances should only be permitted to facilitate in buying and selling the allowance
 but would not be eligible to hold the allowance. If a third-party broker were able to hold
 allowance, it would be a way for a company to bypass the set aside pool for new entrants, which
 should be the EPA’s decision only. This would also deter brokers from hoarding allowance and
 manipulating the allowance market by accruing a sizable pool of allowance. This will also ensure
 brokers are fulfilling their imperative role in this phasedown, which is to effectively contribute to
 coordinating allowance transfers responsibly so that the HFC market can thrive and be as
 efficient as possible.


 3. Sustaining Existing Markets with a Modest Set Aside Pool of Allowance
 Part VI. E. What is EPA’s Proposed Set Aside Pool of Allowances
 “Accordingly, EPA is proposing to establish a set aside pool for new HFC importers of a total of
 five MMTEVe of consumption allowances for 2022 but is considering a range up to 15
 MMTEVe. Because application-specific allowances can also function as production allowances,
 EPA is proposing to set aside one MMTEVe of production allowances as well. Because EPA
 anticipates the application-specific end users to be a smaller group than the other two groups,
 EPA is proposing a smaller set aside amount. EPA specifically invites comments on the size of
 the set aside for consumption and production allowances.”

        A.
        The set aside pool of allowance presents a chance to leave room for certain beneficial
 opportunities. This includes further careful attention paid toward mandatory application-specific
 allowances and ensuring any emergency or new needs of HFCs can be considered at the
 forefront of every distribution of allowance.
        However, FCI believes the currently proposed level of 15 MMTEVe is much higher than
 would be needed, as this is significantly more than the currently evaluated mandatory
 application-specific allowance. The total mandatory application usage is between 3.1 and 3.6
 MMTEVe per year, which can be calculated based on the NPRM’s discussion of volumes and
 HFCs within each application-specific sector. The set aside pool is designed to prioritize this
 mandatory application-specific sector, so it would be an overcalculation to assume something 5
 times as much is required.


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        Furthermore, 15 MMTEVe is one and a half times more than the entire HFC Aerosol
 market, that the EPA states is 4% of the entire HFC market. At 4% of the consumption baseline
 of 299 MMTEVe, the aerosol market is equivalent to 12 MMTEVe. Therefore, it would be an
 overcalculation to reserve a pool of 15 MMTEVe, already larger than certain sectors in the HFC
 industry.
        B.
         Our suggestion is to cap the set aside pool to 3 MMTEVe, which based on the above
 details should be more than enough to satisfy the demands of the application-specific sector, and
 minimal small-business new entrants. The benefit of this includes giving current allowance
 holders clarity as to how much allowance they will be allocated at the beginning of the year,
 rather than counting on allowances leftover from the set aside pool to supplement their
 allocation. It will give allowance holders the opportunity to seek the purchase of allowance at
 appropriate times and prices.
         Since the EPA will be revisiting these rules in 2 years, a set aside pool of 15 MMTEVe
 would be an extremely large quantity for only a 2-year period. Major innovation efforts and new
 applications will push this envelope for new business entrants, which would be well-discussed
 during the continuing rulemaking processes.
        C.
          FCI agrees with the EPA’s current requirements that the new entrants meet certain
 criteria, such as the small business criteria from the Small Business Administration (SBA) to
 access the set aside pool. To further ensure that the set aside pool is responsibly used, FCI
 proposes that new entrants must boast a new application or innovation for HFCs. This would
 close a loophole for banned companies to gather colleagues to access the set aside pool and
 disrupt a stable market.


 4. International Transfers Should Include Consumption Allowance Holders
 Part VII. A. How is EPA Proposing to Address International Trades or Transfers of HFC
 Allowances?
 “International transfers of production allowances allow for the production of a chemical to be
 consolidated at fewer plants in order to be able to achieve economies of scale as demand shrinks
 and the HFC phasedown progresses. EPA proposes to allow such production transfers where the
 requirements of the AIM Act are met.”
        A.
         FCI requests more clarity on international import transfers. The remarks contain insight
 for production allowance transfers, but those using consumption allowances should also be given
 the opportunity to transfer allowance to or from another country. FCI proposes only countries
 that are in the same phase down timetable should be eligible for international trading allowance.

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 If not, we are defeating the purpose of phasing down HFCs globally. Instead, it would be
 equivalent to transferring the same level of GWP to different countries with later schedules, and
 not working towards the goal of eliminating the environmental impact of HFCs within the
 timeframes expected.
        B.
         Regarding the international transfer offset, we suggest maintaining the low transfer offset
 of 1%, for companies who are transferring with their own internal firm or parent company in an
 international country. Once again, the country should be within the same phasedown Group as
 outlined in the Kigali Amendment, such as USA to Canada, but not USA to China. In this way,
 the 1% offset will have minimal disruption towards business operations and can be used to
 correct a need for allowance effectively. Additionally, companies who wish to consolidate their
 production for economies of scale, as the EPA states in the NPRM, will be given the opportunity
 to do so effectively.
         For any other international transfer between unrelated companies, we suggest the higher
 end of 10% transfer offset. We propose this high international transfer offset between unrelated
 companies because allowance holders should be encouraged to prioritize the economic health of
 the domestic HFC market, and channel any unused or sold allowance back to the general pool of
 US available allowance. The 10% international transfer offset will challenge any HFC allowance
 valuation that exists outside of the domestic allowance pricing, which could be much higher
 since some countries are further along in their HFC phasedown. It will be an important
 opportunity to encourage that allowance be returned to US companies whose employees and
 continuation rely on it.


 5. Incentivizing Compliance Enforcement of Allowance Holders
        A.
         We appreciate the EPA’s efforts to combat noncompliance based on “significant
 evidence of noncompliance with HFC quotas in the EU” and that “this level of noncompliance
 would put businesses complying with regulatory requirements at a competitive disadvantage and
 could inhibit companies from investing in research and development to identify new
 alternatives.” (Section VIII).
          To achieve the most perfect enforcement to prevent similar noncompliance as the EU of
 “five to 33 percent of the total U.S. allocation” or “13-90 MMTEVe of additional consumption”,
 it will be very necessary for the EPA and CBP to rely on reporting from the public to identify
 bad actors. An accessible reporting platform and incentives must be provided to ensure whistle
 blowing participation.
        This would be easy to implement since this type of reporting platform already exists as
 the eAllegations platform in the CBP and can be utilized by the EPA. We are happy that the EPA
 already “intends to work with CBP” and recognizes that “illegal imports of HFCs have

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 consequences for other U.S. agencies, such as the Customs and Border Protection who collect
 duties on imports of HFCs.” Utilizing the eAllegations reporting platform is a convenient and
 logical way the EPA could rely on the public reporting of bad actors trying to import HFCs
 without proper allowance.
         To ensure a smooth HFC phasedown and avoid “smuggling” and other noncompliance
 that has already happed in the EU, we hope the EPA would encourage companies to report bad
 actors and provide incentive to do so. The CBP has the Moiety Statute (10 USC 1619) which the
 EPA can use to provide similar incentives for reporting violations to the AIM Act’s rulemaking.
        The Moiety Statute compensates any person up to 25% from the United States
 Government of any amount the U.S. Government recovers from an illegal transshipment based
 on information provided to any Customs officer or US attorney.
         In the instance of noncompliance within the AIM Act phasedown, it would be a great fit
 to apply the Moiety Statute. It would also be appropriate to have HFC consumption allowance be
 used as compensation through this practice, when the reported violator is either a potential
 allowance holder, or a current allowance holder. That is, if any person uses the eAllegations
 platform to successfully alert the EPA or CBP of a potential or current allowance holder and they
 are found to be in noncompliance based on the eAllegations report, then that person should be
 eligible to receive a reward of up to 25% of any allowance that is retired, revoked, or withheld as
 a result. The reward percentage should be no less than 20%, per reporter. In the case there is
 more than one reporter, each would receive 20% of any allowance retired, revoked, or withheld.
 For example, if 100,000 MTEVe is revoked, retired, or withheld because of 2 reporters’ efforts,
 each reporter should receive 20,000 MTEVe, or 20% each of 100,000 MTEVe.
         The possibility of rewarding retired, revoked, or withheld allowance to successful
 reporters already falls within the scope of the NPRM which says, “production allowances,
 consumption allowances, and application-specific allowances do not constitute property rights”
 and “the EPA [will have] the authority to retire, revoke, or withhold allowances at the discretion
 of the Administrator”.
       Once again, the CBP already has an eAllegations and Moiety Statute in place that the
 EPA could utilize to provide and incentivize the public of alerting both the EPA and CBP of
 noncompliance.
        B.
 Section VIII. B. What Practices Could Warrant EPA’s Proposed Administrative Action for
 Allowance?
 This section of the NPRM identifies “types of practices that could warrant the Agency exercising
 its discretion to levy administrative consequences for allowances.” Part 3 of this section
 discusses “Violations of Department of Commerce and Customs and Border Protection Trade
 Provisions” which includes only dumping and failure to use correct HTS codes. Please note,
 there are many more duty evasion violations that would be relevant for importing HFCs illegally
 once the phase down is in effect.

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 The CBP lists types of Duty Evasion Violations that the EPA should exercise administrative
 consequences for allowances. These are the relevant violations that should be included in Part 3
 of this section with the CBP’s own description of the violation:
    •   Undervalued Merchandise
            o “The undervaluation of merchandise can result in the evasion of significant
                amounts of duty, fees, and taxes. Sometimes merchandise is undervalued due to
                the failure to include the cost of material assists, royalties, selling commissions,
                packing, overhead, portions of merchandise resale proceeds remitted to foreign
                supplier, etc.”
    •   Falsely Described Merchandise
            o “Falsely describing merchandise generally results in misclassification of the
                merchandise with a significantly lower (possibly free) rate of duty and may also
                put it outside the scope of an anti-dumping and/or countervailing duty order.”
    •   Misclassified Merchandise
            o “Deliberate misclassification of merchandise can result in a significantly lower
                (possibly free rate of duty) and may also put it outside the scope of an anti-
                dumping and/or countervailing duty order.”
    •   False Country of Origin Declaration
            o “By falsely declaring the country of origin of merchandise, the importer will pay
                significantly less in duty, fees, and taxes than what is legally owed and may also
                be evading anti-dumping and/or countervailing duties.”
    •   False Manufacturer Declaration
            o “By falsely declaring the manufacturer of merchandise, the importer may be
                evading anti-dumping and/or countervailing duties or avoiding seizure of unsafe
                merchandise.”
    •   False Trade Agreement Claim
            o “By falsely declaring that merchandise is eligible under a special trade program,
                the importer will pay significantly less in duty, fees, and taxes than what is legally
                owed.”
    •   False Preferential Treatment Claim
            o “By falsely declaring that merchandise is eligible under a special trade program,
                the importer will pay significantly less in duty, fees, and taxes than what is legally
                owed.”
    •   Tariff Quota Evasion
            o “Import quotas control the amount or volume of various commodities that can be
                imported into the United States during a specified period. Quotas are established
                by legislation, Presidential Proclamations or Executive Orders. Quotas are
                announced in specific legislation or may be provided for in the Harmonized Tariff
                Schedule of the United States (HTSUS).”
    •   False Drawback Claims
            o “Some importers and individuals submit false statements to U.S. Customs and
                Border Protection (CBP) to obtain improper drawback refunds. Under the

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                Drawback program, U.S. importers may have 99% of the duty paid upon
                importation refunded when they export merchandise.”
         For the violations above with respect to allowance penalties, duty evasion as described in
 Part 3 should also be subject to “administrative action [should] not be contingent on a concluded
 enforcement case. Instead, it would be based on information available to EPA” as it is in Part 2.
 Enforcement at the EPA with respect to allowance (not duties) should be at the sole discretion of
 the EPA. Once again, “allowances do not constitute property rights”. To effectively prevent
 similar noncompliance as the EU of “five to 33 percent of the total U.S. allocation” or “13-90
 MMTEVe of additional consumption”, the EPA should use their power to take swift and
 reasonable actions when presented with obvious evidence.


 6. Lab Testing Considerations
 Part VIII. D. 3. Labeling
 “To provide a way to check the accuracy of the label, EPA is proposing to require producers
 and importers to batch test their product and retain records indicating the results of the batch
 testing.”
 “HFC identifiers and a certified laboratory to verify the contents of a container may not be
 available, for example at a port, so providing a clear presumption that could be used in such
 circumstances would facilitate compliance and enforcement efforts.”
         The idea to test each container of HFCs that comes into port is a great one in principle. In
 doing so, the EPA would be able to quickly weed out smugglers and bad actors who intentionally
 mislabeled their materials in efforts to hide the contents and engage in activities that are
 counterproductive to the EPA’s goals of the HFC phase down. Also, it would enable the EPA to
 keep track of the amount of HFCs being imported into the US.
         However, in practicality, this plan would suffer three major hurdles that would be
 detrimental towards its efficacy. Firstly, testing would add time to the delivery of the imported
 materials. In a significant number of cases, this could create temporary/permanent shutdowns of
 smaller companies because of lack of raw materials. Secondly, it would also add an additional
 cost to imported materials. Finally, the logistics of sampling imports may further exacerbate the
 first two issues. The EPA acknowledges this latter point in the NPRM via the quote above. The
 combination could put the livelihood of HFC importers in jeopardy.
         While the testing of HFCs would certainly help in the short term, it would not over the
 long term. Therefore, we propose several different tactics.
        First is to test only blends and no single component HFCs. This would ensure the
 accuracy of the blended materials and streamline the testing process.
        However, we also acknowledge that some imported materials may come under
 mislabeled containers to skirt the inspection. Therefore, our second approach is to test all HFC

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 importers for a trial period of 1 year. If the importer can prove that they are importing what they
 say they are, then they have proven that they are trustworthy enough to forego future testing on
 their HFC imports. If, on the other hand, they fail to prove their trustworthiness, then they should
 be put on an additional 1-year probationary period.
        Additionally, for any new entrants, they should be put on an immediate 1-year
 probationary period. This would help to weed out any bad actors who were expunged from
 holding allowance who are trying to get back into the HFC market, as well as give credibility to
 new entrants.


 7. Importing HFCs as Feedstock Should Have Extended Timeframe Before Use
 Part VIII. F. Petitions to Import HFCs as Feedstocks or for Destruction

 “EPA is proposing that HFCs imported under this process for transformation or destruction be
 transformed or destroyed, as applicable, within 60 days of being imported into the United States.
 EPA is taking comment on whether it should consider a longer timeframe such as 90 days. EPA
 is also taking comment on whether it is appropriate to allow a longer timeframe for regulated
 substances to be used as feedstocks, up to 12 months.”

         FCI agrees with the fact that HFCs imported for transformation and destruction should
 not require spent allowance. We also appreciate the EPA’s consideration to the timeframe that
 should be allowed between import, and when the material is finally transformed or destroyed. As
 per the wording on part F, FCI believes it would be appropriate to allow a longer timeframe of
 12 months for regulated materials to be used as feedstocks. It will benefit users to have a
 “cushion” of inventory that could last them several months, rather than a rolling inventory that
 must be turned over every 60 days, for example.
         This consideration is even more important due to the unique ocean transit and general
 transportation volatility that is presently an issue and is expected to continue well into the future.
 Since container ships’ lead times are almost doubling, many importers must create a large
 enough inventory to cover the inevitable delays. With a timeframe of 12 months, the importers
 and/or the users of the feedstock will be able to comfortably operate their supply chain.


 8. QR Code Tracking: Omit Private and Closely Held Data from View
 Part VIII. G. How is EPA Proposing to Track the Movement of HFCs in Commerce?
 “While EPA sees value in releasing all of these data to the general public in a comprehensive
 database both for transparency and to enable the certification ID tracking system to fully
 operate in support of overall program compliance, EPA anticipates that if all information was
 publicly available in the database, item (6) could potentially divulge information submitters
 customarily keep private or closely held.”



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 “EPA is seeking comment on whether submitters consider the information submitted for item (6)
 to be information they customarily keep private or closely held. If so, the Agency will make a
 decision in the final rule as to whether the Agency will provide an express assurance of
 confidentiality for the information and how it will protect that information from unauthorized
 disclosure.”

         FCI agrees that the implementation of a QR code-based tracking system would be
 beneficial in protecting U.S. companies from noncompliance, especially in the way it would
 mirror the threats that occurred in the EU as mentioned in the NPRM. However, there are
 concerns about the depth of the information assigned to each code, as well as what would
 possibly be viewed publicly that would normally be considered sensitive, and we suggest the
 EPA move forward to “protect that information from unauthorized disclosure.”
         As per the list of information proposed for release, FCI strongly agrees that the QR code
 should include:
    • (1) whether the HFC being sold is legal to purchase based on existing records.
    • (2) when the HFC was produced, imported, or reclaimed and by whom.
    • (3) what HFCs are included in the container;
    • (4) if reclaimed HFC, whether the purity of the batch was confirmed to meet the
         refrigerant purity standard in appendix A to 40 CFR part 82, subpart F (based on AHRI
         700- 2016), when was that confirmed, and by whom;
         FCI does not believe that “(5) what the brand name associated with the container” is
 necessary at all, considering that point (3) will already reflect the HFC included in the container.
 The official chemical name of the HFC in question, as represented in part (3) is already the most
 appropriate way for labeling within the QR code. This process is meant to track compliance
 during the HFC phasedown, and not act as a sort of advertising tool in listing brand names.
         Finally, (6) all prior sales of the certification ID associated with a container of HFCs”
 would effectively track the entire chain of custody of the material, and FCI considers this
 information we “customarily keep private or closely held” as stated in the NPRM. Especially
 during the phasedown where many businesses are navigating change and the challenges that go
 along with it, it is imperative to keep market competition reasonable. We urge the EPA to protect
 this confidential business information so that customers, suppliers, handlers, and other entities in
 the chain of custody of the material remain private, and “protect that information from
 unauthorized disclosure” and protect American companies at the same exact time.


 9. Importer Recordkeeping, Proposing Annual Reports
 Part XI. C. How is EPA Proposing to Coordinate AIM Act Reporting with other EPA Reporting
 Requirements?
 “EPA is proposing to require quarterly reporting of data that includes the quantity of each
 regulated substance produced, the quantity of allowances expended, and quantities produced for
 transformation or destruction. EPA is proposing quarterly reporting to ensure that annual
 production and consumption limits are not exceeded.”

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         FCI feels that an annual reporting of data is a sufficient frequency to ensure that annual
 production and consumption limits are not exceeded. Since the EPA will be tracking the transfers
 and adjusted quantities of allowances year-round, we feel one annual report will minimize
 burden on cost of time and money. Especially if the EPA implements the use of QR codes
 offering real-time calculations, there would be a constant oversight already instated. Therefore,
 the annually provided reports would greatly limit the burden of time and money allowance
 holders as well as the EPA endures.


 10. Future Rulemaking for Allowance: Approaches 1 & 2 Recommended
 Part XI. A. How should EPA Consider Future Allowance Allocations?
 “EPA seeks advance input on the following concepts, as well as suggestions for additional
 approaches the Agency could consider for 2024 and later years.
 (1) Allocating allowances based on past production and consumption from a set period of years
 and only adjusting allowance holders to reflect transfers between companies;
 (2) Allocating allowances based on a reevaluation of the most recent years of production and
 consumption data as reported to EPA (e.g., three years);
 (3) Allocating allowances based on past production and consumption, but requiring a fee for
 every allowance provided for production or import of HFCs;
 (4) Establishing an auction system for the total set, or some subset, of generally available
 allowances;
 (5) A combination of the above approaches, such as phasing in the use of an auction or fee over
 time.”
         With regards to the future approaches of allowance on page 208, FCI supports the use of
 approaches 1 and 2. It will be in allowance holders’ best interests to have their future allowance
 be determined from set years in option 1, or from the past 3 years’ data as stated in option 2. For
 many companies it will be impossible to foresee how their business may unfold in the next three
 years before 2024 allowance is awarded, and therefore may prefer option 1 or 2 in order to be
 better equipped for the next stage of the phasedown. In this sense, a combination of only
 approaches 1 and 2 may be the most appropriate before 2024.
         FCI suggests that options 3 and 4 would promote unfairness and a loss of control to the
 EPA. We believe they should be avoided in practice, or as part of a combination of approaches,
 since they each place too much power into rich companies’ hands. By applying a fee to each
 allowance provided, or by establishing an auction system, it would make it so that “money talks”
 and those allowance holders with more capital will be unfairly advantaged. It will ultimately lead
 to monopolization of markets and allowance, and the downfall of small businesses.
        Perhaps most importantly, the EPA will lose control of the phasedown to a select few
 allowance holders who can collect virtually as much allowance as they can purchase. We

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 strongly believe the EPA should be the sole government agency and deciding factor of the fate of
 the HFC phasedown, not money. Options 3 and 4 would be assigning power to unchecked firms
 with more capital, who would detriment both the economic and environmental health of the U.S.
 We hope the EPA can continue to represent the sole, fair leader of the phasedown, and not
 release this vital role to the power of money.


 11. Conclusion
         Once again, we greatly appreciate this opportunity that the EPA has given us to make
 direct suggestions and comments on the NPRM. The chance to share our ideas publicly with the
 EPA and each stakeholder is greatly valued.
        FCI welcomes any comments or questions from the EPA regarding our feedback and
 suggestions. We believe strongly that the NPRM is an excellent starting point and are looking
 forward to continued opportunities to elaborate on considerations that may protect the
 environment and US companies even further.


 Most sincerely,

 Signature:    Daniel Gagliano
 Name:         Daniel Gagliano
 Title:        Sales & Marketing Manager
 Date:         6/18/2021

 Signature:    Greg Heden
 Name:         Greg Heden
 Title:        Senior Sales & Marketing Manager
 Date:         6/18/2021

 Signature:    Michael Valenti
 Name:         Michael Valenti
 Title:        Vice President
 Date:         6/18/21




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  July 2, 2021

  Ms. Cindy Newberg
  Division Director
  U.S. Environmental Protection Agency
  Office of Atmospheric Programs
  Stratospheric Protection Division
  1200 Pennsylvania Avenue, NW
  Washington, D.C. 20460

  Submitted electronically

  RE: Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation and Trading
  Program under the American Innovation and Manufacturing Act [Docket ID: EPA-HQ-OAR-
  2021-0044]

  Dear Ms. Newberg,

  On behalf of Heating, Air-conditioning & Refrigeration Distributors International (HARDI) I write

  to offer comments on the Environmental Protection Agency’s (EPA) proposed regulation for the

  Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation and Trading Program

  under the American Innovation and Manufacturing Act [Docket ID: EPA-HQ-OAR-2021-0044].


  HARDI is a trade association comprised of over 800 member companies, more than 400 of which

  are U.S.–based wholesale distribution companies. Over 80 percent of HARDI’s distributor

  members are classified as small businesses that collectively employ in excess of 60,000 U.S.

  workers, representing more than $40 billion in annual sales and an estimated 70 percent of the U.S.

  wholesale distribution market of heating, ventilation, air-conditioning and refrigeration (HVACR)

  equipment, supplies, and controls.


  HARDI appreciates EPA’s request for comments on this proposed rule and its many components.

  As wholesaler-distributors of HVACR products HARDI members generally are not directly



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 impacted by the allocation and allowance process but are affected by the overall phasedown of

 HFCs and the compliance measures included in the rule are burdensome to distributors. These

 comments will focus on components of the allowance and allocation system and the compliance

 measures that impact distribution.


 1. Legislative History of the American Innovation and Manufacturing Act


 a. American Innovation and Manufacturing Act


 HARDI and the entire HVACR industry have been strong supporters of the American Innovation

 and Manufacturing Act1 (AIM Act) along with the Kigali Amendment to the Montreal Protocol.

 Full implementation of the AIM Act is the best option for the HVACR industry as the legislation

 builds upon past successes in transitioning away from harmful ozone-depleting substances and

 moves the industry up the technological ladder towards more environmentally friendly products.

 This innovation in HVACR will help the U.S. continue to be a market leader in this global industry.

 Based upon previous transitions, we know that the market will accelerate the transition to new

 refrigerants simply by ensuring that domestic production and imports match decreases in

 production globally.


 HARDI supported the AIM Act because it provided a limited grant of authority2 to the

 Environmental Protection Agency (EPA) to regulate the production and consumption of HFCs.

 This grant of authority was specifically meant to be limited because it utilized the parts of previous


 1
   American Innovation and Manufacturing Act, Public Law No: 116-260 Division S, Sec. 103
 (Date: December 27, 2020, enacted H.R. 133) Available from:
 https://www.congress.gov/bill/116th-congress/house-bill/133/text?r=6&s=1.
 2
   Federal HFC Phase-down [Issue Brief], Heating, Air-conditioning, & Refrigeration
 Distributors International (2019).
 https://f.hubspotusercontent40.net/hubfs/4929193/HFC%20Phasedown%20Issue%20Brief.pdf.

                                                                                                     2
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 phaseouts that worked without the need to add additional regulations that could potentially harm

 parts of the industry. Phasing down the use of HFCs at the production and import stage paves the

 way for new technologies and protects U.S. jobs across the HVACR industry. HARDI supports

 the efforts of the AIM Act to phasedown the production and import of HFCs over 15 years to

 gradually reduce the availability of older refrigerants until 15 percent of the baseline remains. This

 remaining 15 percent production and import of HFCs will provide industries time to find

 acceptable alternatives to current HFCs and ensure no consumer is forced into changing products

 before the end of its useful life.


 b. State regulations of HFCs


 HARDI also supports this federal phasedown because of its impact on state regulations. While the

 AIM Act does not contain any preemption clause, the mere existence of federal regulations on

 HFCs will reduce the need for many states to develop their own HFC regulations. HARDI does

 not support a patchwork of state-by-state regulations on HFCs that would make it harder if not

 impossible for distributors to conduct business across state lines.


 c. History of the Montreal Protocol


 The Montreal Protocol is an international agreement, finalized in 1987 and ratified by the U.S.

 Congress in 1988,3 to protect the stratospheric ozone layer. This international agreement led to the

 phaseout of ozone-depleting substances including many older chlorofluorocarbon and

 hydrochlorofluorocarbon refrigerants. The U.S. HVACR industry was an early supporter of the




 3
  Montreal Protocol on Substances that Deplete the Ozone Layer. Signed 16 September 1987.
 Ratified 3 March 1988. UNTS vol. 1522 nos. 26369-26373.

                                                                                                     3
                                                JA94
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 Montreal Protocol and helped shape the phasedown contained in Title VI of the Clean Air Act.4

 That phaseout is the blueprint for the phasedown of HFCs authorized under the AIM Act.


 d. History of the Kigali Amendment


 Recognizing the importance of phasing down the use of HFCs due to their high global warming

 potential (GWP) the parties to the Montreal Protocol signed the Kigali Amendment in 2016.5 This

 global agreement to phasedown the production and consumption of HFCs is another opportunity

 for the U.S. HVACR industry to lead and while not yet ratified by the United States, the industry

 wants to work with EPA to achieve the goals of the amendment through the AIM Act.


 2. Allocation and Allowance System


 a. Production and consumption baseline


 The allocation rule is one of the most important parts of ensuring an orderly phasedown, HARDI

 has historically stayed away from commenting on the calculation of the overall production and

 consumption baseline and will continue to do so as our members are downstream entities in the

 supply chain.


 b. Allowance allocation time-period and equitable allowance system


 As purchasers of HFC refrigerants HARDI does want to comment on the allowance allocation

 system. EPA is seeking feedback on the period used for determining allowances and we support

 using the full 2011-2019 range for determining allowances and allowing each applicant to use the



 4
  42 USC § 7671.
 5
  Amendment to the Montreal Protocol on Substances that Deplete the Ozone Layer. Signed 15
 October 2016. C.N.872.2016.

                                                                                                4
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 average from the highest three years of market share from within this range. The three-year period

 can be non-contiguous and any applicant that does not have three years to choose from should be

 considered for the new-entrant set-aside pool of allowances. Allowing applicants to use their best

 three years of market share will provide better equity to the system by ensuring applicants are not

 harmed by past market manipulation. HARDI also urges EPA to correct applicants’ market share

 averages for any improper actions including documented cases of dumping6789 of product or

 investigations into circumvention of anti-dumping duties as had been identified by the U.S.

 Department of Commerce.


 While there is little legislative history to the AIM Act, when introducing the legislation Senator

 John Kennedy (R-LA) was quoted in his press release, “The world is moving away from

 hydrofluorocarbons, and the U.S. is in danger of getting stuck at the starting gate. We want these

 new refrigerants to be produced in the U.S., not in China.”10 Correcting for market manipulation,



 6
   Difluoromethane (R-32) From the People's Republic of China: Antidumping Duty Order,
 International Trade Administration (11 March 2021),
 https://www.federalregister.gov/documents/2021/03/11/2021-05099/difluoromethane-r-32-from-
 the-peoples-republic-of-china-antidumping-duty-order.
 7
   1,1,1,2 Tetrafluoroethane (R-134a) from the People's Republic of China: Antidumping Duty
 Order, International Trade Administration (19 April 2017),
 https://www.federalregister.gov/documents/2017/04/19/2017-07913/1112-tetrafluoroethane-r-
 134a-from-the-peoples-republic-of-china-antidumping-duty-order.
 8
   Hydrofluorocarbon Blends From the People's Republic of China: Antidumping Duty Order,
 International Trade Administration (19 August 2016),
 https://www.federalregister.gov/documents/2016/08/19/2016-19873/hydrofluorocarbon-blends-
 from-the-peoples-republic-of-china-antidumping-duty-order.
 9
   Pentafluoroethane (R-125) From the People's Republic of China: Initiation of Less-Than-Fair-
 Value Investigation, International Trade Administration (8 February 2021),
 https://www.federalregister.gov/documents/2021/02/08/2021-02529/pentafluoroethane-r-125-
 from-the-peoples-republic-of-china-initiation-of-less-than-fair-value.
 10
    Press Release, Senator John Kennedy, Sens. Kennedy And Carper File Legislation To Save
 Jobs During Phasedown Of Hydrofluorocarbons (Oct. 30, 2019),
 https://www.kennedy.senate.gov/public/press-releases?ID=47698154-41C9-4CF9-809D-
 DB75FF32291B.

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 while not expressly written in the legislation is within the intent of the introducing senator and

 should be considered. As purchasers we want to see a healthy market that ensures a fair price for

 products, and we believe EPA should correct for manipulation in determining allowances. We also

 want to see new entrants into the market and support the new-entrant set-aside to ensure continued

 competition. Using this method for 2022 and 2023 will give EPA time to study how the allocation

 system works in time to make changes for the allocation rule affecting 2024 and beyond.


 c. Reclaimer access to set-aside


 In addition to the traditional allowance holders of producers and importers, HARDI supports other

 commentors’ proposals for allowing all reclaimers access to a set-aside of allowances for virgin

 refrigerant gases. Reclaim is a vital component to the refrigerant management process and data on

 reclaimed gases in recent years shows the need to ensure more recovery is done to feed the reclaim

 process. The AIM Act specifically calls on EPA to increase opportunities for reclaim.11 One such

 method is allowing all reclaimers to access a set-aside of allowances for virgin refrigerant gases to

 be used to bring recovered gas to match specifications outlined in AHRI 700-2016 as required by

 section 608.12


 Reclaimers need access to virgin material to ensure recovered gas blends are rebalanced to the

 appropriate ratio of components. These components must be accurate within one half of one

 percent of the prescribed blend. If any component is below this threshold, virgin material can be

 added to bring the blend into the appropriate balance. The more a blend is out of balance, the

 costlier it is to reclaim; allowing reclaimers access to allowances will ensure they have the



 11
      Sec. 103(h)(2)(A) of the American Innovation and Manufacturing Act.
 12
      42 USC § 7671g.

                                                                                                    6
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 components necessary to properly blend reclaimed gases for sale into the market. Allowances will

 also make it economical to reclaim more out of balance blends which will help ensure a strong

 supply of reclaimed refrigerant to provide service gases to the industry.


 Allowing all reclaimers access to a set-aside is one component to increasing reclaim, and HARDI

 encourages EPA to put appropriate guardrails in place to ensure any allowances received by the

 reclaimers are used exclusively for reclaim and that the use of virgin material is limited to the

 amount necessary to rebalance these HFC blends. Any company receiving an allocation as a

 reclaimer should guarantee they will not use the allowance to enter the virgin refrigerant market

 or claiming refrigerant that is mostly virgin material is being sold as reclaim. Appropriate reporting

 requirements from reclaimers using allowances from the set-aside in 2022 and 2023 will ensure

 they are not abusing the set-aside and serve as a learning tool for EPA to develop a better calibrated

 set-aside for the next allocation rule if necessary. HARDI also encourages EPA to pursue

 additional regulations to increase recovery of HFC refrigerants to increase the supply of reclaimed

 gas beyond 2024. Recovery regulations will be possible in a future rulemaking on technician

 certification, and we look forward to working with EPA as proposals are developed.


 d. Batch testing and AHRI 700 purity standard


 EPA is seeking comment on requiring refrigerants to be batch tested to meet the specifications

 contained in Appendix A to subpart F of part 82. HARDI supports the batch testing requirement

 and encourages EPA to require all refrigerants to meet the AHRI 700-2016 standard used by

 reclaimers. Reports of illegal HFC imports being of low quality and impure should concern the




                                                                                                     7
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 industry13 and a simple solution to help identify illegal production or imports of HFCs is to require

 all refrigerants are batch tested to meet the AHRI 700-2016 standard. Reclaimed refrigerant

 already goes through the expense of testing gases for purity, all producers or importers should be

 required to meet the same standard to provide assurances to customers and will help put reclaimed

 refrigerant on a level playing field.


 e. Concerns with the allocation rule


 Overall, HARDI supports and appreciates the allocation and allowances system proposal contained

 in the proposed rule. HARDI also appreciates EPA seeking feedback on many components of the

 proposed rule, however there are several concerning compliance measures proposed by EPA that

 go far beyond the authority of the agency and will be outlined in sections 3 and 4 of these

 comments.


 3. Ban on non-refillable cylinders


 a. EPA’s proposed limits on packaging of regulated substances


 One of the proposals HARDI is concerned with is the plan to ban the use of non-refillable cylinders

 for regulated substances. The proposed rule refers to non-refillable cylinders as disposable

 cylinders, HARDI rejects this phrasing as even refillable cylinders are disposable when they reach

 the end of their usable life. This ban would effectively end the use of non-refillable cylinders from

 the industry as most next generation refrigerants use a regulated substance in its blend. HARDI


 13
   Reports of R-134a Contaminated with R-40 and Other Refrigerants [White paper], Air
 Conditioning, Heating, and Refrigeration Institute (2013),
 https://www.ahrinet.org/App_Content/ahri/files/News%20Room/Press%20Releases/2013/AHRI
 _R_40_Contaminati on_white_paper.pdf.



                                                                                                    8
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 opposes this proposed ban because of its effect on the industry and believes other methods can

 achieve the same environmental benefits.


 According to the reasons given by EPA, up to 8 percent of the service gas contained in a non-

 refillable cylinder can remain as a “heel”14 and can potentially be released to the atmosphere if not

 properly recovered. This 8 percent estimate is vastly larger than most other estimates of average

 heel remaining in non-refillable cylinders. One study conducted for the California Air Resources

 Board found the average remaining heel was 1.85 percent15 or approximately 9 oz. from a 30-

 pound cylinder. Additionally, other commenters that commonly deal with recycling non-refillable

 cylinders have found much smaller heels than 8 percent.


 The EPA proposal says that banning the use of non-refillable cylinders, “would increase

 environmental benefit including by ensuring the heels left in a cylinder are not released to the

 atmosphere when non-refillable cylinders are discarded.” This proposal skips many other

 reasonable steps in reducing the environmental impact of non-refillable cylinders including

 improving service technician requirements on evacuation and recycling of cylinders. In creating

 California’s Refrigerant Management Program,16 the state’s Air Resources Board studied the idea

 of banning non-refillable cylinders17 and after careful study, research, and stakeholder feedback

 determined the better course of action was to strengthen requirements on the evacuation and



 14
    40 CFR part 82 subpart F: Heel means the amount of a controlled substance that remains in a
 container after it is discharged or off-loaded (that is no more than ten percent of the volume of
 the container).
 15
    Lifecycle Analysis of High-Global Warming Potential Greenhouse Gas Destruction, ICF
 International (October 2011),
 https://ww2.arb.ca.gov/sites/default/files/classic//research/apr/past/07-330.pdf.
 16
    Refrigerant Management Program, California Air Resources Board (2009),
 https://ww2.arb.ca.gov/our-work/programs/refrigerant-management-program/about.
 17
    Id.

                                                                                                     9
                                               JA100
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 recycling of cylinders.


 b. Proper disposal of non-refillable cylinders


 A better solution to reducing the environmental impact of service gas heels would be to improve

 the regulations surrounding end of life management (ELM) for cylinders. Proper ELM regulations

 should focus on evacuation and recycling of non-refillable cylinders. The AIM Act requires EPA

 to increase opportunities for reclaim, strengthening evacuation requirements can both increase

 reclaim and provide the same environmental benefits sought by the agency. Strengthening ELM

 requirements can be done in a later rulemaking as EPA is expected to develop new certification

 requirements to deal with next generation A2L refrigerants1819 that are anticipated to be used in

 air-conditioning and refrigeration systems because of the refrigerants’ low-GWP ratings.20 As part

 of this update to technician certification, EPA should reinforce system service regulations to

 include stronger ELM requirements. One way to increase technician compliance is to ban all

 service gas cylinders from landfills using authority granted under the Resource Conservation and

 Recovery Act (RCRA). RCRA allows EPA to ban certain materials from entering landfills while

 not regulating the materials itself. Banning cylinders from landfills will force technicians to



 18
    Refrigerants are classified into safety groups consisting of two or three alphanumeric
 characters. The first character indicates the toxicity as class A or class B, class B has higher
 toxicity than class A. The Arabic numeral with or without suffix letter denotes one of the four
 flammability classes: 1, 2L, 2, or 3. Class 2L is referred to as lower flammability and meets the
 four following conditions: exhibits a flam propagation when tested at 140°F and 14.7 psia; has
 an LFL >0.0062 lb/ft3; has a heat of combustion <8169 Btu/lb; and has a maximum burning
 velocity of ≤ 3.9 in./s when tested at 73.4°F and 14.7 psia in dry air.
 19
    Designation and Safety Classification of Refrigerants, American Society of Heating,
 Refrigerating and Air-Conditioning Engineers (2019),
 https://ashrae.iwrapper.com/ASHRAE_PREVIEW_ONLY_STANDARDS/STD_34_2019.
 20
    Protection of Stratospheric Ozone: Listing of Substitutes Under the Significant New
 Alternatives Policy Program, Environmental Protection Agency (6 May 2021),
 https://www.govinfo.gov/content/pkg/FR-2021-05-06/pdf/2021-08968.pdf.

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                                              JA101
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 dispose of cylinders in an approved manner including evacuation of service gases. Recovery of

 service gases will naturally increase as reclaimers increase purchase price of recovered

 refrigerants. EPA should allow technicians to pay for evacuation by service providers such as

 reclaimers, distributors, or metal recyclers to meet the ELM requirement. Proper evacuation of

 non-refillable cylinders will have minimal impact on technicians already possessing the proper

 equipment, according to one study21 it would take a proficient technician approximately two hours

 to empty 40 cylinders to bring each cylinder to vacuum measured at 15 inHg.22


 Reinforced service standards are also a proposal that has been endorsed by the National Academy

 of Sciences. In studying the seasonal contributions of HFC-134a and HCFC-22 researchers

 discovered23 there was a connection between service standards and the release of refrigerant. It

 was surprising to see EPA ignore the recommendations of the National Academy of Science on

 reducing the impact of refrigerant releases and move to banning non-refillable cylinders. Section

 307 of the Clean Air Act24 requires EPA to evaluate recommendations from the Scientific Review

 Committee or the National Academy of Sciences and the agency must provide reasons for ignoring

 this recommendation.


 c. Banning non-refillable cylinders is costly to the supply chain


 The proposed ban on non-refillable cylinders would add immense cost to every segment of the

 industry that uses small cylinders and in many ways is not feasible in the timeline outlined by EPA.



 21
    Id., 9.
 22
    Inches of Mercury, unit of measurement for pressure when determining vacuum.
 23
    Xiang, Bin et al., Global emissions of refrigerants HCFC-22 and HFC-134a: Unforeseen
 seasonal contributions (Proceedings of the National Academy of Sciences of the United States of
 America, 9 December 2014), https://www.pnas.org/content/111/49/17379.
 24
    42 USC 7607(c)(3).

                                                                                                  11
                                              JA102
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 Based on estimates from discussions with market experts25 the industry uses between 6 and 7

 million non-refillable cylinders, significantly higher than the 4.5 million estimated by EPA. The

 agency also assumes that due to the turnover rate of cylinders a smaller fleet of refillable cylinders

 is needed compared to the annual number of non-refillable cylinders consumed. HARDI disagrees

 with this assumption and a CARB lifecycle analysis26 determined that four refillable cylinders

 would be necessary for each non-refillable cylinder currently in the market. This increase in fleet

 size is due to the number of cylinders in storage, use, refilling, and transit at any given moment.

 Based on this information, a minimum of 24 million refillable cylinders would be needed to meet

 demand caused by banning non-refillable cylinders. There is simply no way to construct 24 million

 cylinders within the timeframe necessary to meet the non-refillable cylinder ban.


 This large of a fleet of cylinders will also have a major financial impact on the cylinder owners,

 distributors, and contractors in the form of cylinder deposits. As cylinders are transferred from

 producer/importer to distribution deposits must be also transferred from distributors to

 producer/importer. Distributors would need to then wait for deposits to be paid by contractors to

 bring the balance sheet back to zero. At $12027 per cylinder the entire fleet of cylinders would

 remove $2.88 billion from the industry. Cylinder deposits are further locked out of the industry as

 lost or stolen cylinders are not returned and new replacement cylinders enter the market. It can

 take years for the lost/stolen cylinder deposits to be forfeited.


 Storage of returned cylinders will also have an impact on distributors. Technicians will not

 necessarily swap out cylinders at a one-for-one rate as small heels may not be enough to do a full


 25
    Discussions with Worthington Industries and The Chemours Company
 26
    Id., 9.
 27
    Cylinder deposits in Canada are currently $120/cylinder and the U.S. would be expected to
 have a similar deposit price

                                                                                                    12
                                                JA103
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 day of jobs and a new cylinder is purchased while the nearly empty cylinder is not returned until

 it can be fully emptied. As groups of empty cylinders are returned these cylinders will overtake

 the space emptied by sales of new cylinders taking valuable floor space away from other products.


 This storage issue will be further complicated by the introduction of lower-flammability A2L

 refrigerants. HARDI has been advocating for increased storage amounts of flammable gases as

 limited by the International Fire Code. A proposal28 is working its way through the code process

 that would allow a distributor to store up to 20,000 pounds of lower-flammability service gases

 without needing expensive retrofits to current buildings. According to a survey of HARDI

 members,29 69 percent of members store up to 20,000 pounds of service gases in cylinders at the

 peak of cooling season. Due to the increased danger caused by the lower-flammability service gas

 there is also a limit on the height these cylinders can be stored with a maximum height of 6 feet 6

 inches causing storage to take up even more floor space.30 Requiring the use of refillable cylinders

 would effectively double the storage limits needed to be approved by the fire code, an alternative

 that is not viable at this time. This is due to the fire code treating “empty” cylinders that have not

 been cleaned as containing the full capacity of the cylinder for determining the maximum

 allowable quantity to be stored.31 The only possible storage solution during peak season would be




 28
    Proposal 6059, Flammable Gas MAQ to the 2021 International Fire Code, Fire Code Action
 Committee (2021), https://www.cdpaccess.com/proposal/6059/20179/preview/ (CDPAccess
 login required).
 29
    Refrigerant Storage Practices [Presentation], Heating, Air-conditioning, & Refrigeration
 Distributors International (2020),
 https://f.hubspotusercontent40.net/hubfs/4929193/HARDI%20Member%20Refrigerant%20Stora
 ge%20Practices%20Public.pdf
 30
    Id., 12.
 31
    International Fire Code, 5704.3.3.4 Empty containers or portable tank storage., International
 Code Council (2018).

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                                               JA104
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 to store the empty cylinders outside accelerating the deterioration of the cylinder due to weather.32


 Transportation costs for moving refillable cylinders will also increase. Refillable cylinders weigh

 more, approximately 15 additional pounds per cylinder according to Worthington, a manufacturer

 of service gas cylinders. This increased weight would reduce the capacity of a semi-trailer to 870

 refillable service gas cylinders from the current capacity of 1,120 full disposable service gas

 cylinders.33 The change to refillable cylinders would increase transportation costs to move the

 same amount of service gas by nearly 30 percent34 for the delivery of full cylinders. The change

 in cylinder type would increase the per mile costs from the June national average of $2.6735 to

 $3.4436 per mile to transport the same amount of service gas based on current trucking costs.

 Transportation costs increase further when empty cylinders need to be returned to the

 producer/importer for cleaning and refilling.


 The increased weight of the refillable cylinder will also have an impact on technicians. Air-

 conditioning units are often located away from driveways or access points including on rooftops

 for many multifamily and commercial buildings. The increased weight will take a toll on

 technicians hauling service gas cylinders across job sites. This increased stress on technicians’’

 bodies could lead to long-term healthcare costs or transitions out of the industry.


 In totality the move to ban non-refillable cylinders will increase costs at every point in the supply

 chain from the packager down to the technician level. The increase in all these costs could have


 32
    Facts You Should Know About Storing Compressed Gas Cylinders, Parker (29 December
 2017), http://blog.parker.com/facts-you-should-know-about-storing-compressed-gas-cylinders.
 33
    Id., 9.
 34
    1,120/870=1.29
 35
    DAT Trendlines, DAT Freight & Analytics (30 June 2021), https://www.dat.com/industry-
 trends/trendlines/van/national-rates.
 36
    2.69*1.29=3.44

                                                                                                   14
                                                 JA105
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 an unintended impact on the service gas market.


 d. Displacement of service gas sales from HVACR distributors


 For many wholesaler-distributors, supplying service gases is an extra product provided by the

 business to attract customers, not a major source of revenue. Wholesale-distribution is a business

 and as such, product decisions must be made based around how that product affects the profitability

 of the business. Service gases have low margins, but distributor expertise in refrigerants brings in

 customers looking for higher margin products such as equipment. Rising costs for service gases

 will not only drive down margins but could cause customers to search for other distributors

 offering a better price. This shift in the market caused by the ban on non-refillable cylinders will

 make it more likely that distributors will exit the service gas business, forcing service gas sales out

 of the distribution channel.


 If enough distributors stop supplying service gases, a third party outside the traditional HVACR

 channel will need to fill the gap and a logical source would be suppliers of other industrial gases.

 These businesses focus their revenue on cylinder leasing instead of the value of the gases sold.

 Most industrial gas distributors are focused on driving down costs,37 their business model is more

 closely aligned with the fast-food industry, minimal variance in products leading to competition

 on price. On the other hand, HVACR distribution is based on being a specialist and offering that

 specialist knowledge to customers who buy their products. With no incentive to provide training

 or expert advice, the contractor community will suffer if industrial gas distributors take over the



 37
    Aase, Guttorm et al., Getting value from advanced digital technology for industrial gas
 companies (McKinsey & Company, 16 February 2021),
 https://www.mckinsey.com/industries/chemicals/our-insights/getting-value-from-advanced-
 digital-technology-for-industrial-gas-companies#.

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 market.


 The loss of expert advice and training will cause further disruptions to the contractor community

 as the transition to new refrigerants occurs. Distributors provide expert knowledge on new

 equipment lines and ensure contractors and technicians understand any changes to how a product

 is installed. Dividing the purchases of equipment and service gases make it less likely this level of

 service will continue. Industrial gas suppliers rarely see changes in regulations affecting their

 products and are less likely to be experts on new refrigerants and the impact of changing

 regulations on those gases. This lack of expert advice will decrease the safety and efficiency of the

 contractor community.


 Having a less well-trained contractor community will lead to increased mistakes ranging from

 equipment failures that require additional consumer dollars to fix in the future to more instances

 of injuries to the contractor community through preventable accidents. Distributors leaving the

 service gas market is the worst-case scenario of what could happen if EPA bans non-refillable

 cylinders and should be a consideration before finalizing the proposed non-refillable cylinder ban.


 e. EPA lacks authority to ban non-refillable cylinders


 In addition to opposing the proposed ban on non-refillable cylinders because of its impact on the

 industry, HARDI is also concerned the ban goes beyond the authority granted by the AIM Act.

 The proposed rule does not explicitly provide where the agency is granted the authority to ban

 non-refillable cylinders and after careful analysis of both the AIM Act and the Clean Air Act

 Amendments of 1990,38 we have concluded EPA does not have the authority to ban non-refillable


 38
    Public Law No: 101-549 (Date: 15 November 1990, enacted as S. 1630), Available from:
 https://www.congress.gov/101/statute/STATUTE-104/STATUTE-104-Pg2399.pdf.

                                                                                                   16
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 cylinders.


 The AIM Act grants EPA broad authority for the “Management of Regulated Substances” however

 this authority does not extend to cylinders. Subsection (h)(1) of the AIM states:


                IN GENERAL.—For purposes of maximizing reclaiming and minimizing

        the release of a regulated substance from equipment and ensuring the safety of

        technicians and consumers, the Administrator shall promulgate regulations to

        control, where appropriate, any practice, process, or activity regarding the

        servicing, repair, disposal, or installation of equipment (including requiring, where

        appropriate, that any such servicing, repair, disposal, or installation be performed

        by a trained technician meeting minimum standards, as determined by the

        Administrator) that involves—


                (A) a regulated substance;


                (B) a substitute for a regulated substance;


                (C) the reclaiming of a regulated substance used as a refrigerant; or


                (D) the reclaiming of a substitute for a regulated substance used as a

        refrigerant.


 While the section appears to provide the agency very broad authority, that authority is limited to

 equipment. The plain language reading of this subsection forecloses any regulatory authority

 beyond the regulation of equipment or any practice, process, or activity regarding the servicing,

 repair, disposal, or installation of equipment. The storage of services gases, specifically what kind




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 of cylinder is used for storage, is beyond the authority granted by the AIM Act.


 To the casual observer, topping off equipment using services gases would be considered part of

 the servicing, repair, or installation of equipment. However, the type of cylinder the service gas is

 sourced from is irrelevant to the practice, process, or activity, which means any regulations

 defining what kind of cylinders can be used to store and transport HFCs is beyond the agency’s

 power to regulate. This distinction is important in understanding the limits on what products EPA

 can and cannot regulate. Many components are included in the servicing, repair, or installation of

 equipment but are not a component of the refrigerating system used by the equipment and should

 not be regulated by EPA. Allowing EPA to extend its reach is a slippery slope that could lead to

 the regulation of component parts unrelated to the refrigerating system.


 EPA also does not have authority to ban non-refillable cylinders through any other part of the AIM

 Act. The proposed rule includes a reference to subsection (k)(1)(A) of the AIM Act in which EPA

 says, “the AIM Act provides EPA with the authority to promulgate necessary regulations to carry

 out EPA’s functions under the Act, including its obligations to ensure that the Act’s requirements

 are satisfied.” While subsection (k)(1)(A) does give EPA power to do rulemakings and propose

 rules, those rules are limited to the “carry[ing] out EPA’s functions under the Act.” The AIM Act

 does not include anti-venting functions and the proposed rule specifically states in the section on

 banning non-refillable cylinders the purpose is to reduce the release of heels to the atmosphere.


 While the AIM Act does not include anti-venting statues, section 608 of the Clean Air Act

 Amendments of 199039 does regulate the venting of ozone depleting substances and substitutes

 including HFCs. Section 608 also does give EPA the authority to stop the knowingly venting of a


 39
      42 USC §7671g.

                                                                                                   18
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 substitute substance, but this regulatory power is limited to the “maintaining, servicing, repairing,

 or disposing of an appliance…which contains and uses as a refrigerant any such substance.”

 Section 608 also contains a definition of appliance for this section, “For purposes of this paragraph,

 the term ‘appliance’ includes any device which contains and uses as a refrigerant a substitute

 substance and which is used for household or commercial purposes, including any air conditioner,

 refrigerator, chiller, or freezer.” Both portions of section 608 are consistent in using the phrase

 “which contains and uses as a refrigerant.” While service gases stored in cylinders are commonly

 called refrigerants, refrigerant is defined under 40 CFR part 82 subpart F and requires that the ODS

 or substitute is “used for heat transfer purposes” which can only be done inside of equipment as

 there is no heat transfer purpose created by storage in cylinders. For this reason, section 608 cannot

 be used to ban non-refillable cylinders.


 EPA must also be careful not to attempt to expand the currently undefined term “equipment” in

 the final rule to include cylinders. While the common definition of equipment, “The necessary

 items for a particular purpose,”40 may seem to include cylinders as a necessary item to the

 “practice, process, or activity regarding the servicing, repair, disposal, or installation,” in the

 context of this rule, the common definition should not be used. The recent Supreme Court case

 Van Buren v. United States41 goes into detail on the difference between common definitions and

 specialized meaning. Footnote 7 specifically quotes, “When a statute, like this one, is ‘addressing

 a . . . technical subject, a specialized meaning is to be expected.’” To meet this specialized meaning

 within the HVACR industry, any definition of equipment would need to be materially similar to



 40
    "Definition of equipment". Oxford University Press. Lexico.com. 21 June 2021.
 https://www.lexico.com/en/definition/equipment.
 41
    Van Buren v. United States, No. 19-783, slip op. at 1 (U.S. 3 June 2021) (majority opinion),
 https://www.supremecourt.gov/opinions/20pdf/19-783_k53l.pdf.

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 products classified as “appliance[s]” under the Clean Air Act. 40 CFR part 82 subpart F defines

 appliance:


          Appliance means any device which contains and uses a class I or class II substance

          or substitute as a refrigerant and which is used for household or commercial

          purposes, including any air conditioner, motor vehicle air conditioner, refrigerator,

          chiller, or freezer. For a system with multiple circuits, each independent circuit is

          considered a separate appliance.


 Cylinders containing service gases do not meet the definition of appliance and would not

 be considered equipment by the common HVACR industry definition of equipment.


 In finalizing the proposed rule, EPA should also consider the requirement contained in the AIM

 Act that specifies EPA rulemakings shall follow administrative procedures under Section 307 of

 the Clean Air Act.42 Section 307(d)(9) allows the courts to review and reverse any section found

 to be “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.”


 f. No path forward for non-refillable cylinder ban in final rule


 For the reasons outlined above, EPA’s proposal to ban the use of non-refillable cylinders, and any

 attempts to alter definitions in the final rule to allow the proposal, would be beyond the authority

 granted by the AIM Act or the Clean Air Act. EPA should not finalize the proposal to ban non-

 refillable cylinders in the final rule and should instead work with the industry to strengthen

 regulations regarding the evacuation and disposal of cylinders to provide the same environmental




 42
      42 USC § 7607(d).

                                                                                                        20
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 benefits while acting within the authority granted by the AIM Act and Clean Air Act.


 4. Proposed Tracking of Service Gas Cylinders Through the Supply Chain


 a. Certification is valuable to final customer, tracking is not


 While HARDI supports the concept of a certification program to “ensure that HFCs introduced

 into and distributed or sold in the United States are covered by an allowance or were reclaimed,”

 we are very concerned that EPA is pursuing a misguided attempt to blend certification with

 tracking. The final rule should be limited to a certification program where end-users can verify

 their purchase was produced or imported with an allowance. In our opinion, certification should

 focus on the upstream entities from when the final product is created. Once the product is in its

 final state, which for the HVACR industry means a refrigerant gas sold as service gas or to be used

 in the initial factory charging of equipment, there is no longer a need for tracking. Additionally,

 any tracking beyond its final product stage is filled with potential legal hurdles for maintaining

 confidential business information including market share, customer lists, and other potential trade

 secrets.


 b. Tracking individual cylinders would be a massive burden on the supply chain


 As outlined in the docket memo Overview of Supply Chains for Selected Hydrofluorocarbon

 (HFC) Product Types, there are multiple steps within the HVACR service gas supply chain

 including producers/importers, packagers, regional distributors, wholesaler-distributors, and end-

 users. While this document describes the supply chain for a single product, HFC service gases, it

 does not adequately show the full impact of how the HVACR supply chain works. Figure 1 shows

 a more accurate, but still simplified version of the HVACR channel. Wholesaler-distributors serve



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 as a single point of sale for the various equipment, parts, and supplies including service gases

 necessary for contractors/technicians to install, maintain, repair, or replace equipment. This

 requires distributors to manage inventory from multiple sources and requires complex inventory

 management systems.



                                            Refrigerant                       Component
                                         Producer/Importer                   Manufacturers



    Original Equipment
                                              Packager                     Master Wholesaler
      Manufacturer



                                        Wholesaler-Distributor
                                          Regional facility



                                        Wholesaler-Distributor
                                           Branch facility




                                        Contractor/Technician


   Figure 1. Diagram of HVACR Channel



 Adding a cylinder tracking system involving the scanning of individual cylinders runs counter to

 any current inventory tracking system and would disrupt the current method of fulfilling customer

 orders. Additionally, the method of fulfilling customer orders can vary by the size of the

 distributor. Some larger, more complex, companies use Enterprise Resource Planning (ERP)




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 systems to send electronic pick tickets43 to warehouse workers identifying where the individual

 product is known to be stored and exactly which product to pick if an individual serial number is

 known. Other smaller companies rely on a customer making a purchase at a sales counter while a

 warehouse worker uses a paper pick ticket to pick inventory from a cache of products and it is

 unknown which specific piece of product is selected. Adding a cylinder tracking system that does

 not operate with existing ERP or manual pick ticket systems would add complexity to the system

 and likely lead to mistakes.


 This system would further be complicated if EPA finalizes the proposed ban on non-refillable

 cylinders. Under a scenario where all cylinders are refillable, the tracking system must not only

 account for the process to move from producer/importer/reclaimer through the channel to the end-

 user but also track the cylinder back to the producer/importer/reclaimer including cylinders

 shipped to the wrong producer/importer/reclaimer and transferred back to the correct owner where

 the cylinder is refilled and the QR code or other identification system must be reset to allow for

 the certification and tracking of the new refrigerant in the cylinder.


 Overall, it is highly unlikely that the addition of a complex tracking system across multiple market

 actors using multiple inventory tracking systems will be able to accurately track all cylinders

 through the supply chain and back to the owners.


 c. The burden of protecting confidential business information outweighs benefits of cylinder

 tracking


 The AIM Act requires EPA to follow the requirements of Clean Air Act section 30744 which


 43
      A pick ticket is a list used to gather items to be shipped from a warehouse.
 44
      42 USC § 7607(a).

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 includes strong protections of confidential information including trade secrets. Additionally, the

 Defend Trade Secrets Act45 provides businesses with a cause of action for the divulging of trade

 secrets including business information such as market share and customer lists. The Defend Trade

 Secrets Act only has two requirements for economic or financial information to be considered a

 trade secret: (1) the business owner has taken reasonable measures to keep the information private;

 and (2) the information has economic value separate from the business that is valuable because it

 is not generally known. Customer lists and market share information both meet these requirements

 and maintaining the secrecy of this information is necessary for other business operations including

 lines of credit from banks used to buy inventory and maintain operations.


 The proposed rule includes a planned public database of information containing listings of sales

 between business entities. This information would allow competitors to not only determine market

 share based on the number of cylinders sold but also create a customer list that can be

 misappropriated. While the mere listing of customers does not necessarily grant trade secret

 protection, the addition of sales history of service gases purchases does meet the courts’ test46 for

 determining a customer list to be a trade secret. Even if the information is kept confidential by

 EPA, the threat of cyberattack still provides liability to the agency if this information is released.

 The best option is to not collect tracking information that would lead to the creation of a database

 with trade secrets contained.


 d. AIM Act authority for reporting requirements limited to upstream entities


 The AIM Act grants EPA the authority to require disclosure of information for monitoring and


 45
   18 U.S.C. § 1839.
 46
   Select Energy Servs., Inc. v. Mammoth Energy Servs., Inc., No. CIV-19-28-R, 2019 WL
 1434586, at *5 (W.D. Okla. Mar. 29, 2019).

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 reporting, however these requirements are limited to “each person who, within the applicable

 reporting period, produces, imports, exports, destroys, transforms, uses as a process agent, or

 reclaims a regulated substance.”47 Distributors and contractors generally do not produce, import,

 export, destroy, transform, use as a process agent, or reclaim any HFCs and therefore should not

 be subject to monitoring and reporting requirements such as the tracking of cylinders containing

 regulated substances.


 e. Final rule should embrace certification and ignore tracking


 HARDI agrees with the agency in the value of a certification program by assuring the product was

 produced or imported legally; however, the reasons provided by EPA do not show the same value

 in developing a cylinder tracking system. EPA has expressed interest in using tracking to identify

 HFCs that did not enter the market legally, but it is only when a customer wants to determine if a

 product was produced or imported with an allowance that this process is successful. EPA can

 achieve this same goal by simply having a QR code or other scannable logo that points the user to

 a proof of certification without the need for additional tracking.


 Tracking is also unlikely to lead to better enforcement. Based on history of enforcement actions

 taken under section 608 regulations it is unclear how tracking could lead to better compliance. The

 tracking system as currently written would not provide the data necessary for improved section

 608 compliance and it is unlikely any tracking system the EPA has authority to implement could

 lead to future enforcement.


 HARDI encourages EPA to promulgate a final rule containing the certification system without the



 47
      Id., 2.

                                                                                                 25
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 proposed tracking system. The proposed tracking system is unnecessary, burdensome, and beyond

 the authority of EPA to fully implement.


 5. Purpose of this Rulemaking


 This allocation rule is the first of many rules to be proposed regarding the phasedown of HFCs and

 we want to work with EPA staff to ensure future rules look at key issues that must be addressed

 including ensuring proper certification and training of technicians and contractors, increasing

 recovery for reclaim, and ensuring a robust reclaim market is available to supply our wholesale

 distributor members. Using the allocation rule for other purposes including reducing venting is an

 unwise rule development process. The allocation rule should focus on the allocation and allowance

 system only. Addressing industry comments on extraneous proposals will slow down the rule-

 making process when time is needed to prepare for the 2022 production year to meet market

 demand within the allocation allowances. As we have seen in previous phasedowns a perceived

 shortage of refrigerant can cause havoc on market prices for gases. These perceived shortages will

 be made worse by the fact that components of current HFCs will either be used as standalone

 refrigerants or as components in other low-GWP refrigerants.


 It is also HARDI’s opinion that while the discussion of compliance measures to reduce venting of

 gases is important, proposals to ban non-refillable cylinders or add excessive tracking burdens are

 unnecessary in the allocation rule. These types of proposals are best suited in a rule that looks

 specifically at all practices, processes, and activities associated with contractors and technicians

 installing and maintaining equipment as the best way to reduce venting. Only when we take a

 holistic approach to reducing venting can the industry adequately provide feedback to EPA on how

 best to improve the practices, processes, and activities that technicians are trained to use in the



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 field to reduce venting of refrigerants from equipment. HARDI does recognize that while some of

 these anti-venting proposals are also meant to reduce illegal importation of refrigerant gases which

 are valid in enforcing the allocation rule, we believe these proposals go above and beyond any

 sensible proposals that could easily decrease illegal imports while having less of a negative impact

 on good industry actors.


 6. Conclusion


 HARDI thanks EPA for soliciting feedback on this important proposed rule. While we vehemently

 disagree with some of the ancillary proposals contained in the rulemaking, we do fully support the

 allowance and allocation process and believe this is a necessary component to the success of the

 HFC phasedown authorized under the American Innovation and Manufacturing Act.


 Sincerely,



 Alex Ayers
 Director of Government Affairs
 Heating, Air-conditioning, & Refrigeration Distributors International




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 July 5, 2021

 U.S. Environmental Protection Agency
 Office of Air and Radiation
 Stratospheric Protection Division
 1200 Pennsylvania Ave., NW
 Washington, D.C. 20460

 Re: Comment on Phasedown of Hydrofluorocarbons (EPA-HQ-OAR-2021-0044)

 To Whom it May Concern:

 The Air Conditioning Contractors of America writes in opposition to the proposed ban on non-reusable
 cylinders under the American Innovation and Manufacturing (AIM) Act. The proposed ban on non-
 refillable cylinders would cause unnecessary burdens to HVAC-R contractors as well as the broader
 HVAC-R industry. It would impose a major shift on the manufacturing of refrigerant tanks, increasing
 prices as well as fuel needs associated with transporting larger, heavier cylinders. In addition, the
 increased weight and non-disposable nature of the new containers will impose logistical hurdles for
 contractors. Moreover, the rule’s attempt to prevent illegal imports of containers may prove ineffective as
 evidenced by the adaptability of smugglers in the EU. Finally, the target date of July 2023 would not give
 American manufacturing companies enough time to increase their capacity. The overall result would be a
 weakened American market, riddled with lower quality containers that may be more likely to leak and a
 more difficult regulatory landscape for ACCA members to navigate. Our belief is that the EPA’s intended
 goal of reducing the improper handling of HFCs can be achieved in a more efficient way that does not
 punish law abiding contractors.

 A transition of this magnitude would require a massive investment in terms of capital and infrastructure.
 Refrigerant cylinder manufacturer Worthington Industries estimates that a conversion from the
 nonreusable cylinders that are most found in today’s HVAC-R market to an entirely reusable fleet of
 cylinders would cost roughly $2 billion. This cost would be an enormous anchor for the industry and
 would be most punishing towards our members (who are overwhelmingly small businesses), distributors,
 and ultimately consumers. Large manufacturers have also indicated that they “do not have the capacity
 needed to produce enough refillable cylinders to support the U.S industry by 2023.” (Worthington
 Industries, 2021). This could lead to two potential outcomes. The first would be a massive shortage of
 refillable cylinders that would in turn lead to an overall price spike. The second possibility is a massive
 influx of lower quality, government subsidized cylinders into the United States to meet the market’s
 demand.

 Aside from price considerations, the proposed ban on non-reusable cylinders will also lead to logistical
 constraints for contractors. Contractors’ vehicle fleets will likely need to be retrofitted to safely transport
 the new containers. The containers, which are 200 to 320 percent heavier, will place greater stress on
 vehicles as well as the bodies of technicians who are tasked with carrying them around the jobsite. The

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 increased weight will also require more fuel for transportation, further increasing emissions and detracting
 from the EPA’s goal. This is in addition to the man hours and fuel that will be spent taking empty
 cannisters back to distributors. Further, ACCA members have raised the possibility that some contractors
 may put large cylinders of refrigerant at their office that they attempt to refill themselves, increasing the
 chance of venting refrigerants in the transfer process and detracting from EPA’s stated goal. The total
 costs associated with a transition away from non-reusable cylinders will add up quickly, and be passed
 along to consumers, hurting HVAC-R contracting businesses in the process.

 Banning disposable cylinders may also not work to stop or even deter smugglers from bringing HFCs into
 the US illegally. Recent findings show that traffickers have adapted quite easily to the ban on disposable
 cylinders in the EU under the recent F – Gas Regulation. Referring to its effect on smuggling, Daniel
 Michaels from the Washington Post notes that “success was short – lived, by early 2020, traffickers had
 shifted from smuggling truckloads of canisters to more openly importing large quantities of HFCs and
 then defrauding customs authorities” (Michaels, 2021). The EPA proposal does acknowledge this issue,
 saying that US businesses complying with these new regulations such as the ban on disposable cylinders
 could face significant competitive disadvantages. Despite this acknowledgement, there is little comfort in
 the proposed solution. To prevent the issues of the EU unfolding in the US, the EPA emphasized
 increasing enforcement of auditing, labeling and other regulations. The effectiveness of these new
 provisions has yet to be seen, but we feel it is too risky and unjust to law abiding contractors to require
 the industry move away from disposable cylinders based on preventing illegal imports.

 Rather than adding unnecessary and potentially harmful hurdles for contractors, such as the proposed ban
 on non-refillable refrigerant tanks, ACCA believes increased enforcement on existing laws regulations
 would be more effective from both an environmental and industry standpoint. There are already laws and
 regulations in place to both prevent illegal venting as well as refrigerants being purchased and handled by
 unqualified individuals. Moreover, the proposed ban on non-reusable cylinders would be more costly and
 difficult for law abiding contractors to adapt to than traffickers. If actions pertaining to the improper sale
 and handling came with a real threat of punitive damages, then we might see a reduction in their
 frequency. The solution does not need to harm the broader HVAC-R contracting industry—especially
 those that do follow the rules. For these reasons, we respectfully ask that EPA rescind the proposed ban
 on non-refillable cylinders.


 Sincerely,




 Chris Czarnecki
 Government Relations Manager
 Air Conditioning Contractors of America




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                                                July 6, 2021

 VIA ELECTRONIC SUBMISSION

 The Honorable Michael S. Regan
 Administrator
 Environmental Protection Agency
 Washington, DC 20460

 Re: Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation and
 Trading Program Under the American Innovation and Manufacturing Act (Docket ID
 EPA-HQ-OAR-2021-0044)

 Dear Administrator Regan:

 On May 19, 2021, the Environmental Protection Agency (EPA) published a proposed rule titled
 “Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation and Trading
 Program Under the American Innovation and Manufacturing Act.”1 This letter constitutes the
 Office of Advocacy’s (Advocacy) public comments on the proposed rule.

 A wide range of small businesses will be affected by this proposed rule, from importers and
 blenders, to equipment servicers and reclaimers, and eventually the owners and operators of
 refrigeration equipment. Because of this diversity of views and effects, Advocacy believes that
 EPA should be evaluating alternatives for the long-term health of a future market for
 hydrofluorocarbons (HFCs), including minimizing transaction costs and encouraging innovation.
 EPA should recognize that allowances have a market value and give small business blenders and
 reclaimers reasonable preferences in their allocation to aid their long-term viability. EPA should
 reconsider its proposed HFC tracking system and ban on disposable cylinders since they raise
 transaction costs significantly.




 1
     86 Fed. Reg. 27150 (May 19, 2021)




 409 3rd Street SW / MC 3110 / Washington, DC 20416
 Ph 202-205-6533 / advocacy.sba.gov

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 I. Background

     A. The Office of Advocacy
 Congress established Advocacy under Pub. L. 94-305 to represent the views of small entities
 before Federal agencies and Congress. Advocacy is an independent office within the U.S. Small
 Business Administration (SBA). As such, the views expressed by Advocacy do not necessarily
 reflect the views of the SBA or the Administration. The Regulatory Flexibility Act (RFA),2 as
 amended by the Small Business Regulatory Enforcement Fairness Act (SBREFA),3 gives small
 entities a voice in the rulemaking process. For all rules that are expected to have a significant
 economic impact on a substantial number of small entities, the RFA requires federal agencies to
 assess the impact of the proposed rule on small entities and to consider less burdensome
 alternatives.

 The Small Business Jobs Act of 2010 requires agencies to give every appropriate consideration
 to comments provided by Advocacy.4 The agency must include, in any explanation or discussion
 accompanying the final rule’s publication in the Federal Register, the agency’s response to these
 written comments submitted by Advocacy on the proposed rule, unless the agency certifies that
 the public interest is not served by doing so.5

     B. The Proposed Rule
 On December 27, 2020, the American Innovation and Manufacturing Act (AIM Act) was
 enacted as section 103 in Division S, Innovation for the Environment, of the Consolidated
 Appropriations Act, 2021.6 The AIM Act mandates a phase-down of hydrofluorocarbons (HFCs)
 domestic production and net imports to 15 percent of a 2011-2013 baseline, weighted by the
 global warming potentials (GWPs) of each component HFC. It grants EPA new authorities in
 three main areas: implement the phase-down of production and net imports of listed HFCs,
 manage these HFCs and their substitutes, and facilitate the transition to next-generation
 technologies by restricting use of these HFCs where they are used. The AIM Act requires EPA to
 have most of this system in place for calendar year 2022.

 On May 19, 2021, EPA published a proposed rule partially implementing this program. The
 proposed rule includes creation of:

       •   Allowances and allocation of those allowances in 2022 and 2023;
       •   Application-specific allowances for six uses of HFCs listed in the AIM Act;
       •   A pool of allowances set aside primarily for small businesses;
       •   Rules for transfer and conveyance of allowances;

 2
     5 U.S.C. §601 et seq.
 3
     Pub. L. 104-121, Title II, 110 Stat. 857 (1996) (codified in various sections of 5 U.S.C. §601 et seq.).
 4
     Small Business Jobs Act of 2010 (PL. 111-240) §1601.
 5
     Id.
 6
     Pub. L. 116-260

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                                                     JA122
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    •   A ban on disposable cylinders; and
    •   A certification and labeling system for HFCs in domestic commerce.

 In addition, EPA has requested comment on the program design and allocation of allowances for
 2024 and beyond.

 Advocacy held two Small Business Environmental Roundtables on this rule, both with EPA’s
 participation: in February 2021, in advance of the proposal, and in June 2021, after the proposal
 was published. EPA and Advocacy have also met with a significant number of small businesses
 and their representatives during development of the proposed rule and during Executive Order
 12866 review.

 II. Advocacy’s Small Business Concerns
 A wide range of small businesses will be affected by this rule. The direct impacts of this rule will
 fall on small businesses that currently import HFCs into the United States or may wish to at
 some point in the future. To our knowledge, no small businesses produce HFCs domestically.
 However, small businesses dominate the industries that process, resell, use, and reclaim HFCs,
 and the reduced availability of HFCs under the AIM Act’s phase-down schedule will affect them
 significantly through increased costs of HFCs and, eventually, the need to transition away from
 equipment that uses HFCs.

 Because small businesses fulfill different roles in the supply chain and have different short-term
 and long-term priorities, there is no one set of regulatory alternatives that will satisfy all small
 business interests. Therefore, Advocacy believes that EPA should be evaluating alternatives for
 the long-term health of the market in HFCs, including minimizing transaction costs and
 encouraging innovation that furthers the goals of the AIM Act.

     A. Advocacy supports EPA’s proposed set aside pool of allowances.
 EPA has proposed a set aside pool of allowances for small businesses that are new market
 entrants and not otherwise eligible in an allocation scheme based on historical activity. Advocacy
 supports this set aside, given that the AIM Act mandates a phase-down rather than a phase-out,
 and appreciates that EPA recognizes prior barriers to small business access in programs under
 Title VI of the Clean Air Act. Advocacy does not have information to suggest an appropriate size
 of the set aside pool for 2022 or 2023. EPA should leave open the ability to adjust the size of the
 pool based on applications and demonstrated use of the set aside pool.

     B. Advocacy supports the maximum flexibility in trading allowances.
 EPA has proposed a system of trading allowances. This gives allowances asset value, but only
 for the one-year duration of the allowance. Combined with the weighting of HFCs in accordance
 with their greenhouse gas potential, the system creates a powerful incentive for rapid use of the
 allowance and toward low GWP HFCs.




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            1. EPA should allow for trading of set aside allowances.
 As part of the set aside pool of allowances, EPA proposed that holders of these allowances
 would not be able to sell or trade them. EPA states that this will discourage small businesses
 from requesting allowances that exceed their need or solely for the purpose of selling. Advocacy
 appreciates this concern and encourages EPA to consider each application on a case-by-case
 basis to evaluate a small businesses ability to use the HFCs requested.

 However, a restriction on the sale or transfer of these allowances may have the unintended
 consequence of limiting the total HFC allowances available in the covered year. For the
 individual small business, it could have two unintended consequences. First, it could incentivize
 the immediate purchase of HFCs to capitalize the value of the allowance before it expires.
 Second, it would force the small business to purchase and stockpile HFCs for future use before
 cashflow may justify it.

 Advocacy recommends EPA allow for sale and transfer of set aside allowances. EPA has
 proposed gathering information on sales and transfers as they occur. EPA could identify abuses
 of the program through this data and address issues through denial of future applications for set
 aside allowances.

            2. EPA should adopt the lowest possible transfer offset.
 EPA is proposing to allow transfers of allowances for HFCs provided the transferor's remaining
 allowances are reduced by the amount it transferred plus some percentage of the amount
 transferred (i.e., an offset). This offset would reduce the total amount of allowances available and
 create a disincentive to trading allowances. However, EPA has included this provision in
 response to section (g)(2) of the AIM Act, which requires that transfers under this provision
 result in greater total reductions in HFCs that in the absence of transfers.

 Advocacy believes that this offset provision will reduce HFC availability and make it less likely
 allowances will be put to their best economic use, including towards low-GWP alternatives.
 Therefore, Advocacy recommends EPA adopt the lowest reasonable offset possible.

     C. EPA should consider an additional set aside to encourage HFC-related practices
         that have environmental benefits.
 Small businesses have discussed with EPA several activities with significant environmental
 benefits that may require special consideration. These activities include the recovery,
 reclamation, and/or destruction of HFC refrigerants. One small business has also discussed with
 EPA an industrial use of HFCs that lowers lifecycle GHG emissions. Other small businesses
 have discussed their efforts to develop new low-GWP substitutes.

 The AIM Act intends EPA to encourage these activities. For reclaimers, the AIM Act tasks EPA
 with increasing opportunities for reclaiming and creates a grant program for the purchase of
 recycling, recovering, and reclaiming equipment. It is unclear what role the reclaiming industry
 will play after 2036, when the HFC phase-down is complete and end-users will be further along
 in a transition away from HFCs, but the availability of reclaimed HFCs will help mitigate the
 economic impacts between now and then.

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 EPA should use its authority to allocate allowances to economic activities that have economic
 benefits related to the reduction of HFC production and GHG impacts. Advocacy suggests EPA
 propose for 2024 and beyond an additional set aside pool of allowances for reclaimers and
 innovators, to encourage growth of these industries.

 EPA should also consider granting allowances for destruction of HFCs. Reclaimers want to
 establish reliable and consistent recovery programs, but that may require accepting recovered
 HFCs that cannot be economically reclaimed. A grant of allowances would give them the ability
 to recoup these costs while making more reclaiming possible.

     D. EPA should not ban disposable cylinders.
 EPA has proposed a ban on disposable cylinders for the storage and transport of HFCs. EPA’s
 justification based in part on a concern about leftover HFCs at the bottom of disposed cylinders
 and on experiences in other countries with smuggling.

 Advocacy recommends EPA not include this provision in this final rule. Small businesses oppose
 it. This provision will significantly raise their costs, requiring large expenditures in the next year
 for a product that is increasingly expensive and difficult to procure. It will significantly increase
 transportation costs, both because refillable cylinders are heavier than disposable and because
 they will require a return trip to the owner. Refillable cylinders are not easily reused for virgin or
 reclaimed HFCs, since they need to be extensively cleaned to meet the mandated AHRI purity
 standards, an expense these small businesses do not currently bear.

 Small businesses challenge EPA’s assertion that leftover HFCs present an environmental risk.
 Reclaimers say that they accept disposable cylinders for recycling, reclaiming the leftover HFC
 in the process. Requiring the proper disposal of disposable cylinders would be a better solution,
 better for reclaimers, and more consistent with existing business practice.

 EPA also states that a ban on disposable cylinders will make customs enforcement easier because
 illegal HFCs smuggled into other countries are often in disposable cylinders. However, this
 characteristic of smuggled HFCs is a function of the regulatory design, not of the cylinder itself
 or its legitimate users. In contrast to other countries, EPA is proposing a broad range of measures
 related to imports, including a real-time check to ensure importers have the required allowances
 and labeling requirements. EPA should consider whether a ban on disposable cylinders is
 necessary in conjunction with the rest of the proposal, not in isolation. Further, Advocacy
 believes that it is unfair to impose such significant costs on the domestic market if the solution
 can be more tightly focused on imports.

     E. EPA should delay implementation of the proposed certification and labeling system.
 Small businesses have expressed significant concern about the cost and complexity of EPA’s
 proposed certification and labeling system. Some small businesses agree that a well-designed
 low-cost system could help them compete against illegal HFCs but still raise concerns that the
 system, sight unseen, will be hard to use, impose significant costs on their customers, and
 impede acceptance of low-GWP HFC replacements. EPA’s proposal lacks the details necessary

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 to address these concerns. EPA will need the confidence and buy-in of the regulated community
 if this tracking system is to have its desired effect.

 Advocacy recommends EPA delay adoption in the regulations of this proposed system until EPA
 has had more time to design the system, consult with regulated parties and run a pilot program to
 identify and resolve unreasonable costs and challenges.

    F. EPA should reconsider the audit requirement for producers, importers, and
       reclaimers.

            1. EPA should reconsider the audit requirement for reclaimers.
 EPA proposes an audit requirement to improve the integrity of the allocation program. This
 program would require annual audits for producers, importers, and reclaimers. However,
 reclaimers are not required to hold allowances, and other users of HFCs that might get
 allowances through, for example, the application-specific allowances are not covered by this
 audit requirement. As written, it is unclear why reclaimers are singled out. Thus, EPA should
 exclude reclaimers from this audit requirement.

            2. EPA should tailor the impact of the audit requirement to its stated purpose.
 EPA requested comment on limiting the frequency of audits for companies below a certain
 threshold. Advocacy supports all reasonable efforts to reduce the paperwork burden of these
 regulations. Audits should only be conducted annually and on a continuing basis for those
 companies with a history of compliance difficulties. If the purpose of the audit program is to
 improve integrity of the program rather than to duplicate compliance reporting, then an audit of
 the previous year should be required only periodically.

     G. EPA should consider whether imported HFCs should meet AHRI purity standards.
 The AIM Act defines reclaiming by referencing AHRI purity standards and verification of that
 purity and prohibits the sale of recovered HFCs that are not reclaimed. Small business reclaimers
 are concerned that this definition puts them at a competitive disadvantage to importers, who can
 bring HFCs into the country without a similar requirement. EPA should take this concern
 seriously, particularly since the AIM Act requires EPA to expand opportunity for reclaiming.
 However, there are small businesses that import or purchase imported HFCs for processing and
 blending, for whom such a requirement would be unnecessarily burdensome and would not
 address the reclaimers concern about competition from low quality imports.

 Advocacy recommends EPA consider requiring imports intended to be sold to end users without
 subsequent processing, blending, or reclamation demonstrate compliance with AHRI purity
 standards.

 III.   Conclusion
 Advocacy appreciates the efforts EPA has made in this proposed rule to identify and address
 small business concerns. EPA makes an explicit recognition of the history and role of small
 businesses in the Title VI programs and the crucial role they will fulfill in implementation of the
 AIM Act. Nonetheless, Advocacy believes that there are additional opportunities to maximize

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 availability of HFCs within the statutory bounds, avoid unreasonable costs on small businesses
 and encourage environmentally beneficial activities. Advocacy also recommends EPA to move
 more cautiously on measures that will directly regulate the entire supply chain.

 If you have any questions or require additional information, please contact me or Assistant Chief
 Counsel Dave Rostker at (202) 285-6860 or by email at david.rostker@sba.gov.

                                              Sincerely,


                                              /s/

                                              Major L. Clark, III
                                              Acting Chief Counsel
                                              Office of Advocacy
                                              U.S. Small Business Administration

                                              /s/

                                              Dave Rostker
                                              Assistant Chief Counsel
                                              Office of Advocacy
                                              U.S. Small Business Administration



 Copy to:       Sharon Block, Acting Administrator
                Office of Information and Regulatory Affairs
                Office of Management and Budget




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                              COMMENTS OF A-GAS, INC.

                                            ON THE



 PHASEDOWN OF HYDROFLUOROCARBONS: ESTABLISHING THE ALLOWANCE ALLOCATION AND TRADING PROGRAM
            UNDER THE AMERICAN INNOVATION AND MANUFACTURING ACT; PROPOSED RULE


                                86 Fed. Reg. 27150 (May 19, 2021)
                              Docket ID No. EPA-HQ-OAE-2021-0044




                                                                             Mike Armstrong, President
                                                      Bruce Ernst, EVP, Regulatory & Government Affairs
                                                                                            A-Gas, Inc.
                                                                                    1100 Haskins Road
                                                                            Bowling Green, Ohio 43402
                                                                                         419-867-8990




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 1. INTRODUCTION
 A-Gas, Inc. (A-Gas) is pleased to provide these comments on the U.S. Environmental Protection
 Agency’s (EPA) proposed rule Phasedown of Hydrofluorocarbons: Establishing the Allowance
 Allocation and Trading Program Under the American Innovation and Manufacturing Act, at 86
 Fed. Reg. 27150 (May 19, 2021), Docket ID No. EPA-HQ-OAE-2021-0044 (Proposed Rule).
 A-Gas, headquartered in Bowling Green, Ohio, is a global leader in refrigerant recovery and
 reclamation. The company’s core business provides environmental solutions and lifecycle
 management services for ozone depleting substances (ODSs) and greenhouse gases (GHGs),
 including CFCs, HCFCs, HFCs and Halons in the HVACR and Fire Suppression Industries.
 For more information about A-Gas, please visit www.agas.com/us.


 2. RECLAIM & REFRIGERANT MANAGEMENT
 Hydrofluorocarbons (HFCs) are potent greenhouse gases, with global warming potentials
 (GWPs) thousands of times greater than that of carbon dioxide. Most HFC refrigerants can be
 recovered and either reclaimed or destroyed – preventing their release into the atmosphere.
 This is best accomplished by an ambitious and integrated approach to refrigerant management.
 Refrigerant management involves installation and servicing of equipment and the recovery,
 transportation, reclaim, resale and, ultimately, destruction of refrigerants.
 Over the past 10 years, A-Gas has invested significantly to build refrigerant reclamation and
 destruction technologies at its facilities in Bowling Green, Ohio, and Rhome, Texas. This
 equipment is capable of reclaiming a broad spectrum of recovered refrigerant, including CFCs,
 HCFCs, HFCs, and other mixed gases.
 Our investments in these capabilities represent A-Gas’ commitment to protecting the climate
 and contributing to the circular economy. The principle at the core of our business model is the
 same as the principle at the core of our environmental, social, and governance policies – that
 no molecule of refrigerant, once produced, should ever be released into the atmosphere.
 Today, even as The American Innovation and Manufacturing Act (AIM Act) seeks to constrain
 the production and consumption of HFCs and restrict the use of high GWP HFCs in refrigerators
 and air conditioners, significant quantities of already-produced refrigerant continue to
 accumulate in existing products and equipment and remain at high risk of leaking or being
 vented into the atmosphere.
 By one measure, this could amount to emissions of 750 million tons of CO2e in the United
 States over the next 10 years.1 Globally, this could result in emissions of 58 billion tons of CO2e
 by 2050.2 These emissions are a legitimate threat to efforts to combat climate change. These
 emissions also are nearly entirely avoidable, as both the technology and the legal authority
 exist to prevent them.
 After all, unlike with the phase out of ozone-depleting substances (ODS), which involved
 transitions to entirely new compounds, the HFC phase down mostly involves transitions to
 blends of HFCs with lower GWPs.


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 This means the AIM Act is not so much reducing HFCs as it is reducing GWP. This underscores
 the importance of refrigerant management, particularly reclaim, because the substitute
 refrigerants are likely to contain a significant quantity of HFCs, just at a lower GWP:
    •   The more reclaim, the more flexibility in the market, since the reuse of existing HFCs
        (which otherwise would be emitted) increases overall refrigerant supply while displacing
        demand for new production and import, as there are no material barriers to using
        reclaimed refrigerant in most types of new equipment.
    •   The more flexibility in the market, the more the market can shed GWP without raising
        prices or otherwise imposing practical or commercial hardships on manufacturers and
        consumers, since low-GWP blends can be made, in part, using reclaimed HFCs.
    •   The lower the prices and the fewer the hardships, the easier it will be to accelerate the
        schedule for phasing down HFC production and consumption in the United States, given
        the historic trend of accelerations to phase down schedules in prior refrigerant
        transitions over the past 30 years.
 Looking ahead, there is ample capacity in the U.S. market for significant increases in the
 recovery, reclaim, and re-use of HFC refrigerants. In fact, the U.S. reclaim industry will simply be
 challenged by the amount of HFC material that is available to be recovered from refrigeration
 and air conditioning systems in the early years of the HFC phase down.
 Although beyond the immediate scope of this Proposed Rule, A-Gas raises these points to signal
 its commitment to pursuing policy outcomes that maximize the recovery, reclaim, and,
 ultimately, destruction of refrigerants over the course of the AIM Act’s HFC production and
 consumption phase down. Maximizing reclaim, A-Gas believes, also maximizes the climate
 benefits of phasing down HFCs.
 Specific to the Proposed Rule, as discussed more fully below, are several measures on which
 EPA has sought comment that would represent important steps forward in strengthening
 refrigerant management and expanding the role reclaim should have in the HFC phase down. A-
 Gas’ comments focus on these measures and the issues they raise for the initial
 implementation of the AIM Act.


 3. SUPPORTING REFRIGERANT MANAGEMENT & RECLAIM UNDER THE AIM ACT
 In implementing the AIM Act, A-Gas believes EPA should seek to maximize opportunities for
 enhanced refrigerant management and greater opportunities for reclaim. As discussed more
 fully below, A-Gas believes the following actions and initiatives would provide vital support for
 refrigerant management and reclaim:
    •   Expanding the set aside pool of allowances to include reclaimers, subject to certain
        conditions;
    •   Requiring refillable cylinders;
    •   Requiring certification for all HFCs;



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    •   Prohibiting the export from the United States of recovered HFC refrigerant unless it has
        been certified as being reclaimed at a U.S. facility; and
    •   Providing public funding for reclaimers to support gas cleaning technology to deal with
        next generation refrigerants.


 4. ALLOCATION OF ALLOWANCES
    a. In General
 In the Proposed Rule, EPA proposes to issue allowances to entities that produced or imported
 HFCs in the 2017-2019 period, provided such an entity was still active in 2020. EPA also
 suggests two alternative methods: (a) issuing allowances only to those companies that
 produced or imported HFCs in 2011-2013 or (b) issuing allowances to entities that produced or
 imported HFCs between 2011 and 2019, provided such an entity was still active in 2020.
 A-Gas believes the best approach is to base the allocation of allowances to an entity on its
 single highest annual production or import total between 2017 and 2019, provided such entity
 participated in the market in 2020. However, for this and for any other approach, EPA should
 not allocate any allowances to any entity found by the Department of Commerce to have failed
 to pay anti-dumping duties during this time period.
 This approach best reflects the reality of the market as it exists today and is likely to exist at
 least over the next several years. A-Gas further believes this position is superior to the 2011-
 2013 and 2011-2019 periods because it maximizes the number of potential market participants
 and, as a result, provides greater liquidity in the market. This, in turn, creates more choices and
 provides more flexibility for purchasers of refrigerants.
 Furthermore, the 2011-2013 period would fall well short of representing prevailing market
 conditions by disproportionately favoring long-term market participants and by relying on
 obsolete market data nearly a decade old.
 A-Gas would consider supporting EPA in using an average of the three highest production or
 import annual totals during the 2011-2019 period – subject to several qualifications. First,
 where an entity has fewer than three years during that time, each missing year would be
 counted as zero, for purposes of averaging. A-Gas would oppose requiring any entity with fewer
 than three years of activity during that period to enter into a new entrant or other set aside
 pool. As stated, each year fewer than three should count as zero for purposes of averaging.
 Second, for this 2011-2019 approach, EPA need not consider whether an entity was active in
 2020, given the longer timeframe involved and the averaging of highest years. A-Gas would
 oppose requiring active market participation in 2020 for this particular approach.
 A-Gas opposes all other approaches and concepts, on grounds they are inequitable, not
 representative of market realities, and favor market-distorting practices.




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    b. Allowance Set Aside
 A-Gas supports increasing the proposed set aside of allowances from 5 million metric tons of
 CO2e, as provided in the Proposed Rule, to 7.5 million metric tons of CO2e. Certified reclaimers
 could be eligible to participate in this set aside, provided the recipients of these allowances:
    •   have the internal capability to process HFCs for their end users;
    •   not have a third party also receiving production or consumption allowances that owns a
        stake or other interest of greater than 10 percent of its business; and
    •   have reported a quantity of reclaimed HFCs to EPA in the years 2017-2019.
 A-Gas would offer further that any new entrant receiving allowances from this set aside be
 prohibited from selling or otherwise transferring such allowances. Moreover, A-Gas believes
 EPA should release under-utilized allowances in the fourth quarter of each year via this set
 aside.
    c. Application Specific Allowances
 Regarding application specific allowances, A-Gas would assert that entities eligible for such
 allowances be allocated a minimum quantity sufficient to fulfill the requirements of the AIM
 Act. A-Gas would caution EPA against allocating quantities of allowances based on
 unsubstantiated projections or other assumptions about prospective growth, as these entities
 typically do not face direct compliance obligations under the AIM Act and remain free to
 procure HFCs on the open market.
    d. Destruction
 A-Gas believes EPA should not allocate consumption allowances based on the destruction of
 HFC refrigerants, given (a) the limited data on virgin HFC stockpiles that were built, at least in
 part, over the past five years in anticipation of a domestic HFC phase down program; (b) the
 unknown size of such stockpiles; and (c) the unknown size of yet to be processed, recovered,
 and un-reclaimed HFCs.
 Moreover, given the prospect of increasingly constrained supplies of HFCs over the course of
 the phase down, the market would be better served by incentivizing the recovery and reclaim
 of HFC refrigerants rather than their destruction – at least until a much greater share of the
 market has transitioned to lower GWP HFC blends and other substitutes and alternatives.
 Finally, EPA also should ensure that any destruction of any HFCs be performed by a destruction
 technology approved by EPA with a destruction and removal efficiency (DRE) of 99.99 percent,
 with a preference for state-of-the-art non-incineration technologies.
    e. Future Allowance Allocations
 A-Gas believes EPA should consider alternate processes for allocating allowances that can
 facilitate a transition from high GWP HFCs while also accommodating those parts of the market
 unable to transition early in the phase down.




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 However, A-Gas also believes there is a significant role for reclaim and refrigerant management
 to play in the forthcoming 2024 allocation period, given the substantial step down in the AIM
 Act’s phase down schedule to 60 percent of the production and consumption baselines.
 To be prepared for such a substantial contraction in HFC production and consumption in 2024,
 A-Gas believes EPA should avail itself of all regulatory and non-regulatory means to promote
 recovery and reclaim and otherwise facilitate its practice in the U.S. economy. For whatever
 system EPA ultimately adopts for distributing allowances in 2024 and beyond, the greatest
 challenge facing the U.S. market will not be how allowances are allocated, but whether
 adequate supplies of HFC, new and reclaimed, are accessible to market participants.


 5. COMPLIANCE
 As a general matter, A-Gas broadly supports measures to ensure HFC production and
 consumption in the United States are properly tracked and verified in accordance with all
 applicable requirements.
    a. Reporting
 A-Gas supports quarterly reporting requirements but would request EPA align and harmonize
 any such requirements with those under the Clean Air Act that apply to ODS and other GHGs. A-
 Gas also supports reporting for both imports of bulk HFCs and imported products containing
 HFCs. In all such reporting, A-Gas would request EPA maintain the agency’s Confidential
 Business Information (CBI) protocols, notwithstanding the importance of transparency and
 publicly available data.
    b. QR Codes
 A-Gas supports the use of QR codes to identify and track HFCs in the United States. A-Gas
 already uses QR codes on all its refillable cylinders and considers this to be a basic and readily
 available approach to identification and tracking. Our QR codes are easy and inexpensive to
 place on cylinders and generally last for multiple uses without fading or peeling.
 In implementing a QR code program, A-Gas believes EPA should allow for a grace period or
 otherwise phase in the requirements over time, potentially in a coordinated manner with
 requirements for refillable cylinders.
    c. Banning Non-Refillable Cylinders
 A-Gas strongly supports EPA’s proposal to require refillable cylinders, believing a market shift to
 refillable cylinders is necessary for effective refrigerant management, as evidenced by refillable
 cylinder requirements in Canada, the United Kingdom, Australia, and the European Union.
 Reclaimers already rely substantially on refillable cylinders and can attest to their practicality
 and efficacy. Indeed, transitioning to refillable cylinders provides reclaimers with additional
 refrigerant materials often found in the bottom, or heel, of refillable cylinders.
 A-Gas believes sufficient manufacturing capacity exists to support a transition to refillable
 cylinders nationwide, and globally if necessary, and would benefit both Original Equipment



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 Manufacturers (OEMs) and reclaimers by providing additional supplies of HFCs for market
 participants.
 From an implementation standpoint, A-Gas supports a phasing out of non-refillable cylinders
 beginning in 2024, with a complete ban on non-refillable cylinders beginning in 2025. However,
 A-Gas believes it is important to avoid uncertainty when it comes to affecting a transition to
 refillable cylinders and, if necessary, would support EPA seeking additional data to bolster the
 case for such a requirement and include it as part of a future rulemaking over the next two
 years.




 1
   Search, Reuse, and Destroy: How States Can Take the Lead on A 100 Billion Ton Climate Problem, ENVIRONMENTAL
 INVESTIGATION AGENCY (February 14, 2019), citing ODS Destruction in the United States and Abroad, EPA 430-R-18-
 001 (February 2018) (assuming roughly half of the annual 75-80 million metric tons of CO2e in refrigerant
 emissions reported by ICF could be recovered and reclaimed and/or destroyed, projected over the next decade
 and using 20 year Global Warming Potentials).
 2
   See Project Drawdown, at https://drawdown.org/solutions/refrigerant-management.




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                                    D.O. T. & E.P.A. Certified Center



 July 6, 2021


 VIA ELECTRONIC SUBMISSION
 Hon. Michael Regan, Administrator
 U.S. Environmental Protection Agency
 EPA Docket Center Air and Radiation Docket
 Mail Code 28221T
 1200 Pennsylvania Avenue NW
 Washington, D.C. 20460
 www.regulations.gov
 Docket ID: EPA–HQ– OAR–2021–0044

         Re:        Comments of Choice Refrigerants ‒ Phasedown of Hydrofluorocarbons:
                    Establishing the Allowance Allocation and Trading Program under the
                    American Innovation and Manufacturing Act; Proposed Rule, 86 Fed. Reg.
                    27,150 (May 19, 2021)
 Dear Administrator Regan:
        RMS of Georgia, LLC d/b/a Choice Refrigerants appreciates the opportunity to submit the
 following comments on EPA’s proposed allocation system implementing the American Innovation
 and Manufacturing Act phasedown of hydrofluorocarbons (HFCs). 1 Our comments are
 supplemented by our February 5, 2021 and March 29, 2021 letters transmitting confidential
 business information which were previously submitted to EPA via electronic mail.

         Choice Refrigerants is a producer of patented hydrofluorocarbon (“HFC”) blends,
 including Choice® R-421A and Choice® R-421B refrigerants, as well as Choice®-branded R-410A.
 Choice is a small business employer based in Alpharetta, Georgia and was one of the first EPA-
 certified refrigerant reclaimers in the United States. 2




         1
           American Innovation and Manufacturing Act of 2020, Consolidated Appropriations Act § 103 (H.R. 2764),
 Pub. L. No. 110—161, 121 Stat. 2128 (2020).
         2
             See https://www.epa.gov/section608/epa-certified-refrigerant-reclaimers.




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 Choice Refrigerants Comments – AIM Act HFC Allocation System
 July 6, 2021
 Page 2

 I.      Allowances Must Be Allocated to the Company That Would Now Need Allowances

          EPA is proposing an HFC allowance allocation system that issues allowances to market
 participants based on import data and corresponding greenhouse gas reporting data. Import data
 in EPA’s greenhouse gas reporting program and customs records may be appropriate for purposes
 of calculating the phasedown cap levels for the overall AIM Act allowance pool, but because the
 data does not necessarily reflect commercial market realities, it is not appropriate or accurate
 information for purposes of apportionment of baseline allowances or allocation of annual
 emissions allowances for HFCs ‒ particularly if EPA intends to require allowances for HFC
 blends. 3 To the extent that EPA decides that producers or importers of HFC blends must hold
 allowances on the basis of HFC components “within” HFC blends, those allowances must be
 allocated to the HFC blends producer/importer, not to the producer/importer of the HFC
 component feedstocks. Otherwise, producers of HFC blends (particularly those like Choice
 Refrigerants which hold patent rights to proprietary HFC blends products) will suffer an unfair
 and economically devastating mismatch between the party that receives allowances and the party
 that ultimately bears the economic burden of the allowance system. EPA’s decisions on allowance
 allocation, quite literally, may mean life or death for small businesses like Choice Refrigerants
 who have used middlemen importers in past years to import HFC components but would now have
 to hold allowances for their own products.

         A.      Background on Historical HFC Blend Production/Import

         Choice Refrigerants is an American small business based in Alpharetta, Georgia, that has
 invented several environmentally preferable HFC blend products that substitute for older ozone-
 damaging Class II refrigerants. Choice’s current products include Choice® R-421A, which is a
 popular drop-in substitute for R-22 in refrigeration systems. Choice® R-421A is an HFC blend
 produced by combining 1,1,1,2-tetrafluoroethane (known as R-134a when used in stand-alone
 applications) and pentafluoroethane (known as R-125 when used in stand-alone applications) in a
 specific ratio, together with a proprietary lubricant. Choice® R-421B is a similar blend product
 with a different ratio of components. Choice has at times also blended a branded version of R-
 410A, which is a blend of difluoromethane (R-32) and pentafluoroethane (R-125).

         The HFC components R-32, R-134a and R-125 that are used as feedstock to produce
 Choice’s patented and branded products are listed in the AIM Act as regulated substances. See
 AIM §103(c) (table). However, HFC blends generally, and Choice R-421A specifically, are not
 themselves regulated substances under the AIM Act. We are concerned that EPA may require
 allowances for production or import of Choice® R-421A or other HFC blends on the basis of their
 HFC feedstock components. Although it does not appear that EPA actually has the authority to
 regulate HFC blends in this manner, if EPA does require allowances for HFC blends, the
 allowances should be allocated to the blends producer/importer, rather than to the HFC


         As discussed below in Part IV, EPA lacks authority to regulate HFC blends that are manufactured from
         3

 HFC component feedstocks.




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components importer, regardless of what years are used to establish allowance allocations and
regardless of what company name is reflected on customs documents.

        Because of the unusual language in the AIM Act and the nature of HFC blends, EPA must
approach allowance allocations in this context differently from how allowances were allocated in
the CFC and HCFC phaseout programs, which did not involve this unusual aspect. This potential
mismatch between the importer of components and owner of HFC blend products would be much
more aggravated if EPA uses older years of market data for purposes of allowance allocations. For
example, prior to international signing of the Kigali Agreement in October 2016, there would have
been little reason for market participants to anticipate that EPA would require allowances for HFCs
or would use data from years before 2016. This was especially true as EPA was continuing to
approve HFC substitutes under its SNAP program.

       Choice Refrigerants’ confidential letters of February 5, 2021 and March 29, 2021, have
provided information to EPA on how our HFC blend products have historically been produced,
whether manufactured in the U.S. from imported components or whether imported as pre-blended
HFC blends. Business data on Choice’s HFC blend production and HFC component purchases for
the years 2010–2019 is summarized for EPA’s convenience in Appendix A (for R-421A) and
Appendix B (for R-410A) of the February 5th letter.

        B.       Choice’s HFC Blend Production/Import

        As described in the business confidential letters, from 2011 thru approximately 2017,
Choice Refrigerants produced Choice® R-421A in the United States using HFC components
imported primarily from China. In that time period, Choice typically arranged to have HFC
components manufactured by a Chinese chemical supplier and shipped to Choice’s production
facility in Alpharetta, where the components were blended together with a proprietary additive
according to ASHRAE specifications. The blend product was then packaged, labeled, and sold to
various downstream distributors in the U.S. refrigerant market. Notably, at that time Choice was
unable to source HFC components from domestic U.S. chemical manufacturers (and is still unable
to do so) because, as has been documented in official government reports, the major domestic HFC
chemical producers are unwilling to supply HFC components to smaller producers of R-22
substitutes that compete against their own products and have so-called “swap” agreements among
themselves which exclude small businesses such as Choice. 4

        Prior to 2017, Choice had a commercial distribution arrangement with one of its
distributors under which that company would arrange for the purchase of shipments of bulk HFC

          4
           See USITC, Hydrofluorocarbon Blends and Components from China, Inv. No. 731-TA-1279 (Final), Pub.
  4629 at 11 (Aug. 2016) (“Three domestic integrated producers, Arkema, Chemours, and Honeywell, swap HFC
  components amongst themselves for use in the production of refrigerant blends. Although the swapping of
  components subject to these arrangements does not constitute captive production, as that term is ordinarily
  understood, the swap arrangements constitute something less than a pure merchant market.”); see also Choice




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 component feedstocks from China on behalf of Choice. The shipments were nominated and
 shipped through a U.S. port of entry (typically Charleston) to Choice’s production facility in
 Alpharetta. These components were earmarked and used exclusively by Choice for the production
 of its proprietary HFC blends. All production of the HFC blends occurred in Choice’s Alpharetta
 facility as described above. Once the HFC blends were produced by Choice, Choice would ship
 the finished HFC blend products to its various distributors, including the distributor that facilitated
 the imports, for further sale to the U.S. refrigerant and air conditioning market.

         Although the cost of shipping the HFC components under this arrangement was initially
 advanced by the distributor who arranged the imports, those costs were credited to the distributor
 at the time of sale and delivery of the produced HFC blend, such that the purchase price of the
 HFC components was in reality borne by Choice Refrigerants. Similarly, although the distributor’s
 name appears on customs records, the shipments were at all times intended for Choice and destined
 for Choice’s Alpharetta production facility for use in production of Choice’s patented and branded
 products. Essentially, the distributor acted as Choice’s shipping agent in arranging for shipment
 overseas, advanced the initial purchase costs, and was reimbursed through an adjustment to the
 distributor’s purchase of HFC blend products from Choice. Similarly, the distributor reported the
 import of the HFC components which it had arranged on Choice’s behalf in EPA’s Greenhouse
 Gas Reporting Program (“GHGRP”). We believe these reports were filed in the name of the
 distributor, but as noted those components were intended as chemical feedstocks for the production
 of Choice’s patented and branded products, to which the distributor had no legal or intellectual
 property rights. Of course, at this time of this arrangement there was no indication that HFC
 substitutes (which were being actively encouraged under EPA’s SNAP program) would be phased
 out or that HFC imports during these years would ever be considered for purposes of an allowance
 scheme. Choice and the distributor currently have no commercial relationship.

         Beginning in about 2017, due to market conditions, Choice transitioned to sourcing pre-
 blended HFC blends from Chinese chemical manufacturers. (Again, Choice was forced to source
 these HFC feedstocks from overseas because the domestic HFC production industry was unwilling
 to sell HFC components to smaller U.S. competitors.) Under this arrangement, Choice’s direct
 Chinese supplier would blend HFC components at a Chinese chemical manufacturing facility on
 Choice’s behalf and export the blended HFC product to Choice in Alpharetta. 5 Choice would either

  Refrigerants, Hydrofluorocarbon Blends from the People’s Republic of China: Pre-Preliminary Determination
  Comments of Choice Refrigerants and Request to Expand the Circumvention Inquiry at 12 (Apr. 3, 2020) (Barcode
  # 3961066-01) (“Because the integrated producers trade almost exclusively amongst themselves, domestic
  components are not freely available to independent U.S. blenders like Choice who market competing, patented
  blends, and it is therefore critical that access to non-domestic HFC components remain open for such blenders.”).
         5
           Patented HFC blend products like Choice® R-421A have special status under U.S. trade laws in that they
 are expressly excluded from antidumping duties on HFC blends. See Hydrofluorocarbon Blends From the People’s
 Republic of China: Antidumping Duty Order, Dck. A–570–028, 81 Fed. Reg. 55,436 (Aug. 19, 2016) (“Also
 excluded from this order are patented HFC blends, including, but not limited to, ISCEON® blends,
 including MO99™ (R– 438A), MO79 (R–422A), MO59 (R–417A), MO49Plus™ (R–437A) and MO29™ (R–4




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 supply its proprietary lubricant to the Chinese supplier to be blended before shipping, or at other
 times, Choice would add the proprietary lubricant at its Alpharetta facility once it received the pre-
 blended product. Choice would then sell the finished HFC blend products, such as Choice® R-
 421A, to various U.S. distributors for wholesale and retail sales in the refrigerant market.

         C.   Allowances Must Be Allocated to Producers/Importers of HFC Blends, Not to
         HFC Components Importers

         Section 103(e)(3) of the AIM Act directs EPA to phase down production and consumption
 of regulated HFCs “through an allowance allocation and trading program.” Nothing in the statute
 dictates any particular method for allocation of allowances; however, under general rules of
 administrative law, any system that EPA adopts must be consistent with the statute and rationally
 supported by data and policy considerations. Although Congress chose to establish a baseline for
 HFC reductions (i.e., the “cap”) based on the years 2011-2013 (which is the same approach taken
 in the Kigali Amendment to the Montreal Protocol), EPA is not directed by the statute to use this
 three-year period as a reference point for allowance allocations. Similarly, to the extent that EPA
 chooses the 2011-2013 period as the allocation baseline (to the extent the agency could articulate
 a rational basis for doing so), the statute does not dictate any particular method of selecting
 recipients of allocations.

         EPA previously published a notice of data availability (“NODA”) that identifies importers
 of HFCs during the 2011-2013 period based on self-reporting through EPA’s GHGRP. 6 EPA
 suggested that this data might be used as a basis for allocation of HFC allowances under the AIM
 Act. This data, however, reflects only the reporter of HFC as a supplier of U.S. imports, which is
 not necessarily the entity that actually used or consumed the HFCs in the U.S. market. For
 example, an importer may import HFCs as blending components for a customer that then blends
 the components into the product that is actually sold in commerce. During the 2011-2013 period
 (almost a decade ago) those parties may not have had an express written agreement as to future
 allowances, as no legislation was anticipated at that time. In other situations, the importer of record
 for customs purposes may be acting as an agent for a customer who would be considered the actual
 user or consumer of the imported HFCs. In either situation, if EPA determines that the underlying
 rationale for allocating allowances is to reflect actual market share of the U.S. refrigerants market
 during the 2011-2013 period, allocating allowances merely on the basis of what company is listed
 as the GHGRP reporter or customs importer of record would distort the allocation scheme, as the
 actual consumer of the HFC product would not receive allowances, and the importer would receive
 an unwarranted windfall. These concerns are particularly heightened in the case of patented HFC
 products, for which importers of HFC components would have no legal license to manufacture or
 import a patented product except when acting on behalf of, or with the permission of, the patent
 holder. Where an allocation system is based on market share, it is incumbent on EPA to look to

 22D), Genetron® Performax™ LT (R–407F), Choice® R–421A, and Choice® R–421B.”).
         6
           Notice of Data Availability Relevant to the United States Hydrofluorocarbon Baselines and Mandatory
 Allocations, 86 Fed. Reg. 9,059 (Feb. 11, 2021), EPA–HQ–OAR–2021–0044; FRL–10020–30–OAR.




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the reality behind the data to identify the companies with actual market share, not just blindly apply
data that were collected for other purposes.

        Applied to this particular situation, it would be fundamentally unfair to require Choice to
hold allowances for its continuing importation of pre-blended Choice® R-421A product, but to
give free allowances to a different entity (the distributor) based on its arranger role which
terminated years ago. In contrast, allocating allowances to the producer of HFC blends accords
with the AIM Act’s focus on what company is using HFCs in the marketplace, rather than on what
company supplied the chemical feedstocks from which the HFC was produced. As discussed, EPA
cannot require allowances for HFC blends except within the parameters of §103(c)(3)(B) of the
Act, which refers to HFCs “within” HFC blends.

        Other sections of the AIM Act similarly indicate that Congress intended allowances to be
allocated according to the ultimate user of HFCs, not necessarily to the party that nominally
imported HFC component feedstock. For example, §103(e)(4)(B)(iv) of the Act provides for
mandatory allocations of allowances to products used in particular applications such as metered-
dose inhalers, defense sprays, foams and other commercial uses. This focus on the commercial use
of HFCs supports an approach in which allowances for HFCs used in commercial HFC blends
should be allocated to the producer and owner of the HFC blend.

        The policy considerations are even more compelling when applied to the context of HFC
components that were imported as components of domestically produced HFC blends. As
discussed below, the statute expressly excludes listing of HFC blends as regulated substances. See
AIM Act §103(c)(3)(B)(i). If, notwithstanding this express limitation, EPA includes HFC blends
in the phaseout program by requiring allowances based on their constituent HFC components, then
the producer of HFC blends should receive production and consumption allowances as if the HFC
blends were themselves produced in the United States.

        This very real concern about a mismatch of allowance allocation and production of blended
products has historical roots in EPA’s Title VI ODS allocation system, which in certain instances
resulted in price spikes and unfair burdens on blend owners. As a particularly close to home
example, in the HCFC phaseout, EPA declined to provide allowances to Choice Refrigerants as
the producer of the patented blend R-420A, which is a blend of R-142b (a CFC component) and
R-134a (an HFC component). At the time, EPA assured Choice that there would be plenty of
supply of R-142b and that prices would not increase substantially as a result of the allocation
program. Yet, in reality, allowance shortages drove up the price of components such that the
blended product could no longer compete in the refrigerant market. Choice Refrigerants
encourages EPA to avoid the same mistake when designing the current HFC allowance allocation
system.




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        D.    Greenhouse Gas Reporting Data Is Not Necessarily Appropriate for HFC
        Allowance Allocation

         As EPA recognized in the February 2021 NODA, the purposes of the GHGRP are not
 identical to the purposes of the AIM Act, although there is some overlap. EPA describes the NODA
 as reporting “information . . . regarding hydrofluorocarbon consumption and production in the
 United States for the years 2011, 2012, and 2013.” 86 Fed. Reg. at 9,059. EPA stated that the
 purpose of providing the information was “in preparation for upcoming regulatory actions under
 the [AIM Act].” Id. However, the data in the NODA is actually greenhouse gas reporting data,
 which is not necessarily the same as consumption and production data as those terms are used in
 the AIM Act. For the reasons discussed above, the company listed as the reporter for purposes of
 the GHGRP is not necessarily the party that should be considered to be the importer or producer
 of HFCs for purposes of allowance allocations, particularly as applied to HFC blends.

         Accordingly, for purposes of the AIM Act, if EPA decides to regulate HFC blends for
 purposes of setting baselines or allocating allowances, producers/importers of HFC blends
 (particularly patented HFC blends) should be considered the primary market actors for purposes
 of regulation and should receive any allocation of HFC allowances.

 II.    EPA Must Issue Allowances to the Patent Holder for Imports of Patented HFC
        Blends or Components Used to Blend Patented HFC Blends, Not to Intellectual
        Property Pirates

         As noted, Choice Refrigerants, is an American small business based in Alpharetta, Georgia
 that produces patented environmentally preferable HFC blend refrigerant products. One of our
 products, Choice® R-421A, has been “pirated” by Chinese-backed refrigerant importers and other
 market actors that have acted illegally. To the extent that EPA decides under the AIM Act to
 require producers or importers of HFC blends like Choice® R-421A to hold allowances on the
 basis of the HFC components “within” those blends, 7 any allowances attributable to HFC
 components that were used to produce pirated versions of R-421A must be allocated to Choice
 Refrigerants as the owner of the patented product. Handing allowances to sellers of pirated
 versions of products would magnify the economic damage to U.S. intellectual property interests
 wreaked by Chinese-backed companies, contrary to the stated policy of Congress and the last
 several presidential administrations.

         The following imports of non-patented R-421A, as well as blending components R-125
 and R-134a used to blend non-patented R-421A, should be credited to Choice Refrigerants under
 any allowance allocation and trading system. As noted, Choice Refrigerants is the only licensed
 producer of R-421A under U.S. law; moreover, Choice Refrigerants is the only producer to have
 been issued SNAP approval for R-421A and the SNAP approval was based on a data set submitted



        7
            AIM Act §103(c)(3)(B).




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solely by Choice Refrigerants. Allowances associated with the following imports of R-421A or
components used to manufacture pirated R-421A are by right allocable to Choice Refrigerants:

        1.     BMP Imports. All allowances associated with R-421A imported by LM Supply,
Inc., Cool Master USA, LLC, BMP USA, Inc., or other affiliated companies controlled by or under
common ownership of Ben Meng should be credited to Choice Refrigerants. This category
includes at least 1,410,944 pounds of R-421A known to have been imported by BMP and its
affiliates in the 2016-2017 timeframe. These imports represent 1,855,391 tons CO2e (at
GWP/Exchange Value of 2,630) [(1,410,944/2000)*2630=1,855,391] for purposes of computing
HFC phasedown allowances under the proposed allowance allocation and trading system. This
pirated R-421A was imported illegally without a license and was used by Meng-controlled
companies to circumvent U.S. antidumping laws, as determined in an official government
investigation by the U.S. Department of Commerce, which found that the R-421A imported by
Meng-related companies was non-patented and was used to circumvent antidumping duties on
HFC blends. 8

      2.       Dynatemp “R-421A” Product. All allowances associated with HFC blend product
labeled as R-421A produced by Dynatemp International, Inc. and/or FluoroFusion Specialty
Chemicals, Inc., including any blending components imported to blend such R-421A products,
should also be credited to Choice Refrigerants. Beginning in or about 2019 or 2020, these
companies began producing and selling a product claimed to be “R-421A”, but which is neither
patented by them nor licensed to them and is infringing U.S. patent rights. 9 The amount of R-421A
produced by these companies is not known at this point, but EPA can determine the amount
through customs records, GHGRP data, and information requests directed at those companies.

        In sum, EPA must not implement the AIM Act in a manner that allows companies that
flagrantly violate American patent rights to receive economic windfalls from their illegal actions
while American inventors and patent holders bear the economic burden. EPA’s decisions on
allowance allocation may, quite literally, mean life or death for small businesses like Choice
Refrigerants who have their intellectual property stolen.

III.    EPA Must Adjust Allowance Allocation for Market Distortion

        EPA has proposed to allocate HFC consumption allowances on the basis of imports of
HFCs into the United States during a designated period of years and has indicated its preference
to use a high-water mark approach across the years 2017-2019. 10 EPA describes its rationale for

        8
          See Hydrofluorocarbon Blends From the People’s Republic of China: Final Scope Ruling on Unpatented
R-421A; Affirmative Final Determination of Circumvention of the Antidumping Duty Order for Unpatented R-421A,
85 Fed. Reg. 34,416 (June 4, 2020).
        9
           See Complaint, R421A LLC v. Dynatemp Int’l, No. 20-cv-00142 (E.D.N.C. July 27, 2020); see also Choice
Refrigerants, Hydrofluorocarbon Blends from the People’s Republic of China: Request to Apply Tariff Act § 781(a)
and (d) to Prevent Circumvention; Later-Developed HFC Blends, dated Sept. 9, 2020 (Barcode # 4024206-01).
        10
           Proposed Rule, 86 Fed. Reg. at 27,170 (“EPA is proposing that under this initial framework, the amount
of allowances to allocate to producers and importers would be determined based on the level of production and import




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 this approach as using import data as a proxy for market share in the U.S. HFC markets in order
 to allocate allowances to market participants in proportion to market share. See, e.g., 86 Fed. Reg.
 at 27,170 (“EPA is proposing that under this initial framework, the amount of allowances to
 allocate to producers and importers would be determined based on the levels of production and
 import in 2017-2019 . . . Every company’s highest year amount [of production or import] would
 then be added together and used to determine a percentage market share for each company. EPA
 proposes to then multiply each company’s percentage market share with the total amount of
 available calendar-year allowances to determine each company’s production or consumption
 allowances.”) (emphasis added).
         We are generally supportive of an allowance system that allocates based on market share
 over a period of years, as Congress was surely aware that EPA had successfully used a similar
 system for phaseout of HCFCs and CFCs under the Clean Air Act. However, imports of HFCs into
 the U.S. have been heavily affected by trade distortions, including dumping of HFCs by Chinese
 companies, circumvention of trade duties, subsidies by the Chinese government and manipulation
 of markets by certain importers, all of which have artificially increased imports by certain
 companies. As a consequence, the raw import data that EPA would normally be able to rely on is
 not an accurate proxy for market conditions, market activity, or market share for all companies.
         These trade distortions began as early as 2015 but grew more pronounced over the years
 and reached a crisis level by the 2018-2019 timeframe. If EPA selects years for its allocation
 system that were affected by trade distortions, it is incumbent on EPA to adjust the import data for
 each market participant to reflect the level of imports that would have occurred in absence of the
 trade distortion. Although it might be inconvenient for EPA to conduct the investigation and
 auditing needed to correct for these market distortions, the evidence of these practices ‒ as
 established through U.S. government investigations and record evidence before the agency ‒ is so
 glaring that EPA cannot blind itself to these distortive effects. Only by using recent market data,
 but adjusting the data to correct for market distortion, can EPA achieve the goals that it identifies
 in the proposal: (1) to provide a seamless transition; (2) to promote equity and fairness; and (3) to
 base the system on robust data. 86 Fed. Reg. at 27,169. To ignore the market distortions brought
 to EPA’s attention by various stakeholders would be inconsistent with EPA’s obligations under
 administrative law to act rationally, consider all factors, and explain its reasoning.
         A.       EPA Should Adjust Import Data In Light of Market Manipulation

        EPA has recognized the existence of market distortions and proposed to take these into
 consideration, although it does not specify in the proposed rule how it will adjust for the distortion.
 As EPA states in the proposed rule preamble:
         EPA is proposing that any entity that is subject to a DoC Final Determination and
         is requesting allowances for 2022 or 2023 must provide documentation of payment
         of the AD/CVD for HFC imported in 2017 through the date of this proposed rule,

 in 2017-2019. Specifically, EPA is proposing to use a company’s highest year of production or import, on an EVe
 basis, in those years.”)




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        or provide evidence that those imports were not required to pay AD/CVD for those
        years. EPA is proposing not to allocate to companies in 2022 or 2023 that CBP
        determines are not in compliance with or are otherwise in arrears with their
        AD/CVD during those years. After an entity is issued allowances, if it is subject to
        a DoC Final Determination and does not pay the required AD/CVD within the
        required time frame, as determined by CBP, EPA proposes that the company may
        have its allowances for that year revoked or retired, or may not be issued future
        allowances or may receive a reduced allocation. EPA proposes that it could, after
        consulting with CBP, also ban a company from receiving allowances in the future
        as a result of noncompliance with the regulations governing payment of AD/CVD.
        EPA is also proposing that the Agency would have the discretion to revoke, retire,
        or withhold allowances for companies that fail to use the correct Harmonized Tariff
        Schedule (HTS) codes with each shipment of HFCs or HFC blends. Intentionally
        misdeclaring the HFC or HFC blend in a shipment is one way importers may
        attempt to illegally import HFCs without allowances or with fewer allowances.
 86 Fed. Reg. at 27,186. Although EPA’s proposal to link allowance allocation to payment of trade
 duties on a company-by-company basis is on the right track, in order to correct for trade distortion
 EPA must better understand how certain companies have skirted, gamed and circumvented trade
 laws and taken advantage of the limitations of the trade laws to artificially increase imports that
 EPA is using as the basis for consumption allowance allocations.
         The history of market distortion in the U.S. HFC market is extensive and well-documented
 and has manifested in various schemes that have distorted the market by artificially increasing
 imports for some market participants, which would reward wrongdoing if allowances are allocated
 based on import data without adjustment for market distorting behaviors and unfair advantages.
 These various schemes that artificially increased imports by some companies, at the expense of
 others, are described below.
        B.      Dumping and Countervailing Subsidies

         It is well documented and incontrovertible that certain importers and their affiliates (which
 in some cases are owned or controlled by large Chinese chemical companies) unfairly and illegally
 increased their imports through a variety of schemes, including dumping in contravention of U.S.
 trade laws, circumvention of trade duties, and sharp business practices, all of which enabled those
 companies to sell HFCs in the U.S. market at artificially low prices and increase their own imports
 while strangling imports of other market participants.
         The U.S. government has found that beginning in about 2015 and accelerating throughout
 the 2018-2019 period, Chinese exporters and certain affiliated importers took advantage of trade
 policies in China that encouraged and rewarded dumping of HFCs into the U.S. market in order to
 undermine free market pricing and build Chinese export market share in advance of an anticipated




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 phasedown of HFCs in the United States. 11 This serious dumping activity involving a range of
 HFC chemicals has been documented in official findings of the U.S. Department of Commerce
 (“Commerce”) and the U.S. International Trade Commission (“ITC”). These findings include
 unfair dumping of HFC blends (specifically, R-404A, R-407A, R-407C, R-410A, and R-507A), 12
 as well as dumping of HFC chemical components R-134a, 13 R-32, 14 and R-125. 15 Each of these
 chemicals have significant global warming potential, ranging from 675 to 3500. The degree of
 dumping is and continues to be so severe that the U.S. government imposed antidumping duties as
 high as 285% to counteract the market distorting effect of this anti-competitive market behavior. 16
         Another way that certain importers have gained an unfair market advantage is receiving
 government subsidies from the government of China. For example, the Commerce Department
 found after an extensive investigation that Chinese chemical companies such as Zhejiang Juhua
 Co., Ltd. (“Juhua”) received Chinese government subsidies which allowed them to sell HFC-125
 at below market prices, thus injuring the U.S. economy. 17 Juhua is the parent company of a
 prominent HFC importer that presumably will claim allowances under the proposed HFC
 allocation system. 18 This particular importer recently disclosed that it increased its market share
 of the U.S. HFC market from zero to 50% in only a few years, a distortive shift which is
 implausible without unfair advantage. 19 Other importers have been found to have received
 subsidies warranting 291% additional duties to counteract the illegal foreign government

         11
           EPA has acknowledged in its rulemaking proposal the concern that “[t]o reward such behavior could harm
 companies that were already participating in the market.” Proposed Rule, 86 Fed. Reg. at 27,170.
         12
            Hydrofluorocarbon Blends from the People’s Republic of China: Antidumping Duty Order, 81 Fed. Reg.
 55,436 (Aug. 19, 2016).
         13
             See 1,1,1,2 Tetrafluoroethane (R-134a) From the People’s Republic of China: Final Determination of
 Sales at Less Than Fair Value and Affirmative Determination of Critical Circumstances, in Part, 82 Fed. Reg. 12,192)
 (March 1, 2017) (Barcode # 3547518-01).
         14
           See Difluoromethane (R-32) From the People’s Republic of China: Antidumping Duty Order, 86 Fed. Reg.
 13,886 (March 11, 2021) (Barcode # 4097862-01).
         15
             See Pentafluoroethane (R-125) from the People’s Republic of China: Preliminary Affirmative
 Countervailing Duty Determination and Alignment of Final Determination with Final Antidumping Duty
 Determination (June 14, 2021) (C-570-138) (Barcode # 4132385-01) (“R-125 Preliminary CVD Determination”).
         16
           Hydrofluorocarbon Blends From the People’s Republic of China: Final Results of the Antidumping Duty
 Administrative Review and Final Determination of No Shipments; 2016—2017, 84 Fed. Reg. 17,380, 17,381 (Apr. 25,
 2019) (Barcode # 3825161-01).
         17
            See R-125 Preliminary CVD Determination at 4; see also Decision Memorandum for the Preliminary
 Determination of the Countervailing Duty Investigation of Pentafluoroethane (R–125) From the People’s Republic of
 China, dated June 11, 2021 (“R-125 PDM”).
         18
             See R-125 Preliminary CVD Determination at 5 n.10 (“Commerce has found the following companies to
 be cross-owned with [Zhejiang Quzhou Juxin Fluorine Chemical Co., Ltd. (“Juxin”), a mandatory respondent in the
 investigation]; Juhua Group Corporation; Zhejiang Juhua Co., Ltd.; Ningbo Juhua Chemical & Science Co., Ltd.;
 Zhejiang Quzhou Fluoxin Chemicals Co., Ltd.; and Zhejiang Juhua Chemical Mining Co., Ltd.”); Zhejiang Juhua Co.,
 Ltd. 2018 Annual Report (disclosing joint venture ownership of iGas USA Inc.) (Attachment A).
          See iGas USA, Inc., Notice of Data Availability Relevant to the United States Hydrofluorocarbon Baselines
         19

 and Mandatory Allocations (Feb. 25, 2021) (EPA-HQ-OAR-2021-0044-0029) (“iGas NODA Letter”).




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support. 20 These importers will likely claim a share of allowance allocations on the basis of their
artificially increased market shares.
        Notwithstanding that Commerce has taken action on a number of illegal dumping and
subsidy schemes, it is not sufficient for EPA to only consider trade distortion schemes that were
actually discovered and addressed by the Department of Commerce because the trade remedies
available have been inadequate to restore balance to the U.S. HFC market. In the rulemaking
proposal, EPA is proposing to only take cognizance of schemes that resulted in “payment of the
AD/CVD of HFC imported in 2017 through the date of this proposed rule” and where the party
failed to pay the amount owed. 86 Fed. Reg. at 27,186 (allowances withheld if company is “not in
compliance with or are otherwise in arrears with their AD/CVD during those years”). EPA’s
approach would be insufficient for several reasons. First, government investigations and findings
of antidumping or countervailing subsidies are by nature after-the-fact proceedings, which result
only after the distortive behavior occurs. An investigation typically begins when an injured U.S.
stakeholder petitions for a proceeding. Usually duties are only imposed prospectively on the
cheaters after the Commerce Department initiates an investigation, and there is no standard
retroactive remedy or correction for the effects on the market of anti-competitive behavior that
occurred prior to the preliminary determination. 21 Second, many cheating schemes go undetected,
even if they involve avoidance or circumvention of tariffs or duties. Third, neither the Commerce
Department nor apparently any other agency is screening HFC imports for schemes that involve
anti-competitive pricing. In other words, Commerce only investigates imports that fall within the
traditional pigeon-hole of antidumping or countervailing subsidy investigations, not those
involving unfair business practices, collusion or intellectual property theft. In the HFC markets,
the Commerce Department has looked at sales by exporters generally but has never investigated
how certain importers were able to access unrealistically low HFC pricing in the 2017-2019
timeframe, i.e., pricing that anecdotally undercut the HFC market and which most other U.S.
importers could not access (or even dream of). As discussed, this pricing disparity enabled certain
companies to dramatically manipulate pre-existing import levels and market shares. Yet this effect
on the HFC market apparently has never been investigated by the Commerce Department, Customs
and Border Patrol, or EPA. Ignoring illegal trading schemes because they have gone unpunished
would be like giving a refund to tax dodgers who cheated on their taxes but were never audited or
didn’t get caught during the 3-year statute of limitations.


        20
             Preliminary R-125 CVD Determination at 5.
        21
            See, e.g., 19 C.F.R. § 351.205(d) (Commerce will require posting of cash deposits only after affirmative
preliminary determination months after initiation of an antidumping investigation). Thus, EPA’s memorandum of
antidumping and circumvention proceedings in the docket is helpful but is in some respects inaccurate or seems to
misunderstand the available trade remedies and severity of the market distortion that can be caused by cheating
schemes. For example, EPA’s statement that “CBP will collect duties retroactively” is misinformed because
Commerce will only impose retroactive duties for a brief period of 90 days prior to an affirmative finding in the
unusual situation of finding critical circumstances under its regulations. See EPA, Summary of Antidumping and
Countervailing Subsidy Duties Concerning Hydrofluorocarbon (HFC) Imports to the United States (Apr. 2021) (EPA-
HQ-OAR-2021-0044-0046) at 4 (citing 19 C.F.R. 351.206). In reality, Commerce rarely finds critical circumstances
and in all cases any HFC imports before that brief 90-day period get away scot-free.




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          C.      Circumvention Schemes

         Although the U.S. government has attempted to staunch the flood of illegal imports of
 HFCs into the U.S., certain importers devised various circumvention schemes to dodge import
 duties. Such circumvention ploys have included importing pirated versions of patented HFC
 blends, 22 imports of intentionally off-specification chemicals, 23 imports of HFCs processed or
 transshipped through other countries, 24 and imports of HFC components used to blend covered
 HFC blends, all of which were found by the government to be schemes to avoid paying duties on
 Chinese imports. 25 In each of these circumvention cheating cases, specific companies were
 identified that engaged in prohibited behavior to avoid duties and thereby gained market advantage
 over importers that abided by U.S. trade laws. However, like the antidumping and subsidy cases,
 no retroactive correction of the market distortion was taken by the government. However, EPA
 can easily identify these importers from Commerce Department investigative files and can request
 information from these importers that will show how these companies artificially increased their
 HFC imports by undercutting pricing in the U.S. market.
          D.      Other Market Manipulation Schemes

          In addition to trade violations, certain importers have also used other stratagems to
 artificially snatch market share away from incumbent market participants. For example, in a

          22
             See Hydrofluorocarbon Blends From the People’s Republic of China: Final Scope Ruling on Unpatented
 R-421A; Affirmative Final Determination of Circumvention of the Antidumping Duty Order for Unpatented R-421A,
 85 Fed. Reg. 34,416 (June 4, 2020). In this particularly brazen cheating scheme, the Commerce Department
 investigation found that certain importers imported over a million pounds of an unpatented version of the HFC product
 R-421A and secretly used that product to blend other HFC blend products that were covered by a 285% import duty.
 The Commerce Department found that this behavior constituted circumvention of the HFC Blends antidumping duties.
 By illegally avoiding these duties, these companies gained an immediate unfair economic advantage in the HFC
 market that facilitated their sales at lower prices than any other company could match, thus allowing those companies
 to unfairly build market share. This scheme increased their imports of HFCs, as reflected in customs records and
 EPA’s greenhouse gas reporting system, while lowering imports by other law-abiding importers.
          23
           See Hydrofluorocarbon Blends from the People’s Republic of China: Affirmative Final Determination of
 Circumvention of the Antidumping Duty Order; Unfinished R-32/R-125 Blends, 85 Fed. Reg. 15,428 (Mar. 18, 2020)
 (Barcode # 3955044-01).
          24
            See Hydrofluorocarbon Blends from the People’s Republic of China: Final Negative Scope Ruling on
 Gujarat Fluorochemicals Ltd.’s R-410A Blend; Affirmative Final Determination of Circumvention of the Antidumping
 Duty Order by Indian Blends Containing Chinese Components, 85 Fed. Reg. 61,930 (Oct. 1, 2020) (Barcode #
 4035170-01).
          25
             See Hydrofluorocarbon Blends from the People’s Republic of China: Affirmative Preliminary
 Determination of Circumvention of the Antidumping Duty Order for HFC Components; and Extension of Time Limit
 for Final Determination, 85 Fed. Reg. 20,248 (Apr. 10, 2020) (Barcode # 3963390-01); Anti-Circumvention Inquiry
 of Antidumping Duty Order on Hydrofluorocarbon Blends from the People’s Republic of China-HFC Components:
 Final Determination Not to Include Within the Scope of the Order, 85 Fed. Reg. 51,018 (Aug. 19, 2020) (Barcode #
 4017378-01). Although in this proceeding the Commerce Department ultimately did not include HFC components in
 the HFC Blends antidumping order because of an objection by the ITC relating to the ability of the U.S. government
 to remedy the illegal behavior, the Commerce Department’s factual finding that certain companies circumvented the
 antidumping duties still stands. The ITC’s objection is on appeal to the Court of International Trade, which remains
 pending. The American HFC Coalition, and its Members et al v. United States (1:20-cv-00178-LMG).




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 federal lawsuit filed in Florida, a major Chinese supplier of HFCs has alleged that certain importers
 ran up over $70 million in unpaid accounts payable debt for imports of HFCs during the 2017-
 2018 timeframe. 26 By importing HFCs but bilking suppliers out of payments, importers can
 artificially lower their cost of doing business and afford to sell more refrigerant at below-market
 prices, thus leading to more market share and more imports, in an unending vicious circle of unfair
 market advantage. In such a situation, even if an importer is sued and eventually has to repay the
 debt, the importer has already achieved its anti-competitive goal of importing cheap HFCs
 (because they didn’t have to pay for the product), undercutting market pricing, and grabbing
 market share. If the allegations in the T.T. International lawsuit are true, the importers named in
 that suit essentially got a free (non-consensual) $70 million subsidy by Chinese exporters that no
 other U.S. importers had access to. As a result, these importers were able to artificially inflate
 their imports. EPA cannot in good conscience reward such behavior by using those distorted
 import volumes as a basis to allocate valuable HFC allowances.
          E.       Unexplained Capture of Market Share

         Certain companies in the U.S. market dramatically increased their market share of HFC
 imports since 2016, which raises red flags that EPA should not ignore. Not coincidentally, many
 of the companies that disproportionately increased market share are the same companies that were
 identified by the Commerce Department as benefiting from unfair trade practices. For example, in
 a recent letter to EPA, one group of companies boasted that “through an intense commitment to
 customer service, new and innovative equipment, and lean operations . . . now supplies over 50%
 of the aftermarket refrigerants in the United States and a significant percentage of refrigerant sales
 to original equipment manufacturers.” 27
        The U.S. market for HFCs is very much a commodity market that is driven primarily by
 marginal price differentials. It is implausible that any company could enter the market and in only
 a few years capture 50% market share without having some economic advantage that is unavailable
 to the market generally. Incidental factors such as customer service and lean operations cannot
 explain this distortion of the market. Similarly, the equipment used in the HFC market is well
 understood and generally available to any market participant. The companies that boasted about
 capturing market share have not disclosed the nature of such supposed innovative equipment that
 could explain such an economic advantage. Notably, these companies were targets of two of the
 circumvention schemes investigated by the government.
        Before awarding valuable allowances to companies that have increased market share in a
 manner that is inconsistent with market trends and economically implausible without the help of
 unfair market advantages, EPA must undertake an economic evaluation to determine if such a

          26
            Complaint, T.T. International Co. Inc. v. BMP International Inc. et al., No. 8:19-cv-02044 (M.D. Fla., filed
 Aug. 16, 2019) ¶ 59 (“Defendants failed to pay T.T. in excess of $70 million that remains outstanding for refrigerants
 and related products” in the 2017 to 2018 timeframe”) (Attachment B).
          27
             iGas NODA Letter at 1. The letter states that it is “submitted on behalf of iGas USA Inc. (“iGas”) and its
 affiliated companies BMP USA Inc., BMP International Inc., LM Supply Inc., and Cool Master USA, Inc.”




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startling jump in market share can be explained, substantiated and justified. In short, sometimes
what seems too good to be true is not true.
       F.      EPA Must Adjust for Market Distortion in Any Allowance System

        Although the U.S. government has tried to respond to these widespread anti-competitive
schemes by imposing antidumping duties prospectively, the nature of our trade laws unfortunately
does not remedy retroactive damage to competitors that distorts import levels and market share.
In the antidumping and circumvention cases, the damage has already been done in the critical sense
that importers who took advantage of dumping or dodged duties through circumvention were able
to import HFCs at discounted cost, then sold those HFCs into the U.S. market at discount prices.
Through these schemes, those importers increased their own market share while undermining the
market share of other market participants. Indeed, in many instances, the economics of the market
forced legitimate companies that would normally import directly from China from above-board
suppliers to become downstream buyers of HFCs from the companies identified by the government
as having gained an unfair economic advantage from dumping, subsidies or circumvention. In
short, while certain companies increased their imports through questionable means, other
companies unfairly suffered a decrease of imports.
        Overall, the activities documented by the Commerce Department had the effect of
distorting import data such that, without proper adjustment, import data cannot be used as a reliable
proxy for market share. EPA simply cannot use the unadjusted import data for purposes of
allocating allowances without unjustly rewarding certain companies that engaged in unfair trade
practices or received subsidies from the Chinese government. Put simply, if the EPA were to
allocate HFC allowances on raw import data, without adjusting for this documented and obvious
market distortion, it would be rewarding Chinese-affiliated exporters and importers or companies
who have access to special pricing or subsidies from Chinese connections or that engaged in unfair
business practices. EPA may not have authority to enforce trade laws or police business practices,
but it does not have to reward market manipulators with valuable allowances.

IV.    EPA Has No Clear Authority to Require Allowances for HFC Blends

        As noted, §103(c)(3)(B)(i) of the AIM Act prohibits EPA from designating HFC blends as
regulated substances “for purposes of phasing down production or consumption of regulated
substances.” Accordingly, on its face the statute does not authorize EPA to require producers or
importers of HFC blends to acquire or hold allowances. The subsequent sub-section,
§103(c)(3)(B)(ii), states that the prohibition on designating HFC blends “does not affect the
authority of the Administrator to regulate under this Act a regulated substance within a blend of
substances.” By its plain language, subsection (ii) is not itself a grant of regulatory authority, but
rather clarifies that any other authority of EPA to regulate is not diminished by subsection (i).




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 Subsection (ii) does nothing more than preserve EPA’s ability to regulate HFC blends in ways
 that do not implicate “phasing down production or consumption.” 28

         Subsection (ii) cannot permissibly be interpreted as a separate grant of authority to EPA to
 require allowances for HFC blends based on the chemical feedstocks that were used to produce
 those HFC blends before the products were imported into the United States. Such a strained reading
 of subsection (ii) is neither logical nor grammatical, as it would gut subsection (i) and would allow
 EPA for all practical purposes to treat HFC blends as regulated substances, which is exactly what
 subsection (i) prohibits. If Congress had intended for EPA to require allowances for HFC blends,
 it could have ‒ and arguably would have ‒ so stated in clear simple language, such as ‘EPA may
 require allowances for regulated substances within a blend of substances.’ Instead, Congress chose
 to specifically prohibit EPA in subsection (ii) from designating or regulating blends for phase-
 down purposes, while leaving intact EPA’s authority to regulate HFC components for purposes
 other than the HFC phasedown. EPA must interpret the statute with reference to the plain language
 that Congress chose in the context and grammatical structure that Congress wrote.

          HFC blends are chemical mixtures created by physically combining component HFCs into
 a new product that has unique physical chemical properties, including being an azeotropic mixture
 in which the gaseous components physically interact to create new behaviors. 29 HFC blends cannot
 be easily separated back into their component feedstocks without complex fractionation
 equipment. For all practical purposes, an HFC blend is an entirely different substance than the
 chemical components from which it was manufactured. The original HFC feedstocks that were
 used to manufacture the blend lose their individual identity and become part of a new substance,
 just as sugar, flour and water mixed together become a cake or cookie and lose their identity as the
 original ingredients.

         Even if EPA interprets §103(c)(3)(B) of the Act as authorizing EPA to require allowances
 for HFC components “within” HFC blends, as discussed in Part I above, it would be fundamentally
 unfair to allocate allowances to suppliers of HFC components while requiring producers/importers
 of the HFC blends themselves to hold allowances. This mismatch would be inconsistent with the
 statutory reference to a “regulated substance within a blend of substances,” which implies (if not
 dictates) that the regulatory focus should be on the HFC substances in its state of being “within” a
 blend, not as a feedstock component which is physically incorporated into a new HFC blend
 product and loses its original identity. EPA should not interpret the Act in a manner that creates a
 situation where one party in the supply chain receives an economic windfall and another party



          28
             One example of EPA’s authority to regulate HFCs, other than requiring allowances for listed regulated
 substances, is EPA’s authority in §103(d) of the Act to require monitoring and reporting of HFC blends imports.
          29
            See, e.g., Oxford Dictionary of Physics (8 ed.) (definition of azeotrope); see also Air Conditioning, Heating,
 & Refrigeration Institute, Blends 101: an introduction to refrigerants (“Azeotrope: a blend that behaves like a single
 component refrigerant. When a blend forms an azeotrope, it displays unique and unexpected properties.”)
 (https://www.achrnews.com/articles/82752-blends-101-an-introduction-to-refrigerants).



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            bears the economic burden based on market activity nearly a decade ago.


                                                  * * *
                    In sum, Choice Refrigerants supports EPA's approach to establishing an allowance
            allocation system for phasedown of HFCs, provided that the system takes into consideration the
            important issues discussed above. Choice Refrigerants appreciates the opportunity to comment
            on this proposal. If you have any questions, please contact me at (770) 777-0597 or
            choice.refrigerants@gmail.com.




                                                      z;;;�
                                                       Kenneth Ponder
                                                       President
            Attachments

            cc:    Christopher Grundler, Director, Office of Atmospheric Programs
                   Cynthia Newberg, Director, Stratospheric Protection Division




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                                Attachment A
                 (Zhejiang Juhua Co., Ltd. 2018 Annual Report)




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         Barcode:3858922-01 A-570-028 CIRC - Anti Circumvention Inquiry - PUBLIC
                                                                           HFC Components
                                                                                  VERSION
 The Honorable Wilbur L. Ross, Jr.
 July 10, 2019
 Page 4.


  Imports LLC and EDX, are importing on behalf of iGas.9 Both TTI and Lianzhou were

  respondents in the original antidumping duty investigation and continue to export HFC

  components to iGas, BMP, or their affiliates.10 In addition, Juhua (aka “Quhua”) is a Chinese

  producer and supplier of TTI11 as well as an affiliate of iGas, as evidenced by Juhua’s 2018

  annual report.12

            Based on the evidence of the conduct by these specific companies, Commerce can either

  make a company-specific finding of circumvention or establish a broader country-wide finding

  to prevent circumvention in the future.

            Second, Commerce should establish a period of investigation ending May 31, 2019. This

  anti-circumvention proceeding was initiated June 18, 2019. As shown by the statistics included

  in the Circumvention Allegation, imports of HFC blends into Tampa (iGas’s address) were

  surging through the end of 2018. In 2019, Census statistics indicate that these imports continue




  9
   Exhibit 1 (indicating Golden G Imports LLC and EDX are importing HFC components
  destined for iGas, as shown by [
                                   ]).
  10
       See Circumvention Allegation at Exhibit 2.
  11
    See 1,1,1,2 Tetrafluoroethane (R-134a) from … China: Antidumping Duty Order, 82 Fed. Reg.
  18,422 (Apr. 19, 2017).
  12
     See Exhibit 2 (demonstrating Juhua recently made substantial investments in iGas) (excerpts
  translated).




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                               Exhibit 2




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                                              transportation and sale of
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        'T'~e1-tif;f;U_;~                I~           1-ti~*4.&tz:~
                                                                                         5,000. 00              8,012.62           3,374. 36       -237. 48
        :frll~01S'J                      ffitliili:   1:.f=lilii'!f
        'T~§:WFi~~lf                     n~ J'b       1-t.::C~~.&.F£
                                                                                         5,000.00           28,063. 64            11, 173. 32       859. 59
        ~0-a']                          '!1.~         ~~
        1l'ltrj·~l §:1-tlit!rt; fl      I it          c il'J M:/19:, £f c,~              102,067.00         94,316. 64            80,339.95     10,848.15
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        WfiT §::¥:1\1-t~                 .I~
                                                      mrx&b~.F- fflJ~                    USDL,200           31,394. 15            22,555. 73     7,850. 35
        lf~~~i'ij                        %U:QI
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                                                                                         3,000.00               1, 792.82          1,404. 72         -0.48
        t-f:!4ff~01i]                    11ltllrl     ~w; L,:I'Jii~::, ·r;'   li'i"W
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        WTIT~I:m It::f;f.t               I~           ~t:r~~~Ml~                         1,200.00                      0.00             0.00        -45. 44
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        If4~1H!.H~ ifJ           iM:ii!       ~

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        iGas CSAlnc                                                       USD2941. 17             11, 661. 58     19,571.19             - 595.87
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        wrrr{lfj-ti E:tfrm1-ti ::ff llR 0     ~                    214, 217. 99                    40,423. 18                31,194. 45
        'T'~ §:ititif4~ff~~0iil                                    211, 822. 82                    48,953. 84                41,019. 09
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      §ft~fn             300,5     184, 1                21,614                                                     506,26
      JHFFfllf;!         43, 75    12,00                 '237. 7                                                    9, 988.
      :a1f0"i'il           1. 19    0. 00                      9                                                         98
      itlfiili'Jst't-    2, 149                          - 243,8                                                    1, 905,
      E!M.JJ!:'ei        '040.                             17.42                                                    222. 76
      tl'JllFi=illlil         18
      0i'il
      <f16;t_:f'j-       389,9                           - 3,232    1, 250                                          388,01
      tHfl%!.0           99,84                           '319. 2    '380.                                           7, 904.
      iij                 4. 00                                 5       19                                               94
      ~~~*1              67,50                           -24,61     200,9                                           43,090
      :t~~( ljjii)       8,626                           9, 434.    37.47                                           • 129. 4
      lfll!H~lil           . 21                                24                                                          4
      tfdtt§lfrt         10,26               10,68       417, 05
      ~~I&~              4,381               1, 433         l. 48
      N~.g-1*              . 80                 . 28
      {E~(i'f
      ~il"fk)
      ...t~2'l~                    4,339                 3, 102,                                                    7, 441,
      ~1t~#>                       '200.                 356.08                                                     556. 08
      -H~0iil                          00
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      L'SA!nc                      7,000                 • 952. 1   92.28                                           '240. 0
                                     . 00                      9                                                          9
      +i.t               876,5     256, 7 10,68          - 246, 1   1, 865              4, 180,          - 50,90    1, 069,
                         96,40     68,20 I, 433            79. 03   • 202.              000.00           0, 878.    221,32
                          9. 68     0. 00   . 28                        37                                    53       l. 21
                         903,4     256, 7 10,68          - 246, I   1, 865              4, 180,          - 50,90    I, 096,     26,88
            *il·         76,40     68,20 1,433             79.03    '202.               000.00           0, 878.    101, 32     0,000
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      - , Y!!E ~   oo m
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         2. ;;t;:AA~JJO~®i                         42,001,038.36             2, 439, 581. 28                       44,440,619.64
          <t) 7H~J                                  7,697,038. 36                                                   7,697,038.36
              (2)       ;ff:J;'f\~/E·f'=\tE        34,304,000. 00                                                  34,304,000. 00
      ~I~ftA
        <3) ~~-8-~!IJ.m                                                      2, 439, 581. 28                        2, 439, 581. 28
             3. *WI~:J>~Wi
              (l)!l!::J!t
              <z) Jtfm~ w

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           7,   -*AA ~ ~4: (t.J-ftifiiit;i(5t£.&5fJ!~ f:§
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           9,   Jt-ftB
           o~m            .;7f~m
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                         0 /F~ffl


                                                                                               HJ:~~~;;f;:iE:
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           ~~~UJ                                     '!!f



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           J¥st·6HtJ:J 17 §it EB 1¥-.Jffi:ftliH!!l*!J!tF#:/D!:-T§-f-t~~-Wflllii.iE#F-17 §it EB :J'!!f:*l:H~:ft!J!tF~
           ~C~I7§-f-tEBfi<J~1tWRA~-~#~J:Jf6X~WA) , mM~-~~'§'J~IT.§-f-t~-W~

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           ~IT. II:HI:fro~[ -f-ti.l4li:fr ~~ 0         '51              *0'5J.i§iE:.'!If
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           5'      =*lf*3CSh 11i(£
            (1) . JWmitli Jh, !Q:{JtfU!£~'HHfl*~3C~
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           mrrr-~ § 1-ti1f~~ 0 EJ                        ~If¥,~~~                       515,518,739. 46 553, 853, 481. 63
            §1-tAtffi0 ~tt!fi?!!jjjlj1f~0i'i:l )e~, f~JIR~~~                            263,998, 048. 42 237,961,986. 10
           Wrir§f-t~~ifiiJ:il!i:1f~0~                    I~~~ , ~i!J:M*'-1-~             67,506,828.10     36,726,486. 37
           it1fh § 1-t1Lllf~N ~ 0 ~                      'Jt-;&1(                        65,446,3:3:3.35   66,284,099.72
           mrrr e 1-t1-titH41f~ 0 'a'J                   I~~~ , ~:tt~                    51, 214, 115. 33  14,618,386.65
            LI1-t~l~0cij~-{-t~~:tfllk!0 uj               t.tH-tm,      ~Vl~              36,646,253.99     43,537,992.92
           mrrr e 1tftl.751i ~~ 0        ~               it~?kt- E~:fj~                  23, 456, 011. 13  29,794,467. 80
           Wrtr§1-t4mmt~~~0if.l                          i?!~, -frfiU~ %~                 5,498,919.83      3,869,973. 74
           mrrr~ll\lifflWTtH-'I-1H~0 EJ                  t:rxJH PTFE ]I~'~                5,201,834. 21    14,506,069. 67
           J:#J § f-t~~~Jiif~0~                          mitt,   tJl:*~iiUR!i~            3,839,696. 85        166,337. 83
           Wrir§1-tif~1tiifllfl0~                        ~~;u.~~                          3,692,695. 79    60,613,224.82
           ~.ffl ~ll\3itttKfiJf1l: ~.%                   f&j~lj ~, f§iif.JR~9}            3,527, 097.08     1, 797,659. 25
           WriTT¥J1J IW}t'WJI:{JJI:ffl~ 0 EJ llilllll&*                                   3,389,502. 01     2,443,1 38.91
           e 1-tt!iJJ51:1HR0 ;;J             ~iiTIRG~                                     1,547, 169. 82
           mrrrfWirru~-=r:-~4~1f~0'al           ~({tit                                    1,497,432. 00
           Wrl"U-'1-~~~.Jl~ ?l§-ii!Jfl"f~ 0-ffJ ftt 1!ffj)!WJ W1fl-       nf* ~              639,622. 64
           ~~mff:tl-'1- (~j·li) ~II!R 0if.l              7'\3lie• •ii                        436,068.38        670,016.56
           Wrir~L?Hile1-t~1f ~rR 0           'fiJ        fi~&t, k£Ml~                        354, 128.21
           mrrre 1-t~lll-m:tl:lo1i~~rR0'fl1              1-timi*'-1-                         309,860. 68    3, 802, 921. 92
           rtrrrr e 1-ttll.iE WT:tf f'-ffHrR ?~if.!      1t T~*'-1-                          2R7, 14!1. 21  I, 07R, RRR. R9
           §1-t~ffi 0~ I ~:fillfl0~                      1~J!I!.Jt~                          159,262. 04   40,264, 778. 00
           WrDJi!J;r-lF'f\~*Hi~ llti! 0 ~                15l* ltfwJR&*                        61,320.76
           MIT.$IT.~ttJ&-17}1f llfl0 f;fJ                15l#~tlmn~*                          55,660.38          2, 564. 11
           Mil~ 1·1
                  ·1    e*   ~;M11·1lfl0oJ          tl~¥.'1~                                  53, 070.32
           mfiT.IWi9:1.t1f~~ 0~                     15l*1f§W1RG%-                             37,735. 85    1, 149, 260. 01
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           JG.




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                  ~ll*/J&l&&1t~:r9i Related party receivables and payables
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            .J:@ffl          0/f':@Jfl

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           n'Ll&~HJ.Sli          IGAS USA      I~C.           24 593, 101. 95     tl 229 655. 10
           $Zl&Y*~
           $Zl&~fJ.S_&           § 1.t~l~l1H~ 0 i¥iJ          21,277,887. 26             295. 83 16,045,382. 4 751, 769. 11
           $Zl&Y!lEillX                                                                                      9
           n'Zl&~W}_&            ~~mfittf4 (jljffl)               15, 369.52           1,536.95     97,293.84    4,864.69
           $Zl&9!1E~             ff~0 ii.J
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           @1&~~.& Mrrmtlifiiffi:t:t;j;;p~·                    8, 744,970.60        437,248. 53
           $Zl&9!1C~             ~0ifl
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           $Zl&9!1Cit£(          1W:f;H~0ifJ
           @l&~11i!i.&.          wrrr WJlmE!:!..:r¥tt-l-       2,144,559. 42        107,227.97
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           @l&Y!lE*X                                                                                               5            . 15
           $2!&~11.'5.&.         Mrr.g: §{{.Iff~W                                                        3, 750.00          187.50
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           $Zl&~11Ji.&.          MIT§1.t5(1Emf:tt                                                  5, 682,377.27 284, 118.86
           J~t&Y!lE~             f41f~~0~
           $Zl&~iffi.&.          MIT§1.t~-ti-1M:Q[                                                 6, 339,527.36 316,976. 37
           J~ l&Y!lEj!:?-:       11-1~0 iiJ
           $2!&~11.5,&           § {{.~~0 r:iJ IW                                                    366,630. 86       18, 331. 54
           §Zl&Y!lE~             lrlllH~ iiJ
           Jf-Zl&~i\5.&          wrrr § 1-t1.ti *f:t4            300,000. 00                         982,000. 00
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                                          Attachment B
             (Complaint, T.T. International Co. Inc. v. BMP International Inc. et al.,
                     No. 8:19-cv-02044 (M.D. Fla., filed Aug. 16, 2019))




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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

     T.T. INTERNATIONAL CO., LTD.,

                    Plaintiff,

     v.
                                                    CASE NO.:
     BMP INTERNATIONAL INC.,
     BMP USA, INC., and iGAS USA, INC.,

                    Defendants.


                                            COMPLAINT

           Plaintiff T.T. International Co., Ltd. (“T.T.” or “Plaintiff”) sues Defendants, BMP

    International, Inc., BMP USA, Inc., and iGas USA, Inc. (collectively the “Defendants”), and

    alleges as follows:

                                    NATURE OF THE ACTION

           1.      This is an action for damages arising out of T.T.’s shipment and the Defendants’

    acceptance of (a) over $14 million of refrigerants, disposable cylinders, and related products

    to Defendant BMP International; (b) over $58 million of refrigerants, disposable cylinders, and

    related products to Defendant BMP USA; and (c) over $1 million of refrigerants, disposable

    cylinders, and related products to Defendant iGas USA. Thus, the Defendants owe T.T. in

    excess of $70 million, plus interest.

           2.      The shipments are evidenced by, among other things, invoices issued by T.T.

    to each of the three Defendants, as follows:




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                a. Complete, accurate, and authentic copies of the invoices for T.T.’s shipments

                   to Defendant BMP International are attached as composite Exhibit A (the

                   “BMP International Invoices”). These invoices are dated between June 9 and

                   August 1, 2017.

                b. Complete, accurate, and authentic copies of the invoices for T.T.’s shipments

                   to Defendant BMP USA are attached as composite Exhibit B (the “BMP USA

                   Invoices”). These invoices are dated between July 28, 2017 and May 25, 2018.

                c. Complete, accurate, and authentic copies of the invoices for T.T.’s shipments

                   to Defendant iGas USA are attached as composite Exhibit C (the “iGas USA

                   Invoices”). These invoices are dated between July 10 and 25, 2018.

           3.      The Defendants received, retained, and in all or some instances resold these

    goods. However, they have refused and failed to pay T.T. for these refrigerants, disposable

    cylinders and related products. Consequently, T.T has suffered damages in excess of $70

    million.

                                           THE PARTIES

           4.      Plaintiff T.T. is a company organized under the laws of the People’s Republic

    of China, which at all material times had its principal place of business in Dalian, China.

           5.      Defendant BMP International is a Florida corporation with its principal place

    of business in Tampa, Florida. Thus, it is a Florida citizen.

           6.      Defendant BMP USA is a Florida corporation with its principal place of

    business in Tampa, Florida. Thus, it is a Florida citizen.




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            7.      Defendant iGas USA is a Florida corporation with its principal place of business

    in Tampa, Florida. Thus, it is a Florida citizen.

                                    JURISDICTION AND VENUE

            8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

    § 1332(a)(2) because the matter in controversy exceeds the sum or value of $75,000, exclusive

    of interest and costs, and it is between the citizens of a State and a citizen of a foreign state.

            9.      The Court has personal jurisdiction over BMP International because it is a

    citizen of Florida.

            10.     The Court has personal jurisdiction over BMP USA because it is a citizen of

    Florida.

            11.     The Court has personal jurisdiction over iGas USA because it is a citizen of

    Florida.

            12.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because BMP

    International, BMP USA, and iGas USA reside in this judicial district, and a substantial part

    of the events or omissions giving rise to the claims occurred here.

                                     FACTUAL ALLEGATIONS

            13.     T.T. is engaged in the business of manufacturing and selling of refrigerants,

    disposable cylinders, and related products. T.T. often works with importers in countries such

    as the United States to sell its products into markets outside of China. T.T. does not maintain

    any offices, employees, or agents within the United States. Nor does T.T. itself import product

    into the United States.




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             14.   The Defendants are business organizations that, among other things, import

    refrigerants, disposable cylinders, and related products to the United States. The Defendants

    market themselves as wholesalers of refrigerant and related products. Accordingly, the

    Defendants resell the refrigerant and related products that they receive from T.T. and

    presumably other suppliers.

             15.   At all relevant times, the Defendants were controlled, in whole or in part and

    directly or indirectly, by Xianbin “Ben” Meng, who resides in the Tampa Bay area.

             16.   On or about February 1, 2012, Meng contacted T.T. by email on behalf of BMP

    International. Meng stated that he viewed T.T.’s materials at the AHR Expo in Chicago—an

    industry trade show—and that he wanted a price quotation for several refrigerants.

             17.   At all relevant times, Meng controlled and directed the operations of BMP

    International. On information and belief, Meng has served, and continues to serve, as BMP

    International’s president.

             18.   As Meng requested, T.T. provided a price quotation for refrigerants and related

    products. Meng subsequently notified T.T. that BMP International accepted its proposed

    terms.

             19.   Consequently, T.T. sent invoices and shipping documents for BMP

    International’s first order to Meng. In or about August 2012, T.T., through its shipping agent,

    shipped the refrigerants and related products that BMP International had ordered to an address

    in Tampa, Florida that Meng had provided.

             20.   T.T.’s invoices for BMP International’s orders placed in 2012 stated the number

    and type of packages, described the goods and quantity, provided shipping details, and




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    included the following terms of payment: “10% against proforma invoice, 90% balance before

    arriving”.

           21.     On or about March 27, 2015, T.T. transmitted the first invoice to BMP

    International that substituted “O/A 60 days” as the term of payment. The term “O/A” means

    “open account.”

           22.     During the month of September 2015, T.T. transitioned to using “O/A 60 days

    from B/L date” as the term of payment on all invoices it sent to the Defendants and their related

    entities. The term “B/L” means “bill of lading.”

           23.     At Meng’s request, in or about June 2015, T.T. began shipping refrigerants and

    related products to Defendant BMP USA.

           24.     The invoices and shipping documents that T.T. sent to BMP USA for these

    goods were identical or substantially similar in form to those that T.T. utilized for BMP

    International and, accordingly, they contained essentially the same information.

           25.     At all relevant times, Meng controlled and directed the operations of BMP

    USA. On information and belief, Meng has served, and continues to serve, as BMP USA’s

    president.

           26.     At Meng’s request, in or about August 2015, T.T. began shipping refrigerants

    and related products to LM Supply, Inc. Meng represented to T.T. that BMP International

    controlled LM Supply and was responsible for making payments on its behalf.

           27.     The invoices and shipping documents that T.T. sent to LM Supply for these

    goods were identical or substantially similar in form to those that T.T. utilized for BMP

    International and BMP USA. Accordingly, they contained essentially the same information.




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              28.   Thus, BMP International (a) placed orders with T.T. for LM Supply; and

    (b) paid for the refrigerants and related products that T.T. shipped to LM Supply from one of

    the same accounts which BMP International made payments for goods it received from T.T.

              29.   At Meng’s request, in or about March 2016, T.T. shipped refrigerants and

    related products to BMP International while invoicing “R Lines.” On information and belief,

    R Lines is controlled, in whole or in part and directly or indirectly, by Meng.            BMP

    International served as the consignee on the corresponding shipping documents and made

    payment for the goods shipped.

              30.   The invoices and shipping documents that T.T. sent to R Lines for these goods

    were identical or substantially similar in form to those that T.T. utilized for BMP International

    and other Meng-controlled companies. Accordingly, they contained essentially the same

    information.

              31.   Thus, BMP International (a) placed orders with T.T. ostensibly in the name of

    R Lines; and (b) paid for the refrigerants and related products that T.T. shipped to BMP

    International with invoices in R Lines’ name but with shipping documents showing BMP

    International as consignee.

              32.   At Meng’s request, in or about June 2016, T.T. began shipping refrigerants and

    related products sending invoices to Assured Comfort AC, Inc. Meng represented that BMP

    International controlled Assured Comfort, and was responsible for making payments on its

    behalf.

              33.   The invoices and shipping documents that T.T. sent to Assured Comfort for

    these goods were identical or substantially similar in form to those that T.T. utilized for BMP




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    International and other Meng-controlled companies. Accordingly, they contained essentially

    the same information.

           34.     Thus, BMP International (a) placed orders with T.T. for Assured Comfort; and

    (b) paid for the refrigerants and related products that T.T. shipped to Assured from one of the

    same accounts from which BMP International made payments for goods it received from T.T.

           35.     During the period from July 2017 to May 2018, the orders T.T. received for

    refrigerants and related products: (a) decreased significantly from BMP International; and

    (b) increased significantly from BMP USA. Thus, while Meng continued to place the orders

    for these goods, he increasingly directed T.T. to ship to and invoice BMP USA rather than

    BMP International.

           36.     During the period from July 2017 to May 2018, Meng continued to direct some

    invoices to affiliate entities including: (a) R-Lines, and (b) Coolmaster USA, Inc.—another

    Meng-controlled entity.      During this period, T.T. understood—based upon Meng’s

    representations among other things—that BMP USA and or BMP International would

    ultimately take responsibility for payment.

           37.     Meng introduced Coolmaster USA as a related company to BMP USA and

    sought to have T.T. enter a relationship with Coolmaster USA as part of its continued

    relationship with BMP USA and BMP International.

           38.     The invoices and shipping documents that T.T. sent to Coolmaster USA for

    these goods were identical or substantially similar in form to those that T.T. utilized for BMP

    USA and other Meng-controlled companies. Accordingly, they contained essentially the same

    information.




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            39.    During 2018, Meng also directed T.T. to make shipments directly to customers

    and or suppliers of his companies including: (a) Materiales Electricos de Const. y Refrig., S.A.;

    (b) Lenz Sales & Distribution, Inc.; and (c) Puremann, Inc. T.T. understood—based upon

    Meng’s representations among other things—that if the customer and or supplier invoiced did

    not pay for the refrigerant gases and related products, BMP USA or BMP International would

    bear ultimate responsibility for the payment.

            40.    At Meng’s request, in or about June 2018, T.T. began shipping refrigerants and

    related products to Defendant iGas USA, another company controlled, in whole or in part by

    Meng.

            41.    T.T.’s invoice and shipping documents to iGas USA were identical or

    substantially similar in form to those that T.T. utilized for BMP International and other Meng-

    controlled companies. Accordingly, they contained essentially the same information.

            42.    During July 2018, T.T. received orders for refrigerants and related products

    from Defendant iGas USA, but not from BMP International, BMP USA, or any of their

    affiliates.

            43.    At all relevant times, the following companies were controlled, directly or

    indirectly and in whole or in part, by Meng:

                   a. BMP International, Inc.;

                   b. BMP USA, Inc.;

                   c. LM Supply, Inc.;

                   d. R Lines;

                   e. Assured Comfort AC;




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                   f. iGas USA, Inc.; and

                   g. Coolmaster USA, Inc.

           44.     From approximately February 2012 until approximately July 2018, T.T.

    maintained a business relationship with one or more of the Defendants. During that time, T.T.

    received orders from Meng or someone under his direction, who would inform T.T. of (a) the

    products and quantities requested, and (b) to which of the Defendants, affiliated companies,

    customers, or suppliers of a Defendant the order should be shipped.

           45.     During this time period, T.T. maintained a custom and practice of consistently

    sending invoices and attendant shipping documents for the refrigerants and related products

    ordered by the Defendants, or by or for LM Supply, R Lines, Assured Comfort AC, or

    Coolmaster USA (collectively, the “affiliates”), which specified the type and quantity of goods,

    number and kind of packages, related shipping details, and terms of payment.

           46.     From approximately August 2012 to approximately November 2018, the

    Defendants continued to make payments on account for amounts owed to T.T. for goods it

    supplied to them.

           47.     When T.T. received a payment from the Defendants, it generally credited that

    payment to the oldest outstanding invoice or invoices. If, however, there was a newer invoice

    closer in amount to the payment received, T.T. would, at times, credit the payment to the

    invoice closer in amount due to the payment rather than to the oldest invoice.

           48.     Thus, in its normal business operations, T.T. generally employed a balance

    forward system of accounting.




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            49.     However, the Defendants have not made any payments to T.T. since

     approximately November of 2018.

            50.     In or about late July 2018, Meng, acting in his capacity as a representative of

     each of the Defendants, met with representatives of T.T. in Shanghai, China. During that

     meeting, Meng stated that the Defendants no longer wished to purchase refrigerants and related

     products from T.T.

            51.     Consequently, T.T. demanded that the Defendants pay all of the amounts due

     T.T. for goods it supplied to the Defendants and their affiliates.

            52.     Moreover, T.T. provided Meng and, therefore, the Defendants, with a USB

     drive containing a statement of outstanding invoices rendered by T.T. to the Defendants.

            53.     Thereafter, the Defendants did not dispute the amounts that T.T. had detailed

     that each Defendant owed. Moreover, Defendants continued to make payments to T.T. until

     approximately November 2018.

            54.     Throughout the period from approximately November 2018, until near the time

     this Complaint was filed, T.T. made repeated demands via email, telephone, and other

     messaging forms to Meng and the Defendants that the Defendants pay for the goods they

     received.

            55.     In or about May 2019, a T.T. representative traveled from Dailan, China to

     Tampa, Florida, met with Meng, and demanded payment from the Defendants.

            56.     Despite these repeated demands, the Defendants have made no payments since

     approximately November 2018, and have never disputed the amounts owed.




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            57.     Neither the Defendants, or any of their affiliates, have ever returned any of

     T.T.’s shipments as defective, deficient, or otherwise. On the contrary, the Defendants and

     their affiliates retained the refrigerants and related products that they received from T.T.

            58.     Moreover, on information and belief, the Defendants, either directly or through

     one or more of their affiliates, resold all or, at a minimum, a significant amount of the goods

     they received from T.T. Nevertheless, the Defendants failed to pay T.T. in excess of $70

     million that remains outstanding for refrigerants and related products.

            59.     T.T. has engaged Dentons US LLP and Greenberg Traurig, P.A. to represent it

     in this action and is obligated to pay counsel reasonable fees for their services.

            60.     All conditions precedent to the commencement of this action and the granting

     of the relief requested have occurred, have been satisfied, or have been waived.

                       COUNT I - Breach Of Contract By BMP International

            61.     T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

            62.     T.T. made offers to enter into contracts with Defendant BMP International by

     transmitting invoices ahead of the transfer of goods that contained a description of the kind

     and quantity of the goods, the price of those goods, and attendant payments terms. Complete,

     accurate, and authentic copies of each invoice are included in composite Exhibit A.

            63.     T.T. rendered the BMP International Invoices between approximately June and

     August 2017.

            64.     The BMP International Invoices require this Defendant to pay T.T. the amounts

     set forth on them—which totals in excess of $14 million in principal—for the refrigerants and

     related products BMP International received from T.T.




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             65.     All of the BMP International Invoices included the payment term “O/A 60 days

     from B/L date”.

             66.     As to each invoice, BMP International accepted T.T.’s offer by, among other

     things, accepting and retaining the refrigerants and related products that this Defendant

     received from T.T.

             67.     T.T. shipped all of the goods in the quantity and kind specified by the BMP

     International Invoices.

             68.     BMP International breached these contracts by failing to pay the total amounts

     due under the BMP International Invoices within the time specified by the payment term on

     each invoice.

             69.     As a direct result of Defendant BMP International’s breach of the contracts,

     T.T. has suffered damages.

             WHEREFORE, T.T. demands judgment against BMP International for damages,

     prejudgment and post-judgment interest, and such further relief as is appropriate to protect

     T.T.’s rights and interests.

                            COUNT II - Breach of Contract by BMP USA

             70.     T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             71.     T.T. made offers to enter into contracts with Defendant BMP USA by

     transmitting invoices ahead of the transfer of goods that contained a description of the kind

     and quantity of the goods, the price of those goods, and attendant payments terms. Complete,

     accurate, and authentic copies of each invoice are included in composite Exhibit B.




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             72.     T.T. rendered the BMP USA Invoices between approximately July 2017 and

     May 2018.

             73.     The BMP USA Invoices require this Defendant to pay T.T. the amounts set

     forth on them—which totals in excess of $58 million in principal—for the refrigerants and

     related products BMP USA received from T.T.

             74.     All of the BMP USA Invoices included the payment term “O/A 60 days from

     B/L date”.

             75.     As to each invoice, BMP USA accepted T.T.’s offer by, among other things,

     accepting and retaining the refrigerants and related products that this Defendant received from

     T.T.

             76.     T.T. shipped all of the goods in the quantity and kind specified by the BMP

     USA Invoices.

             77.     BMP USA breached these contracts by failing to pay the total amounts due

     under the BMP USA Invoices within the time specified by the payment term on each invoice.

             78.     As a direct result of Defendant BMP USA’s breach of the contracts, T.T. has

     suffered damages.

             WHEREFORE, T.T. demands judgment against BMP USA for damages, prejudgment

     and post-judgment interest, and such further relief as is appropriate to protect T.T.’s rights and

     interests.

                            COUNT III - Breach of Contract by iGas USA

             79.     T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.




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             80.    T.T. made offers to enter into contracts with Defendant iGas USA by

     transmitting invoices ahead of the transfer of goods that contained a description of the kind

     and quantity of the goods, the price of those goods, and attendant payments terms. Complete,

     accurate, and authentic copies of each invoice are included in composite Exhibit C.

             81.    T.T. rendered the iGas USA Invoices in or around July 2018.

             82.    The iGas USA Invoices require this Defendant to pay T.T. the amounts set forth

     on them—which totals in excess of $1 million in principal—for the refrigerants and related

     products iGas USA received from T.T.

             83.    All of the iGas USA Invoices included the payment term “O/A 60 days from

     B/L date”.

             84.    As to each invoice, iGas USA accepted T.T.’s offer by, among other things,

     accepting and retaining the refrigerants and related products that this Defendant received from

     T.T.

             85.    T.T. shipped all of the goods in the quantity and kind specified by the iGas USA

     Invoices.

             86.    iGas USA breached these contracts by failing to pay the total amounts due under

     the iGas USA Invoices within the time specified by the payment term on each invoice.

             87.    As a direct result of Defendant iGas USA’s breach of the contracts, T.T. has

     suffered damages.

             WHEREFORE, T.T. demands judgment against iGas USA for damages, prejudgment

     and post-judgment interest, and such further relief as is appropriate to protect T.T.’s rights and

     interests.




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                       COUNT IV - Unjust Enrichment by BMP International

             88.     T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             89.     From approximately June to approximately August 2017, T.T. shipped to

     Defendant BMP International refrigerant gas and related products worth in excess of $14

     million with the expectation that BMP International would timely remit payment for the goods

     it received.

             90.     BMP International acknowledged that the goods were sent and accepted the

     benefit of these refrigerant gas and related products by arranging for them to pass through

     United States Customs and subsequently taking possession.

             91.     BMP International also accepted the benefit of the goods it received from T.T.

     by, among other things, reselling all or, at a minimum, a significant amount of these refrigerant

     gas and related products.

             92.     BMP International failed to remit any payment to T.T. for the goods this

     Defendant received during this period.

             WHEREFORE, T.T. demands judgment against BMP International for damages,

     prejudgment and post-judgment interest, and such further relief as is appropriate to protect

     T.T.’s rights and interests.

                            COUNT V - Unjust Enrichment by BMP USA

             93.     T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             94.     From approximately August 2017 to approximately October 2018, T.T. shipped

     refrigerant gas and related products worth in excess of $58 million at the direction of Defendant




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     BMP USA with the expectation that BMP USA would timely remit payment for the goods it

     received.

            95.     BMP USA acknowledged that the goods were sent and accepted the benefit of

     these refrigerant gas and related products by arranging for them to pass through United States

     Customs and subsequently taking possession.

            96.     BMP USA also accepted the benefit of the goods it received from T.T. by,

     among other things, reselling all or, at a minimum, a significant amount of these refrigerant

     gas and related products.

            97.     BMP USA failed to remit any payment to T.T. for the goods this Defendant

     received during this period.

            98.     In addition, BMP USA directed T.T. to ship some refrigerant gas and related

     products to its customers and or suppliers with the promise that BMP USA would render

     payment to T.T.

            99.     Upon information and belief, BMP USA retained the benefit of these goods by,

     among other things, accepting and retaining compensation and or product from customers and

     or suppliers that received goods from T.T.

            100.    T.T. received no compensation from BMP USA for the goods BMP USA

     directed T.T. to ship to its customers and or suppliers.

            101.    Furthermore, BMP USA directed T.T. to ship refrigerant gas and related

     products to its various affiliates with the promise that BMP USA would render payment to

     T.T.




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             102.   Upon information and belief, BMP USA retained the benefit of these refrigerant

     gas and related products by sharing in the proceeds realized by its affiliates from the resale of

     those goods.

             103.   Despite BMP USA’s promise to pay for goods received by its affiliates, T.T.

     has not received any compensation for the goods shipped to BMP USA’s affiliates at its

     direction.

             WHEREFORE, T.T. demands judgment against BMP USA for damages, prejudgment

     and post-judgment interest, and such further relief as is appropriate to protect T.T.’s rights and

     interests.

                           COUNT XII - Unjust Enrichment by iGas USA

             104.   T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             105.   From approximately July to approximately August 2018, T.T. shipped to

     Defendant iGas USA refrigerant gas and related products worth in excess of $1 million with

     the expectation that iGas USA would timely remit payment for the goods it received.

             106.   iGas USA acknowledged that the goods were sent and accepted the benefit of

     these refrigerant gas and related products by arranging for them to pass through United States

     Customs and subsequently taking possession.

             107.   iGas USA also accepted the benefit of the goods it received from T.T. by,

     among other things, reselling all or, at a minimum, a significant amount of these refrigerant

     gas and related products.

             108.   iGas USA failed to remit any payment to T.T. for the goods this Defendant

     received during this period.




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             WHEREFORE, T.T. demands judgment against iGas USA for damages, prejudgment

     and post-judgment interest, and such further relief as is appropriate to protect T.T.’s rights and

     interests.

                        COUNT VII - Account Stated by BMP International

             109.   T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             110.   Before the institution of this action, T.T. and Defendant BMP International had

     business transactions between them beginning in 2012.

             111.   T.T. stated the amounts due to it from BMP International by, among other

     things, issuing invoices for each transaction.

             112.   The invoices issued to BMP International included those invoices from

     approximately June until approximately August 2017, for which the stated accounts remain

     unpaid. Complete, accurate and authentic copies of these invoices are attached as composite

     Exhibit A.

             113.   The total value of these business transactions was in excess of $14 million.

             114.   In addition, T.T. provided BMP International, through Meng, with a USB drive

     containing a statement of all amounts due on or about July 30, 2018.

             115.   The USB drive contained a statement of BMP International and BMP USA’s

     accounts itemized by invoice number. Thus, BMP International could engage in simple

     arithmetic to confirm the total of its unpaid invoices to T.T. according to the stated account.

             116.   T.T. continued to demand payments through at least May of 2019.

             117.   During the period T.T. demanded payments, BMP International did not dispute

     the total amounts due.




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             118.    BMP International implicitly promised to make payment to T.T. on the account

     by, among other things: (a) retaining the refrigerants and related products that it received from

     T.T.; (b) reselling these goods to customers; (c) not objecting to the stated amounts due; and

     (d) continuing to make payments on the account after receiving the stated balances.

             119.    Nevertheless, BMP International ceased making payments in or about

     November 2018, leaving a balance due on the account in excess of $14 million.

             WHEREFORE, T.T. demands judgment against BMP International for damages,

     prejudgment and post-judgment interest, and such further relief as is appropriate to protect

     T.T.’s rights and interests.

                            COUNT VIII - Account Stated as to BMP USA

             120.    T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             121.    Before the institution of this action, T.T. and Defendant BMP USA had business

     transactions between them beginning in 2015.

             122.    T.T. stated the amounts due to it from BMP USA by, among other things,

     issuing invoices for each transaction.

             123.    The invoices issued to BMP USA included those invoices from approximately

     July 2017 until approximately May 2018, for which the stated accounts remain unpaid.

     Complete, accurate and authentic copies of these invoices are attached as composite Exhibit

     B.

             124.    The total value of these business transactions was in excess of $58 million.

             125.    In addition, T.T. provided BMP USA, through Meng, with a USB drive

     containing a statement of all amounts due on or about July 30, 2018.




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             126.   The USB drive contained a statement of BMP USA and BMP International’s

     accounts itemized by invoice number. Thus, BMP USA could engage in simple arithmetic to

     confirm the total of its unpaid invoices to T.T. according to the stated account.

             127.   T.T. continued to demand payments through at least May of 2019.

             128.   During the period T.T. demanded payments, BMP USA did not dispute the total

     amounts due.

             129.   BMP USA implicitly promised to make payment to T.T. on the account by,

     among other things: (a) retaining the refrigerants and related products that it received from

     T.T.; (b) reselling these goods to customers; (c) not objecting to the stated amounts due; and

     (d) continuing to make payments on the account after receiving the stated balances.

             130.   Nevertheless, BMP USA ceased making payments in or about November 2018,

     leaving a balance due on the account in excess of $58 million.

             WHEREFORE, T.T. demands judgment against BMP USA for damages, prejudgment

     and post-judgment interest, and such further relief as is appropriate to protect T.T.’s rights and

     interests.

                                COUNT IX - Account Stated as to iGas

             131.   T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             132.   Before the institution of this action, T.T. and Defendant iGas USA had business

     transactions between them beginning in 2018.

             133.   T.T. stated the amounts due to it from iGas USA by, among other things, issuing

     invoices for each transaction.




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             134.   The invoices issued to iGas USA included those invoices from in or around July

     2018, for which the stated accounts remain unpaid. Complete, accurate and authentic copies

     of these invoices are attached as composite Exhibit C.

             135.   The total value of these business transactions was in excess of $1 million.

             136.   In addition, T.T. provided iGas USA, through Meng, with a USB drive

     containing a statement of all amounts due on or about July 30, 2018.

             137.   The USB drive contained a statement of iGas USA’s accounts itemized by

     invoice number.

             138.   T.T. continued to demand payments through at least May of 2019.

             139.   During the period T.T. demanded payments, iGas USA did not dispute the total

     amounts due.

             140.   iGas USA implicitly promised to make payment to T.T. on the account by,

     among other things: (a) retaining the refrigerants and related products that it received from

     T.T.; (b) reselling these goods to customers; and (c) not objecting to the stated amounts due.

             141.   Nevertheless, iGas USA did not make payments, leaving a balance due on the

     account in excess of $1 million.

             WHEREFORE, T.T. demands judgment against iGas USA for damages, prejudgment

     and post-judgment interest, and such further relief as is appropriate to protect T.T.’s rights and

     interests.

                         COUNT X - Open Account as to BMP International

             142.   T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.




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            143.    From approximately June to approximately August 2017, T.T. sold Defendant

     BMP International refrigerant gas and related products worth in excess of $14 million.

            144.    Throughout T.T.’s business relationship with BMP International, T.T.

     maintained an account for this Defendant containing charges and payments for all sales

     transactions between the companies. T.T. kept Defendants BMP International’s and BMP

     USA’s accounts in a ledger and determined the amounts due from each Defendant by itemizing

     each of their respective invoices.

            145.    T.T. generally included the charges invoiced to BMP International’s affiliates

     in the account as it was BMP International’s practice to (a) direct T.T. to ship to and or invoice

     the affiliates and (b) pay T.T. for goods shipped to and or invoiced to the affiliates.

            146.    Until approximately November 2018, BMP International made payments on its

     account, which T.T. duly recorded.

            147.    Since approximately November 2018, BMP International has not made a

     payment on its account with T.T.

            148.    Through simple analysis of the itemized invoice numbers in the account, T.T.

     could identify the transactions for which BMP International was responsible.

            149.    A complete, accurate, and authentic copy of BMP International’s itemized

     account with T.T. is attached as Exhibit D.

            150.    As set forth on Exhibit D, BMP International owes the principal amount stated

     in the open account, which is in excess of $14 million, for goods this Defendant received and

     accepted from T.T.




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             WHEREFORE, T.T. demands judgment against BMP International for damages,

     prejudgment and post-judgment interest, and such further relief as is appropriate to protect

     T.T.’s rights and interests.

                             COUNT VIII - Open Account as to BMP USA

             151.     T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             152.     From approximately July 2017 to approximately May 2018, T.T. sold

     Defendant BMP USA refrigerant gas and related products worth in excess of $58 million.

             153.     Throughout T.T.’s business relationship with BMP USA, T.T. maintained an

     account for this Defendant containing charges and payments for all sales transactions between

     the companies.

             154.     T.T. kept Defendants BMP USA’s and BMP International’s accounts in a

     ledger and determined the amounts due from each Defendant by itemizing each of their

     respective invoices.

             155.     T.T. generally included the charges invoiced to BMP USA’s affiliates in the

     account as it was BMP USA’s practice to (a) direct T.T. to ship to and or invoice the affiliates

     and (b) pay T.T. for goods shipped to and or invoiced to the affiliates.

             156.     T.T. generally included charges invoiced to BMP USA’s customers and or

     suppliers in the account when BMP USA directed T.T. to ship refrigerant gas and related

     products to those customers and or suppliers with the promise that BMP USA would pay T.T.

     for the goods.

             157.     Until approximately November 2018, BMP USA made payments on its

     account, which T.T. duly recorded.




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             158.     Since approximately November 2018, BMP USA has not made a payment on

     its account with T.T.

             159.     Through simple analysis of the itemized invoice numbers in the account, T.T.

     could identify the transactions for which BMP USA was responsible.

             160.     A complete, accurate, and authentic copy of BMP USA’s itemized account with

     T.T. is attached as Exhibit D.

             161.     As set forth on Exhibit D, BMP USA owes the principal amount stated in the

     open account, which is in excess of $58 million, for goods this Defendant received and

     accepted from T.T.

             WHEREFORE, T.T. demands judgment against BMP USA for damages, prejudgment

     and post-judgment interest, and such further relief as is appropriate to protect T.T.’s rights and

     interests.

                              COUNT XII - Open Account as to iGas USA

             162.     T.T. incorporates the allegations set forth in paragraphs 1 through 60, above.

             163.     From approximately June to approximately July 2018, T.T. sold Defendant

     iGas USA refrigerant gas and related products worth in excess of $1 million.

             164.     Throughout T.T.’s business relationship with iGas USA, T.T. maintained an

     account for this Defendant containing charges and payments for all sales transactions between

     the companies.

             165.     T.T. kept Defendant iGas USA’s accounts in a ledger itemized by each of its

     invoices.




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             166.   Until approximately October 2018, iGas USA made payments on its account,

     which T.T. duly recorded.

             167.   Since approximately October 2018, iGas USA has not made a payment on its

     account with T.T.

             168.   A complete, accurate, and authentic copy of iGas USA’s itemized account with

     T.T. is attached as Exhibit E.

             169.   As set forth on Exhibit E, iGas USA owes the principal amount stated in the

     open account, which is in excess of $1 million, for goods this Defendant received and accepted

     from T.T.

             WHEREFORE, T.T. demands judgment against iGas USA for damages, prejudgment

     and post-judgment interest, and such further relief as is appropriate to protect T.T.’s rights and

     interests.


                           [Attorney’s Signature Appears on Following Page]




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     Dated: August 16, 2018             Respectfully submitted,

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      July 6, 2021

      Hon. Michael Regan
      Administrator
      U.S. Environmental Protection Agency
      1200 Pennsylvania Ave., NW
      Washington, DC 20460

      Docket ID No. EPA-HQ-OAR-2021-0044

      The Plumbing-Heating-Cooling Contractors—National Association (PHCC) is the oldest
      construction trades association in the country representing approximately 3,200 plumbing and
      HVACR contractors employing over 64,000 professionals across the United States. Since 1883,
      this organization has been concerned with the safe installation of plumbing and HVAC systems.
      The members of PHCC are the last point of contact with consumers repairing, installing, or
      upgrading a system. Ultimately, these contractors are tasked with explaining the related costs for
      the work with the consumer.

      PHCC is grateful for the opportunity to comment on EPA’s proposed regulation for the
      Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation and Trading
      Program. This Association has been supportive of the AIM Act and its intent to keep the United
      States a leader in the HVAC industry. Further, PHCC generally supports many parts of this rule
      which can help limit the effects of global warming through professional design, application,
      installation, and servicing of refrigerant bearing equipment.

      A particular concern is the schedule of product phasedown. PHCC believes baseline allocations
      should be calculated using the time frame of 2011 through 2019 with selection of the three
      highest years market share. It is a significant concern that gasses remain available for legacy
      products that may currently not be very old in the marketplace. The transition from R22 to
      R410A for air conditioning products is not very far behind us in the rearview mirror. Many of the
      consumers who elected to replace equipment to more ozone friendly refrigerants now find
      themselves with another ecological dilemma. If the industry cannot supply refrigerants to service
      these products, EPA will have forced those consumers into an early replacement of efficient,
      sometimes highly efficient, HVAC systems. These consumer discussions happen over the
      kitchen table with a contractor, not scientists from Washington D.C.

      PHCC would support increased availability of reclaimed refrigerant products provided they meet
      AHRI 700-2016 standard quality. It is important for service personnel to be able to rely on
      products in the marketplace, having proper certifications will assure reliable equipment
      operation. PHCC shares with many partners in the industry a concern for illegal gasses that may
      be smuggled in or fraudulently marketed. Not many years ago, the industry raised serious
      concerns over a product marketed to replace R-22, a product that was essentially propane. This



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       industry worked with EPA to resolve that unsafe condition and protect workers, consumers, and
       property from a very hazardous situation.

       Given that history, PHCC does have concern for the illegal trade in refrigerants but does not see
       the elimination of disposable cylinders as a solution. The unscrupulous actors in the market will
       still attempt to operate and will use the least cost options available. If disposable cylinders are
       not available, they will simply switch to refillable cylinders. The added cylinder cost will be
       insignificant to them given the profits that may be made. Removing disposable cylinders will not
       stop those bad actors but will penalize the good actors.

       Contractors will have added costs to acquire these cylinders, either outright purchase or lease
       deposits. Contractors will have to manage two sets of cylinders, in their shops, in their vehicles,
       and on jobsites. Mix-ups will happen and someone will get to a job with an empty cylinder that
       was believed to be full. It is a greater possibility to have contaminated refrigerant, some
       individuals may try to fill their own from a master cylinder. These cylinders do weigh more, over
       time that adds up to fuel costs, truck expense, and bad backs.

       The empty cylinders must be returned to be refilled; these must go to the right supplier. While
       many contractors have their preferred vendor, it is not unusual for a contractor to deal with
       multiple distribution points; Company A likely will not exchange a cylinder from Company B.
       The supply chain will undergo an overhaul to effect this change, that overhaul will not be free.
       The contractor will have one more item to discuss over the kitchen table with the consumer.

       EPA has concern for the amount of left over refrigerant, the “heel,” and supposes it to be as
       much as 8 percent. For many HFC’s that can be two pounds or more of product. Contractors are
       very cost conscious and operate on relatively low margins, it does not behoove them to throw
       away 8 percent of a valuable commodity. It is further discouraged if the commodity is a
       regulated product subject to significant fines for improper disposal. PHCC believes the 8 percent
       is greatly overstated.

       EPA would also push for tracking of product to solve these issues as well. The tracking of serial
       numbered tanks would be onerous and infeasible. Many smaller contractors lack the system to
       perform this operation, other larger operations may be able to do this but in the peak of season it
       is impractical. Technicians or delivery personnel trade tanks at jobsites when convenient, another
       service truck may be much closer to a service worker trying to finish a job, sometimes hours
       closer. This would be a logistical nightmare.

       The greatest issue for tracking is the confidential business information that would necessarily be
       logged in a public forum. It is a serious question of how EPA staff would process the
       overwhelming data that would be generated and what would be done with it after the fact. There
       are current rules in place for refrigerant handling, rules which have had infrequent, probably rare,
       enforcement actions, apparently EPA lacks staff for today’s rules already.

       Writing the rules does not guarantee results in the field. Large public data bases are, however,
       useful to some competitors, larger operators or data management operations may look for
       information to take mine for valued customers, estimate replacement schedules, or make



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       spurious accusations against other competitors in their market. PHCC has no support for making
       confidential business information publicly available.

       PHCC would however support developing professional requirements and standards for
       contractors and technicians to comply with. Without some form of certification, anyone who
       says they are an air conditioning service technician, is one. It is true that there is EPA 608
       certification, most contractors will tell you they have had a card for many years and have shown
       it once or twice. The original 608 card was not too difficult to test for. Lack of enforcement of
       any regulation renders it useless. As the industry moves to more complex refrigerants, some
       more flammable than traditional refrigerants, it will become more important to assure
       competency in the workforce.

       PHCC has for many years been a strong proponent of registered apprenticeship and has approved
       programs in place across the country. PHCC would welcome any regulation supporting the
       education of the workforce.

       The members of PHCC believe in a motto, The Best People, The Best Practices and hopes to live
       up to that in practice. The Association thanks EPA for this opportunity to be heard on these
       actions that would affect many of our members and their employees. PHCC is willing to
       participate in any fashion that would help advance the next generation of HVAC products.

       Respectfully submitted,

       Charles R. White
       V.P. Regulatory Affairs
       PHCC—National Association

       white@naphcc.org




                                                       3
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 July 6, 2021

 Ms. Cynthia Newberg
 Director
 Stratospheric Protection Division
 U.S. Environmental Protection Agency
 1201 Constitution Ave NW
 Washington, DC 20004

 Docket ID No. EPA-HQ-OAR-2021-0044


          We genuinely acknowledge the opportunity to provide advance input on how the EPA
 may determine an initial methodology to allocating allowances and whereby the agency may
 alter its determination of company specific allocations. Open and robust discourse only serves to
 strengthen the AIM Act’s purpose of environmental health and a principled and equitable HFC
 marketplace.
         The EPA’s recommendation to establish the “Allowance Allocation and Trading
 Program” using the baseline years 2017-2019 neglects and underestimates this periods distinct
 acute HFC market volatility based on fraudulent, improper and deceptive business practices. In
 particular, throughout these years there have been relentless efforts by Chinese State Owned or
 Subsidized Entities (CSOSE’s) and their partners, to flood the United States market with
 subsidized and secured low priced HFC refrigerants, blends and components. These practices
 have artificially, unfairly and disproportionately negatively impacted U.S. company market share
 and by default their expected appropriations under the AIM Act.
         Object lesson, in June 2019, the U.S. Department of Commerce initiated several
 investigations to determine whether imports of CSOSE HFC’s were circumventing the 2016 anti-
 dumping order on HFC blends. Since 2016, importers have begun blending CSOSE HFC
 components, including R-125, R-32, R-134a and R-143a, in third party countries and in the
 United States. Importers have also begun importing blends that do not meet ASHRAE
 specifications. Those blends are completed in the United States by adding small amounts of HFC
 components to bring the blends to specification. Unequivocal attempts to circumvent U. S. law
 and evade anti-dumping duties.
         Further, investigations by the DOC were initiated with respect to CSOSE HFC
 components that are blended in the United States, CSOSE and Indian HFC’s that are blended in
 India, imports of patented HFC blend that are converted into a standard (non-patented) product
 after importation and imports of semi-finished blends that are finished in the U. S. to meet
 industry standards. As reported by ACHR News, these requests were triggered by some
 staggering statistics that show a 260 percent increase in the volume of these components. Direct
 imports of HFC components now exceed the volume of imports of HFC blends in 2016, when


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 the original anti-dumping duty order was published. Between 2017 and 2019, CSOSE imports of
 HFC refrigerants were greater than ever. Practices that have excessively and arbitrarily impacted
 market share.
          This is a far-reaching distinction and contrary to the essence of what the ITC intended.
 Imports of HFC components were exempt from the anti-dumping order as the ITC determined
 that they did not injure the U.S. market. The fact is, this very exemption is causing many of the
 illegal import issues today. Multiple CSOSE’s have put packaging facilities in the U.S. and are
 importing artificially underwritten low cost HFC components, formulating them and selling them
 in the U.S. marketplace. Over the last several years, The American HFC Coalition has
 documented millions of pounds of refrigerant components coming to the U.S. going to multiple
 company names. Often through “shell” companies, where it is to the same address – sometimes
 to the same person in different companies. A spike in imports is witnessed, then the company
 inexplicably stops importing. There is a laxity of oversight that these components are coming
 into the U.S. at a competitive price as well as whether or not they are properly documented. This
 is of singular concern as some importers are circumventing the anti-dumping duties by claiming
 they were made there as well. As an example, they have seen R-134a coming into the U.S. from
 South Korea when no one is producing R-134a in South Korea. It is produced in China, shipped
 to Korea, packaged in Korea and labeled “Made in Korea”. Which makes it exempt from the
 duty.
         Currently, there is nothing criminal about components arriving into the U.S. from China
 when pertinent laws and corresponding tariffs are adhered to. The problem is if some importers
 are receiving unique purchasing conditions from Chinese manufacturers that are not available to
 other U.S. companies. That puts U.S. importers and blenders at a distinct economic
 disadvantage. This bypassing of anti-dumping duty orders has a consequential negative impact
 on U.S. industry sales volume, market share, revenues, price levels and profits.
         Moreover, China and India dominate and monopolize global HFC production accounting
 for over 75% market share as of 2017. From 2017-2019, China and India’s enormous capacity
 and scale continued to grow and expand constructing an unfair and inequitable economic
 advantage. As imports of single component HFC’s continue to flood the U.S. market prices are
 depressed below the cost of production. U.S. producers have been forced out of business or
 compelled to downsize as there is not sufficient return on investment to be practical and viable.
 Powerless to compete, imports by U. S. owned companies from 2017-2019 have dropped to their
 lowest levels in decades. Throughout this term, CSOSE’s have intentionally and calculatingly
 saturated the marketplace to secure more sympathetic allocations. This is notably perilous for
 U.S. companies given the AIM Act’s qualifier and declared intention of no imports in the base
 years, no allocation. One more decisive disadvantage that will create an unreasonable and
 unequal allocation methodology.
        AIM aligns the U.S. with the 85% phase down of HFC’s production and chronicled
 consumption parameters formerly required under the Kigali Amendment. Actually, the AIM Act
 is wholly aligned with almost all primary tenets and doctrines of the Kilgali Amendment with the
 curious exception of the baseline years for allowance allocation. The EPA states that the



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 establishing the allocations on 2017-2019 market share production or imports recognizes recent
 market entrants and avoids windfalls to companies that left the business years ago. The EPA
 believes some of the recent entrants appear to be minority-owned businesses, and this approach
 may help make the phasedown process more equitable. In fact, the contradictory is true. As the
 bias and distortion of CSOSE’s behavior has not been altogether presumed. This premise and
 argument puts U.S. companies at a deliberate prejudice given the multitude of negative market
 forces attributable to CSOSE’s examined in detail above from 2017-2019.
         Under AIM the EPA plans to retire or revoke allowances to importers that have been
 found guilty of dumping, selling HFCs below cost or with unpaid import duties by the U.S.
 DOC. There is also a major plan to enforce these HFC requirements. The enforcement program
 will include collaboration with other U.S. agencies to track all HFCs from point of origin to point
 of use, including use of QR codes on individual HFC cylinders, border enforcement, limits on
 acceptable HFC containers to reduce likelihood of mischief, and more. All decisive objectives
 and intentions leading onward. However, this is insufficient when it comes to past historical and
 factual market place misconduct and exploitation as it relates to the framework of endowing
 future allowances.

         The AIM Act has many citations that refer to the importance of refrigerant recovery and
 reuse. This activity is covered under 42 U.S. Code § 7671g - National Recycling and Emission
 Reduction Program. Within the proposed rule the EPA suggests the creation of a set aside for
 new entrants. Here is another opportunity to acknowledge the importance of the reclaim industry.
 We would ask that the EPA make provisions for the reclaim industry to have access to this set
 aside to conduct vital work consistent with the requirements of AIM Act. Now more than ever
 the reclaim industry must have access to HFCs to preform that work of reconstituting the legacy
 alternative blend refrigerants. The reclaim industry is expected to take back and make these
 blends reusable to reduce the demand for virgin HFCs. The availability to accomplish this task
 will be dependent on having access to HFC consumption allowances. The proposed 5 MMT of
 EV will not accommodate the true intent of new entrants.

          The proposed rule is seeking to eliminate the use of non-refillable cylinders. The
 justification suggests that the use of a refillable cylinder will cure several ills. There are
 significant barriers to accomplishing this type of transition. The EPA should consider the
 tremendous capital investment associated with this type of requirement. The EPA should again
 consider the burden placed on the reclaim industry as well as the blender packagers with respect
 to the upfront cost to purchase a fleet of cylinders. In addition, the EPA does not acknowledge
 that there must be other Agency Rules changed to allow for such a radical change in the US
 Refrigerant markets. Bar codes, branding deposits on cylinders are a few of the issues that we
 would ask the EPA to consider before attempting to implement this action. Another important
 and critical consideration is that by going to a refillable cylinder there will be considerable
 increase in the consumption of fossil fuel. The multiple movements and handling of these
 refillable cylinders in the supply chain is not in the best interest of the environment and
 represents an unreasonable and unwarranted tradeoff. The supply chain from cylinder
 manufacturer to the filler, through the downstream user and back should be of considerable
 concern. In addition, we would note that the number of cylinders will be reduced in any one
 shipment based on the increased weight of the refillable cylinder. These considerations are



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 environmental impact issues that must be reevaluated under current conditions to ensure that
 there is no an unnecessary negative impact on the environment.

         The idea that a bar code and tracking a cylinder will somehow reduce the illegal imports
 is neither reasonable or prudent. Smuggling of refrigerant is a condition of the lack of inspections
 at our ports of entry. This action would stretch the already strained resources of the US Customs
 and Border Protection.

         We place confidence in and presume true that the AIM Act’s preeminent ambition
 regarding HFC allowance allocations is to oversee and regulate an equitable and proportional
 marketplace. Where all competitors and participants interests are uniformly respected based upon
 a rational and dependable set of evidence, statistics and conduct. Notwithstanding, we
 energetically and staunchly conclude that the prevailing endorsement to use 2017-2019 as the
 base years for future allocations and allowances is inaccurate and unsound given the CSOSE’s
 predominant ramification on the HFC marketplace. Attentively, we request a more unbiased and
 equitable methodology be applied to these forecast and estimations. One that recognizes and
 differentiates the contributions and benefits of old and new shareholders and a free and impartial
 HFC market economy.


 Sincerely,


 Ted Broudy
 President USA Refrigerants




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                       Comments of Worthington Industries

                                               to

                       U.S. Environmental Protection Agency

                                         regarding

    Proposed Rule: Phasedown of Hydrofluorocarbons: Establishing
  the Allowance Allocation and Trading Program under the American
                  Innovation and Manufacturing Act
      REDACTED VERSION: CONFIDENTIAL BUSINESS INFORMATION OMITTED

                 (EPA–HQ–OAR–2021–0044; 86 Fed. Reg. 27,150 (May 19, 2021))

                                        July 6, 2021




 Submitted via Regulations.gov and via Electronic Mail to:

 Andy Chang
 U.S. Environmental Protection Agency
 Stratospheric Protection Division
 Chang.Andy@epa.gov


 Submitted by:

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                           Comments of Worthington Industries

                  Worthington Industries (“Worthington”) is pleased to submit the following
 comments regarding the U.S. Environmental Protection Agency (“EPA”) proposal on the
 phasedown of hydrofluorocarbons (“HFCs”) under the American Innovation and Manufacturing
 Act of 2020 (“AIM Act”), and specifically the agency’s proposed ban on “disposable” (a/k/a “non-
 refillable”) cylinders. 86 Fed. Reg. 27,150 (May 19, 2021). While Worthington supports the
 objectives of the AIM Act, the proposed ban on non-refillable cylinders (“NRCs”) is not consistent
 with the goals of the legislation and not supported by the facts or the rulemaking record. EPA’s
 proposal also does not consider the unintended consequences of an NRC ban: namely, the strong
 possibility of disruptions in the supply of refrigerants to meet both critical infrastructure needs
 (such as healthcare/medicine, the food supply, etc.) and consumer demand during heat waves due
 to the lack of available cylinders as the industry builds capacity to manufacture the millions of
 refillables that are needed to serve the U.S. market. Instead of banning NRCs, EPA should adopt
 alternative measures, including modifications to cylinder design and labeling, establishment of a
 take-back program, and other actions that can achieve the emission and waste reduction goals of
 the AIM Act while minimizing economic disruption and harm to the U.S. heating, ventilation, air
 conditioning and refrigeration (“HVACR”) industry. We look forward to working with EPA to
 achieve these goals.

                 Worthington Industries is the only domestic U.S. manufacturer of both refillable
 and non-refillable refrigerant cylinders. We are a leading industrial manufacturing company
 delivering innovative solutions that span many industries including healthcare, home and portable
 heating, transportation infrastructure, construction, industrial, agriculture, retail and energy.
 Worthington is a global leader in manufacturing pressure cylinders for refrigerant, propane, and
 industrial gases, water well tanks for commercial and residential uses, and consumer products for
 camping, grilling, hand torches, and helium balloon kits.

                 Worthington began as a steel facility in Columbus, Ohio in 1955, and has expanded
 substantially to include a number of product lines used by a wide variety of American businesses.
 Today, Worthington has over 8,000 employees across 15 U.S. states and is the only domestic
 manufacturer of the non-refillable cylinders that are critical to the HVACR industry and other
 sectors. Worthington employs over 500 men and women to manufacture these cylinders at our
 facilities in Columbus, Ohio and Paducah, Kentucky.

                  Accordingly, Worthington is deeply concerned about the proposed ban on NRCs.
 As an initial matter, EPA includes the ban in a manner that hides its true costs and benefits. EPA’s
 own analysis states that “[o]ther provisions of the rule, such as that regarding disposable cylinders
 [. . .] are expected to have relatively minor impact or no effect on the overall calculation of costs




                                                  1
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 and benefits.”1 However, if the NRC ban were proposed as a separate regulation, EPA would have
 clearly analyzed the significant costs and benefits as this would be a major rule and economically
 significant regulation (i.e., greater than $100 million a year in impacts).2 As part of that analysis,
 EPA would also have evaluated a less stringent alternative to banning NRCs, such as those more
 cost-beneficial measures we have identified in our comments.

                   EPA’s proposed ban is unsupported and counterproductive for several reasons,
 including:

         (1)       The available data do not support the assumed environmental benefits of a ban on
                   NRCs. In particular, EPA’s analysis:

                   •    Underestimates by at least a factor of four the number of refillable cylinders
                        needed to replace the quantity of NRCs currently on the market, and does not
                        account for the carbon footprint and environmental impact of switching to
                        heavier refillable containers that require additional trips and maintenance in
                        closed-loop systems;

                   •    Overestimates the residual amount of HFCs (“heel”) that remain in NRCs.
                        While there is a need for better data, existing studies show that the average NRC
                        heel is less than a third of what EPA assumes, and possibly substantially less;
                        and

                   •    Relies on improper assumptions regarding existing recovery and recycling of
                        residual HFCs, assuming widespread noncompliance with venting prohibitions
                        by licensed HVACR professionals;

         (2)       EPA improperly assumes that a ban on NRCs will curb illegal production and
                   import of HFCs, contrary to the experience of the European Union which continues
                   to see extensive illegal refrigerant imports despite banning NRCs in 2007. EPA
                   also has not considered the recent reduction of imports of refrigerants and NRCs
                   resulting from successful unfair trade cases; and

         (3)       EPA has failed to address in any meaningful way the significant economic impact
                   of banning NRCs, including:


 1
     EPA, “Draft Regulatory Impact Analysis for Phasing Down Production and Consumption of Hydrofluorocarbons
     (HFCs),” at 8.
 2
     See Executive Order 12866 §3(f)(1), (f)(4) (“significant regulatory actions” include those with $100 million
     annual impact, those that “adversely affect in a material way the economy, a sector of the economy, productivity,
     competition, jobs, the environment, public health or safety,” and those that “[r]aise[] novel legal or policy issues”).



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                •   The risk to the domestic cooling supply chain – and, consequently, the ability
                    to meet the critical cooling and refrigeration needs of a major portion of the
                    nation’s economy, including the healthcare and medical community, agriculture
                    and food supply, major manufacturing and industrial operations, energy
                    generation and transmission, and transportation, as well as to meet residential
                    demand during summer heat waves and otherwise – due to the lack of refillable
                    cylinder availability and manufacturing capacity in the United States, as well as
                    the lack of infrastructure needed for the widescale deployment of refillable
                    cylinders. U.S. capacity is not expected to be available before the proposed two
                    year effective date of the NRC ban, rendering it difficult to package and move
                    allocated HFCs when the ban is in place;

                •   The economic effects of the ban on the U.S. NRC manufacturing industry.
                    Importantly, the International Trade Commission (“ITC”) and the U.S.
                    Department of Commerce recently took action to impose duties on foreign-
                    produced NRCs that were being dumped at prices below fair value to the
                    detriment of U.S. industry. Prior to that, both agencies had imposed duties on
                    dumped imports of refrigerants. EPA’s HFC phasedown rulemaking should not
                    undercut the actions of both the Commerce Department and ITC, but build off
                    them by recognizing that U.S.-manufactured NRCs are not part of the HFC
                    problem, but, in fact, are part of the solution in ensuring that HFCs are
                    transported and stored in high quality containers that can be authenticated; and

                •   EPA does not account for the negative health impacts from HVACR
                    occupational workers having to carry refillable cylinders that are at least 50%
                    heavier than NRCs.

                Alternatively, as detailed in Section IV of the following comments, there is a better
 path forward to address concerns related to residual HFCs in NRCs, while avoiding the risks to
 the nation’s supply of critical refrigerants and the negative environmental and economic
 consequences of an NRC ban. Alternatives to a ban were not analyzed or evaluated by EPA in the
 proposed rule and should be for any final rule if the agency believes it is necessary to address
 NRCs within this rulemaking. Worthington stands ready to assist EPA and HVACR stakeholders
 in the prompt development and implementation of an effective long-term solution.




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    I.                 EPA Overstates the Potential Benefits from a Ban on Non-Refillable
                       Cylinders and Overlooks Si2nificant Unintended Consequences

                   The proposed ban on NRCs will not achieve the emission reductions asse1ted by
    EPA and will have unintended consequences that result in significant and unaccounted for
    additional greenhouse gas ("GHG") emissions. In pa1ticular:

         •   The cmTent number of NRCs and the futme nmnber of refillable cylinders needed to
             supp01t the U.S. market was incon-ectly assmned, creating a gap in the foll carbon footprint
             and environmental impact of switching refrigerant containers.

         •   EPA has not accounted for the dramatic increase in transp01tation miles and additional
             tmcks required to manage a market exclusive to refillable cylinders, given the expansive
             geography of the United States and the heavier and larger number of refillable cylinders
             n:q uin:<l lo st::r vt: Lh t:: rnarkt::l.


         •   EPA's estimate of emission reductions attributable to the "heel" assmned to be present in
             NRCs lacks a cm-rent, factual basis.

         •   EPA assumes - without sufficient justification - that end-users cmrently are not properly
             recovering and recycling NRCs. The agency should consider alternative approaches to
             better educate users about and enforce proper practices to achieve desired environmental
             goals.

             A.        Refillable Cylinder System Requirements Far Exceed Assumptions

                       EPA a,;se,t s th at refillahle cylinders can replace, on a one-to-one hasis, the 4.'i
    million NRCs the agency assumes are sold annually in the United States.3 However, as indicated
    in a recent detennination of the U.S. International Trade Commission,4 impo1ts from China alone
    totaled 3,941 ,577 units in 2019. Adding Wo1t hington's sales, annual U.S. shipments of NRCs
    totaled




         See EPA, "Refillable and Non-refillable Cylinders: Analysis of Use, Emissions, Disposal, and Distribution of
         Refrigerants" at 5 (April 2021) ("EPA Cylinder Analysis").
         Non-Refillable Steel Cylinders from China, Inv. Nos. 701-TA-644 and 731-TA-1494, USITC Pub. 5188 (Final)
         (May 2021) at IV-4 (Table IV-2) (https://usitc.2ov/publications/701 731/pub5188.pdf).




                                                           4



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                                                                                Perhaps more importantly,
               CYLINDER LOGISTICS
                                                                EPA’s       assumption       of     “one-to-one”
                                                                replacement is incorrect, based on industry
                                                                sources and EPA supporting documents.6

            -                                                   Curiously, EPA initially acknowledges that
                                                                “[i]n actuality, if all non-refillable cylinders
                                                                were replaced with refillable ones, there would
                                                                need to be more than 4.5 million cylinders in
   It takes at least four refillable cylinders to replace every circulation to avoid lags in transport times.”7
   single non-refillable cylinder. This is to account for       Yet the agency fails to follow through on this
   where the cylinders are in their cycle.
                                                                fact and proceeds to assume, without support,
   1. In use                                                    “that an all-refillable scenario would still
   2. In transit
   3. In a warehouse or distributor shelf                       involve a total of 4.52 million cylinder trips per
   4. In filling, refurbishment or recertification              year because the volume of refrigerant
                                                                produced, transported, and stored would not
 change simply due to the transition to all refillable cylinders.”8 This assumption is incorrect.

                 For every one NRC, at least four refillable cylinders would be required to be in
               9
 circulation. Thus, to replace NRCs, and maintain full refrigerant supply and availability, the total
 “fleet” of refillable cylinders in the market at any given time would have to be four times the
 annual number of NRCs required to meet the same level of demand.

 The closed-loop system required to manage refillable cylinders is the reason for this “four-to-one”
 minimum replacement level. For the refillable system to function, one refillable cylinder is in use
 with a technician or installer on a job site; one is in transit between filler, reclaimer or distributor;
 one is in storage with an end-user or distributor; and another is in the process of being filled,
 refurbished or recertified.



 6
     See ICF International, “Lifecycle Analysis of High-Global Warming Potential Greenhouse Gas Destruction” at
     110, (2011) (available at: https://ww2.arb.ca.gov/sites/default/files/classic//research/apr/past/07-330.pdf)
     (“CARB Lifecycle Analysis”) (“[F]or every disposable cylinder sold, four refillable cylinders must be in
     circulation to account for cylinders in use and in transit.”) As the CARB analysis explains:
           According to National Refrigerants Inc., for each disposable cylinder replaced: one refillable cylinder is
           needed for the contractor, one for the wholesaler (to keep in stock to give the contractor upon return of an
           empty cylinder), one is in transit (back to the manufacturer for maintenance and refill), and one is filled in
           the manufacturer’s inventory (to replace the empty one in transit).
     Worthington has confirmed these numbers with multiple industry stakeholders who have refillable cylinder fleets.
 7
     EPA Cylinder Analysis at 15, n. 7.
 8
     Id.
 9
     See infra note 6.



                                                            5
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    Therefore, given an existing market of                                              the number of
    refillable cylinders needed to serve the market would be at least 26 million. In contrast, EPA's
    analysis grossly underestimates the required number of refillable canisters to replace NRCs at just
    over 3 million,10                 than the actual number required to maintain a reliable refrigerant
    replacement system .

                        In addition, m Worthington 's experience and          discussions with industiy
    stakeholders (reclaimers and refrigerant producers who currently purchase refillable cylinders)
    iliere is a need to replace 10-1 5% of refillable cylinders eve1y year due to damage, loss, or reaching
    ilie end of the cylinder's useful life. In fact, a well-established business in the EU stated they
    experience 30% turnover in refillable cylinders annually. Hence, in a market of exclusively
    refillable cylinders, at least an additional 2.6 to 3.9 million new cylinders would be needed to be
    manufactured annually to replenish the fleet.

                   The significantly larger "fleet" of refillable cylinders required to service the
    existing NRC market will produce a su bstantial increase in GHG emissions related to the
    production of the cylinders, given refillables' heavier weight (21 pounds tare weight for refillables
    versus 5 pounds for the majority ofNRCs)_ll Based on a 2011 repmt prepared for ilie California
    Air Resources Board ("CARE") that EPA cites in its own analysis, 12 GHG emissions produced
    during the manufacture of one refillable cylinder total 28.98 kg-CO2e in comparison to 9.67 kg-
    CO2e per NRC. Setting aside the initial n eed to produce at least 26 million refillable cylinders
    (approximately 725 million kg-CO2e in manufacturing emissions), to meet annual refillable
    replacement cylinder needs equates to GHG emissions of between approximately 74 million and
    111 million kg-CO2e annually.


              B.        Refillable Cylinder Trips Add to Greenhouse Gas Emissions

                     EPA's analysis does not consider the magnitude of inc1·eased emissions attributable
    to the substantially greater transpo1tation requirements of shifting to an all-refillable cylinder
    market in ilie United States. Today, as shown in ilie chait below, NRCs make three ti-ips between
    filler and their end-of-life at a steel recycler: from the gas producer to disti-ibutor, from disti·ibutor
    to the end user, and, fmally, from end user to th e steel recycling facility. In ilie closed-loop system
    for refillable cylinders, there are at least five ti-ips involved: from gas producer to disti-ibutor, from
    disti-ibutor to end user, from end user back to the disti-ibutor, from disti-ibutor to a reclaimer, and
    from the reclaimer to the gas producer for refilling to strut the cycle over again. In some scenai·ios,
    a sixth trip to a warehouse is required for storage of ilie cylinder prior to delive1y to the wholesale

     10
          EPA Cylinder Analysis at 17 ("Assuming all refillable cylinders are refilled an average of 1.5 times per year,
          approximately 3,015,000 refillable cylinders would need to be purchased to replace nonrefillable cylinders.").
     11
          The majority ofNRCs currently shipped by Worthington are the 260 p .s.i. cylinders (low pressure) that weigh 5
          pon ncl.s. Higher-pre.~snre (120/400 p.s.i.) cylincl.ers typically weigh 6 -7 p onncl.s.
    12
          CARE Lifecycle Analysis at 113, Table III-5.



                                                                    6



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 distributor. Likewise, imported cylinders often will be trucked from the port to a warehouse for
 storage before going to the wholesale distributor.


                  Tare weight: 5 lbs.                                                     Ta re weight: 21 lbs.
                  No. of filled cylinders per truck: 1,120                                No. of filled cylinders per truck: 800




        Gas Producer                                                        Gas Producer                             Gas Producer
          or Filler                                                           or Filler                                or Filler




           Wholesale                                                           Wholesale
           Distributor                                                         Distributor




                                                                                                                        Wholesale
                                       Steel Recycler
                                                                                                                        Distributor

                                                                 •There may be additional trips from warehouses to store filled and empty cylinders
                                                                 .. lmpons of cylinders will add an additional trip via ocean freight



                According to the CARB Lifecycle Analysis referenced by EPA, when examining
 this issue with respect to the distribution of cylinders within the state of California, the average
 distance traveled by each refillable cylinder is 5,100 miles compared to 3,080 miles for NRCs,
 over 65% more.13 While this analysis was limited to the state of California, the vast geographic
 scope of the United States suggests that a similar or greater difference in the magnitude of refillable
 versus non-refillable cylinder transport miles would be seen on a national scale, with
 corresponding increases in GHG emissions attributable to refillable cylinders.
                 In addition to the greater number of trips required per cylinder, trucks can carry
 fewer refillable cylinders per trip compared to NRCs due to weight and size differences. As EPA
 notes, a typical transport truck can carry approximately 1,120 non-refillable cylinders or 870
 refillable cylinders.14 Based on discussions with our customers, depending on the packaging
 appropriate for the type of gas being transported, a truckload will carry 720-800 refillable
 cylinders. This translates to an additional 28.7 to 45.9% trips needed to transport the same number
 of refillable cylinders as NRCs.
              Further, a substantial increase in the shipment of foreign-produced imports will be
 needed to meet the vastly increased demand for 30-pound refillable cylinders. Many such

 13
      CARB Lifecycle Analysis at 115, Table III-8.
 14
      EPA Cylinder Analysis at 17.



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 shipments will involve overseas shipping from ports in Shanghai, China, Mumbai, India, and
 Bangkok, Thailand to domestic receiving ports in Newark, NJ, Baltimore, MD, Philadelphia, PA,
 Norfolk, VA, and Long Beach, CA. Shipment of the heavier, standard 30-pound refillable
 cylinders via ocean liner to the United States will result in substantial additional transportation-
 related GHG emissions.
                  In sum, EPA should recognize the substantial increase in total GHG emissions
 attributable to a system dependent solely on refillable containers. The emissions associated with
 the added number of trucks needed to move the same number of cylinders, plus the at least two
 additional trips inherent to the closed-loop refillable distribution system, as well as the overseas
 transport of refillable containers to the United States – emissions increases EPA has not accounted
 for in its analysis – will offset the theoretical emissions savings that may be achieved by replacing
 NRCs with refillables.
          C.       EPA’s NRC Heel Data Is Unreliable and Inconsistent, and Incorrectly
                   Assumes Trained Professionals Regularly and Illegally Vent
                   Refrigerants
                EPA’s analysis assumes that the residual amount of refrigerant (“heel”) left in an
 end-of-life NRC averages 1.25 pounds (5% of the initial 25-pound charge). This assumption is
 based on two personal communications between EPA staff and representatives of an industrial gas
 supplier and refrigerant reclaimer.15 EPA does not explain how phone conversations in which two
 individuals provided unverifiable and anecdotal estimates of heel amounts are appropriate sources
 of data in comparison to historic studies of the issue that are in the rulemaking record, almost all
 of which show that the average heel is substantially lower than EPA’s assumption.
                 In fairness, the existing studies on the average “heel” amount are mostly a decade
 or two old and include data that may pre-date the increased education and awareness of the need
 to recover refrigerant heels at the end-of-life. These studies show, outside of an outlier from 1998,
 that the “heel” averages about 1.5-3%. For example, in a 2000 study, AHRI found that the average
 amount of heel was 0.45 pounds (1.5%) to 0.90 pounds (3%). EPA’s 2007 study found 0.56
 pounds (2%). EPA’s most recently cited empirical study (Stratus, 2010) reported an average of
 1.8 pounds and a 3% heel, though this was a small, non-representative sample of 110 cylinders in
 one area. In addition, CARB, which has studied this issue more than any other U.S. regulatory




 15
      EPA Cylinder Analysis at 13: “However, recent industry outreach indicated non-refillable cylinders contain
      approximately 1 to 1.25 pounds of residual heel and another estimated the typical heel in a non-refillable cylinder
      is approximately 1.5 pounds (A-Gas 2021a, FluoroFusion 2021). This analysis therefore assumes a residual heel
      of approximately 1.25 pounds.”



                                                            8
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 body, estimated an average heel of 1.85% (or 0.44 pounds of the standard 24 pounds in a 30-pound
 cylinder).16
                 Clearly, there is a need for more data regarding the amount of the heel. In
 discussions with other industry stakeholders, Worthington has been told that heel amounts average
 0.30 pounds (1.2%). While there are some outliers (roughly 2% had one or more pounds of heel
 in a recent review), the lower average heel amount is likely due to the fact that the HVACR
 industry, including service technicians and reclaimers, have become better educated during the last
 two decades on proper handling of end-of-life cylinders and compliance with venting prohibitions,
 as well as greater adoption of voluntary industry standards such as AHRI’s Guideline Q: Content
 Recovery & Proper Recycling of Refrigerant Cylinders.17
                 From existing data in EPA’s rulemaking record, it is apparent that the agency’s
 assumption of a 5% heel is greatly overstated and serves to inflate the claimed emissions reduction
 benefits of the NRC ban by at least double (based on the heel of 1.5-3% from the historic reports
 cited in EPA’s rulemaking record). Based on the information received by Worthington, it is clear
 that EPA’s assumption is not consistent with current industry experience, and that an average heel
 of 0.30 pounds is closer to reality.
                  Further, EPA makes the extraordinary assumption, again based on two phone
 conversations (transcripts of which do not appear to be in the docket),18 that 95% of NRCs
 currently are vented illegally without proper reclamation of the refrigerant.19 To accept the
 assumption that 95% of NRCs are vented without reclamation is to believe that, despite the fact
 that it is illegal to vent refrigerants, licensed professionals are willing to violate the law (and
 industry standards, such as Guideline Q) and risk Clean Air Act criminal penalties and fines of up
 to over $48,000 per violation. It is unclear what the basis of the 95% estimate is, though it is
 certainly possible that the industry sources cited by EPA were estimating that 95% of NRCs are
 not returned to the companies after they are sold. This makes sense as there is no take-back
 requirement and the licensed professionals who use the cylinders would not be expected to return
 them but, rather, dispose of them properly without illegal venting, such as through recovery of




 16
      CARB Lifecycle Analysis at 103: “Based on an assumed average heel of 1.85% (Perrin Quarles Associates 2007),
      ARB (2008) estimated current ‘heel’ emissions from disposable cylinders to range from 0.25 to 0.31 million
      metric tons of carbon dioxide equivalent (MMTCO2e) per year.”
 17
      Available at:      https://www.ahrinet.org/App Content/ahri/files/Guidelines/AHRI Guideline Q 2016.pdf.
      (“AHRI Guideline Q”).
 18
      EPA Document Number EPA-HQ-OAR-2021-0044-0040 (Email to Jill Tronca and Luke Hall-Jordan from Dave
      Couchot, President, FluoroFusion Specialty Chemicals, Inc., regarding call script (Apr. 9, 2021).
 19
      EPA Cylinder Analysis at 14 (“the assumed baseline is that 1.25 pounds of refrigerant remain in the cylinder
      that is vented unless recovered, and that 95 percent of all cylinders are vented (A-gas 2021a, FluoroFusion
      2021).”). Copies of the referenced “personal communications” do not appear to be available in the docket.



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 refrigerant heel with a vacuum pump in the field; in-house refrigerant recovery and recycling; or
 sending NRCs to a reclamation and recycling facility.
                 CARB previously estimated that 70% of NRCs were recycled or disposed without
              20
 evacuation. Importantly, this estimate was prior to California adopting refrigerant management
 rules that require proper evacuation and reclamation of the heel. It stands to reason that after the
 adoption of heel evacuation requirements that the percentage of NRCs that are disposed without
 proper recovery would be substantially lower, given the potentially massive monetary and criminal
 penalties associated with a violation, as well as loss of professional license or employment.
 Accordingly, while clearly more data are needed on this issue, a more reasonable assumption is
 that the number of improperly disposed NRCs is less than the 70% that CARB estimated over a
 decade ago, and likely significantly so. Given the consequences involved, it would not be
 unexpected if less than 10% of NRCs today are improperly vented; but it is at least reasonable that
 the percentage is somewhere in the range of 10-70%.




 20
      CARB Lifecycle Analysis at 138:
          Based on previous research and communication with industry before the California heel evacuation
          requirements existed (per ARB’s Refrigerant Management Rule), it was assumed that about 70% of non-
          refillable cylinders reaching EOL were recycled or disposed by technicians without evacuation; the remaining
          30% were assumed to be evacuated down to the ARI standard of 15-inch mercury vacuum.



                                                         10
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       Table 1-1 Update to EPA Table C- 3. Refr igerant emissions under cylinder recovery scenarios,
                               distr ibuted by per cent of cylinders vented
                                      EPA Case MMTC02e -4.5M NRCs
                                                           LBS remaining
                 Heel (Lbs)            0 .50         1 .00         1 .25          1 .50                 2.00              0.44             0.30
                                MTC02e         MTC02e        MTC02e        MTC02e                MTC02e           MMTC02e         MTC02e WI
                               s cenario 1    scenario 2    scenarlo3     scenario 4            scenarios       CARB scenario       scenario
                              (0.5 LB heel) (1.0 LB heel) (1.25 LB heel) (1.5 LB heel)         (2.0 LB heel)    (0.44 LB heel)    (0.3 LB heel)
                       10%             0.22          0.45          0.56           0.67                  0.89              0 .20            0.13
                       20%             0.45          0.89           1.11          1.34                  1.78              0 .39            0.27
                       30%             0.67          1.34           1.67          2.01                  2.67              0.59             0.40
                       40%             0.89          1.78          2.23           2.67                  3.57              0.78             0.53
                       50%             1.11          2.23          2.79           3.34                  4.46              0 .98            0.67
      % Vented         60%             1.34          2.67          3.34           4.01                  5.35              1 .18            0.80
                       70%             1.56          3.12          3.90           4.68                  6.2 4             1 .37            0.9 4
                       80%             1.78          3.57          4.46           5.35                  7.13              1.57             1.07
                       90%             2.01          4.01          5.0 1          6.02                  8.02              1.77             1.20
                       9 5%            2.12          4.23           5.29          6.35                  8.47              1 .86            1.27
                      100%             2.23          4.46          5.57           6.69                  8.91              1 .96            1.34


                                              Worthington case (MMTC02e) - [TOTAL MARKET) NRCs
                                                                                LBS remaining
                 Heel (Lbs)            0.50            1.00             1.25             1.50          2.00               0.44             0.30
                               MMTC02e          MMTC02e          M MTC02e        MMTC02e       MMTC02e           MMTC02e          MMTC02eWI
                               scenario l       Scenario 2       Scenario3       scenario 4    Scenario 5       CARB scenario       Scenario
                              (0.5 LB heel)    (1.0 LB heel)   (1.25 LB heel)   (1.5 LB heel) (2.0 LB heel)     (0.44 LB heel)    (0.3 LB heel)
                       10%            0 .33             0.65            0.81            0.98            1 .30             0.29             0 .20
                       20%            0 .65             1.30            1.63            1.95            2.60              0.57             0.39
                       30%            0 .98             1.95            2.44            2.93            3 .90             0.86             0 .59
                       40%            1.30              2.60            3.25            3.90            5.20              1.14             0.78
                       50%            1.63              3.25            4.06            4.88            6.50              1.43             0 .98
      % Vented         60%            1.95              3.90            4.88            5.85            7.80              1.72             1.17
                       70%            2.28              4.55            5.69            6.83            9.10              2.00             1.37
                       80%            2.60              5.20            6.50            7.80           10.40              2.29             1.56
                       90%            2.93              5.85            7.31            8.78           11.70              2.57             1.76
                       95%            3.09              6.18            7.72            9.26           12.35              2 .72            1.85
                      100%            3.25              6.50            8.13            9.75           13.00              2.86             1.95


                   Table I-1 updates EPA's analysis of emissions attiibutable to the NRC heel (Table
    C-3 in EPA 's Cylinder Analysis) to ( I ) reflect the greater number of NRCs in the market today;
    and (2) add columns showing the average heel found via CARE (1.85% or 0.44 pounds) and
    through Worthington's recent outreach to industiy stakeholders (0.30 pounds). The analysis
    highlights the substantially lower assumed GHG emission savings when applying more realistic
    assumptions regarding the heel estimate and percentage ofNRCs illegally vented. Under even a
    worst-case venting scenario that presumes, as EPA did, massive and wide-scale illegal venting by
    licensed professionals handling NRCs, the potential emissions savings are less than a quaiter of
    what EPA asse1ts. When more realistic, yet conservative, assumptions on the frequency of NRC
    disposal without proper recove1y ai·e considered (somewhere in the range of 10-70% as discussed
    above), the potential emissions savings are reduced to 0.20-1 .37 MMTCO2e per yeai·. Notably,
    even if the heel estimates relied on by CARE (1.85% or 0.44 pounds) ai·e utilized, then emissions
    would be no more than approximately a third of what EPA estimates, even using EPA's




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 unsupported 95% venting assumption, and much lower if the more reasonable 10-70% range is
 considered.
                If EPA were to factor in the emissions increases related to GHG emissions from the
 production of new refillable cylinders and the transportation of those cylinders, as detailed above,
 then any GHG emissions savings from the NRC ban would be substantially reduced if not
 eliminated.
          D.      CARB’s Analysis Shows that Heel Emissions Can Be Addressed with
                  Appropriate Recycling Measures
                The state of California has been the leader in mobilizing the phasedown of HFCs.
 After commissioning the detailed CARB Lifecycle Analysis and considering other studies on
 options to address emissions from NRCs, CARB opted to continue the use of NRCs with
 appropriate contractor and technician education programs:21
          In December 2009, ARB adopted various control measures, including mandating cylinder
          evacuation prior to recycling or disposal down to a 15-inch mercury vacuum, relative to
          standard atmospheric pressure of 29.9 inches of mercury. Evacuating refrigerant cylinders
          would remove all but 0.2% (approximately 0.05 lbs) of the leftover refrigerant heel
          normally remaining after the cylinder is used, resulting in annual emissions of 0.025
          MMTCO2eq per year. ARB considered, but did not adopt a control measure banning the
          use of disposable 30-lb. cylinders and requiring the use of refillable cylinders instead.

 CARB’s determination points to a better path forward than a simplistic and overly burdensome
 ban on NRCs – continuing education on proper reclamation and cylinder recycling and better
 enforcement of the venting prohibitions in existing law.
          Conclusion

                 In sum, EPA has dramatically overstated the benefits of the proposed ban on NRCs.
 First, the rulemaking record clearly shows that the best data in EPA’s possession while developing
 the proposal indicates that the average heel identified in historic studies is 1.5-3%. More recent
 data from Worthington’s discussion with industry stakeholders demonstrate that the average “heel”
 today is substantially lower than EPA has assumed. Accordingly, at best, the reductions EPA
 claims from the NRC ban are no more than a third, and likely much lower, than the agency’s
 analysis contends.

                  Second, EPA’s analysis does not take into account the substantial increase in GHG
 emissions that the proposed NRC ban will generate from the production of a much larger fleet of
 refillable cylinders and, even more so, the exponential increase in transportation-related emissions
 that the refillable cylinder fleet will necessitate.


 21
      CARB Lifecycle Analysis at 103.



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                  For these reasons, W 01thington mges EPA to consider the path taken by CARE and
    to mandate control and other measures that will achieve substantial reductions in venting
    emissions, while avoiding an unnecessaiy ban on NRCs.

                            Table 1-2: Summary Comparison of Key Assumptions
                                                  EPA        Wol'thin ton                      Basis
     Non-rnfillable Cylindel'S/veal'           4,500 00                           Actual shioment and ITC Data
     Refillable Cylinde1·s Needed              3,0 15,000     26,000,000         EPA Cylinder Analysis, CARB,
                                                                                         Industry sources
     % Refillable Cylinders Disposed/yea1·        5%            10- 15%          Industry sources with refillable
                                                            (12.5% average)                cylinder fleets
     Refillable Cylinders Disposed/yea1·        150,750        3,250,000           Calculated from above data
     % NRCs Vented                               95%           Unknov.'ll      EPA supporting data not provided
                                                                              in docket; EPA assumes widespread
                                                                               illegality and lack ofenforcement;
                                                                                  CARB indicated 70% in 2007
                                                                               before meaningful educational and
                                                                                        enforcement efforts
     Lbs Refrigerant Remaining at Disposal        1.25         0.30-0.44            CARB; Industry sources



    II.               EPA Improperly Assumes That a Ban on Non-Refillable Cylinders Will
                      Curb Illegal Production and Import of HFCs

                    One of EPA's stated obj ectives in proposing a ban on NRCs is to discourage and
    prevent illegal production, impmt and subsequent sales of HFCs. As EPA correctly states, "the
    phasedown of HFCs (in ce1tain regions) has led to illegal smuggling of these substances globally,
    often using non-refillable containers." 22 However, the agency extends this observation by
    asse1ting, without suppo1t , that " [d]isposable cylinders facilitate illegal refrigerant trade, and
    inhibiting this trade would be a benefit of a ban on the use of non-refillable cylinders." The
    experience of the European Union ("EU"), by fai· the largest refrigerant market to ban NRCs,
    demonstrates the fallacy of this assumption. Illegal activity in the EU is rampant as the next step
    of the F-Gas Phasedown approaches, yet the NRC ban has been in place since 2007.

                   In fact, common sense, and basic economics, explain that illegal refrigerant
    smuggling is the obvious consequence of the phasedown in refrigerants that are widely sought for
    use in HVACR equipment that remains in operation and on the mai·ket. Demand necessitates
    supply, and such supply will be provided regai·dless of the container the desired substance is in.
    EPA's reasoning conflates the container with its contents.

              A.      Illegal Refrigerant Smuggling in the EU Is Not a Non-Refillable
                      Cylinder Problem, But a Matter of Compliance Enforcement



    22
          EPA Cylinder Analysis at 20.



                                                     13



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                  Despite a ban on NRCs, regulated refrigerants continue to be smuggled into the EU.
 Indeed, EPA’s own analysis highlights the extent to which illegal refrigerant smuggling remains a
 major problem in the EU.23 Omitted from EPA’s discussion is the fact that such smuggling occurs
 with both refillable and non-refillable containers. For example, while EPA notes that “more than
 72 percent of surveyed companies indicat[ed] they had seen or been offered refrigerants in illegal
 disposable cylinders,”24 the agency neglects to mention that the same report from the EU-based
 Environmental Investigation Agency (“EIA”)25 also indicates that “many companies also stated
 their belief that illegal HFCs were being placed on the market in refillable containers.” Similarly,
 a report submitted to the U.S. Trade Representative by U.S. producers and exporters of HFCs, and
 cited in EPA’s current rulemaking record, notes that “[m]ore recently, illegal HFCs have been
 found in reusable cylinders, making it even more difficult to identify them.”26

                 In a May 2021 open letter to EU Policymakers, the European Fluorocarbons
 Technical Committee (“EFCTC”) and several organizations in the HFC value chain detailed the
 black market in illegally imported HFCs, which “continues to thrive across Europe,” and asked for
 action to tighten and harmonize enforcement in all Member States by: (1) promoting best practices
 in terms of border controls and VAT checks; (2) asking Member States to set higher, more
 dissuasive fines; and (3) building knowledge on the issue of illegal HFCs.

                 In a June 4, 2021 article, The Wall Street Journal (“WSJ”) found the EU’s ban on
 NRCs has not worked.27 In fact, the WSJ found that, despite the ban, foreign manufacturers,
 mainly from China, have dumped massive quantities of illegal refrigerants on the market.28
 Smuggled refrigerant enters the EU in a variety of containers, including NRCs, refillables, and via
 filled air conditioning units, other equipment, and ISO tanks.

                The Wall Street Journal article also makes the obvious point that “[t]he price
 difference between sophisticated new EU-approved refrigerants and cheaper, abundant and
 generally interchangeable older formulas has sparked a black market and drawn smugglers, many
 from international crime syndicates.” Clearly, these bad actors will find a way to move product


 23
      EPA Cylinder Analysis at 20-21.
 24
      EPA Cylinder Analysis at 20.
 25
      EIA, “Doors Open: Europe’s flourishing illegal trade in hydrofluorocarbons (HFCs)” at 14 (April 2019)
      (available at: https://stopillegalcooling.eu/wp-content/uploads/EFCTC OpenLetter English 2-1.pdf).
 26
      Letter to Edward Gresser, Chair of the Trade Policy Staff Committee, Office of the United States Trade
      Representative from Bradford L. Ward, Counsel for Arkema Inc., The Chemours Company et al., concerning
      Comments Regarding Foreign Trade Barriers to U.S. Exports of Hydrofluorocarbons, at 11 (Oct. 26, 2020).
 27
       “Smugglers Undercut Green Targets for Air Conditioners, Refrigerators in Europe,” The Wall Street Journal
      (June 4, 2021) (available at https://www.wsj.com/articles/black-market-undercuts-green-targets-for-air-
      conditioners-refrigerators-in-europe-11622804684).
 28
      Id.



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 and dump it on a market, no matter the container. The solution to the problem is not to engage in
 a “whack-a-mole” style regulatory effort aimed at the containers, but, rather, enhance education
 and compliance efforts.

          B.       EPA Has Not Considered the Added Risk From Smuggled Refillable Cylinders

          As mentioned above, the EU NRC ban did not stop illegal smuggling but simply resulted
 in a shift from NRCs to refillable cylinders and other containers. Even if EPA believes that banning
 NRCs results in a decrease in smuggling, EPA must also consider the disbenefits from the
 smuggling of poorly constructed and potentially dangerous “single use refillable” cylinders.

                 A January 2019 Cooling Post article, “The Rise of the Disposable ‘Refillable,’”29
 describes how low-quality refillable cylinders are spreading throughout the EU market with no
 intention of being returned and refilled:

          The high price of refrigerants, means that the comparatively low cost of the cylinder is no
          barrier to the potential huge profits to be made from importing and selling the gas in
          “refillable” cylinders. These cylinders, possibly imported outside of the quota system, are
          now being sold with no provision for their return for refilling as required under the F-gas
          regulations.

 Thus, in Europe, the NRC ban has resulted in the proliferation of poorly manufactured, leak-prone
 refillable containers that pose a threat to the environment and increase HFC emissions (and are
 less likely to meet safety specifications necessary to protect technicians, homeowners and
 workers), but also “orphan” containers that no longer have an owner to properly recover contents
 or maintain the cylinder. When discovered empty, the market must reject them, essentially
 rendering these larger, heavier “refillable” cylinders as waste that must be moved to scrap yards
 or landfills.

          C.       Technology Can Be Part of the Solution

               Technological options exist that can be part of the compliance solution. For
 example, to address economic harm from low-quality counterfeit product in the past, Worthington
 employs distinct markings and rotating codes to authenticate our product.




 29
      “The Rise of the Disposable ‘Refillable,’”                        The Cooling Post (Jan. 23, 2019)
      (https://www.coolingpost.com/world-news/rise-of-the-disposable-refillable/). (“While a clampdown by the
      authorities in some European countries may have stemmed the flow of gas in illegal disposables, some of the
      illegal activity has now switched to supposedly legal refillable cylinders. The refrigeration and air conditioning
      industry, along with environmental groups are calling on the authorities to take action to stop this increasingly
      worrying illegal trade.”).



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          STAMPS OF AUTHENTICITY
          GUARANTEED QUALITY. GUARANTEED WORTHINGTON.                                      NEW UNIQUE VALVE STEM SYMBOL
          Onlygenuine Worthington pmducts feature the collar design shOW11 above.          • Provides increased authenticity ve,ification
          For added secuuty. verify authenticity w,th signature stamps-                    • Symbol will change periodically and can be traced
          //it doesn·t have our mark. its not aWorthmgton.                                   back to cylinder's corresponding Julian date code.




                                                                                                                                  ■,~ WORTHINGTON
                                                                                                                                  ~               I N DU ST RI ES



 Further, for years, at customer request, Worthington has printed QR codes on NRCs and packaging
 cartons to combat counterfeiting. Likewise, some gas producers use anti-counterfeiting stickers
 that can verify legally filled cylinders via quick scan. Examples of such labeling are provided
 below.

                                  rotect yourself, your employees and your customers.



                                                           ·---
                                   ook for Chemours' Ant i-Counterfeiting Security features

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                                                          " ,....              ~
                                                         ---- MCUnty label

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                 Notably, the U.S. Department of Commerce and ITC recently took action to impose
 duties on foreign-produced NRCs that the agencies recognized were being dumped at prices below
 fair value to the detriment of the U.S. industry. Prior to that, both agencies had imposed duties on
 dumped imports of refrigerants. EPA’s HFC phasedown rulemaking should not undercut the
 actions of both the Commerce Department and ITC, but build off them by recognizing that U.S.-
 manufactured NRCs are not part of the HFC problem, but, in fact, as explained further in Section
 IV, part of the solution in ensuring that HFCs are transported and stored in high quality containers
 that can be authenticated.

 III.                 EPA Has Neglected to Assess the Economic Impact of the Proposed
                      NRC Ban on the U.S. Refrigerant Supply Chain or on U.S. Cylinder
                      Manufacturers



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        A.      The Proposed NRC Ban Risks Serious Unintended Consequences from
                a Disruption of the Critical Cooling Supply Chain

                Global cylinder manufacturing capacity currently is incapable of meeting the
 demand for refillable cylinders – a four-fold increase from the current number of NRCs in the
 market, as detailed in Section I of these comments – that the proposed NRC ban would generate.

                                                     Implementing a 2023 ban on NRCs, as EPA
 proposes, will necessitate massive investment and reconfiguration of the cylinder manufacturing
 industry, as well as the dramatic expansion of the infrastructure needed to manage the deployment
 of refillable cylinders on such a wide scale. Even with a major sustained effort, the likelihood of
 sufficient manufacturing capacity being in place within two years is speculative at best.

                   As proposed, EPA’s banning of NRCs threatens to disrupt, and decrease the
 reliability of, the U.S. supply of refrigerants to meet the critical cooling and refrigeration needs of
 a major portion of the nation’s economy, including the healthcare and medical community,
 agriculture and food supply, major manufacturing and industrial operations, energy generation and
 transmission, and transportation. If shortages do arise, it is likely that the ability to satisfy
 residential demand, particularly during summer heat waves, will be compromised.

                EPA should evaluate the potential unintended consequences of an NRC ban and
 account for them in the rulemaking. In particular, EPA should assess alternatives, as discussed in
 Section IV of these comments, in comparison to the risks posed by an NRC ban.

        B.      The Proposal Does Not Account for the Economic Impact of the NRC
                Ban on the HVACR Industry

                 EPA has not addressed the financial burden the proposed NRC ban will impose on
 the U.S. HVACR industry, given the infrastructure requirements necessary to support refillable
 fleets of the magnitude that the ban will necessitate. As discussed above, each of the millions of
 NRCs annually produced for the U.S. market by American and foreign manufacturers will need to
 be replaced with at least four refillable cylinders to service the entire U.S. industry. This could
 mean up to $2 billion in cylinder fleet conversion, plus vehicle retrofits, filling retrofits,
 requalification, lost time and sales in empty cylinder drop-off to a wholesale location, and
 wholesaler staffing, tracking and warehouse size increases (increases that may not be attainable
 due to business size and location). The result will be the loss of some, and perhaps many, small
 and medium-sized HVACR businesses.

                 Key questions that EPA should address include: Will HVACR businesses be able
 to bear such a huge increase in capital expenses? How will wholesalers – especially in space-
 constrained cities – afford, or even have the opportunity to acquire, increased warehouse space for


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    refillable cylinders? How will roles change for each of the refrigerant segments today - repackers,
    reclaimers and producers? These issues are completely unexamined by EPA.

             C.       EPA Has Not Considered the Economic Impact on the U.S. Cylinder
                      Manufacturing Industry

                   EPA ' s "Cost Analysis of Replacing Non-refillable with Refillable Cylinders" 30 is
    limited in scope and flawed in a number of respects. For the following reasons, the agency' s
    economic analysis is incomplete and inadequate to suppoli proper assessment of the proposed ban
    onNRCs:

         •   Failed to consider the economic impact of the NRC ban on the U.S. NRC
             manufacturing industiy ;
         •   Does not account for the substantial additional number of cylinders that will be
             required to se1ve the market;
         •   Does not consider the costs associated with periodic inspection and reconditioning
             of refillable cylinders; and
         •   Numerous other assumptions regarding the costs of refillable cylinders and their
             ti·anspmtation are in error.

                  First and foremost, the EPA analysis does not take account of the impact of the
    proposed NRC ban on the U.S. indusby producing NRCs. The domestic industiy producing NRCs
    cunently consists of a single producer, Wo1ihington Industi-ies. Wo1t hington produces NRCs at
    its two manufacturing facilities in Columbus, Ohio and Paducah, Kentucky.




                   The U.S. market for NRCs consists of three different areas of application:
    refrigerant and related gases; foam and adhesives; and helium. HFC refrigerant applications
    account for the majority volume of NRCs.




                   While Wo1ihington could in theo1y reconfigure its NRC production operations to
    produce refillable cylinders, such a ti·ansition would be complex, expensive, and challenging. Such
    a transition would entail a full redesign of the production line, including interaction with existing

    30
         EPA Cylinder Analysis, Section 4.



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 refrigerant customers and extensive product testing, working with producers of capital equipment
 to develop new production equipment capable of producing the product and/or retrofitting current
 production equipment, creation and installation of new production lines, training production
 employees, changing packaging and transportation materials as needed, modifying software
 related to production, inventorying, and sales of the product, potential new storage facilities, and
 so forth.


                 Second, due to the refillable nature of this cylinder type, the introduction of such a
 product would require a huge initial production volume in order to fill the distribution pipeline for
 the product, but then substantially lower production volumes in years to come once this initial
 stocking of the system took place. Based on its experience with refillable cylinders for other uses,
 as well as from input from current refrigerant producers and reclaimers who use refillables in other
 markets, Worthington estimates that in order to transition the market from non-refillable to
 refillable cylinders, there will need to be multiple refillable cylinders for each NRC currently in
 the system. As detailed in Section I of these comments, for the market to function there will need
 to be cylinders in each of the different distribution phases of the refillable cylinder: (1) in use; (2)
 in transit; (3) in a warehouse or on a distributor shelf; and (4) in filling, refurbishment, or
 recertification. Thus, in relation to NRCs, there will initially need to be four times as many
 refillable cylinders in the market.
                                                          the market will require at least 26 million
 refillable cylinders to “prime the system” when the product is introduced. In following years, a
 lower number of refillable cylinders will need to be produced, as our experience in Europe and
 customers with refillable fleets indicate, that 10-15 percent of cylinders will need to be replaced
 due to damage, loss, or reaching the end of their life cycle. In sum, the EPA analysis fundamentally
 underestimates the costs associated with a move to refillable cylinders by overlooking the need for
 cylinders in the various stages of distribution.

                 Indeed, the EPA analysis completely overlooks a significant, fundamental factor in
 the potential transition to a refillable cylinder for refrigerant gases, namely that if the cylinders
 have a 20-year life cycle, and are required to be introduced as of a certain year, all 26 million
 cylinders will be needed simultaneously in that year, with a substantially lower number of
 cylinders needed in future years. This production schedule will be utterly uneconomic and
 infeasible, given that Worthington will need to make a massive investment (as discussed above)
 in order to modify its product and manufacturing process to transition from a non-refillable to a
 refillable cylinder. This radical change in annual production volumes will deprive the production
 process of any regularity or predictability as to the proper capacity and staffing levels, and will
 require substantial up-front investment with little long-term return. At the very least, this disparity
 in annual output levels will mandate a substantial transition period in order to build up initial
 product volumes.



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                                                    While the domestic industry was successful in
 limiting imports of refillable cylinder imports from China through an antidumping case, low
 import prices from Thailand and Vietnam continue to keep domestic producers under severe price
 pressure. A ban on NRCs could cause a surge in low-priced imports of refillable cylinders, which
 would result in financial injury to the domestic industry, making investments in additional capacity
 impractical if not impossible. Indeed, one unintended consequence of the ban on NRCs would be
 the decimation of the U.S. refillable cylinder manufacturers (which consists of two companies) by
 encouraging low-priced imports.

                 Third, the EPA analysis also does not take into account the fact that refillable
 cylinders need to be inspected and reconditioned periodically, typically every five years for a
 cylinder of this type.31 DOT regulations stipulate that in order to ensure the continued safety of a
 cylinder carrying gases under substantial pressure, refillable cylinders of essentially all types must
 be rigorously inspected, reconditioned as needed, and certified on a regular basis after an initial
 period of qualification after manufacturing.32 It is likely that over a 20-year cylinder life, a
 refillable cylinder would need to be refurbished 3-4 times. Not only does this process involve
 costs to inspect, recondition, and certify the cylinder, there are also costs associated with tracking
 cylinders and maintaining the database of certification records. In addition, industry stakeholders
 who manage refillable cylinders indicate that refillables are cleaned and repainted upon each
 return, adding more costs to fleet management. EPA should reference DOT and other publicly
 available information as a basis for the additional costs that EPA did not consider when developing
 the proposed rule.

                EPA should be aware that the product currently under examination is produced as
 non-refillable for well-defined reasons. The DOT standards covering NRCs (DOT-39) mandate
 that these cylinders cannot be refilled under penalty of law. Producers of refrigerant gases insist
 the cylinders that store and transport their products not contain traces of other gases or liquids
 because the presence of even a small amount of other substances can contaminate the contents of
 a refilled cylinder and damage systems. Further, the products of some refrigerant manufacturers
 are proprietary compositions, so that producers have a fundamental concern over maintaining the
 integrity of their product by ensuring that the cylinders in which they pack their product can never
 be reused and filled by unscrupulous actors that might attempt to counterfeit their proprietary
 product.


 31
      See CARB Lifecycle Analysis at 117: “Cost of refurbishing refillable cylinders every five years throughout their
      20-year lifetime is assumed to be $13/cylinder, based on communication with Dupont (2011) and Airgas (2011).
      This cost reflects any repainting, cleaning, inspection, hydrotesting, or revalving that must be conducted.”
 32
      49 C.F.R. §180.209.



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                    Finally, EPA's analysis also reflects a number of errors in its basic assumptions.
    While the EPA analysis estimates the total cmTent volume of non-refillable cylinders for use with
    refrigerant gases as 4.5 million units, the actual volume of annual NRC shipments is approximately
                        33
                             Fmther, while EPA's analysis assumes that the price of a NRC is
    approximately $12 per unit,34
                                                          The EPA analysis also assumes that refillable
    cylinders for refrigerants will cost approximately three times the cost of an NRC, or $36 per unit.35
    This price does not include the valve, which comprises a substantially greater portion of the cost
    of the cylinder.
                                                                                             higher than
    the EPA' s estimate for a refillable cylinder,                                 higher than the EPA
    assumption of the price of a non-refillable cylinder. Based on the EPA 's umealistic assumptions
    concerning the market size and prices for both non-refillable and refillable cylinders, the EPA
    analysis grossly understates the estimated economic impact of the proposed move to refillable
    cylinders.

                     The EPA analysis also understates th e additional costs associated with the
    transpo1tation of refillable cylinders. First, the EPA analysis assumes tare (empty) weights of 6-7
    pounds per NRC and 15-17 pounds for a refillable cylinder. 37 For W01thington, however, as
    explained in Section I of these comments, the relative weights are 5 pounds for the majority of
    NRCs and 21 pounds for refillable cylinders. Thus, while the EPA analysis assumes that the
    refillable cylinder will weigh two to three times as much as a non-refillable, Wo1t hington estimates
    that a refillable cylinder designed to hold refrigeran t gases would embody a weight more than fom
    times higher than a NRC. Second, the EPA analysis estimates that 870 refillable cylinders can be
    packed on a trnckload. 38 This estimate is at odds with the experience of Wo1t hington customers,
    who repo11 that 720-800 cylinders of this type could be packed per trnckload. The assumptions of
    the EPA analysis in relation to product weight and cylinders per tmckload have the combined
    effect of substantially underestimating the disparity in freight costs between non-refillable and
    refillable cylinders.




    33
         See Section II of these comments.
    34
         EPA Cylinder Analysis at 16.
    3S   Id.
    36
         Wo1thington Recovery & Refillable Cylinders Price List (July 1, 2021) (30-lb. DOT-4BA-400,_     single-port
         (CGA 165) LN (600 psi PRD)).
    37   F.PA (;ylindm· Analysis at 17.
    3s   Id.



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            D.   Economic Impact Analysis Demonstrates that the Proposed NRC Ban
                 Will Be Much Costlier than EPA Assumes

                Worthington recreated EPA’s economic impact analysis for the proposed NRC ban,
 then sequentially revised the analysis by adjusting key assumptions to reflect Worthington’s real-
 world industry experience, as well as to incorporate factors missing from the agency’s analysis.
 (See Exhibit A) As detailed below, when all of these adjustments are considered, the cumulative
 effect shows that the annualized cost of the proposed NRC ban is almost 30 times what EPA’s
 analysis suggests ($521,399,762 – an increase of 2,725.2% over EPA’s estimated $18,232,696
 in annualized costs). These costs are excessive and underscore why an alternative approach to
 an NRC ban should be pursued, as described in the following section of these comments.

                  The methodology utilizes EPA’s various cost assumptions (e.g., cylinder, transport,
 and management cost assumptions) to construct cash flows for 2022 to 2050. In particular, the
 analysis constructs cash flows associated with the use of refillable cylinders and cash flows
 associated with the use of NRCs. Worthington discounts the cash flows (using EPA’s 9.8 percent
 discount rate) and sums the discounted cash flows to calculate the net present value (“NPV”) cost
 of using refillable cylinders and for using NRCs. The difference between these two NPVs is the
 net cost of switching from NRCs to refillable cylinders. The equivalent annual cost (“EAC”) of
 this difference is calculated to provide the “annualized” economic impact of switching from non-
 refillable to refillable cylinders.

                To ensure the proper calculations and baseline from which to build out the analysis,
 Worthington used EPA’s methodology and assumptions as proposed, and calculated an annualized
 cost of $18,455,041 to switch from NRCs to refillable cylinders. (See Exhibit A, Att. 1)
 Worthington’s calculations are essentially the same (within 1 percent) as EPA’s estimate of
 $18,232,696.39

                Attachment 2 of Exhibit A shows EPA’s cost assumptions (Scenario 1) along with
 Worthington’s alternative cost assumptions (Scenarios 2 to 7). In scenarios 2 to 6, Worthington
 introduces adjustments to EPA’s assumptions one at a time. Scenario 7 incorporates all of the
 adjustments to EPA’s assumptions. Accounting for all of these adjustments increases the
 annualized cost of switching to refillable cylinders to as high as $521,399,762 (an increase of
 2,725.2% over the annualized cost under the EPA’s assumptions). (See Exhibit A, Att. 1). Below,
 Worthington quantifies the impact of each adjustment to EPA’s cost assumptions.

                 First, as Worthington previously explained, it has two facilities that produce NRCs:
 Columbus, Ohio and Paducah, Kentucky. Worthington cannot produce refillable cylinders at these
 facilities without significant retooling, as described above.

 39
      Id.



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                                                                                        (See Exhibit
 A, Att. 2) Including these costs increases the annualized cost of switching to refillable cylinders
 to $29,118,852 (an increase of 57.8 percent from the annualized cost under the EPA’s
 assumptions). (See Exhibit A, Att. 1)

                  Second, as discussed above, EPA made erroneous assumptions concerning NRC
 market size, the number of refillable cylinders necessary to replace one NRC, and the refillable
 cylinder replacement rate (i.e., the rate at which refillable cylinders are replaced due to damage,
 disposal, etc.). In Scenario 3, Worthington assumes (1)
                                                        (2) that four refillable cylinders are necessary
 to replace one NRC (instead of the EPA’s 2/3 of a refillable cylinder for one NRC), and (3) that
 the refillable cylinder replacement rate is 12.5 percent (instead of EPA’s assumed 5 percent). (See
 Exhibit A, Att. 2) With these data points included, the annualized cost of switching to refillable
 cylinders increases to $121,871,968 (an increase of 560.4 percent from the annualized cost under
 the EPA’s assumptions). (See Exhibit A, Att. 1)

                Third, EPA neglected to account for periodic cylinder inspection and refurbishment
 costs. According to the CARB Lifecycle Analysis, refillable cylinders are inspected and refurbished
 every five years at a cost of $13 per cylinder.40 Because the $13 per cylinder is in 2011 dollars,
 Worthington inflates the cost to 2020 dollars, or $14.96 per cylinder. (See Exhibit A, Att. 3)
 Worthington calculates the present value of a cost of $14.96 every five years over a 20-year period,
 and then annualized that cost to yield an annualized refurbishment cost of $2.46 per cylinder. In
 Scenario 4, Worthington includes the annualized refurbishment cost. (See Exhibit A, Att. 2)
 Adding in these costs increases the annualized cost of switching to refillable cylinders to
 $25,871,304 (an increase of 40.2 percent from the annualized cost under the EPA’s assumptions).
 (See Exhibit A, Att. 1.).

                   Fourth, EPA used incorrect cylinder prices. In scenario 5,
                                                                                See Exhibit A,
 Att. 2) This adjustment increases the annualized cost of switching to refillable cylinders to
 $37,410,286 (an increase of 102.7 percent from the annualized cost under EPA’s assumptions).
 (See Exhibit A, Att. 1)




 40
      CARB Lifecycle Analysis at 117. Worthington believes that refurbishment costs are higher today than the 2011
      CARB report estimated. In addition, the CARB estimate does not account for the costs of cleaning and, in some
      cases, repainting, refillable cylinders each time they are returned.



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                Fifth, EPA overestimated the number of refillable cylinders (870) that can fit in a
 truckload. In Scenario 6, Worthington instead assumes that only 800 refillable cylinders can fit in
 a truckload based on the experience of industry stakeholders who ship filled cylinders today. (See
 Exhibit A, Att. 2) This change increases the annualized cost of switching to refillable cylinders to
 $24,459,049 (an increase of 32.5 percent from the annualized cost under EPA’s assumptions). (See
 Exhibit A, Att. 1)

                Finally, in Scenario 7, Worthington included all the above-described modifications
 to EPA’s assumptions. (See Exhibit A Att. 2) Accounting for all of these adjustments increases
 the annualized cost of switching to refillable cylinders to $521,399,762 (an increase of 2,725.2%
 over the annualized cost under the EPA’s assumptions)41. (See Exhibit A, Att. 1)

          E.       EPA Has Not Examined the Impact on Worker Health from Handling
                   Heavier Refillable Cylinders

                EPA’s analysis of the proposed NRC ban does not account for the impact on
 HVACR industry workers who will be required to handle these heavier refillable cylinders.
 Notably, a standard 30-pound refillable cylinder (51 pounds when filled) is 16 pounds heavier than
 today’s standard NRC. This is in addition to the 30- or 50-pound recovery tank that also will be
 carried around job sites. EPA should assess the effects of an NRC ban on service technicians and
 other workers who will be required to handle cylinders that are approximately 50 percent heavier
 than NRCs.




 41
      The cumulative effect of all Worthington’s adjustments together is greater than the effect of each adjustment
      individually. For example, increasing the number of refillable cylinders (Scenario 3), increases the cost impact
      of introducing cylinder refurbishment costs (Scenario 4) and the cost impact of revising refillable cylinder prices
      (Scenario 5). (See Exhibit A, Att. 1 and Att. 2). Consequently, the increase in annualized cost under Scenario 7
      (which includes all Worthington’s adjustments) is greater than the sum of that under Scenarios 2 through 6. (See
      id.)




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                 Due to the significant increase in weight of refillable cylinders versus NRCs, there
 is both a health and economic impact on service technicians and installers. As a result of the
 heavier weight, EPA should analyze the long-term health impacts to occupational workers who
 now have to lift significantly heavier cylinders than currently. EPA also must analyze the impacts
 of needing to hire additional occupational workers and the additional time to move these heavier
 refillable cylinders up flights of stairs and to various locations.42 No such analysis was included
 in EPA’s regulatory impact analysis.




 42
      The cost analysis for the rule also should consider the increased wear and tear, and the associated cost to
      contractors, from this additional weight on vehicle fleets used to transport the cylinders.



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 IV.                There Is a Better Path Forward

                               Worthington and other industry stakeholders believe there are better ways
                               to manage refrigerant containment that meet EPA’s goals of reducing
                               emissions and waste without disrupting or displacing U.S. HVACR
                               businesses with a move to refillable cylinders. Worthington asks the EPA
                               to consider these alternative solutions that allow the continued use of
                               recyclable, non-refillable cylinders in the most sustainable manner.

           A.       Alternative Solution to Address Heel Emissions in Non-Refillable
                    Cylinder Design

                 The Department of Transportation (“DOT”) regulates NRCs through the “DOT-
 39” specifications that are widely used in the U.S. and other parts of the world. “DOT-39”
 cylinders are the preferred containers for virgin refrigerant containment due to their affordability,
 lightweight construction, and excellent valve design. Consistent with DOT-39, Worthington’s
 valve prevents refilling of different or counterfeit refrigerants. Refrigerant loss via defect is very
 rare, as referenced by multiple stakeholders in EPA’s supporting documents.43 In fact, the defect
 rate for Worthington NRCs was less than one-tenth of one percent (<0.1%) of cylinders shipped
 between 2017 and 2019, a world class rating.

                Worthington's innovation team regularly designs cylinders and valves in response
 to market needs. As a company, Worthington has consistently moved with the industry, designing
 and adapting pressurized containers to meet the needs of new refrigerant blends as well as specific
 stakeholder needs. Most recently, a vessel that would safely store Class A2L, mildly flammable
 refrigerants, was required. Worthington researched and sourced the proper components for a
 spring-loaded pressure relief valve and integrated it into the design to be compliant with
 PHMSA/DOT requirements. For R-1234yf, replacing R-134a Automotive, Worthington
 incorporated the left-hand thread (CGA 164) so that an end-user cannot inadvertently connect a
 non-flammable and flammable gas.

                 To address EPA concerns with NRCs, Worthington’s innovation team is
 committed to finding an appropriate solution. In fact, Worthington already has several ideas of
 how to revise cylinder design to alleviate concerns about poor venting practices that result in heel
 emissions. As detailed below, Worthington proposes equipping NRCs with an alternative pressure
 relief device (“PRD”) and/or installing self-sealing valves to stop venting and preserve the ability
 to move refrigerants in this preferred container.


 43
       EPA Cylinder Analysis at 9 (“[D]effective valves are considered “very rare” among domestically manufactured
       nonrefillable cylinders (Rapid Recovery 2012a). It is estimated that approximately 0.02 percent of all refillable
       cylinders have defective valves that result in refrigerant loss (Refrigerant Services 2012).”).



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                   (1)      Install a resealable pressure relief device to prevent fugitive
                            emissions

                Currently, some DOT-39 cylinders have a CG-1 rupture disk PRD that does not
 reseal. However, in NRCs rated for flammable refrigerants, or A2Ls, a CG-7 spring-loaded,
 resealable pressure relief valve (“PRV”) is required. When activated by pressure, this PRV will
 open and reseal itself at set point, preventing fugitive emissions.

                   (2)      Use a self-sealing valve with gas flow control to prevent
                            intentional venting

                 DOT-39 cylinder valves also could be redesigned with a redundant pressure-tight
 seal to prevent the end user from intentionally or inadvertently venting refrigerant to atmosphere.
 This could be achieved with a check valve that controls gas flow, preventing the venting of
 contents by simply opening the valve.

                In fact, in 2016, EPA adopted an exemption for small cans of refrigerant for use in
 motor vehicle AC systems that are equipped with a self-sealing valve, defined as a valve affixed
 to a container of refrigerant that automatically seals when not actively dispensing refrigerant and
 that meets or exceeds established performance criteria.44 In finalizing that regulation, EPA
 determined that:

          self-sealing valves are an effective mechanism for controlling the release of non-exempt
          substitute refrigerants to the atmosphere, making it unnecessary to impose burdensome
          training and/or certification requirements more broadly at this time.45

 The regulation includes a standard for self-sealing valves that is based largely on CARB’s Test
 Procedure for Leaks from Small Containers of Automotive Refrigerant, TP–503 (as amended
 January 5, 2010).46 Under that standard, the leakage rate may not exceed 3.00 grams per year
 when the self-sealing valve is closed.

                 While the 2016 regulation applies to small cans with under two pounds of
 refrigerant, the same concept and technology is transferable to other size containers, including
 larger NRCs.




 44
      81 Fed. Reg. 82,272, 82,306 (Nov. 18, 2016); 40 C.F.R. §82.154(c)(2).
 45
      81 Fed. Reg. at 82,306.
 46
      40 C.F.R. Subpart F, Appendix E.



                                                        27
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          B.      Alternative Solutions to Address Improper Disposal of NRCs

        HVACR professionals are responsible for the proper evacuation and recycling of NRCs.
 Worthington has been in contact with several industry stakeholders and organizations that support
 enabling compliance through multiple methods—saving emissions, increasing reclamation and
 reducing landfill waste. We encourage EPA to seek industry input on alternative methods and
 pursue reasonable options in a different rulemaking.

                  (1)     Develop a Non-Refillable Cylinder Take-Back Program

                Some EPA-certified reclaimers have active take-back programs via distribution
 partners, making it effortless for the contractor to drop off spent cylinders and pick up new ones.
 Reclaimers will then pick up these used cylinders, properly recover the heel, and recycle the steel
 (one of the most renewable materials on the planet).

                  Alternatively, other options include:47

          •       Refrigerant users can utilize their own refrigerant heel recovery and cylinder
                  recycling program as part of their sustainability and carbon footprint reduction
                  goals;

          •       Contractors can properly evacuate the cylinder to 15 in-Hg and send the cylinder(s)
                  to a scrap metal recycler; and

          •       Refrigerant producers and packagers can establish a seller take-back program for
                  their wholesale customers that can be administered at a local level.




 47
      A similar flow chart was provided by CARB in its 2011 Analysis where end users could choose to properly
      recover the NRC heel and recycle the cylinder or return the cylinder to a take-back program location.



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                  (2)     Create Education Programs and Ensure Compliance

                It is widely known that venting refrigerant gas to the atmosphere is illegal.
 However, proper recovery and recycling of NRCs is only addressed through industry guidelines,
 specifically AHRI Guideline Q. Worthington recommends codifying similar guidelines as a
 regulation to govern the proper disposal of NRCs. Such regulations would require recovery of the
 heel and recycling of the steel cylinder by a metal recycler, therefore diverting cylinders from
 landfills.

               In addition, Worthington supports the approach adopted by CARB to implement
 end-user education programs that reinforce best practices for proper recovery and recycling of
 NRCs, as well as to remind technicians, installers and business owners of the consequences of
 venting.48

                  (3)     Labeling: Warning and Disposal Instructions

                 To enhance compliance and increase awareness and education, Worthington
 recommends that EPA require labeling of the cylinder and outer carton packaging informing the
 user of potential fines and other penalties related to the improper venting of NRCs. For example,
 PHMSA/DOT currently requires the following to be printed on cylinder labels: “Federal law
 forbids transportation if refilled-penalty up to $500,000 fine and 5 years imprisonment (49 U.S.C.
 5124).” Worthington recommends including a similar statement on NRCs, such as:

          Federal law prohibits intentionally venting ozone-depleting substances (ODS)
          and their HFC substitutes. Penalties up to $48,762 / day and possible
          imprisonment if violated (42 U.S.C. 7401).

 In addition, Worthington recommends that EPA require that universal disposal instructions be
 printed on NRCs and the carton label, such as:

          Instruction for Disposal:
          Do not vent residual pressure to atmosphere. Recover residual contents using
          proper recovery equipment, hoses and gauges to 15 in-Hg vacuum. Observe all
          precautions printed on the cylinder label. After recovery is complete, close valve
          and return for proper recycling in accordance with AHRI Guideline Q. Cylinder
          should be returned to Metal Recycler for processing.




 48
      CARB Lifecycle Analysis at 140 (Appendix C: Best Management Practices).



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 V.                The AIM Act Does Not Authorize a Ban on Non-Refillable Cylinders

                 As a threshold matter, the AIM Act49 does not require or authorize EPA to ban
 NRCs, and such a ban is not necessary to achieve the substantive goals of the AIM Act. In
 operative part, the AIM Act50 provides EPA with authority over the “servicing, repair, disposal, or
 installation of equipment.” The type of cylinder (refillable or non-refillable) is irrelevant to the
 potential for emissions during service, repair, disposal, or installation of HVACR “equipment.”

                While the term “equipment” is not specifically defined in the AIM Act, the
 legislation clearly distinguishes between “equipment” and “external containers” that store
 refrigerants. For example, the AIM Act defines “recover” as “the process by which a regulated
 substance is: (A) removed, in any condition, from equipment; and (B) stored in an external


 49
      Citations to the AIM Act reference the version of the Act available on EPA’s website
      (https://www.epa.gov/climate-hfcs-reduction/aim-act) as Section 103 of Division S of the Consolidated
      Appropriations Act, 2021 (H.R. 133).
 50
      The full text of Section 103(h) (emphasis added) reads as follows:
          (h) MANAGEMENT OF REGULATED SUBSTANCES.—
          (1) IN GENERAL.—For purposes of maximizing reclaiming and minimizing the release of a regulated
               sub-stance from equipment and ensuring the safety of technicians and consumers, the Administrator
               shall promulgate regulations to control, where appropriate, any practice, process, or activity regarding
               the servicing, repair, disposal, or installation of equipment (including requiring, where appropriate,
               that any such servicing, repair, disposal, or installation be performed by a trained technician meeting
               minimum standards, as determined by the Administrator) that involves—
              (A) a regulated substance;
              (B) a substitute for a regulated substance;
              (C) the reclaiming of a regulated substance used as a refrigerant; or
              (D) the reclaiming of a substitute for a regulated substance used as a refrigerant.
          (2) RECLAIMING.—
              (A) IN GENERAL.—In carrying out this section, the Administrator shall consider the use of authority
                  available to the Administrator under this section to increase opportunities for the reclaiming of
                  regulated substances used as refrigerants.
              (B) RECOVERY.—A regulated substance used as a refrigerant that is recovered shall be reclaimed
                  before the regulated substance is sold or transferred to a new owner, except where the recovered
                  regulated substance is sold or transferred to a new owner solely for the purposes of being
                  reclaimed or destroyed.
          (3) COORDINATION.—In promulgating regulations to carry out this subsection, the Administrator may
               coordinate those regulations with any other regulations promulgated by the Administrator that
               involve—
              (A) the same or a similar practice, process, or activity regarding the servicing, repair, disposal, or
                   installation of equipment; or
              (B) reclaiming.



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 container, with or without testing or processing the regulated substance.”51 Refrigerant-
 containing cylinders, of course, are external storage containers that the definition recognizes as
 distinct from HVACR “equipment.”

                Similarly, EPA’s existing regulations implementing the stratospheric ozone
 protection provisions of Title VI of the Clean Air Act (“CAA”), which the current proposal is
 intended to supplement, do not contemplate regulation of refrigerant storage cylinders as part of
 the universe of equipment (“appliances” or “controlled products”) subject to those regulations.52

                   • “Appliance” is defined as “any device which contains and uses a
                     refrigerant and which is used for household or commercial purposes,
                     including any air conditioner, refrigerator, chiller, or freezer.”

                   • “Controlled products” are defined as products that contain a controlled
                     substance and belong to one of six product categories, including:

                       “(2) Domestic and commercial refrigeration and air-conditioning/heat
                       pump equipment (whether containing controlled substances as a
                       refrigerant and/or in insulating material of the product), e.g.
                       Refrigerators, Freezers, Dehumidifiers, Water coolers, Ice machines,
                       Air-conditioning and heat pump units.”

 EPA guidance also is clear that cylinders are not considered “appliances” under the Title VI
 regulations:53

          Q: Is a section 608 certification required to pull the “heel” or residue out of an empty cylinder of
          refrigerant?

          A: No. Cylinders that store or transport bulk refrigerant are not considered appliances.

 Accordingly, EPA and the U.S. HVACR industry historically have viewed refrigerant cylinders as
 outside the scope of equipment regulated by the CAA Title VI regulations.




 51
      Section 103(b)(10).
 52
      See 40 C.F.R. Part 82, §82.3.
 53
      EPA, “EPA’s Refrigerant Management Program: Questions and Answers for Section 608 Certified
      Technicians,” available at: https://www.epa.gov/section608/epas-refrigerant-management-program-questions-
      and-answers-section-608-certified.



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                  EPA plainly has the power to adopt regulations that implement the AIM Act, but
 the agency’s authority to do so is “limited to the authority delegated by Congress.”54 Given the
 explicit text of the AIM Act, as well as the structure and history of Title VI of the CAA, Congress
 did not grant EPA authority to ban NRCs. Instead, the only provision in the Act that addresses
 such refrigerant containers draws a distinction between “equipment” (which is subject to EPA’s
 regulatory authority under Section 103(h)(1)) and “external containers,” which are not referenced
 in that grant of regulatory authority. If Congress intended for EPA to ban any type of cylinder, it
 could have readily provided EPA authority to regulate “external storage containers” of refrigerants
 as “equipment.” As the Supreme Court has admonished, Congress does not “hide elephants in
 mouseholes.”55 The elimination of the industry producing NRCs is such an elephant, and an
 endangered one at that, as found by the ITC.

                Under the Administrative Procedure Act (“APA”),56 courts will “hold unlawful and
 set aside agency action” that is “arbitrary, capricious, an abuse of discretion, or otherwise not in
 accordance with law.”57 To comply with the APA, EPA “must rely on facts in the record and its
 decisions must rationally relate to those facts.”58 The APA provides the minimal but essential
 mandate that “[f]ederal administrative agencies are required to engage in ‘reasoned
 decisionmaking.’”59 The proposed NRC ban is inconsistent with the agency’s mandate under the
 APA.




 54
      Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988).
 55
      Whitman v. American Trucking Assns., Inc., 531 US 457, 468 (2001).
 56
      5 U.S.C. § 551 et seq.
 57
      5 U.S.C. § 706.
 58
      See Bowen v. Am. Hosp. Assoc., 476 U.S. 610, 626 (1986).
 59
      Michigan v. EPA, 135 S. Ct. 2699, 2707 (2015), quoting Allentown Mack Sales & Service, Inc. v. NLRB, 522 U.
      S. 359, 374 (1998) (internal quotation marks omitted).



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                                          CONCLUSION

                 For the foregoing reasons, Worthington urges EPA to reconsider the proposed ban
 on non-refillable cylinders. Contrary to the agency’s assertion, such a ban will not result in
 meaningful HFC emission reductions, and any such reductions will be offset by the increase in
 GHG emissions from increased manufacturing and transportation associated with the expansion
 of the refillable cylinder market. Moreover, the ban has proven ineffective in curbing illegal
 imports of HFCs, as witnessed by the experience of the European Union. The economic impact
 on Worthington, and the risks such a ban poses to the continued reliability of the nation’s critical
 supply of refrigerants, have been largely overlooked by EPA’s analysis and do not justify adoption
 of the counterproductive proposed ban. Crucially, there is a better path forward that relies on
 technological advancements that are available to minimize end-of-life emissions from NRCs, as
 well as enhanced cylinder tracking, management, and education programs.

                Worthington looks forward to working with EPA to develop a more effective and
 justified approach to achieving the goals of the AIM Act while minimizing unnecessary adverse
 impacts on the U.S. HVACR industry.



                                         Respectfully submitted,



                                         _________________________
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 Attachment: Exhibit A (Confidential)




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       July 6, 2021
       U.S. Environmental Protection Agency
       EPA Docket Center
       Mail Code 28221T
       1200 Pennsylvania Avenue, N.W.
       Washington, D.C. 20460.

       Submitted via www.regulations.gov

              Re: Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation
              and Trading Program Under the American Innovation and Manufacturing Act,
              Proposed Rule, 86 Fed. Reg. 27,150 (May 19, 2021). Docket ID No. EPA-HQ-
              OAR-2021-0044.

               The Chemours Company FC, LLC (“Chemours”) appreciates the opportunity to
       comment on the Environmental Protection Agency’s (“EPA” or “Agency”) proposed rule
       to implement provisions of the American Innovation and Manufacturing Act (“AIM
       Act”) (the “Proposed Rule”).

               Chemours supported passage of the AIM Act and is pleased that EPA is moving
       forward to implement the Act’s allowance provisions necessary for the control and
       phasedown of hydrofluorocarbons (“HFCs”) in the United States. Chemours has
       developed and commercialized a portfolio of low global warming potential (“GWP”)
       products that utilize hydrofluoroolefin (“HFO”) technology. HFO-based products, in
       addition to low GWP HFCs, can provide environmentally preferable and sustainable
       solutions in multiple end uses that are currently dependent on higher GWP HFCs,
       including refrigeration, air conditioning, foam blowing agents and propellants.
       Chemours’ products can therefore help to facilitate the phasedown of HFCs required by
       the AIM Act utilizing a common metric -- the exchange value equivalent measure
       (“EVe”) – that ensures the environmental objectives of the AIM Act will be secured in an
       even-handed manner.

               As the comments to follow attest, Chemours supports the main elements of EPA’s
       Proposed Rule. Chemours, however, believes that several improvements and refinements
       can be made during the public notice and comment process. Allowance allocations
       should be based on the twin objectives of the AIM Act – one, phasing down HFCs in end
       uses in a step-wise fashion that assures compliance with the 85% phasedown
       requirement, and two, preserving and enhancing U.S. manufacturing leadership and jobs.
       Therefore, Chemours has outlined several areas where EPA’s proposed allowance
       allocation methodology can be improved, including with regard to initial allowance
       allocations and requiring that all production and importation of HFCs be required to
       “hold” a sufficient number of allowances.




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               Chemours also offers comments on several other areas covered by EPA’s
       Proposed Rule, including how allowance trading should be conducted and how EPA
       should address any market share that may have been gained through unfair trade
       practices. Chemours also believes that EPA’s Proposed Rule could be improved through
       consideration of several alternatives to its proposed requirement for “refillable” cylinders.
       Finally, Chemours offers comments regarding several technical assessments that the
       Agency has provisionally put forward within its draft Regulatory Impact Assessment.

                In short, Chemours commends EPA for moving quickly to implement the AIM
       Act and issue allowances by October 1, 2021, and believes that the Agency needs to “get
       it right”. The AIM Act offers the opportunity to achieve massive public health and
       environmental benefits, quantified by EPA at over $280 billion dollars. The details of the
       regulatory system needed to obtain these benefits is exceedingly important and EPA
       should endeavor to provide regulatory stability that will allow affected industries to
       reasonably plan for future control requirements.

               We want to thank the Agency for the dedication of the staff and the impressive
       work it has done to date to facilitate the publication of the Proposed Rule, host the
       various stakeholder engagements and for the thorough consideration of the comments
       that are attached.

                                               Sincerely,



                                               Esther Rosenberg, Global Regulatory Advocacy
                                               The Chemours Company FC, LLC




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 The Chemours Company FC, LLC


                                         CHEMOURS COMMENTS
         Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation and Trading
                    Program under the American Innovation and Manufacturing Act

                                                86 Fed. Reg. 27,150 (May 19, 2021)



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                               CHEMOURS COMMENTS
         Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation and Trading
                    Program under the American Innovation and Manufacturing Act

                                    86 Fed. Reg. 27,150 (May 19, 2021)


 I.     Introduction

         The Chemours Company FC, LLC (“Chemours”) has long supported EPA’s
 implementation of Clean Air Act (“CAA”) provisions designed to protect the earth’s
 stratospheric ozone layer. Chemours is a global leader in the production and sale of safe and
 energy efficient refrigeration, air conditioning, foam insulation, fire suppression, propellants and
 waste heat recovery fluids and thus has a vital interest in the transition to non-ozone depleting
 substances (“non-ODS”).

         Recognizing the serious public health and environmental issues presented by climate
 change, Chemours has also supported international efforts led by the United States to transition
 away from hydrofluorocarbons (“HFCs”) used in many of the applications cited above as
 substitutes for class I and class II ODS. In this regard, Chemours has supported efforts to obtain
 the advice and consent of the U.S. Senate regarding the Kigali Amendment to the Montreal
 Protocol and believes the United States should ratify the Amendment and participate in its
 implementation through future Meetings of the Parties to the Montreal Protocol.

        Congress developed the American Innovation and Manufacturing Act (“AIM Act”) to
 provide a statutory framework for the phasedown of HFCs in the United States. This law directs
 EPA to phasedown the production and consumption of regulated substances (HFCs) in a
 comparable timeframe to that provided by the Kigali Amendment. And we believe that, on the
 whole, the Environmental Protection Agency (“EPA”) has done a commendable job in
 developing a proposed rule within a short period of time given the requirement to both propose
 and finalize a rule to phasedown the production and consumption of HFCs in the United States,
 using an entirely new allowance allocation and trading program, within 270 days.

        As commendable as EPA’s efforts have been to develop and finalize a plan for the
 phasedown of HFCs and allocation, Chemours believes that there is room for improvement in the
 proposed rule in several areas, most particularly with respect to the core regulations both
 defining how allowance amounts will be calculated and how such allowances (which also
 compose the compliance system) will be allocated within the United States. Specifically,
 Chemours believes that the proposed rule can be improved and clarified in several areas:

        •   EPA should use the average of each active party’s highest 3 years of EVe weighted
            production and/or consumption (as measured in annual market share) during the years
            2011-2019 as the basis for determining allowance allocations for active producers and
            importers rather than the proposed 2017 to 2019 “highest year” (as measured in EVe
            weighted volume) methodology. An adjusted average market share using multiple
            data points taken over a longer baseline period would provide for a more equitable


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           distribution of allowances than under EPA’s proposal. For avoidance of doubt,
           Chemours does NOT support a requirement that the highest 3 years must be
           consecutive.

       •   EPA should allocate allowances solely to historic producers and importers of HFCs.
           While EPA has proposed that most allowances would be allocated on this basis, it is
           also proposing allowance set-asides and other measures affecting allowance
           allocations that are not specified in the AIM Act. In addition, EPA should not
           allocate allowances to entities that did not report prior production and consumption of
           HFCs despite a legal obligation to do so.

       •   As EPA has done in all prior phaseouts of class I and class II ozone depleting
           substances, EPA should allocate allowances for multiple years. Multi-year
           allocations are necessary to address commercial realities and enables companies to
           plan for the acquisition of necessary materials and establish stable supply chains.
           EPA should also allocate allowances on a company-wide rather than facility-level
           basis.

       •   Consistent with legislative intent, EPA should require allowances for imported
           products that contain HFCs as well as for HFCs that are imported in bulk containers.
           To allow importation of HFC containing products without allowances would create
           several strong incentives for foreign production to the direct disadvantage and
           economic injury of U.S. producers and companies engaged in the same business.

       •   EPA must address any market share that has been gained through unfair trade
           practices. As detailed in our comments and an attached report, several importers of
           HFCs produced in China have used unfair trade practices to penetrate the U.S.
           market. Obtaining market share through such means should not be further rewarded
           through the allocation of allowances.

       •   EPA’s proposed “set-aside” pool of allowances is not authorized by the AIM Act and
           EPA has not articulated a supportable rationale for its creation. EPA’s proposed
           allowance allocations to “new entrants” is also directly contrary to EPA’s 30-year
           history concerning allowances for the ODS phaseout.

       •   EPA should follow the prior precedent of the ODS phaseout by not imposing a
           “confiscatory” transfer tax which was not contemplated when Congress directed that
           EPA promulgate an allowance allocation and trading program. Any offsets required
           for the transfer of allowances should be minimized.

       •   In lieu of EPA’s proposal to require “refillable” cylinders for HFCs, EPA should
           implement much less expensive and more effective alternatives to counter illegal
           imports of HFCs into the United States. EPA’s technical analysis has grossly
           underestimated the costs of this requirement and likely overestimated the emissions
           reductions that can be achieved by banning non-refillable cylinders.




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        •      EPA should clarify provisions with respect to HFC-23 in line with AIM Act
               requirements and current efforts to destroy, to a very high efficiency, any HFC-23
               produced that is not directly utilized in products.

        •      With respect to EPA’s request for comment on methods to implement the AIM Act in
               2024 and later years, EPA must recognize that it has only limited, specific authority
               conveyed by the AIM Act for this purpose. While EPA requests comment on a wide
               range of alternatives, the AIM Act specifically directs that EPA employ an allowance
               allocation and trading program.

        •      Chemours supports many other elements of EPA’s proposed rule, including
               reasonable transparency provisions. In addition, certain proposed elements
               concerning container heels and the calculation of violations are well-intended but can
               be improved upon. EPA should also clarify timelines for destruction as well as for
               the use of an imported feedstock.

        •      EPA needs to correct several errors contained in its draft regulatory impact
               assessment (“RIA”) and issue a corrected RIA in connection with publication of a
               final rule.

         In summary, Chemours appreciates the considerable effort on the part of EPA that was
 necessary to proceed with this rulemaking in a timely fashion. But given the importance of this
 rulemaking to U.S. producers, importers and their customers down the value chain, EPA should
 take the time necessary to improve upon its initial work-product prior to finalization.

         Congress approved the AIM Act to provide for both the phasedown of HFCs in the
 United States as well as the preservation and enhancement of associated jobs in the United
 States. EPA should examine all of its proposed allowance provisions to ensure that both
 objectives are pursued and that the predicted gains in economic activity and employment that
 were projected for the AIM Act – 150,000 direct and indirect U.S. jobs as well as $38.8 billion in
 annual economic activity – are fully realized.

        Our detailed comments on how such goals may be accomplished follow.

 II.    Chemours Supports a More Inclusive and Fair Approach to Allowance Allocations
        Utilizing the Years 2011-2019

        A.         EPA Should Use Multiple Market Share Data Points Selected from Full 2011-
                   2019 Production and/or Consumption of HFCs to Allocate Allowances; EPA
                   Should Not Finalize Proposed 2017 to 2019 Allocation Scheme

        EPA has proposed using the years 2017 to 2019 for the “initial framework” to determine
 the amount of allowances to be allocated to active producers and importers, with “active” status
 defined as companies that had documented HFC production or consumption in 2020.1 EPA
 would utilize a company’s single highest year of respective production and/or consumption of
 HFCs on an exchange value (“EVe”) weighted basis to determine allowance allocations for
        1
            86 Fed. Reg. at 27,170.


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 2022-2023, calculating each producer’s and importer’s relative production and/or consumption
 market share.2 EPA is also taking comment on utilizing the 2011-2013 for allowance
 calculations and allocations as well as “some other combination of years, including all years
 between 2011 and 2019.” In response to this request for comment, Chemours supports EPA’s
 approach of using 2020 production and/or consumption activity as an eligibility criterion for
 allocation of allowances. However, Chemours supports utilizing respective averages of an
 entity’s highest 3 years of production and/or consumption annual market share during the years
 2011-2019 as weighted by EVe as the basis for determining allowance allocations for active
 producers and importers. Again, for the avoidance of doubt, Chemours does NOT support a
 requirement that the highest 3 years must be consecutive. For the reasons outlined below,
 Chemours believes this allocation methodology is superior to EPA’s proposal of a “highest year”
 2017-2019 allocation methodology.

                  1. Using Multiple Annual Market Share Data Points over Full Period 2011-2019
                     in Methodology to Allocate Allowances to Recently Active Producers and
                     Importers is More Representative of the HFC Market

          Using multiple highest years selected from a 9-year period of production and/or
 consumption would help to obviate any unusual variability in production or import to calculate
 allowance allocations. Chemours believes that EPA’s main proposal to utilize a party’s single
 highest production and/or consumption year in 2017 to 2019 is seriously flawed in this respect in
 that the formula would give undue weight to a producer or importer who experienced an
 unusually high single period of production and/or consumption during any one of those three
 years. Such a single “highest year” of production and/or consumption could be attributable to
 any number of circumstances including temporary market conditions, an unusual carryover of
 production/consumption from one year to the next, or unusually high production or import at the
 end of one year. There is no reason to believe that using a party’s single “highest year” would
 assist in transitioning away from the use of HFCs or promoting the environmental goals of the
 AIM Act. Rather, EPA’s proposed option would essentially “lock in” such temporary variations
 and thereafter convey a disproportionate benefit or disbenefit.3

         In contrast, using an average of a party’s three highest annual market shares over the
 years 2011 to 2019 would represent a more statistically stable approach, given the availability of
 longer stream of production and consumption data, including the AIM Act statutory baseline
 years of 2011 to 2013, while accounting for market shifts that may have occurred during the
 longer timeframe. In Footnote 48 in the Proposed Rule, EPA stated “If EPA finalizes an
 approach where it uses each company's highest market share instead of highest production and
 consumption level, the Agency would add up each company's high production and consumption
         2
             Id., proposed 40 C.F.R. §§84.9, 84.11. EPA proposes to determine individual allowances by multiplying
 each entity’s percentage of production/consumption with reference to the amount of “general pool” allowances. See
 §§84.9(a)(4), 84.11(a)(4). For ease of terminology, these comments refer to this calculation as an entity’s
 “respective” production and consumption.
           3
             EPA has included an Advanced Notice Of Proposed Rulemaking in this proposed rule which discusses
 various theoretical allowance allocation methods that the Agency is considering for use in 2024 and potentially
 succeeding years. But by simply taking comment on these concepts, EPA would conceivably remain in position to
 utilize the 2022-2023 methodology in the future years. Therefore, it cannot be discounted for purposes of this
 rulemaking that using a highest year methodology for 2017 to 2019 will not convey a lasting benefit or have a
 lasting effect. This is certainly with the range of possible long-term outcomes.


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 market share in the relevant years, and divide each company's high production and consumption
 market share by the total amount to determine what each company's revised market share would
 be for allowances available in the year.” Use of annual market share as described in Footnote 48
 instead of raw production and/or consumption data helps to normalize variations in market
 volume by putting all nine years on an equal footing. This recommended approach thus
 represents a better “picture” of the U.S. HFC industry as a whole. EPA cannot assume, and the
 docket contains no technical information supporting the proposition, that an allocation system
 based on single data points taken from a shorter period of more recent years is somehow more
 representative of the future market in which allowances will be required to be “held” before
 production or importation can take place. Rather, it may be argued that those who have
 participated in the market for a longer period of time are more likely to participate in the future
 market given their breadth of experience and capital investment. This is supported by the fact
 that many of the parties operating in the US market today (or their corporate predecessors) have
 participated in the previous phasedowns of Class I and Class II ODS. And a longer averaging
 period helps obviate the possibility that high market participation in just one year will
 inordinately skew the allocation of allowances among all market participants.

         Under Chemours proposed alternative, relative “newcomers” to the production and
 importation of HFCs could still receive allowances, but they will not receive an outsized share
 relative to entities that have been producing and importing HFCs over the last decade. Apart
 from being a more stable method to allocate allowances, and as outlined in greater detail below,
 selecting three highest market share data points over the longer 9-year data period thus also
 promotes fairness among market participants by recognizing the importance of consistency. In
 contrast, EPA’s stated rationale for using the highest single year “to account for fluctuations in
 the market” is irrational.4 Instead, of accounting for fluctuations (e.g., so that an unusual
 production/consumption year would not disadvantage some entities) EPA’s methodology would
 essentially lock in such market fluctuations and carry a serious risk of “over-rewarding” entities
 that happened to have an unusually robust production/consumption year in either 2017, 2018 or
 2019.

                   2. Using Average of Three Highest Market Shares over 2011-2019 Period for
                      Allocation Methodology Promotes Fairness

       Using the average of a party’s three highest production and/or consumption market shares
 over 2011-2019 would provide more stability and predictability to the HFC allowance market
 than EPA’s proposed methodology as well as recognize the sizeable investments that have
 already been made, and will continue to be necessary, for the development of safe,
 environmentally-superior alternatives to HFCs. Specifically, using three highest market shares
 of 2011-2019 production would recognize that a substantial investment of resources was
 necessary in earlier years to allow for the transition from HFCs to low GWP HFOs that occurred
 in the latter half of the 2011-19 period. This transition would not have occurred except with the
 direct support of some producers. These investments have paid off environmentally, resulting
 for example in a transition from HFC-134a to HFO-1234yf in motor vehicle air conditioning
 (“MVAC”) systems.


        4
            86 Fed. Reg. 27,170.


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         In contrast, the proposed approach of using the highest production or consumption
 occurring in 2017-2019 would actually penalize producers that took pre-2017 action to reduce a
 major end use of HFCs for MVAC systems and to obtain necessary certifications and regulatory
 approvals for other HFC substitutes. These companies would be penalized solely because they
 developed and marketed substitutes for HFCs prior to 2017 and thus may have produced or
 imported lesser amounts of HFCs in 2017 to 2019. But it is just such investments – which
 exceed $1 billion to date -- that have made the AIM Act’s phasedown of HFCs technically and
 economically feasible in the United States, as well as assisting in the global transition away from
 HFCs. In addition, domestic producers rationalized high GWP assets and production capability
 in order to advance lower GWP facilities that offer long-term climate benefits. As a result, these
 producers reduced CO2 equivalent emissions in advance of EPA’s proposed rulemaking.

         Over many years and at considerable expense, Chemours developed OpteonTM low global
 warming refrigerants and foam blowing agents, including HFO-1234yf to replace HFC-134a in
 automotive air conditioning systems, a major category of existing HFC use. Chemours also
 developed OpteonTM XP10 as a HFC-134a replacement in stationary equipment, OpteonTM XP40
 as a R-404A/R507 and R22 replacement, OpteonTM XP44 for refrigerated transport and other
 low discharge temperature uses, OpteonTM XL41 as a R-410A replacement, OpteonTM XP30 for
 low-pressure chillers, and Opteon™ 1100 for foam insulation. These products were developed
 both in response to and in support of efforts to reduce production and use of HFCs and the
 necessary financial commitments to develop these environmentally superior productions were
 made well in advance of Congressional approval of the AIM Act. But taken together, along with
 similar efforts by other U.S. manufacturers, these new lower GWP products will be essential in
 allowing a transition away from the continued use of HFCs, which themselves represented a
 transition from substances with high ozone depletion potential.

        Ironically, using data from just the 2017 to 2019 time period could correspondingly reward
 entities that took little or no action to transition away from HFCs over the last decade. The
 allocation methodology proposed by EPA would grant relatively more allowances to entities that
 in recent years either continued production and consumption of high GWP HFCs or just recently
 engaged in such activity, perhaps for as little as one year. Using 2017 – 2019 as the basis for
 allocation, importers using foreign sourced HFCs would gain an advantage under EPA’s
 proposed allowance methodology despite not having made any significant investment to support
 a transition to lower climate impacting solutions. In contrast, using the average of a party’s three
 highest production and/or consumption market shares during 2011-2019 as outlined above would
 recognize all entities that actively participated in the HFC market, including more recent
 participants, but it would help avoid this counter-intuitive result of rewarding market participants
 who didn’t make the investment to move to lower climate impacting options.

        B.      Allocation of Allowances Based on Historic Production and Consumption is
                Consistent with Legislative Intent


       The allocation of allowances to historic producers and importers has a “proven track
 record” and would provide for an orderly phasedown of HFCs, similar to that experienced in the
 phasedown periods for ozone depleting substances (“ODS”). Allocation of allowances to
 historic producers and importers is also supported by the 30-year history of EPA’s stratospheric


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 ozone program which has always allocated allowances in this manner. In regulations phasing
 out class I and class II ODS, EPA relied on information provided by companies which
 historically manufactured and imported regulated substances and allocated allowances on the
 basis of this information. Congress openly and deliberately intended a similar outcome in
 enacting the AIM Act. During consideration of the legislation, multiple statements from
 numerous parties involved in the development of the AIM Act attested to intent:

             •   “This legislation is modeled on Title VI of the Clean Air Act, which was enacted in
                 1990 with 401 bipartisan votes in the House and proved an able vehicle to foster an
                 orderly, market-based phase down of HFCs’ predecessors.”5

             •   “These provisions are modeled on and integrated with the current Clean Air Act
                 requirements applicable to this industry.”6

             •   “The legislation is based substantially on existing EPA programs that allowed for
                 orderly transitions from earlier generations of refrigerants in ways that protected the
                 environment while supporting American-based companies’ market objectives.”7

         The AIM Act provides for a graduated phase-down in the production and consumption of
 HFCs in the United States that will continue until 2036, when an 85% phasedown is specified.8
 In both form, substance and intent, the legislation is modeled on Title VI of the Clean Air Act.
 42 U.S.C. §7671. The AIM Act “mimics” this statutory structure, including using some of the
 same terminology that is used in various provisions of Title VI. The fact that the AIM Act
 focuses exclusively on obtaining reductions of HFCs (which do not contribute to ozone
 depletion) as opposed to other controlled substances (known as class I and class II substances
 within Title VI that have the potential to deplete the stratospheric ozone layer) does not obviate
 this parallel statutory construction.

         Specifically, the AIM Act incorporates provisions which are directly parallel to those
 contained in Title VI of the Act. These provisions include the use of similar definitions to Title
 VI in the AIM Act to govern the HFC phasedown (CAA section 601),9 require monitoring and
 reporting of controlled substances (CAA section 602),10 to provide for graduated phasedown
 schedules (CAA sections 604 and 605)11 authorize exchange of allowances (CAA section 607)12
 provide for essential uses (CAA section 604(d))13 and inclusion of a provision allowing EPA to
 accelerate the statutory phasedown schedule (CAA section 606).14 This legislative structure was


         5
            Hearing on H.R. 5544, Subcommittee on Environment and Climate Change, Energy and Commerce
 Committee, January 14, 2020, Opening Statement of Chairman Paul D. Tonko at 2.
          6
            Id., Testimony of David D. Doniger, Natural Resources Defense Council at 3
          7
            Id., Testimony of John Gaylen, Chairman, Board of Directors, Air-Conditioning, Heating, and
 Refrigeration Institute (AHRI) at 9.
          8
            Section 103(e)(2) of Consolidated Appropriations Act, 2021, Pub. L 116-260.
          9
            Consolidated Appropriations Act, 2021, Sec. 103(b).
          10
             Id., Sec. 103(d).
          11
             Id., Sec. 103(e)
          12
             Id., Sec. 103(g).
          13
             Id., Sec. 103(e)(4).
          14
             Id., Sec. 103(f).


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 deliberate as evidenced by Congressional statements prior to enactment,15 as well as various
 facets of the legislation, including use of the same sequencing as parallel Title VI provisions.

         The integration of the AIM Act with Title VI is also evident in a provision that requires
 enforcement, information, citizen suit and administrative law provisions of the CAA to apply to
 the implementation of the legislation.16 This provision cross references CAA sections 113, 114,
 304 and 307 and provides that such sections of the CAA “shall apply to [Sec. 103] and any rule,
 rulemaking, or regulation promulgated by the Administrator pursuant to [Sec. 103] as though this
 section were expressly included in Title VI of [the CAA].”17 One consequence of this legislative
 structure is that the procedural requirements of the CAA in terms of public notice and
 comment,18 the content of proposed rules,19 venue and deadlines for judicial review20 apply to
 rules promulgated pursuant to the AIM Act.

        Finally, the AIM Act was intended to promote domestic production and investment.
 While titles may not be considered dispositive of intent, H.R. 5544 and S. 2657 as introduced
 and section 103 of H.R. 113 as approved by Congress were all entitled the “American Innovation
 and Manufacturing Act” for a reason. As explained by the legislation’s prime sponsor in the
 U.S. House of Representatives and Chairman of the House subcommittee of jurisdiction:

              United States manufacturers are already investing billions of dollars in the
              research and development of new products and equipment to maintain their
              competitiveness. In fact, American companies are global leaders in the
              development of HFC substitutes. One such class of substitutes are known as
              HFOs. HFOs are more environmentally friendly. But even more importantly,
              American manufacturers stand to gain the most in the global marketplace by
              leaning into this transition.

           According to a study by the Interindustry Forecasting at the University of
           Maryland, the HFC phase-down will drive the creation of some 33,000 new
           United States manufacturing jobs, $12.5 billion more in direct manufacturing
           output annually, a significant trade balance improvement in equipment and
           chemicals, and a 25 percent growth of the U.S. share of the global export
           market.21
 EPA’s stated rationale for its allowance allocation methodology – to account for “fluctuations in
 the market” – does nothing to account for this underlying legislative intent that the AIM Act serves
 to advance U.S. manufacturing jobs and improve the U.S. balance in trade. EPA should therefore
 adopt an alternative allowance methodology, such as that proposed by Chemours, which would
 better address this statutory purpose by recognizing long-term commitments to the market for

         15
            See n’s. 5-7, supra.
         16
            Id., Sec. 103(k).
         17
            Id., Sec. 103(k)(1)(C) (emphasis added).
         18
            See 42 U.S.C. §7607(d)(2)-(6), (h).
         19
            Id., §7607(d)(3).
         20
            Id., §7607(b).
         21
            Opening remarks of Chairman Paul Tonko, Promoting American Innovation and Jobs: Legislation to
 Phase Down Hydrofluorocarbons, January 13, 2020, House Energy and Commerce Committee, Subcommittee on
 Environment and Climate Change, transcript at 2.


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 HFCs and HFC substitutes rather than more recent import activity to the primary benefit of foreign
 producers.

          C.       Allocation of Allowances to Historic Producers and Importers is Consistent with
                   EPA’s Prior Implementation of Clean Air Act Title VI

         Just as Title VI of the CAA provides for the phase-out of class I and class II substances22
 by concentrating on the production and consumption (import) of these regulated substances, the
 AIM Act similarly phases down the production (and importation) of HFCs into the United
 States.23 As noted above, the provisions of the AIM Act regarding HFCs were based on
 comparable provisions in Title VI of the CAA. Therefore, the AIM Act is best interpreted as
 phasing down HFCs using an allowance allocation system that is consistent with regulations
 promulgated by EPA for the phase-out of class I and class II ODS, subject to certain exceptions,
 just as Title VI provided for a phaseout of class I and class II ODS, subject to certain
 exceptions.24

        In this regard, Title VI required EPA to promulgate regulations to “phase out the
 production” of class I and class II ODS and to “ensure” that the consumption of these substances
 was phased out “in accordance with the same schedule.”25 EPA regulations to implement these
 provisions used data obtained from companies that produced and imported class I substances
 during baseline year(s) and allocated allowances on the same basis.26 EPA also utilized this
 methodology with respect to the phaseout of class II HCFCs. EPA regulations promulgated a
 decade after the first class I regulations apportioned baseline production and consumption
 allowances to individual companies based on historical production and consumption of class II
 substances.27 EPA has not deviated from this approach in nearly three decades. The most recent
 rule governing the HCFC phaseout continues to allocate allowances to those who historically
 produced and imported these substances.28

       The AIM Act contains a similar directive to that contained in CAA Title VI. The EPA
 Administrator must “ensure that the annual quantity of all regulated substances produced or

          22
              Class I substances include CFCs, halons, carbon tetrachloride and methyl chloroform; class II substances
 consist of HCFCs.
           23
              It should be noted that the difference between the “phaseout” provided in Title VI and the “phasedown”
 as provided in the AIM Act may not actually constitute a difference in the longer term. Several provisions of the
 AIM Act provide mechanisms to accelerate the phasedown and EPA is authorized to determine whether a “technical
 transition” is warranted for regulated substances used in a sector or subsector. See AIM Act, section 103(i). Thus,
 EPA’s attempt to implement the AIM Act differently from Title VI on this basis (see Section VI of these comments
 below regarding the proposed set aside pool) lacks statutory support. (See 86 Fed. Reg. at 27,176 claiming “it may
 be appropriate to continue to facilitate participation of new market entrants” on the basis of the difference between a
 “phaseout” and a “phasedown.”) In the proposed rule, EPA has not disclaimed authority to utilize the AIM Act to
 accelerate the phasedown, nor disclaimed any ability to restrict end use of HFCs even to the extent of a 100% or
 near 100% phaseout. EPA, therefore, cannot claim to derive any authority based on the supposed differential
 between a “phaseout” in Title VI and “phasedown” in the AIM Act.
           24
              See, for example, exceptions for medical devices, aviation safety, sanitation and food protection and
 critical uses. CAA §§ 604(d)(1)-(6), 42 U.S.C. § 7671c(d)(1)-(6).
           25
              CAA §§ 604(c), 605(c), 42 U.S.C. §§ 7671c(c), 7671d(c).
           26
              See 57 Fed. Reg. 33,754, 33,761-63 (July 30, 1992), 58 Fed. Reg. 65,018, 65,065-68 (Dec. 10, 1993).
           27
              See 68 Fed. Reg. 2,851-3 (Jan. 21, 2003).
           28
              85 Fed. Reg. 15,258 (Mar. 17, 2020)); 40 C.F.R. §82.16 (a)(1), Tables 1 and 2.


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 consumed in the United States” does not exceed an amount calculated from “the production
 baseline” and “the consumption baseline” and the required percentage reduction in HFCs for a
 specified year.29 Thus, EPA should adopt the same approach for allocating allowances to
 implement the HFC phase-down as it did with respect to the class I and class II ODS phase-out.
 This perspective is further strengthened by observing that the overall limit for production and
 importation of HFCs in the AIM Act is, in part, tied to the historical production and consumption
 of the same substances regulated under Title VI, i.e., CFCs and HCFCs.30

         The other element used in the AIM Act to calculate production and consumption
 baselines (which form the basis for calculating the available HFC allowances each year) is the
 prior production and consumption of HFCs from January 1, 2011 to December 31, 2013.31
 Therefore, the logic for allocating allowances based on this prior production and consumption
 points in the same direction as that for class I and class II allowances and allowances based on
 prior CFC and HCFC production and consumption. Allowances should be distributed to those
 who engaged in this prior production and consumption. This interpretation is further buttressed
 by the fact that language allocating allowances (AIM Act, sec. 103(e)(1)(D)) is contained within
 the same subsection as provisions providing for the use of historical CFC and HCFC production
 and consumption data in calculating baseline amounts.

         In earlier transitions away from the use of CFCs and HCFCs, companies that previously
 produced regulated substances were considered to be the most impacted by the mandatory
 phasedown and eventual phase-out of their product lines. In order to reduce the production,
 import and use of these chemicals, EPA obtained information from companies concerning their
 prior production, import and export of regulated substances and used this data to calculate
 companies’ baseline production and consumption allowances.32 The phase-down and ultimate
 phase-out of class I and class II substances occurred through EPA applying a declining
 percentage of individual company baselines to the allocation of allowances that were necessary
 for further production and import.33 As referenced above, EPA also adopted the same approach
 with regard to the phase-out of class II substances despite differences in the statutory language
 applying to these substances.34 EPA regulations provided that “[e]very person apportioned
 baseline production allowances for class I controlled substances under 82.5(a) through (e) is also
 granted potential production allowances for [class II substances].”35 In other words, class II


          29
              Sec. 103(e)(2)(B). The applicable percentage for years 2020-2036 and thereafter is contained in a table.
 Sec. 103(e)(2)(C).
           30
              See Sec. 103(e)(1)(B)(ii), (C)(ii).
           31
              AIM Act, Sec. 103(e)(1)(B)(i), (C)(i).
           32
              See 57 Fed. Reg. 33,574 (July 30, 1992).
           33
              As explained in more detail in the final 1992 rule, “EPA obtained information on the documentation of
 companies’ 1989 production, import, and export of [Class I substances] through a request issued under section 114
 of the Act . . . Based on this information [with certain adjustments] the Agency calculated companies’ baseline
 production and consumption allowances for the groups of newly regulated chemicals specified by section 602 (i.e.,
 Group III—the newly regulated CFCs; Group IV – carbon tetrachloride; and Group V—methyl chloroform).” Id. at
 33,781.
           34
              For example, EPA was directed only to promulgate regulations to phase out production and consumption
 of class I substances (CAA §604(c)) versus regulations phasing out the production and consumption as well as
 “restricting the use” of class II substances (CAA §605(c)).
           35
              548 Fed. Reg. 65,068 (Dec. 10, 1993); 40 C.F.R. §82.9(a).


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 allowances were granted based on percentages of allowances apportioned under class I
 apportionments.

          EPA has described this allocation system as one that facilitates “an orderly phase-out”36
 There are good reasons for this assessment. Allowances, based on historical information, inform
 both regulated parties and the market precisely what quantities of regulated substances can be
 produced and when. Given that allocation rules often span several years duration, maintaining
 this allocation methodology over time provides stability and predictability. Companies involved
 in the production and importation of regulated substances are given both information needed for
 production and supply chain planning and clear advance notice as to when new alternatives will
 need to be developed and brought to market. Thus, continuing this procedure both duplicates the
 past success of the stratospheric ozone program and recognizes the large investments that
 producers and importers have already made, and will need to make, in producing acceptable
 HFC substitutes. Conversely, there is no statutory directive in the AIM Act for EPA to utilize a
 different allowance allocation system and EPA should not attempt to “re-invent the wheel” when
 the Act clearly directs the Agency to follow the past pattern and practice regarding allowance
 allocations.

 III.   EPA Must Take Several Steps to Ensure Allowance Baseline Calculations Conform
        to the AIM Act and Promote U.S. Manufacturing

        A.      EPA Must Use 2011-2013 for Production and Consumption Baselines

         EPA has proposed to use the 2011-2013 period for the calculation of HFC production and
 consumption baselines.37 EPA has not, however, incorporated these statutory periods into the
 proposed regulations in 40 C.F.R. Part 84. EPA’s proposed regulatory text uses a calculated
 amount of 375 MMTEVe and 299 MMTEVe for production and consumption baselines,
 respectively.38 Rather than provide static numbers alone which cannot be independently verified
 by commenters, EPA should include regulatory text which incorporates the statutory baselines
 provided in the AIM Act. This is needed since EPA warns that “[o]nce established through the
 final rule, EPA does not intend to amend the baseline.”39

        The use of the 2011-2013 period for the calculation of HFC baselines is explicitly
 required by the AIM Act.40 Therefore, any final regulations establishing specific amounts of the
 baselines must conform to this statutory mandate (as well as the statutory periods for HCFCs and
 CFCs). The AIM Act defines both the production and consumption HFC baselines with
 reference to these dates, but further references this period with regard to exchange values,41
 compliance provisions42and the quantity of allowances calculated under AIM Act.43 In other



        36
           84 Fed. Reg. 41,510, 41513 (Aug 14, 2019).
        37
           86 Fed. Reg. at 27,166, Table 4.
        38
           See Proposed 40 C.F.R. § 84.7(a)-(b).
        39
           Id. at 27,166.
        40
           AIM Act, section 103(e)(1)(B)(i)(I)-(II), (e)(1)(C)(i)(I)-(II).
        41
           AIM Act, section 103(e)(1)(D), cross-referencing subparagraphs (B) and (C), cited infra.
        42
           AIM Act, section 103(e)(2)(B).
        43
           AIM Act, section 103(e)(2)(D), referencing section 103(e)(2)(B).


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 words, the statute is clear on its face that the HFC production and consumption baselines used
 for the phasedown of HFCs must use HFC production and consumption within 2011-2013.

         Use of historical baselines is also consistent with prior phaseout of ozone depleting
 substances under Title VI of the Clean Air Act which, in all instances, used historical production
 and consumption in order to calculate the amount of available allowances during years in which
 the production and consumption of class I and class II substances was controlled.44 And, as
 noted elsewhere in these comments, the AIM Act was intentionally drafted to follow provisions
 of Title VI, thus providing further statutory evidence of Congressional intent on how allowances
 should be calculated and allocated.

          B.       Entities That Did Not Report Production and Consumption of Fluorinated GHGs
                   Despite Legal Obligation to Do So Should Not Receive Allowances.

         Companies have been required to report production and importation over 25,000 metric
 tons of carbon dioxide equivalent since 2010. 40 C.F.R. Part 98, Subpart OO. These
 requirements were contemporaneous with the 2011-2013 baseline period and included QA/QC
 requirements related to the data. Therefore, in an instance where an entity did not report
 production or importation of HFCs despite legal requirements to do so, EPA should not accept
 any “after the fact” calculations for the purpose of receiving allowance allocations. Apart from
 any considerations concerning non-contemporaneous data calculations, EPA should not reward
 non-compliance with allowance allocations in 2022-2023 or subsequent years.

         EPA promulgated a final rule to establish the first 30 subparts of 40 C.F.R. Part 98 in
 2009.45 Since that time, EPA has taken 33 separate actions to promulgate rules or provide other
 regulatory notices.46 EPA also maintains a website regarding greenhouse gas reporting
 requirements.47 This website contains the most recent verified reported data. Thus, over the last
 decade, there has been more than adequate notice to those who may be required to report GHG
 emissions of the extent of those requirements and the means by which such emissions should be
 reported to the EPA. If EPA has determined that data reported under Subpart OO is the most
 reliable data on which to base a portion of the required allowance allocations, it should not allow
 for exceptions for those who were required to report, but didn’t, even if such late reporting could
 be subject to enforcement actions.48

          C.       EPA Should Allocate Allowances for More Than One Year

                   1. Consistent with Title VI of the CAA, the AIM Act Allows for Multi-Year
                      Allowances and EPA Should Similarly Provide Multiyear HFC Allowances

        Section 103(e)(2)(D)(i) of the AIM Act requires EPA to use the total quantity of
 allowances calculated for a year to determine the quantity of allowances that may be used in a
          44
              As noted in VI.B, even where HCFC allowances were allocated to “new entrants” such allowances were
 calculated based on historical information.
           45
              74 Fed. Reg. 56,260 (Oct. 30, 2009).
           46
              See https://www.epa.gov/ghgreporting/rulemaking-notices-ghg-reporting
           47
              https://www.epa.gov/ghgreporting.
           48
              Elsewhere in the proposed rule, EPA indicates that if a producer fails to keep records on production or
 fails to submit reports, the producer could be subject an enforcement action. 86 Fed. Reg. 27,194.


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 year “not later than October 1” of the preceding calendar year. EPA may also promulgate an
 accelerated schedule for the phaseout of HFCs pursuant to Sec. 103(f) that is not lower than
 allowances used during the prior year. Thus, except for years in which the EPA newly
 accelerates the phasedown of HFCs imposing a lower level of allowances than specified under
 the formula contained in section 103(e)(2)(C), there is no statutory difficulty to the allocation of
 allowances for more than one year. EPA must only determine the amount of allowances by
 October 1st of the year prior to the last year for which multi-year allowance allocations would
 apply. EPA has acknowledged this aspect of the AIM Act:

              The EPA Administrator would bear responsibility for allocating allowances
              either on an annual or multiyear basis, following a phase-down schedule for
              production and consumption.49

 EPA has also noted that there are strong similarities in how the AIM Act would be implemented
 to Title VI:

              Mr. Tonko . . . And how does the regulatory program that this legislation
              creates compare to existing programs under Title VI of the Clean Air Act.

              Ms. Newberg. There are many similarities between what is in this bill
              [legislation that became the AIM Act] and what is in the current Title VI Clean
              Air Act and how we implement that in the domestic program. There are a few
              differences between the two, but these are relatively provisions that are more
              niche. And most of the main components, particularly the phase-down is very
              similar.

              Mr. Tonko. Thank you. And do you foresee EPA implementing a program that
              phases down HFCs in a substantially similar manner as to how CFCs and
              HCFCs were addressed?

              Ms. Newberg. I can speak to what is in this bill, and if we were to implement
              something that was based on this bill, then there is certainly a likelihood that
              we would do so in a similar manner.50

         Given the strong parallels between the statutory provisions of the AIM Act and CAA
 Title VI and EPA’s previous implementation of allowance systems for both CFCs and HCFCs,
 EPA should interpret the AIM Act to require multiyear allowances where feasible. Multiyear
 allowances have provided regulatory stability in implementation of the phasedown and phaseout
 of various ODS and EPA has not provided any rationale for deviating from this past
 interpretation of its authority and past practice with regard to implementing the AIM Act. This is
 particularly true given that, if implemented on an annual basis, producers and importers would be
 given only 3 months advance notice of allocation amounts for the upcoming year, presuming that

         49
             Testimony of Cynthia Newberg, U.S. EPA Office of Stratospheric Ozone, House Energy & Commerce
 Subcommittee hearing on AIM Act at 21, cited infra, n.51.
          50
             Id. at 22-23, Ms. Newberg responding to questions from Representative Tonko, lead sponsor of H.R.
 5544, introduced in House of Representatives on January 7, 2020.


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 EPA could ensure Federal Register publication of a rule on or before October 1st of the prior year
 pursuant to AIM Act section 103(e)(2)(D). While 2022 allowance allocations may prove to be
 an anomaly by necessity (given the need to promulgate this rule within 270 days of enactment)
 there is no reason why EPA could not promulgate multiyear allowances consistent with the
 statutory step-down periods provided.51

                   2. EPA Previously Granted Multiyear Allowances and Should Similarly Provide
                      for Multiple Year Allowances Under the AIM Act

         Since the inception of the phaseout of ODS under CAA Title VI, EPA has recognized the
 value in allocating allowances for multiyear periods. As indicated by EPA in 1999:

               For class I substances, a quantity of allowances was allocated to listed
               companies as a baseline in the Federal Register. Allocating allowances for the
               full time period until a particular phaseout date provides certainty and stability
               for the market. Assuming the regulatory program includes smooth procedures
               for trading allowances, the full-term allocation of allowances establishes the
               basis for a ‘marketable permit’ system.52

        In the phaseout of HCFCs, EPA provided annual allowances covering all years included
 within specified “step down” periods.53 These phasedown periods included periods from 2010
 through 2014, 2015 to 2020 and 2020 to 2029. In the latest HCFC allocation rule, EPA allocated
 production and consumption allowances for all years 2020 to 2029, or a full 10 years.54 As per
 the Agency’s own observations above, EPA should similarly specify annual allowances that
 should be available during the full AIM Act step down periods in order to promote stability and
 allow for efficient business planning and the associated allocation of resources.

        From a practical standpoint, timeframes longer than one year – or even 3 months55 should
 EPA provide the minimum notice permitted under the AIM Act to allocate allowances for an
 upcoming compliance year – are needed to address real world commercial realities. Producers
 need to be able to plan for the acquisition of production and packaging materials well ahead of
 the time that they will be needed. Producers also need to schedule production runs and
 equipment maintenance in advance and “firm up” necessary supply chains that support
 production. Multiyear contracts are often used for raw materials and sales commitments. Not
 knowing the amount of allowances that one will receive for upcoming years (absent efforts to
 accelerate the transition through additional rulemaking) both inhibits planning and the “smooth



          51
             EPA has noted within the proposed rule that allowances may be later revoked or reduced and thus would
 have the ability to later reduce allocations due to any mistake in the initial allocation or with regard to an
 acceleration of the schedule pursuant to section 103(f).
          52
             64 Fed. Reg. at 16,377 (April 5, 1999).
          53
             See, e.g., 74 Fed. Reg. 66,412 (Dec. 15, 2009). In this rule, allowances were allocated for the production
 and consumption of HCFC-22 and HCFC-142b as well as other HCFCs for which allowances were not previously
 allocated. Allowance allocations covered all control periods (years) between and including 2010 to 2014, or a full 5
 years.
          54
             85 Fed. Reg. 15,258 (Mar. 17, 2020).
          55
             AIM Act, section 103(e)(2)(D)


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 transition” to alternatives that was contemplated through enactment of the AIM Act given prior
 experience with the Title VI ODS transition.

          In addition, EPA should also allocate multiyear allowances to avoid possible disruption
 to the HFC phasedown should EPA fail to allocate allowances by October of the prior year.
 Practically speaking, while subject to a statutory mandate to “determine the quantity of
 allowances for the production and consumption of regulated substances that may be used in the
 following calendar year”56 it may be reasonable to assume that EPA may not always complete an
 annual rulemaking process on time. For example, while EPA is required to promulgate annual
 rules for the Renewable Fuel Standard (“RFS”) pursuant to CAA section 211(o), these annual
 rules have been chronically late and, in some cases, issued well after the beginning of
 compliance years.57 To guard against this possible outcome – and the resulting disruption to the
 U.S. market – EPA should promulgate rules well in advance that cover multiple years covering
 at least the time periods covered by the statutory phasedowns – 2020-2023, 2024-2028, 2029-
 2033 and 2034-2035. As noted above, EPA can both allocate allowances for multiple years and
 avoid unintended results based on the AIM Act’s specification that allowances provide a “limited
 authorization” for the production and consumption of a regulated substance.58

         D.       EPA Should Allocate All Allowances at Company, Rather than Facility Level

          EPA has historically apportioned baseline production and consumption allowances for
 class I and class II controlled substances at a company level. See 40 C.F.R. §§82.5, 82.17.
 There is nothing in the AIM Act which would support deviating from this past practice. Rather,
 as cited above, both the AIM Act as constructed (using parallel provisions to title VI of the
 CAA) and legislative history would dictate the conclusion that EPA follow a similar
 methodology of allowance allocations at the company level.

         In addition, as a matter of overall policy, United States producers and importers require
 flexibility to address allowances from a corporate, rather than facility level. This becomes
 increasingly important as EPA implements the statutory phasedown provided by the AIM Act to
 realize lower levels of allowed production and consumption. Companies need the ability to
 efficiently plan for this transition by considering all manufacturing facilities and their relative
 capital needs over time.

         Allocation of allowances at a facility level would also put an unnecessary additional
 burden on the process of allocation and transferring allowances among facilities that are
 operating within one corporate entity. It is likely that some consolidation of production will
 occur as production allowances are phased down since chemical plants cannot be run cost
 effectively at low capacity utilization given high fixed costs and other factors. Therefore,
 allocation at the facility level could result in the need for additional transfer of allowances

         56
             AIM Act, section 103(e)(2)(D).
         57
             For example, EPA did not promulgate RFS standards for 2014 and 2015 until December 2015 and, to
 date, has not proposed an RFS standard to cover the 2021 control period. To guard against this possible outcome –
 and resulting disruption to the U.S. market – EPA should promulgate rules well in advance that cover multiple years
 covering at least the time periods covered by the statutory phasedowns – 2020-2023, 2024-2028, 2029-2033 and
 2034-2035.
          58
             AIM Act, section 103(e)(2)(D)(ii).


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 between facilities, creating inefficiency and raising overall costs depending on the level of the
 required offset. It would also needlessly complicate and expand required reporting versus the
 time-proven company reporting process that has been effective during the phaseouts of class I
 and class II ODS.

          Finally, over the 16-year phasedown schedule provided by the AIM Act, companies will
 need to adjust their internal allocation of allowances in order to meet market needs. In 2021, it is
 simply not possible to project with absolute accuracy what mix of products will be needed in
 2030 or 2036. In any one year, the need for allowances also might shift if there is either a
 planned or unplanned production outage at a particular facility. Since EPA already receives
 facility-level information on production through requirements imposed by the GHGRP there is
 no programmatic need on the part of EPA for facility-level information on HFC-production
 under AIM Act regulations. Thus, EPA should implement a similar company-level allocation of
 allowances under the AIM Act as it has successfully used in the class I and class II ODS
 programs.

 IV.    EPA Should Require Allowances for Imported Products Containing HFCs

        A.      The Requirement for Consumption Allowances Should Not be Limited to Bulk
                Substances

        EPA proposes to require allowances only for consumption of “bulk substances” and to
 exclude from the consumption baseline HFCs that are contained in a product.59 EPA is also
 proposing to define “bulk” as “a regulated substance of any amount that is in a container for the
 transportation or storage of that substance such as cylinders, drums, ISO tanks and small cans.”60
 Thus, HFCs that are imported into the United States in anything other than a bulk container as
 defined above would not require that an importer hold a contemporaneous consumption
 allowance.

         This treatment of consumption allowances is in stark contrast to EPA’s treatment of HFC
 production allowances whereby production effectively includes all HFC produced that is not
 destroyed except for the “inadvertent or coincidental creation of insignificant quantities of a
 regulated substance.”61 This means that HFC-containing products imported into the United
 States won’t require allowances, but HFCs produced in the United States and then incorporated
 into U.S. products containing HFCs will require the expenditure of allowances. This is both
 illogical and inapposite to the AIM Act’s explicit intent to promote domestic manufacturing. It
 creates an uneven playing field between U.S. produced and foreign produced products and
 actually serves to increase incentives for foreign production of HFC-based products. Further,
 allowing import of HFC-containing products with no regulatory limits or requirement of
 allowances could serve to undermine the phasedown goals by allowing imports of such goods to
 increase over the period of regulation unless specifically addressed by sector controls.

        It also may be considered arbitrary and capricious for EPA to finalize such a disparate
 treatment of regulated substances given that EPA’s rationale for its proposed regulations for
        59
           86 Fed. Reg. at 27,163; proposed 40 C.F.R. §84.5(b).
        60
           Proposed 40 C.F.R. §84.3.
        61
           Id.


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 consumption versus production allowances is sorely lacking. In justification of this differential
 treatment, EPA indicates that it does not have data on HFCs contained in products during the
 baseline period and that it would be “administratively infeasible” to collect the data now.62 EPA
 also indicates that requiring a different mechanism for the HFC phasedown “could create
 confusion and would likely cause disruption within the imported products market.”63

         But EPA should have reasonably accessible data. EPA’s GHG Inventory Report Section
 4.24 shows for the years 2011-19 data in Table 4-103 for the category “HFCs in Products and
 Foams.” It is not clear why such data would not be a sufficient basis for determining the overall
 amount of allowances and if there were issues concerning how individual companies were
 represented within the data, this could be addressed through requests and/or demands for
 additional information. In other words, just as EPA has requested data from other companies in
 order to implement provisions of the AIM Act, the Agency could request such data or even invite
 companies to supply such data during the course of this rulemaking.

         With regard to the inclusion of CFCs and HCFCs within baseline calculations, companies
 could also provide information related to when their import activity started and whether they
 used CFCs or HCFCs in these imports.64 In any event, in all likelihood, 1989 import activity in
 this category was likely extremely low since most import activity of foams and HVACR
 equipment started well after 1989. Specifically, 2011-2013 reported data concerning GHGs in
 the “HFCs in Products and Foams” comprised 5.3% of the “Reported Net Supply (GHGRP)”
 total. At a minimum, rather than provide a carte blanche exemption for HFCs contained in
 products, EPA should pursue realistic avenues to obtain the necessary information and require,
 as part of this rulemaking, future reporting and allowance holding requirements for importers of
 products containing HFCs.

         There is also evidence that since 2011-2013 there has been an increasing trend to
 manufacture products containing HFCs outside the U.S. thus replacing what were once domestic
 sales and imports of bulk HFCs with products being manufactured outside the U.S. and then
 imported as products containing HFCs into the U.S. As noted above, GHG Inventory reporting
 data in Table 4-103 showed 5.3% of the 2011-2013 GHG Inventory in “HFCs in Products and




          62
              86 Fed. Reg. at 27,164. EPA’s GHG Inventory Report Section 4.24 shows 2011-19 data in Table 4-103
 for the category “HFCs in Products and Foams.” It is unclear why EPA may consider this data to be insufficient as a
 basis for determining allowances. One possibility would be that the companies included in this category could
 provide general information related to when their import activity started and whether they used CFCs or HCFCs in
 these imports. Objectively, 1989 import activity in this category was likely extremely low since most import
 activity of foams and HVACR equipment started well after 1989. And in 2011-2013 reported GHG in the “HFCs in
 Products and Foams” comprised 5.3% of the “Reported Net Supply (GHGRP)” total. EPA should consider the
 feasibility of this type of approach on allocations.
           63
              Id. at 27, 163.
           64
              Since EPA has claimed it has insufficient information on 1989 activity to set a baseline, we suggest that
 EPA use the same CFC and HCFC factor derived from manufacturer and importer data to apply to the 2011-13
 baseline for “HFCs in Products and Foam.” Allowances for “HFCs in Products and Foam” could then be granted to
 parties that reported from 2011-19 using the same allowance scheme that will be used for manufacturers and
 importers.



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 Foams” with this figure nearly doubling to 9.8% of the 2017-2019 total. Without regulatory
 coverage, this documented, increasing trend in imports could very well continue or expand.

         In this regard, incentives exist for certain Article 5 (developing countries) to do just that.
 Pursuant to the Kigali Amendment, Article V Group 1 countries are allowed their average HFC
 production for 2020 to 2022 and Article V Group 2 countries are allowed average 2024-2026
 production, meaning that during the time period in which this final rule will be in effect, there is
 an incentive for some countries to “build their HFC baseline” from which phasedown
 requirements will later be imposed. EPA should not add to these existing incentives by allowing
 for the importation of such production without limitation based solely on the fact that such HFC
 production would be contained within products shipped to the United States versus bulk
 containers. Quite simply, the environment will not distinguish as between any eventual releases
 of HFCs that occur as a result of HFCs in bulk containers or end products.

         B.       EPA Can Obtain Data for Current Imports of Products Containing HFCs

         EPA access and use of historical data for calculation of baselines and distribution of
 allowances may be distinguished from the requirement for possessing allowances to address
 consumption (import) of products containing HFCs. While as outlined above in Section III of
 these comments, the calculation of baselines is directed by statute, in terms of the latter
 requirement to hold allowances to “cover” HFCs contained in products, EPA need only have a
 reasonable basis to do so, whether or not the HFC contained in the product is used in a blend or
 not.65 Under the AIM Act, “[n]o person shall . . . consume a quantity of a regulated substance
 without a corresponding quantity of consumption allowances.”66

         In terms of its legal authority to implement a requirement to hold allowances for HFCs
 contained in products, EPA may require such allowances in order to meet the phasedown
 schedules required in the AIM Act which EPA seeks to implement, in part, pursuant to its
 proposed regulatory language in §84.5(a). EPA has already proposed that “no person may
 import bulk regulated substances except . . . by expending, at the time of the import,
 consumption or application-specific allowances . . .”67 Thus, the availability of historical data
 (EPA’s rationale for not requiring consumption allowances be expended for HFCs contained in
 products) is not determinative of an ability to require allowances for HFCs contained within a
 product as reflected by EPA’s own proposed regulatory language. Under EPA’s proposed
 regulations, the prohibition is applied prospectively to importations of HFCs that occur during
 future control periods and this provision does not provide for an exception whereby a person
 unable to obtain consumption allowances is exempted from compliance. Therefore, EPA could
 easily amend the current proposed regulatory language in §84.5 to also limit importation of
 HFCs in products without expending an allowance:

              “(b) Effective January 1, 2022, (1) No person may import bulk regulated
              substances or regulated substances contained in manufactured products except:
              (i) By expending, at the time of import, consumption or application-specific

         65
             Pursuant to AIM Act, section 103(c)(3), EPA retains authority to regulated an HFC within a blend, while
 it cannot designate a blend as a regulated substance.
          66
             AIM Act, section 103(e)(2)(ii).
          67
             Proposed 40 C.F.R. §84.5(b).


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           allowances in a quantity equal to the exchange-value weighted equivalent of the
           regulated substance imported.”

         In terms of EPA’s ability to obtain necessary information to implement such a
 requirement, the AIM Act expressly cross-references EPA’s authority to demand the provision of
 information pursuant to authority contained in Section 114 of the Clean Air Act. Thus, EPA has
 authority to both collect any information that may be needed to implement a prohibition on the
 importation of HFCs in products and authority to implement this requirement through regulation.
 Alternatively, EPA could consider implementing a requirement to hold consumption allowances
 for HFCs contained in products only for such products where reasonably available or reasonably
 obtainable data exist.

 In this regard, one example of available data exists with regard to HFC-152a as contained in
 imported aerosol dusters. As indicated by the chart below, considerable historical data exists
 with regard to this product. While EPA may not be able to obtain or replicate data in similar
 details with respect to all products containing HFCs, it is certainly not the case that no data
 exists.




        Source: The Descartes Systems Group, Inc. - Datamyne

         Moreover, apart from available HFC data, should EPA find that 1989 CFC and HCFC
 baseline data on products obtained from a market query is insufficient to complete baseline
 calculations, EPA could consider using the same CFC and HCFC scaleup factors it will be
 applying for HFC producers and importers, subject to appeal if an individual party can produce
 documentation showing that they exceeded the regulatory baseline levels. In short, the fact that
 EPA may have to undertake additional efforts to regulate products containing HFCs or obtain the
 necessary data to do so, does not alleviate its statutory burden to do so. EPA must undertake
 reasonable efforts so that production and consumption activities are equivalently controlled and
 unregulated imports of HFC-containing products are not allowed to exist where HFCs are




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 simply introduced into products offshore in order to avoid requirements to hold allowances when
 they are imported into the U.S.

        C.      Precedent Exists to Require Allowances for Imported Products

         EPA has previously banned importation of certain products containing Class II
 substances.68 This action was taken to avoid additional skin cancer cases projected to occur if
 products (imported air conditioning units) containing HCFCs were allowed to be imported into
 the United States after the date on which manufacture of such products was banned in the United
 States.69 While the legal authority for the “pre-charged rule” was determined to be Section 615
 of the CAA (authority that is not applicable in the current rulemaking) prohibiting the
 importation of products containing HFCs without associated consumption allowances provides a
 similar benefit. It would both decrease overall consumption of HFCs in the United States (since
 all importation of HFCs would be covered under the cap on consumption allowances) as well as
 equalize rules for U.S. and foreign manufacturers.

         To be clear, requiring allowances for products containing HFCs is not the exact
 equivalent to banning the sale of such products as was done in the “pre-charged rule.” Rather, in
 the case of requiring allowances for HFCs in imported products, EPA would be implementing
 provisions of the AIM Act to reduce HFC production and consumption within the United States
 to specified phasedown limits (by accounting for all consumption of HFCs). Products containing
 HFCs could still be imported and sold, but they would be required to be “covered” by a
 consumption allowance.

         The prior precedent regarding HCFCs, however, serves to demonstrate that EPA has the
 means to enforce a prohibition on importation of products. EPA’s pre-charged rule regulations
 provided that “no person may sell or distribute, or offer to sell or distribute, in interstate
 commerce any product identified in [40 C.F.R. §82.306]. Those prohibited products were any
 pre-charged appliance or pre-charged appliance component “manufactured on or after January 1,
 2010 containing HCFC-22, HCFC-142b or a blend containing one or both of these controlled
 substances.”70 EPA could enforce similar prohibitions on products containing HFCs based on its
 overall directive in the AIM Act to limit the percentage of consumption of regulated substances
 in any one year as compared to baseline calculations.71 In other words, once EPA allocated
 allowances based on its baseline calculation for a specific year, additional imports not covered
 by consumption allowances would be prohibited since they would exceed the basis on which the
 overall cap on such allowances was calculated.

         Requiring allowances for HFCs contained in imported products would also further
 environmental as well as economic goals of the AIM Act. EPA would be capturing all HFCs
 utilized in the United States and not disadvantage U.S. companies who would face competition
 from HFC product producers that may not be subject to any current phasedown requirements
 under the Kigali Amendment or differentiated prohibitions. Since China ratified Kigali on June
 17 2021, its national commitments will be determined on the basis of being an Article 5 Group 1

        68
           74 Fed. Reg. 66,450 (Dec. 15, 2009).
        69
           EPA estimated that approximately 1,700 total cases of cancer could be avoided. Id. at 66,455.
        70
           40 C.F.R. §§82.306(a), (b).
        71
           AIM Act, section 103(e)(2)(C).


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 country, meaning that it will not be subject to the same requirements as those that apply to
 United States (Article 2) producers and importers. Article 5 Group 1 Kigali ratifiers, China and
 Mexico, will be allowed to “peak” production of HFCs in 2022 and be subject only to a “freeze”
 in baseline in 2024 with graduated step-downs leading to an 80% phasedown by 2045 as
 compared with a U.S. commitment to reduce HFC production and consumption upon ratification
 and achieve an 85% phasedown by 2036. Other countries within “Article V Group 2” such as
 HFC-producing India, should it ratify the Kigali Amendment, may peak production through
 2024-2026 and be subject to even later freeze and phasedown requirements. Requiring
 allowances for the consumption of HFCs in products in the United States would not violate the
 Kigali Amendment, but at the same time, it would help avoid deleterious effects whereby actual
 use of HFCs in the United States could continue above Kigali and AIM Act limitations based
 solely on the fact that HFCs were contained in a product versus a bulk container.

         It is well known that there are manufacturing lines in Mexico that produce products
 destined for the US market. If products containing HFCs do not require an allowance for import
 from Mexico, this could create an increasing trend to shift manufacturing to Mexico instead of
 keeping in it the U.S. While Mexico has already ratified Kigali, they are currently building their
 baseline and as noted above, are not subject to its first 10% step down until 2029. If products
 containing HFCs do not require consumption allowances for import, then it is reasonable to
 expect that we will see an increased trend of HFCs being imported within the products coming
 from Mexico to the detriment of U.S. producers and manufacturers.

 V.     Regardless of Allocation Methodology, EPA Must Address Market Share Gained
        Through Unfair Trade Practices

         EPA has proposed that “any entity that is subject to a [Department of Commerce] Final
 determination and is requesting allowances for 2022 or 2023 must provide documentation of full
 payment of the [Administrative Determination/Countervailing Duty] for HFC imported in 2017
 through the date of [the] proposed rule.”72 EPA is also proposing to not allocate allowances in
 2022 or 2023 to companies that Customs and Border Protection (“CBP”) determines are in
 arrears for penalty amounts and indicates that EPA may revoke or retire previously issued
 allowances on this basis, as well as take other actions with regard to future allocations.73
 Chemours supports these proposals but believes EPA must also account for any market share
 that was gained on the basis of such conduct during the years on which allowance allocations are
 based. Simply put, companies should not be permitted to benefit from this past behavior in terms
 of gaining allowance allocations, even while they may have satisfied penalties that were levied
 as a result of such past misconduct.

        Several importers of HFCs produced in China have used unfair trade practices to
 penetrate the U.S. market since 2013. These importers and their affiliates initially imported the
 most commercially significant HFC products, HFC blends and R-134a, at unfairly low prices.
 When Commerce issued antidumping orders imposing corrective duties on the unfairly traded
 HFCs, various importers began circumventing the antidumping orders by importing “unfinished”
 HFC blends, blending in third countries, or importing unfairly traded HFC components (e.g., R-

        72
             86 Fed. Reg. at 27,186.
        73
             Id.


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 32 and R-125) for blending in the United States. The market share seized by these unfairly traded
 imports was the direct result of a persistent pattern of dumping, circumvention, and evasion of
 U.S. law. As a result, the U.S. manufacturers of HFCs suffered declining sales attributable to this
 conduct up to and during the period of time EPA is proposing to use as a basis for allowance
 allocations. We are attaching a detailed accounting of these actions.74

         Apart from this information, we would note that a 2016 International Trade Commission
 order determined that HFC blends produced in China and imported into the United States (R-
 404A, R-407C, R410A, R507A and R-507) were materially injuring an industry in the United
 States.75 The Department of Commerce determined that HFC blends and components from the
 People’s Republic of China “are being, or are likely to be, sold in the United States at less than
 fair value.”76 The period of investigation for this determination covered the time period from
 October 1, 2014 through March 31, 2015. Therefore, to the extent that EPA utilizes a longer
 time period for allowance allocations as Chemours advocates, these prior activities should be
 taken into account in reducing corresponding allowances to importers engaged in these activities.

         The Department of Commerce has also determined that imports from China were
 circumventing the antidumping duty imposed on them through the 2016 order.77 The
 Department of Commerce found that “[d]uring the period September 2016 through June 2019,
 monthly average exports of HFC components from China surged to 2,707,659 [kilograms
 (“Kg”)]; an increase of 411.31 percent. Likewise, over the same time periods, the monthly
 average import quantity of HFC components from China in the U.S. increased from 599,758 Kg
 per month to 2,247,847 Kg per month; a 274.4 percent increase.”78 These increased imports of
 HFC components corresponded with a decrease of HFC blends, leading the Commerce
 Department to conclude that the HFC components were circumventing the 2016 Antidumping
 Order.79 Therefore, there exists specific findings by the U.S. Department of Commerce of
 dumping and circumvention during the time period that EPA has proposed to utilize for
 allowance allocations. As per our initial comments above, EPA must account for all the effects
 of HFCs and HFC blends that are introduced into the United States in violation of applicable
 trade law. EPA’s proposal to address allowance allocations for only those companies with
 unsatisfied or continuing violations is insufficient; EPA would be conveying valuable allowance
 allocations based on the violations which would, at a minimum, reduce the economic penalties
 imposed and potentially convey a new profit stream on the basis of prior, unlawful conduct.

       In addition, EPA should take further notice of the various actions taken over the years to
 circumvent lawful orders and antidumping duties, including by importers that blend Chinese

         74
            A Brief History of Unfairly Traded Imports of HFCs from China, Cassidy Levy Kent, LLP, July 6, 2021
 Attachment 2.
         75
            81 Fed. Reg. at 55,437.
         76
            81 Fed. Reg. 5,098 (Feb. 1, 2016).
         77
            85 Fed. Reg. 20,248 (April 20, 2010).
         78
            Preliminary Decision Memorandum for Anti-Circumvention Inquiry of the Antidumping Duty Order on
 Hydrofluorocarbon Blends from the People’s Republic of China: HFC Components, United States Department of
 Commerce, International Trade Commission, April 3, 2020 at 17.
         79
            See Hydrofluorocarbon Blends and Components Thereof from the People's Republic of China: Final
 Determination of Sales at Less Than Fair Value and Final Affirmative Determination of Critical Circumstances; 81
 Fed. Reg. 42,314 (June 29, 2016) (Final Determination); Hydrofluorocarbon Blends from the People’s Republic of
 China: Antidumping Duty Order, 81 Fed. Reg. 55, 436 (August 19, 2016).


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 HFC components, including R-125, R-32, R-134a and R-143a, in third counties and importers
 that bring “off-spec” blends into the United States where final blending is accomplished.80 As
 provided in the AIM Act, an “allowance” is a “limited authorization for the production or
 consumption of a regulated substance.”81 As a “limited authorization” that does not constitute a
 “property right,”82 EPA may properly take into account these prior actions and limit the
 allocation of allowances strictly to those United States producers and consumers who operated
 during the 2011-2013 baseline period or take other actions with respect to circumvention
 activities which would not effectively reward this behavior.

 VI.     EPA Should Not Finalize Proposed “Set-Aside” Allowance Allocation

         A.       A “Set-Aside” Pool is Not Authorized by the AIM Act and EPA Has Not
                  Articulated a Supportable Rationale for Non-Mandatory Allowance Set-Asides

          EPA has proposed to provide a “set aside” of production and consumption allowances
 that would operate apart from what the Agency terms the “general pool” of production and
 consumption allowances.83 Consumption and production allowances from this pool are available
 to entities that qualify for application-specific allocations mandated by the AIM Act that have
 not been identified by EPA prior to October 1, 2021. Consumption allowances are further made
 available to persons who reported to the GHGRP in 2020 but were not required to report, as well
 as “persons who are newly entering the HFC import market” and meet other qualifications.84

         EPA bases this latter proposal on several non-statutory considerations which also have no
 basis in the legislative history of the AIM Act. EPA claims it is allocating such allowances to
 provide “as seamless a transition as possible to a regime where allowances are needed to produce
 and import HFCs, promoting equity, timeliness of implementation and availability of robust
 data.”85 A seamless transition, however, would involve implementing the AIM Act in a similar
 fashion to Title VI of the Clean Air Act which provided allowances to prior producers and
 consumers. Moreover, a "seamless transition” has already been proposed based on utilizing
 recent years (2017-2019 or alternatively other years within the 2011-19 period) as the basis for
 allocation of allowances.

         Second, as detailed above, EPA claims that it can deviate from past practice in allowance
 allocations and provide a set-aside pool of allowances based on the distinction between a
 “phaseout” under Title VI of the CAA and a “phasedown” under the AIM Act. But this
 distinction is sorely lacking in substance and, indeed, inaccurate in practice. While Title VI of
 the CAA provides for a general phaseout, the title also allows for exemptions from the
 phaseout.86 Thus, it is simply incorrect to indicate that all Class I and Class II substances will be
 phased out under Title VI. This may be demonstrated by initially noting that in 2021, over 30
         80
             See “HFC Coalition Applauds the United States Department of Commerce for Initiating Investigations
 into Unlawful Circumvention of U.S. Law by Imports of HFC Refrigerants from China,” American HFC Coalition,
 June 24, 2019.
          81
             Sec. 103(a)(2).
          82
             Id. §103(e)(2)(D)(ii)(I)(aa).
          83
             Proposed 40 C.F.R. §84.15.
          84
             Id. §84.15(c).
          85
             86 Fed. Reg. at 27,169.
          86
             See nt, 88-90 infra, referencing CAA title VI provisions and exemptions.


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 years after the enactment of Title VI, not all production or consumption of Class I and Class II
 substances is prohibited. For example, EPA has proposed to extend indefinitely the laboratory
 and analytical use exemption for Class I ODS.87 Methyl bromide can be used for quarantine and
 pre-shipment uses88 and critical use exemptions, subject to approval, can still be applied for.89
 Section 18 exemptions are available for imported products and domestic commodities growing in
 areas under quarantine for a regulated pest.90

          Second, as pointed out above, the “phasedown” required by the AIM Act is subject to
 both potential acceleration (Section 103(f)) and full or partial restrictions in specific sectors or
 subsectors through rulemaking under Section 103(i). Implementation of these provisions has the
 potential to result in a phasedown of HFCs that exceeds the mandatory 85% level. In other
 words, the 85% phasedown is a floor and not necessarily a ceiling. Thus, it is not “appropriate”91
 , as EPA claims, to promulgate a new entrant set-aside on the basis of a claimed statutory
 distinction between Title VI and the AIM Act that does not exist and has little or no connection
 to the issue of what entities should be allocated allowances.

         Finally, a proposal which would effectively transfer allowances to theoretical “new
 entrants” that would otherwise be allocated to producers and importers would unnecessarily
 complicate allowance distribution, particularly if EPA retained more allowances than needed for
 such supposed “new entrants”. We would note that EPA has offered no technical analysis or
 support in the docket for either the proposed amount of the available set-aside or any presumed
 economic benefits projected to flow from the set-aside. And, to the extent a “set aside pool”
 would benefit new foreign producers by providing access to consumption allowances for new
 importers, such a result is directly contrary to the general purpose of the AIM Act to support
 domestic production.

          B.       The Proposed Allowance Allocations to New Entrants Is Contrary to Regulatory
                   History of EPA Allowance Allocations Under Title VI

         Prior to the enactment of the 1990 Clean Air Act Amendments, which incorporated Title
 VI addressing stratospheric ozone protection, EPA implemented the Montreal Protocol using the
 authority of CAA §157(b) of the CAA.92 Under this authority, EPA created a system of
 production and consumption allowances and “apportioned allowances to producers and importers
 of controlled substances based on their 1986 levels of production and imports.”93 While EPA
 considered several options for allowance allocations pursuant to CAA §157, it settled on
 allocations to historical producers and importers explaining that:



          87
             85 Fed. Reg. 47,940 (Aug. 7, 2020).
          88
             68 Fed. Reg. 238 (January 2, 2003).
          89
             79 Fed. Reg. 32,728 (June 6, 2014).
          90
             United States Department of Agriculture Treatment Manual, Second Edition, 2016 at 2-3-1.
          91
             86 Fed. At 27,176 (“[G]iven that the AIM Act outlines a phasedown, but not a phaseout, of HFC
 production . . . it may be appropriate to continue to facilitate participation by new market entrants in the HFC import
 business.”)
          92
             CAA §157 was repealed by the 1990 Clean Air Act Amendments. Similar, although not identical
 statutory language, was incorporated within CAA §615.
          93
             57 Fed. Reg. 33,756 (July 30, 1992).


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               EPA has concluded that the allocated quota system is the appropriate method for
               implementing the Montreal Protocol for several reasons. One, by directly
               regulating the supply of CFCs and halons, the allocated quota system is a
               straightforward method of ensuring that the requirements of the Montreal
               Protocol are met. Two, it is clearly lawful, in contrast to the auction and
               regulatory fee systems which raise legal issues. Three, as a market-based
               approach, the allocated quota system is economically efficient. Four, it is
               relatively simple to administer, since the producers and importers subject to the
               allocated quotas are small in number.”94

         After the 1990 Clean Air Act Amendments were enacted, EPA promulgated regulations
 under this new authority to allocate Class I ODS allowances. Again, EPA allocated all
 allowances to historical producers and importers consistent with statutory provisions that defined
 the “baseline year” for Class I substances as being calendar year 1986.95 EPA later observed that
 the Class I ODS allowance system “proved highly successful.”96 For the HCFC phaseout, EPA
 considered several options to allocate allowances, including a one-time allocation or allowing for
 a re-allocation of allowances on a “rolling basis.” 97 While the EPA initially implemented the
 phaseout of HCFCs without allowances on a “worst-first basis” (i.e., phasing out specific HCFCs
 through regulatory deadlines without using allowances), the EPA later allocated allowances on
 the basis of regulatory baselines. Specifically, in the first HCFC allowance allocation rule, EPA
 allocated “100 percent of each company’s historical consumption baseline for all Class II
 controlled substances.”98

         It is notable that in its 2003 HCFC allocation rule, EPA did provide allowance allocations
 for “new entrants” into the HCFC market.99 But EPA proposed that new entrants would be small
 businesses that began importing after the end of 1997 and before April 5, 1999, the date of
 publication of the ANPRM [discussion allowance options].”100 And for production allowances,
 EPA allocated allowances from baseline based on “the highest historical production for each
 company in the years 1994 through 1997. . . [plus] an additional pro-rata amount . . .”101 Thus, it
 may be observed that EPA’s limited, prior implementation of “new entrant” allowance
 allocations was based on historical consumption not anticipated future consumption and that the
 baseline period only extended up until the time that EPA solicited comment on an allowance
 allocation system. The situation regarding HCFCs can therefore be easily distinguished from the




          94
             Id. at 30,579. See also 57 Fed. Reg. at 33,782 (“In today’s rule, producers are receiving chemical-specific
 production allowances based on what they had reported as production in 1986, excluding any production that was
 used and consumed as a feedstock for another chemical.” Producers and importers of these chemicals are receiving
 chemical-specific consumption allowances based on their reported production, imports and exports of these
 chemicals.”)
          95
             CAA §601(2).
          96
             See 64 Fed. Reg. at 16,375 (Apr. 5, 1999).
          97
             Id. at 16,337.
          98
             68 Fed. Reg. at 2,824 (Jan. 21, 2003).
          99
             Id.
          100
              Id. at 2,823 (emphasis added).
          101
              Id. at 2,824.


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 AIM Act, under which production and consumption baselines for HFCs are explicitly defined
 and are fixed in time.102

         In sum, in the 30-year history of ODS allowance allocations, EPA has overwhelmingly
 allocated allowances only to historical producers and importers of Class I and Class II
 substances. And, in the single case, where “new entrants” were defined, they were defined in
 terms of existing entities, with prior production and importation activities, not new theoretical
 entities who have not previously participated in the market for controlled/regulated substances.103

          C.        Should EPA Finalize a Set-Aside Pool, It Must Be Limited in Scope and Duration

         As indicated above, a set-side allowance pool is without support in the statutory
 provisions of the AIM Act. In addition, a set-aside pool that would benefit new imports of HFCs
 into the United States from foreign producers is contrary to the intent of the AIM Act to support
 U.S. manufacturing and innovation. As described by the Chairman of the House of
 Representatives cCommittee of Jurisdiction over the AIM Act:

                [The AIM Act] will benefit our economy, maintain American manufacturing
                leadership, create jobs, and protect the environment . . . The bill will help the
                United States maintain its position as a leader in the chemical, appliance, and
                equipment industries. It will also allow us to continue as a leader in innovation
                and on global environmental issues.

                                                       * * *

                The European Union and other nations, like Japan, Canada and China, are
                already transitioning away from HFCs. This legislation will provide the
                certainty and stability American companies need to do the same. Not only will
                it help these companies remain competitive in the global market for air
                conditioning, heating and other consumer products, but it will also help them
                increase their share of the global market and it has the potential of creating tens
                of thousands of high quality American jobs. 104

         Therefore, a regulatory provision which explicitly conveys consumption allowances to
 future importers of HFCs is directly contrary to the expressed intent that the AIM Act promote
 American jobs and manufacturing. In effect, EPA’s proposed set-aside would serve to both
 encourage and subsidize foreign HFC production. In the proposed rule and the docket for this
 rulemaking, EPA has identified no statutory purpose supporting such an allocation, nor has EPA
 cited any indication of Congress’ intent that the AIM Act was designed to promote foreign


          102
              See AIM Act section 103(e)(1).
          103
              EPA has proposed to restrict such entities to those that are not “companies that are a subsidiary of, or
 have any common ownership stake with, another allowance holder.” Proposed §84.15(f)(2).
          104
              Promoting American Innovation and Jobs: Legislation to Phase Down Hydrofluorocarbons, House
 Energy and Commerce Committee, Subcommittee on Environment and Climate Change, January 14, 2020, Hearing
 Transcript at 11-12, accessed at https://docs.house.gov/meetings/IF/IF18/20200114/110388/HHRG-116-IF18-
 Transcript-20200114.pdf. Opening remarks of House Energy and Commerce Committee Chairman Frank Pallone.


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 production of HFCs and importation of these substances into the United States. To the contrary,
 any expression of Congressional intent in this matter is directly opposite.

         Should the EPA continue to claim that it has discretion to promulgate a new entrant set-
 aside pool (which, at a minimum, is contradicted by the record of the consideration of the AIM
 Act) the Agency must take steps to narrow the scope of the proposed pool. Specifically, any set-
 aside pool apart from the allocation of allowances based on historic production and importation
 should be limited to a total amount of no more than 5 MMTCO2e as a one-time allocation.
 Failing this, any set-aside pool should be proportionately phased-down on the same schedule as
 provided in Section 103(e)(2)(C) of the AIM Act, e.g., no more than 60 percent of the initial
 allocation starting in 2024, no more than 30 percent, starting in 2029. To be clear, such
 provisions would not alleviate the statutory infirmity of EPA’s proposed regulations, but they
 would serve to mitigate longer term damage to existing U.S. manufacturers and importers.105

         In addition, any allowances from the set-aside pool should also not be provided to
 existing suppliers and reclaimers. EPA’s proposed regulatory language at 40 C.F.R.
 §84.15(c)(2) is unclear on this point. Allowances are made available to “persons who are newly
 entering the HFC import market, do not share corporate ownership or familial relations with
 entities in the HFC import market, and meet Small Business Administration conditions for a
 small business in 13 CFR part 121.” It is well documented from EPA data that many reclaimers
 currently import HFCs from foreign sources and thus, under the proposed rule, may qualify for
 consumption allowances. Such entities should not be allowed to qualify for any additional
 allowances that might be provided through a new entrant set-aside pool.

         In addition, should a reclaimer be able to qualify for allowances from a set-aside pool,
 then it would be reasonable to restrict the use of such allowances to their claimed line of
 business. That is, reclaimers need for access to virgin HFCs has been understood to be for the
 purpose of meeting product specification, e.g., to “blend up” reclaimed material to meet
 necessary standards (AHRI 700). Should access be provided to set-aside allowances, EPA
 should ensure that any allowances allocated are actually used for reclamation activities and
 meeting the AHRI 700 standard. This should also be the collective extent of any allocation to
 this market segment that is granted.

  Finally, if any initial “new entrant” leaves the HFC market, any allowances previously set-aside
 should be returned back to the general pool for distribution to other producers and importers.
 Again, the principle applied should be that set aside allowances only be allocated on the basis of
 the need to support domestic production.

 VII.     EPA Should Follow Precedent Regarding Required Transfer Offsets and Use 0.1%
          to 1.0% Offset Ratio



          105
              Chemours is aware that EPA has only proposed set-aside amounts for 2022-2023. Proposed 40 C.F.R.
 §84.15. But EPA is also taking comment in this rule regarding allowance allocation protocols for years after 2023.
 Thus, to the extent that EPA considers this matter in connection with comments on 2024 and succeeding year
 allowances, EPA should refrain from extending a set-aside pool of allowances in those years, or in the alternative,
 proportionately reduce any pool established for 2022-2023.


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          EPA recognizes that there are “similarities in the text, structure, and function of the
 production and consumption phasedown provisions of the AIM Act and EPA’s program phasing
 out ozone-depleting substances (ODS) under Title VI of the CAA.”106 EPA should therefore
 utilize prior regulatory offset for transfers involving ODS which used 0.1% offset with regard to
 the transfer of HFCs (regulated substances) within the AIM Act. At most, EPA should utilize no
 more than a 1% offset for transfers. Both the statutory structure of the AIM Act and the
 requirement for a trading system limit EPA’s discretion to impose higher levels of offsets.

         EPA’s proposal to consider offsets of 5% (or consider even higher offsets in future
 rulemakings) lacks a statutory basis as a method to achieve broad environmental results. The
 AIM Act provides specific mechanisms to achieve further reductions in HFCs through either
 acceleration of the general phasedown (Sec. 103(f)) or through technical transitions (Sec. 103(i)).
 EPA exceeds its statutory authority in the AIM Act by seeking what amounts to hefty “transfer
 taxes” that would inhibit transfer of HFC allowances, reduce market supply and increase costs.
 Further, this transfer tax mechanism as proposed would not be applicable to foreign producers,
 making large offsets directly contrary to the intent of the AIM Act in terms of domestic
 production and jobs.

         EPA can point to no legislative provision or Congressional intent which supports the
 imposition of high emission offsets. To the contrary, Congress specified an “allowance
 allocation and trading program” be utilized in the phasedown of production and consumption
 allowances.107 Final rules for transfers are to result “in greater total reductions in the production
 of regulated substances” than would occur in the absence of a trade108 but EPA is also directed
 under this same authority to “permit 2 or more persons to transfer production allowances.”109
 This permission is conditioned on the requirement that a “transferor . . . will be subject . . . to an
 enforceable and quantifiable reduction . . . [that would not have occurred in the absence of the
 transaction.”110 But there is no basis on the face of this language to infer unrestrained or
 unreasonable authority to impose high emission offsets. Doing so, overly emphasizes the
 requirement for net reductions in HFC emissions over the requirement that EPA permit the
 transfer of allowances and implement an “allowance allocation and trading program.”111

         Imposing high emission offsets as a condition for trading would also produce other
 negative impacts on domestic producers. Over the course of implementing a phasedown in HFC
 production, domestic producers will need to rationalize domestic production capacity. Chemical
 plants inherently do not run efficiently at low-capacity utilization (e.g., all parties running at 30%
 of capacity creates high unit fixed costs relative to the amount of product produced). The ability
 to transfer allowances as between domestic producers so that some plants may run at higher
 capacity is essential to economic production of regulated substances. Transfers might also occur
 in response to unplanned production outages. A high emission offset under these circumstances
 would only further worsen a strained supply situation.


        106
            86 Fed. Reg. at 27,154.
        107
            AIM Act, section 103(e)(3).
        108
            Id., section 103(g)(2).
        109
            Id. (emphasis added)
        110
            Id.
        111
            Id., section 103(e)(3).


                                                   31
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         With regard to transfers as between different producers, high emission offsets also would
 greatly complicate negotiations to transfer allowances (which may or may not, depending on
 EPA actions with regard to other elements of the proposed rule, be good for only one year). As
 demand shifts from legacy HFCs to lower GWP alternatives, the explicit intent and design of the
 AIM Act, companies developing and commercializing the alternatives will need access to
 allowances from allowance-holding parties. Promulgating regulations that would impose
 arbitrarily higher offsets for such transfers (which will be transferring reduced quantities of
 legacy, high GWP HFCs) will unnecessarily constrain such economic activity and impede the
 transition to lower GWP (i.e., lower EVe) alternatives. This is inapposite the intent of the AIM
 Act to facilitate such transitions.

 VIII. EPA Should Only Ban Imports of Filled, Non-Refillable Containers

          Chemours supports EPA efforts to stop illegal imports. Obviously, this effort can help
 facilitate the transition to lower-GWP alternatives and help protect domestic producers from the
 adverse financial impact of illegal imports. However, Chemours does not support the proposed
 requirement to mandate the universal use of refillable containers.112 Instead, Chemours would
 propose that EPA ban all imports of filled non-refillable cylinders along with imposing a
 requirement for expanded record keeping at all U.S. packaging facilities. This would provide an
 alternative and more effective means to restrict/prevent illegal imports.

        A.         Costs Involved with Establishing a Returnable Cylinder Supply Chain and
                   Associated Tracking System Are Excessive and Benefits May Be Negligible or
                   Negative

                   1. Costs for Refillable Cylinders Are Excessive and understated in the EPA
                      Review

          The requirement to replace all disposable cylinders with refillable cylinders will require
 producers to incur significant costs (upwards of $90 million per company in some cases) to
 obtain the necessary number of cylinders to fulfill anticipated market demand. Furthermore, the
 physical production of the number of refillable cylinders that would be required (an estimated 7
 to 10 million cylinders, far more than EPA’s estimated requirement) is not feasible by the
 proposed deadline of January 1, 2023, when requirements regarding disposable cylinders would
 become effective. The July 1, 2023, timetable for full market conversion to returnable cylinders
 is woefully short based on long lead times needed for cylinders and valves and would also result
 in added cost and logistics for adding trips due to higher tare weights, return trips to filling
 facilities and additional stock of empty cylinders to account for possible slow returns of used,
 refillable cylinders. Adding to the burden of the proposed timetable is that shortly after incurring
 the costs of building the cylinder fleet, a major stepdown in allowances will occur, obsoleting a
 significant portion of the newly purchased cylinder fleet. As noted by a cylinder manufacturer
 during EPA’s public hearing on the proposed rule:

              The proposed ban is intended to shift the market away from non-refillable
              cylinders, which the EPA significantly underestimates at only about four million

        112
              Proposed 40 C.F.R. 84.5(i)


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               units per year. In fact, the ITC found that imports from China alone were 3.6
               million units in 2019, which represents a relatively small portion of the market.
               As a manufacturer of both non-refillable and refillable cylinders, we can state
               with confidence that domestic producers cannot possibly meet the sudden and
               staggering demand for refillable cylinders that this ban would create. A refillable
               fleet would require up to five times as many cylinders to service the same
               demand. Thus, the domestic market for cylinders currently supplied by
               American manufacturers will shift right back to foreign manufacturers
               producing refillable cylinders with no meaningful environmental oversight.

               Shipping heavier refillable containers from overseas will increase the
               greenhouse gas footprint of these products and create the very same HFC
               smuggling opportunities the cylinder ban was proposed to address. In 2020,
               Worthington filed a successful antidumping case against nonrefillable cylinder
               imports from China, and the Commerce Department recently imposed duties of
               82 to 288 percent on these imports.113

          Any supposed “cost-effective” environmental benefit in moving from disposable to
 refillable cylinders is also questionable. This issue was analyzed in a study commissioned by the
 California Air Resources Board.114 As compared with other measures, including foam recovery
 from household refrigerators/freezers, refrigerant recovery and reclamation and recovery and
 reclamation from fire extinguishers, emissions reductions from banning the use of disposable 30
 lb. refrigerant cylinders was relatively small and came at costs an order of magnitude higher than
 other options.115 According to this analysis:

               By banning disposable (non-refillable) cylinders [in California], an estimated
               0.7 MMTCO2eq can be avoided by 2050, though at significant cost (i.e., net
               present value (NPV) cost of $254/MTCO2eq for HFCs through 2050, assuming
               a 5% discount rate).116

        EPA’s review of this issue contained in an analysis submitted to the docket117 is incomplete
 and does not consider the full lifecycle analysis of the refillable cylinder supply chain nor does it
 compare this supply chain with that of non-refillable cylinders. This is a major flaw in EPA’s
 analysis. The EPA study does not include full impact of initial refillable cylinder investment,
 investment at loading facilities, refillable cylinder refurbishment, valve cost or weight, seasonality
 of business, environmental impact of heavier cylinders, ergonomic impacts, reverse logistics,
 lower net product weight with refillables, or cylinder recycling. Specifically:



         113
              Testimony of Wayne Powers, Director of Refrigerant, Foam and Adhesive, Worthington Industries,
 June 3, 2021.
          114
              Lifecycle Analysis of High-Global Warming Potential Greenhouse Gas Destruction, Contract Number
 070330, October 2011.
          115
              Id. at xiv, Table 1.
          116
              Id. at xv.
          117
              Refillable and Non-Refillable Cylinders: Analysis of Use, Emissions, Disposal, and Distribution of
 Refrigerants, Stratospheric Protection Division, April, 20460, EPA-HQ-OAR-0044-0046.


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    •   EPA assumes that a small refillable cylinder costs about $36.118 But small refillable
        cylinders in Canada cost $60 each plus $15 to $20 for the valve, making total cost 6-7X
        the cost of the $12 non-refillable cylinder cited in the docket post. This means EPA
        underestimated total purchase costs per cylinder and valve by about 2x.

    •   EPA also underestimated the number of non-refillable cylinders used annually in the
        United States. Annual non-refillable cylinder use for stationary and mobile aftermarket
        refrigerants is in the range of 6 million units as referenced by the State of California’s
        2007 market study, not the 4.5 million assumed in the docket post. Chemours experience
        with small refillable cylinders in Canada shows that the refillable cylinder fleet size needs
        to be 5X the annual non-refillable cylinder use due to slow turn rates (only 1x/yr, not the
        1.5X/yr in the docket post) and empty cylinder return logistics (empty cylinders returned
        in batches, not individually). Based on these estimates, total US small refillable cylinder
        fleet requirements could approach 30 million units. Factoring in a much larger fleet and
        twice the assumed cost per unit means that EPA’s cost estimates are off by several orders
        of magnitude. An added consideration is that almost as soon as the investment has been
        made to establish this fleet, 2024 and 2029 step downs in HFC allowances will occur,
        possibly obsoleting a large portion of the fleet, depending on yet undetermined market
        choices of low GWP replacements.

    •   Higher tare weights for refillable cylinders (21 lbs per ICF study) versus non-refillables
        (6-7 lbs including carton) may create ergonomic issues for service technicians and others
        handling cylinders in the supply chain. A possible adaptation would be to reduce net
        refrigerant fill weights, which would lead to even higher fleet size and associated costs
        (cylinders, valves, outbound and return freight, etc.)

    •   The California report cited above also concluded in 2011 that there would be a
        significantly higher cost for the refillable supply chain, an estimated $50 million through
        2050 in California alone. Because California GDP is approximately 15% of total U.S.
        GDP (Bureau of Economic Analysis 2019), extrapolating these estimates nationwide
        would mean a $340 million higher cost for a refillable cylinder system nationwide during
        the same time period as measured in 2011 dollars.

    •   Beyond costs to create the refillable cylinder fleet, additional costs should be expected for
        modification of automated packaging lines to fill small refillable cylinders instead of the
        current non-refillable packages. The larger footprint of small refillable cylinders versus
        current non-refillables might also create additional costs down the value chain for
        conversion of automotive service machines and contractor service van transport racks.

    Again, Chemours shares EPA’s goal to prevent illegal imports of HFCs. But more realistic
    cost estimates combined with the fact that much larger quantities of refillable cylinders will be
    needed almost immediately – and then potentially not needed as the HFCs are phased down in
    2024 and 2029 leaving costly stranded assets given that cylinder useful life is approximately


        118
              Id. at 16.


                                                 34
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     20 years – heavily weighs against adoption of EPA’s proposed requirement for refillable
     cylinders.

                  2. EPA Has Overestimated Emission Reductions Associated with “Heels”
                     Contained in Non-refillable Cylinders

        EPA’s assertion that the residual amount of HFC (heel) that remains in disposable
 cylinders “can measure up to eight percent of the quantity that was originally stored in the
 container”119 appears likely to be related to heels of a 25-lb HFC-410A Non-Refillable cylinder
 that would remain if the contents were pulled down only to vapor pressure at 77F when the last
 drop of liquid was removed. In this case, an estimated 7.6% of HFC-410A contents would
 remain as vapor if the cylinder was disposed with no further removal of contents. However, a
 more likely scenario would be for a service technician to stop use when vapor pressure reaches
 suction pressure on the air conditioning equipment being serviced, leaving an estimated 4.4% of
 contents as vapor.

 Similarly, HFC-134a Non-Refillable cylinders when “liquid empty” at 77 F would leave 3.1% of
 contents remaining as vapor. If a service technician stopped when vapor pressure equaled suction
 pressure on a medium temperature refrigeration unit, an estimated 1.0% of contents would
 remain. However, HFC-134a non-refillable cylinders used in automotive air conditioning service
 are used with service machines that pull the cylinder down to 15” Hg, leaving only 0.2% of
 contents as vapor. Thus, EPA cannot generalize from these results that prohibiting the use of
 non-refillable cylinders “would increase environmental benefit by ensuring the heels left in a
 cylinder are not released to the atmosphere when disposable cylinders are discarded.”120
 Chemours also notes that the docket post estimates on average cylinder heel weights cited only a
 Stratus study that referred only to stationary aftermarket cylinders, omitting consideration of the
 much lower heels that would be expected from 134a cylinders used in automotive service
 machines.

 Chemours Canada’s experience with small refillable cylinders indicate that there are also heel
 losses which occur for these containers due to product contamination during cylinder
 conversions between products, during valve replacement and cylinder preparation for
 hydrotesting. Considering the possible actions to reduce heel losses in non-refillable cylinders
 and some heel losses occurring in refillable cylinders, Chemours believes that EPA’s estimate
 that replacing disposable cylinders with refillable cylinders would prevent the release of 5.2
 MMTCO2e of HFCs each year is likely excessive.121

         B.       Alternative Mechanisms Are Available To Support Enforcement Goals and
                  Prevent Illegal Imports

        Instead of pursuing its proposed regulatory pathway, Chemours suggests that EPA
 implement an alternative approach whereby refillable cylinders would be required only for
 imports as a means of controlling illegal imports. Imposing refillable cylinder requirements for

         119
             86 Fed. Reg. at 27,187.
         120
             Id.
         121
             EPA’s estimates may be found in the docket at “Refillable and Non-Refillable Cylinders: Analysis of
 Use, Emissions, Disposal, and Distribution of Refrigerants.” See EPA-HQ-OAR-2021-0044-0046.


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 imports will assist in enforcement efforts by requiring a more substantial infrastructure for
 imports, with an associated financial investment, lessening the potential for fraud. Given the
 extensive reporting required for domestic producers, a parallel system is not required as a
 “physical” anti-fraud system for regulated substances produced in the United States. Rather,
 EPA can rely on reporting and other tracking systems that are extensive but inherently less
 expensive, backed up by the threat of enforcement for misreporting such activities.

         Banning import of non-refillable cylinders containing HFCs would accomplish the same
 goal as EPA’s proposal to switch to a “returnables only” market since it would not be
 economically viable to ship empty returnable cylinders back to parties outside the U.S. In
 addition, anti-dumping actions already taken regarding HFC blends (e.g., 410A, 404A) have
 already largely moved the U.S. market away from importing non-refillable cylinders containing
 HFC blends in favor of importing bulk components and blending/packaging in the U.S. market.
 The only major product that would be impacted by a ban on importing non-refillable cylinders
 containing HFCs would be HFC-134a and a measure to require domestic filling of packages
 would not impose an undue burden on the market since domestic HFC packaging capability
 already exists. EPA should also consider requiring packaging of neat HFCs and HFC blends at
 EPA-approved packaging facilities with record keeping requirements and audits in place, even if
 EPA opts to forego a ban on import of filled non-refillable cylinders.

         An additional alternative to requiring that refillable cylinders be utilized in all cases
 would be for EPA to allow continued use of US-filled non-refillable cylinders but require that all
 used non-refillable cylinders be returned to a local refrigerant distributor or reclaimer for
 recovery of refrigerant and preparation for cylinder recycle in accordance with AHRI Guideline
 Q “Guideline for Content Recovery & Proper Recycling of Refrigerant Cylinders.” DOT-39 non-
 refillable cylinders should not end up in landfills, but rather be recycled locally. The recovered
 HFCs could then be directed to EPA-certified reclaimers. Contractors could add a refrigerant
 recovery fee to their invoices (similar to current “tire disposal fees” charged in the automotive
 service market). EPA projections of the amount of emissions from cylinders assumes that
 improper disposal of non-refillable cylinders is occurring. Thus, imposing this alternative
 requirement would provide a dual benefit: it would provide greater control of emissions by
 specifying where and how non-refillable cylinders must be processed prior to recycle and it also
 supports reclaimers by giving them a source of virgin HFCs that have already been “covered” by
 production and consumption allowances. This could be done without market distortion that
 might occur should EPA determine to otherwise allocate either general or new entrant pool
 allowances to reclaimers.

        In addition, EPA should also consider the following alternatives in lieu of the proposed
 ban on non-refillable cylinders in order to stop illegal imports:

    •   Institute an EPA-certified HFC packaging facility requirement (similar to the
        requirements for EPA-certified reclamation facilities) with the HFC packaging facilities
        subject to recordkeeping, reporting and audit requirements related to their handling of
        regulated substances including the allowance holders whose material is being packaged
        and their packaged quantity including handling and filling losses. This would provide a




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        far more traceable path for regulated substances than the proposed end to end package
        tracking requirement.

    •   Require all allowance holders who service the refrigerant aftermarkets to implement an
        authentication program for cylinders filled at the EPA-certified packaging facilities for
        placement into the market. This could be accomplished through a system similar to
        Chemours’ IZON authentication program. The authentication feature would allow end-
        users and auditors to quickly check the validity of a cylinder in the field.

    •   Require pre-authorization of imports (primarily ISO containers).

    •   Require all HFC imports to use proper HTS codes. Coding system needs to be updated
        such that each HFC component and HFC-containing blend composition has a unique
        HTS code.

    •   Require that all imports be clearly identified on Customs’ records as to the importing
        parent company (no “unassigned” or “blank” imports appearing on import subscription
        services) so the industry can self-monitor HFC activity.

    •   Require Certificate of Analysis (COA) on each ISO container entering the U.S. CBP
        should spot sample and test contents to ensure importers don’t claim to be importing one
        product when it’s actually importing another, higher GWP product.

    •   Require all imports of a regulated materials (e.g. virgin, used, recovered, recycled,
        reclaimed) to expend consumption allowances.

    •   Consider implementing a deposit on disposable cylinders to encourage proper evacuation
        and return for refrigerant reclamation and proper cylinder recycling. Contractors could
        add a cylinder disposal fee to invoices to cover the cost of proper processing of used non-
        refillable cylinders.
    •   Implement an EPA hotline and on-line portal for reporting of suspected illegal activity
        similar to “Operation Catch-22”. Consider rewards for those who report (where illegal
        activity is found).

    •   Be very public in trade magazines, etc. regarding the existence of reporting hotlines and
        the potential for civil and criminal sanctions.

        C.      EPA’s Proposed Certification ID Tracking System Using QR Codes (or Similar
                Digital Technology) to Track HFCs is Not Feasible.

         Chemours supports EPA’s general premise that in order to ensure that HFCs introduced
 into commerce in the United States are “legal” they need to be covered by an allowance or are
 the result of U.S. refrigerant reclamation. The proposed mechanism to track HFCs, however,
 essentially represents a theoretical concept and is not accompanied by a proven digital solution
 capable of accurately achieving EPA’s objective.




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          EPA has proposed to track cylinders and product through the end-to-end supply chain
 using EPA certification system for QR codes for each container. But it is impossible to track
 each cylinder contents through full supply change through QR codes or other means. For
 domestic production, production is co-mingled in storage tanks, making it impossible to link a
 source container to finished product container. Import shipments are also co-mingled in storage
 tanks so they cannot be linked to a specific finished product container. Further, products like
 HFC-410A, HFC-404A, HFC-507, etc. are blends which are produced by further co-mingling
 two or more regulated HFCs, making the end-to-end product tracking even more cumbersome.
 EPA’s proposed rules are also overly complex and not value-adding. They would also do little
 to restrict or limit illegal imports. Illegal imports need to be stopped before entering the US;
 tracking within the country would not necessarily identify or stop illegal imports.

        Chemours would instead recommend using quality batch management practices to verify
 authenticity. EPA could simplify its tracking requirements and achieve the same objective.
 Rather than tracking the movements of cylinders through the supply chain, EPA could require
 authenticating cylinders filled in the U.S., using a unique identifier on each cylinder such as an
 IZON label with a QR code. The cylinder could then be authenticated at any point in the supply
 chain by verifying the code through the supplier system or even through uploading the authentic
 codes to the EPA system. Using this ability to “spot check” cylinders, EPA could therefore avert
 the need for additional tracking through each step in the supply chain, a system that would add
 additional costs and complexity, without providing additional benefits against illegal imports.

          As an additional measure to better track regulated HFCs, we suggest mandating use of an
 EPA-certified HFC packaging facility (similar to the requirements for EPA-certified reclamation
 facilities) with the HFC packaging facilities subject to recordkeeping, reporting and audit
 requirements related to their handling of regulated substances including the allowance holders
 whose material is being packaged and their packaged quantity including handling and filling
 losses. This would provide points of concentration for HFC packaging, making the desired mass
 balance for each allowance holder versus their allowances far easier to manage than an end-to-
 end product tracking system.

 IX.     EPA Must Clarify Provisions Addressing HFC-23

         A.      Chemours Supports Ratification of the Kigali Amendment and Related Actions to
                 Phasedown the Use of HFCs and Address Climate Change

          Chemours has long supported U.S. ratification of the Kigali Amendment and adherence
 to the Paris Climate Agreement. During Congressional consideration of the AIM Act, Chemours
 signaled its support of this measure and the legislation’s overall objective of reducing GHG-
 weighted emissions of HFCs by 85%. This support was consistent with other actions Chemours
 has taken to address climate change. For example, on September 13, 2018, Chemours initiated
 10 corporate responsibility commitment goals that include at least a 99% reduction in fluorinated
 organic emissions by 2030.122 In addition, as part of the 2018 Chemours Global Reporting
 Initiative Report, we communicated that we plan to reduce HFC-23 emissions by 99% by

         122
            The Chemours Company - Chemours Announces Corporate Responsibility Commitments Tied to Its
 Growth Strategy).


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 2024.123 Most recently, Chemours announced that it will improve upon its previous 2030 climate
 goal by adopting an aggressive 60% absolute reduction of operations-related greenhouse gas
 emissions by that date.124

          Consequently, Chemours has taken multiple actions to control emissions of HFC-23.
 First, Chemours instituted measures to minimize the incidental production of HFC-23 during
 HCFC-22 production at its manufacturing facility, and to capture the majority of HFC-23
 produced. These include control of the HCFC-22 manufacturing chemistry to limit HFC-23
 production yield to less than 1.1%, and to capture the majority of the HFC-23 produced (process
 and equipment limitations preclude complete capture). Second, with respect to this production,
 Chemours is developing new process technology and designing a new production configuration
 to improve HFC-23 capture efficiency to over 99%, store this regulated substance and then ship
 it for highly efficient destruction of over 99.99%. As publicly announced,125 this project includes
 the “design, custom-build and installation of proprietary technology” and has been expedited to
 be completed by the end of 2022, which would also coincide with the first full year in which the
 AIM Act is being implemented.

         B.       EPA Provisions Addressing HFC-23 Must Be Consistent with AIM Act
                  Provisions Addressing All HFCs

         EPA has proposed several measures that could affect the production of HFC-23 as well as
 HFC-23 emissions. First, EPA is proposing that “creation of a regulated substance beyond
 insignificant quantities inadvertently or coincidentally created in three specific circumstances
 would be considered ‘production.’”126 EPA has also “outlined” a “general approach particular to
 HFC-23” involving the capture and control of HFC-23 to a specific standard.127 Finally, EPA
 has indicated in preamble language (unaccompanied by proposed regulatory text) that use of
 HFC-23 allowances may be restricted in a manner that is not applied to other regulated HFCs. As
 explained in more detail below, EPA should clarify both preamble and regulatory language
 affecting HFC-23 to be consistent with the AIM Act and policy objectives regarding its
 implementation.

          While the Administration has indicated that it will submit the Kigali Amendment for the
 advice and consent of the U.S. Senate, an action which Chemours also supports, EPA’s proposed
 rule relies solely on the authority conveyed to the Agency by the AIM Act. In this regard, the
 AIM Act is a free-standing legislative enactment which neither amends the Clean Air Act128 nor

          123
              See at page 27: https://www.chemours.com/en/-/media/files/corporate/crc/2018/chemours-2018-global-
 reporting-initiative-index.pdf?rev=9dd769f57f2b45b180c26bce04b32af4).
          124
              Chemours Announces Ambitious Net Zero Greenhouse Gas Emissions Goal, April 15, 2021, accessed at
 https://www.chemours.com/en/news-media-center/all-news/press-releases/2021/chemours-announces-ambitious-
 net-zero-greenhouse-gas-emissions-goal.
          125
              Chemours Announces Project to Reduce HFC-23 Emissions, March 8, 2021, accessed at
 https://www.chemours.com/en/news-media-center/all-news/press-releases/2021/chemours-announces-project-to-
 reduce-hfc-23-emissions.
          126
              86 Fed. Reg. at 27,178.
          127
              Id.
          128
              Section 103(k) of the AIM Act provides, instead, that certain procedural, information and enforcement
 sections of the Clean Air Act shall apply to rulemaking under the AIM Act, not substantive provisions of the Clean
 Air Act that impose standards and limitations.


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 any other pre-existing statute. Thus, given the stand-alone nature of the authority that EPA relies
 on for this proposed rule, clarity is needed with regard to how new control requirements will
 apply to HFCs. This extends to EPA’s proposed regulations that affect HFC-23 production and
 use, where EPA must ensure comparable treatment of HFC-23 to provisions of the AIM Act
 affecting other “regulated substances.”

         In this regard, EPA has indicated that production of HFC-23 will “generally require the
 expenditure of production and consumption allowances unless the regulated substance is timely
 destroyed.”129 EPA also is proposing to exercise “significant discretion” to “only allow
 production and consumption allowances to be expended for HFC-23 if the HFC-23 is refined and
 sold for consumptive uses.”130 Additionally, EPA proposes to impose an emission limit
 beginning from October 1, 2022 (at the earliest) to October 1, 2023 (at the latest) which would
 apply to HFC-23, limiting emissions resulting from production to “0.1 kg of HFC-23 per 100 kg
 of HCFC-22 created on the line . . .”131

         Since the requirement to hold unexpended production allowances that are needed to
 “cover” production of regulated substances is imposed beginning on January 1, 2022,132 EPA
 needs, at a minimum, to clarify the proposed rule’s provisions that will apply in the interim
 period between this date and the time period allowed for the installation, testing and verification
 of HFC-23 control and destruction equipment (i.e., October 1, 2022 to potentially October 1,
 2023). Specifically, EPA needs to ensure that there will not be disparate treatment of one
 regulated substance (HFC-23) versus other regulated substances during such period.

         As noted above, EPA appears to have asserted some leeway to accomplish this goal. The
 Agency stated that requirements related to HFC-23 will only apply “generally” based on
 discretion, rather than being dictated by any specific provision of the AIM Act. But at the same
 time EPA must ensure that regulatory provisions specific to HFC-23 do not conflict with
 applicable definitions contained in the AIM Act nor provisions that apply to HFC-23 and all
 other “regulated substances.”133 This would especially hold true during the period of time prior
 to the imposition of unique emission limitations on HFC-23.

        In this respect, EPA acknowledges that during this interim period “some facilities [that
 produce HCFC-22 and HFC-23] may need to install and calibrate new equipment in order to
 meet [the destruction standard].”134 Therefore, having recognized this required time period, it is
 incumbent upon EPA to not impose conflicting requirements which would effectively negate the
 availability of this transition period from status quo ante of substantial control of HFC-23 to
 near-zero emission requirements the Agency seeks to impose. Clarification of both preamble

          129
              86 Fed. Reg. at 27,178 (emphasis added).
          130
              Id. (emphasis added).
          131
              Proposed 40 C.F.R. §84.27(a); see also 86 Fed. Reg. at 27,218. This deadline, however, may also be
 extended by up to 1 year in six-month increments. Id. §84.27(a)(1).
          132
              Proposed 40 C.F.R. §84.5(a); 86 Fed. Reg. at 27,210.
          133
              Section 103(e) of the AIM Act provides that EPA “shall establish . . . a production baseline for the
 production of all regulated substances in the United States.” This baseline is “the quantity equal to the sum of . . .
 the average annual quantity of all regulated substances produced in the United States during the period . . .
 beginning on January 1, 2011 . . . and . . . ending on December 31, 2013.” Parallel statutory language applies to
 consumption baselines.
          134
              86 Fed. Reg. at 27,178.


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 and regulatory text is needed to address the realistic need to design, manufacture, install, test and
 verify the operation of new emission control technology as well as systems that will improve the
 capture of HFC-23 and allow for collection and transport of this HFC-23 for destruction.135

         Chemours seeks clarity that the Agency intends (as suggested in the preamble) that
 allowances are not required for HFC-23 emissions until emissions are controlled in compliance
 with the specified standard.136An option the Agency has is to allocate sufficient allowances to
 address the interim period after imposition of the requirements of §84.5(a) to hold allowances
 addressing production of HFC-23 and before full operational status of HFC-23 control
 equipment. That is, such allocations would last until such time as such production of HFC-23 is
 subject to the separate requirement (proposed in §84.27(a)) regarding the control of HFC-23
 emissions, including any granted extensions pursuant to §84.27(a)(1). Another option the
 Agency should consider would be to address this matter through expansion of the exceptions
 allowed from the general requirement to expend allowances to cover the production of regulated
 substances (as proposed in §84.5(a)(3)) where regulated substances are destroyed to clarify that
 this exception also covers the interim period necessary for installation and operation of HFC-23
 controls.

          Under the first option, while EPA has not proposed specific allowance allocations under
 the proposed rule, to the extent that allowances for other HFCs are allocated based on prior
 production and consumption of HFCs during the baseline period established by the AIM Act,
 HFC-23 should be treated in an identical manner concerning all production of HFC-23137 (again,
 for at least the period of time necessary to address the separate emission control standards that
 apply solely to HFC-23). In other words, sufficient allowances should be provided to prior
 producers in order to accommodate HFC-23 production prior to the time that new destruction
 technology for HFC-23 can be effectively installed.138 In addition, all other HFC-23 specific
 restrictions discussed in the preamble that would impede the use of allowances would also not be
 imposed during such time.139 With regard to the second option, EPA has proposed criteria under
 which a producer is not required to expend allowances when regulated substances are destroyed.

          135
              Chemours would further note that while it may be “on notice” that EPA intends to proceed in some
 fashion with entirely new requirements specific to HFC-23, Chemours like all other regulated parties will not have
 specific notice of the final requirements that would apply until such time as EPA promulgates a final rule, which the
 Agency has announced will be in the fall of 2021 to coincide with the statutory requirement to issue a final rule.
          136
              Alternatively, EPA could clarify that HFC-23 production is included within the total production
 (MMTEVe) figures provided for within the proposed 40 C.F.R. §84.7(a)(3) table and thus would be allocated
 pursuant to proposed §84.9.
          137
              The AIM Act defines “produce” to mean the “manufacture of a regulated substance from a raw material
 or feedstock chemical [excluding destruction].” HFC-23 is produced from raw material during the production of
 HCFC-22.
          138
              Chemours has previously noted that EPA has access to HFC-23 production data through GHGRP
 reporting under Subpart O. In order to implement this alternative EPA could utilize this data or request other
 company-specific data prior to the determination and allocation of allowances this fall.
          139
              EPA indicates that it is “proposing to exercise . . . significant discretion to only allow production and
 consumption allowances to be expended for HFC-23 if the HFC-23 is refined and sold for consumptive uses, such as
 in semiconductor etching or refrigeration at very low temperatures.” Id. It does not appear, however, that EPA has
 proposed regulatory language to implement this HFC-23 specific restriction. There is no proposed Part 84
 regulatory text which even uses the term “consumptive use” much less imposes a particularized HFC-23 restriction.
 Chemours is also not aware of any other provision proposed by EPA that would apply such a restriction to other
 regulated substances.


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 This provision could be further clarified to address the interim period necessary to implement
 new HFC-23 capture and destruction technology. In other words, an exemption could effectively
 serve as a substitute to the allocation of allowances based on prior HFC-23 production.

        Regulatory language to accomplish the first alternative could be added to the end of
 proposed §84.9 as follows:

         “(5) Production allowances based on prior production of HFC-23 during the baseline
 period for production of HFCs shall be made available to prior producers in sufficient quantity to
 address the amount of total HFC-23 produced during the manufacture of HCFC-22 during the
 period January 1, 2022, to October 1, 2022, and during any period covered by an extension
 granted pursuant to §84.27(a)(1).”

        Regulatory language to accomplish the second option could be added to the end of
 proposed §§84.5(a) as follows:

         “(4) An entity is not required to expend production allowances to produce HFC-23 that is
 not sold for consumptive uses during the period January 1, 2022, to October 1, 2022, and during
 any period covered by an extension granted pursuant to 84.27(a)(1).”

         The legal and rational basis for either of the provisions would lie in EPA’s proposed
 disparate treatment of one AIM Act regulated substance versus all other regulated substances
 considering that Congress provided for no such distinction but rather defined “regulated
 substances” with reference to a specific list of HFC (i.e. within Section 103(c)(1) of the AIM
 Act). In other words, if EPA is to finalize provisions which impose restrictions unique to HFC-
 23, it must at the same time provide for reasonable accommodation of the intended transition to
 novel capture and destruction provisions that apply solely to HFC-23.

        C.      The Statutory Design of the AIM Act Ensures that Environmental Objectives will
                be Achieved using Scientifically Derived Values

         Within the AIM Act, Congress provided for the phaseout of HFCs using an allowance
 system that is based on exchange values. Exchange values are essentially the relative global
 warming potential (GWP) of individual HFCs and these values must be used for establishing
 production and consumption baselines. Production and consumption baselines are then, in turn,
 utilized for determining the quantity of allowances for production and consumption.140 The same
 exchange values are also used to implement other parts of the AIM Act. Transfers of allowances
 are to use “the applicable exchange values” for listed regulated substances or the exchange value
 later promulgated for newly designated regulated substances.141

        EPA noted this statutory structure when it observed that the AIM Act “requires EPA to
 phase down the consumption and production of statutorily-listed HFCs on an exchange value-
 weighted basis according to the schedule stated in [AIM Act Section] (e)(2)(C).”142 As a result,


        140
            AIM Act, §103(e)(1)(D).
        141
            Id. §103(g)(1).
        142
            86 Fed. Reg. at 27,153.


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 EPA proposed an “exchange value equivalent” to provide a “common unit of measure.”143 This
 allows for “the comparison between, and calculation with, different regulated substances.”144
 This same common unit of measure is utilized with regard to the AIM Act’s “allowance
 allocation and trading program.”145 The trading program must use exchange value equivalents in
 order to ensure that GHG reductions can continue to be addressed even as different HFCs may be
 produced for different end uses over the next 15 years (when the 85% control level becomes
 fully effective).

         As a result, the statutory allowance system based on exchange values ensures that the
 environmental goals of the AIM Act will be fully addressed, no matter what mix of HFCs may
 be in use 5, 10 or 15 years from now. Regulated substances will be phased down based on their
 scientifically established contribution to climate change. This statutory structure is, in essence, a
 zero-sum game: to utilize HFCs with relatively higher GWP, correspondingly more allowances
 are required to be held by producers and importers. If relatively low GWP HFCs are produced or
 imported, correspondingly less allowances are required and more kilograms of an HFC can be
 produced or imported. The effect on the environment is the same.

        While in the proposed rule EPA notes that HFC-23 retains the highest exchange value
 among all regulated substances, within the context of implementing the AIM Act, this exchange
 value does not convey any advantage vis-à-vis other HFCs, but rather a statutory disadvantage.
 Thus, EPA is not otherwise directed by the statute to provide for a more aggressive phasedown
 of higher GWP HFCs such as HFC-23. Rather, the statute contemplates that diminution in use of
 higher GWP HFCs will occur as an economic result of the allowance system as well as other
 mechanisms noted above that may either accelerate the HFC phasedown or limit specific end
 uses.

         D.      EPA Either Must Review Existing Information on HFC-23 or Obtain Information
                 Comparable to Information Intended to be Utilized for Other HFCs

         In the proposed rule and its presentation of aggregate 2011-2013 baselines for the
 calculation of HFC production and consumption allowances, EPA did not include information on
 HFC-23. EPA failed to provide such information despite being notified of its obligation to do so
 several months prior to the release of the proposed rule.146 In addition, new information
 submitted to the docket (i.e., HFC Production and Consumption – Proposed Rule, submitted in
 April 2021) included only 17 of the 18 regulated substances specified in the AIM Act, once
 again excluding HFC-23. EPA has since requested information from prior producers of HFC-23.
 EPA should use this HFC-23 information, or other information of sufficient quality, to allocate
 allowances based on historical production and consumption of HFC-23 during the 2011-2013
 baseline on the same basis as allowances are provided to other HFCs. Alternatively, EPA could
 consider the allocation of allowances pursuant to the alternatives outlined above in Section IX.B.



         143
             Id. at 27,161.
         144
             Id.
         145
             See AIM Act, section 103(e)(3)(A),(B).
         146
             See Chemours Comments on EPA’s NODA (86 Fed. Reg. 9,059 (Feb. 11. 2021)). These comments
 have been resubmitted for the docket of this proposed rule. (Attachment 1).


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 X.     EPA Must Also Clarify Several Other Provisions Respecting HFC-23

        A.         HFC-23 Emissions Are to be Measured Against HCFC-22 Production

         EPA’s proposed regulatory language in 40 C.F.R. §84.27 indicates that “as compared to
 the amount of chemical intentionally produced . . . no more than 0.1 percent of HFC-23 created
 on the line may be emitted.” Chemours understands that “chemical intentionally produced”
 references HCFC-22 and that this terminology intentionally distinguishes “chemical” from
 “regulated substance” meaning that the 0.1 percent of HFC-23 created is in relation to the
 amount of HCFC-22 produced. EPA, however, should clarify in any final regulatory language
 that limitations on HFC-23 are measured against the production of HCFC-22 or other non-HFCs.
 In addition, EPA should provide a more specific metric for measuring the required level of
 emissions than the proposed percentile standard. Specifically, Chemours would suggest utilizing
 a standard based on relative measurement of emissions.

        Both revisions may easily be accomplished by amending the proposed regulatory
 language as follows:

         “(a) No later than October 1, 2022, as compared with the amount of HCFC-22 produced
 on a facility line, no more than 0.1 kg of HFC-23 may be emitted per 100 kilograms of HCFC-22
 produced by such facility line.”

        B.         EPA Should Retain Ability to Obtain Two Extensions

         EPA should retain the ability to request two, 6-month extensions for the imposition of
 any limitation on HFC-23 emissions as contained in the proposed regulatory text at 40 C.F.R.
 §84.27(a)(1)-(2). The Preamble for the proposed rule requests comment on whether EPA should
 provide for only a single, one-year deferral of the emission standard with no possibility of an
 extension.147 While, as described above, Chemours has publicly announced its plans to install
 new technology to address HFC-23 by the end of 2022, EPA should retain the proposed rule
 language allowing for the possibility of two, six-month extensions. Any multi-million dollar
 project to effect a re-design of a production facility with new, untested technology risks possible
 delay and can experience unforeseen complications despite thorough advance planning. EPA
 should retain the flexibility to review and approve extensions to account for these and other
 possibilities.

        C.         EPA Should Not Promulgate A Single List of Destruction Technologies

         EPA has proposed a list of destruction technologies applicable to the destruction of
 regulated substances, except for HFC-23, as well as a list of destruction technologies that are
 specific to the destruction of HFC-23.148 EPA should not promulgate a single list of destruction
 technologies based solely on HFC-23. HFC-23 is rarely used in blends. Therefore, having a
 single list of destruction technologies based on HFC-23 is not needed. Imposing overly stringent



        147
              86 Fed. Reg. at 27,179.
        148
              Proposed §84.29.


                                                 44
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 requirements for other HFCs based on HFC-23 blends could cause material harm to current
 operators of destruction facilities.

         D.        EPA Should Clarify Regulatory Language Regarding Time Periods for
                   Destruction

         EPA has proposed that the expenditure of production allowances is not required if
 regulated substances are destroyed “within 30 days.”149 Where offsite destruction of HFCs is
 used, allowances are not required if the HFCs are destroyed in 90 days.150 These provisions
 should be clarified to indicate that destruction is to occur within a time period measured from the
 point in time when a suitable amount of HFC is captured allowing for efficient destruction.
 Under systems that are in use or contemplated for installation, HFC-23 is first captured during
 the production of HCFC-22 and then stored until such time as it is either sold or a “batch” is
 designated for destruction. But the time required for the collection of a batch will vary according
 to the production process and the operation of a specific facility. While Chemours agrees that
 EPA should establish outside limits for ensuring destruction, these limits must reasonably reflect
 the production, capture and destruction process utilized for HFC-23. Thus, EPA should revise
 the proposed regulatory language as follows:

               “(3) A person is not required to expend production allowances . . . if the
               regulated substances are destroyed using a technology approved by the
               Administrator for destruction under §84.29 within 30 days of the time in which
               a suitable batch is collected if the destruction technology is located at the facility
               where the production occurred or 90 days after a suitable batch is collected if
               the destruction technology is not located at the facility where the production
               occurred.”

 XI.     EPA Should Allocate 2024 and Future Allowances Based on Consistent
         Methodology Pursuant to Requirements of the AIM Act

        EPA describes Section XI of the preamble as an advanced notice of proposed rulemaking
 (“ANPRM”) regarding ideas EPA is considering for “the criteria/framework for issuing
 allowances for 2024 and later years.”151 This characterization is a misnomer since EPA is not
 charged with promulgating a “criteria/framework” for 2024 and later years. Rather, Section
 103(e)(2)(D) clearly directs EPA to use the “quantity calculated” for allowances “to determine
 the quantity of allowances for the production and consumption of regulated substances.” As
 noted in more detail below, various concepts for allowance “allocation”, that in some cases may
 be characterized as “sale” rather than “allocation”, are at odds with the statutory language of the
 AIM Act and cannot otherwise be supported under any authority conveyed to EPA by
 Congress.152

         149
             Proposed §84.5(a)(3).
         150
             Id.
         151
             86 Fed. Reg. at 27,157.
         152
             EPA did examine other allocation structures, including fees and auctions, in connection with
 implementation of the Montreal Protocol using the authority of the former section 157(b) of the CAA. See 53 Fed.
 Reg. 30,566 (Aug. 12, 1988). EPA received comments questioning the legal basis of such actions and, in the end,



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         A.       EPA Has Limited, Specific Authority Concerning Allowance Allocations Under
                  AIM Act

         Unlike many other federal departments and agencies, EPA has no “organic statute” that
 directs the Agency’s operations. EPA, instead, was created through an Executive Order.153 This
 order provided for the establishment and basic organizational structure of the agency and
 transferred to the EPA Administrator certain functions previously performed by other parts of the
 federal government.154 But, like all Executive Orders, the governmental reorganization plan that
 created EPA did not serve as new legislative authority for the operation of the Agency.

         This history should be kept in mind when assessing the authority of EPA to implement a
 program to phasedown HFCs under the AIM Act. Put simply, EPA cannot rely on other
 authority conveyed to the Agency to implement the AIM Act apart from the authority conveyed
 by that Act. As noted above, while Congress intended EPA to implement the AIM Act in a
 manner consistent with its prior implementation of ODS programs pursuant to Title VI of the
 CAA, the AIM Act was not an amendment to the CAA, but rather a free-standing law. Explicit
 cross-references to the CAA in the AIM Act were also not directed to parts of the CAA
 conveying substantive authority to control stationary sources, mobile sources, air toxics or other
 air pollutants. Rather, the AIM Act cross-references provisions of the CAA that are specifically
 directed to administrative, venue, information gathering and enforcement authorities.155 EPA
 must therefore find its authority for allowance allocations solely within the confines of the AIM
 Act.

         As noted previously, EPA’s stated rationale for proposing alternatives to the traditional
 allocation of allowances to producers and importers is based on the CAA providing for a
 phaseout of ODS versus phasedown of HFCs under the AIM Act.156 But this distinction is first
 inaccurate and second, of no value in interpreting EPA’s legal authority with respect to
 allowance allocations. First, EPA does not have complete legal authority to phase out all ODS --
 given the many exceptions to the complete phaseout of ODS provided in Title VI noted
 previously.157 And clearly, not all ODS have been phased out pursuant to Title VI more than 30
 years after both ratification of the Montreal Protocol and enactment of the 1990 Clean Air Act
 Amendments. Pre-shipment and quarantine uses of ODS are still legal and, in some cases,
 required pursuant to authorities conveyed to other parts of the federal government. It could also
 be inferred that since the ODS reductions occurred stepwise, they set precedents for the stepwise
 reductions that are required for HFCs under the AIM Act.

         Second, even if EPA had complete authority with respect to ODS, the requirement to
 phasedown HFCs to 85% of historic production/consumption (with additional authority to reduce
 allowed production by more than 85% contained in several sections of the AIM Act) makes the
 distinction in authorities effectively meaningless. Nowhere in the preamble of the proposed rule

 finalized an allocated quota system indicating that “[a]ccording to economic theory, an allocated quota system
 should achieve EPA’s regulatory goal at the lowest possible cost to society.” Id. at 30,567.
          153
              Reorganization Plan No. 3 of 1970, 35 Fed. Reg. 15,623 (Oct. 6, 1970).
          154
              Id. at Sec. 2.
          155
              AIM Act, section 103(k).
          156
              86 Fed. Reg. 27,203.
          157
              See n. 88-90, supra


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 does EPA disclaim authority to accelerate the phasedown of HFCs or to utilize authority
 conveyed to control HFCs in sectors or subsectors.158 Nor does EPA affirmatively state that it
 has authority only to phasedown HFCs to 85% of prior production and consumption. EPA’s
 conceptual framework for interpreting the AIM Act to provide it with latitude to consider a
 different allowance criteria/framework is therefore without foundation. In order to articulate a
 difference between a phaseout and phasedown as between Title VI and the AIM Act as
 conveying authority with regard to allowance allocations, EPA must first specify precisely what
 that difference is and what legal constraints in the AIM Act prevent the Agency from exceeding
 an 85% reduction in HFC production and consumption relative to baseline.

         Third, EPA fails to explain why any difference between an 85%, 95% or 99% phasedown
 in HFCs versus a theoretical 100% phaseout for Class I and Class II substances is meaningful
 with respect to the allocation methodology for allowances. EPA provides no such explanation,
 but rather asserts that this differential (of whatever percentage it actually might be in reality)
 somehow authorizes the Agency to implement allowance allocation systems that use more recent
 years data apart from baselines, impose fees for acquiring allowances or allow the Agency to run
 an auction for allowances when no provisions in the AIM Act provide for such actions. It is
 simply not enough to make a theoretical distinction between Title VI and the AIM Act. Such a
 distinction must have a meaningful difference that would justify implementing a completely
 different methodology of allocation allowances than EPA has utilized over the past 30 years.

         Finally, AIM Act provisions regarding allowance allocations are clear and dispositive.
 The AIM Act provides that phase down of production and consumption of HFCs is to occur
 through an “allowance allocation and trading program.” Sec. 103(e)(3). Thus, the plain
 meaning of the statute precludes EPA from selling, auctioning or using other financial
 mechanisms that require value to be provided to the government for allowances – some of the
 concepts that EPA states it is considering for allowances after 2023. EPA is directed to allocate
 allowances under the AIM Act – not sell, auction or otherwise solicit financial contributions in
 order for an entity to obtain allowances.

        B.          EPA Must Allocate Allowances Solely to Historical Producers and Importers of
                    HFCs

         EPA has requested advance input on several “concepts” with regard to allowance
 allocations in 2024 and succeeding years. These include allocating allowances based on past
 production and consumption while recognizing transfers among companies, allocating
 allowances based on more recent years of production and consumption, requiring a fee for every
 production or consumption allowance, using an auction system or some combination of the
 identified approaches, including phased-in fees or auctions.159 As noted above, EPA lacks any
 statutory basis in the AIM Act for any allowance approach apart from the required allocation and
 trading program provided in Section 103(e)(3) of the AIM Act. There is no provision in the AIM
 Act which identifies any other basis other than historical production and consumption of HFCs,



        158
              AIM Act, sections 103(f), (i).
        159
              86 Fed. Reg. at 27,203.


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 CFCs and HCFCs for the determination of the amount of allowances to be allocated.160 EPA is
 directed to phase down the production and consumption of regulated substances solely through
 “an allowance and trading program in accordance with [the AIM Act].”161 EPA may not find
 discretion when statutory language is explicit and thus, the Agency has no statutory basis on
 which to explore extra-statutory “concepts” for the distribution of allowances.

          The prohibitions on production and consumptions of HFCs162 are based on the quantity of
 total allowances that EPA is required to calculate based on past historical production of HFCs,
 CFCs and HCFCs.163 The AIM Act further provides that an allowance is “a limited authorization
 for the production or consumption of a regulated substance”164 further tying allowances directly
 to these activities. Where such an explicit connection between the determination of allowances
 and their intended use is provided by statute, EPA may not imply a broader economic scheme
 was intended and thus, allowing the Agency to utilize a wide range of theoretical allowance
 methodologies. In short, Congress provided a definition for what allowances are, how the
 amount of available allowances is calculated and how allowances are to be used, which are all
 tied to historic production and consumption. When such an explicit statutory scheme is
 provided, Congress is not required to legislate in the negative and specifically prohibit EPA from
 taking actions apart from the statutory scheme.

         It is further revealing that EPA cites no statutory authority for the Agency to impose fees
 directly on producers and importers or to conduct an auction of allowances which would require
 the payment of fees to the U.S. Treasury. In the past, EPA has disclaimed any such ability under
 the Clean Air Act unless specifically authorized:

                The [Clean Air Act] does not include a broad grant of authority for EPA to
                impose taxes, fees or other monetary charges specifically for GHGs and,
                therefore, additional legislative authority may be required if EPA were to
                administer such charges (which we will refer to collectively as fees). EPA may
                promulgate regulations that impose fees only if the specific statutory provision
                at issue authorizes such fees, whether directly or through a grant of regulatory
                authority that is written broadly enough to encompass them.165

         EPA’s sole rationale to support a fee or auction system (for which no statutory
 authorization is provided) is therefore the supposed difference of an 85% phasedown versus a
 theoretical (and inaccurately portrayed) 100% phaseout. Given that EPA has no taxing authority
 within the CAA and that any authority for fees is specific to individual provisions in the CAA,
 nor does such authority exist for either activity in the AIM Act, the comparison between the
 two statutes as a front of authority for a fee or auction system for HFC allowances is further


          160
                in
          161
              Id., section 103(e)(3).
          162
              Id., section 103(e)(2).
          163
              Specifically, EPA is to use the quantity calculated pursuant to section 103(e)(2)(B) to determine the
 quantity of allowances than may be used in a given year. See AIM Act, section 103(e)(2)(B).
          164
              Id.
          165
              73 Fed. Reg. 44,411 (July 30, 2008).


                                                           48
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 undermined. Furthermore, there is no indication in legislative history of the AIM Act that would
 demonstrate that Congress intended to convey such new authority to EPA.

         That such fees or other economic instruments are not authorized is further underlined by
 the fact that when Congress intended to provide such authority with respect to ODS, it acted
 separately to provide such authority, not to EPA but to the Internal Revenue Service (“IRS”) and
 not within the CAA or another environmental statute, but through language contained in an
 omnibus budget measure:

              This document contains final regulations relating to the tax on chemicals that
              deplete the ozone layer and on products containing such chemicals. These
              regulations reflect changes to the law made by the Omnibus Budget
              Reconciliation Act of 1989 and the Omnibus Budget Reconciliation Act of 1990.
              They affect manufacturers and importers of ozone depleting chemicals,
              manufacturers of rigid foam insulation, and importers of products containing or
              manufactured with ozone-depleting chemicals. In addition, these regulations
              affect persons, other than manufacturers and importers of ozone-depleting
              chemicals, holding such chemicals for sale or for use in further manufacture on
              January 1, 1990, and on subsequent tax-increase dates.166

        The excise and floor tax regulations for ODS were promulgated by the IRS through a
 1991 rulemaking and are contained in 26 C.F.R. Part 52. EPA neither implements these
 regulatory provisions nor collects the taxes due.

        C.         Several Policy Reasons Weigh Against Alternative Allowance Allocation
                   Systems

         EPA has historically recognized that prior producers and importers of regulated
 substances bear the financial burden (having their ability to sell a product diminished or
 extinguished) of implementing provisions concerning ODS. At the same time, these parties have
 also historically invested in and developed new alternatives, allowing for an acceleration of the
 transition to safer and more environmentally beneficial alternatives. Allocating allowances to
 prior producers and importers both recognizes the cost of new regulatory requirements on
 historic producers and importers and the substantial investments made by such companies to
 allow for a successful transition to safer and more environmentally beneficial alternatives. The
 same cannot be said to be true for allowing equivalent access to allowances for entities that may
 have invested nothing in the transition to HFC alternatives but seek now to either simply import
 foreign-produced HFCs or compete in the domestic production market.
         EPA has not provided any information as to why it would be justified to depart from the
 statutory language of the AIM Act or prior practice regarding the Agency’s treatment of Class I
 and Class II ODS. To the contrary, EPA admits that some concepts would raise costs to
 consumers, a goal nowhere expressed by Congress in the AIM Act in either its statutory
 language or legislative history. Requiring companies to pay a fee for allowances would result in
 an “expected increase in the market price of HFCs that is likely to occur over time as [the


        166
              53 Fed. Reg. at 56,303 (Nov. 4, 1991).


                                                        49
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 amount of] allowances decrease . . . [this alternative] could increase the cost of HFCs.”167 While
 EPA suggests that an increase in price could also foster “faster transition to alternatives,” the
 AIM Act already includes authority to approve full, partial or graduated prohibitions on HFCs in
 individual sectors or subsectors based on the availability of substitutes and other factors.168
 Given the provision of this explicit authority and criteria to approve a transition to HFC
 substitutes, EPA may not imply that broader authority exists elsewhere in the AIM Act.169

         Both fees and auctions would introduce market uncertainty which could potentially raise
 costs without any corresponding environmental benefit. Under the AIM Act, the graduated
 reduction of HFCs on an EVe basis ensures that the environmental goals of the legislation will be
 met. Should an allowance system that either imposes or raises the cost of allowances be
 employed, these costs would only be additive. And certain systems, e.g., a short-term auction of
 allowances, could introduce increased prices based simply on market uncertainty through the
 “bidding up” of a diminishing supply of allowances. None of this would inure to the benefit of
 the environment; rather the cost of allowances could actually have the opposite effect of
 incentivizing purchasers to make sure that increased costs associated with allowances were
 realized through longer-term production of HFCs and HFC-based products.

         D.       EPA’s Alternative Allowance Allocation Methodologies Could Hurt U.S.
                  Production and Benefit Foreign Producers

          The AIM Act addresses production and consumption of HFCs in the United States but
 must also be viewed in the broader context of the international market for HFCs. In this regard,
 domestic producers have significant fixed asset sites and facilities that are dependent on meeting
 stricter environmental performance standards than the foreign suppliers. Domestic producers also
 have long supply chains and long-term business contracts for raw materials. United States
 producers rely on a skilled workforce which, in turn, is dependent on maintaining employment
 levels. To the extent that allowances are allocated or made available to entities that do not have
 such a historic investment in the United States and its workforce, the end result is directly
 contrary to the legislative intent of the AIM Act to focus on job creation in the United States.

         According to the prime Senate sponsors of the legislation, Congress expected the AIM
 Act to “create 150,000 direct and indirect U.S. jobs as well as generate $38.8 billion in economic
 benefits annually by 2027.”170 When the House Committee on Energy and Commerce marked up
 H.R. 5544, the House version of the AIM Act, on March 12, 2020, it forecast the creation of
 33,000 new manufacturing jobs in the United States and an additional $12.5 billion per year in
 benefits to the U.S. economy. The committee further cited the potential for the United States
 share of the global market for HVACR equipment to “grow by 25 percent over current levels and



         167
              86 Fed. Reg. at 27,203.
         168
              AIM Act, section 103(i)(4).
          169
              See Fourdo Glass Co. v. Transmirra Products Corp., 353 U.S. 222, 228 (1957); Crawford Fitting Co. v.
 J.T. Gibbons, Inc., 482 U.S. 437, 444-45 (1987); Green v. Bock Laundry Mach. Co., 490 U.S. 504, 524-26 (1989).
          170
              Carper and Kennedy Introduce Bill to Phasedown Use of HFCs, U.S. Senate Committee on
 Environment and Public Works, November 1, 2019. Accessed at: https://energycommerce.house.gov/committee-
 activity/markups/markup-of-hr-6160-and-hr-5544-subcommittee-on-environment-and-climate.


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 improve the trade balance by increasing exports and reducing imports.”171 While all economic
 predictions contain some level of uncertainty, it is clear that Congress expected enactment of the
 AIM Act to benefit the U.S. economy and to create U.S. jobs. Allowance allocation systems
 which would “update” allowance allocations and create a shift in allowance allocations that
 would benefit new importers or foreign production runs counter to this express goal.

 XII.   Chemours Supports Reasonable Transparency Provisions

        A.      Elements of EPA’s Proposed Requirements Are Reasonable

         EPA’s proposal to release aggregated national data is reasonable in a case where there are
 three or more reporting entities.172 This is similar to EPA’s treatment of data with respect to
 HCFCs. EPA’s proposal to release aggregated inventory data as of December 31 each year is
 also reasonable and provides transparency. Finally, EPA’s proposal to publish, each year,
 company allowances on an EV-weighted basis is also supportable and similar to the current
 system used for ODS.

        B.      EPA Should Reconsider Other Elements of Proposed Requirements

         EPA is taking comment on whether to release “all HFC data, unaggregated and in a
 format similar to how it would be reported to the EPA.173 EPA recognizes that many of these
 data elements have previously been considered to constitute Confidential Business Information
 (“CBI”) but articulates several assumptions as to the benefits that could be derived from such
 widespread disclosure, including facilitating implementation of the allocation program and
 “increase[ing] the public and current market participants’ ability to provide complementary
 compliance assurance and pressure.”174 EPA also indicates that public disclosure could facilitate
 compliance through “pressure” applied by customers, neighbors, investors and insurers.175

         While Chemours supports disclosure of aggregated data as indicated above, HFC activity
 and information provided to the EPA remains CBI and must not be released by EPA at the
 company and/or transaction level. Enactment of the AIM Act did not amend or make any
 fundamental change in Exemption 4 of the Freedom of Information Act (“FOIA”). And a rule
 under the authority of the AIM Act does not amend FOIA, the criteria for exemptions or EPA’s
 current rules affecting the submittal and handling of a FOIA exemption claim. Neither can EPA,
 through a proposed rule, alter expectations concerning CBI pursuant to Food Mktg. Inst. v. Argus
 Leader Media, 139 S. Ct. 2356, 2360 (2019).

         Import data is available to EPA through other databases and systems. Data from those
 other public, or pay, systems should be used for company specific data. If the EPA identifies a
 gap between the data collected under the AIM Act and the public data (e.g. public import data
 shows "Unassigned" imports) then EPA should work with Customs and Import control to stop

       171
           Memorandum to Subcommittee on Environment and Climate Change, Committee on Energy and
 Commerce Staff, March 10, 2020 at 3.
       172
           86 Fed. Reg. at 27,199.
       173
           Id. at 27,198.
       174
           Id. at 27, 197.
       175
           Id. at 27, 198 citing law review article.


                                                  51
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 imports without proper documentation. In this regard, it is critical to prohibit masking of any
 information in U.S. Customs’ records. Subscription customs data services today often have
 critical fields shown as “unknown,” a practice that can be very protective of illegal importation.

 XIII. EPA Should Further Define “Process Agent”

        EPA has provided a definition for “process agent” since this term was not included within
 AIM Act statutory definitions. EPA’s proposed definition, however, is too limited to include all
 relevant production processes. Chemours therefore requests that EPA revise the definition of
 “process agent” in the following manner:

             Process agent means the use of a regulated substance to form the environment for a
             chemical reaction or physical processing (e.g., use as a solvent, catalyst, suspension
             agent or stabilizer) where the regulated substance is not consumed in the reaction or
             physical processing, but is removed or recycled back into the process and where no
             more than trace quantities remain in the final product. A feedstock, in contrast, is
             consumed during the reaction.”

         The proposed change in regulatory language preserves all elements of EPA’s proposed
 definition which are protective of the environment. Both removal and recycling back into a
 process are required and no more than “trace quantities” can remain in a final product. Thus, it is
 entirely consistent with the intent of the definition but would clarify that regulated substances
 may be utilized in more than strictly processes involving chemical reactions. Nothing within the
 AIM Act provides a basis for the more restrictive definition EPA has proposed.

 XIV. Additional Comments on Proposed Regulations and Requests for Further Input

        A.       Container Heels

         Importing container (ISO tank) heels are a necessary part of the global supply chain.
 Normal, small heel volumes returning in containers that were exported should be exempted from
 further requirements, particularly where there is little commercial value. Chemours would
 support requiring allowances for heel imports into the United States under the US Goods
 returned process as a method to deter illegal imports.

         Along with this suggested policy, EPA should also consider a maximum heel weight to
 be applied with the policy. Ideally, that maximum heel weight would represent a vapor only heel
 based on actual industry data. Further, ISO tanks containing residual HFC heels should be
 directly connected to a full ISO tank shipment that originated in the US as a means of protecting
 against illegal imports coming into the US as ISO tank heels.

        B.       EPA Should Reconsider Regulatory Language Basing Violations on Amounts
                 Measured Per Kilogram

         EPA has incorporated regulatory language from 40 C.F.R. Part 82 to describe when an
 individual violation occurs. EPA should adopt a different metric for violations of the AIM Act
 given its utilization of exchange values, meaning that all amounts, as measured by weight, are
 not equivalent in terms of potential environmental harm.


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        Such a metric could utilize the AIM Act’s provided EVe values relative to each other, or
 a more generalized grouping of regulated substances where violations for higher EVe value
 substances could be based on 1 kilogram, while lesser EVe regulated substance violations could
 be based on 2 to 4 kilograms, respectively. Such a system would provide more equitable
 treatment for violations based on different regulated substances or groups of substances.

        C.         Imports for Feedstock or Destruction:

        EPA has proposed that “an individual shipment authorized through a non-objection
 notice must be destroyed within 60 days of import.”176 EPA has proposed that this same time
 period apply where an individual shipment is used in a process resulting in its transformation.”177

         EPA should recognize that imported shipments for use in transformation can be utilized
 for periods that extend much longer than 60 days. In the case where a shipment is being used as
 a feedstock to produce other chemicals, for example, companies are required to provide
 documentation of this transformation when the material leaves inventory. This reporting should
 be sufficient to address any compliance concerns that led to the proposal of the 60 day time limit.
 Transformation may also vary according to production processes and general market conditions;
 therefore, where proper reporting is undertaken, EPA should impose no time limit under 40
 C.F.R. §84.25 where a regulated substance is imported for purposes of transformation.

         Given that transformation is statutorily excluded from the definition of “produce” within
 the AIM Act (Section 103(b)(7)(B)), it may be argued that EPA lacks authority to require
 allowances be expended for this activity. Similarly, EPA’s authority over the transformation
 process is constrained to ensuring that transformation takes place. Whether or not EPA has
 sufficient authority, imposing a 60-day limit on transformation as proposed under 40 C.F.R.
 §84.25(b)(3) is neither reasonable nor supported by adequate rationale. Alternatively, EPA
 could consider applying a 60-day time limit not to transformation of the material, but rather to
 the time in-between the importation of the material to receipt of the material at the facility that
 will be engaging in transformation.

          In the EPA proposed process to import regulated substances as feedstocks or for
 destruction Under 40 C.F.R. §84.25, the petition process to import without expending allowances
 is limited to only the import for destruction and transformation. We agree with EPA that the
 ability to import without allowances is limited to only apply in these two scenarios. We further
 agree with EPA that any import of a regulated substance (e.g. virgin, used, recovered, recycled or
 reclaimed) requires allowances to be expended.

 Further, while there are legitimate needs for destruction, EPA must take appropriate steps to
 ensure that virgin HFCs are not imported into the US for destruction for the purpose of
 generating carbon credits.




        176
              Proposed 40 C.F.R. §84.25(b)(3).
        177
              Id. at 84.25(a)(3).


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 XV.     Addressing Health Risks Associated with Air Toxics in Communities Near
         Production Facilities

         It is difficult to predict with certainty if the transition to HFC substitutes will lead to a
 potential increase in emissions of the associated feedstocks and byproducts. Production of HFC
 substitutes occurred during a portion of the time period considered in the regulatory impact
 assessment and thus some data examined may already reflect this trend towards substitutes,
 mitigating the effects of future transitions. The overall projected benefits of the proposed rule
 are also extremely large, with EPA calculating net present cumulative benefits from 2022 to
 2050 at $283.9 billion at a 3 percent discount rate.178 As noted by EPA, the rule “will reduce
 GHG emissions, which will benefit populations that may be especially vulnerable to damages
 associated with climate change.”179

         The draft Regulatory Impact Assessment notes that changes in any future health risks for
 communities living near HFC production facilities remain uncertain. As noted by EPA, HFCs
 are not a local pollutant and have low toxicity to humans.180 Furthermore, as EPA also notes,
 production facilities are often subject to mature environmental statutes in addition to the CAA,
 including the Resource Conservation and Recovery Act and the Emergency Planning and
 Community Right-to-Know Act. To the extent production changes occasioned by the transition
 from HFCs to other alternatives exceed applicable regulatory levels, permits issued by local
 authorities may also be required.

         In response to the solicitation for feedback on the key assumptions underlying the
 environmental justice analysis, there is established concern and specific deficiencies with the
 scientific methodologies utilized in the risk evaluation under Section 6(b) of the Toxic
 Substances Control Act (“TSCA”).181 Comments submitted on behalf of the Halogenated
 Solvent Industry Association (HSIA) provide a detailed technical discussion regarding these
 issues and the concerns pertaining to the use of these outcomes as the basis for EJ analysis.

         With regard to the overall “form” of EPA’s proposed regulations, the Agency has noted
 that while trading of allowances is required by the AIM Act, it is difficult to predict how much
 trading will occur as between companies or facilities. EPA indicates it is unable to predict the
 degree for which substitutes for HFCs will be produced.182 This makes it difficult to predict with
 any degree of certainty how the transition away from HFC production will affect communities
 that live in the vicinity of production facilities. However, to the extent that HFC substitutes have
 already been approved under the Significant New Alternatives Program, effects on human health
 and the environment are closely examined, including maximum exposure concentrations for
 worker exposure, flammability and exposure occurring within the end use of the substitute,
 including the identification of activities with typical and maximum potential for exposure and

         178
             Draft Regulatory Impact Analysis for Phasing Down Production and Consumption of
 Hydrofluorocarbons, EPA-HQ-OAR-2021-0044-0046 at 10.
         179
             Id. at 17.
         180
             Id. at 106.
         181
             Problem Formulation of the Risk Evaluation for Carbon Tetrachloride (Methane, Tetrachloro-) CAS
 RN: 56-23-5; EPA Document # EPA-740-R1-7020) https://www.epa.gov/sites/production/files/2018-
 06/documents/ccl4_problem_formulation_05-31-18.pdf.
         182
             Id. at 130.


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 who is expected to be exposed.183 These same or similar requirements will apply to new
 substitutes intended as replacements for existing HFCs. Following this program, EPA’s current
 approval process for HFC substitutes already includes a close examination of potential health
 and environmental effects that occurs prior to approval of new substitutes.

           In addition, based on technical objectives of the manufacturing process, feedstocks are
 used and consumed, except for trace quantities, in the production of HFC alternatives,
 contributing to the minimization of exposure to communities in proximity to production
 facilities. And per EPA’s proposed requirements with regard to process agents, reuse and
 recycling of the process agents is required along with no more than trace quantities of the process
 agent remaining in the final product. These and other aspects of the transition away from HFCs
 would serve to limit any localized effects and should be considered if EPA determines additional
 analysis is warranted.

 XVI. Comments on Draft Risk Assessment

         EPA has placed a Draft Regulatory Impact Analysis into the docket.184 Upon review of
 this draft, we believe several corrections and clarifications are appropriate.

         First, in Table 6-7, the report references emissions of vinyl chloride from the Chemours
 Louisville facility. However, at no time was vinyl chloride produced, handled, or emitted at the
 Louisville facility, including the period between 2010 and 2019. Table 6-7 should be amended
 to eliminate the data point showing emissions of vinyl chloride from the facility.

         Second, the Chemours Chambers Works facility is not a current producer of HFCs. The
 production of HFCs at this facility was discontinued in 2014. Therefore, this facility should be
 removed from Table 6-1. Furthermore, in Tables 6-4, 6-5, and 6-6, the Chambers Works facility
 is identified as having releases associated with production of HFCs in the year 2019. Because
 the production of HFCs ceased in 2014, this data is inaccurate and should be removed from
 Tables 6-4, 6-5, 6-6. While Table 6-7 includes data from 2010-2014, when the facility did
 engage in the production of HFCs, the data is not specifically attributed to that time period and
 could therefore be misinterpreted to be ongoing. The most accurate resolution of these issues
 would be complete elimination of reference to the Chambers Works facility as part of this impact
 assessment.

         Third, in Table 6-2, there is a note that states that Chemours manufactures products made
 from HCFC-22 at the Chambers Works facility, resulting in emissions of HFC-23. This
 statement is not accurate. Chemours did not manufacture any products made from HCFC-22
 during this period. Instead, the emission of HFC-23 from this facility is only related to
 packaging activities, which were discontinued in 2015. Because this statement is not accurate
 and the associated hypothesis is therefore incorrect, this statement should be removed from the
 note in Table 6-2.



         183
            See SNAP Information Notice, OMB Control No. 2060-0226 (EPA Form 1264-14 (Rev. July 2020).
         184
            Draft Regulatory Impact Analysis for Phasing Down Production and Consumption of
 Hydrofluorocarbons (HFCs), EPA-HQ-OAR-2021-0044-0046.


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          Fourth, in Table 6-20, the number of informal and formal enforcement actions during the
 last five years is presented at a facility level. As explained in previous points, the Chambers
 Works facility was not a producer of HFCs during this time period and therefore should not be
 included in this table as one of the nine HFC production facilities for which this data is
 presented. Furthermore, EPA notes that “these enforcement actions are not necessarily specific
 to the HFC production process.”185 Thus, it is questionable how this enforcement data is relevant
 to EPA’s estimation of the costs and benefits of implementing the phasedown of HFCs or
 changes in feedstocks, catalysts and byproducts to HFC production and related health risks for
 communities living near HFC production facilities, EPA’s stated focus of the RIA.186.

         Finally, the data presented in Table 6-21 for the Chemours El Dorado facility is
 inaccurate and should be corrected. This facility had one non-compliance in the first quarter of
 2018 related to a lab error which was resolved upon discovery. There are no further non-
 compliance events identified subsequent to that event in the Enforcement and Compliance
 History Online (ECHO) database and identifying the facility as in non-compliance for 12
 quarters in Table 6-21 is incorrect. In addition, the presentation of data in this table is not an
 accurate reflection of the compliance status for a facility. As noted in the detailed facility report
 data dictionary, there are several factors to consider when utilizing this data. There are known
 data problems which may impact the completeness, timeliness, or accuracy of the data.
 Furthermore, the information presented in the ECHO database is used to track ongoing cases and
 should not be interpreted as a final outcome related to the violation and the presented duration of
 violations is only an estimate and may not reflect accurately the resolution or final decision
 related to an alleged violation. Therefore, utilizing this data to broadly present quarters of non-
 compliance is both misleading and not aligned with the overall objectives of the regulatory
 impact assessment.

        We request that all identified errors be corrected in the final RIA.

 XVII. Conclusion

         Chemours appreciates the opportunity to submit these comments on EPA’s proposed rule
 to implement the AIM Act. We believe that EPA should proceed to finalization of this rule,
 preferably within the window of time specified in the AIM Act. But EPA should also take the
 time necessary to fully review the detailed comments it has received from Chemours and other
 commenters. EPA’s regulatory framework for the AIM Act will likely direct the phasedown of
 HFCs for the next decade and a half, if not longer. Thus, decisions that the Agency makes in
 2021 with regard to allowance allocations, compliance measures, regulatory requirements
 regarding the transfer of regulated substances and allowances, how the Agency defines certain
 terms and requirements and what systems it will put in place to combat illegal imports will have
 lasting effects.

        Chemours believes that the AIM Act provides EPA with sufficient authority to
 accomplish the dual goals of phasing down production and consumption of HFCs and preserving
 and enhancing U.S. leadership and economic activity with regard to HFC substitutes. EPA.

        185
              Id. at 127.
        186
              Id. at 8, 17.


                                                  56
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 however, should promulgate regulations that are both sufficiently precise and adequately
 supported in law and the administrative record to accomplish these goals. This will take both
 time and additional revisions to the proposed regulatory text and supporting technical
 documents, including the draft RIA.




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     The Chemours Company
     Comments on Notice of Data Availability Relevant to the United States Hydrofluorocarbon
                             Baselines and Mandatory Allocations
                            Docket ID No. EPA-HQ-OAR-2021-0044
                                       February 25, 2021
     ______________________________________________________________________________

        I. Introduction

             EPA has requested comment on several matters concerning HFC use “in preparation for
     upcoming regulatory actions under the American Innovation and Manufacturing Act of 2020.”1
     EPA is also requesting “comment on areas where additional information could improve the
     Agency’s data on hydrochlorofluorocarbon consumption and production in the United States for
     [2011, 2012 and 2013].”2 Specifically, among several other requests, the Agency has asked for
     input concerning:

                (1) “[A]reas where additional information could improve the Agency’s data on
                hydrochlorofluorocarbon consumption and production in the United States for
                [2011 to 2013.]”3

                (2) “[T]he accuracy of the data and analyses presented in this notice and the draft
                reports in the docket . . . and potential data gaps.”4

                (3) Whether companies listed in Table 2 “is the complete listing of companies
                who produced or destroyed HFCs in [2011-2013].”5

                (4) Whether there exist “potential data gaps” regarding companies that did not
                report HFC data pursuant to the GHGRP and “whether there are other gaps that
                the Agency has not considered.”6

                (5) Whether companies listed in Table 2 represent a “complete listing of
                companies to have imported and exported HFCs in [2011-2013.]”7

                (6) “[C]omment on documents in the docket related to the applications for which
                section (e)(4)(B)(iv) of the AIM Act directs the Administrator to allocate the full



            1
              86 Fed. Reg. at 9,059.
            2
              Id.
            3
              Id.
            4
              Id. at 9,060.
            5
              Id. at 9.063.
            6
              Id.
            7
              Id.




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                quantity of allowances necessary, based on projected, current and historical
                trends.”8

     Chemours is pleased to provide information concerning these requested areas, as well as respond
     to the Agency’s presentation of data in this NODA and the underlying rationale expressed by the
     Agency for the type and quantity of data presented.

        II. EPA’s Data Regarding HFC Consumption and Production in the United States is
        Incomplete Because it Omits Data on HFC-23

     Table 1 of the NODA lists all regulated substances under the AIM Act with their respective
     chemical name, common name and global warming potential, expressed as “exchange values.”
     And EPA makes clear what the purpose of this listing is by stating it is “providing this
     information in preparation for upcoming regulatory actions under the American Innovation and
     Manufacturing Act of 2020, included in the Consolidated Appropriations Act, 2021.”9

     But there is a serious omission in the data presented regarding the HFCs listed in Table 1.
     While, as EPA cites in the NODA, “the AIM Act states that for purposes of establishing the
     baselines . . . EPA shall use the statutorily provided exchange values for each regulated
     substance (i.e., HFCs)”10 EPA does not include relevant data for all HFCs that are regulated
     substances under the AIM Act. Specifically, Tables 3 and 4 of the NODA present data on the
     “net supply” and imports of “AIM-Listed HFCs” that exclude all data on HFC-23. Since HFC-
     23 is a regulated substance under the AIM Act, Tables 3and 4 are therefore incomplete and must
     be modified to include all information concerning the production and consumption of HFC-23
     during the statutory 2011-2013 baseline period.

            A. The AIM Act Requires Data on Production and Consumption of all HFCs

     The AIM Act contains a list of 18 “regulated substances” that specifically includes HFC-23.11
     The Act requires EPA to establish “a production baseline for the production of all regulated
     substances” and a “consumption baseline for the consumption of all regulated substances.”12
     These production and consumption baselines are then utilized in provisions requiring a staged
     phasedown of production and consumption.13 Monitoring and reporting requirements also
     explicitly reference “regulated substances”14 as well as provisions affecting transfers and the
     management of these substances so as to prevent leaks from equipment and ensure safety.15
     Thus, production and consumption of HFC-23 during the baseline period of 2011 to 2013 is not
     only relevant to this NODA, but absolutely necessary for eventual implementation of the AIM
     Act which this NODA is designed to facilitate.


            8
              Id. at 9,064.
            9
              Id. at 9,059.
            10
               Id. at 9,061 (emphasis added).
            11
               Continuing Appropriations Act, 2021 Sec. 103(c)(1).
            12
               Id., Sec. 103(e)(1)(A) (emphasis added).
            13
               Id., Sec. 103(e)(2).
            14
               Id., Sec. 103(d)
            15
               Id., Secs. 103 (g), (h).




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              B. EPA Cannot Rely on Subpart OO to Address All HFC Production

     The only “explanation” given in the NODA for the Agency’s omission of HFC-23 data is with
     reference to GHGRP reporting requirements contained in 40 C.F.R. Part 98, Subpart OO. EPA
     cites the definition of “produce” as contained in Subpart OO and claims that this definition is
     “similar” to the definition of “produce” in the AIM Act. But this regulatory definition is
     different in several important respects from the statutory definition of “produce” in the AIM Act,
     including with reference to all provisions in the Subpart OO regulatory definition regarding
     HFC-23.16 Moreover, whether a 12-year old regulatory definition is “similar” to a 2020 statutory
     definition has no real meaning since Congress purposively and explicitly approved the AIM Act
     to regulate HFCs outside of the Clean Air Act (“CAA”) without referencing the GHGRP.

     In this regard, the genesis of the GHGRP is attributable to Congressional enactment of the Fiscal
     Year 2008 Consolidated Appropriations Act. This Act contained an administrative provision
     which stated that:

                   Of the funds provided in the Environmental Programs and
                   Management account, not less than $3,500,000 shall be provided
                   for activities to develop and publish a draft rule not later than
                   9 months after the date of enactment of this Act, and a final
                   rule not later than 18 months after the date of enactment of
                   this Act, to require mandatory reporting of greenhouse gas emissions
                   above appropriate thresholds in all sectors of the economy of the
                   United States.17

     In its first rule to require mandatory reporting of greenhouse gases, EPA explained that it was
     not, in fact, relying on appropriations act language as statutory authority for the GHGRP, but
     rather relying on CAA sections 114 and 208 to require information on greenhouse gas (“GHG”)
     emissions be submitted to the Agency.18 But neither CAA section 114 or 208 relate to the
     production or phaseout of HFCs, nor do they provide any direction to EPA concerning the
     meaning of “produce” within the context of the AIM Act. Rather, the regulatory definition of
     “produce” under the GHGRP was developed by EPA at a different time, for an entirely different
     purpose than the AIM Act.

     The regulatory definition of “produce” under the GHGRP was not conjoined to any program to
     phase out HFCs under the CAA, nor would EPA take specific action to control the use of HFCs
     under the CAA for another six years after promulgation of the GHGRP.19 While EPA may

              16
                  86 Fed. Reg. at 9,063. Despite EPA’s claim that there is “sufficient overlap” between the two
     definitions, the GHGRP regulatory definition excludes HFC-23 while the AIM Act definition of “produce” contains
     no such exclusion.
               17
                  The Fiscal Year 2009 Omnibus Appropriations Act, Pub. L. 111-8 (Mar. 11, 2009), provided additional
     instruction to EPA on the use of $6,500,000 to develop and publish a final reporting rule.
               18
                  74 Fed. Reg. 16,448 (Apr. 10, 2009). It should also be noted that the Joint Explanatory Statement for the
     Fiscal Year 2008 appropriations measure also included report language stating that EPA should utilize its authority
     under the Clean Air Act to promulgate a greenhouse gas reporting rule.
               19
                  See 80 Fed. Reg. 42,870 (July 20, 2015).




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     certainly make use of data compiled by the GHGRP regulation in order to efficiently implement
     the AIM Act, it cannot interpret the AIM Act based on the prior existence of the GHGRP which,
     at its core, was the result of a directive by Congress on how the Agency should spend some of its
     allocated funds during 2009 and 2010. And EPA certainly should not fail to include data on
     HFC-23 production from this NODA on that basis.

     To not address HFC-23 production and consumption would be contrary to EPA’s expressed
     intent in this NODA to “alert stakeholders of information from the Environmental Protection
     Agency regarding hydrofluorocarbon consumption and production in the United States for the
     years 2011, 2012, and 2013 and solicit stakeholder input.”20

     .

             C. EPA Should Use Existing Data Reported under 40 C.F.R. Subpart O Concerning
             HFC-23 Production

     GHGRP regulations require reporting of HFCs under three separate subparts, L, O and OO. The
     NODA, however, indicates that “EPA anticipates at this time that the GHGRP data that will be
     used the most to inform the U.S. production and consumption baselines are supplies of HFCs
     listed as regulated substances in the AIM Act that are reported under Subpart OO of the
     GHGRP.”21 EPA, however, currently is in possession of extensive data on HFC-23 production
     during 2011-2013 pursuant to historical reporting under 40 C.F.R. Part 98, Subpart O. EPA
     should therefore review and utilize this existing data to supplement the aggregated HFC data
     included in Tables 3 and 4 for “AIM-Listed HFCS.”

     This should be corrected in any forthcoming proposed rule.



     In the 2009 GHGRP Rule, EPA explained the logic behind its reporting requirements for
     fluorinated gases:

                EPA proposed provisions for facilities producing fluorinated gases in three
                separate subparts: 40 CFR part 98, Subpart L, Subpart O, and Subpart OO.
                Although there are many similarities across the chemicals and processes covered
                by the three subparts, the subparts were deliberately tailored to different sources
                and types of emissions. Subpart L was intended to address emissions of
                fluorinated GHGs from fluorinated GHG production. 40 CFR part 98, subpart O
                was intended to address HFC–23 generation and emissions from HCFC–22
                production. 40 CFR part 98, subpart OO was intended to address flows affecting


               20
                  86 Fed. Reg. at 9,059. The NODA also claims to provide information related to “total annual
     hydrofluorocarbon production and consumption between 2011 and 2013 reported to the Environmental Protection
     Greenhouse Gas Reporting Program as of March 30, 2020. Id (emphasis added). But by excluding production and
     consumption data on HFC-23, EPA has not provided data on total annual production and consumption, even though
     it has ready access to such information.
               21
                  86 Fed. Reg. at 9,061 (emphasis added).




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                  the U.S. industrial gas supply, including production, transformation, and
                  destruction.

                  EPA determined that 40 CFR part 98, subpart O was necessary because HCFC–
                  22 production and HFC–23 destruction facilities differ from other fluorinated
                  gas production facilities in two key respects. First, the primary fluorinated GHG
                  that they generate (HFC–23) is made as a byproduct to the production of a
                  substance that is not defined as a fluorinated GHG (HCFC– 22). Second, due to
                  the very high GWP of HFC–23, each HCFC–22 facility generates very large
                  quantities of CO2-equivalent. For the second reason, EPA has worked with
                  HCFC–22 producers for over ten years to understand and reduce HFC–23
                  emissions. The requirements for HCFC–22 producers are therefore based on a
                  close knowledge of their production processes and methods for accounting for
                  emissions. These methods are also comprehensive (e.g., accounting for
                  emissions from equipment leaks and losses during transport of HFC–23 that is
                  shipped off-site for destruction). These requirements may not be appropriate for
                  other fluorinated gas producers, and, at the same time, the requirements for
                  fluorinated gas producers may not be appropriate for HCFC–22 producers.22

     The distinctions made in the 2009 GHGRP rule were therefore based on the type of production
     facilities involved as well as the “flow” of fluorinated GHGs in the industrial sector. But given
     the production of HFC-23 by HCFC-22 facilities involves the production of a “regulated
     substance” for purposes of the AIM Act, the Subpart O data on such production is highly
     relevant to the NODA and implementation of the AIM Act.
      The data contained in Subpart O is also of high quality, given the contemporaneous nature of the
     reporting required as well as the detailed requirements that EPA established for both measuring
     and reporting information concerning HFC-23. Specifically, Subpart O reporters must submit
     annual GHG reports that include HFC–23 emissions from all HCFC–22 production processes at
     the facility and HFC–23 emissions from each destruction process.23 Among other requirements,
     monitoring and actions to ensure data quality under Subpart O must include:

            (a) The concentrations (fractions by weight) of HFC–23 and HCFC–22 in the product
            stream shall be measured at least weekly using equipment and methods (e.g., gas
            chromatography) with an accuracy and precision of 5 percent or better at the
            concentrations of the process samples.

            (b) The mass flow of the product stream containing the HFC–23 shall be measured at
            least weekly using weigh scales, flowmeters, or a combination of volumetric and density
            measurements with an accuracy and precision of 1.0 percent of full scale or better.

            (c) The mass of HCFC–22 or HCl coming out of the production process shall be
            measured at least weekly using weigh scales, flowmeters, or a combination of volumetric



            22
                 74 Fed. Reg. at 56,307.
            23
                 Id. at 56,305.




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             and density measurements with an accuracy and precision of 1.0 percent of full scale or
             better.

                                                       * * *

             (f) The mass of HFC–23 sent off site for sale shall be measured at least weekly (when
             being packaged) using flowmeters, weigh scales, or a combination of volumetric and
             density measurements with an accuracy and precision of 1.0 percent of full scale or
             better.

             (g) The mass of HFC–23 sent off site for destruction shall be measured at least weekly
             (when being packaged) using flowmeters, weigh scales, or a combination of volumetric
             and density measurements with an accuracy and precision of 1.0 percent of full scale or
             better.24

     To the extent existing Subpart O information on HFC-23 production during 2011-2013 is not
     considered complete or otherwise deficient, then EPA should solicit such information as a “data
     gap” in further action involving this notice or through an additional notice. But EPA should, at
     minimum, consider the information for the years 2011-2013 that is already compiled and
     submitted to the Agency during these baseline years.25

        III. EPA Should Align Policy on “Data Gaps” With GHGRP Reporting

     With the exception of its treatment of HFC-23 production and consumption as outlined above,
     Chemours agrees that EPA can utilize reported data under the GHGRP to help define baseline
     production and consumption of HFCs during the relevant 2011-2013 statutory period. The
     GHGRP reporting has the benefit of being contemporaneous with the baseline period. In
     addition, entities that reported under the GHGRP did so under a mandatory rule. As EPA stated
     upon promulgation of the first GHGRP Rule, “[t]his rule is being issued pursuant to the CAA,
     therefore, violations of this rule would be violations of requirements of the CAA.”26

     EPA has interpreted its authority to demand information for regulatory purposes broadly. In
     response to comments regarding the extent of reporting requirements under the 2009 final
     GHGRP Rule, EPA stated:

                  It is true that EPA has never issued a reporting rule of this scope under section
                  114 before. It is also true, however, that EPA has never undertaken such a
                  comprehensive evaluation of how to address an air pollution problem under the
                  CAA from the outset. And EPA has never undertaken such a comprehensive
                  evaluation of emissions for pollutants like GHGs (which are long lived and
                  therefore become well mixed in the atmosphere), and to address a phenomenon
                  like climate change (which while global in nature, has regional impacts). Thus,
                  it is not surprising that EPA is undertaking a unique approach to gathering and

             24
                 See 40 C.F.R. §98.154
             25
                 See https://www.epa.gov/ghgreporting/ghg-reporting-program-data-sets.
              26
                 Mandatory Greenhouse Gas Reporting Rule: EPA’s Response to Public Comments, Volume No. 9, Legal
     Issues, September 2009 at 3.




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                 evaluating information to allow it to thoroughly analyze how best to address
                 GHG emissions and climate change under the CAA. Rather than proceeding
                 piecemeal, gathering information from only certain sources, or using the
                 information already available in whatever form, EPA is undertaking an effort to
                 gather a consistent, comprehensive and accurate set of data to allow a full
                 appraisal of the possible ways to tackle this unique issue.27

     EPA also specifically addressed the need for information concerning the full extent of HFC
     production in order to address the overall supply of HFCs and resulting downstream emissions
     from HFC users:

                 Information from suppliers of industrial greenhouse gases is relevant to
                 understanding the quantities and types of gases being supplied in the economy,
                 in particular those that could be emitted downstream which will aid in
                 evaluating action under CAA section 111, as well as various sections of title VI
                 (e.g., 609 and 612) that address substitutes to ozone depleting substances. For
                 example, information regarding HFC production will assist us in calibrating the
                 model we use to estimate HFC emissions from air conditioning units. If and
                 when we go final with regulations covering users (and therefore direct emitters)
                 of these industrial GHGs (e.g., electronics manufacturing), the information from
                 suppliers will help us quality assure the information from direct emitters and
                 determine if there are additional sources of emissions from which we need to
                 gather information. In the meantime, it will give us a picture of the amount of
                 such GHGs in commerce, and used by such direct emitting categories.28

     In sum, in the initial GHGRP Rule and subsequent rules, EPA has made it abundantly clear that
     the comprehensive reporting of data, including data on HFC production is: (a) mandatory and
     subject to enforcement under the CAA; (b) necessary to support important policy objectives
     involving the “large and complex” issue of climate change; and (c) necessary from all sources in
     order to provide information on the total amount of GHGs in commerce. These characteristics
     and regulatory focus are relevant to EPA’s request for comment on certain “data gaps.”29

            A. “Gap Filling” Data Should Not Be Allowed for Entities Who Failed to Report or
            Otherwise Comply with the GHGRP

     Companies that engaged in the production of HFC-23 and the destruction of HFC-23 have been
     required to report such activity for all years since 2010.30 Specifically, pursuant to 40 C.F.R. Part
     59, Subpart O, affected entities were required to calculate and report “[t]he mass of HFC-23
     generated from each HCFC-22 production process . . . by using one of two methods, as
     applicable.”31 These entities were required to report the “[a]nnual mass of the HFC-23 generated


            27
               Id. at 8-9 (Italics in original).
            28
               Id. at 17-18 (Italics in original, underlining added).
            29
               86 Fed. Reg. at 9,064.
            30
               40 C.F.R. Part 98, Subpart O, 40 C.F.R. §98.3(b).
            31
               40 C.F.R. §98.153(a).




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     in metric tons . . . sent off site for sale in metric tons . . . sent off site for destruction”32 as well as
     other HFC-23 data.

     In addition, companies that produced a fluorinated GHGs -- and any bulk importer or exporter of
     fluorinated GHGs in amounts more than 25,000 metric tons of carbon dioxide equivalent
     (“CO2e”) have been required to report such activity since 2010.33 Under 40 C.F.R. Part 98,
     Subpart OO, affected entities were required to measure fluorinated GHGs using flowmeters,
     weigh scales or other measures, to maintain records and to report this data in a manner similar to
     entities affected by Subpart O.

     These obligations were not inconsequential burdens; affected entities under Subpart O and OO
     needed to devote time, attention and resources to the data gathering and reporting process. But
     during the rulemaking process, EPA explicitly considered whether reporting of such data would
     be prohibitive for small business owners or others with limited resources:

                  As reported in sections VIII.C and D of the proposal preamble (74 FR 16599 to
                  16602, April 10, 2009), and in the economic impacts section of the preamble to
                  the final rule, EPA analyses determined that the rule will not have a significant
                  economic impact on a substantial number of small entities. The rule has been
                  developed in such a way as to minimize the impact on small entities.

                  To facilitate implementation and compliance, EPA plans to conduct an active
                  and comprehensive outreach, training, and technical assistance program for the
                  final rule. The primary audience would be the potentially affected industries,
                  with an emphasis on assisting small entities in industrial, commercial, and
                  institutional sectors that have only had limited experience with air pollution
                  regulations under the Clean Air Act.34

     Despite these long-standing requirements and outreach to small entities, the NODA indicates that
     “there appear to be companies that imported or exported more than 25,000 metric tons carbon
     that have failed to report their imports to the GHGRP.”35 EPA does not indicate how many
     companies are involved or how such companies would be treated in terms of their past failure to
     comply with the GHGRP. But as a matter of policy, EPA should exclude such imports and
     exports from the data assembled as a result of this NODA on several bases. First, the lack of
     contemporaneous compliance during the baseline years 2011-2013 standing alone, calls into
     question whether the data would have been assembled in compliance with applicable
     requirements. For example, pursuant to Subpart OO, the mass of fluorinated GHG was to have
     been measures “coming out of the production process over the [applicable] period.”36 Second,
     requirements were imposed to ensure the quality and veracity of the data. Subpart OO required


             32
               Id. §98.156(a)(7)-(9).
             33
               74 Fed. Reg. 56,260, 56,427 (Oct. 30. 2009); 40 C.F.R. Part 98, Subpart OO.
            34
               Mandatory Greenhouse Gas Reporting Rule: EPA’s Response to Public Comments, Volume No. 8,
     Compliance and Enforcement, September 2009 at 1.
            35
               86 Fed. Reg. at 9,064.
            36
               40 C.F.R. §98.412(a).




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     specific monitoring and “QA/QC” requirements.37 It would not be clear how such requirements
     could be complied with retroactively. Finally, reports were also to have been submitted by April
     1, 2011 describing the methods of direct measurement and estimation to be used and dated
     records were to be maintained.38 None of these requirements were designed to be met – or can
     be met – after the fact. Thus, EPA should not utilize any data it receives pursuant to this NODA
     concerning HFCs that were not in compliance with applicable regulatory requirements at the
     time of generation.39

              B. “Gap-Filling” Data Should Not Be Allowed for Other Entities

     EPA is additionally soliciting data from companies that imported or exported less than 25,000
     metric tons CO2e of HFCs annually during 2011-2013.40 While these entities may not have had
     any obligation to compile and submit HFC data to EPA, EPA should not utilize data it may
     receive from such entities for the purposes outlined in this NODA. Specifically, EPA cannot
     assure itself, after the fact, that the data is of the same quality as contemporaneously acquired
     data and that the data used the same required methods and technology for its collection. EPA
     also had no opportunity, prior to the data collection, to review methods of data collection and
     estimation.

     This is not to penalize those who were under no previous legal obligation to report the import or
     export of HFCs, but to recognize the inherent difficulties in determining the extent of such
     activity during 2011-2013 when no contemporaneous records were required to be generated or
     retained. There would seem to be a considerable burden placed on the Agency to verify such
     retroactive information. In addition, disallowing utilization of such data avoids a situation where
     an entity that operated during the baseline period may have purposively stayed under the
     reporting threshold through the creation of multiple small entities.

        IV. EPA Must Consider Uncertainties in Data Concerning Mandatory Allowances

     EPA contracted for outside consultant analysis regarding sectors identified in the AIM Act for
     mandatory allocations. This analysis utilized a variety of source material rather than data that
     was reported through mandatory reporting rules, such as the GHGRP. The data that EPA has
     assembled also contains various assumptions and uncertainties. For example, data on HFC use
     for metered dose inhalers indicates that prescriptions as reported may reflect either a “unit” or a
     “dose.”41 Information regarding the use of HFCs in the semiconductor industries identifies
     “three significant sources of uncertainty in this analysis.”42 It is also not clear with respect to
     specific end uses and products whether new alternatives will be developed and when. The
     development of alternatives could realistically impact the need to utilize HFCs.


              37
                 Id. §98.416
              38
                 Id. §§98.416, 98.417.
              39
                 To be clear, this is not a matter of correcting past data that may have been submitted in error. Rather, as
     described in the NODA, EPA appears to be soliciting data that was never submitted to the Agency, although such
     data was always required to have been submitted.
              40
                 86 Fed. Reg. at 9,064.
              41
                 Market Characterization of the U.S. Metered Dose Inhaler Industry, February, 2021 at 18.
              42
                 Market Characterization of the U.S. Semiconductor Industry, February, 2021, Appendix A.




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     EPA must take these data quality and data limitations into account in the HFC production and
     consumption data it assembles pursuant to this NODA. EPA may distinguish between
     contemporaneously reported data that was developed and submitted pursuant to regulation, and
     data that is estimated based on secondary sources of information. This distinction weighs on the
     side of conservatism with regard to the data that will be assembled for use with respect to AIM
     Act mandatory allocations.

        V. EPA Should Correct Company Names and List of Companies Contained in Table 2

     Table 2 contains a list of companies that reported production, import, export, or destruction of
     HFCs during 2011-2013. This table indicates that “Chemours” engaged in such activity. The
     correct name for our company is “The Chemours Company” and we ask that EPA utilize this
     name in any subsequent NODAs or regulatory documents utilized in implementing the AIM Act.

     Table 2 also lists ICOR International Inc. On April 1, 2018, The Chemours Company, thru its
     wholly owned subsidiary, The Chemours Company FC, LLC acquired ICOR International. As
     previously requested,43 any future actions by EPA as a result of this NODA or in furtherance of
     implementation of the AIM Act should consider all production and consumption baseline
     information for ICOR International to be that of The Chemours Company.




            43
                 Chemours Letter to Katherine Sleasman, USEPA Headquarters, January 22, 2020.




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                       ENVIRONMENTAL PROTECTION AGENCY
                                 __________

                 A Brief History of Unfairly Traded Imports
                            of HFCs from China
                                 __________

                             Submitted on behalf of

                            American HFC Coalition
                                 __________

                                  July 6, 2021




                                                    CASSIDY LEVY KENT, LLP
                                                    Washington, DC




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            1   Commerce Final Decision Memorandum (May 28, 2020) issued in the Unpatented
                R-421A anti-circumvention inquiry (in full)

            2   Gujarat Fluorochemicals Ltd. Quantity & Value Questionnaire Response
                (November 15, 2019) (public version) submitted in the Indian Blends anti-
                circumvention inquiry (in full)

            3   Ships’ manifest data showing imports from “Jamaica”

            4   Photographs of the imported R-134a where the packaging is marked “Made in
                Korea” while the enclosed cylinder marked “Made in/Hecho en China”

            5   BMP & Affiliates Quantity and Value Questionnaire (November 21, 2019) (public
                version) submitted in the R-421A anti-circumvention inquiry (excerpt)

            6   Commerce preliminary analysis memorandum concerning BMP (April 3, 2020)
                issued in the Components anti-circumvention inquiry (excerpt)

            7   Affiliation of BMP and Golden G

            8   Documents Demonstrating BMP Group/Ben Meng Affiliations with Cool Master,
                iGas, Puremann, and the Juhua Group (Chinese Hydrofluorocarbons producer)

                A - Florida Division of Corporations registrations for various BMP affiliates,
                including iGas and BMP

                B - Import Bill of Lading from Panjiva.com showing Puremann’s Tampa address
                and reporting “Person in charge Ben Men [sic]”

                C – Photograph showing country of origin declaration of Cool Master R-134a
                cannister (Puremann) and purchase receipt

                D – Puremann, Inc. “Company Introduction” provided on the “Gobiz Korea”
                website

                E - iGas et al., Quantity and Value Questionnaire Response (November 12, 2019)
                (public version) submitted in HFC Components anti-circumvention inquiry
                (excerpt)



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               F –Juhua Group’s Section D Questionnaire Response (March 10, 2014) (public
               version) at D-2 – D-3, submitted in antidumping duty Investigation of 1,1,1,2
               Tetrafluoroethane from China (excerpt)

               G - Zhejiang Juhua’s (Juhua Group) 2018 Annual Report showing investment in
               iGas USA Inc. (excerpt)

         9     Puremann Inc. website screenshots including Korean address and facility
               photographs

         10    Photograph of Puremann 30lb R-134a cylinder showing U.S. address and
               declaring use of non-Korean raw materials

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         13    Ships’ manifest data showing details of Puremann’s circumventing imports during
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         14    Puremann’s facility in Chungbuk. S. Korea (from Puremann website)

         15    U.S. importer found to have circumvented Commerce hydrofluorocarbon
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               compliance with country of origin requirements




                                                 iv

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     I.     INTRODUCTION

            On April 30, 2021, the Environmental Protection Agency (“EPA”) issued a proposed rule
     that would phase out HFC refrigerants,1 including the HFC blends and HFC components subject
     to several antidumping (“AD”) orders, anti-circumvention findings, and U.S. Customs and
     Border Protection (“CBP”) enforcement actions. The NPRM proposes to allocate the volume of
     HFC products that may be sold in the United States, based on the 2017-2019 market share held
     by U.S. manufacturers and importers of HFCs.2 The NPRM cautions, however, that such
     Consumption Allowances may not be issued to importers that have not complied “with
     Department of Commerce (DoC) and CBP HFC trade provisions.”3

            As outlined below, Chinese exporters and related importers of HFCs made in China have
     engaged in unfair trade practices to penetrate the U.S. market, at least since 2013. These
     importers and their Chinese suppliers initially imported the most commercially significant HFC
     products—select HFC blends and R-134—at unfairly low prices. When in 2016 and 2017
     Commerce issued antidumping orders imposing high cash deposit requirements on these
     products, various importers began circumventing the antidumping order by importing
     “unfinished” HFC blends,4 blending in third countries, or importing unfairly traded HFC
     components (e.g., R-32 and R-125) for blending in the United States. This pattern of
     circumvention began almost immediately after the antidumping duty orders were issued and was
     combatted with anti-circumvention decisions by Commerce, enforcement actions by CBP, and,
     by 2019, domestic producers were forced to petition for new antidumping and countervailing



     1
      Phasedown of Hydrofluorocarbons: Establishing the Allowance Allocation and Trading
     Program under the American Innovation and Manufacturing Act, 86 Fed. Reg. 27,150 (May 19,
     2021) (“NPRM”).
     2
      Id. at 27,169 (EPA proposes to “issue allowances to companies that produced and/or imported
     HFCs during 2017, 2018, or 2019 that were still active in 2020”).
     3
       Id. The NPRM similarly indicates that other violations of U.S. Law, such as “falsifying
     information or data; not disclosing financial conflicts of interest or familial relationships in
     certain circumstances; noncompliance with the AIM Act or proposed prohibitions under §84.5”
     may result in “administrative consequences” for violators. Id. at 27,185.
     4
      HFC blends covered by the Commerce antidumping order include, R-404A, R-407A, R-407C,
     R-410A and R-507A.



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     duty (“CVD”) investigations covering individual HFC components of the major HFC blends,
     including components R-32 and R-125.


                                             Imports of HFCs from China, 2011‐2019
                                                                                           R‐134a
                       70,000                                                              AD Pet.
         Thousands




                                                            Blends
                                                            AD Pet.
                       60,000

                                                                              HFC Blends         R‐134a
                       50,000                                                  AD Order         AD Order
         Volume (MT)




                       40,000


                       30,000


                       20,000


                       10,000


                           0
                                2011     2021     2013     2014        2015     2016         2017          2018   2019

     Source: U.S. Census Bureau (downloaded from the USITC Dataweb).5

                         The considerable U.S. market share seized over time by these unfairly traded imports was
     the direct result of a persistent pattern of dumping, circumvention, and evasion of U.S. law. As a
     result, U.S. manufacturers of HFCs suffered declining sales revenues and profits, and failed to
     earn an adequate return on investment for more than six years, including the years 2017-2019
     that EPA proposes to use to establish allowances. At the same time, importers of unfairly traded
     Chinese HFCs increased their share of the U.S. market on the basis of unfair trade practices.
     Having seized market share and sales volume through the use of unfairly low prices through




     5
      Includes imports for consumption classified under subheadings 2903.39,2005m 2903.39.2020,
     2903.39.2030, 3824.78.0000, 3824.78.0020, and 3824.78.0050, HTSUS.

                                                                  2

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     dumping and subsidization, importers of HFC blends and components from China should not
     receive Consumption Allowances based on sales of those dumped and subsidized imports.

                The White House recently issued a comprehensive report setting a blueprint for
     enhancing domestic supply chains for a number of critical product groups, including computer
     chips and high-capacity batteries for electric vehicles.6 Throughout, the report emphasizes the
     need to address overarching environmental concerns and, specifically, Chinese producers gaining
     U.S. market share by trading in products that were produced under lax environmental standards.
     “The Administration’s approach to resilience must focus on building trade and investment
     partnerships with nations who share our values—valuing human dignity, worker rights,
     environmental protection, and democracy.”7 The Report goes on to emphasize the need to
     support “companies with strong track records of environmental compliance at their other or past
     operations.”8

                Consistent with these policies, the EPA should not award a disproportionate share of
     Consumption Allowances to circumventing importers associated with unfairly traded HFCs from
     China. Such a result is inconsistent with the purpose of the AIM Act. As important, the EPA
     must not award Consumption Allowances on the basis of market share seized by means of
     unfairly traded imports. Having increased market penetration through unfair trade practices,
     including dumping, subsidies, and circumvention of past antidumping duty orders, Chinese
     manufacturers should not further benefit through the assignment of Consumption Allowances to
     importers of the unfairly traded HFCs.




     6
       See Building Resilient Supply Chains, Revitalizing American Manufacturing, And Fostering
     Broad-Based Growth, 100-Day Reviews under Executive Order 14017 (June 2021), available at
     https://www.whitehouse.gov/wp-content/uploads/2021/06/100-day-supply-chain-review-
     report.pdf.
     7
         Id. at 6.
     8
         Id. at 143.

                                                        3

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     II.      DISCUSSION

              A.      Imports of R-134a and the Major Commercial HFC Blends Penetrated the
                      U.S. Market Using Unfair Trade Practices

                      1. Commerce Has Repeatedly Found Chinese Producers and their US Importers
                         Are Selling at Triple-Digit Dumping Margins

              Since at least 2013, imports of R-134a were being sold in the United States at dumped
     and subsidized price levels. The U.S. Department of Commerce (“Commerce”) found that R-
     134a from China was being dumped by 280.67 percent9 and was benefiting from subsidies
     ranging from 1.87 to 22.75 percent of the ad valorem U.S. price of the imported HFCs.10
     Although the U.S. International Trade Commission (“USITC”) concluded that these imports
     were not yet a sufficient cause of injury to merit relief,11 it was only a matter of time until rising
     volume of Chinese HFCs inflicted “material injury” on the domestic industry.

              Less than two years later, in Hydrofluorocarbon Blends from China, Commerce found
     that Chinese imports of the subject “HFC” blends, including R-404A, R-407A, R-407C, R-410A,
     and R-507A, were being dumped at margins ranging from 101% to 216%.12 This time, the
     USITC found that the domestic industry had been materially injured by the unfairly trade
     imports,13 and Commerce issued an antidumping duty order in August 2016.14 Furthermore, the
     first administrative review of the HFC Blends Order analyzed data submitted by Chinese


     9
      1,1,1,2-Tetrafluroethane from the People’s Republic of China: Final Determination of Sales at
     Less Than Fair Value, 79 Fed. Reg. 62,597 (October 20, 2014) (“2014 R-134a DOC Final”).
     10
       Countervailing Duty Investigation of 1,1,1,2 Tetrafluoroethane from the People’s Republic of
     China: Final Affirmative Countervailing Duty Determination, 79 Fed. Reg. 62,594 (October 20,
     2014).
     11
       See 1,1,1,2—Tetrafluoroethane From China, Inv. No. 701-TA-509 and 731-TA-1244 (Final),
     USITC Pub. 4503 (December 2014). Antidumping and countervailing duties may be imposed
     only if the imports are both unfairly traded and cause or threaten to cause “material injury.” See
     19 U.S.C. §§ 1671 and 1673.
     12
          The HFC Blends accounted for over 95 percent of the HFC blends sold in the U.S. market.
     13
       See 1,1,1,2 -- Tetrafluoroethane (R-134a) from China, Inv. No. 731-TA-1313 (Final), USITC
     Pub. 4679 (April 2017) (“2017 R-134a ITC Affirmative Final”).
     14
       Hydrofluorocarbon Blends from China; Antidumping Order, 81 Fed. Reg. 55,436 (August 19,
     2016) (“HFC Blends Order”).

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     exporter/producers and found even higher antidumping duty margins: 285.73%.15 Thus, having
     penetrated the U.S. market with low-priced imports, Chinese exporter/producers and their U.S.
     importers maintained their market share by continuing to sell at dumped prices.

            In its second investigation of unfairly traded imports of R-134a, Commerce found that
     Chinese imports were being dumped at margins ranging from 148% to 167% and issued an
     antidumping order in April 2017.16

            With antidumping duty orders in place on imports of major HFC blends (R-404A, R-
     407A, R-407C, R-410A, and R-507A) and R-134a, Chinese producers next began exporting
     R-32 and R-125, which was then blended by U.S. importers. Commerce commenced an
     antidumping investigation with respect to Chinese R-32 in 2020, and found antidumping margins
     ranging from 161% to 221% in March 2021.17

            Most recently, in February 2021, Commerce initiated antidumping and countervailing
     duty investigations with respect to R-125, one of two individual HFC components used in HFC
     blends that was not already subject to antidumping duties.18 Commerce found sufficient evidence




     15
       Hydrofluorocarbon Blends from the People’s Republic of China: Final Results of the
     Antidumping Duty Administrative Review and Final Determination of No Shipments; 2016–2017,
     84 Fed. Reg. 17,380 (April 24, 2019).
     16
       R-134a from China; Antidumping Order, 82 Fed. Reg. 18,422 (April 19, 2017) (“2017 R-134a
     Order”). As noted above, in a previous investigation in 2013, Commerce found that imports of
     R-134a from China were benefitting from government subsidies and were also being dumped in
     the U.S. market. However, the USITC found that these unfairly traded imports were not causing
     material injury to the U.S. industry.
     17
       R-32 from China; Antidumping Duty Order, 86 Fed. Reg. 13,886 (March 11, 2021) (“R-32
     Order”).
     18
        Pentafluoroethane (R–125) from the People’s Republic of China: Initiation of Less-Than-Fair-
     Value Investigation, 86 Fed. Reg. 8583 (February 8, 2021) (“R-125 DOC Initiation”) and
     Pentafluoroethane (R–125) from the People’s Republic of China: Initiation of Countervailing
     Duty Investigation, 86 Fed. Reg. 8589 (February 8, 2021). At this point, confronted with the
     relentless efforts of Chinese HFC imports to penetrate the U.S. market, all U.S. manufacturers
     have ceased production of the remaining HFC component: R-143a.

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     in the petition to support the allegation that Chinese imports were being dumped and
     subsidized,19 and the case is ongoing.

            These four Commerce antidumping proceedings investigated dumped and subsidized
     products produced and exported by over 20 producers and exporters. Many of these producers
     were found to be dumping in multiple investigations, including the original R-134a investigation,
     the HFC blends investigation, and the later investigations of R-134a and HFC component R-32.20

            Notably, EPA proposes that entities subject to AD/CVD duties pursuant to Commerce
     final determinations must document payment of applicable duties or demonstrate exemption
     from such duties before receiving allocations in 2022 or 2023.21 AD/CVD duties are paid at the
     time of importation by the importer of record. Because each importer must file an Entry
     Summary (CBP Form 7501) that allows identification of applicable AD or CVD cash deposit
     rate that must be paid, these documents can be readily submitted to EPA by importers seeking
     allowances. Entry Summaries list the unique 10-digit “AD/CVD No.” or “code” that Commerce
     assigns to each individually examined producer or exporter covered by an antidumping or
     countervailing duty order.22 These codes identify the antidumping or countervailing duty deposit


     19
        R-125 DOC Initiation, 86 Fed. Reg. at 8586. Commerce recently extended the date for its
     preliminary determination to August 10, 2021. The final determination should issue 75 days
     later. See Pentafluoroethane (R–125) from the People’s Republic of China: Postponement of
     Preliminary Determination in the Less-Than-Fair-Value Investigation, 86 Fed. Reg. 29,752
     (June 3, 2021).
     20
       Each individually investigated producer and/or exporter and their resulting margins of
     dumping or subsidization are stated in tables included in Commerce’s published final
     determinations, orders, and final results of administrative reviews. See, e.g., HFC Blends Order,
     81 Fed. Reg. 55,436 at 55,438.
     21
       See NPRM, 86 Fed. Reg. at 27,186 (“EPA is proposing that any entity that is subject to a DoC
     Final Determination and is requesting allowances for 2022 or 2023 must provide documentation
     of payment of the AD/CVD for HFC imported in 2017 through the date of this proposed rule, or
     provide evidence that those imports were not required to pay AD/CVD for those years.”).
     22
       See CBP Entry Summary, available online at https://www.cbp.gov/trade/programs-
     administration/entry-summary/cbp-form-7501, last accessed June 30, 2021. The unique
     AD/CVD numbers are reported in box 29.B of Form 7501 and take the form “A-570-028-0xx,”
     where the first three digits indicate country of export (here, China), the middle three digits
     indicate the Commerce order (HFC Blends in this example), and the last three digits are the
     unique code Commerce assigns to individually examined producers and/or exporters.

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     rate assigned to examined producers or exporters.23 At a minimum, each importer seeking an
     allowance should be required to provide an annual certification, subject to 18 U.S.C. § 1001, that
     it made required cash deposits with respect to all HFC imports covered by an AD and/or CVD
     order. EPA would then request copies of the Entry Summaries to verify the certifications.

                          2. The USITC Repeatedly Found that Chinese HFC Imports Seized Market
                             Share from U.S. Producers Based on Unfairly Low Prices

               In the five years from 2016 through 2021—capturing EPA’s proposed three-year
     allowance base period—the USITC repeatedly concluded that unfairly traded imports of HFCs
     from China seized considerable market share from the U.S. industry. As a result, the production,
     U.S. sales, and market share of U.S. manufacturers has been depressed at least since 2013-2015,
     the period of investigation (“POI”) covered by the first affirmative injury finding. This
     imbalance in market share as between U.S. producers and U.S. importers of Chinese-origin HFC
     blends and HFC components is primarily due to unfairly traded imports and is clearly reflected
     in the proposed 2017-2019 base period.

               In August 2016, in HFC Blends, the USITC found that “[t]he increase of subject
     imports’ market share came almost entirely at the expense of the domestic industry.”24 In April
     2017, the USITC found “because of the elevated level of subject imports, the domestic industry
     was unable to obtain the market share it achieved in 2014 at any subsequent time during the
     POI.”25 Two Commissioners went on to find that the alarming surge in imports of unfairly traded
     R-134a justified a finding of “critical circumstances,” saying

                    the increase in imports and inventories appears to reflect an effort by
                    Chinese exporters to flood the U.S. market with low‐priced R‐134a. An
                    importer testified that many new entrants were “hell bent” on gaining
                    market share in the United States. A significant importer, BMP,
                    circulated weekly faxes to purchasers in 2016 touting a large supply of

     23
       A producer and/or exporter’s duty deposit rate can be changed in annual administrative
     reviews conducted in accordance with 19 U.S.C. § 1675.
     24
       See Hydrofluorocarbon Blends and Components from China, Inv. No. 731-TA-1279 (Final),
     USITC Pub. 4629 (Aug. 2016) (“2016 HFC Blends ITC Affirmative Final”) at 23 (emphasis
     added).
     25
          Id. at 22-23.

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                   Chinese product at low prices, which likely had an impact on both the
                   automotive and HVAC aftermarket.26

               In March 2021, the USITC again found that “[l]ower‐priced imports [of R-32] caused
     the domestic industry to lose sales and market share to subject imports. Specifically, the
     domestic industry lost *** percentage points of market share to the subject imports from 2017
     to 2019.”27 Most recently, in April 2021, the USITC issued an affirmative preliminary injury
     determination finding that the evidence supported the conclusion that subsidized and dumped
     imports of R-125 used low prices to gain market share at the expense of the domestic industry,
     saying, “the volume of subject imports relative to U.S. consumption increased significantly, and
     subject imports undersold domestic prices to a significant degree in the later portion of the POI.
     The … increase in subject imports’ market share from 2017 to 2019 came almost entirely at
     the expense of the domestic industry”.28

               In short, over the entire period 2016 to the present, the market share held by various
     importers of HFC Blends (i.e., R-404A, R-407A, R-407C, R-410A, and R-507A) and HFCs R-
     32, R-125, and R-134a reflects a pattern of relentless unfair trade and circumvention of the
     antidumping duty orders covering HFC imports. Sales of such imports, and the share of
     consumption seized by reason of unfair trade and circumvention, should not be the basis of any
     award of Consumption Allowances.

              B.      Almost As Soon As the 2016 and 2017 Antidumping Orders Were Published,
                      Imports from China Began to Circumvent the Law

               Following the publication of the antidumping orders on HFC Blends and R-134a,
     Chinese exporters and U.S. importers began to circumvent the high duty rates intended to
     remedy unfair trade. In 2017, Commerce commenced five scope proceedings, including one
     inquiry requested by CBP, to address imports of HFC Blends and R-134a that were being


     26
          Id. at 28 (emphasis added).
     27
       See Difluoromethane (R-32) from China, Inv. No. 731-TA-1472 (Final), USITC Pub. 5165
     (March 2021) (“2021 R-32 ITC Affirmative Final”) at 27 (emphasis added).
     28
       See Pentafluoroethane (R-125) from China, Inv. No. 701-TA-662 and 731-TA-1554
     (Preliminary), USITC Pub. 5170 (March 2021) (“2021 R-125 ITC Affirmative Prelim”) at 41
     (emphasis added).

                                                        8

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     blended in third-countries, repackaged prior to importation, or shipped into the United States and
     reblended after importation in very low cost operations. These scope inquiries were all later
     conducted under the anti-circumvention provisions of the statute.29 The circumvention
     determinations by Commerce illustrate the disrupting tactics used by importers to maintain or
     increase their U.S. market share by evading the HFC Blends antidumping duty order.

                       1. Reblended R-421A – Commerce found that specific importers of unpatented
                          R-421A reblended this material in the US to evade the antidumping duty law

               The HFC Blends antidumping order excluded “patented” blends such as R-421A. BMP
     International Inc., and its numerous affiliates30 (collectively, “BMP”) imported R-421A but did
     not have the right to resell the patented product in its imported form; i.e., as R-421A. Instead,
     BMP added a small amount of another HFC component to the imported R-421A, converting the
     product into HFC Blends that are subject to the antidumping order (i.e., R-404A, R-407A, and R-
     407C). That is, rather than reselling the imported R-421A as is, BMP blended the R-421A with
     another HFC, thus producing a blend that is subject to the order. Commerce found that the minor
     processing involved in re-blending R-421A, coupled with the value of the Chinese-origin
     components and the pattern of trade amounted to circumvention of the antidumping duty order.31

               In particular, Commerce focused its investigation on four U.S. importers affiliated with
     BMP: L.M. Supply, Inc. (“LM Supply”), Cool Master U.S.A., LLC, BMP USA, Inc., and iGas,
     Inc.32 These importers were supplied by T.T. International Co., Ltd (“TTI”), an exporter in China




     29
          See 19 U.S.C. §§ 1677j(a), (b).
     30
          See discussion at Part II.C.1, below.
     31
       Hydrofluorocarbon Blends from the People’s Republic of China: Final Scope Ruling on
     Unpatented R-421A; Affirmative Final Determination of Circumvention of the Antidumping Duty
     Order for Unpatented R-421A, 85 Fed. Reg. 34,416 (June 4, 2020) (“R-421A Affirmative Anti-
     Circumvention Determination”).
     32
        BMP USA is an affiliate of “BMP International Inc.,” and is listed in EPA Production and
     Consumption Tables, Tables 3 and 4. Likewise, iGas, Inc., is an affiliate of BMP. See discussion
     at Part II.C, below.

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     trading in HFCs produced by multiple Chinese producers.33 Furthermore, two of TTI’s
     producers, Electrochemical Factory of Zhejiang Juhua Co., Ltd. and Zhejiang Quzhou Lianzhou
     Refrigerants Co., Ltd., are affiliated with BMP through the Juhua Group Corporation (“Juhua
     Group”). As discussed below, Juhua Group has an ownership interest in BMP affiliate iGas.34
     Finally, Electrochemical Factory of Zhejiang Juhua and Zhejiang Quzhou Lianzhou Refrigerants
     supplied TTI with R-134a during the July 2015 through December 2015 period of the Commerce
     R-134a investigation.35

               In its final anti-circumvention decision, Commerce noted that

                   “(1) BMP’s investment to blend HFCs in the United States is minimal in
                   comparison to the investment require to create components;

                   “(2) BMP’s R&D expenses are negligible;

                   “(3) the nature of BMP’s production process in the United States is not
                   significant;

                   “(4) BMP’s production facility for completing finished HFC blends is
                   not extensive; and

                   “(5) the value of processing performed in the United States represents a
                   small proportion of the value of the merchandise sold in the United
                   States.”36



     33
        During the respective investigation periods, TTI exported subject HFC Blends (R-404A, R-
     407A, R-407C, R-410A and R-507A) and subject R-134a produced by three separate Chinese
     producers, including 1) Zhejiang Sanmei Chemical Ind Co., Ltd.; 2) Sinochem Environmental
     Protection Chemicals (Taicang) Co., Ltd.; and 3) Zhejiang Zhonglan Refrigeration Technology
     Co., Ltd. See HFC Blends Order, 81 Fed. Reg. at 55,438 and 2017 R-134a Order, 82 Fed. Reg.
     at 18423. A fourth producer, Shandong Huaan New Material Co., Ltd., supplied TTI with HFC
     Blends but not R-134a during the respective POIs. Id.
     The HFC Blends period of investigation (“POI”) covered October 2014 through March 2015 and
     the R-134a POI covered July 2015 through December 2015.
     34
          See discussion at Part II.C.2, below.
     35
          See 2017 R-134a Order, 82 Fed. Reg. at 18423.
     36
      See Final Decision Memorandum for Scope Ruling and Anti-Circumvention Inquiry of the
     Antidumping Duty Order on Hydrofluorocarbon Blends from the People’s Republic of China;
     Unpatented R-421A at 19-20 (May 28, 2020) (footnoted omitted), included in Exhibit 1.

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               Ultimately, Commerce found that “the nature of BMP’s production process in the United
     States is not significant,” and “the evidence placed on the record overwhelmingly supports that
     the process of assembly or completion is minor or insignificant within the meaning of section
     781(a)(1)(C) of the Act….”37

                           2. Indian HFC Blends Containing Chinese HFCs – Commerce found that Indian
                              producers working with U.S. importers blended Chinese origin HFC’s in India
                              in order to evade the dumping law

               In this inquiry Commerce examined imports of HFC blends from India produced using
     Chinese R-32 that was shipped to India and then blended with Indian HFC components before
     re-export to the U.S. When determining that these imports were circumventing the HFC Blends
     order pursuant to 19 U.S.C. § 1677j(b), Commerce found that merely blending HFC components
     in India involved minor, comparatively low-cost processing operations and the value of the
     Chinese imports accounted for a significant portion of the value of the finished product
     ultimately exported to the United States.38 As such, the mere blending of Chinese components in
     a third country (here India) was insufficient to change the Chinese origin of the resulting HFC
     blend for purposes of the antidumping law.39

               Commerce singled out several Indian companies engaged in blending the Chinese-origin
     HFCs, including Gujarat Fluorochemicals Ltd. (“GFL”), SRF Limited (“SRF”), and Coolmate




     37
          Id. at 22, 23.
     38
       Hydrofluorocarbon Blends from the People’s Republic of China: Final Negative Scope Ruling
     on Gujarat Fluorochemicals Ltd.’s R-410A Blend; Affirmative Final Determination of
     Circumvention of the Antidumping Duty Order by Indian Blends Containing Chinese
     Components, 85 Fed. Reg. 61,930 (Oct. 1, 2020) (“Indian Blends Affirmative Circumvention
     Final”).
     39
       See Preliminary Decision Memorandum for Scope Ruling and Anti-Circumvention Inquiry of
     the Antidumping Duty Order on Hydrofluorocarbon Blends from the People’s Republic of
     China: Indian Blends (April 3, 2020) at Part XIII ) (pages 15 -25) (unchanged in final
     determination). This document is available to the public on the International Trade
     Administration’s Centralized Electronic Service System, known as “ACCESS” (hereafter “ITA
     ACCESS”). ITA ACCESS is available at https://access.trade.gov/login.aspx.

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     Refrigerant Pvt. Ltd. (“Coolmate”).40 These producer/exporters were then shipping the finished
     HFC blends to five specifically identified importers in the United States: Altair Partners, LP,41
     Dynatemp International,42 GFL Americas, LLC ,43 Kivlan & Company, Inc., and Mondy Global,
     Inc.44

               Following this determination, U.S. importers of HFC blends exported from India are
     subject to 216.37% antidumping duties unless the importer certifies to CBP upon entry that no
     Chinese origin components were used in the imported blend.45

                      3. Unfinished HFC Blends – Commerce found that imports of “unfinished”
                         blends of R-32 and R-125, which were then reblended in the United States
                         into a blend covered by the antidumping order, were circumventing the order.

               Acting on an allegation that the antidumping order was being violated pursuant to the
     EAPA,46 CBP requested Commerce to provide a ruling whether imports of R-32 and R-125 were
     covered by the HFC Blends antidumping duty order. When blended in 50/50 proportions, R-32
     and R-125 become R-410A.47 In this case, the imported products were not quite blended to 50/50
     proportions. Instead, after importation, a small amount of additional HFC component was added
     to the “unfinished” blend to bring it into compliance with the ASHRAE definition of a subject
     HFC blend—and thus within the scope of the HFC Blends Order. Applying the statute and using



     40
       Coolmate refused to participate in the proceeding and was thus denied eligibility for
     participating in the import certification regime adopted in this proceeding. Indian Blends
     Affirmative Circumvention Final at 61,932.
     41
          Altair is listed in EPA Production and Consumption Tables at Table 4.
     42
          Dynatemp is not listed in EPA Production and Consumption Tables.
     43
          GFL Americas is not listed in EPA Production and Consumption Tables.
     44
       See Exhibit 2 Gujarat Fluorochemicals Limited (“GFL”) Quantity & Value Questionnaire
     Response (November 15, 2019) (public version) at Attachment II-B, submitted in the Indian
     Blends anti-circumvention inquiry. Kivlan and Mondy are listed in EPA Production and
     Consumption Tables at Table 4.
     45
       Indian Blends Circumvention Final, 85 Fed. Reg. at 61,933. Commerce requires these
     certificates to be placed on the record of relevant Commerce antidumping proceedings.
     46
          The Enforce and Protect Act of 2015, 19 U.S.C. §1517 (“EAPA”).
     47
          See AHRI Standard 700, Table 2A.

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     “facts available” because certain parties failed to provide responsive information, Commerce
     found that the value added in the United States was not significant, that the value of the Chinese
     content was a significant portion of the total value of the finished product, and the blending in
     the United States amounted to only minor processing.48

            Commerce identified several companies in its preliminary determination, including U.S.
     importer Weitron Inc. (“Weitron”) and its affiliated Chinese exporter/producer Weitron
     International Refrigeration Equipment (Kunshan) Co., Ltd. (“Weitron Kunshan”).49

            In its final determination, Commerce required all importers “of partially finished R-32/R-
     125 blends produced in China” to pay cash deposits of up to 216.37%.50

                    4. Transshipment through Hong Kong, Jamaica, Panama, and South Korea -
                       Importers have mislabeled and falsely identified the origin of HFCs from
                       China to evade the antidumping orders by transshipping through third
                       countries.

            Following the imposition of antidumping duties on HFC blends and R-134a, the domestic
     industry began to identify numerous cases in which Chinese HFCs covered by an antidumping
     order were being imported from third-countries and improperly identified with a country-of-
     origin other than China. In each case, these imports were reported to CBP. Although the results
     of CBP’s investigations are confidential and did not result in published “circumvention”
     decisions (as is CBP practice), in each case the pattern of imports stopped after the practice was
     identified. Examples follow:



     48
       Hydrofluorocarbon Blends from the People’s Republic of China: Affirmative Preliminary
     Determination of Circumvention of the Antidumping Duty Order; Unfinished R-32/R-125 Blends,
     85 Fed. Reg. 4,632 (January 27, 2020) (“Unfinished Blends Affirmative Circumvention Prelim”)
     (unchanged in final Hydrofluorocarbon Blends from the People’s Republic of China: Affirmative
     Final Determination of Circumvention of the Antidumping Duty Order; Unfinished R-32/R-125
     Blends, 85 Fed. Reg. 15,428 (March 18, 2020) (“Unfinished Blends Affirmative Circumvention
     Final”).
     49
       Unfinished Blends Affirmative Circumvention Prelim, 85 Fed. Reg. at 4,634. The U.S.
     importer (Weitron) is listed in EPA Production and Consumption Tables at Table 4.
     50
        Unfinished Blends Affirmative Circumvention Prelim, 85 Fed. Reg. at 4,633 (unchanged in
     final).

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                      In 2016-2017, BMP affiliate LM Supply, Inc. was transshipping Chinese origin
                       R-134a through Jamaica.51 These imports were reported to CBP. Although the
                       details of CBP’s investigation are confidential, the transshipments subsequently
                       stopped.

                      In early 2017, iCool Inc.52 was transshipping Chinese HFCs through Panama and
                       Hong Kong. These imports were reported to CBP. Although the details of CBP’s
                       investigation are confidential, the transshipments subsequently stopped.

                      In mid-2018, Carquest was importing Chinese R-134a in box cartons shipped
                       from South Korea and stamped “made in Korea.” When the boxes were opened,
                       the cylinders were marked “made in China.” These imports were reported to CBP
                       and subsequently removed from the market.53

                      Pursuing an “e-allegation,” filed by the HFC Coalition, CBP investigated the
                       country of origin claimed by Puremann, Inc.,54 with respect to imports of R-134a
                       from Korea. Although the details are confidential, Puremann subsequently revised
                       the marking on its cylinders to state that the R-134a was “processed in Korea
                       from imported materials. A discussion of Puremann’s circumvention (via
                       transshipment through Korea) is provided in Part II.C.2.i, below.

                In Part VIII.B.3 of the NPRM, EPA proposes formal consultations with CBP to address
     possible non-compliance with payment of AD/CVD duties by importers of record.55 Specifically,
     where there is non-payment of AD/CVD, use of improper Harmonized Tariff Schedule (“HTS”)
     classifications, or other duty evasion, EPA contemplates “discretion to revoke, retire or withhold
     allowances.”56 EPA should consult with CBP to ensure LM Supply, Inc. iCool, Inc., Puremann,
     Inc. (indeed all BMP affiliates), and Carquest Corporation are 1) complying with special duty




     51
       See Exhibit 3 (ships’ manifest data showing BMP/LM Supply imports of R-134a transshipped
     through “Jamaica”).
     52
          iCool Inc is listed in EPA Production and Consumption Tables at Table 4.
     53
      See Exhibit 4 (photographs of the imported R-134a where the packaging is marked “made in
     Korea” while the enclosed cylinder marked “made in China”).
     54
       Puremann is not listed by name in EPA Production and Consumption Tables but its affiliate
     “BMP International Inc.” is listed in Tables 3 and 4.
     55
          See NPRM, 86 Fed. Reg. at 27,186.
     56
          Id.

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     liability under Commerce hydrofluorocarbon orders,57 2) properly reporting HTS classifications
     in accordance with 19 U.S.C. § 1484, and 3) properly declaring country of origin in accordance
     with by 19 U.S.C. § 1304.

                C.     Certain Importers Have Persistently Attempted to Evade or Circumvent the
                       Antidumping Duty Orders

                       1. Since late 2016, BMP and numerous affiliated companies owned by Ben
                          Meng actively engaged in circumvention of the antidumping law.

                The president and owner of BMP International Inc. is Xianbin (Ben) Meng.58 Recent
     Commerce anti-circumvention proceedings found that Ben Meng established nineteen or more
     affiliated entities, many of which are and have been engaged in importing Chinese origin HFC
     products. In the HFC Components anti-circumvention inquiry Commerce found “BMP has
     consistently shifted importers for its imports of HFC components.”59 Commerce noted further
     that “BMP’s Q&V questionnaire response shows that between August 2016 and June 2019, BMP
     used at least four affiliated importers to import HFC components from China, … .”60 This
     strategy appears to have been adopted to avoid eventual payment of cash deposits and duties of
     216%. Indeed, Commerce concluded, “[t]hus, BMP’s patterns of trade clearly shifted to avoid
     the duties placed upon HFC blends with the enactment of the [HFC Blends] Order.”61 The lead




     57
       The orders presently include HFC Blends (A-570-028), R-134a (A-570-044) and R-32 (A-
     570-121).
     58
        This relationship is disclosed in public company factual information certifications Ben Meng
     filed at Commerce, in accordance with 19 C.F.R. § 351.303(g). Examples are included in
     Exhibit 5, where Ben Meng is reported the owner of the BMP International and numerous BMP
     affiliates. See also, Florida Department of State corporate registration documents provided at
     Exhibit 8.A where Ben Meng is listed as officer and registered agent for numerous affiliates,
     including BMP USA and BMP Refrigerants, iGas, and LM Supply.
     59
       See Commerce memorandum: Anti-Circumvention Inquiry of Antidumping Duty Order on
     Hydrofluorocarbon Blends from the People’s Republic of China – HFC Components: Business
     Proprietary Memorandum for BMP (April 3, 2020) (“Commerce Memoranda on BMP”) (public
     version) at 8 (issued at preliminary determination). Excerpt included at Exhibit 6.
     60
          Id.
     61
          Id. at 9.

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     companies are BMP International, Inc. and iGas, Inc. Nineteen BMP/iGas affiliates
     acknowledged by BMP and identified by Commerce include:62

                                  7680 Paradise Point LLC
                                  8105 Anderson LLC
                                  8900 Armenia LLC
                                  AC Tampa Bay, Inc.
                                  Assured Comfort A/C Inc.
                                  BMP International, Inc.
                                  BMP Refrigerants Inc.
                                  BMP USA Inc.
                                  Cool Master U.S.A., L.L.C.
                                  E.T.S. of Tampa Bay, Inc.
                                  iGas USA Inc.
                                  iGas, Inc.
                                  L.M. Supply, Inc. (aka LMJ Supply, Inc.)
                                  MasterJ LLC
                                  MS Fund LLC
                                  Organic Apple, LLC
                                  Organic Orange, L.L.C.
                                  U.S. Ladder, Inc.
                                  U.S. Metal of Tampa, Inc.

             As discussed below, Commerce has also found Ben Meng entity iGas USA to be
     affiliated with Chinese HFC producers within the Juhua Group, based on Juhua’s ownership
     interest in iGas.63

             Datamyne import statistics and bills of lading also identify Puremann, Inc., and Golden G
     Imports LLC,64 as importers of HFCs. These importers are likewise affiliated with BMP and
     iGas. For example, Puremann Inc. (“Puremann,” also known as “Pure Manna”), another U.S.



     62
       BMP acknowledged affiliation between and among all of these 19 entities in a public
     submission made on the record of the Unpatented R-421A anti-circumvention inquiry. See
     Exhibit 5 BMP and Affiliates Quantity and Value Questionnaire Response (November 21, 2019)
     (public version), submitted Unpatented R-421A anti-circumvention inquiry.
     63
        See Exhibit 6, Commerce Memoranda on BMP at 9. Commerce also found that Juhua is a
     state-owned Chinese entity. See, infra, Section C(2).
     64
       See Exhibit 7 (Datamyne bills of lading and Florida corporate registration documents
     concerning Golden G, which are discussed below).

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     importer of HFC components, appears to be affiliated with the BMP group through relationships
     with BMP affiliates iGas and Cool Master, as follows. First, the registered agent for iGas, Inc. is
     “Xianbin Meng,” the owner and President of BMP.65 In publicly available Bills of Lading,
     Puremann identifies “Ben Men [sic]” as the “person in charge” for U.S. imports of R-134a and
     reports its U.S. address to be “4912 W. Knox St. Tampa, Florida 33634.”66 Second, Cool Master
     is an undisputed affiliate of iGas and BMP, as noted above. Photographs of Cool Master
     canisters containing R-134a that were “processed in Korea” contain Puremann’s address and
     contact information, including the Knox Street, Tampa address.67 Third, Puremann’s Korean
     affiliate is “the only Korean company which is registered and producing” R-134a in Korea.68
     This evidence indicates that Puremann and Cool Master, iGas and BMP are affiliated, and that
     Ben Meng owns or controls all of these entities.

               Concerning Golden G Imports, this is a Florida limited liability corporation that was
     formed on April 29, 2019.69 First, as shown on bills of lading obtained through Datamyne,
     however, Golden G was designated as consignee on U.S. shipments of hydrofluorocarbons from
     China that were scheduled to arrive in the United States nine and two days, respectively, prior to
     its formation (April 20, 2019 and April 27, 2019). These shipments actually arrived nine and
     eleven days after formation, on May 5 and 7, 2019. This timing indicates Golden G was formed
     to replace the importer of record on pre-existing orders. Second, both of these entries were made
     pursuant to purchase orders with the prefix “IGAS.”70 As discussed in Part II.B.I, above, iGas is



     65
          See Exhibit 8.A (Florida Division of Corporations registration for iGas and BMP et al.).
     66
       See Exhibit 8.B (Import Bill of Lading from Panjiva.com showing Puremann Tampa address,
     “Person in charge Ben Men [sic]” ).
     67
       See Exhibit 8.C (Photograph of Cool Master R-134a cannister (Puremann) and purchase
     receipt)
     68
        See Exhibit 8.D for the Puremann Inc. “Company Introduction” provided on “Gobiz Korea.”
     Gobiz Korea is operated by the Small & Medium Business Corporation, which is a “non-profit,
     government-funded organization established to implement government policies and programs for
     the sound growth and development of Korean [small and medium enterprises].” See
     https://www.cbinsights.com/investor/small-medium-business-corporation.
     69
          See Exhibit 7 (articles of incorporation).
     70
          See Exhibit 7 (Datamyne bills of lading).

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     a U.S. importer and is one of the many BMP/Ben Meng affiliates. Finally, as shown in Exhibit
     8.A, iGas was operating by at least August 2018. These facts appear to show that Golden G was
     formed to handle US entries that originally were to be made by iGas.

                      2. BMP’s Acknowledged Affiliate iGas is Affiliated with Chinese HFC Producer
                         the Juhua Group

               iGas, Inc. is a corporation registered in Florida that imports HFC components R-32, R-

     125, and R-143a produced in China.71 In filings made to Commerce, iGas acknowledged

     affiliation with Cool Master U.S.A., LLC; BMP International, Inc.; BMP Refrigerants Inc.; and

     BMP USA Inc.72

               iGas is also affiliated with the Juhua Group Corporation (“Juhua Group”) a Chinese

     entity and HFC producer Commerce previously found to be controlled by the Chinese national

     government. Specifically, in the 2014 R-134a investigation Commerce determined the Juhua

     Group to be “a 100 percent SASAC owned entity.”73 According to the Chinese central

     government, “SASAC” references the “State-owned Assets Supervision and Administration

     Commission,” which is “an institution directly under the management of the State Council. It is

     an ad-hoc ministerial-level organization directly subordinated to the State Council. The Party

     Committee of SASAC performs the responsibilities mandated by the Central Committee of the




     71
       See Exhibit 8.E. BMP, Cool Master, iGas Quantity and Value Questionnaire Response
     (November 12, 2019) (public version submitted in the HFC Components anti-circumvention
     inquiry) where iGas reports, “IGAS USA imports R-32, R125 and R143A produced in China.
     IGAS USA also blends these components into HFC blends such as R410A, R404A, R407A,
     R407C, R507. IGAS USA sells these HFC blends to distributors in the United States.” The
     exhibit includes an excerpt covering BMP Int’l, BMP USA, Cool Master, and iGas USA).
     72
          Id. See also Exhibit 8.A.
     73
       See 1,1,1,2-Tetrafluroethane From the People’s Republic of China: Final Determination of
     Sales at Less Than Fair Value, 79 Fed. Reg. 62597 (Oct. 20, 2014), IDM at Comment 1 (page 9).

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     Chinese Communist Party.”74 As such, Commerce deemed the Juhua Group a Chinese state-

     owned enterprise.

               Zhejiang Juhua Co., Ltd. (“Zhejiang Juhua”), a subsidiary of the Juhua Group, is a

     Chinese company that produces HFC components and HFC blends, including R-134a, R-32, R-

     125, and R-410a.75 In its 2018 annual report, Zhejiang Juhua confirms that: (1) it made

     substantial investments in iGas USA, Inc.,76 (2) refers to iGas as a “joint venture or associated

     enterprise” or “related party,”77 and (3) had substantial transactions with iGas.78

               Finally, Commerce found at least three Chinese HFC producers affiliated with the Juhua

     Group, and in turn iGas, BMP and the BMP affiliates, were dumping R-134a in the 2017 R-134a

     investigation. The producers are Electrochemical Factory of Zhejiang Juhua Co., Ltd.; Zhejiang

     Quzhou Lianzhou Refrigerants Co., Ltd.; and Zhejiang Organic Fluor-Chemistry Plant, Zhejiang

     Juhua Co., Ltd.79 Two of these plants, Electrochemical Factory of Zhejiang and Zhejiang

     Quzhou Lianzhou, supplied Chinese exporter TTI, which is frequently the Chinese exporter on

     transactions involving HFC imports by BMP and its affiliates.80


     74
          See http://en.sasac.gov.cn/ for a discussion of SASAC.
     75
       See Exhibit 8.F Juhua Group’s Section D Questionnaire Response (March 10, 2014) (public
     version) (excerpt) at D-2 – D-3, submitted in antidumping duty Investigation of 1,1,1,2
     Tetrafluoroethane from China. See also Exhibit 8.G (Zhejiang Juhua’s 2018 Annual Report at 6
     (excerpt)).
     76
        See Exhibit 8.G (Juhua 2018 Annual Report at 58-59, reporting a roughly $1.6 million
     investment in iGas and explaining that iGas is engaged in the “Production, procurement, mixing,
     storage, transportation, and sales of refrigerants and related products.”).
     77
          Id. (Excerpt of Juhua 2018 Annual Report at 209, 211, 216 (excerpt)).
     78
          Id. (Excerpt of Juhua 2018 Annual Report at 211-212, 216-217 (excerpt)).
     79
       See 1,1,1,2 Tetrafluoroethane (R–134a) From the People’s Republic of China: Final
     Determination of Sales at Less Than Fair Value and Affirmative Determination of Critical
     Circumstances, in Part, 82 Fed. Reg. 12192, 12193-94 (March 1, 2017).
     80
          See discussion at Part II.B.1, above.

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               The BMP, iGas, and their affiliates are thus supplied by and affiliated with the Juhua

     Group and Zhejiang Juhua. In other words, their imports of HFCs and the pattern of relentless

     market penetration through the use of two dozen affiliates reflects the underlying strategy of a

     Chinese state-owned enterprise to seize market share in the United States. EPA must not reward

     Juhua by assigning its importers Consumption Allowances.

                      3. Circumvention Through Transshipment

                              i.     Puremann Transshipment through S. Korea

               More recently, BMP affiliate Puremann, Inc., has begun shipping HFCs from Korea
     without payment of antidumping duties.81 Puremann does not have HFC production capability in
     Korea. Photographs provide in Exhibit 9 show a blending facility, not an HFC production
     facility. Having initially mismarked its products “made in Korea,”82 Puremann more recently has
     changed that marking to “processed in Korea from imported materials.”83 (Discussed in more
     detail below.) Nevertheless, Korean import and export statistics show that the “imported” HFCs
     used in any processing by Puremann must have originated in China.84

               Importantly, Puremann did not post antidumping duty cash deposits with respect to any
     importations of the mismarked “made in Korea” HFCs. For example, although ships’ manifest




     81
       As shown in Exhibit 9 (prints from Puremann website showing the facility, Korean address,
     and products), Puremann operates a small blending facility at 332-13, Maehwagooin-Ro, Jangan-
     myeon Boeun-gun 376-841, Chungcheonbuk-do 28916 S. Korea. As shown in Exhibit 10
     (photograph of Puremann packaging for 30 lb. cylinder labeled “Processed in Korea from
     imported materials”), products sold in the United States give a U.S. address of 4912 W. Knox St.
     Tampa, Florida 33634 and more recently report processing using non-Korean origin raw
     materials.
     82
        See Exhibit 11 (photographs of BMP cannisters showing “Made in Korea” and later changed
     to “Product of Korea and USA”)
     83
       See Exhibit 10 See also, Exhibit 8.C (photograph of recently purchased Puremann 12 ounce
     cannister of R-134a showing “Processed in Korea from imported materials”)
     84
          These data are included in Exhibit 12 (Korean import and export data).

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     data show that Puremann had imports of R-134a in 2019-2020,85 a Commerce administrative
     review of this period established that Puremann did not post anti-dumping duty deposits with
     respect to these imports. Indeed, the CBP import data do not even include any Puremann
     imports.86 Because Puremann refused to file a response to the separate rates application87
     Commerce found that any imports of Chinese R-134a by Puremann would be subject to a
     167.02% antidumping duty.88

            Photographs of the Puremann facility in South Korea show that it lacks any equipment
     necessary for actual production of hydrofluorocarbon gases.89 At best, its facility can transfer
     HFCs from ISO tanks (outside the building) to smaller 30 lb. cylinders or blend separate HFC
     components imported in ISO tanks into an HFC blend.90 Indeed, on a page of “Gobiz Korea,” a
     website supported by the Korean government, Puremann admits:



     85
       Exhibit 13 (ships’ manifest data including Puremann imports). Note that the official Census
     Bureau import statistics for this period show imports of R-134a from Korea even though no R-
     134a was produced in Korea during that time.
     86
        1, 1, 1,2-Tetrafluoroethane (R-134a) from the People's Republic of China: Preliminary Results
     of Antidumping Duty Administrative Review; 2019-2020, 86 Fed. Reg. 7854 (February 2, 2021)
     (“On July 16, 2020, Commerce placed U.S. Customs and Border Protection (CBP) data on the
     record of this review demonstrating that there were no entries of subject merchandise during the
     POR”). “No entries” of “subject merchandise,” means that there were no imports by Puremann
     identified as R-134a from China and for which antidumping duties were paid.
     87
       A separate rates application (or “SRA”) is a responsive submission made by exporters and/or
     producers that is used by Commerce to determine whether the submitting party is controlled by
     the government of China. Because Puremann is believed to have offices in only the United States
     (Tampa) and Korea it should have been an easy matter to prepare and submit an SRA.
     88
       11,1,2-Tetrafluoroethane (R-134a) from the People’s Republic of China: Final Results of
     Antidumping Duty Administrative Review; 2019-2020, 86 Fed. Reg. 30404 (June 8, 2021).
     89
       See Exhibit 14 for Puremann marketing materials showing images of Puremann’s facility. As
     shown Puremann does not operate a chemical plant able to manufacture HFCs. Its equipment is
     sufficient only to fill cylinders or blend HFC components and fill cylinders.
     90
        Following the principles laid down in the Commerce anticircumvention finding in India
     Blends, blending China HFC components in South Korea would not remove the finished HFC
     blend from the antidumping duty order. Indian Blends Affirmative Circumvention Final, 85 Fed.
     Reg. at 61,932 (“We determine that exports to the United States of certain HFC blends
     containing HFC components from India and China that are blended in India prior to importation
     into the United States, …, are circumventing the Order.”).

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                   PureMann Inc, is the only Korean company which is registered and
                   producing ecofriendly refrigerant gases like R134a, R410A and so on. …
                   But we import raw materials from China or India and produce high
                   quality refrigerant gases in Korea factory through an automative [sic]
                   refining and mixing process.91

              Because there is no manufacturing capacity for R-134a in Korea, the “made in Korea”
     cylinders were mismarked in violation of 19 U.S.C. § 1304. Thereafter, Puremann changed its
     labels to “processed in Korea from imported materials.”92 However, this label continues to
     violate U.S. marking law because it fails to disclose the country of origin of the materials as
     required by 19 U.S.C. § 1304 and 19 CFR § 134.11.

              In short, Puremann, yet another affiliate of BMP, is only the latest example of the pattern
     of circumvention, mismarking, transshipment, and evasion that has been pursued since the HFC
     antidumping duty orders were published. From simple efforts to evade duties, such as the
     cardboard packaging marked “made in Korea” to cover “made in China” cylinders, to reblending
     patented HFC blends in order to circumvent the antidumping duty order, duty evasion has taken
     many forms and has involved many different strategies.

                             ii.    iCool Transshipment through Hong Kong

              As discussed above, in early 2017, iCool Inc. was found to be transshipping Chinese
     HFCs through Panama and Hong Kong and the activity was reported to CBP. Although the
     details of CBP’s investigation are confidential and thus cannot be cited here, the transshipments
     subsequently stopped so CBP intervention is presumed to have occurred.

              iCool USA Inc. is listed in EPA Production and Consumption Tables at Table 4 and thus
     appears to seek a consumption allowance. Before awarding any allowance to this importer,
     however, EPA should require a full disclosure by iCool of all CBP findings concerning
     transshipment of HFC blends and/or components. If iCool refuses to provide the disclosure or




     91
          See Exhibit 8.D (Gobiz Korea).
     92
      See Exhibit 8.C (the can of Coolmaster coolant was purchased November 15, 2020 at a Home
     Depot located in Pennsylvania).

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     the disclosure demonstrates that iCool market share was gained through transshipment, iCool
     should be denied any consumption allowance.

              D.     Import Trends Established In Commerce Anti-Circumvention Proceedings
                     Reveal The Importance Of Using An Expanded Period For Allocating
                     Consumption Allowances

              The HFC blends anti-circumvention inquiries were initiated in June 2019 and analyzed
     patterns of trade (i.e., U.S. imports) during the period July 1, 2011 through June 30, 2019.93 This
     period captured imports occurring before and after the HFC Blends order was published on
     August 19, 2016.94 Additionally, the period examined by Commerce roughly coincides with the
     2011 to 2019 period over which EPA collected HFC production, import, and export data.95 The
     trend in HFC imports from China is shown in the Figure on page 2, above.

              The anti-circumvention statute instructs Commerce to consider “the pattern of trade,
     including sourcing patterns.” See, e.g., 19 U.S.C. § 1677j(a)(3)(A). Here, Commerce typically
     compares U.S. import levels of merchandise subject to the order before and after the order issues.
     It is looking for a pattern where importers avoid (circumvent) application of dumping duties by
     changing the imported product to one not covered by the order. In the case of Indian Blends, for
     example, importers switched from U.S. imports of Chinese-origin HFC Blends to imports of
     Chinese HFC components blended in India.




     93
       See, e.g., Hydrofluorocarbon Blends from the People’s Republic of China: Initiation of Anti-
     Circumvention Inquiry of Antidumping Duty Order; Unpatented R-421A, 84 Fed. Reg. 28281
     (June 18, 2019).
     94
          HFC Blends Order, 81 Fed. Reg. 55,438.
     95
        See, e.g., Quantity and Value Questionnaire for Chinese Producers, Exporters, and U.S.
     Importers of Unpatented R-421A issued to BMP USA Inc. and Affiliates (October 31, 2019),
     requiring monthly total quantity and value reporting of shipments (for Chinese exporters and/or
     producer) or imports (for U.S. importers) of Hydrofluorocarbon blends during the period July 1,
     2011 through June 20, 2019. This document is publicly available on ITA ACCESS, at
     https://access.trade.gov/login.aspx.

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            Commerce discussed import trends for subject HFC blends (R-404A, R-407A, R-407C,
     R-410A, and R-507A) in the HFC Components96 anti-circumvention inquiry saying,

                Record evidence demonstrates that there is a stark change in the pattern
                of trade since the Order was placed on HFC Blends, as demonstrated by
                the [record]. From July 2011, through August 2016 (i.e., when the Order
                took effect), the average monthly exports of HFC components from
                China to the United States were 529,556 kilograms (Kg). From
                September 2016, through June 2019, monthly average exports of HFC
                components from China to the United States surged to 2,707,659 Kg; an
                increase of 411.31 percent. Likewise, over the same time periods, the
                monthly average import quantity of HFC components from China into
                the U.S. increased from 599,875 Kg per month to 2,247,874 Kg per
                month; a 274.72 percent increase.

                [I]mports of HFC blends have decreased dramatically since the
                imposition of the [HFC Blends] Order. ITC Dataweb data show that, in
                2016, a total of 9,874.6 metric tons (MT) of HFC blends classified under
                HTSUS 3824.78.0020 were imported from China. In 2018, that number
                dropped to 2,117.7 MT; a 78.55 percent decrease. Therefore, in light of
                significant record evidence, we preliminarily determine that the data
                provided on the record are clear, and that the massive decrease in
                imports of HFC blends into the United States, and corresponding
                massive increase of imports of HFC components into the United States,
                represent changes in the patterns of trade.97

            These data show that advances on U.S. market share gained by imports of dumped HFC
     Blends—as repeatedly noted by USITC—continued occurring after the HFC Blends Order was
     published in August 2016, based on imports of HFC components used to produce subject HFC
     Blends after importation. As also discussed above, this continued assault on market share of U.S.
     producers led to petitions on imports of HFC components R-32 and R-125.




     96
       Although Commerce preliminarily found that these imports were circumventing the
     antidumping duty order, it ultimately issued a negative final determination in HFC Components
     Inquiry based on the USITC’s concern that an affirmative Commerce finding would conflict with
     the USITC’s original injury determination concerning HFC components.
     97
       See Preliminary Decision Memorandum for Anti-Circumvention Inquiry of the Antidumping
     Duty Order on Hydrofluorocarbon Blends from the People’s Republic of China: HFC
     Components (April 3, 2020) at 17-18 (emphasis added) (citations omitted).

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     III.     RECOMMENDATIONS

              The NPRM identifies “potential concerns with allocating allowances to entities that DoC
     has determined are dumping HFCs onto the U.S. market,”98 but does not elaborate. The
     following recommendations suggest two means to allocate allowances, taking into account the
     distortions in market share caused by unfairly traded imports from China, as well as specific
     importers that attempted to circumvent the antidumping duty orders issued by Commerce. First,
     EPA should enlarge the period used to allocate consumption allowances to 2011-2019. This will
     reduce the extent to which U.S. market shares are distorted by the effects of extensive and
     continued imports of unfairly traded Chinese HFCs. Second, EPA should not allocate any
     consumption allowance to individual importers, and their affiliates, that have been specifically
     identified in final anti-circumvention rulings by Commerce.

              A.     Using 2011-2019 as the Allocation Period Reduces the Impact of Unfairly
                     Traded Imports on Consumption Allowances

              To ensure consumption allowances are not based on market share gains achieved by
     virtue of China’s unfair trade practices, EPA should (1) use the full 2011-2019 period as the
     basis for Consumption Allowances, and (2) adopt an average market share approach to calculate
     the allocations.

              First, EPA must not adopt an allocation period that is based on market penetration
     achieved by dumping and by circumvention of the anti-dumping orders. Rather, EPA’s allocation
     period at a minimum should include the full 2011-2019 period, reflecting that the U.S.
     manufacturers of HFC products held a larger share of the U.S. market before the surge in
     unfairly traded imports that triggered the HFC Blends and R-134a investigations. Adopting this
     enlarged period partially addresses the severe impact of unfairly traded imports repeatedly
     identified by the USITC, as discussed above. Indeed, use of only the maximum year in the 2017-
     2019 period (as EPA proposed) enshrines and rewards importers and Chinese producers for
     dumping and, worse, particularly rewards importers that achieved a relatively larger market share
     in a single year by circumventing the antidumping duty orders.



     98
          NPRM, 86 Fed. Reg. at 27,186.

                                                     25

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               Second, to ensure that allowances are not skewed toward U.S. importers of dumped and
     subsidized Chinese imports, EPA should base allowances on “each company’s highest market
     share instead of highest production and consumption level,” as envisioned in the NPRM.99 Given
     that Chinese imports of HFCs increased over the 2011-2019 period, using annual production and
     consumption volumes to calculate allowances will inherently award higher Consumption
     Allowances to those U.S. importers that relied on dumped Chinese imports. Instead, EPA should
     base the allowances on annual market share, not the total quantity produced or sold.

               Third, to fairly reflect that some market participants achieved a short-term surge in
     imports by circumventing the antidumping duty orders, the market share used to allocate
     allowances should be based on a three-year average. That is, the allowance should be calculated
     using each entity’s market share during its three highest years of production and consumption
     within the 2011-2019 period. The highest three years need not be consecutive. This figure would
     be weighted by EVe as the basis for determining allowance allocations for “active” producers
     and importers.

               As discussed above the USITC found “[t]he [2013-2015] increase of subject imports’
     market share came almost entirely at the expense of the domestic industry.”100 In the 2017 R-
     134a investigation, the USITC again found “the increase in imports and inventories appears to
     reflect an effort by Chinese exporters to flood the U.S. market with low‐priced R‐134a.101 In the
     2021 R-32 investigation covering the period 2017-2019 and January to September 2020, USITC
     yet again found “[l]ower‐priced imports caused the domestic industry to lose sales and market
     share to subject imports.”102 These findings by the International Trade Commission establish that
     U.S. importers of Chinese origin HFC Blends and HFC components R-32 and R-125 gained U.S.
     market share through unfairly traded imports. To address this unfair trade, EPA’s allocation
     period should at a minimum include the market shares held by U.S. producers before the findings



     99
          See NPRM, 86 Fed. Reg. at 27,171, n.48.
     100
           See 2016 HFC Blends ITC Affirmative Final at 23.
     101
           See 2017 R-134a ITC Affirmative Final at 28.
     102
           See 2021 R-32 ITC Affirmative Final at 27.

                                                        26

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     of dumping were issued. Any allocation based on 2017-2019 will simply reward importers for
     their sales of dumped Chinese HFC products.

              B.      U.S. Importers Found to be Circumventing the HFC Blends Order and/or
                      the R-134a Order Should Not be Awarded Consumption Allowances Based
                      on such Circumvention Activity

               As noted above, EPA should require “any entity that is subject to a DoC Final
     Determination and is requesting allowances for 2022 or 2023 [to] provide documentation of
     payment of the AD/CVD for HFC imported in 2017 through the date of this proposed rule, or
     provide evidence that those imports were not required to pay AD/CVD for those years.”103 Entry
     Summaries provide the necessary documentation and can be submitted with the application for a
     consumption allowance or maintained by the company and subject to audit by EPA.

               However, certain importers should not be granted allowances at all. Commerce has issued
     formal determinations that certain U.S. importers of various hydrofluorocarbon products were
     circumventing the HFC Blends Order, in violation of the “anti-circumvention” statute. See 19
     U.S.C. § 1677j. These specifically identified importers should not be awarded consumption
     allowances, because their share of the U.S. HFC market was initially established through the sale
     of unfairly traded (i.e., dumped) imports and then that share was maintained based on
     circumvention of the antidumping duty orders issued by Commerce. Accordingly, Commerce
     company-specific determinations of circumvention warrant action by EPA when awarding
     consumption allowances to these same companies.

               Included in Exhibit 15 (part I) are U.S. importers specifically identified by Commerce in
     three affirmative anti-circumvention inquiries completed in 2020, including Reblended R-421A,
     Indian HFC Blends Containing Chinese HFCs, and Unfinished HFC Blends. Many of these
     importers are found in Table 4 of the EPA Production and Consumption Tables and such
     importers are highlighted with an asterisk. Additionally, because these comments demonstrate
     both that BMP affiliate Puremann has gained market share through transshipment of Chinese
     origin R-134a through South Korea and that Puremann has refused to allow Commerce to review



     103
           NPRM, 86 Fed. Reg. at 27,186.

                                                      27

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     its entries of to establish margins of dumping, it too should be denied any Consumption
     Allowance.

            Likewise EPA should consult with CBP to ensure that importers included in Exhibit 15
     (part II) with histories of transshipment or non-compliance with country of origin requirements
     are no longer improperly avoiding Commerce duty liability.

                                     *       *      *       *      *




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                            Exhibit 1




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                                                                   UNITED STATES DEPARTMENT OF COMMERCE
            Barcode:3980446-01 A-570-028 CIRC - Anti Circumvention International
                                                                    Inquiry -Trade
                                                                                 Unpatented   R-421A
                                                                                   Administration
                                                                          Washington, DC 20230



                                                                                                    A-570-028
                                                                                     CIRC - Unpatented R-421A
                                                                                             Public Document
                                                                                                E&C OII: MR
     May 28, 2020

     MEMORANDUM TO:                    Joseph Laroski
                                       Deputy Assistant Secretary
                                        for Policy and Negotiations

     FROM:                             James Maeder
                                       Deputy Assistant Secretary
                                        for Antidumping and Countervailing Duty Operations

     SUBJECT:                          Final Decision Memorandum for Scope Ruling and Anti-
                                       Circumvention Inquiry of the Antidumping Duty Order on
                                       Hydrofluorocarbon Blends from the People’s Republic of China;
                                       Unpatented R-421A


     I.      SUMMARY

     We have analyzed the case and rebuttal briefs of interested parties in the anticircumvention
     inquiry of the antidumping duty order on hydrofluorocarbon blends (HFCs) from the People’s
     Republic of China (China).1 We have not departed from our conclusions in the Preliminary
     Determination.2 We recommend that you approve the positions described in the “Discussion of
     the Issues” section of this Issues and Decision Memorandum. Below is the complete list of the
     issues in this anticircumvention inquiry for which we received comments and rebuttal comments
     from interested parties:

          Comment 1:          Preliminary Scope Ruling
          Comment 2:          Whether the Process of Assembly or Completion of R-421A Into HFC
                              Blends in the United States is Minor and Insignificant
          Comment 3:          Value Analysis
          Comment 4:          Use of Surrogate Values to Value Material Inputs
          Comment 5:          Certification Requirements




     1
       See Hydrofluorocarbon Blends from the People’s Republic of China: Antidumping Duty Order, 81 FR 55436
     (August 19, 2016) (Order).
     2
       See Hydrofluorocarbon Blends from the People’s Republic of China: Scope Ruling on Unpatented R-421A;
     Affirmative Preliminary Determination of Circumvention of the Antidumping Duty Order for Unpatented R-421A;
     and Extension of Time Limit for Final Determination, 85 FR 12512 (March 3, 2020) (Preliminary Determination),
     and accompanying Preliminary Decision Memorandum (PDM).



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            Barcode:3980446-01 A-570-028 CIRC - Anti Circumvention Inquiry              -   Unpatented R-421A



     II.     BACKGROUND

     On June 18, 2020, the Department of Commerce (Commerce) published the Preliminary
     Determination in the Federal Register. In accordance with 19 CFR 351.309, we invited parties
     to comment on our Preliminary Determination. On March 17, 2020, the HFC Coalition (the
     petitioners), BMP3 and Choice Refrigerants (Choice) filed case briefs.4 On March 27, 2020, the
     petitioners, BMP and Choice filed rebuttal briefs.5 On April 9, 2020, we held a phone call in lieu
     of a hearing with Choice, to discuss issues that Choice raised in its case brief.6

     III.    MERCHANDISE SUBJECT TO THE SCOPE AND ANTI-CIRCUMVENTION
             INQUIRY

     The scope and anti-circumvention inquiry cover imports of unpatented R-421A, a blend of HFC
     components R-125 and R-134a,7 from China. As part of the anti-circumvention inquiry, the
     petitioners alleged that the unpatented R-421A – which is not subject to the exclusion for
     patented R-421A – is being further-processed in the United States to create HFC blends that are
     subject to the Order.8




     3
       LM Supply Inc., Cool Master USA, LLC, and their affiliated blenders, BMP USA Inc. and IGas Inc. (collectively,
     BMP).
     4
       See Petitioners’ Case Brief, “Hydrofluorocarbon Blends from the People’s Republic of China: Case Brief and
     Request for a Hearing,” dated March 17, 2020 (Petitioners’ Case Brief); see also BMP’s Case Brief,
     “Hydrofluorocarbon Blends from the People’s Republic of China: Case Brief,” dated March 17, 2020 (BMP’s Case
     Brief); and Choice’s Case Brief, “Hydrofluorocarbon Blends from the People’s Republic of China: Scope Ruling on
     Unpatented R-421A; Affirmative Preliminary Determination of Circumvention of the Antidumping Duty Order for
     Unpatented R-421A,” dated March 16, 2020 (Choice’s Case Brief).
     5
       See Petitioners’ Rebuttal Brief, “Hydrofluorocarbon Blends from the People’s Republic of China: Rebuttal Brief,”
     dated March 27, 2020 (Petitioners’ Rebuttal Brief); see also BMP’s Rebuttal Brief, “Hydrofluorocarbon Blends
     from the People’s Republic of China: Rebuttal Case Brief,” dated March 27, 2020 (BMP’s Rebuttal Brief), and
     Choice’s Rebuttal Brief, “Hydrofluorocarbon Blends from the People’s Republic of China: Scope Ruling on
     Unpatented R-421A; Affirmative Preliminary Determination of Circumvention of the Antidumping Duty Order for
     Unpatented R-421A,” dated April 3, 2020 (Choice’s Rebuttal Brief). Choice timely filed its rebuttal brief on March
     27, 2020. However, due to the inclusion of a new argument raised in its rebuttal brief, Commerce rejected Choice’s
     rebuttal brief and requested that it re-file the rebuttal brief omitting the untimely new argument. See Commerce’s
     Letter, “Hydrofluorocarbon Blends from the People’s Republic of China Unpatented R-421A Anti-Circumvention
     Inquiry: Rejection of Rebuttal Brief,” dated April 2, 2020. Also, on April 6, 2020, Choice filed comments
     requesting that Commerce reject BMP’s rebuttal brief because it maintained that it included new affirmative
     arguments. On April 7, 2020, we responded to Choice’s comments in a letter and determined not to reject BMP’s
     rebuttal brief. See Commerce’s Letter, “Hydrofluorocarbon Blends from the People’s Republic of China
     Unpatented R-421A Anti-Circumvention Inquiry: Response to Request by Choice Refrigerants to Reject Certain
     Rebuttal Arguments from the Anti-Circumvention Record,” dated April 7, 2020.
     6
       See Memorandum, “Ex Parte Phone Call with Choice Refrigerants,” dated April 10, 2020. Other than Choice, only
     the petitioners had requested a hearing, and they subsequently withdrew their request, on April 3, 2020. Because no
     other party requested a hearing, we did not hold a hearing.
     7
       R-125 is also known as Pentafluoroethane, and R-134a is also known as 1,1,1,2-Tetrafluoroethane.
     8
       The Order covers five HFC blends (i.e., R-404A, R-407A, R-407C, R-410A, and R-507/R-507A); R-421A is not
     one of the covered blends.


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     According to Choice (i.e., the patent holder for R-421A), unpatented R-421A is chemically
     similar, but not identical, to Choice® R-421A, which is specifically excluded from the order.9
     Choice® R-421A is a proprietary refrigerant blend made of approximately 58 percent
     pentafluoroethane and approximately 42 percent 1,1,1,2-tetrafluoroethane, with a lubricating oil
     up to 20 percent of the refrigerant gases, comprised of 65-88 percent hydrotreated light napthenic
     distillate and 10-20 percent solvent refined light napthenic distillate petroleum.10

     IV.     SCOPE OF THE ORDER

     The products subject to this order are HFC blends. HFC blends covered by the scope are R-
     404A, a zeotropic mixture consisting of 52 percent 1,1,1 Trifluoroethane, 44 percent
     Pentafluoroethane, and 4 percent 1,1,1,2-Tetrafluoroethane; R-407A, a zeotropic mixture of 20
     percent Difluoromethane, 40 percent Pentafluoroethane, and 40 percent 1,1,1,2-
     Tetrafluoroethane; R-407C, a zeotropic mixture of 23 percent Difluoromethane, 25 percent
     Pentafluoroethane, and 52 percent 1,1,1,2-Tetrafluoroethane; R-410A, a zeotropic mixture of 50
     percent Difluoromethane and 50 percent Pentafluoroethane; and R-507A, an azeotropic mixture
     of 50 percent Pentafluoroethane and 50 percent 1,1,1-Trifluoroethane also known as R-507. The
     foregoing percentages are nominal percentages by weight. Actual percentages of single
     component refrigerants by weight may vary by plus or minus two percent points from the
     nominal percentage identified above.11

     Any blend that includes an HFC component other than R-32, R-125, R-143a, or R-134a is
     excluded from the scope of the Order.

     Excluded from the Order are blends of refrigerant chemicals that include products other than
     HFCs, such as blends including chlorofluorocarbons (CFCs), hydrochlorofluorocarbons
     (HCFCs), hydrocarbons (HCs), or hydrofluoroolefins (HFOs).

     Also excluded from the Order are patented HFC blends, including, but not limited to, ISCEON®
     blends, including MO99™ (R-438A), MO79 (R-422A), MO59 (R-417A), MO49Plus™ (R-
     437A) and MO29™ (R-4 22D), Genetron® Performax™ LT (R-407F), Choice® R-421A, and
     Choice® R-421B.



     9
       See Choice’s Letter, “Application for Scope Ruling on Exclusion of Patented HFC Blends from Antidumping Duty
     Order A-570-028: Hydrofluorocarbon Blends and Components Thereof from the People’s Republic of China,”
     dated November 30, 2017 at 5.
     10
        Id.
     11
        R-404A is sold under various trade names, including Forane® 404A, Genetron® 404A, Solkane® 404A, Klea®
     404A, and Suva®404A. R-407A is sold under various trade names, including Forane® 407A, Solkane® 407A,
     Klea®407A, and Suva®407A. R-407C is sold under various trade names, including Forane® 407C, Genetron®
     407C, Solkane® 407C, Klea® 407C and Suva® 407C. R-410A is sold under various trade names, including
     EcoFluor R410, Forane® 410A, Genetron® R410A and AZ-20, Solkane® 410A, Klea® 410A, Suva® 410A, and
     Puron®. R-507A is sold under various trade names, including Forane® 507, Solkane® 507, Klea®507,
     Genetron®AZ-50, and Suva®507. R-32 is sold under various trade names, including Solkane®32, Forane®32, and
     Klea®32. R-125 is sold under various trade names, including Solkane®125, Klea®125, Genetron®125, and
     Forane®125. R-143a is sold under various trade names, including Solkane®143a, Genetron®143a, and
     Forane®125.


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     HFC blends covered by the scope of the Order are currently classified in the Harmonized Tariff
     Schedule of the United States (HTSUS) at subheadings 3824.78.0020 and 3824.78.0050.
     Although the HTSUS subheadings are provided for convenience and customs purposes, the
     written description of the scope is dispositive.12

     V.       DISCUSSION OF THE ISSUES

     Comment 1: Preliminary Scope Ruling

     In the Preliminary Determination, Commerce found, based on a plain reading of the scope
     language, and consistent with statements made by Commerce in the underlying investigation,
     that the Order includes five blends: R-404A, R407A, R-407C, R-410A, and R-507A; and that
     R-421A, whether patented or unpatented, is not within the scope of the Order.13

     Choice’s Arguments

     •    Commerce should reconsider its position in the Preliminary Determination to find that non-
          patented versions of R-421A, or imports of patented R-421 imported by importers without
          patent rights, are subject to the Order.14 Commerce’s Preliminary Determination does not
          adequately consider the entire record of this proceeding and underlying public policy.15
          Additionally, Commerce staff have stated that the ruling was “already decided,” which raises
          concerns that the outcome for the final determination will be pre-judged.16

     •    The plain language of the scope does not support a finding that the Order covers only the
          five named HFC blends. Thus, Commerce’s interpretation of the scope language is legally
          and logically unsupportable.17 Rather, the language in the scope suggests that the Order
          covers all HFC blends and the five listed blends are meant to be an illustrative, not
          exhaustive, list of HFC blends.18 Further, the Order language sets out several exclusions
          from the category of HFC blends, that would be entirely unnecessary if the scope was limited
          to five named blends.19 If Commerce wanted to limit the scope to five blends, it should have
          phrased the language to specifically state the Order covers “only” the five listed blends.
          Additionally, the text of the Order must be interpreted with a view to the structure of the
          Order, which establishes an in-scope class, then expressly excludes certain subsets of that

     12
        See Order.
     13
        See Preliminary Determination PDM at 1 and 8-9.
     14
        See Choice’s Case Brief at 4-19.
     15
        Choice claims that Commerce failed to properly address one of its submissions in its ruling. See Choice’s Case
     Brief at 5-6 (citing Preliminary Determination and Choice’s Letter, “Additional Comments on Scope Inquiry for
     Exclusion of Patented HFC Blends from Antidumping Duty Order A-570-028: Hydrofluorocarbon Blends and
     Components Thereof from the People’s Republic of China,” dated April 17, 2019) (Choice’s April 17, 2019 Letter)).
     16
        Id. at 6 and footnote 2.
     17
        Id. at 6.
     18
        Id. at 7. To support this claim, Choice references the scope language: “{t}he products subject to this order are
     HFC blends. HFC blends covered by the scope are R-404…R-407A…R-407C…R-410A…R-507.”
     19
        Id. at 7-8. In support of this argument, Choice points out that there would be no basis for exclusion language for
     other HFC blends, such as R-421A, if they were already not within the scope of the Order, since R-421A is clearly
     not one of the five blends specified in the scope description. Further, the exclusion for other blend types (i.e., CFCs,
     HCFCs) would also be unnecessary.


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          class.20 Thus, based on the structure of the order, imports of non-patented R-421A are within
          the scope because they are not specifically excluded.

     •    Commerce does not have the authority to change an antidumping duty order21 or interpret the
          scope language in a way contrary to its terms (i.e., Commerce cannot change the scope to
          exclude an article that was included within the scope of an underlying determination).22 The
          understanding in the U.S. refrigerant industry, including participants that submitted scope
          rebuttal comments against Choice’s request, is that all imported HFC blends are subject to
          the Order, unless the merchandise is expressly excluded from it.23

     •    The intent of the HFC blends investigation was to stop dumping of all HFC blends being
          imported from China.24 The actions taken by the petitioners and industry participants also
          support a general understanding that the scope broadly includes all types of HFC blends.25
          The Petition’s original scope language shows that the petitioners requested language
          encompassing the class of HFCs, subject to exclusions, and that this class included five
          specifically named HFCs, which were those that were being imported at the largest
          volumes.26 In the scope language, Commerce eventually omitted the word “including” but
          never indicated on the record that it intended to fundamentally re-write the scope proposed
          by the petitioner as it applied to patented HFCs.27 Further, Commerce did not change other
          portions of the scope language, including the description of the class of in-scope HFC blends
          or the exclusions that would have been unnecessary if the scope only pertained to five blends.


     20
        Id. at 8 (citing Kisor v. Wilkie, 139 S. Ct. 2400, 204 L. Ed. 2d 841 (Fed. Circ. 2019) stating that an agency must
     use tools of construction when interpreting regulations to resolve any apparent ambiguity and the court should only
     defer to an agency’s determination on an ambiguous decision after it carefully considers the text, structure, history
     and purpose of the regulation.).
     21
        Id. at 8 (citing Ericsson GE Mobile Communications, Inc. v. United States, 60 F.3d 778, 782 (Fed. Cir. 1995)
     (Ericsson GE Mobile)).
     22
        Id. (citing Smith Corona Corp. v. United States, 915 F.2d 683, 686 (Fed. Circ. 1990) (Corona Corp.); see also
     Alsthom Atlantique v. United States, 787 F.2d 565, 571 (Fed. Cir. 1986) (Alsthom Atlantique)).
     23
        Id. at 6 (citing LM Supply’s Letter, “Comments in response to Kenneth Ponder’s and Choice’s November 30,
     2017 Application for a Scope Ruling,” dated December 27, 2017).
     24
        Id. (citing Petitioners’ Letter, “Hydrofluorocarbon Blends and Components Thereof from the People’s Republic of
     China; Antidumping Duty Petition,” dated June 25, 2015 (Petition)).
     25
        Id. at 11. Choice argues that the petitioners requested exclusions from the broad category of HFC blends to
     exclude patented blends that would have otherwise been included in the Order. Choices also claims that this was
     followed by other industry participants, such as Kivlan, that requested similar express exclusions for patented
     products like R-421A, under the assumption that if these patented blends were not explicitly excluded they would be
     covered by the scope. See Petition at 24-26; see also Kivlan and Company, Inc. (Kivlan)’s Letter,
     “Hydrofluorocarbon Blends and Components from the People’s Republic of China, Case No. A-570-028,” dated
     July 31, 2015 (Kivlan’s Letter).
     26
        Id. at 25-26. Choice refers to the language “{t}he products subject to this investigation are blended
     hydrofluorocarbons (HFCs) and single HFC components of those blends thereof, whether or not imported for
     blending, including the following: R-404A…R-407A…R-407C…R-410A…R-507A…R-507.” Choice claims
     Commerce has a policy to accept the class or kind of merchandise alleged in the petition absent some overarching
     reason to modify that class or kind. Id. (citing Eckstrom Industries, Inc. v. United States, 27 F. Supp. 2d 217, 223
     (CIT 1998) (Eckstrom v. United States). Choice also notes that HFC components were subsequently dropped from
     the scope when the ITC failed to make an injury determination; a point that it finds is not relevant except to
     reinforce that when Commerce intended to alter the scope, it removed language rather than creating an exclusion.
     27
        Id. at 10.


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     •    In Commerce’s LTFV Prelim, Commerce acknowledged that the scope language for HFC
          blends required an exclusion for patented versions of HFC blends, even for patented HFC
          blends that were not one of the five HFC blends it lists in the scope.28 If Commerce had
          intended only to cover the five chemicals mentioned in the scope, but not any other HFC
          blends, Commerce would have had no need to “modify” the scope to exclude the patented
          HFC blends because those were not one of the five named blends listed in the Petition.29
          Commerce’s interpretation that the scope covers five blends is inaccurate and was previously
          opposed by the petitioners out of concerns over the potential for evasion schemes.30

     •    Numerous portions of the record (some of which were inappropriately overlooked by
          Commerce in the Preliminary Determination) conflict with Commerce’s belated statement
          that the scope language as originally drafted was limited only to the five named HFC blends.
          Specifically, Commerce’s decision to limit the scope to five blends does not appear to be
          supported by the text of the documents cited, and no excerpted passages were provided;
          further the statements that Commerce uses to support its interpretation are inconclusive.31

     •    Ultimately, Commerce must address whether HFC blends that are listed as scope exclusions
          are in-scope if the merchandise did not qualify for the exclusion.32 If Commerce finds that
          unpatented versions of patented HFC blends listed as exclusions are out-of-scope, it renders
          the scope exclusions meaningless.33 Commerce’s scope interpretation in the Preliminary
          Determination will result in an influx of unpatented chemicals being dumped into the U.S.
          market. If importers had known, at the time of the investigation, that they could import any
          blend not listed as one of the five HFC blends, they would have labeled their merchandise as
          an unspecified HFC blend not listed in the scope. Instead, importers manipulated their
          customs paperwork to make the shipments appear to be the exempt patented R-421A and to
          disguise the true nature of their shipments.34 Thus, Commerce’s scope ruling rewards
          companies that cheat U.S. trade laws. This ruling is inconsistent with the United States’
          President’s efforts to enforce U.S. trade laws, combat illegal dumping, and protect American
          intellectual property.35

     Petitioners’ Rebuttal Arguments

     28
        Id. at 12 (citing Hydrofluorocarbon Blends and Components Thereof from the People’s Republic of China:
     Preliminary Determination of Sales at Less than Fair Value: Preliminary Determination of Sales at Less than Fair
     Value, Affirmative Preliminary Determination of Critical Circumstances, in Part, and Postponement of Final
     Determination, 81 FR 5098 (February 1, 2016) (LTFV Preliminary Determination), and accompanying PDM at 7,
     and the underlying Petition). To support its rationale, Choice states that Commerce acknowledged that all blends
     were included when it responded to Kivlan’s argument to include R-421A in the scope by stating, “{w}ith respect to
     Kivlan’s argument, the petitioner has no objection to modifying the scope to exclude the patented blends R-421A
     and R-421B. Accordingly, we have modified the scope to exclude these blends because this modification is
     consistent with the intent of the Petition.”
     29
        Id. at 12-13.
     30
        Id. at 14 (citing Petitioners’ letter, “The Antidumping Duty Investigation of Hydrofluorocarbon Blends and
     Components Thereof from the People’s Republic of China,” dated May 16, 2016 at 20-21).
     31
        Id. at 15 (citing Preliminary Determination PDM at 9 footnote 51).
     32
        Id. at 15-16.
     33
        Id. at 17-18.
     34
        Id.
     35
        Id. at 18-19.


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     •    The petitioners did not comment on this issue.

     BMP’s Rebuttal Arguments

     •    Commerce appropriately concluded that R-421A, whether patented or unpatented, is not
          within the scope of the Order based on the plain language of the scope and (k)(1) factors
          under 19 CFR 351.225(k)(1).36 Commerce applied the appropriate interpretive framework
          outlined in the regulations and made its decision in accordance with decisions of the U.S.
          Court of International Trade (CIT) and U.S. Court of Appeals for the Federal Circuit (Federal
          Circuit).37

     •    The language of the scope limits the five named HFC blends to R-404A, R-407A, R-407C,
          R-410A, and R-507A and the phrase “HFC blends are covered by the scope are…” clearly
          demonstrates that the five blends are the only blends and not merely illustrative of a subset of
          HFC blends as claimed by Choice.38 Thus, the list of patented HFC blends cannot be
          interpreted to improperly expand the scope to include more than the five listed blends.39
          Even if Commerce accepted Choice’s argument that the examples of patented blends creates
          some ambiguity in the scope language, the record of the investigation supports the fact that
          the scope only includes the five named blends.40

     •    According to 19 CFR 351.225(k)(1), where the plain language of the scope is ambiguous,
          Commerce must consider “descriptions of the merchandise contained in the petition, the
          initial investigation, and the determinations of the Secretary (including prior scope
          determinations) and the Commission.” In this case, Commerce reviewed these sources in the
          LTFV Final and determined that the scope only covers the five blends explicitly listed in the
          first paragraph of the scope.41

     •    Choice raises an issue that has long been decided, which contradicts its claim that there is a
          common understanding in the industry that all HFC blends are in-scope. Thus, Choice has
          overlooked the first paragraph of the scope or Commerce’s explanation in the LTFV Final.42

     Commerce’s Position:


     36
        See BMP’s Rebuttal Brief at 1-5.
     37
        Id. at 2 (citing Meridian Prods., LLC v. United States, 851 F. 3d 1375, 1381 (Fed. Cir. 2017); see also Mid
     Continent Nail Corp. v. United States, 725 F. 3d 1295, 1302 (Fed. Cir. 2013); Tak Fat Trading Co. v. United States,
     396 F. 3d 1378, 1383 (Fed. Cir. 2005); and ArcelorMittal Stainless Belgium N.V. v. United States, 694 F. 3d 82, 84
     (Fed. Cir. 2012)).
     38
        Id. at 2 (citing Order).
     39
        Id. at 2.
     40
        Id. at 3 (citing Hydrofluorocarbon Blends and Components Thereof from the People’s Republic of China: Final
     Determination of Sales at Less Than Fair Value and Final Affirmative Determination of Critical Circumstances, 81
     FR 42314 (June 29, 2016) (LTFV Final), and accompanying Issues and Decision Memorandum (IDM) at Comment
     5).
     41
        Id.
     42
        Id. at 5.


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     In the Preliminary Determination, we examined the language of the Order and the description of
     the product contained in Choice’s scope ruling request, as well as the description of the
     merchandise set forth in the Petition, the underlying investigation and as used by the
     International Trade Commission (ITC) for its injury determination. We found that these sources
     are, together, dispositive as to whether the product at issue is subject merchandise, in accordance
     with 19 CFR 351.225(k)(1). Choice does not present any new arguments that would cause us to
     reverse our decision for the final determination.43

     When a request for a scope ruling is filed, Commerce examines the scope language of the order
     at issue and the description of the product contained in the scope-ruling request.44 Pursuant to
     Commerce’s regulations, Commerce may also examine other information, including the
     description of the merchandise contained in the petition, the records from the investigations, and
     prior scope determinations made for the same product.45 If Commerce determines that these
     sources are sufficient to decide the matter, it will issue a final scope ruling as to whether the
     merchandise is covered by an order. Where the descriptions of the subject merchandise are not
     dispositive, Commerce will consider the following factors provided at 19 CFR 351.225(k)(2): (i)
     the physical characteristics of the product; (ii) the expectations of the ultimate purchasers; (iii)
     the ultimate use of the product; (iv) the channels of trade in which the product is sold; and (v) the
     manner in which the product is advertised and displayed.

     In accordance with 19 CFR 351.225(c) and (d), Commerce has reviewed the request in light of
     the description of the merchandise subject to the Order, as this description is set forth in the
     petition, the initial investigation, and the determinations of the Secretary (including all prior
     scope determinations) and the ITC. Based on this review, we find that the issue of whether the
     product in this scope request is within the scope of the Order can be determined solely upon the
     application and the descriptions of the merchandise referred to in section 351.225(k)(1) of
     Commerce’s regulations. See 19 CFR 351.225(d). Therefore, Commerce finds it unnecessary to
     consider the additional factors under 19 CFR 351.225(k)(2).

     The scope language covering HFCs from China, is dispositive as to whether the product at issue
     is subject merchandise. Further, we find that the factual record in this case, as well as statements
     by Commerce and the ITC in the underlying investigation (see below), support a finding that R-
     421A does not fall within the scope of the Order, in accordance with 19 CFR 351.225(k)(1).

     The scope of the Order defines HFC blends as follows:

             The products subject to this order are HFC blends. HFC blends covered by the
             scope are R-404A, a zeotropic mixture consisting of 52 percent 1,1,1
             Trifluoroethane, 44 percent Pentafluoroethane, and 4 percent 1,1,1,2-
             Tetrafluoroethane; R-407A, a zeotropic mixture of 20 percent Difluoromethane,
             40 percent Pentafluoroethane, and 40 percent 1,1,1,2-Tetrafluoroethane; R-407C,
             a zeotropic mixture of 23 percent Difluoromethane, 25 percent Pentafluoroethane,
             and 52 percent 1,1,1,2-Tetrafluoroethane; R-410A, a zeotropic mixture of 50

     43
        See Preliminary Determination PDM at 8-10.
     44
        See Walgreen Co. v. United States, 620 F.3d 1350, 1357 (Fed. Cir. 2010).
     45
        See 19 CFR 351.225(k)(1).


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             percent Difluoromethane and 50 percent Pentafluoroethane; and R-507A, an
             azeotropic mixture of 50 percent Pentafluoroethane and 50 percent 1,1,1-
             Trifluoroethane also known as R-507. The foregoing percentages are nominal
             percentages by weight. Actual percentages of single component refrigerants by
             weight may vary by plus or minus two percent points from the nominal
             percentage identified above.46

     Thus, the scope of the Order includes the following five blends: R-404A, R407A, R-407C, R-
     410A, and R-507A. Because R-421A is not one of these blends, we find that it does not fall
     within the scope and thus is not covered by the Order. This finding is consistent with our
     finding in the LTFV Final, and the record of the underlying investigation.47 This language is also
     consistent with statements made during the HFCs investigation, where Commerce stated that
     “the blend portion of the scope is limited to five named HFC blends (i.e., R-404A, R-407A, R-
     407C, R410A, and R-507).”48

     The scope also contains an exclusion for patented HFC blends:

             Also excluded from the Order are patented HFC blends, including, but not limited
             to, ISCEON® blends, including MO99™ (R-438A), MO79 (R-422A), MO59 (R-
             417A), MO49Plus™ (R-437A) and MO29™ (R-4 22D), Genetron® Performax™
             LT (R-407F), Choice® R-421A, and Choice® R-421B.49

     Based on this language, there is no dispute that Choice® R-421A is excluded from the scope
     because the scope specifically excludes all patented HFC blends. However, the relevant question
     is whether an unpatented version of a patented HFC blend falls within the scope of the HFC
     blends Order. As discussed in the Preliminary Determination, and for the reasons explained
     above, we determined that it does not.50

     In the underlying investigation, we determined that the scope only includes five HFC blends (R-
     404A, R407A, R-407C, R-410A, and R-507A). In the LTFV Final, we stated that:

             The scope in the Petition defined the covered products, in relevant part, as follows:

     46
        R-404A is sold under various trade names, including Forane® 404A, Genetron® 404A, Solkane® 404A, Klea®
     404A, and Suva®404A. R-407A is sold under various trade names, including Forane® 407A, Solkane® 407A,
     Klea®407A, and Suva®407A. R-407C is sold under various trade names, including Forane® 407C, Genetron®
     407C, Solkane® 407C, Klea® 407C and Suva® 407C. R-410A is sold under various trade names, including
     EcoFluor R410, Forane® 410A, Genetron® R410A and AZ-20, Solkane® 410A, Klea® 410A, Suva® 410A, and
     Puron®. R-507A is sold under various trade names, including Forane® 507, Solkane® 507, Klea®507,
     Genetron®AZ-50, and Suva®507. R-32 is sold under various trade names, including Solkane®32, Forane®32, and
     Klea®32. R-125 is sold under various trade names, including Solkane®125, Klea®125, Genetron®125, and
     Forane®125. R-143a is sold under various trade names, including Solkane®143a, Genetron®143a, and
     Forane®125.
     47
        See LTFV Final IDM at Comment 5 ((“It is clear from this language that the blend portion of the scope is limited
     to five named HFC blends (i.e., R-404A, R-407A, R-407-C, R410A, and R-507). It is also clear that patented HFC
     blends, without limitation, are excluded.” (citations omitted)).
     48
        See LTFV Preliminary Determination PDM at 6-8.
     49
        See Order.
     50
        See Preliminary Determination PDM at 9.


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             The products subject to this investigation are HFCs and single HFC components
             of those blends thereof, whether or not imported for blending. HFC blends
             covered by the scope are R-404A; . . . R-407A; . . . R-407C; . . . R-410A; . . . and
             R-507A, . . . also known as R-507.

             Also excluded from this investigation are patented HFC blends, such as
             ISCEON® blends, including MO99™ (RR-438A), MO79 (R-422A), MO59 (R-
             417A), MO49Plus™ (R-437A) and MO29™ (R-422D), Genetron® Performax™
             LT (R-407F), Choice® R-421A, and Choice® R-421B.

             It is clear from this language that the blend portion of the scope is limited to five
             named HFC blends (i.e., R-404A, R-407A, R-407-C, R410A, and R-507). It is
             also clear that patented HFC blends, without limitation, are excluded.51

     Similarly, the ITC defined its domestic like product as the same five blends, noted in
     Commerce’s scope language,52 and in the ITC Final, the ITC appropriately recognized
     Commerce’s interpretation of the scope stating, “{t}he five in-scope blends are the major
     commercial refrigerant blends sold in the U.S. market for use in stationary air conditioning and
     refrigeration applications.” The ITC Final further stated that:

             {t}he subject merchandise is referred to as….’in-scope blends’ (R-404A, R407A,
             R-407C, R410A, and R-507A)…and ‘{o}ut-of-scope blends’ or ‘refrigerant
             blends’ refer to any refrigerant blend that uses at least one in-scope HFC
             component and is not one of the five in-scope blends listed above. These include
             all other refrigerant blends, including HFC, CFC, HCFC, and HFO blends, both
             proprietary and patented refrigerant blends.”53

     Further, the Petition clearly set forth the same blends listed in the current scope. For instance,
     the language in the Petition states “HFC blends covered by the scope are R-404A; . . . R-407A; .
     . . R-407C; . . . R-410A; . . . and R-507A, . . . also known as R-507.”54

     Therefore, based on the foregoing, Commerce’s determination that unpatented R-421 is non-
     subject merchandise because it is not one of the five blends listed in-scope is consistent with
     sources enumerated under 19 CFR 351.225(k)(1) including the Petition, the underlying
     investigation, and the ITC’s determination. Thus, our Preliminary Determination was made in
     accordance with Commerce’s regulations for interpreting the language of the scope of an order


     51
        See LTFV Final IDM at Comment 5.
     52
        See Hydrofluorocarbon Blends and Components from China; Investigation No. 7312-TA-1279 (Preliminary)
     August 2015 (ITC Prelim) at I-15; see also Hydrofluorocarbon Blends and Components from China Investigation
     No. 731-TA-1279 (Final) USITC Pub. 4629 (August 2016) (ITC Final) at I-13, tables I-2, I-25, III-11. Id. at II-6
     showing in-scope blends as R-404a, R-407a, R-407c, R-507a, and R-410a and the column showing out-of-scope
     HFC substitutes in-scope blends, one of which is R-421a, an out-of-scope HFC substitute for the in-scope blend R-
     407c.
     53
        See ITC Final at I-1, footnote 2.
     54
        See LTFV Final IDM at Comment 5 (citing the Petition).


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     and is in accordance with Federal Circuit decisions with respect to Commerce’s discretion and
     procedures for interpreting the scope of orders administered by Commerce.55

     In its comments, Choice maintains that the plain language of the scope and the underlying record
     of the investigation do not support Commerce’s interpretation.56 According to Choice, the scope
     language is written in such a way to suggest that HFC blends are covered, regardless of whether
     they are one of the five listed blends, unless expressly excluded from the scope.57 Thus, Choice
     asserts that unpatented R-421A must be in scope, because it is an HFCs blend and is not
     expressly excluded.58 According to Choice, this is the only logical interpretation from the
     sources enumerated in 19 CFR 351.225(k)(1).59 Choice finds that this interpretation matches the
     tone of the Petition, accurately reflects intentions of the petitioners, and the general
     understanding of industry representatives.60 Based on its understanding, Choice believes that
     Commerce erroneously interpreted the language of the scope and the intent of the petitioners in
     the underlying investigation.61

     Regarding Choice’s arguments, we disagree. We find that Choice’s interpretation of the scope
     language is flawed, overlooks previous determinations on what constitutes in-scope merchandise,
     and is not supported by record evidence.62 As noted above, the Petition clearly set forth the same
     blends listed in the current scope. For instance, the language in the Petition states “HFC blends
     covered by the scope are R-404A; . . . R-407A; . . . R-407C; . . . R-410A; . . . and R-507A, . . .
     also known as R-507.”63 Therefore, it is unreasonable to accept an interpretation that the Petition
     intended that other blends be covered, or that the resulting Order covers other blends not
     specifically listed within the scope language. Further, as explained supra, Commerce has
     consistently interpreted the scope to only include the five named blends; in the LTFV Final, we
     stated that “{i}t is clear… that the blend portion of the scope is limited to five named HFC
     blends (i.e., R-404A, R-407A, R-407-C, R410A, and R-507). It is also clear that patented HFC
     blends, without limitation, are excluded.”64

     Choice maintains that, in the Petition, the petitioners had intended to include all HFC blends.65
     We disagree with Choice, as we already addressed this argument in the LTFV Final:

             We disagree with the petitioners that they intended to include additional blends in
             the Petition, or that the intent of the Petition was altered in any way by the
             addition of language suggested by {Commerce}. The petitioners agreed to
             change the “includes” language at {Commerce}’s suggestion prior to initiation, it

     55
        See, e.g., Arcelormittal Stainless; see also Duferco.
     56
        See Choice’s Case Brief at 6-7.
     57
        Id. at 7-8.
     58
        Id. at 5 and 16-17.
     59
        Id. at 9-17.
     60
        Id.
     61
        Id.
     62
        In Choice’s Case Brief, it claims that Commerce failed to consider Choice’s April 17, 2019, Letter. We agree that
     we inadvertently overlooked this submission. Because Choice has incorporated those arguments in its Case Brief
     we address them in our determination.
     63
        See LTFV Final IDM at Comment 5 (citing the Petition).
     64
        See LTFV Final IDM at Comment 5 (citations omitted).
     65
        See Choice’s Case Brief at 6 and 11.


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              stated that “{t}he Coalition understands that this change was not intended to
              narrow or circumscribe the scope of the investigation, such that HFC blends or
              single component HFCs would be more narrowly defined or excluded from the
              investigation.” 66 The Petition clearly sets forth the same blends and components
              listed above as an exhaustive list,67 and all discussion of the physical
              characteristics and uses of HFC blends is framed in terms of these products.68,69
              While the original Petition does suggest scope language which “includes” the five
              blends,70 we find that this language lacks the specificity found throughout the
              Petition, given that the Petition elsewhere defines the blend portion of the scope
              solely in terms of the five named blends.

              Further, on several occasions during the course of this investigation, {Commerce}
              interpreted the scope language as including only the five named blends and three
              components, and excluding all patented blends,71 and the petitioners have not
              objected to these characterizations or offered any clarification. For example, in
              their case brief related to scope issues, the petitioners did not comment on
              {Commerce}’s statements, but merely requested that {Commerce} alter one word
              to its proposed definition of “semi-finished blends.” See Comment 2, {in LTFV
              Final IDM}, above.

              In fact, the petitioners themselves have affirmatively stated on at least one
              occasion that patented blends are out of the scope,72 and on another objected to
              the exclusion from the scope of products which have patents pending but took no
              affirmative position on already-patented blends (beyond listing “various HFC

     66
        See Petition Supplement at 3.
     67
        See Petition at 11.
     68
        Id. at 11-25. For example, the Petition at 12 states that “an antidumping order covering HFC blends should also
     cover the HFC components used in those blends, as well as semi-finished blends that, when imported, are not yet in
     the correct proportions for R-404A, R-407A, R-407C, R-410A or R-507A,” and the Petition also states on the same
     page that “{t}he five HFC blends covered by this petition are the major commercial refrigerants …” (emphasis
     added in both places).
     69
        The petitioners’ intent to cover only the five named blends can also be seen in their proposed scope language
     related to semi-finished blends. Specifically, this language limits semi-finished blends to those blends of PRC
     components used to produce the subject blends . . .that have not been blended to the specific proportions required to
     meet the definition of one of the subject HFC blends described above (R-404A, R-407A, R-407C, R-410A, and R-
     507A).” See Initiation Notice, 80 FR at 43388.
     70
        See Petition at 25, which states:
                The products subject to this investigation are blended hydrofluorocarbons (“HFCs”) and single
                HFC components of those blends thereof, whether or not imported for blending, including the
                following: R-404A . . .
     71
        See, e.g., Refrigerant Solutions Scope Memorandum at 2 (stating “In the Petition, the petitioners stated that they
     intended to cover five HFC blends (i.e., R-404A, R-407A, R-407C, R-410A, and R-507A) and three single HFC
     components of these blends (i.e., R-32, R-125, and R-143a). The petitioners also stated that they intended to
     exclude patented HFC blends, and they provided a short list of patented products as examples” (footnotes omitted
     and emphasis added)); see also Preliminary Scope Memorandum at 13, which states “According to the petitioners,
     most out-of-scope blends are covered by patents, and, thus, are explicitly excluded” (emphasis added).
     72
        See Petitioners’ Rebuttal Scope Comments at 2 (FN2) where the petitioners stated: On July 31, 2015, Kivlan and
     Company, Inc., filed comments requesting that certain patented HFC blends, namely R-421A and R-421B, be
     excluded from the scope of this investigation. These patented blends are already excluded by the scope language.
     The HFC Coalition therefore does not object to the request (emphasis added).


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              blends” that were excluded from the scope).73 Moreover, when {Commerce}
              solicited comments on the appropriate product characteristics in this
              investigation,74 the petitioners limited their comments to container type75; we find
              this significant because {Commerce}’s proposal was to define the specific
              products included in the investigation as an exhaustive list of the five blends and
              three components, with a catchall category for “other.”76

              Indeed, it was not until the rebuttal brief that the petitioners raised what is
              tantamount to a wholly new argument, that the scope is broader than its plain
              language and includes blends and components which were not specifically named
              in the Petition. According to this new argument, the scope has always covered
              components such as R-152a, and R-227ea, and blends such as R-422b, R-422c,
              and R-417c.77 However, we note that this argument is not supported by the
              evidence on the record for the reasons noted above. Further, we note that this
              argument is contradicted by the petitioners themselves in their June 2, 2016,
              Excluded Products Letter, where the petitioners explicitly indicated that the scope
              of this investigation does not, in fact, include R-422b, R-422c, and R-417c.78,79

     Based on our analysis in the LTFV Final, the petitioners acknowledged that the scope did not
     include all HFC blends, and it is apparent that the scope does not cover all HFC blends for which
     a specific exclusion is not in the scope language (i.e., R-422b, R-422c, and R-417c). Further, as
     noted above, the petitioners did not object to Commerce’s characterization of the scope language
     throughout the investigation and there is nothing in the underlying investigation that supports
     Choice’s claims that the petitioners intended to include all blends or other blends besides the five
     specifically mentioned blends. Thus, we disagree with Choice that our interpretation is
     inconsistent with either the Petition or the petitioners’ intentions.80

     Further, we do not find that the structure of the scope itself provides an indication that all HFC
     blends are covered. Choice fails to read the scope language as a whole focusing, instead, only on
     the first sentence of the scope (i.e., “{t}he products subject to this order are HFC blends”). It is
     clear from the second sentence (i.e., “HFC blends covered by the scope are…”) that the scope
     only covers five blends and that these blends are not an illustrative, but exhaustive list. In the

     73
        See Petitioners’ Letter, “Hydrofluorocarbon Blends and Components Thereof from the People’s Republic of
     China: Submission of Factual Information in Response to Scope Exclusion Request,” dated June 2, 2016 (Excluded
     Products Letter) at 2 and Attachment I. This letter is the same as a letter of the same name filed on April 19, 2016,
     except that the petitioners disclosed certain information for which they had initially requested business proprietary
     treatment.
     74
        See Petitioners’ Letter, “Hydrofluorocarbon Blends and Components Thereof from the People’s Republic of
     China: Comments on Product Characteristics,” dated August 17, 2015.
     75
        See Commerce’s Letter, “Hydrofluorocarbon Blends and Components Thereof from the People’s Republic of
     China,” dated August 12, 2015.
     76
        Id. at Attachment.
     77
        See Petitioners’ Rebuttal Brief at 25-26.
     78
        See Excluded Products Letter at Attachment.
     79
        See LTFV Final IDM at Comment 5 (emphasis added).
     80
        We note that the petitioners did not comment on the interpretation of the scope in the Preliminary Determination
     in either its case or rebuttal briefs, which cuts against Choice’s arguments regarding the petitioners’ intentions. See
     Petitioners’ Case Brief and Petitioners’ Rebuttal Brief.


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     LTFV Final, we addressed the same argument and disagreed that the language suggested that the
     five named blends are an illustrative, non-exhaustive, list of a larger category of HFC blends. As
     noted above, in our LTFV Final, we stated:

              The Petition clearly sets forth the same blends and components listed above as an
              exhaustive list, and all discussion of the physical characteristics and uses of HFC
              blends is framed in terms of these products.81

     Considering that we addressed which blends constitute subject merchandise in the LTFV Final,
     and this interpretation was reinforced by the ITC in the ITC Final, it is unlikely that the U.S.
     refrigerant industry understood that all imported HFC blends, not listed as an exclusion, are
     subject to the Order. In fact, the record supports the opposite conclusion. For instance, in
     ICOR’s scope ruling comments it cites to the LTFV Final82 and in the underlying investigation,
     ICOR argued that its three proprietary blends were outside the scope because it understood that
     since these blends are “…finished but not one of the named blends, they fall outside of the
     scope.”83

     In essence, Choice is requesting that Commerce revisit its previous determination, hoping for a
     different outcome.84 We find that by interpreting the language to include blends (whether
     patented or not), not explicitly identified in the scope language, we would broaden the scope,
     beyond what was intended in the underlying investigation. As stated by Choice, Commerce does
     not have the authority to change an antidumping duty order or interpret the scope language to
     narrow or expand the scope in a way that was not originally intended.85 Therefore, since we are
     interpreting the scope in accordance with 19 CFR 351.225(k)(1), and not recommending any
     changes from the LTFV Final, we find that Choice’s reliance on Ericsson GE Mobile, Alsthom
     Atlantique and Corona Corp. are inapposite.

     As noted above, given that the record does not support that the scope includes all HFC blends,
     additional arguments proposed by Choice are misplaced. For instance, Choice claims that when
     Commerce revised the scope to omit the word “including” it failed to properly acknowledge
     whether unpatented versions of patented products were also excluded.86 We find that there was

     81
        See LTFV Final IDM at Comment 5.
     82
        See ICOR’s Letter, “HFC Blends and Components from the PRC: Response to Kenneth Ponder’s and Choice
     Refrigerants’ November 30, 2017 Application for a Scope Ruling,” dated December 5, 2017 at 2 (citing LTFV Final
     IDM at Comment 5).
     83
        See LTFV Final IDM at Comment 5 (citing ICOR International Inc. (ICOR)’s Letter, “Case Brief of ICOR
     International Inc. Hydrofluorocarbon Blends and Components Thereof from the People’s Republic of China,” dated
     May 11, 2016).
     84
        Choice makes an unsupported argument in its case brief that staff indicated that outcome was “already decided.”
     Thus, they found the decision to be prejudged. Choice provides no evidence to support this assertion, but we note,
     to the extent we have already addressed the same arguments Choice raises in previous findings, we find that the
     decision has been predetermined.
     85
        See, e.g., Wheatland Tube Co. v. United States, 161 F. 3d 1365, 1370 (Fed. Circ. 1998) and Ericsson GE Mobile,
     60 F. 3d at 782.
     86
        Choice’s argument suggesting that the scope from the Petition was revised by Commerce or fundamentally altered
     in a way contrary to the petitioners’ intentions is misconstrued because Commerce did not rewrite the scope or omit
     the word “includes.” The petitioners agreed to change the scope language at Commerce’s suggestion prior to
     initiation because the Petition indicated elsewhere that it only covered five blends. In response to this suggestion,


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     no reason to address the outcome of unpatented versions of patented products when the scope
     only identifies the five blends that covered by the Order. If we intended to include unpatented
     versions of patented blends, not specifically mentioned in the scope, we would have addressed
     this in the investigation.

     Choice’s arguments rest on the assumption that the exclusion listed in the scope for patented
     blends indicates that unpatented versions of those same blends must be excluded, otherwise the
     exclusion is meaningless since it is not one of the five named blends. Here, we find that Choice
     mischaracterizes the intent of the exclusion language for patented HFC blends. The scope
     language, “{a}lso excluded from the Order are patented HFC blends, including, but not limited
     to…” was intended to exclude all patented HFC blends. The non-exhaustive list of patented
     HFC blends (i.e., for blends such as MO99™ (RR-438A), MO79 (R-422A)) that follows
     emphasizes that any blend with a patent is excluded.87 In some cases, the names of patented
     HFC blends were included for clarity at the request of interested parties, in order to emphasize
     that the blends were specifically excluded from the Order.88 However, by including the blends
     in the illustrative list of patented blends that were excluded, we did not imply that such blends
     would otherwise have been included; only that doing so would provide a clear indicator for
     CBP’s enforcement of the scope of the order. For example, in the LTFV Preliminary
     Determination, Commerce noted that “Kivlan requested that the scope of the investigation
     explicitly exclude blends that are currently under patent protection, including Choice R-421A
     and Choice R-421B.”89 The petitioners did not object to the modification to explicitly exclude
     HFC blends R-421A and R-421B from the scope; consequently, Commerce modified the scope
     to explicitly exclude R-421A and R-421B, because we found such an exclusion to be consistent
     with the intent of the Petition.90 Commerce’s determination was unchanged in the LTFV Final.91




     the petitioners stated that “{t}he Coalition understands that this change was not intended to narrow or circumscribe
     the scope of the investigation, such that HFC blends or single component HFCs would be more narrowly defined or
     excluded from the investigation.” See LTFV Final IDM at Comment 5. Because the petitioners made this
     modification based on our suggested language, and; thus, was not in contravention of the petitioners’ intentions, we
     find Choice’s reference to Eckstrom v. United States (i.e., Commerce’s practice for accepting the petitioner(s) scope
     language) does not apply.
     87
        See LTFV Final IDM at Comment 5, footnote 108 (citing Memorandum, “Antidumping Duty Investigation of
     Hydrofluorocarbon Blends and Components (HFCs) from the People’s Republic of China (PRC): Analysis of Scope
     Comments Made by Refrigerant Solutions Limited,” dated May 3, 2016, stating “In the Petition, the petitioners
     stated that they intended to cover five HFC blends (i.e., R-404A, R-407A, R-407C, R-410A, and R-507A) and three
     single HFC components of these blends (i.e., R-32, R-125, and R-143a). The petitioners also stated that they
     intended to exclude patented HFC blends, and they provided a short list of patented products as examples). Thus,
     we do not agree that by finding that unpatented versions of patented HFC blends listed as exclusions are out-of-
     scope, it renders the scope exclusions meaningless. The inclusion of patented versions of unpatented blends as
     examples for clarification purposes does not alter the meaning or intention of the scope language in any manner.
     88
        See Kivlan’s Letter at 1.
     89
        See LTFV Preliminary Determination PDM at 7.
     90
        Id.
     91
        See LTFV Final IDM at Comment 5, footnote 109 (citing Petitioners’ Letter, “Hydrofluorocarbon Blends and
     Components Thereof from the People’s Republic of China: Response to Scope Comments,” dated August 17, 2015,
     at 2 stating “{o}n July 31, 2015, Kivlan and Company, Inc., filed comments requesting that certain patented HFC
     blends, namely R-421A and R-421B, be excluded from the scope of this investigation. These patented blends are
     already excluded by the scope language. The HFC Coalition therefore does not object to the request.”).


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     Although Commerce does not, generally, include unnecessary exclusions for products which are
     not be covered by a scope, Commerce does include explicit exclusions for products which may
     be on the edge of the scope and which may risk being misinterpreted as in-scope merchandise.92
     Commerce also considers interested party comments in proceedings, and may include explicit
     exclusions for products for which interested parties request an exclusion. This practice does not
     render the exclusions “meaningless” if the intent is to reduce confusion or to reinforce the
     language in the scope. Additionally, the record does not contain implicit or explicit evidence
     supporting that we acknowledged an exclusion was necessary for patented blends even if they
     were not one of the five named blends. Ultimately, we find that it would be inappropriate to use
     an exclusion as means to expand the scope beyond the language listed in the scope.

     Further, and importantly, Choice does not acknowledge the history of the scope covered by this
     Order. For the duration of the investigation, the scope also covered components and unfinished
     blends of HFCs. When Commerce re-wrote the language for the Order, after the ITC’s final
     determination, Commerce kept much of the existing structure, while only excising portions
     pertaining to components. Thus, rather than combine the first two sentences of the scope of the
     Order to state that the order only covers the five listed HFC components, Commerce re-wrote the
     first sentence to remove references to components:

      Original LTFV Final Scope Excerpt                           Final Order Scope Excerpt

      “The products subject to this investigation are             “The products subject to this order are HFC
      HFCs and single HFC components of those                     blends. HFC blends covered by the scope
      blends thereof, whether or not imported for                 are…”94
      blending. HFC blends covered by the scope
      are…”93

     Further, at the time of the investigation, it was conceivable that certain blends of HFCs could
     have been construed as unpatented blends of HFCs, because the scope also included “semi-
     finished blends of Chinese HFC components.”95 This language pertaining to unfinished blends
     was removed, in its entirety, from the language of the Order, to accommodate the ITC’s final
     injury determination.96


     92
        See, e.g., Stainless Steel Sheet and Strip in Coils from the Republic of Korea: Preliminary Results of
     Countervailing Duty Changed Circumstances Review, 71 FR 75937 (December 19, 2006). The scope language
     states, “the subject sheet and strip is flat-rolled product in coils that is greater than 9.5 mm in width and less than
     4.75 mm in thickness, and that is annealed or otherwise heat treated and pickled or otherwise descaled.” In the list
     of scope exclusions it states “{e}cluded from the scope of this order are the following: (1) sheet and strip that is not
     annealed or otherwise heat treated and pickled or otherwise descaled, (3) plate (i.e., flat-rolled stainless steel
     products of a thickness of 4.75 mm or more), (4) flat wire (i.e., cold-rolled sections, with a prepared edge,
     rectangular in shape, of a width of not more than 9.5mm.” The products in the first, third, and fourth exclusions fall
     squarely outside the definition of in-scope merchandise, the first because it relates to product that is not annealed
     and pickled and the latter two because they involve merchandise of more than 4.75 mm in thickness or of not more
     than 9.5 mm in width.
     93
        See LTFV Final, 81 FR at Appendix I – Scope of the Investigation.
     94
        See Order, 81 FR at Scope of the Order.
     95
        See LTFV Final, 81 FR at Appendix I – Scope of the Investigation.
     96
        See Order, 81 FR at Scope of the Order.


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     Finally, Choice makes a number of unsupported arguments about the outcome of Commerce’s
     ruling such as: (1) there will be an increase in the dumping of unpatented chemicals; (2)
     importers will mislabel merchandise as an unspecified non subject HFC blend; (3) importers will
     manipulate their customs paperwork to circumvent the Order; and (4) the ruling will reward
     companies that cheat U.S. trade laws in contravention of the United States’ President’s efforts to
     enforce U.S. trade laws. To the extent that our ruling on unpatented R-421A would lead to
     improper conduct by any importers or exporters, we have already addressed Choice’s concern
     with respect to imports of unpatented R-421A with a finding of an affirmative anticircumvention
     determination.97 Further, we have several ongoing anti-circumvention proceedings examining
     various circumvention schemes by exporters/importers related to the HFCs Order in which we
     address similar concerns. In this case, we have interpreted the scope of the Order in a manner
     that is consistent with the underlying investigation. Based on this, we find no reason to alter our
     Preliminary Determination.

     Comment 2: Whether the Process of Assembly or Completion of R-421A Into HFC Blends
                in the United States is Minor and Insignificant

     In determining whether the process of assembly or completion in the United States is minor or
     insignificant, Commerce conducted its analysis using the interpretative framework outlined in
     sections 781(a)(1)(C) and 781(a)(2) of the Act. Based on this evaluation, in the Preliminary
     Determination, we determined (1) that BMP’s level of investment is minimal when compared to
     the level of investment required to build and maintain a components factory;98 (2) the nature of
     BMP’s production process in the United States is not significant;99 and (3) BMP’s response
     confirms that its research and development (R&D) expenses are negligible.100

     BMP’s Arguments

     •    The process of producing HFC blends is not “minor or insignificant” because: (1) the level
          of investment in the United States is significant;101 (2) the blending process is not simple;102
          and (3) the level of R&D in the United States is inconclusive.103

     •    Commerce’s analysis of BMP’s investments in the United States (i.e., comparison of
          component production cost with the cost of blending operations) is flawed because the
          benchmark it uses for component production of “hundreds of millions of dollars” from an
          ITC statement is unreasonable.104 To establish this benchmark, Commerce selectively quotes
          from the ITC that, although recognizing that an HFC blending facility costs significantly less
          than an HFC components facility, still found that the process to transform HFC components
          into HFC blends substantial.105

     97
        See Preliminary Determination PDM at 1 and 22.
     98
        Id. at 18.
     99
        Id. at 19.
     100
         Id.
     101
         See BMP’s Case Brief at 2-3.
     102
         Id. at 2-3.
     103
         Id. at 4.
     104
         See BMP’s Case Brief at 2.
     105
         See ITC Final at 12-13.


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     •     Record information shows that the amount of initial investment made by BMP for equipment
           is significant, especially for a small company without considering the investment in a skilled
           workforce and testing facilities, which were recognized by the ITC.106

     •     Blending is not a simple process, as supported by the ITC’s opinion, and record information
           showing that BMP USA’s production process: (1) is not simple; (2) requires a large facility;
           and (3) requires significant training of skilled workers.107

     •     With respect to R&D expenditures, the blending industry is long-established, as evidenced by
           its existence during the original investigation. Thus, it is not surprising that significant R&D
           is not required for this industry and, therefore, should not be considered a determinative
           factor for purposes of Commerce’s analysis.108

     Petitioners’ Rebuttal Arguments

     •     Commerce should continue to find that BMP’s process of assembly or completion of HFC
           components into HFC blends in the United States is insignificant because, contrary to BMP’s
           claims, its level of investment and R&D expenditures in the United States are minimal.109

     •     Commerce used the appropriate analytical framework in the Preliminary Determination for
           evaluating the level of investment in the United States. This framework was consistent with
           the statute as well as Commerce’s longstanding practice and is supported by substantial
           evidence.110

     •     BMP’s arguments that the completion of HFC blends in the United States is not insignificant
           rely solely on its arguments that pertain to its level of investment and R&D. However, BMP
           overlooks that these factors are not dispositive, but are two of several factors Commerce uses
           to determine whether the process of assembly or completion is “minor or insignificant.”111
           The statute does not instruct Commerce to use a particular method for evaluating the level of
           investment; therefore, Commerce may use any analysis it determines appropriate to assess
           whether the process of assembly or completion is “minor or insignificant.”112 Commerce’s
           analytical framework was appropriate because it measured the level of investment in the
           United States against the full investment involved in the complete production of finished
           HFC blends.113


     106
         See BMP’s Case Brief at 3 (citing BMP’s Letter, “Hydrofluorocarbon Blends from the People’s Republic of
     China: Initial Questionnaire Response,” dated January 17, 2020 (BMP’s January 17, 2020 QR) at 16, 24 and 26-27).
     107
         Id. at 3-4.
     108
         See BMP’s Case Brief at 4.
     109
         See Petitioners’ Rebuttal Brief at 3-6.
     110
         Id. at 6.
     111
         Id. at 3.
     112
         See Petitioners’ Rebuttal Brief at 3 (citing Certain Corrosion-Resistant Steel Products from the People’s
     Republic of China: Affirmative Final Determination of Circumvention of the Antidumping Duty and Countervailing
     Duty Orders, 83 FR 23895 (May 28, 2018) (CORE from China), and accompanying IDM at Comment 5).
     113
         Id.


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     •     The statute requires that Commerce measure “minor or insignificant” against the full
           investment involved in the completed production process and evaluate the pattern of trade to
           determine if there is any shifting between an affiliated Chinese exporter/producer and U.S.
           blender, and if any imports of components increased following the imposition of Order.114
           BMP misses the point that the analysis is not concerned with whether its investments in the
           United States are significant, but whether they are comparatively less significant than the
           investments required for production of finished HFC blends in China.115 The statute requires
           this comparison to determine if circumvention is being achieved by shifting one or more of
           the last few minor or insignificant steps of the production process to the United States, and
           BMP provides no evidence for departing from this practice.116

     •     BMP cites to its claimed initial investment for blending equipment, which corroborates the
           evidence submitted by the HFC Coalition, showing that blending operations are
           insignificant.117 This amount is undoubtedly dwarfed by “the hundreds of millions of
           dollars” the ITC stated was required to produce individual HFC components; a fact BMP
           admits in its case brief.118

     •     Commerce should reject BMP’s argument that because the blending industry is long
           established there would be no need for this investment because: (1) Commerce did not give
           undue weight to R&D expenditures to determine whether the HFC blending process in the
           United States was minor or insignificant; (2) BMP does not dispute Commerce’s statement
           that its R&D expenses are negligible; and (3) Commerce’s analysis of BMP’s R&D
           expenditures was reasonable and consistent with record evidence.119

     Commerce’s Position:

     We continue to find, for this final determination, that the process of assembly or completion is
     minor or insignificant within the meaning of section 781(a)(1)(C) of the Act, as informed by the
     factors in section 781(a)(2) of the Act. As an initial matter, the SAA lists the five statutory
     criteria in section 781(a)(2) of the Act and states that, “{n}o single factor will be controlling.”120
     The importance of any one of the factors listed under section 781(a)(2) of the Act can vary from
     case to case based on the particular circumstances unique to each anti-circumvention inquiry. In
     our Preliminary Determination, we examined each of the criteria under section 781(a)(2) of the
     Act, based on both qualitive and quantitative factors. We determined that (1) BMP’s investment
     to blend HFCs in the United States is minimal in comparison to the investment require to create




     114
         Id.
     115
         Id.
     116
         Id.
     117
         Id.
     118
         See ITC Final at 12-13.
     119
         Id. at 12-13.
     120
         See Statement of Administrative Action H.R. Rep. No. 103-316, Vol. 1 (1994) (SAA) at 893; see also
     Preliminary Determination PDM at 13.


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     components;121 (2) BMP’s R&D expenses are negligible;122 (3) the nature of BMP’s production
     process in the United States is not significant;123 (4) BMP’s production facility for completing
     finished HFC blends is not extensive;124 and (5) the value of processing performed in the United
     States represents a small proportion of the value of the merchandise sold in the United States.125
     We focus on BMP’s arguments pertaining to sections 781(a)(2)(A), 781(a)(2)(B), and
     781(a)(2)(C) of the Act, below.

     With respect to section 781(a)(2)(A) of the Act, we continue to find that BMP’s investment to
     blend HFCs in the United States is minimal in comparison to the investment required to create
     the unpatented R-421A. BMP argues that Commerce’s analysis is flawed because it evaluates
     the amount of investment for component production using an inappropriate benchmark from the
     ITC Final,126 based on a quote from an industry representative stating component production
     costs “hundreds of millions of dollars.”127 According to BMP, Commerce overlooks that in the
     ITC Determination it found the amount to convert HFC components into HFC blends
     substantial.128 Further, BMP argues that the record shows that the amount of investment related
     to equipment, testing facilities, and maintaining a skilled workforce, when taken together, is
     significant.129

     However, the information provided by BMP demonstrates that not only is the level of investment
     insignificant, it is significantly less than the costs associated with starting a component
     production facility.130 In this proceeding, BMP provided various figures in response to our
     inquiries with regard to the level of investment it incurred in the United States with respect to its
     process for completion of the unfinished HFC blends. In its January 17, 2020 submission, BMP
     provided a table that outlines its level of investment, research and development expenditures in
     the United States from 1990 through 2019.131 Based on the level of investment detailed in our
     BPI Analysis Memorandum, we found that this figure calculated by BMP accurately represents


     121
         See Preliminary Determination PDM at 18; see also Memorandum, “Anti-Circumvention Inquiry of the
     Antidumping Duty Order on Hydrofluorocarbon Blends from the People’s Republic of China: Unpatented R-421A;
     Business Proprietary Memorandum,” dated February 25, 2020 (BPI Analysis Memorandum) at 2-3.
     122
         See Preliminary Determination PDM at 18; see also BPI Analysis Memorandum at 3.
     123
         See Preliminary Determination PDM at 19; see also BPI Analysis Memorandum at 3-4.
     124
         See Preliminary Determination PDM at 19; see also BPI Analysis Memorandum at 4.
     125
         See Preliminary Determination PDM at 20; see also BPI Analysis Memorandum at 5 and Attachment 1.
     126
         See BMP’s Case Brief at 2.
     127
         See Preliminary Determination PDM at 15 and 18 (citing ITC Hearing Transcript in the Matter of
     Hydrofluorocarbon Blends and Components from China Investigation No. 731-TA-1279 (Final), dated June 21,
     2016 at Exhibits 1-4 and Petitioners’ Letter, “Hydrofluorocarbon Blends from the People’s Republic of China:
     Scope Investigation Regarding Certain Unpatented HFC Blends: Request to Apply Section 781(a) to Prevent
     Circumvention,” dated August 15, 2018 at 15 and Exhibit 3); see also BPI Analysis Memorandum at 3.
     128
         See BMP’s Case Brief at 3.
     129
         Id.
     130
         As noted in the BPI Analysis Memorandum, R-421 is composed of HFC components R-125 and R-134a. The
     production of the components used to make R-421A occurs in China. Also, as stated in the Preliminary
     Determination, “after importation into the United States from China, BMP uses unpatented R-421A, and other
     components from China, to produce HFC blends that are covered by the Order,” since it does not actually produce
     any components (or blends made from self-produced components) on its own. See the BPI Analysis Memorandum
     at 3-5; see also Preliminary Determination at 17.
     131
         See BMP’s January 17, 2020 QR at Exhibit 12.


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     the initial investment BMP undertook in order to establish the business of converting R-421A
     into finished HFC blends.

     Thus, we determined it was appropriate to compare the amount specified by the petitioners (i.e.,
     data from the ITC determination) regarding the initial amount required to start up the production
     of HFC components in China with the amount reported by BMP because both amounts represent
     the initial investment required to start the HFC blend production and the conversion process.

     After comparing the amount to produce HFC components and semi-finished blends with the
     amount BMP calculated for its investment, we found that the level of investment is significant in
     China compared to the reported level of investment in the United States.132 Specifically, we
     estimated that the level of investment in China represents a significant portion of the total
     investment required for these types of businesses.133 While BMP argues that its investments are
     significant, especially for a small company,134 we find that even with the inclusion of BMP’s
     expenditures for labor and testing facilities the amount of investment required for blending
     operations was several orders of magnitude lower than for component operations.135

     BMP argues that the analysis described above is flawed, based on the source proposed by the
     petitioners for investment costs for component production.136 However, we find that this is the
     most appropriate source because the exporter of unpatented R-421A selected for review in this
     anticircumvention case failed to provide any information from which to evaluate the costs of
     production.137 Additionally, BMP also failed to provide additional information with which to
     value imports of unpatented R-421A or cite to anything on the record of this proceeding showing
     the costs for R-421A or the underlying component production used to make the R-421A. Thus,
     we selected the information proffered by the petitioners, as it was the only available information
     on the record. Furthermore, while BMP argues that the ITC found that the cost for blending
     operations is not insignificant, BMP overlooks that the ITC was concerned with an analysis of
     determining class and kinds of merchandise, and not with circumvention. Even assuming,
     arguendo, that the ITC found blending operations to be significant, this statement is not borne
     out by the data provided by BMP.138

     With respect to section 781(a)(2)(B) of the Act, we continue to find that BMP’s R&D
     expenditures in the United States are negligible. BMP argues that the blending industry is long-


     132
         See Preliminary Determination PDM at 18; see also BPI Analysis Memorandum at 2-3.
     133
         See BPI Analysis Memorandum for the figures underlying the Commerce’s conclusion.
     134
         See BMP’s Case Brief at 3.
     135
         See BPI Analysis Memorandum at 4 showing the total payroll and number of current workers is not significant
     even in conjunction with its investments in equipment and testing facilities; see also BPI Analysis Memorandum at
     3; and BMP’s January 17, 2020 QR at Exhibit 3 BMP USA’s 2018 financial statements at 2 and Exhibit 3 IGas’s
     2018 financial statements at 4.
     136
         See BMP’s Case Brief at 3.
     137
         See Preliminary Determination PDM at 4 and 14 (noting that T.T. International declined to provide a
     questionnaire response to the initial questionnaire it was issued on December 13, 2019. See T.T. International’s
     Letter, “Hydrofluorocarbon Blends from the People’s Republic of China: Unpatented R-421A Blends Anti-
     Circumvention Inquiry; Notification of TTI’s Intent Not to Respond to Department Questionnaires,” dated January
     8, 2019.).
     138
         See BPI Analysis Memorandum.


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     established, as evidenced by its existence during the original investigation.139 Thus, BMP argues
     that significant R&D is not required for this industry and, therefore, should not be considered a
     determinative factor for purposes of Commerce’s analysis.140

     As an initial matter, BMP does not produce HFC components, and, therefore, does not have any
     specific information from the producer regarding its R&D expenditures in China.141 However, in
     BMP’s response, it provided information that outlines its research and development expenditures
     along with the level of investment it incurred in the United States since its inception.142 The
     specific figures provided by BMP are proprietary, however we note that, as a general matter,
     BMP reported negligible R&D expenditures.143 Based on this information, we found that the
     HFC blending operations appeared to be activities that do not require significant research and
     development initiatives and expenditures.144 Thus, with respect to section 781(a)(2)(B) of the
     Act, we determined that the level of R&D initiatives and expenditures in the United States is
     limited when compared to the R&D initiatives and expenditures likely necessary in China.

     We agree with BMP’s assertion that no R&D is required since, as discussed below, it only mixes
     the imported R-421A with imported components in a tank. However, the point of the analysis is
     not whether BMP’s R&D expenditures in the United States are significant or insignificant, but
     whether the R&D expenditures associated with converting the imported R-421A into finished
     HFC blends in the United States is significant in comparison to the investments that would be
     required for production of the imported R-421A.145 Therefore, we disagree with BMP’s
     argument that we should disregard BMP’s R&D as a factor, because it is unnecessary for the
     blending industry. Rather, the fact that blenders incur minimal R&D expenditures confirm
     Commerce’s affirmative circumvention finding. Further, as pointed out by the petitioners, we
     considered the totality of factors in our affirmative circumvention finding and did not place
     emphasis solely on this factor.

     With respect to section 781(a)(2)(C) of the Act, we continue to find that the nature of BMP’s
     production process in the United States is not significant. BMP argues that the ITC found that
     the nature of blending process is not insignificant and argues that the record shows the process is
     not simple, requires a large facility, and requires significant training of skilled workers.146

     We disagree, with BMP’s arguments. BMP stated on the record that the blending process is
     relatively straightforward.147 There is also no chemical reaction or temperature change involved


     139
         See BMP’s Case Brief at 4.
     140
         Id.
     141
         See BMP’s January 17, 2020 QR at 3.
     142
         For the proprietary figures underlying the Commerce’s conclusion, see the BPI Analysis Memorandum at 3.
     143
         Id.
     144
         Id.
     145
         See CORE from China IDM at Comment 5. Although the cited proceeding involved assembly or processing in a
     third country under section 781(b) of the Act, the language regarding section 781(b)(2) of the Act is essentially the
     same under both sections 781(a)(2)(C) and 781(b)(2)(C).
     146
         See BMP’s Case Brief at 3 (citing ITC Final at 12-13).
     147
         See BPI Analysis Memorandum at 3 (citing LM Supply Letter, “Hydrofluorocarbon Blends from the People’s
     Republic of China: Supplemental Questionnaire Response,” dated April 27, 2018 (LM Supply’s April 27, 2018
     SQR) at 3).


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     in blending HFCs.148 After the blend is tested, it is extracted from the mixing tank and packaged
     into smaller cylinders for resale.149 In addition, available information shows that production of
     HFC blends requires only basic setups (i.e., tanks, pumps, and testing equipment) and a handful
     of workers.150 Finally, information on the record demonstrates that BMP’s production process is
     fairly limited with only a single facility and a small number of blending employees to handle its
     blending operations.151 Based on the information BMP provided, this process requires less
     processing than production of the finished HFC blends in China.152 The specific details provided
     by BMP are proprietary, however we note that, as a general matter, BMP’s reporting confirmed
     that the production process is straight-forward and does not require the same level of activities
     that production of the underlying HFC components requires.153

     Based on the aforementioned, and consistent with the conclusions reached in our Preliminary
     Determination,154 we continue to find that record evidence demonstrates that BMP’s level of
     investment for blending unpatented R-421A into finished HFC blends is minimal, the production
     process is not extensive, and that BMP has not undertaken a significant level of R&D in order to
     process unpatented R-421A into finished HFC blends subject to the Order.155 As noted above,
     no single factor is controlling and the importance of any one of the factors listed under section
     781(a)(2) of the Act can vary from case to case based on the particular circumstances unique to
     each anti-circumvention inquiry. We find that the evidence placed on the record
     overwhelmingly supports that the process of assembly or completion is minor or insignificant
     within the meaning of section 781(a)(1)(C) of the Act, as informed by the factors in section
     781(a)(2) of the Act. Therefore, we find that there is no reason to change our affirmative
     circumvention finding for the final determination.

     Comment 3: Value Analysis

     In accordance with sections 781(a)(1)(D) and 781(a)(2)(E) of the Act, in the Preliminary
     Determination, Commerce examined the figures placed on the record by participating parties and
     found that the value of the parts or components produced in the foreign country is a significant
     portion of the total value of the merchandise in question, and that the value of the processing
     performed in the United States represents a small proportion of the value of the merchandise sold
     in the United States.156

     BMP’s Arguments



     148
         Id. at 3.
     149
         Id.; see also LM Supply’s April 27, 2018 SQR at 4.
     150
         See BPI Analysis Memorandum at 4; see also BMP’s January 17, 2020 QR at 16.
     151
         See BMP’s January 17, 2020 QR at 16.
     152
         See the BPI Analysis Memorandum at 4.
     153
         For the proprietary figures and details underlying the Commerce’s conclusion, see BPI Analysis Memorandum at
     3-6 and Attachment 1 and 2.
     154
         See Preliminary Determination PDM at 18-20.
     155
         Id. (citing BMP’s January 17, 2020 QR at 16 Exhibits 12 and 20; BMP’s January 17, 2020 QR at 16-17; and LM
     Supply’s April 27, 2018 SQR at 4).
     156
         See Preliminary Determination PDM at 20; see also BMP’s January 17, 2020 Questionnaire Response (BMP’s
     January 17, 2020 QR) at Exhibit 24; and BPI Analysis Memorandum.


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     •     Commerce’s methodology in the Preliminary Determination is unreasonable because it
           compared the value of all inputs from China to the total value of the finished blends.
           According to the statute, the parts and components used in the analysis will be the same ones
           subject to the circumvention inquiry (i.e., R-421A).157

     •     The other components (i.e., R-32 and R-143) used in the blending process are not a part of
           this circumvention inquiry. In addition, the only part or component that Commerce is
           proposing to include in the scope of the order is R-421A. Therefore, Commerce should only
           compare the value of the imported R-421A to the total value of the blends.

     Choice’s Arguments

     •     Commerce correctly found that BMP’s imports of R-421A circumvented the HFC Blends
           Order.158 BMP infringed on Choice’s patent by importing patented R-421A into the United
           States without a license and clearly circumvented antidumping duties imposed on HFC
           blends and the HFC component R-134a. BMP fails to explain the reasoning behind
           importing the HFC blend R-421A and converting it into other HFC blends, rather than
           finishing the blending process in China or importing HFC components as blend feedstocks; it
           is clear that the reason was to avoid antidumping duties.159

     •     BMP fails to demonstrate, under section 781 of the Act, that the costs of converting R-421A
           into other HFC blends is significant. While BMP provides the asserted values of the R-421A
           imports and the final HFC blends, the marginal costs have not been provided. Rather, the
           marginal cost of producing BMP’s blends should be zero because the added step to convert
           R-421A into a finished HFC blend is unnecessary. It is most economical for HFC blends to
           be blended at the point of manufacture. Therefore, BMP’s marginal costs for its second
           blending step should be disregarded.160

     •     Commerce should also reject BMP’s below-market valuation of imported R-421A. Instead,
           Commerce should obtain information on the market value of HFC blends and components in
           the relevant time frame. In addition, Commerce should consider the ownership of BMP
           affiliates and investigate the existence of preferential pricing from affiliated Chinese
           companies or subsidies from the Government of China.161

     •     IGas USA, and other newly formed shell companies in the BMP Group that imported and
           used R-421A without paying antidumping duties, should also be held liable since their only
           business is producing HFC blends.162 Further, Commerce should consider the protection of
           U.S. intellectual property theft by foreign-backed enterprises. BMP admits that it does not



     157
         See BMP’s Case Brief at 5-6 (citing section 781(a) of the Act).
     158
         See Choice’s Case Brief at 19.
     159
         Id. at 20.
     160
         Id. at 21.
     161
         Id.
     162
         Id. at 22 (citing BMP’s January 17, 2020 QR at 18).


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           hold a patent for R-421A or the license to use that patent.163 Yet, even though BMP’s
           exporter describes the imports as unpatented R-421A, BMP states that the imported R-421A
           was considered patented.164 Therefore, Commerce and CBP should request all
           documentation of communication between BMP affiliates and its exporter to verify
           statements made on customs forms. It is not plausible that BMP does not maintain such
           business documentation.165

     •     Commerce should conduct a full forensic accounting of BMP’s finances because the
           voluntary responses do not contain adequate information to determine the actual cost of
           finishing the HFC blends.166 Data reveals that the use of the circumvented R-421A
           represented a significant percentage of BMP’s overall business during the relevant time
           period. Choice estimates that such a scheme would have saved BMP nearly $100,000 for
           ever ISO container of HFC blend and could have resulted in BMP gaining market share in
           the U.S. refrigerant market.167

     BMP’s Rebuttal Arguments

     •     Contrary to Choice’s allegations, BMP and its affiliates have not admitted that they illegally
           imported R-421A to avoid antidumping duties. There is no record evidence supporting
           Choice’s claims that: (1) BMP or its affiliates committed patent infringement; (2) BMP can
           most economically blend HFC blends at the point of manufacture or that the marginal cost of
           blending should be zero; (3) the value of the imported R-421A is below-market; and (4)
           BMP made false statements to CBP.

     •     It is inapposite and without legal basis to request that Commerce investigate any Chinese
           government subsidies. Further, there is no need for a forensic accounting analysis since
           BMP fully answered Commerce’s questions.168

     Choice’s Rebuttal Arguments

     •     While BMP argues that Commerce should compare only the value of the imported R-421A
           and ignore the cost of other blending components,169 the statute requires that Commerce
           compare the value of the parts or components to the total value of the merchandise. The
           merchandise in this instance is the R-421A imported by BMP. If Commerce disregards other
           blending components, then the value of R-421A as a component is 100 percent of the value
           of R-421A as merchandise, thus indicating circumvention.




     163
         Id. (citing LM Supply’s Letter, “Comments in response to Kenneth Ponder’s and Choice Refrigerants’ November
     30, 2017 Application for a Scope Ruling,” dated December 27, 2017, at 4-7).
     164
         Id. (citing BMP’s January 17, 2020 QR at 20).
     165
         Id. at 23 (citing BMP’s January 17, 2020 QR at 21).
     166
         Id. at 23-24.
     167
         Id. at 24.
     168
         See BMP’s Rebuttal Brief at 5-6.
     169
         See Choice’s Rebuttal Brief at 3 (citing BMP’s Case Brief at 5-6).


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     •     BMP is incorrect that the merchandise should be the three-component HFC blends that it
           creates by blending the R-421A with additional HFC components. The statute does not
           specify a formula for determining what is significant and the courts have rejected
           interpretations of section 781 that “would render meaningless Congress’s intent to address
           circumvention concerns.”170

     Petitioners’ Rebuttal Arguments

     •     BMP’s argument with respect to Commerce’s value analysis pursuant to section 781(a)(1)(D)
           of the Act is unsupported by record evidence and precedent.171 BMP incorrectly asserts that
           Commerce should focus only on the value of R-421A rather than comparing the value of all
           imported inputs from China to the total value of the finished blend. Commerce correctly
           calculated the value of the Chinese-origin unpatented R-421A using Mexican surrogate
           values.172

     •     Pursuant to section 781(a)(1)(D), Commerce concluded in the preliminary determination that
           the value of the components from China represented a significant portion of the total value of
           the merchandise sold in the United States.173 Commerce’s findings should be unchanged in
           the final determination.

     Commerce’s Position

     Under section 781(a)(1)(D) of the Act, Commerce considers whether the value of the parts or
     components produced in the foreign country to which the order applies (i.e., China) is a
     significant portion of the total value of the merchandise. In addition, section 781(a)(2)(E) of the
     Act directs Commerce to determine whether the value of processing performed in the United
     States represents a small proportion of the value of merchandise sold in the United States.

     In the Preliminary Determination, with respect to the value analysis required by section
     781(a)(1)(D) of the Act, we calculated the percentages of Chinese origin inputs, compared to the
     value of merchandise sold in the United States on a per-kilogram basis,174 and determined that
     the value of the parts or components produced in China (i.e., R-421A) represented a significant
     portion of the total value of merchandise sold in the United States (i.e., R-407C, R-407A, and R-
     404A).175 Since China is an NME, Commerce used a surrogate value methodology in order to
     value unpatented R-421A.176

     170
         Id. at 3-4 (citing Deacero S.A. v. U.S., 817 F. 3d 1332, 1338 (Fed. Cir. 2016)).
     171
         See Petitioners’ Rebuttal Brief at 9 (citing BMP’s Case Brief at 5).
     172
         Id. at 9-10 (citing BPI Analysis Memo and associated surrogate value data, dated February 28, 2020; see also
     Petitioners’ Letter, “Hydrofluorocarbon Blends from the People’s Republic of China: Surrogate Values
     Submission,” dated January 13, 2019 at Exhibit 1; and BMP’s Letter, “Hydrofluorocarbon Blends from the People’s
     Republic of China: Surrogate Value Comments,” dated January 13, 2020, at Exhibit 1).
     173
         Id. at 10 (citing Preliminary Determination PDM at 10-11; see also BPI Analysis Memo at 5).
     174
         See BPI Analysis Memorandum at 5 and Exhibit 2.
     175
         See Preliminary Determination PDM at 20; see also Preliminary Decision Analysis Memo; and BMP’s January
     17, 2020 QR at Exhibit 24.
     176
         See BPI Analysis Memorandum at 6 (citing Petitioners’ Letter, “Hydrofluorocarbon Blends from the People’s
     Republic of China: Initial Surrogate Country Selection Comments,” dated January 3, 2020; and Petitioners’ Letter,


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     In addition, with respect to the value-added analysis required by section 781(a)(2)(E) of the Act,
     we compared the further manufacturing costs to convert the imported R-421A into subject
     merchandise for each of the finished HFC blends with the total U.S. sales value of those same
     blends,177 and determined the Chinese inputs as a portion of the U.S. sales value are significantly
     higher than the processing values as a portion of the U.S. sales value.178 This means that the
     Chinese inputs constituted a more significant portion of the total value of merchandise than the
     costs of further manufacturing in the United States. We conducted our value analysis in
     accordance with the law and Commerce’s normal practice. Our analysis demonstrated that (1)
     the value of unpatented R-421A was not a significant portion of the total value of the finished
     HFCs blends; and (2) the value of BMP’s processing performed in the United States represents a
     small proportion of the value of the HFCs blends sold in the United States.179

     It is important to note that Commerce’s determination of circumvention is not based on any one
     criterion, but on the totality of circumstances. 19 CFR 351.225(g) states:

             Under section 781(a) of the Act, the Secretary may include within the scope of an
             antidumping or countervailing duty order imported parts or components referred
             to in section 781(a)(1)(B) of the Act that are used in the completion or assembly
             of the merchandise in the United States at any time such order is in effect. In
             making this determination, the Secretary will not consider any single factor of
             section 781(a)(2) of the Act to be controlling. In determining the value of parts or
             components purchased from an affiliated person under section 781(a)(1)(D) of the
             Act, or of processing performed by an affiliated person under section 781(a)(2)(E)
             of the Act, the Secretary may determine the value of the part or component on the
             basis of the cost of producing the part or component under section 773(f)(3) of the
             Act.

     Therefore, when determining circumvention, the results of the input value and value-added
     analyses are considered in conjunction with the other the statutory prongs, including the level of
     investment, the level of research and development, the nature of the production process, and the
     extent of production facilities in the United States. Therefore, as noted above, our analysis
     demonstrates that (1) the value of unpatented R-421A was not a significant portion of the total
     value of the finished HFCs blends; and (2) the value of BMP’s processing performed in the
     United States represents a small proportion of the value of the HFCs blends sold in the United
     States. Thus, these factors, together with the totality of the circumstances, support an affirmative
     determination of circumvention.


     “Hydrofluorocarbon Blends from the People’s Republic of China: Surrogate Values Submission,” dated January 13,
     2020).
     177
         Id.at 5 and Attachment 1.
     178
         Id. at 6 and Attachment 2.
     179
         Id. at 5 and Attachment 1 (showing BMP’s total cost for HFC blends R404A, R407C, and R407A represented
     4.66, 10.37, and 6.55 percent of the total U.S. sales value, demonstrating that BMP’s processing performed in the
     United States represents a small proportion of the value of HFCs blends sold in the United States.) Id. at 5 and
     Attachment 2 (showing that the value of Chinese merchandise as a portion of the total value of U.S. sales for HFCs
     blends R407C, R407A, and R404A represents 80.02, 80.10, and 93.54 percent of the total U.S. sales value.).


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     We reject BMP’s argument that Commerce’s value analysis is incorrect. BMP claims that
     Commerce’s value analysis under section 781(a)(1)(D) is unreasonable because it compared the
     value of all Chinese-imported inputs to the value of the finished blends, rather than focusing on
     the value of R-421A, which is the subject of the circumvention inquiry.180 Since China is an
     NME country, we valued R-421A using Mexican GTA data for HFC blends (i.e., HS heading
     38.24.7801).181 Commerce has consistently used its surrogate value methodology in conducting
     circumvention proceedings for NME countries, and as discussed in Comment 4, we continue to
     find that it is appropriate to apply this methodology. Further, despite BMP’s claims to the
     contrary, our analysis does not include the value of components other than the merchandise
     subject to this anti-circumvention inquiry.182

     Similarly, we find that the value analysis conducted under section 781(a)(2)(E) of the Act, is
     reasonable because, as required by the Act, we determined whether the value of the processing
     performed in the United States represents a small proportion of the value of the merchandise sold
     in the United States, by using the value of the processing costs that were incurred by BMP in the
     United States as a proportion of the total value of BMP’s sales for each specific blend. Although
     Choice argues Commerce should disregard any of BMP’s further processing costs to convert R-
     421A into finished HFC blends in the United States, because the methodology applied in the
     Preliminary Determination demonstrates clear evidence of circumvention, we find that it is
     unnecessary to apply another methodology to calculate BMP’s further processing costs for the
     final determination.183

     Choice makes additional arguments which largely lack substantial record evidence (e.g.,
     Commerce should obtain information on the market value of HFC blends and components in the
     relevant time frame and should consider the ownership of BMP affiliates and investigate the
     existence of preferential pricing from affiliated Chinese companies or subsidies from the
     Government of China), but since (1) it is too late in the proceeding to collect additional
     information; and (2) we have already made a finding of anti-circumvention in the Preliminary
     Determination, and we have found no reason to change the results in the final determination, we
     find that it is unnecessary to consider additional information or conduct the further analyses
     hypothesized by Choice.


     180
         See BMP’s Case Brief at 5-6.
     181
         BMP’s argument suggests that Commerce inappropriately included components that were not subject to the
     inquiry, but overlooks that the HS category used to value R-421A is the category placed on the record by parties in
     this proceeding and most closely represents the imported R-421A. Likewise, we did not include any additional
     components in our analysis under section 781(a)(1)(D). See BPI Analysis Memo at 6 (citing Petitioners’ Letter,
     “Hydrofluorocarbon Blends from the People’s Republic of China: Initial Surrogate Country Selection Comments,”
     dated January 3, 2020 and Petitioners’ Letter, “Hydrofluorocarbon Blends from the People’s Republic of China:
     Surrogate Values Submission,” dated January 13, 2020).
     182
         See BPI Analysis Memorandum at 5-6, Attachment 2, and associated surrogate value data showing that we used
     only HS category 3824.78.01 (category representing an HFC blend) to value the unpatented R421A input.
     183
         As noted above, see BPI Analysis Memorandum at Attachment 1 (showing BMP’s total cost for HFC blends
     R404A, R407C, and R407A represented 4.66, 10.37, and 6.55 percent of the total U.S. sales value, demonstrating
     that BMP’s processing performed in the United States represents a small proportion of the value of HFCs blends
     sold in the United States.) Id. at 5 and Attachment 2 (showing that the value of Chinese merchandise as a portion of
     the total value of U.S. sales for HFCs blends R407C, R407A, and R404A represents 80.02, 80.10, and 93.54 percent
     of the total U.S. sales value).


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     Comment 4: Use of Surrogate Values to Value Material Inputs

     In the Preliminary Determination we noted that, because the purpose of this proceeding is to
     determine whether merchandise is being further-processed in the United States in order to
     circumvent the HFCs Order on China, an analysis of BMP’s China-origin input costs falls under
     the purview of the Commerce’s NME AD methodology. Therefore, we utilized a Mexican
     surrogate value to value the input in question to determine whether the value of the merchandise
     produced in China is a significant portion of the value of the merchandise sold in the United
     States, pursuant to section 781(a)(1)(D) of the Act.184

     BMP’s Argument

     •     Commerce must determine circumvention using the actual values for the imported R-
           421A.185 Consequently, there is no legal basis for using surrogate values, since Commerce
           initiated the anti-circumvention inquiry pursuant to section 781 of the Tariff Act of 1930,186
           and is not calculating normal value, which is covered under section 773 of the Act187 relating
           to NME proceedings.188 Further, Commerce’s regulations require that components are
           valued at the actual value at the time of import, except if the components were purchased
           from an affiliated person, which is not the case here.189

     Petitioners’ Rebuttal Argument

     •     Commerce should continue to use surrogate values for this anti-circumvention inquiry.190
           Neither the statute nor Commerce’s regulations preclude the use of Commerce’s NME
           methodology in anti-circumvention inquiries, including the use of surrogate values.191
           Further, using surrogate values in anti-circumvention inquiries is consistent with
           Commerce’s practice.192

     •     As explained in the Preliminary Determination, Commerce found using surrogate values was
           appropriate because the inquiry is an anti-circumvention proceeding initiated under the HFCs
           Order, which is an NME proceeding.193 Following BMP’s interpretation of the statute, if
           Commerce relied on actual prices for Chinese HFC components, BMP and its suppliers could
           circumvent the Order simply be manipulating the price.194 This approach would reward the



     184
         See Preliminary Determination PDM at 10-11.
     185
         See BMP’s Case Brief at 5.
     186
         Id. at 4 (citing Section 781 of the Act).
     187
         Id. at 4 (citing Sections 773(c)(1) and 773(c)(2) of the Act).
     188
         Id. at 5.
     189
         See BMP’s Case Brief at 5 (citing 19 CFR 351.225(g) and 773(f)(3) of the Trade Act).
     190
         See Petitioners’ Rebuttal Brief at 7-8 (citing 19 CFR 351.225(g) and 773(f)(3) of the Trade Act).
     191
         Id. at 7 (citing Petitioners’ Letter, “Rebuttal Surrogate Country Comments,” dated January 2020 at 2-7).
     192
         Id. at 7 (citing Preliminary Determination PDM at 10-11; Small Diameter Graphite Electrodes from the People’s
     Republic of China: Affirmative Final Determination of Circumvention of the Antidumping Duty Order, 77 FR
     47596 (June 6, 2012) (Graphite Electrodes from China), and accompanying IDM at Comment 2).
     193
         Id. at 7-8.
     194
         Id. at 8.


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           most egregious sales at less-than-fair-value, by excluding those components from the
           Order.195

     Choice’s Rebuttal Argument

     •     Commerce should reject BMP’s arguments for the following reasons: (1) the record supports
           circumvention regardless of whether surrogate values or actual prices are considered;196 (2)
           the CIT has explicitly approved using a surrogate value methodology in anti-circumvention
           proceedings;197 (3) BMP was unable to provide evidence showing that it was not affiliated
           with its suppliers; and (4) BMP has maintained a non-arm’s length relationship with T.T.
           International (TTI), as detailed in pending federal court litigation between BMP and TTI.198

     Commerce’s Position:

     In the Preliminary Determination, to determine whether the process of assembly in the United
     States is minor or insignificant, we analyzed the five factors under section 781(a) of the Act.
     One of the factors we analyzed, involved a surrogate value methodology to determine whether
     the value of the parts or components referred to in subparagraph (B) (i.e., parts or components
     produced in the foreign country with respect to which such order or finding applies) is a
     significant portion of the total value of the merchandise.199 In the Preliminary Determination,
     consistent with our practice in prior circumvention cases involving non-market economies, we
     used a surrogate value methodology for this factor.200 Because this analysis under section
     781(a)(1)(D) of the Act involves an NME country (i.e., China), we used a surrogate country
     (Mexico) to value the unpatented R-421A in question.201

     While BMP claims that we have no authority to use a surrogate value methodology in anti-
     circumvention cases or that the facts are different here, we disagree. Circumvention analyses
     take into account the particular facts of each proceeding. In this case, we are analyzing the value
     of the inputs coming from China. Unpatented R-421A is produced in China, an NME country,
     and is further processed into subject HFC blends in the United States. While real prices paid for
     inputs are typically used in the cost buildup for ME companies in ME proceedings, this is an
     anti-circumvention proceeding that pertains to the HFC blends from China Order, which is an
     NME proceeding. The presence of government controls on various aspects of NMEs render
     calculation of production costs invalid under Commerce’s normal methodologies. The purpose
     of anti-circumvention inquiries is to determine whether merchandise being sold to the United
     States is circumventing the HFC blends Order on China. Thus, the application of Commerce’s

     195
         Id. at 8 (citing Rhone Poulenc, Inc. v. United States, 899 F. 2d 1185, 1188 (Fed. Cir. 1990) showing that the
     Federal Circuit has previously rejected interpretations of the statue that would in effect reward companies who
     engage in dumping.).
     196
         See Choice’s Rebuttal Brief at 2.
     197
         Id. at 2 (citing U.K. Carbon and Graphite Co., Ltd. v. U.S., 931 F. Supp. 2d 1322, 1336 (CIT 2013) (U.K. Carbon
     and Graphite)).
     198
         Id. at 2 (citing Complaint (ECF#1), T.T. International Co., Ltd. v. BMP International Co, Ltd. et al., No. 19-
     02044 (M.D. Fla. field August 16, 2019)).
     199
         See section 781(a)(1)(D) of the Act.
     200
         See Graphite Electrodes from China IDM at Comment 2, as upheld by the Court in U.K. Carbon and Graphite.
     201
         See Preliminary Determination PDM at 10-11.


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     NME methodology is appropriate to analyze the unpatented R-421A costs in China. Nothing in
     the statute precludes us from using a surrogate value methodology in a circumvention inquiry.
     Also, we have used a surrogate value methodology in prior circumvention analyses involving
     NME countries,202 and the CIT has upheld this practice in our circumvention determinations.203

     While BMP asserts that Commerce use its ME purchases to evaluate the value of Chinese inputs,
     BMP misses the point of our analysis of the value of the subject merchandise. We are not
     valuing BMP’s cost of its components; rather we are valuing components produced in China, in
     accordance with section 781(a)(1)(D) of the Act. The ME purchases from other countries by a
     Chinese company do not represent the value of the merchandise produced in China, which is the
     goal of our analysis.

     Further, we do not find BMP’s argument that the regulations allow Commerce to resort to the
     methodology under section 773(f)(3) of the Act only when components were purchased from an
     affiliated person to be persuasive. As noted above, Commerce has a consistent practice to use a
     surrogate value methodology in anti-circumvention cases for NME countries, which has been
     upheld by the CIT. 204 Moreover, although BMP references section 773(f)(3) of the Act, that
     section is related to the calculation of normal value for market economies, and does not pertain
     to NME countries.205 Even assuming, arguendo, we found the portion of the statute cited by
     BMP to be meaningful for our analysis, BMP was unable to provide evidence demonstrating that
     its purchases of R-421A were made on an arm’s length basis or came from unaffiliated suppliers.
     On the contrary, record evidence shows that BMP has maintained a long-standing relationship
     with certain Chinese suppliers of the merchandise in question and one of its companies is
     partially-owned by a Chinese company, which has subsidiaries that produce and export HFC
     components and subject blends.206 Therefore, we find no reason to change our valuation
     methodology for the final determination.

     Comment 5: Certification Requirements

     In the Preliminary Determination we stated that “{i}n light of Commerce’s preliminary finding
     of circumvention, Commerce intends to consider whether to require importers of patented R-
     421A who claim their merchandise is not subject to the Order to maintain certification that the
     imported product is Choice® R-421A; and thus, meets the terms of the exclusion.”207 Therefore,
     we invited interested parties to comment on this issue.

     Petitioners Arguments


     202
         See, e.g., Graphite Electrodes from China IDM at Comment 2; see also CORE from China IDM at Comment 6.
     203
         See U.K. Carbon and Graphite, 931 F. Supp. 2d 1322, 1336.
     204
         Id.
     205
         See 773(f)(3) with heading “{s}pecial Rules for Calculation of Cost of Production and for Calculation of
     Constructed Value. For purposes of subsections (b) and (e).” We note that NMEs fall under 773(c), not subsections
     773(b) and 773(e).
     206
         See BPI Analysis Memorandum at 7, showing that BMP maintained a long-standing customer-supplier
     relationship with one of the Chinese suppliers from the underlying investigation and one of BMP’s companies is
     partially-owned by a Chinese company named Zhejiang Juhua Co. Ltd.
     207
         See Preliminary Determination PDM at 21.


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     •     Commerce should adopt a certification regime or use particularized 10-digit case numbers to
           ensure that it is able to collect cash deposits on imports of unpatented R-421A but does not
           unlawfully collect cash deposits on entries of non-subject, patented Choice® R-421A.208

     •     Similar to a certification regime adopted by Commerce and CBP in other anti-circumvention
           cases, Commerce should instruct CBP to collect cash deposits and suspend liquidation for all
           entries of R-421A that are not accompanied by a certification executed by the importer of
           record that should: (1) identify the importer of record; (2) identify the Chinese producer and
           the exporter; (3) prove the goods are properly patented; and (4) identify the license
           agreement authorizing the production of the goods being entered.209

     •     The importer of record should be prepared to provide the certification and supporting
           documentation to CBP and/or Commerce, upon request for a specific time period.210
           Alternatively, Commerce could isolate excluded entries by assigning foreign producers
           unique 10-digit case numbers for use within the AD/CVD Case Reference File, which is
           within ACE.211 Such a case number could be assigned only to entries to the company that
           produces Choice® R-421A, ensuring that the exclusion would only apply to this product.
           Using a 10-digit case number has the following benefits: (1) it will be easier for CBP to
           enforce by not requiring the need for certifications or supporting documents; (2) because case
           numbers would be established within anti-circumvention determinations, interested parties
           would have an opportunity to weigh and comment on the merits of such assignments; and (3)
           where eligibility for a previously assigned 10-digit case number changes, interested parties,
           including the importer of record, could seek modification through a changed circumstances
           review.212

     Commerce’s Position:

     We find that the implementation of certification requirements, as outlined by the petitioners, is
     appropriate in this instance. Additionally, these certification requirements provide a means for
     companies like Choice to avoid application of AD duties under the HFCs Order for Choice® R-
     421A and prevent companies from exporting/importing unpatented versions of this product
     without paying the appropriate duties.

     For the purposes of this anti-circumvention final determination, we have included certification
     language in the Federal Register notice,213 and we will also include such certification language
     in our customs instructions to CBP, requiring that the importer/exporter identify the importer of
     record and the Chinese producer/exporter; provide documentation showing the goods are
     properly patented; and identify the license agreement authorizing the production of the goods
     being entered. The certification requirements are similar to requirements adopted in numerous
     208
         See Petitioners’ Case Brief at 2-3.
     209
         Id. at 2-3.
     210
         Id. at 2-3.
     211
         Id. at 4-5 (citing https://www.cbp.gov/sites/default/files/assets/documents/2017-Feb/ace-terminology-10digit-
     company-status-20170125.pdf, to show an explanation of CBP implementation of 10-digit case numbers provided
     by Commerce).
     212
         Id. at 4-5.
     213
         See Appendices II, III, and IV of the Federal Register notice that accompanies this decision memorandum.


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     other anti-circumvention inquiries.214 We find that these requirements are appropriate to ensure
     that duties ai-e only collected on unpatented R-421A that are subject to this anti-circumvention
     inquiiy and not on patented Choice® R-421A, which is explicitly excluded from the order. In
     this regard, we note that the ce1tifications requiI·e timely completion at the time of shipment.
     Thus, while the ce1tifications are only provided to CBP and Commerce on request, the
     ceitifications must be completed in real time on an enhy- and shipment-specific basis. Further,
     we are unable to use the IO-digit case number, as suggested by the petitioner because ( I) there is
     no existing mechanism to ti·ack or update such a specialized case number; (2) it could provide
     Choice's expo1ter with a duty-free loop-hole to ship other HFC blends through; and (3) in the
     future, there may be other licensed expo1ters of Choice® R-421A, and/or the cunent license
     holder may lose its license to expo1t Choice® R-421A.

     VI.     RECOMMENDATION

     Based on our analysis of the comments received, we recommend adopting all of the above
     positions. If accepted, we will publish the final detennination of this scope mling and
     anticiI·cumvention inquiiy in the Federal Register.

                                                 □

     Agree                                        Disagree

                                         5/28/2020



       X

       Signed by: JOSEPH LAROSKI



     Joseph Laroski
     Deputy Assistant Secreta1y
      for P olicy and Negotiations




     214See, e.g. , Certain C01rosion-Resistant Steel Products from Taiwan: Affinnati11e Final Determination of
     Circumvention lnqui1y on the Antidumping Duty Order, 84 FR 70937 (December 26, 2019).


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                            Exhibit 2




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                                               November 15, 2019

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                                                           E&C: Operations

                                                           PUBLIC VERSION
                                                           Business Proprietary Information removed
                                                           from brackets in Attachment I pages 1 and 3,
                                                           and Attachment II-A to II-D.

       Honorable Wilbur Ross
       Secretary of Commerce
       U.S. Department of Commerce
       Attention: Enforcement and Compliance
       Central Records Unit, Room 1870
       14th Street and Constitution Avenue, N.W.
       Washington, D.C. 20230

                     Re:     Hydrofluorocarbon Blends from the People's Republic of China:
                             Response to Quantity and Value Questionnaire

       Dear Secretary Ross:

               On behalf of Gujarat Fluor ochemicals Limited ("GFL"), we hereby submit the

       foregoing quantity and value questionnaire response in the above-referenced proceeding.


                               REQUEST FOR PROPRIETARY TREATMENT

               Certain information contained herein is business confidential data that is proprietary.

       This information is enclosed with brackets("[]"). Disclosure of this information would cause

       substantial competitive and commercial harm to the parties. Such data is marked as "Proprietary

       Treatment Requested." Confidential treatment, subject to administrative protective order, is
                                                                                            Husch Blackwell LLP




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       requested pursuant to 19 C.F.R. § 351.105(c) (2012). Information marked as business

       proprietary has been so marked for one or more of the following reasons, in accordance with 19

       C.F.R. §351.105(c) (2012):

               (1)      Business or trade secrets concerning the nature of a product or production
                        process;
               (2)      Production costs (but not the identity of the production components unless a
                        particular component is a trade secret);
               (3)      Distribution costs and channels of distribution;
               (4)      Terms of sale (but not terms of sale offered to the public);
               (5)      Prices of individual sales, likely sales, or other offers (but not components of
                        prices, such as transportation, if based on published schedules, dates of sale,
                        product descriptions except business or trade secrets described in term 1 above, or
                        order numbers);
               (6)      Names of particular customers, distributors, or suppliers (but not destination of
                        sale or designation of type of customer, distributor, or supplier, unless the
                        designation of destination would reveal the name);
               (7)      In an antidumping proceeding, the exact amount of the dumping margin on
                        individual sales;
               (8)      In a countervailing duty proceeding, the exact amount of benefits applied for or
                        received by a person from each of the programs under investigation ... ;
               (9)      The names of particular persons from whom business proprietary information was
                        obtained;
               (10)     The position of a domestic producer or workers regarding a petition;
               (11)     Any other specific business information the release of which to the public would
                        cause substantial harm to the competitive position of the submitter.

               The following lists the pages in which the business proprietary information appears and

       the reason (referenced by the same number as listed above) that proprietary treatment is

       requested for such information.



                             Pages & Exhibit                              Reason Number
                      Attachment I pages 1 and 3, and                          2, 11
                          Attachment II-A to II-D

               The disclosure of this information would cause substantial competitive harm to GFL.

       Where appropriate, the data will be ranged or indexed in the public version of this submission.



                                                                                           Husch Blackwell LLP




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               Please contact us if you have any questions regarding this submission, or require

       additional information.

                                                    Respectfully submitted,

                                                    HUSCH BLACKWELL




                                                     Nithyk Nagarajan     1




                                                                                         Husch Blackwell LLP




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       Nithya Nagarajan
       Partner

       750 17th St. N.W., Suite 900
       Washington, DC 20006-4675
       Direct: 202.378.2409
       Fax: 202.348.2319
       nithya.nagarajan@huschblackwell.com




                                       REPRESENTATIVE CERTIFICATION

        I, Nithya Nagarajan, with Husch Blackwell LLP, counsel to Gujarat Fluorochemicals
        Limited, certify that I have read the attached submission of Hydrofluorocarbon Blends from
        the People's Republic of China: Quantity and Value Questionnaire Response, due on
        November 15, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
        Blends from the People's Republic of China (A-570-028). In my capacity as a counsel of this
        submission, I certify that the information contained in this submission is accurate and complete
        to the best of my knowledge. I am aware that U.S. law (including, but not limited to, 18 U.S.C.
        1001) imposes criminal sanctions on individuals who knowingly and willfully make material
        false statements to the U.S. Government. In addition, I am aware that, even if this submission
        may be withdrawn from the record of the AD/CVD proceeding, the Department may preserve
        this submission, including a business proprietary submission, for purposes of determining the
        accuracy of this certification. I certify that I am filing a copy of this signed certification with this
        submission to the U.S. Department of Commerce and that I will retain the original for a five-
        year period commencing with the filing of this document. The original will be available for
        inspection by U.S. Department of Commerce officials.



                 Signature:    f/.#.y()._
                 Date:        11/15/19




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                                                                                            GUJARAT
                                                                                            FLUOROCHElVIICALS
                                                                                            LIMITED
                                                                                            {Earlier kn.own as lnox F!uorochemicals Limited}




                                                       COMPANY CERTIFICATION

        I, Manoi Agrawal, Chief Financial Officer, currently employed by Gujarat Fluorochemicals
        Limited certify that I prepared or otherwise supervised the preparation: of the attached
        submission of Hydrofluorocarbon Blends from tltc People's Republic of China: Ouantitv
        and Value Questionnaire Response, due on November 15. 2019. pursuant to the Anti-
        Circumvention Inquirv on Hydrofluorocarbon Blends from the People's Republic of China
        (A-570-028). I certify that the public infonnation and arty business proprietary information of
        Gujarat Fluorochemkals Limited contained in the submission is accurate and complete to the
        best of my knowledge. I am aware that the infonnation contained in this submission may be
        subject to verification or corroboration (as appropriate) bytheU.S, Department of Commerce. I
        am also aware that U.S. law (including, but not limited to, 18 U.S.C.1001) imposes criminal
        sanction on individuals who knowingly and willfully n.take. material false statements. to the U.S.
        Government. In addition, I an1 aware that, even if this submission may be withdraw11 from the
        record of the AD/CVD proceeding, the U.S. Department of Commerce may preserve this
        submission, including a business proprietary submission, for purposes of detem1ining the
        accuracy of this certification. ertify that a copy of this signed certification will be filed with
        this submission to the U.S e rtment of Commerce.




                Date:           November 15, 2019




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                                                  PUBLIC SERVICE LIST
                         Hydrofluorocarbon Blends from the People's Republic of China
                                             Case No. A-570-028
                                        Anti-Circumvention Inquiry:
                                               Indian Blends

               I, Nithya Nagarajan, hereby certify that a copy of the foregoing submission was served in
       accordance with the Public Service List, published by the U.S. Department of Commerce on June 25, 2019.
       Service was made on the following parties on November 15, 2019.
      Jarrod M. Goldfeder, Esq.
      Trade Pacific PLLC
      660 Pennsylvania Avenue, SE
      Suite 401
      Washington, DC 20003

      James R. Cannon Jr., Esq.
      Cassidy Levy Kent (USA) LLP
      900 19th Street, NW
      Suite 400
      Washington, DC 20006

      Sarah Sprinkle, Esq.
      Wilmer Cutler Pickering Hale and Dorr LLP
      1875 Pennsylvania Ave., NW
      Washington, DC 20006




               /s/Nithya Nagarajan
               Nithya Nagarajan




                                                                                             Husch Blackwell LLP




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                                           ATTACHMENT I

       Submit all completed charts required by this questionnaire in Excel format.

       1.      In the chart provided in attachment II-A, please provide monthly and total quantity (in
               kilograms) and monthly and total value (in U.S. Dollars)4 of your shipments of HFC
               blends (i.e., R-404A, R-407A, R-407C, R-410A, and R-507/R-507A) for the time period
               of July 1, 2011, through June 30, 2019. Provide a narrative explanation of how you
               aggregated these data from your books and records.

               Response:

               Gujarat Flourochemical Ltd. ("GFL") utilizes a (                 ] to maintain its
               accounting records. The data provided at Attachment II was generated from the
               I           ] using the [
                                         ). The I                 ] also segregate the sales of
               HFC Blends and non-HFC Blends which are the basis of all the reported data.

       2.      Provide a narrative description of your production process for each blend exported to
               the United States, including whether you self-produce one or more of the components
               and the source of any components not self-produced.

               Response:

               GFL only produces HFC-410A and HFC-407C

               ►      HFC-410a: - HFC-410A is a zeotropic blend of R32 and R125 in equal
                      proportion where an equal quantity of both R32 and R125 are blended in a
                      suitably designed and sized tank. A closed circulation process whereby both
                      R32 and R125 are mixed via a suitable pump to obtain a homogeneous blend.
                      GC (Gas Chromatography) analysis is performed to ensure a proper blend.
                      Rl25 is produced by GFL at its Dahej unit which manufactures the Rl25
                      using I
                            ] as raw material inputs; R32 is mostly imported but is sourced from
                      other Indian suppliers as well. Any raw material components which are
                      imported are done so in approved ISO containers. The product is exported
                      either in approved disposable cylinders or ISO containers.

               ►      HFC-407C: - HFC 407C is zeotropic blend of R32, Rl25 and R134a with a
                      ratio of 23%; 25% and 52% respectively. R32, Rl25 and R134a in the
                      specific proportions are are blended in a suitably designed and sized tank. A
                      closed circulation process whereby all three refrigerants are mixed via a
                      suitable pump to obtain a homogeneous blend. GC (Gas Chromatography)
                      analysis is performed to ensure a proper blend. R125 is produced by GFL at
                      its Dahej unit which manufactures the Rl25 using (
                                                                           ] as raw material inputs.




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                      R32 is imported from China and R134a is imported from United States. Raw
                      material is imported in approved ISO containers. The product is exported
                      either in approved disposable cylinders or ISO containers.

       3.      Identify your top five U.S. importers. Fill in the chart provided in attachment 11-B
               with the monthly quantities and values of your shipments of HFC blends to each of
               your top five U.S. importers.

               Response:

               Please see attachment 11-B which provides the monthly quantities and values of
               shipments ofHFC blends to GFL's top five U.S. importers.

       4.      State whether you are affiliated with any:

                    a. producers ofHFC components R-32, R-125, R-134a, and/or R-143a in China;
                    b. exporters ofHFC components R-32, R-125, R-134a, and/or R-143a in China;
                    or c. importers of HFC blends in the United States.

               If yes, please identify those producers, exporters, or importers.

               Response:

               GFL is not affiliated with producers, exporters, or importers in China.

               GFL exports blends of HFCs directly to the U.S. market as well as through GFL
               LLC USA, which is our wholly owned subsidiary, who in turn sells HFC blends in
               the United States. GFL does not have any other affiliated relationship in the United
               States with any producer, exporter, or importer


       5.      Indicate whether you imported or purchased any HFC components from China during the
               period July 1, 2011, through June 30, 2019 (i.e., R-32, R-125, R-134a, or R-143a).

               If you did import or purchase any HFC components originating in China during the time
               period July 1, 2011, through June 30, 2019, please respond to the questions below. If
               you did not import or purchase components from China during the time period July 1,
               2011, through June 30, 2019, you are not required to complete the remaining questions.

               Response:

               During the time period July 1, 2011 to June 30, 2019, GFL purchased R-32 from
               suppliers in China and imported the R-32 into India for its consumption and
               blending operations in India. GFL did not resell R-32 to the United States as R-32
               during this time period.


                                                         2




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       6.          Identify your top five Chinese suppliers of HFC components during the time period July
                   1, 2011, through June 30, 2019, and which component(s) you purchase from each
                   supplier.

               Response:

               GFL's top five Chinese suppliers for the period July 1, 2011 to June 30, 2019 are
               provided below:


                           Name of Chinese Suppliers                    Name of Goods Supplied

               I                                                                                 ]

               I                                                                                 ]

               I                                                                                 ]

               I                                                                                 ]

               I                                                                                 ]



       7.      Fill in the chart provided in attachment 11-C with the monthly quantities and values
               of your purchases/imports ofHFC components from China.

               Response:

               Please see attachment 11-C, which provides the monthly quantities and values
               of purchases/imports ofHFC components from China.

               It is important to note that GFL purchases and imports R-32 from China as
               there are limited sources of R-32 in India of the grade and quality required by
               GFL for its production operations. In order for GFL to continue to operate its
               business and production plants in India it needs a regular and steady source of
               supply of R-32 which it is unable to obtain in consistent quantities which is
               suitable to its production schedule. Accordingly, it has no choice but to source
               this material from China.

       8.      Provide a detailed narrative response as to what your company does with the imported
               HFC components from China (including, but not limited to, whether your company,
               or another company on behalf of your company, blends them to create HFC blends,
               resells the HFC components, etc.).

               Response:

               Please see the response above to Question 2.

       9.      If your company, or another company on behalf of your company, blends the HFC

                                                         3




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                components from China, identify all RFC blends (e.g., R-404A, R-407A, R-407C, R-
                410A, or R-507/R-507A) your company produces using the imported RFC
                components. Please also identify if the RFC blends are then exported to the United
                States.

               Response:

               Please see the response above to Question 2.

       10.     If your company, or another company on behalf of your company, blends the imported
               RFC components to create RFC blends, complete the chart in attachment II-D, which
               details the monthly quantities and values of each RFC blend identified in question 9
               using the imported RFC components for the period of July 1, 2011, through June 30,
               2019.

               Response:

               Please see attachment 11-D, which provides the monthly quantities and values of
               each HFC blends produced by GFL during the period July 1, 2011 to June 30,
               2019.




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                      ATTACHMENT II-A




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                                                                                                   HFC Blends Exported from India                                                                                            I
                                      R-404A             I              R-407A            I             R-407C               I             R-410A            I           R-507/R-507A          I   Total Monthly Exports     I
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               Total                                                                                        1,500,000                                                                          2400000          15,000,000




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                      ATTACHMENT 11-B




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                                                                                                                           AH■dunmt       11-B

                                                                               Quantity and Value of Shipments of HFC Blends to Top 5 U.S. Customers/Importers
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                      ATTACHMENT 11-C




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                                                                                                              Attachment Il-C

                                                                 Quantity and Value of RFC Components Imported/Purchased from China
                                            R-32           I                   R-125                 I               R-134a                   I                R-143a               I     Total Monthly Imports
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                      ATTACHMENT 11-D




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                                                                                                                                                                                                                            PUBLIC VERSION


                                                                                                                                                    Attachment Il-D

                                                                                   Quantity and Value ofHFC Blends Produced Using Imported R-32. R-125. R-134a. and/or R-143a
                                                                          R-410A             I                      R-407C                      I                                   I                                   I
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     Annual Average Con of Producllon 2018-19 u per Co
     • Cost of Production obtained from Annual Cost records of the Company and converted to USO by applylngmonthly exchange rate.
     • Monthly exchange rates obtained from

      • Production of R·410 lndudes P,oCuctlon from 1Ml2 domestic purch,1~11: ci!                      During the fln;i.:iclat year 20:!.7·18




                                                                                                                                                JA389
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                                                                  PUBLIC VERSION




                  2017
         Jan-17           70
         Feb-17
         Mar-17
         Apr-17
         May-17
         Jun-17
         Jul-17
         Aug-17
         Sep-17
         Oct-17
         Nov-17
         Dec-17

                  2018
         Jan-18          65
         Feb-18
         Mar-18
         Apr-18
         May-18
         Jun-18
         Jul-18
         Aug-18
         Sep-18
         Oct-18
         Nov-18
         Dec-18

         2019
         Jan-19
         Feb-19
         Mar-19
         Apr-19
         May-19
         Jun-19          70




                                      JA390
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Attachment 2




                            Exhibit 3




                                  JA391
Attachment 2




                                                                                                                                                                                                       USCA Case #21-1251
                                                                                                                                                Port of    In bond      Foreign               Weight
   Bill of lading Nbr.    Date        Master/House   Carrier Code       Carrier    Vessel   IMO Code   Mode of Transport    Port of Departure                                        Weight
                                                                                                                                                Arrival   entry type   Destination             Unit
  ZIMUNGB9106548         2/4/2017 S                  ZIMU           ZIM            PORTO    9481520    VESSEL.             PORT            TAMPA,FL                                   182938 LB
                                                                    INTEGRATED                         CONTAINERIZED.      BUSTAMANTE,KING
                                                                    SHIPPING                                               STON,JAMAICA
                                                                    SERVICES LTD
  ZIMUNGB9106549         2/4/2017 S                  ZIMU           ZIM            PORTO    9481520    VESSEL.             PORT            TAMPA,FL                                    27778 LB
                                                                    INTEGRATED                         CONTAINERIZED.      BUSTAMANTE,KING




                                                                                                                                                                                                       Document #1955329
                                                                    SHIPPING                                               STON,JAMAICA
                                                                    SERVICES LTD
  ZIMUSNH3834282         2/4/2017 S                  ZIMU           ZIM            PORTO    9481520    VESSEL.             PORT            TAMPA,FL                                   400653 LB
                                                                    INTEGRATED                         CONTAINERIZED.      BUSTAMANTE,KING
                                                                    SHIPPING                                               STON,JAMAICA
                                                                    SERVICES LTD




                                                                                                                                                                                                         JA392
  ZIMUSNH3834326         2/4/2017 S                  ZIMU           ZIM            PORTO    9481520    VESSEL.             PORT            TAMPA,FL                                   333776 LB
                                                                    INTEGRATED                         CONTAINERIZED.      BUSTAMANTE,KING
                                                                    SHIPPING                                               STON,JAMAICA
                                                                    SERVICES LTD




                                                                                                                                                                                                       Filed: 07/15/2022
  ZIMUSNH3834343         2/4/2017 S                  ZIMU           ZIM            PORTO    9481520    VESSEL.             PORT            TAMPA,FL                                    66866 LB
                                                                    INTEGRATED                         CONTAINERIZED.      BUSTAMANTE,KING
                                                                    SHIPPING                                               STON,JAMAICA
                                                                    SERVICES LTD




                                                                                                                                                                                                       Page 396 of 561
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        .           .     .              Measure   Estimated     .                     .                   Consignee      Consignee Declared       .                   .                    Container
   Quantity    Quantity Unit   Measure    U .        D         Shipper Declared      Shipper Address        D         d        Add              Notify Name         Notify Address          Q     .         Month
                                            mt         ate                                                    ec Iare              ress                                                       uant1ty
       12600 CYL                   5933 CF            2/3/2017 NOT DECLARED                              (LM L_________   13809 20TH STREET    LM             13809 20TH STREET N UNIT                  3           2
                                                                                                         ~U ~ NUNITCTAMPA,FL                   SUPPLY.INC     CTAMPA,FL33613
                                                                                                                          33613
              2 TNK                1978 CF            2/3/2017 NOT DECLARED                              ~LM~             13809 20TH STREET    LM             13809 20TH STREET N UNIT                  2           2
                                                                                                          SUPPLY.INC      N UNIT C TAMPA.FL    SUPPLY.INC     C TAMPA.FL 33613
                                                                                                                          33613
        9600 CYL                  11866 CF            2/3/2017(T.T .INTERNATIONALJ ROOM 2911                              13809 20TH STREET    LM SUPPLY,     13809 20TH STREET N UNIT                  6           2
                                                                                   MANHATTAN BUILDING                     N UNIT C TAMPA, FL   INC            C TAMPA, FL 33613 TEL:001·
                                                                                   105 YOUHAO ROAD                        33613 TEL:001-813-                  813-298-8101
                                                                                   DALIAN 116001 CHINA                    298-8101
                                                                                   TEL:0411-82537172




                                                                                                                                                                                                                        JA393
        8000 CYL                   9888 CF            2/3/20171:r.T.INTERNATIONALJ ROOM 2911                              13809 20TH STREET    LM SUPPLY,     13809 20TH STREET N UNIT                  5           2
                                                               CO, LTDJ            MANHATTAN BUILDING                     N UNIT C TAMPA, FL   INC            C TAMPA, FL 33613 TEL:001 ·
                                                                                   105 YOUHAO ROAD                        33613 TEL:001-813-                  813-298-8101
                                                                                   DALIAN 116001 CHINA                    298-8101
                                                                                   TEL:0411-82537172
        1600 CYL                   1978 CF                                        ROOM 2911                               13809 20TH STREET    LM SUPPLY,     13809 20TH STREET N UNIT                              2
                                                                                  MANHATTAN BUILDING                      N UNIT C TAMPA, FL   INC            C TAMPA, FL 33613 TEL:001·
                                                                                  105 YOUHAO ROAD                         33613 TEL:001-813-                  813-298-8101
                                                                                  DALIAN 116001 CHINA                     298-8101
                                                                                  TEL:0411-82537172
                      USCA Case #21-1251                                  Document #1955329                                     Filed: 07/15/2022                      Page 398 of 561
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                      .         . .                     .          .      World Region    Country by    State of     Vessel        Final       Place of     Metric           .             .        •
           Short Container Description          In Transit   US Region     by Port of      Port of     A .    P rt   C    t     D f    f       R    . t     T          Harmonized     Container    Pieces
                                                                           Departure      Departure     rnva 1 o       oun ry    es ma 10n       ece1p       ans
  R-134A,12600 CARTONS IN 12oz DOT CAN      No               GULF        CARIBBEAN       ~~M_81C8'     FLORIDA, FL LIBERIA                   NIN GBO (ZJ)     82 .98                ZCSU2643069       4200
  T :151200CANS     UN NO.3159 CLASS NO.2.2
  R-1 34A,12600 CARTONS IN 12oz DOT CAN
  T :151200CANS     UN NO.3159 CLASS NO.2.2
  R-134A,12600 CARTONS I [MO RE]
  R1 34A IN 20000KG ISOTANK      UN NO.3159    No            GULF        CARIBBEAN       ~JAMAICl\l    FLORIDA, FL LIBERIA                   NIN GBO (ZJ)      12.6                 JHFU0121010
  CL ASS NO.2.2 R1 34A IN 20000KG ISOTANK
  UN NO.3159 CL ASS NO.2.2
  1,1,1,2-                                     No            GULF        CARIBBEAN       UAMAICA)      FLORIDA, FL LIBERIA                   SHANGHAI        181.73                 TGHU52 12587      1600
  TETRAFLUOROETHANE(REFRIGERANT GAS                                                                                                          (SH)
  R 1 34A)    [REFRIGERANT GAS R 134A]
  CLASS NO.:2.2 UN NO .:3159     FP:NO
  MP:NO N.W:130560KGS       24H:001-813-298-
  8101 ATT N:B EN MENG     [MORE]




                                                                                                                                                                                                             JA394
  1,1,1,2-                                  IN o             GULF        CARI BBEAN      !JAMAICA'     FLORIDA, FL LIBERI A                  SHANGHAI         151.4                 ZCSU2638268       1600
  TETRAFLUOROETHANE (REFRIGERANT GAS                                                                                                         (SH)
  R 1 34A)    [REFRIGERANT GAS R 134A]
  CLASS NO.:2.2 UN NO.:3159     FP:NO
  MP:NO N.W:108800KGS      24H:001-813-298-
  8101 ATT N:BEN MENG     [MORE]
  1,1,1,2-                                    IN o           GULF        CARIBBEAN       ~AMA!CA:      FLORIDA, FL LIBERI A                  SHANGHAI         30.33                 ZCSU2575067       1600
  TETRAFLUOROETHANE (REFRIGERANT GAS                                                                                                         (SH)
  R 1 34A) [REFRIGERANT GAS R 134A]
  CLASS NO .: 2.2 UN NO .:3159   FP :NO MP:NO
  N.W:2 1760KG S    24H:001-813-298-8101
  ATTN:BEN MENG HS :2903399090        [MORE]
Attachment 2




                                                                                                                                                                                            USCA Case #21-1251
                                  Marks &                                                                      Marks &
            Description                     Harmonized     Container   Pieces              Description                   Harmonized     Container   Pieces          Description
                                  Numbers                                                                      Numbers
  R-134A,12600 CARTONS IN 12OZ   N/M                     ZCSU2692021      4200 R-134A,12600 CARTONS IN 12OZ   N/M                     ZCSU2720308     4200 R-134A,12600 CARTONS IN 12OZ
  DOT CAN      T :151200CANS                                                   DOT CAN      T :151200CANS                                                  DOT CAN      T :151200CANS
  UN NO.3159 CLASS NO.2.2                                                      UN NO.3159 CLASS NO.2.2                                                     UN NO.3159 CLASS NO.2.2
  R134A IN 20000KG ISOTANK       N/M                     JHFU0121025            1 R134A IN 20000KG ISOTANK    N/M
  UN NO.3159 CL ASS NO.2.2                                                        UN NO.3159 CL ASS NO.2.2




                                                                                                                                                                                            Document #1955329
  1,1,1,2-                       N/M                     TGHU5223935      1600 1,1,1,2-                       N/M                     TTNU5691074     1600 1,1,1,2-
  TETRAFLUOROETHANE(REFRIGE                                                    TETRAFLUOROETHANE(REFRIGE                                                   TETRAFLUOROETHANE(REFRIGE
  RANT GAS R 1 34A)                                                            RANT GAS R 1 34A)                                                           RANT GAS R 1 34A)
  [REFRIGERANT GAS R 134A]                                                     [REFRIGERANT GAS R 134A]                                                    [REFRIGERANT GAS R 134A]
  C LASS NO.:2.2 UN NO.:3159                                                   C LASS NO.:2.2 UN NO.:3159                                                  C LASS NO.:2.2 UN NO.:3159
  FP:NO MP:NO N.W:130560KGS                                                    FP:NO MP:NO N.W:130560KGS                                                   FP:NO MP:NO N.W:130560KGS
  24H:001-813-298-8101 ATT N:BEN                                               24H:001-813-298-8101 ATT N:BEN                                              24H:001-813-298-8101 ATT N:BEN
  MENG      HS:2903399090                                                      MENG      HS:2903399090                                                     MENG      HS:2903399090
  1600CY                                                                       1600CY                                                                      1600CY




                                                                                                                                                                                              JA395
  LS/26560KGS/21760KGS/56CBM/40                                                LS/26560KGS/21760KGS/56CBM/4                                                LS/26560KGS/21760KGS/56CBM/4
  GP 5                                                                         0GP 5                                                                       0GP 5
  1,1,1,2-                       N/M                     ZCSU2650643      1600 1,1,1,2-                       N/M                     ZCSU2654675     1600 1,1,1,2-
  TETRAFLUOROETHANE(REFRIGE                                                    TETRAFLUOROETHANE(REFRIGE                                                   TETRAFLUOROETHANE(REFRIGE
  RANT GAS R 1 34A)                                                            RANT GAS R 1 34A)                                                           RANT GAS R 1 34A)
  [REFRIGERANT GAS R 134A]                                                     [REFRIGERANT GAS R 134A]                                                    [REFRIGERANT GAS R 134A]
  C LASS NO.:2.2 UN NO.:3159                                                   C LASS NO.:2.2 UN NO.:3159                                                  C LASS NO.:2.2 UN NO.:3159
  FP:NO MP:NO N.W:108800KGS                                                    FP:NO MP:NO N.W:108800KGS                                                   FP:NO MP:NO N.W:108800KGS




                                                                                                                                                                                            Filed: 07/15/2022
  24H:001-813-298-8101 ATT N:BEN                                               24H:001-813-298-8101 ATT N:BEN                                              24H:001-813-298-8101 ATT N:BEN
  MENG      HS:2903399090                                                      MENG      HS:2903399090                                                     MENG      HS:2903399090
  1600CY                                                                       1600CY                                                                      1600CY
  LS/26560KGS/21760KGS/56CBM/40                                                LS/26560KGS/21760KGS/56CBM/4                                                LS/26560KGS/21760KGS/56CBM/4
  GP 5                                                                         0GP 5                                                                       0GP 5
  1,1,1,2-                      N/M
  TETRAFLUOROETHANE(REFRIGE
  RANT GAS R 1 34A)
  [REFRIGERANT GAS R 134A]
  CLASS NO.: 2.2 UN NO.:3159
  FP:NO MP:NO N.W:21760KG S
  24H:001-813-298-8101 ATTN:BEN
  MENG HS:2903399090
  1600CYLS/26560KGS/21760




                                                                                                                                                                                            Page 399 of 561
  KGS/56CBM/40GP 1
Attachment 2




                                                                                                                                                                           USCA Case #21-1251
   Marks &                                                                           Marks &                                                                     Marks &
             Harmonized     Container   Pieces             Description                         Harmonized    Container    Pieces          Description
   Numbers                                                                           Numbers                                                                     Numbers
  N/M




                                                                                                                                                                           Document #1955329
  N/M                     ZCSU2560175     1600 1,1,1,2-                              N/M                    ZCSU2564000     1600 1,1,1,2-                       N/M
                                               TETRAFLUOROETHANE(REFRIGERANT                                                     TETRAFLUOROETHANE(REFRIGE
                                               GAS R 1 34A)     [REFRIGERANT GAS R                                               RANT GAS R 1 34A)
                                               134A]    C LASS NO.:2.2 UN NO.:3159                                               [REFRIGERANT GAS R 134A]
                                               FP:NO MP:NO N.W:130560KGS                                                         C LASS NO.:2.2 UN NO.:3159
                                               24H:001-813-298-8101 ATT N:BEN MENG                                               FP:NO MP:NO N.W:130560KGS
                                               HS:2903399090      1600CY                                                         24H:001-813-298-8101 ATT N:BEN
                                               LS/26560KGS/21760KGS/56CBM/40GP 5                                                 MENG      HS:2903399090
                                                                                                                                 1600CY




                                                                                                                                                                             JA396
                                                                                                                                 LS/26560KGS/21760KGS/56CBM/4
                                                                                                                                 0GP 5
  N/M                     ZCSU2685892     1600 1,1,1,2-                              N/M                    ZCSU2703229     1600 1,1,1,2-                       N/M
                                               TETRAFLUOROETHANE(REFRIGERANT                                                     TETRAFLUOROETHANE(REFRIGE
                                               GAS R 1 34A)     [REFRIGERANT GAS R                                               RANT GAS R 1 34A)
                                               134A]    C LASS NO.:2.2 UN NO.:3159                                               [REFRIGERANT GAS R 134A]
                                               FP:NO MP:NO N.W:108800KGS                                                         C LASS NO.:2.2 UN NO.:3159
                                               24H:001-813-298-8101 ATT N:BEN MENG                                               FP:NO MP:NO N.W:108800KGS




                                                                                                                                                                           Filed: 07/15/2022
                                               HS:2903399090      1600CY                                                         24H:001-813-298-8101 ATT N:BEN
                                               LS/26560KGS/21760KGS/56CBM/40GP 5                                                 MENG      HS:2903399090
                                                                                                                                 1600CY
                                                                                                                                 LS/26560KGS/21760KGS/56CBM/4
                                                                                                                                 0GP 5




                                                                                                                                                                           Page 400 of 561
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                            Exhibit 4




                                  JA397
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                             ttrtt:, '11 3Q OtlON111:> 13 3novs ON 'NQl:>N:u.v
                        ><oa IIIIOtl::ttl30Nl1A::> 3/\0111131:t .LON oa 'NOI.LN3UV




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                       WARNING:
                       DO NOT STO
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                           ERTENCIA                                  (
                       ADV       NO         EE                      RO
                       CALIENTA,            N LO   S
                       SIEMPAE PAO
                                                   --:-------- _
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                                  A
                     Non-f\ammable Liquefied Gas
                     UN3159 1,1,1,2-Tetrafluoroethane
                     CAS 811-97-2
                     O0T-39 NRC 260/325 M0708
                      S.P/T.P 1.8/2.3 MPa
                      NET WT. 30 lbs (13.6kg)

                      Gas liquido no flamable
REfRI                 UN3159 1,1,1,2-Tetrsfluoroetsn°

klE H~fRANJ           CAS 811-97-2
                      00T-39 NRC 2so/325 NI0708

 ~ C134a
                       S.P/T.P 1.8/2.3 NIPS
                       PESO NETO 30 tbs (13.6kg)


                        Made in/Hecho en Chin•




                                        JA399
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                            Exhibit 5




                                  JA400
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                                 +IUSCH BLACKWELL

    Nithya Nagarajan
    Partner

    750 17th St. N.W., Suite 900
    Washington, DC 20006-4675
    Direct: 202.378.2409
    Fax: 202.348.2319
    nithya.nagarajan@huschblackwell.com

                                             November 21, 2019

                                                       Case No. A-570-028
                                                       Total Pages: 27
                                                       Anti-Circ: Unpatented R-421A
                                                       E&C: Operations

                                                       PUBLIC VERSION
                                                       Business Proprietary Information removed
                                                       from brackets in Response pages 3-5.

     Honorable Wilbur Ross
     Secretary of Commerce
     U.S. Department of Commerce
     Attention: Enforcement and Compliance
     Central Records Unit, Room 1870
     14th Street and Constitution Avenue, N.W.
     Washington, D.C. 20230

                   Re:     Hydrofluorocarbon Blends from the People’s Republic of China:
                           Response to Quantity and Value Questionnaire

     Dear Secretary Ross:

              On behalf of the following companies:

              1. 7680 Paradise Point LLC
              2. 8105 Anderson LLC
              3. 8900 Armenia LLC
              4. AC Tampa Bay, Inc.
              5. Assured Comfort A/C Inc.
              6. BMP International, Inc.
              7. BMP Refrigerants Inc.
              8. E.T.S. of Tampa Bay, Inc.
              9. iGas USA Inc.
              10. iGas, Inc.
              11. MasterJ LLC

                                                                                      Husch Blackwell LLP




                                                 JA401
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                                +IUSCH BLACKWELL


            12. MS Fund LLC
            13. Organic Apple, LLC
            14. Organic Orange, L.L.C.
            15. U.S. Ladder, Inc.
            16. U.S. Metal of Tampa, Inc.

            Collectively named “BMP and its affiliates”, we hereby submit the foregoing quantity

     and value questionnaire response in the above-referenced proceeding. Each of the company

     certifications are being provided after the respective company’s Q&V response.


                           REQUEST FOR PROPRIETARY TREATMENT

            Certain information contained herein is business confidential data that is proprietary.

     This information is enclosed with brackets (“[ ]”). Disclosure of this information would cause

     substantial competitive and commercial harm to the parties. Such data is marked as “Proprietary

     Treatment Requested.” Confidential treatment, subject to administrative protective order, is

     requested pursuant to 19 C.F.R. § 351.105(c) (2012). Information marked as business

     proprietary has been so marked for one or more of the following reasons, in accordance with 19

     C.F.R. §351.105(c) (2012):

            (1)     Business or trade secrets concerning the nature of a product or production
                    process;
            (2)     Production costs (but not the identity of the production components unless a
                    particular component is a trade secret);
            (3)     Distribution costs and channels of distribution;
            (4)     Terms of sale (but not terms of sale offered to the public);
            (5)     Prices of individual sales, likely sales, or other offers (but not components of
                    prices, such as transportation, if based on published schedules, dates of sale,
                    product descriptions except business or trade secrets described in term 1 above, or
                    order numbers);
            (6)     Names of particular customers, distributors, or suppliers (but not destination of
                    sale or designation of type of customer, distributor, or supplier, unless the
                    designation of destination would reveal the name);
            (7)     In an antidumping proceeding, the exact amount of the dumping margin on
                    individual sales;
            (8)     In a countervailing duty proceeding, the exact amount of benefits applied for or
                    received by a person from each of the programs under investigation . . . ;
                                                                                        Husch Blackwell LLP




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                                                                        PUBLIC VERSION

                       OFFICE OF AD/CVD ENFORCEMENT
                     QUANTITY AND VALUE QUESTIONNAIRE

    REQUESTER(S):       7680 Paradise Point LLC
                        7680 Paradise Pointe Circle South
                        St Petersburg FL 33711

                        8105 Anderson LLC
                        8105 Anderson Road,
                        Tampa, FL 33634

                        8900 Armenia LLC
                        8105 Anderson Road
                        Tampa, Florida 33634

                        AC Tampa Bay, Inc.
                        8105 Anderson Road
                        Tampa, Florida 33634

                        Assured Comfort A/C Inc.
                        8105 Anderson Road
                        Tampa, Florida 33634

                        BMP International Inc.
                        8105 Anderson Road
                        Tampa, Florida 33634

                        BMP Refrigerants Inc.
                        8101 Anderson Road
                        Tampa, Florida 33634

                        E.T.S. Industry Inc.
                        8105 Anderson Road
                        Tampa, Florida 33634

                        iGas USA, Inc.
                        8105 Anderson Road
                        Tampa, Florida 33634

                        IGas, Inc.
                        8101 Anderson Road
                        Tampa, Florida 33634


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                                                                             PUBLIC VERSION

                           MasterJ LLC
                           8101 Anderson Road
                           Tampa, Florida 33634

                           MS Fund LLC
                           8101 Anderson Road
                           Tampa, Florida 33634

                           Organic Apple, LLC
                           5520 Anderson Road
                           Tampa, Florida 33614


                           Organic Orange, LLC
                           8101 Anderson Road
                           Tampa, Florida 33634


                           U.S. Ladder, Inc.
                           8101 Anderson Road
                           Tampa, Florida 33634

                           U.S. Metal of Tampa, Inc.
                           8101 Anderson Road
                           Tampa, Florida 33634

                           Ben Meng
                           President
                           813-298-8101
                           813-886-7900 (fax)
                           ben@bmp-usa.com

    REPRESENTATION:           Nithya Nagarajan
                              HUSCH BLACKWELL LLP
                              750 17th Street, NW,
                              Suite 900
                              Washington, D.C. 20006-4675
                              Direct: 202.378.2409
                              Fax: 202.378.2319
                                 Nithya.Nagarajan@huschblackwell.com

     CASE:                  Hydrofluorocarbon Blends from the People’s Republic of China

     DATE OF INITIATION:    June 18, 2019

     DUE DATE FOR Q&V RESPONSE:             November 14, 2019

     OFFICIALS IN CHARGE:          Andrew Medley, Ben Luberda

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                                                                                             PUBLIC VERSION



                                            ATTACHMENT I

       Please note that the Department of Commerce expects a response from each company in
       receipt of this questionnaire regardless of whether the company imported or exported the
       merchandise subject to this anti-circumvention inquiry from China into the United States.

       If you are a producer/exporter in the People's Republic of China (China) of merchandise
       subject to this inquiry, in response to the questions below, please include only sales exported
       by your company directly to the United States. However, if your company made sales to
       third-countries for which you have knowledge that the merchandise was ultimately destined
       for the United States, please separately identify these sales quantities and the location (i.e.,
       countries) to which you made the sales

       For all companies responding to this questionnaire, please use the invoice date when
       determining which sales to include within the period noted below. Generally, Commerce
       uses invoice date as the date of sale, as that is when the essential terms of sale are set. If you
       believe that another date besides the invoice date would provide a more accurate
       representation of your company's sales during the designated period, please report sales
       based on that date and provide a full explanation. Do not include any sales of merchandise
       subject to this inquiry manufactured in Hong Kong in your figures.

       Even if you believe that you should be treated as a single entity along with other exporters,
       please do not report aggregate data for all of the companies that you believe should be
       treated as a single entity but separately report your company's quantity and value data
       below. Quantity and value data pertaining to other, possibly affiliated companies, that you
       believe should be treated together with your company as a single entity should be separately
       reported by those companies.

       Submit all completed charts required by this questionnaire in Excel format.

       1.      In the chart provided in attachment II-A, please provide monthly and total quantity
               (in kilograms) and monthly and total value (in U.S . Dollars)4 of your shipments (if
               you are an exporter and/or producer) or imports (if you are an importer) of
               patented and/or unpatented R-421A or other blends ofR-125 and R-134a for the
               time period of July 1, 2011, through June 30, 2019. Provide a narrative
               explanation of how you aggregated these data from your books and records.

       All the above companies are not importers of patented or unpatented R-421A and
       therefore all reported values in Attachment II-A would be [      ]. Accordingly, no
       separate Attachment II is being filed in conjunction with this response.

       2.      Identify whether you are a producer, exporter, or U.S. importer of
               patented/unpatented R- 421A produced in China and please specify whether your
               produce, export, or import patented R-421A, unpatented R-421A, or both.

       All the above companies are not producers, exporters, or U.S. importers of patented or
       unpatented R-421A produced in China.

       7680 Paradise Point LLC is a company partially owned by [
                       ]. 7680 Paradise Point LLC [              ] at 7680 Paradise Pointe
                                                3



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                                                                                     PUBLIC VERSION


       Circle South, St Petersburg FL 33711. 7680 Paradise Point LLC has never been
       involved with any business related to R421A.

       8105 Anderson LLC is a company partially owned by [
                ]. 8105 Anderson LLC [             ] at 8105 Anderson Road, Tampa, FL
       33634. 8105 Anderson LLC has never been involved with any business related to
       R421A.

       8900 Armenia LLC is a company that was partially owned by [
                        ]. 8900 Armenia LLC has never been involved with any business
       related to R421A. As of [              ], 8900 Armenia LLC is no longer partially
       owned by [            ]

       AC Tam()a Ba Inc. is a company partially owned by [                                      ].
       AC Tampa Bay, Inc. has never been involved with any business related to R421A.

       Assured Comfort A/C Inc. is a company owned by [             ]. The company provides
       air conditioner repair services. Assured Comfort AC imported and sold refrigerant
       blends like R410A, R407C, R404A in the United States prior to 2014. Assured Comfort
       AC Inc. has never been involved in importing or selling R421A.

       BMP International Inc. is a company owned by [             ] and is an importer of HFC
       components and does not import R421A

       BMP Refrigerants Inc. is a company registered by [           ]. However, the business
       is not now nor has it ever been operational. BMP Refrigerants Inc. has never been
       involved with any business related to R421A

       E.T.S. Industry Inc was a [                             ] but it was [              ].
       E.T.S. Industry Inc. was never involved with any business related to R421A.

       iGas USA, Inc. is partially owned by [          ] and is an importer of HFC
       components and does not import R421A

       IGas, Inc. is a company registered by [           ] but the company has [
                               ]. iGas, Inc was registered to protect the iGas USA brand and to
       prevent other parties from registering a name similar to iGas USA. iGas, Inc. has never
       been involved with any business related to R421A.

       MasterJ LLC is a company registered by [
                 ]. However the company [                            ]. MasterJ LLC has
       never been involved with any business related to R421A.

       MS Fund LLC is a company registered by [                                      ].
       However, the company [                            ]. MS Fund LLC has never been
       involved with any business related to R421A.


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                                                                                           PUBLIC VERSION


       Organic A~~le, LLC is a company partially owned by [
               ]. Organic Apple, LLC [              ] at 5520 Anderson Road, Tampa, FL
       Organic Apple, LLC has never been involved with any business related to R421A

       Organic Orange, LLC is a company registered by [                            ].
       However, the company [                            ]. Organic Orange LLC has never
       been involved with any business related to R421A.

       U.S. Ladder, Inc. is a company registered by [                              ]. However,
       the company [                           ]. U.S. Ladder, Inc. has never been involved
       with any business related to R421A.

       U.S. Metal of Tam a, Inc. is a company registered by [                             ].
       However, the company [                            ]. U.S. Metal of Tampa, Inc. has
       never been involved with any business related to R421A.

       3.      If you are a producer and/or exporter ofunpatented R-421A in China, identify
               your top five U.S . importers. Fill in the chart provided in attachment 11-B with
               the monthly quantities and values of your shipments ofunpatented R-421A to
               each of your top five U.S. importers.

       None of the above companies are producers and/or exporters of patented/unpatented R-
       421A.

       4.      If you are a U.S . importer ofunpatented R-421A produced in China, identify your
               top five Chinese producers/exporters. Fill in the chart provided in attachment 11-C
               with the monthly quantities and values of your purchases ofunpatented R-421A
               from each of your top five Chinese producers/exporters.

       None of the above companies are U.S. importers of patented or unpatented R-421A or
       other blends of R-125 and R134A. Accordingly, these entities are not completing Table
       11-C.


       5.      State whether you are affiliated with any:

                    a. producers ofunpatented R-421A in China;
                    b. exporters ofunpatented R-421A in China; or
                    c. importers ofunpatented R-421A produced in China into the United States.

                If yes, please identify those producers, exporters, or importers.

       Response:

       All the above companies are affiliated with the following importers and users of R-421A
       produced in China into the United States.
                LM Supply INC,.___ _
                Cool Master U.S.A. LLC.
                BMPUSALLC

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                                                                                            PUBLIC VERSION


       All three affiliated companies are submitting separate responses to this
       Quantity and Value questionnaire.

       6.      Provide the blend formula for your imports/exports of patented/unpatented R-
               421A. If you import/export more than one blend formula as R-421A, list all of
               them.

       Response:

       None of the above companies import or export patented or unpatented R-421A.

       7.     State whether you hold the patent to, or are a licensed producer, exporter,
       importer, or seller of patented R-421A.

       Response:

       None of the above companies import patented R421A.

        Please respond to questions 8 through 11 (below) only if you are a U.S. importer of
        unpatented R- 421A produced in China into the United States. Producers/exporters need
        not respond to questions 8 through 11.

       8.      Provide a detailed narrative response as to what your company does with the
               imported unpatented R-421A (including, but not limited to, whether your
               company, or another company on behalf of your company, blends it with HFC
               components (e.g., R-32, R-125, R-134a) to create other HFC blends, resells the
               unpatented R-421A, etc.).

       Response:

       As stated above, none of the above companies are importers of unpatented R-421A
       produced in China therefore per the Department’s instructions, these entities are not
       responding to Questions 8 through 11.

       9.      If your company, or another company on behalf of your company, blends the
               unpatented R-421A with HFC components, identify all HFC blends (e.g., R-404A,
               R-410A, R-507A) your company produces using the imported unpatented R-421A.
               Please also identify if the HFC blends are then sold in the United States.

       10.     If your company, or another company on behalf of your company, blends the
               imported unpatented R-421A with HFC components to create HFC blends, complete
               the chart in attachment II-D, which details the monthly quantities and values of each
               HFC blend identified in question 7 using the imported unpatented R-421A for the
               period of July 1, 2011, through June 30, 2019.

       11.     If your company resells the unpatented R-421A, please identify the customers of
               the resold unpatented R-421A, and please explain whether, to the best of your
               knowledge, these customers are involved in the blending of the unpatented R-421A
               with HFC components to create HFC blends which are then sold in the United
               States.
                                                     6



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Attachment 2




                                               COl\'IPANY CERTIFICATION

     I, Ben Men Owner current! em lo ed at 7680 Paradise Point LLC. certify that I prepared
     or otherwise superyised the preparation of the attached subm1ssion of Hydrofluorocarbon
     Blends from the People's Republic o.f China: Quantity and Value Questionnaire Response,
     due onNovember21, 2019, pursuanfto theAnti~Circumvention Inquiry on
     Hydro fluorocarbon Blends from the People's Repubiic of China (A-570-028). I certify that
     the public information and any business proprietary information of 7680 Paradise Point LLC.
     contained in_the submission is accurate and complete to the best of my knowledge. I am aware
     that theinformation contaiQed ,in this submission may be subjectto verification or corroboration
     (as appropriate) by the.U.S. Department of Commerce. I am also aware that U.S. law (including,
     but not limited to,JKU.S.C.1001) imposes criminal sanction on.individuals who knowingly and
     willfully m.ake material false statements to the U.S. Government. In addition, I am aware that,
     ev~nifthis submission may be withdrawn fro~ the record of the AD/CVD proceeding, the U.S.
     Department of Commerce may preserve this submission, including a. business proprietary
     su'bmission, for.purposes of detennining the accura~y of this certification. I certify that a copy of
     this signed certification will be filed with this submission to the U.S .. Department of Commerce.


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Attachment 2




                                    COMPANY CERTIFICATION

      I, Ben Men Owner current! em lo ed at 8900 Armenia LLC. certify that! prepared or
      otherwise supervised the preparation of the attached submission of Hydrofluorocarbon Blends
      from the People's Republic of China: Quantity and Value Questionnaire Response, due on
      November 2J, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
      Blends from the People's Republic of China (A-570-028). I certify that the public information
    · and any business proprietary information of8900 Armenia LLC. contained in the submission is
      accurate apd complete to the best of my knowledge. I am aware that the information contained in
      this submission may be subject to verification or corroboration (as appropriate) by the U.S.
      Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
      U.S.C.1001) imposes criminal sanction on individuals who knowingly and willfully make
      material false statements to the U.S. Government. In addition, I am aware that, even if this
      submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
      ofCommerce may preserve this submission, including a business proprietary submission, for
      purposes of determining the accuracy of this certification. I certify that a copy of this signed
      certification will be filed with this submission to the U.S. Department of Commerce.


            Signature: _ _ _\_,.,,_~_,___
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            Date:     November21 2019




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Attachment 2




                                         COMfANY CERTIFICATION

      I, Ben Men Owner current! em lo ed at AC Tampa Bay, Inc. certify that I prepared or
      otherwise supervised the preparation of the attached submission of Hydrofluorocarbon Blends
      from the People's Republic of China: Quantity and Value Questionnaire Response, due on
      November21, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
      Blends from the People's Republic of China {A-570-028). I certify that the public information
      and any business proprietary information of AC Tampa Bay, Inc. contained in the submission is
      accurate and complete to the best of my knowledge. I am aware that the information contained in
      this submission may be subject to verification or corroboration (as appropriate) by the U.S.
      Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
      U.S.C.1001) imposes criminal sanction on individuals who knowingly and willfully make
      material false statements to the U.S. Government. In addition, I am aware that, even if this
      submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
      of Commerce may preserve this submission, including a business proprietary submission, for
      purposes of determining the accuracy of this certification. I certify that a copy of this signed
      certification will be filed with this submission to the U.S. Department of Commerce.


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             Signature: _ _ _ _ _\.,__\,-_i---_·

             Date:      November21 2019




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Attachment 2




                                      COMPANY CERTIFICATION

      I, Ben Men Owner currently emQloyed at Assured Comfort A/C Inc. certify that I prepared
      or otherwise supervised the preparation of the attached submission ofHydrofluorocarbon
      Blends from the People's Republic of China: Quantity and Value Questionnaire Response,
      due on November 21, 2019, pursuant to the Anti-Circumvention Inquiry on
      Hydrofluorocarbon Blends from the People's Republic of China {A-570-028). I certify that
      the public information and any business proprietary information of Assured Comfort AJC, Inc.
      contained in the submission is accurate and complete to the best of my knowledge. I am aware
      that the information contained in this submission may be subject to verification or corroboration
      (as appropriate) by the U.S. Department of Commerce. I am also aware that U.S. law (including,
      but not limited to, 18 U.S.C.1001) imposes criminal sanction on individuals who knowingly and
      willfully make material false statements to the U.S. Government. In addition, I am aware that,
      even if this submission may be withdrawn from the record of the AD/CVD proceeding, the U.S.
      Department of Commerce may preserve this submission, including a business proprietary
      submission, for purposes of determining the accuracy of this certification. I certify that a copy of
      this signed certification will be filed with this submission to the U.S. Department of Commerce.


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Attachment 2




                                     COMPANY CERTIFICATION

     I, Ben Men Owner current! em lo ed at BMP International Inc. certify that I prepared or
     otherwise supervised the preparation of the attached submission of Hydrotluorocarbon Blends
     from the People's Republic of China: Quantity and Value Questionnaire Response, due on
     November 21, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrotluorocarbon
     Blends from the People's Republic of China {A-57-0-028). I certify that the public information
     and any business proprietary information of BMP International Inc. contained in the
     submission is accurate and complete to the best of my knowledge. I am aware that the
     information contained in this submission may be subject to verification or corroboration (as
     appropriate) by the U.S. Department of Commerce. lam also aware that U.S. law (including, but
     not limited to, 18 U.S.C.1001) imposes criminal sanction on individuals who knowingly and
     willfully make material false statements to the U.S. Government. In addition, I am aware that,
     even if this submission may be withdrawn from the record of the AD/CVD proceeding, the U.S.
     Department of Commerce may preserve this submission, including a business proprietary
     submission, for purposes of determining the accuracy of this certification. I certify that a copy of
     this signed certification will be filed with this submission to the U.S. Department of Commerce.



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Attachment 2




                                    COMPANY CERTIFICATION

     I, Ben Men Owner currentl em lo ed at BMP Refri erants Inc. certify that I prepared or
     otherwise supervised the preparation of the attached submission of Hydrofluorocarbon Blends
     from the People's Republic of China: Quantity and Value Questionnaire Response, due on
     November 21, 2019, pursuantto the Anti-Circumvention Inquiry on Hydrofluorocarbon
     Blends from the People's Republic of China (A-570-028). I certify that the public information
     and any business proprietary infonnation ofBMP Refrigerants Inc. contained in the submission
     is accurate and complete to the best of my knowledge. I am aware that the infonnation contained
     in this submission may be subject to verification or corroboration (as appropriate) by the U.S.
     Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
     U.S.C.1001) imposes criminal sanction on individuals who knowingly and willfully make
     material false statements to the U.S. Government. In addition, I am aware that, even if this
     submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
     of Commerce may preserve this submission, including a business proprietary submission, for
     purposes of determining the accuracy of this certification. I certify that a copy of this signed
     certification will be filed with this submission to the U.S. Department of Commerce.


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            Date:    November21 2019




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Attachment 2




                                    COMPANY CERTIFICATION

     I, Ben Men Owner currentl em lo ed at E.T.S. Industry Inc. certify that I prepared or
     otherwise supervised the preparation of the attached submission of Hydrofluorocarbon Blends
     from the People's Republic of China; Quantity and Value Questionnaire Response, due on
     November21, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
     Blends from the People's Republic of China (A-570-028). I certify that the public information
     and any business proprietary information of E. T .S. Industry Inc. contained in the submission is
     accurate and complete to the best of my knowledge. I am aware that the information contained in
     this submission may be subject to verification or corroboration (as appropriate) by the U.S.
     Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
     U.S.C.l00l)imposes criminal sanction on individuals who knowingly and willfully make
     material false statements to the U.S. Government. In addition, I am aware that, even if this
     submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
     of Commerce may preserve this submission, including a business proprietary submission, for
     purposes of determining the accuracy of this certification. I certify that a copy of this signed
     certification will be filed with this submission to the U.S. Department of Commerce.


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                                _____,,___
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Attachment 2




                                    COMPANY CERTIFICATION

     I, Ben Meng, Owner, currently: em lo ed at iGas Inc. certify that I prepared or otherwise
     supervised the preparation of the attached submission of Hydrofluorocarbon Blends from the
     People's Republic of China: Quantity and Value Questionnaire Response, due on
     November 21, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
     Blends from the People's Republic of China (A-570 ...028). I certify that the public information
     and any business proprietary information ofiGas Inc. contained in the submission is accurate
     and complete to the best of my knowledge. I am aware that the information contained in this
     submission may be subject to verification or corroboration (as appropriate) by the U.S.
     Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
     U.S.C. l 001) imposes criminal sanction on individuals who knowingly and willfully make
     material false ·statements to the U.S. Government. In addition, I am aware that, even if this
     submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
     of Commerce may preserve this submission, including a business proprietary submission, for
     purposes of determining the accuracy of this certification. I certify that a copy of this signed
     certification will be filed with this submission to the U.S. Department of Commerce.



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Attachment 2




                                    COMPANY CERTIFICATION

     I, Ben Meng, Owner, currently em loyed at MasterJ LLC certify that I prepared or otherwise
     supervised the preparation of the attached submission of Hydrofluorocarbon Blends from the
     People's Republic of China: Quantity and Value Questionnaire Response, due on
     November 21, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
     Blends from the People's Republic of China (A-570-028}. I certify that the public information
     and any business proprietary information of MasterJ LLC contained in the submission is
     accurate and complete to the best of my knowledge. I am aware that the information contained in
     this submission may be subject to verification or corroboration (as appropriate) by the U.S.
     Department of Commerce.I am also aware that U.S. law (including, but not limited to, 18
     U.S.C.1001) imposes criminal sanction on individuals who knowingly and willfully make
     material false statements to the U.S. Government. In addition, I am aware that, even if this
     submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
     of Commerce may preserve this submission, including a business proprietary submission, for
     purposes of determining the accuracy of this certification. I certify that a copy of this signed
     certification will be filed with this submission to the U.S . Department of Commerce.


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Attachment 2




                                    COMPANY CERTIFICATION

     I, Ben Meng, Owner, currently emgloyed at MS Fund, LLC tertify that I prepared or otherwise
     supervised the preparation of the attached submission ofHydrofluorocarbon Blends from the
     People's Republic of China: Quantity and Value Questionnaire Response, due on
     November 21, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
     Blends from the People's Republic of China (A-570-028). I certify that the public information
     and any business proprietary information of MS Fund, LLC contained in the submission is
     accurate and complete to the best of my knowledge. I am aware that the information contained in
     this submission may be subject to verification or corroboration (as appropriate) by the U.S.
     Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
     U.S.C.1001) imposes criminal sanction on individuals who knowingly and willfully make
     material false statements to the U.S. Government. In addition, I am aware that, even if this
     submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
     of Commerce may preserve this submission, including a business proprietary submission, for
     purposes of determining the accuracy of this certification. I certify that a copy of this signed
     certification will be filed with this submission to the U.S. Department of Commerce.



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Attachment 2




                                    COMPANY CERTIFICATION

     I, Ben Men Owner currently emP,loyed at Organic Apple, LLC certify that I prepared or
     otherwise supervised the preparation of the attached submission ofHydrofluorocarbon Blends
     from the People's Republic of China: Quantity and Value Questionnaire Response, due on
     November 21,. 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
     Blends from the People's Republic of China (A-570-028). I certify that the public information
     and any business proprietary information of Organic Apple, LLC contained in the submission is
     accurate and complete to the best of my knowledge. I am aware that the information contained in
     this submission may be subject to verification or corroboration (as appropriate) by the U.S.
     Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
     U.S.C.l 001) imposes criminal sanction on individuals who knowingly and willfully make
     material false statements to the U.S. Government. In addition, I am aware that, even if this
     submission may be :withdrawn from the record of the AD/CVD proceeding, the U.S. Department
     of Commerce may preserve this submission, including a business proprietary submission, for
     purposes of determining the accuracy of this certification. I certify that a copy of this signed
     certification will be filed with this submission to the U.S. Department of Commerce.


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Attachment 2




                                         COMPANY CERTIFICATION

     I, Ben Meng, Owner, currently em lo ed at Organic Orange, LLC certify that I prepared or
     otherwise supervised the preparation of the attached submission of Hydrofluorocarbon Blends
     from the People's RepublicofChina: Quantity andValue Questionnaire Response, due on
     Novem ber2 I, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrotluorocarbon
     Blends from the People's Republic of China {A-570~028). I certify that the public information
     and any business proprietary information of Organic Orange, LLC contained in the submission
     is accurate and complete to the best of my knowledge. I am aware that the information contained
     in this submission may be subject to verification or corroboration (as appropriate) by the U.S.
     Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
     U.S.C.1001) imposes criminal sanction onindividuals who knowingly and willfully make
     material false statements to the U.S. Government. In addition, I am aware that, even if this
     submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department



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     of Commerce may preserve this submission, including a business proprietary submission, for
     purposes of determining the accuracy of this certification. I certify that a copy of this signed

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USCA Case #21-1251            Document #1955329                  Filed: 07/15/2022          Page 425 of 561
Attachment 2




                                     COMP ANY CERTIFICATION

     I, Ben Men Owner currentl em12loyed at U.S. Metal of Tampa, Inc., certify that I prepared
     or otherwise supervised the preparation of the attached submission ofHydrofluorocarbon
     Biends from the People's Republic of China: Quantity and Value Questionnaire Response,
     due on November 21. 2019, pursuant to the Anti-Circumvention Inquiry on
     Hydrofluorocarbon Blends from the People's Republic of China (A-570-028). I certify that
     the public information and any business proprietary information of U.S. Metal of Tampa, Inc.,
     contained in the submission is accurate and complete to the best of my knowledge. I am aware
     that the information contained in this submission may be subject to verification or corroboration
     (as appropriate) by the U.S. Department of Commerce. I am also aware that U.S. law (including,
     but not limited to, 18 U.S.C.1001) imposes criminal sanction on individuals who knowingly and
     willfully make material false statements to the U.S. Government. In addition, I am aware that,
     even if this submission may be withdrawn from the record of the AD/CVD proceeding, the U.S.
     Department of Commerce may preserve this submission, including a business proprietary
     submission, for purposes of determining the accuracy of this certification. I certify that a copy of
     this signed certification will be filed with this submission to the U.S. Department of Commerce.


            Signature: _ _ _ _    \~~-_=L
                                     ____·____
            Date: -...=-:.-=-=--=='-="--=-"--"-'"-----------
                      November21 2019                        ---




                                                  JA421
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Attachment 2




                                    COMPANY CERTIFICATION

     I, Ben Meng, Owner, currently em loyed at U.S. Ladder, Inc., certify that I prepared or
     otherwise supervised the preparation of the attached submission of Hydrofluorocarbon Blends
     from the People's Republic of China: Quantity and Value Questionnaire Response, due on
     November21, 2019, pursuant to theAnti-Circumvention Inquiry on Hydrofluorocarbon
     Blends from the People's Republic of China (A-570-028). I certify that the public information
     and any business proprietary information of U.S. Ladder, Inc., contained in the submission is
     accurate and complete to the best of my knowledge. I am aware that the information contained in
     this submission may be subject to verification or corroboration (as appropriate) by the U.S.
     Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
     U.S.C.1001) imposes .criminal sanction on individuals who knowingly and willfully make
     material false statements to the U.S. Government. In addition, I am aware that, even if this
     submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
     of Commerce may preserve this submission, including a business proprietary submission, for
     purposes of determining the accuracy of this certification. I certify that a copy of this signed
     certification will be filed with this submission to the U.S. Department of Commerce.


            Signature: _ _ _ _\ , _ ~ -·-
                                        -~------

            Date:    November2l 2019
                    -------~-------- - ----




                                                 JA422
USCA Case #21-1251           Document #1955329                 Filed: 07/15/2022         Page 427 of 561
Attachment 2




                                     COMPANY CERTIFICATION

      I, Ben Meng, Owner, currently em_Rloyed by iGas USA Inc. certify that I prepared or otherwise
      supervised the preparation of the attached submission ofHydrofluorocarbon Blends from the
      People's Republic of China: Quantity and Value Questionnaire Response, due on
      November 212019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
      Blends from the People's Republic of China (A-570-028). I certify that the public information
      and any business proprietary information of iGas USA Inc. contained in the submission is
      accurate and complete to the best of my knowledge. I am aware that the information contained in
      this submission may be subject to verification or corroboration (as appropriate) by the U.S.
      Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
      U.S.C.1001) imposes criminal sanction on individuals who knowingly and willfully make
      material false statements to the U.S. Government. In addition, I am aware that, even if this
      submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
      of Commerce may preserve this submission, including a business proprietary submission, for
      purposes of determining the accuracy of this certification. I certify that a copy of this signed
      certification will be filed with\,: s u : ? the U.S. Department of Commerce.


             Signature: -----+.---,i{__+------------

             Date:    November21 2019




                                                 JA423
USCA Case #21-1251   Document #1955329    Filed: 07/15/2022   Page 428 of 561
Attachment 2




                            Exhibit 6




                                  JA424
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Attachment 2

                                                                           UNITED STATES DEPARTMENT OF COMMERCE
               Barcode:3962141-01 A-570-028 CIRC - Anti Circumvention Inquiry    - HFCTrade
                                                                           International Components
                                                                                             Administration
                                                                                     Washington. D.C. 2D230



                                                                                                 A-570-028
                                                                                    CIRC – HFC Components
                                                                        Proprietary Document Public Version
                                                                                         AD/CVD OII: BAL
     DATE:                              April 3, 2020

     MEMORANDUM TO:                     The File

     THROUGH:                           Andrew Medley
                                        Program Manager, Office II
                                        AD/CVD Operations

     FROM:                              Benjamin A. Luberda
                                        Program Analyst, Office II
                                        AD/CVD Operations

     SUBJECT:                           Anti-Circumvention Inquiry of Antidumping Duty Order on
                                        Hydrofluorocarbon Blends from the People’s Republic of China –
                                        HFC Components: Business Proprietary Memorandum for BMP


     I.      Summary

     In response to a request from the American HFC Coalition (the petitioner),1 the Department of
     Commerce (Commerce) initiated an anti-circumvention inquiry of the antidumping duty (AD)
     order on hydrofluorocarbon (HFC) blends from the People’s Republic of China (China),
     pursuant to section 781(a) of the Tariff Act of 1930, as amended (the Act) and 19 CFR
     351.225(g).2 Based on the information submitted by interested parties and our analysis in the
     Preliminary Decision Memorandum (PDM),3 Commerce preliminarily determines that imports of
     HFC components difluoromethane (R-32), pentafluoroethane (R-125), and 1,1,1-trifluoroethane
     (R-143a), that are exported from China and further processed in the United States into HFC
     blends, are circumventing the AD order on HFC blends from China,4 as provided by section
     781(a) of the Act. Because Commerce’s findings regarding certain statutory criteria under



     1
       See Petitioner’s Letter, “Hydrofluorocarbon Blends from the People’s Republic of China: Request to Initiate Anti-
     Circumvention Inquiry Pursuant to Section 781(a) of the Act,” dated April 4, 2019. The American HFC Coalition is
     comprised of the following companies: Arkema Inc., The Chemours Company FC LLC, Honeywell International
     Inc., and Mexichem Fluor Inc.
     2
       See Hydrofluorocarbon Blends from the People’s Republic of China: Initiation of Anti-Circumvention Inquiry of
     Antidumping Duty Order; Unpatented R-421A, 84 FR 28281 (June 18, 2019).
     3
       See Memorandum, “Preliminary Decision Memorandum for Anti-Circumvention Inquiry of the Antidumping Duty
     Order on Hydrofluorocarbon Blends from the People’s Republic of China: HFC Components,” dated concurrently
     with this memorandum (PDM).
     4
       See Hydrofluorocarbon Blends from the People’s Republic of China: Antidumping Duty Order, 81 FR 55436
     (August 19, 2016) (Order).




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                                                         JA425
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Attachment 2


                 Barcode:3962141-01 A-570-028 CIRC - Anti Circumvention Inquiry        -   HFC Components




     the value of components as a percentage of U.S. value, because R-134a is not subject to this
     inquiry, as it is subject to its own AD order. 43

     Using BMP's submitted data, and the calculated surrogate values, we calculated the below
     percentages of the Chinese origin inputs (excluding, R-134a), compared to the value of
     merchandise sold in the United States, on a per-kilogram basis:

            •   R-404A: 173.44%
            •   R-407 A: 112.95%
            •   R-407C: 87.10%
            •   R-410A: 214.27%
            •   R-507: 190.83%
            •   Weighted Average: 188.40%

     In this anti-circumvention inquiry, for all five blends, the percentages of the value of the Chinese
     inputs are significantly higher than the U.S. value of the finished merchandise. See Attachment 2
     of this memorandum. Thus, we find that value of the parts or components produced in the
     foreign country makes up a significant portion of the total value of the merchandise sold in the
     United States.

     III.       Analysis of the Pattern of Trade and Sourcing under Section 781(a)(3) of the Act

                (A) Pattern of Trade, Including Sourcing Patterns

     BMP's re orted data shows a clear shift in atterns of trade. First, BMP has consistently shifted
     importers for its imports ofHFC components. BMP's Q&V questionnaire response shows that
     between August 2016 and June 2019, BMP used at least four44 affiliated importers to import
     HFC com onents from China never using more than [                          ]. 45

     Moreover, BMP shifted its pattern of trade with the imposition of the Order. BMP reports that
     BMP International, LM Supply, Cool Master, and Assured Comfort were importing HFC blends
     into the United States from China.46 Exhibit 24 ofBMP's January 24, 2020 IQR shows that in
     2016, BMP imported [          ] Kg ofHFC blends subject to the Order on HFC blends from
     China, [    ] percent of which were imported in or before the month the Order took effect (i.e.,



     43
        See 1,1,1,2 Tetrafluoroethane (R-134a) from the People's Republic of China: Antidumping Duty Order, 82 FR
     18422 (April 19, 2017).
     44
        These importers are BMP International, BMP USA, Cool Master, and iGas. Additionally, as noted above, BMP
     reports that Assured Comfort imported HFC components in 2016, but failed to place any data on the record
     regarding these imports.
     45
        See BMP Q&V Response.
     46
        See BMP January 24, 2020 IQR at 3-5




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                                                       JA426
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Attachment 2


               Barcode:3962141-01 A-570-028 CIRC - Anti Circumvention Inquiry               -   HFC Components




     August 2016). 47 In 2017, this number dropped to [       ] Kg, and [      ] in 2018 or 2019. 48
     However, one ofBMP's companies, Cool Master, began importing [
                                     49
                                  ].    Conversely, BMP only began importing HFC components the
     month the Order came into effect and has continued since then, reaching a 12eak of[.___.] Kg
     of im orted HFC com onents from China in                     ]. 50 Thus, BMP's patterns of trade
     clearly shifted to avoid the duties placed upon HFC blends with the enactment of the Order. See
     Attachment III of this memorandum.

              (B) Affiliation

     In September 2018, BMP USA stopped all business operations with respect to the importation,
     production, or sale ofrefrigerants and all of these operations transferred to iGas, which began
     operations in October 2018.51 iGas is partially-owned ([ ] percent) by a Chinese company,
     Zhejiang Juhua Co., Ltd. (Juhua), after an initial contribution of$[         ] in April 2018.52
     Juhua has numerous subsidiaries, located in China, that produce and/or export HFC components
     and subject blends, including Zhejiang Quzhou Juxin Fluorine Chemical Co., Ltd. (Juxin),
     Zhejiang Quhua Fluor-Chemistry Co., Ltd., and Zhejiang Quzhou Lianzhou Refrigerants Co.,
     Ltd.53 Because of the common ownership greater than five percent by Juhua in both iGas and
     Juhua's subsidiaries, iGas, and thus BMP, are affiliated with these companies under section
     771(33) of the Act and 19 CFR 351.102(b)(3). Moreover, BMP did not disclose its affiliation
     with Juhua's subsidiaries. Thus, record evidence supports finding affiliation a factor of
     circumvention for BMP.

              (C) Whether Imports in the United States Have Increased After the Initiation of the
                  Investigation Which Resulted in the Issuance of the Order

     BMP provided statistics of its imports ofHFC components from July 1, 2011 , to June 30, 2019,54
     and production of finished HFC blends for the period January 1, 2016, to June 31 , 2019. 55
     According to BMP's submitted data, from 2016 to 2019, (i.e., after the Order) imports ofHFC
     components, and production of finished blends using the imported components, increased.56
     Further, record evidence shows that BMP only imported HFC components after publication of

     47
        Id. at Exhibit 24.
     48 Id.
     49
        Id. at 12 and Exhibits 7 and 27.
     50
        See BMP Q&V Response.
     51
        See BMP January 24, 2020 IQR at 3, 16, and 33.
     52
        Id. at 19 and Exhibit 14.
     53
        See Juxin's January 24, 2020, Initial Questionnaire Response at Exhibit 1-1.1
     54
        See BMP Q&V Response.
     55
        See BMP's Letter, "Hydrofluorocarbon Blends from the People's Republic of China: Resubmission of Exhibit
     26," dated February 24, 2020, at Exhibit 26. While we did not ask BMP for data with respect to its blending of HFC
     blends using Chinese-origin HFC components from before January 1, 2016, BMP reported that it began [
                                                                                 ], and, thus, did not have any production
     ofHFC blends before this period. See BMP January 24, 2020 IQR at 22.
     56
        See BMP January 24, 2020 IQR at 3, stating BMP International imported refrigerant into the United States. BMP
     International Inc. imported HFC Blends produced in China, such as R410A, R404A, R407A, R407C and R507.
     "Beginning in August 2016, BMP International also imported HFC components [                           ] produced in
     China. After importation the HFC components were [                                                                  ].



             Filed By: Benjamin Luberda, Filed Date: 4 ,9., /20 11:32 AM, Submission Status: Approved




                                                          JA427
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Attachment 2




                            Exhibit 7




                                  JA428
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Attachment 2




                  Electronic Articles of Organization                                L19000115924
                                                                                     F-ILED 8:00 AM
                               For                                                   AP-ril 29 1 2019
                  Florida Limited Liability Company                                  Sec. Of State
                                                                                     ccave
                                   Article I
 The name of the Limited Liability Company is:
      GOLDEN G IMPORTS LLC



                                   Article II
 The street address of the principal office of the Limited Liability Company is:
      6415 MONETERY BLVD
      TAMP A, FL. 33625

 The mailing address of the Limited Liability Company is:
      6415 MONETERY BLVD
      TAMP A, FL. 33625

                                   Article III
 The name and Florida street address of the registered agent is:
      ROBIN A PUSKAR
      6415 MONETERY BLVD
      TAMP A, FL. 33625

 Having been named as registered agent and to accept service of process for the above stated limited
 liability company at the place designated in this certificate, I hereby accept the appointment as registered
 agent and agree to act in this capacity. I further agree to comply with the provisions of all statutes
 relating to the proper and complete performance of my duties, and I am familiar with and accept the
 obligations of my position as registered agent.
 Registered Agent Signature: ROBIN PUSKAR




                                                     JA429
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Attachment 2




                                  Article IV                                        L19000115924
                                                                                    FILED 8:00 AM
 The name and address of person(s) authorized to manage LLC:                        April 29, 2019
     Title: MGR                                                                     Sec. Of State
     ROBIN A PUSKAR                                                                 ccave
     6415 MONETERY BLVD
     TAMPA, FL. 33625

                                  Article V
 The effective date for this Limited Liability Company shall be:
      04/29/2019
 Signature of member or an authorized representative
 Electronic Signature: ROBIN PUSKAR
 I am the member or authorized representative submitting these Articles of Organization and affirm that the
 facts stated herein are true. I am aware that false information submitted in a document to the Department
 of State constitutes a third degree felony as provided for in s.817.155, F.S. I understand the requirement to
 file an annual report between January 1st and May 1st in the calendar year following formation of the LLC
 and every year thereafter to maintain "active" status.




                                                    JA430
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Attachment 2




                                  JA431
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Attachment 2



  DE           C     R E s Da         myne                 USA Bills Import HOUSES
  .      -                            '

   l            Bill of Lading Nu1t1ber UULNNB1904AC808


                      Port of Departure NINGPO,NING BO.CHINA MAINLAND

              World Region by Port of
                           Departure
                                      EASTERN ASIA

                         Port of Arrival LOS ANGELES,CA

                            US Region WEST

                               Carrier (UULN) US UNITED LOGISTICS (NINGBO) INC


                           Arrival Date 05/07/2019                             ,                               Weigh t! 72,000 K

               Estimated Arrival Date 04 27 2 1                                                               Quantity 4 TNK

                               Vessel EVER LIBRA                                                              Measure 0

                       Vessel Country TAIWAN                                                  In bond entry type

                               Voyage 0852E                                                 Foreign Destination

                             IMO Code 9595486                                                 Mode of Transport VESSEL. CONTAINERIZED.

                         Master/House H (House)

                   Bill of Lading Master EGLV143986724386

             Place of Receipt Declared NINGBO CHINA

                     Country of Origin CHINA

              World Region by Origin
                                     EASTERN ASIA
                            Country

                           Metric Tons 72 .0


                            Consignee GOLDEN G IMPORTS LLC FL:

                     Consignee's State FLORIDA, FL

                      Consignee's City TAMPA, FL

                Consignee's Zip Code 33625


  ;,,                         Shipper QUZHOU JUXIN FLUORINE CHEMICAL CO (CN)
  ~!'-


       Shipper Declared                                                         Consignee Declared

      QUZHOU JUXIN FLUORINE CHEMICAL CO                                        GOLDEN G IMPORTS LLC

      QUZHOU ,                                                                 6415 MONTEREY BL VD

      ZHEJIANG                                                                 TAMPA

      CN                                                                       FL

                                                                               33625

                                                                               us

                                                 Note: This database does not contain In Transit shipments.                UULNNB1904AC808 - page 1
                                                        Obs. : DATA SUBJECT TO MODIFICATIONS
                                                    Source: U.S. Customs and Border Protection (CBP).
                                                    ©2019 Datamyne - Email: contact@datamyne.com




                                                                      JA432
USCA Case #21-1251                 Document #1955329                                 Filed: 07/15/2022                Page 437 of 561
Attachment 2



  DE~ C        RTE s Da       myne                USA Bills Import HOUSES

  ·, Notify               -    -                           __ _______________                                                   _   --.j
                                                                      6415 MONTEREY BL VD
   GOLDEN G IMPORTS LLC
                                                                      TAMPA FL 33625 US




         - FLUORINATED,
          ATED OR IODINATED                                   4.00                                   4.00                            72 .00
   DERIVATIVES OF ACYCLIC

   Total                                                      4.00                                   4.00                            72.00


   Container                   Pieces                                 Description                           Harmonized

                                                                     REFRIGERANT GAS R125 UN
   EURU5149595                                                       NO. 3220 CLASS 2.2 .

   EURU5149790                                                       REFRIGERANT GAS R125 UN
                                                                     NO. 3220 CLASS 2.2 .

                                                                     REFRIGERANT GAS R125 UN
   EURU5149804
                                                                     NO. 3220 CLASS 2.2 .

                                                                     REFRIGERANT GAS R125 UN
   EURU5245937                                                       NO. 3220 CLASS 2.2 .


   Container                                                          Marks & Numbers

   EURU5149595                                                       PO NO. IGAS-190403 N/M

   EURU5149790                                                       PO NO. IGAS-190403 N/M

   EURU5149804                                                       PO NO. IGAS-190403 N/M

   EURU5245937                                                       PO NO. IGAS-190403 N/M




                                        Note: This database does not contain In Transit shipments.             UULNNB1904AC808 - page 2
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                                           Source: U.S. Customs and Border Protection (CBP).
                                           ©2019 Datamyne - Email: contact@datamyne.com




                                                             JA433
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Attachment 2



  DE           C     R E s Da         myne                 USA Bills Import HOUSES
  .      -                            '

   l            Bill of Lading Nu1t1ber UULNNB1904AC932


                      Port of Departure NINGPO,NING BO.CHINA MAINLAND

              World Region by Port of
                           Departure
                                      EASTERN ASIA

                         Port of Arrival LOS ANGELES,CA

                            US Region WEST

                               Carrier (UULN) US UNITED LOGISTICS (NINGBO) INC


                           Arrival Date 05/05/2019                             ,                               Weigh t! 180,000 K

               Estimated Arrival Date 04 20 2 1                                                               Quantity 10 TNK

                               Vessel EVER LENIENT                                                            Measure 0

                       Vessel Country UNITED KINGDOM                                          In bond entry type

                               Voyage 0853E                                                 Foreign Destination

                             IMO Code 9604146                                                 Mode of Transport VESSEL. CONTAINERIZED.

                         Master/House H (House)

                   Bill of Lading Master EGLV143986724645

             Place of Receipt Declared NINGBO CHINA

                     Country of Origin CHINA

              World Region by Origin
                                     EASTERN ASIA
                            Country

                           Metric Tons 180.0


                            Consignee GOLDEN G IMPORTS LLC FL:

                     Consignee's State FLORIDA, FL

                      Consignee's City TAMPA, FL

                Consignee's Zip Code 33625


  ;,,                         Shipper QUZHOU JUXIN FLUORINE CHEMICAL CO (CN)
  ~!'-


       Shipper Declared                                                         Consignee Declared

      QUZHOU JUXIN FLUORINE CHEMICAL CO                                        GOLDEN G IMPORTS LLC

      QUZHOU ,                                                                 6415 MONTEREY BL VD

      ZHEJIANG                                                                 TAMPA

      CN                                                                       FL

                                                                               33625

                                                                               us

                                                 Note: This database does not contain In Transit shipments.                UULNNB1904AC932 - page 3
                                                        Obs. : DATA SUBJECT TO MODIFICATIONS
                                                    Source: U.S. Customs and Border Protection (CBP).
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                                                                      JA434
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Attachment 2



  D£ s C           R Es   Da myn                       USA Bills Import HOUSES
                     -     -       -
       Notify                                                                                                                                   i
                                                                            - - -                         - -                                   '


                                                                            6415 MONTEREY BL VD
   GOLDEN G IMPORTS LLC
                                                                            TAMPA FL 33625 US

   '                           '
       HS                      I         "   .                              Container Quantity

   290330 - FLUORINATED,
   BROMINATED OR IODINATED                                        10.00                                   10.00                           180.00
   DERIVATIVES OF ACYCLIC

   Total                                                          10.00                                   10.00                           180.00


       Container                   Pieces                                   Description                           Harmonized

   AAMU7000910


   AAMU7000925                                                          1 REFRIGERANT GAS R125 UN
                                                                          NO. 3220 CLASS 2.2 .

                                                                            REFRIGERANT GAS R125 UN
   AAMU7000930                                                          1
                                                                            NO. 3220 CLASS 2.2 .

                                                                          REFRIGERANT GAS R125 UN
   AAMU7000951                                                          1 NO. 3220 CLASS 2.2 .


   AAMU7000972                                                          1 REFRIGERANT GAS R125 UN
                                                                          NO. 3220 CLASS 2.2 .

                                                                          REFRIGERANT GAS R125 UN
   AAMU7000988                                                          1 NO. 3220 CLASS 2.2 .


   AAMU7000993                                                          1 REFRIGERANT GAS R125 UN
                                                                          NO. 3220 CLASS 2.2 .

                                                                            REFRIGERANT GAS R125 UN
   AAMU7001048                                                          1
                                                                            NO. 3220 CLASS 2.2 .

   AAMU7001074                                                          1 REFRIGERANT GAS R125 UN
                                                                          NO. 3220 CLASS 2.2 .

                                                                            REFRIGERANT GAS R125 UN
   AAMU7001536                                                          1
                                                                            NO. 3220 CLASS 2.2 .




                                             Note: This database does not contain In Transit shipments.              UULNNB1904AC932 - page 4
                                                    Obs. : DATA SUBJECT TO MODIFICATIONS
                                                Source: U.S. Customs and Border Protection (CBP).
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                                                                  JA435
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Attachment 2



  DE ' C R Es Da - myne                     USA Bills Import HOUSES

   : container   -   -   -    -                              I Marks & Numbers                                            •

   AAMU7000910                                                 PO NO. IGAS-190403 NM

   AAMU7000925                                                 PO NO. IGAS-190403 N/M

   AAMU7000930                                                 PO NO. IGAS-190403 N/M

   AAMU7000951                                                 PO NO. IGAS-190403 N/M

   AAMU7000972                                                 PO NO. IGAS-190403 N/M

   AAMU7000988                                                 PO NO. IGAS-190403 N/M

   AAMU7000993                                                 PO NO. IGAS-190403 N/M

   AAMU7001048                                                 PO NO. IGAS-190403 N/M

   AAMU7001074                                                 PO NO. IGAS-190403 N/M

   AAMU7001536                                                 PO NO. IGAS-190403 N/M




                                  Note: This database does not contain In Transit shipments.   UULNNB1904AC932 - page 5
                                         Obs. : DATA SUBJECT TO MODIFICATIONS
                                     Source: U.S. Customs and Border Protection (CBP).
                                     ©2019 Datamyne - Email: contact@datamyne.com




                                                       JA436
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Attachment 2




                            Exhibit 8




                                  JA437
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Attachment 2




                           Exhibit 8-A




                                  JA438
   USCA Case #21-1251                      Document #1955329                                        Filed: 07/15/2022   Page 443 of 561
  Attachment 2
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         G8A84H                          $PQ
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         $U)VÿKOÿ,,+,N
         WABCB7LÿJDD<6HH
         *54Tÿ%6Q '%ÿ'6
         $U)VÿKOÿ,,+,N
         X6LBH86<6DÿJL678ÿ:A56ÿYÿJDD<6HH
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         $U)VÿKOÿ,,+,N
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         $87ÿ)ÿ
         UQ%(VÿZ%0%
         *545ÿ%6Q '%ÿ'6
         $U)VÿKOÿ,,+,N
         J774ACÿX6S2<8H
           X6S2<8ÿ\6A<           =BC6Dÿ1A86
           3452                  4N1,413452
         12345678ÿ?5AL6H
           4N1,413452ÿMMÿ%%]OÿQ)' $     P7^ÿ&97ÿÿ)6Kÿ.&98
           4*1541345*ÿMMÿ6&78ÿ).8    P7^ÿ&97ÿÿ)6Kÿ.&98




                                                       _àbcdeÿghiebjkhljÿamÿnjejhoÿgcpcqcalÿamÿrabiabejcalq




79 119879179 786789!87"7#78$7"89#79%9&7'7"(ÿ)5*4444+**,- 515

                                                                        JA439
   USCA Case #21-1251                   Document #1955329                        Filed: 07/15/2022   Page 444 of 561
  Attachment 2
01213452                                                           6789ÿÿ88ÿ97
 '%9ÿ679878ÿ/ÿ8987                                                                              6S *ÿ*'ÿ*!-*!K&*




     679878ÿ/ÿ8987ÿ1ÿ60ÿ/ÿ98ÿ1ÿ79ÿ!7%ÿ1ÿ6789ÿ+ÿ678ÿ 71

        168ABCÿ;Jÿ>78B8Jÿ:A56
        '%9ÿ-/8ÿ98
        +,-ÿ&!K&*K)Lÿ
        =BCB7Mÿ?7I2<5A8B27
        12345678ÿ:45;6<              -404444N25NO
        =>?@>?:ÿ:45;6<               34PQ25RNO2
        1A86ÿ=BC6D                   4N13O13440
        E8A86                        ')
        E8A84F                       K&S
        GAF8ÿ>H678                   K,6,&
        >H678ÿ1A86ÿ=BC6D             4O1301345T
        >H678ÿ>II638BH6ÿ1A86         *
        U<B73BVACÿWDD<6FF
        Q545ÿK%7ÿ!9%
        &99Lÿ')ÿOORON
        97%Xÿ4O13N1345Q
        YABCB7MÿWDD<6FF
        -*ÿ+*Zÿ5T0R3
        &K,-KLÿ')ÿOORQN
        97%Xÿ4514Q13450ÿ
        [6MBF86<6DÿWM678ÿ:A56ÿ\ÿWDD<6FF
        ,7LÿZ9 
        Q545ÿK%7ÿ!9%
        &99Lÿ')ÿOORON
        97ÿ97%Xÿ4N14513450
        K%%7ÿ97%Xÿ4O13N1345Q
        ]IIB36<@1B<6382<ÿ168ABC
        :A56ÿ\ÿWDD<6FFÿ
        &87ÿ-ÿ
        ,7LÿZ9 
        Q545ÿK%7ÿ!9%
        &99Lÿ')ÿOORON
        &87ÿS-ÿ
         Lÿ)9
        Q545ÿK%7ÿ!9%
        &99Lÿ')ÿOORON
        W774ACÿ[6V2<8F
           [6V2<8ÿ^6A<       =BC6Dÿ1A86
           3450              4514Q13450
           345Q              4O13N1345Q
           3452              4N1O413452
        12345678ÿ?5AM6F
79 1198 79179!786789"87#8897$%78&7#'(9%)8$7997*%7#+,-&. 513
                                                                JA440
   USCA Case #21-1251                    Document #1955329                                      Filed: 07/15/2022   Page 445 of 561
  Attachment 2
01213452                /                                                 6789ÿÿ88ÿ97
           4011413452ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4113013457ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4014513450ÿ22ÿ3,66ÿ343)ÿ!-*!&   57(ÿ97ÿÿ-6'ÿ698
           4514713450ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4113813458ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4113013459ÿ22ÿ37%78               57(ÿ97ÿÿ-6'ÿ698
           4514213459ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4215413450ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4014213451ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4113313453ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4013513455ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4115713455ÿ22ÿ37%78               57(ÿ97ÿÿ-6'ÿ698
           4113213454ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4013213442ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4515713447ÿ22ÿ343)ÿ!-*!&           57(ÿ97ÿÿ-6'ÿ698
           4013113440ÿ22ÿ678ÿ-68           57(ÿ97ÿÿ-6'ÿ698




                                                     :;<=>?@ÿBCD@=EFCGEÿ<HÿIE@ECJÿB>K>L><Gÿ<HÿM<=D<=@E><GL




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                                                                     JA441
   USCA Case #21-1251                      Document #1955329                                        Filed: 07/15/2022   Page 446 of 561
  Attachment 2
01213452                                                                     6789ÿÿ88ÿ97
 Ir+%9ÿ679878ÿ.ÿ8987   STAT~                                                                                       6N 'ÿ'+ÿ'!*'!I&'




      679878ÿ.ÿ8987ÿ1ÿ6/ÿ.ÿ98ÿ1ÿ79ÿ!7%ÿ1ÿ6789ÿ(ÿ678ÿ 71

         057@ABÿ:Hÿ=67A7Hÿ9@45
         +%9ÿ*.8ÿ98
         ()*ÿ!+!,!I& ÿ
         <ABA6Jÿ>6D1;4@7A16
         01234567ÿ934:5;                 *5044454545K
         <=>?=>9ÿ934:5;                  1I
         0@75ÿ<AB5C                      5313013450
         =DD527AE5ÿ0@75                  451431345L
         F7@75                           +M
         F7@73G                          I&N
         O;A62AP@BÿQCC;5GG
         L54RÿI6! 'ÿ!'I6
         &I)*ISÿ+MÿKKTKU
         V@ABA6JÿQCC;5GG
         *'ÿ('Wÿ5R0T3
         &I)*ISÿ+MÿKKTLU
         X5JAG75;5CÿQJ567ÿ9@45ÿYÿQCC;5GG
         ),SÿWI(
         L54RÿI6! 'ÿ!'I6
         &I)*ISÿ+MÿKKTKU
         ZDDA25;?0A;5271;ÿ057@AB
         9@45ÿYÿQCC;5GGÿ
         &87ÿ*ÿ
         ),SÿWI(
         L54RÿI6! 'ÿ!'I6
         &I)*ISÿ+MÿKKTKU
         &87ÿN*ÿ
         ()*ÿ[ Iÿ
         L54RÿI6! 'ÿ!'I6
         &I)*ISÿ+MÿKKTKU
         Q663@BÿX5P1;7G
           X5P1;7ÿ\5@;          <AB5Cÿ0@75
           3452                 4U1K413452
         01234567ÿ>4@J5G
           4U1K413452ÿ]]ÿI[IMÿ!*'!&    N7^ÿ97ÿÿ*6+ÿ.98
           5313013450ÿ]]ÿ678ÿ*.8    N7^ÿ97ÿÿ*6+ÿ.98




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79 1198 79179!786789"87#8897$%78&7#89$7997'%7#()*!+!,!- 515

                                                                        JA442
   USCA Case #21-1251                             Document #1955329                                     Filed: 07/15/2022          Page 447 of 561
  Attachment 2
01213452                                                                        6789ÿÿ88ÿ97
 KnRm-\
 i:t %9ÿ67orr\RB1D;T
            9878ÿ0ÿ8987o_rSTAT~                                                                                                   6P *ÿ*Kÿ*!'*!.&*



                                                           A                      Drv1s10N of

                                                   ~
                                                    51dl/J~                   CORPORATIONS
                                                                                 1111 offi, ra/ {;j/11/t' of Flont/11 11,·b,11,•



                 679878ÿ0ÿ8987ÿ1ÿ6(ÿ0ÿ98ÿ1ÿ79ÿ!7%ÿ1ÿ6789ÿ+ÿ678ÿ 71

                   168ABCÿ;Jÿ>78B8Jÿ:A56
                   K%9ÿ'08ÿ98
                   +,'ÿ- .Lÿ
                   =BCB7Mÿ?7I2<5A8B27
                   12345678ÿ:45;6<                '5N4445455O3
                   =>?@>?:ÿ:45;6<                 .'')6ÿK*!
                   1A86ÿ=BC6D                     5313N1345N
                   E8A86                          K)
                   E8A84F                         .&P
                   GAF8ÿ>H678                     .,6,&
                   >H678ÿ1A86ÿ=BC6D               4N1301345Q
                   >H678ÿ>II638BH6ÿ1A86           *
                   R<B73BSACÿTDD<6FF
                   U54Qÿ.%7ÿ!9%
                   &.,'.LÿK)ÿNNONV
                   97%Wÿ4N13V1345U
                   XABCB7MÿTDD<6FF
                   '*ÿ+Yÿ5Q0O3
                   &.,'.LÿK)ÿNNOUV
                   97%Wÿ421541345Vÿ
                   Z6MBF86<6DÿTM678ÿ:A56ÿ[ÿTDD<6FF
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                   U54Qÿ9%7ÿ9%
                   &.,'.LÿK)ÿNNONV
                   .%%7ÿ97%Wÿ4N13V1345U
                   ^IIB36<@1B<6382<ÿ168ABC
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                   U54Qÿ9%7ÿ9%
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                   &87ÿPÿ
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                   U54Qÿ9%7ÿ!9%
                   &.,'.LÿK)ÿNNONV
                   T774ACÿZ6S2<8F
                    Z6S2<8ÿ̀6A<         =BC6Dÿ1A86
                    3450                4514U13450
                    345U                4N13V1345U
                    3452                4V1N413452
                   12345678ÿ?5AM6F
                    4V1N413452ÿaaÿ.-.)ÿ!'*!&     P7bÿ97ÿÿ'6Kÿ098
                    4N13V1345Uÿaaÿ.-.)ÿ!'*!&     P7bÿ97ÿÿ'6Kÿ098
                    4514U13450ÿaaÿ.-.)ÿ!'*!&     P7bÿ97ÿÿ'6Kÿ098
                    4N13O1345Oÿaaÿ.-.)ÿ!'*!&     P7bÿ97ÿÿ'6Kÿ098
                    4N1301345Qÿaaÿ.7%78         P7bÿ97ÿÿ'6Kÿ098
                    451421345Qÿaaÿ.-.)ÿ!'*!&     P7bÿ97ÿÿ'6Kÿ098
                    421541345Vÿaaÿ.-.)ÿ!'*!&     P7bÿ97ÿÿ'6Kÿ098
                    5313N1345Nÿaaÿ678ÿ'08     P7bÿ97ÿÿ'6Kÿ098



79 1198 79179!786789"87#8897$%78&7#'7()8$7997*%7#+,'- .ÿ/ 513

                                                                            JA443
   USCA Case #21-1251                Document #1955329                                            Filed: 07/15/2022   Page 448 of 561
  Attachment 2
01213452                                                                6789ÿÿ88ÿ97
                                                  0123456ÿ89:63;<9=;ÿ2>ÿ?;6;9@ÿ84A4B42=ÿ2>ÿC23:236;42=B




79 1198 79179!786789"87#8897$%78&7#'7()8$7997*%7#+,'- .ÿ/ 313
                                                                  JA444
USCA Case #21-1251   Document #1955329    Filed: 07/15/2022   Page 449 of 561
Attachment 2




                                  JA445
 USCA Case #21-1251                        Document #1955329                                         Filed: 07/15/2022                 Page 450 of 561
  Attachment 2
01213450                   6789 ÿ998ÿ7ÿ8ÿ87ÿ7ÿ8979ÿ8ÿ98789ÿÿ79ÿ9ÿ7!797ÿ"!7
 .98ÿ-7897ÿÿ687                                                                                                             -'n'6'+ÿ.ÿ   "'+6



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                    34456789:7;5<=787>ÿ@;7A=ÿBCD7ÿE5<=
                    34456789:@ÿBCD7                     FA=5=GÿBCD7                                                            FA=5=GÿBHDI78
                    JK+LÿM'"+N'+                       O$6$ÿ"--K ÿ'+ $                         4P4444053Q5
                    JK+LÿM'"+N'+                       " ÿ"J"ÿN"Rÿ'+ $                        404444STU5P
                    JK+LÿM'"+N'+                       " ÿ"J"ÿN"Rÿ'+ $                        404444STU5P
                    JK+LÿM'"+N'+                       " ÿ"J"ÿN"Rÿ'+ $                        404444STU5P
                    JK+LÿM'"+N'+                       O$6$ÿJK"ÿ.ÿ"J"ÿ'+ $                 534444P35P2
                    JK+LÿM'"+N'+                       O$6$ÿJK"ÿ.ÿ"J"ÿ'+ $                 534444P35P2
                    JK+LÿM'"+N'+                       NJÿO6"ÿ'+ $                             5S4445455T3
                    JK+LÿM'"+N'+                       NJÿO6"ÿ'+ $                             5S4445455T3
                    JK+LÿM'"+N'+                       $J$ÿ6ORÿ'+ $                         5Q44440T52S
                    JK+LÿM'"+N'+
                    --                                  $J$ÿ6ORÿ'+ $                         5Q44440T52S
                    JK+L
                    - - ÿM'"+N'+                        NJÿK. 'LK "+6ÿ'+                        5P44454545S
                    JK+L
                    --   ÿM'"+N'+                       NJÿK. 'LK "+6ÿ'+                        5P44454545S
                    - - ÿM'"+N'+
                    JK+L                               'L"6ÿO6"ÿ'+ $                            504444S30T3
                    JK+L
                    - - ÿM'"+N'+                        'L"6ÿO6"ÿ'+ $                            504444S30T3
                    JK+L                                 V'+"ÿO+'JÿW"JK '"6XÿK "'+6ÿ'J'K- .5P444444UQS
                    - - -ÿM'
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                    JK+L
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                    - - - -+
                    JK+LÿM'                            NK66V"J+6ÿ                          5S44443US5U
                    JK+L
                    - - ÿ-M'OM'
                             -"                         O YRÿ6" ÿ6"ÿ                         5544453Q4QU
                    - - - -"
                    JK+LÿM'OM'                         "ÿ6V'++'+Lÿ6" ÿ                        53444424Q2U
                    JK+L
                    - - ÿ-M'OM'
                             -"                         "ÿ6V'++'+Lÿ6" ÿ                        53444424Q2U
                     971%ÿ ÿ
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                                                                         JA446
 USCA Case #21-1251                     Document #1955329                          Filed: 07/15/2022    Page 451 of 561
  Attachment 2
01213450                                                             6789ÿÿ88ÿ97
 (&9ÿ679878ÿ0ÿ!8987                                                                                6T!+ÿ+(ÿ +".+"L'+!



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        279BCDÿ<Kÿ?89C9Kÿ;B67
        (&9ÿ.08ÿ98
        ,-.ÿ'"L'+L*Mÿ 
        >CDC8Nÿ@8J3=6B9C38
        23456789ÿ;56<7=              .4O4444P25PQ
        >?@A?@;ÿ;56<7=               34R025SPQ2
        2B97ÿ>CD7E                   4P13Q1344O
        F9B97                        (*
        F9B95G                       L 'T
        HBG9ÿ?I789                   L-6-'
        ?I789ÿ2B97ÿ>CD7E             4Q13O1345U
        ?I789ÿ?JJ749CI7ÿ2B97         +
        V=C84CWBDÿXEE=7GG
        0545ÿL&7ÿ"9&ÿ
        '99Mÿ(*ÿQQSQPÿ
        ÿ
         97&ÿ4Q13P13450
        YBCDC8NÿXEE=7GG
        .+ÿ,+Zÿ5UOS3ÿ
        'L-.LMÿ(*ÿQQS0Pÿ
        ÿ
          97&ÿ451401345Oÿ
        [7NCG97=7EÿXN789ÿ;B67ÿ\ÿXEE=7GG
        -7MÿZ9 
        0545ÿL&7ÿ"9&ÿ
        '99Mÿ(*ÿQQSQPÿ
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        ÿ
        L&&7ÿ97&ÿ4Q13P13450
        ]JJC47=A2C=7493=ÿ279BCD
        ;B67ÿ\ÿXEE=7GGÿ
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        '87ÿ.ÿ
        ÿ
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        0545ÿL&7ÿ"9&ÿ
        '99Mÿ(*ÿQQSQPÿ
881179 1198!791!79"786789#87$8897%&78'7$()9&*8%7997+&7$,-./ 513

                                                                 JA447
  USCA Case #21-1251                     Document #1955329                                        Filed: 07/15/2022   Page 452 of 561
  Attachment 2
01213450                                                                   6789ÿÿ88ÿ97
       ÿ
       '87ÿ0.ÿ
       ÿ
       !1ÿ*9
       0545ÿ2&7ÿ"9&ÿ
       '991ÿ(*ÿ33435ÿ
       ÿ
       67789:ÿ<=>?@AB
       <=>?@AÿC=9@            DE:=FÿG9A=
       345H                   451401345H
       345H                   451451345H
       3450                   4313513450
       ÿ
       G?I8J=7AÿKJ9L=B
           4313513450ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           451451345HÿMMÿ2-66ÿ2N2*ÿ".+"'   07)ÿ97ÿÿ.6(ÿO98
           451401345HÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4313413454ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4313H1345PÿMMÿ27&78               07)ÿ97ÿÿ.6(ÿO98
           451421345PÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4215413455ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4514213453ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4313313453ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4513513455ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4315013455ÿMMÿ27&78               07)ÿ97ÿÿ.6(ÿO98
           4313213454ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4513213442ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           4515013440ÿMMÿ2N2*ÿ".+"'           07)ÿ97ÿÿ.6(ÿO98
           451331344HÿMMÿ678ÿ.O8           07)ÿ97ÿÿ.6(ÿO98
       ÿ
       ÿ

                                                     QRSTUVWÿYZ[WT\]Z^\ÿS_ÿ`\W\ZaÿYUbUcUS^ÿS_ÿdST[STW\US^c




881179 1198!791!79"786789#87$8897%&78'7$()9&*8%7997+&7$,-./ 313
                                                                      JA448
  USCA Case #21-1251                        Document #1955329                                         Filed: 07/15/2022   Page 453 of 561
  Attachment 2
01213450                                                                      6789ÿÿ88ÿ97

       057@ABÿ:Hÿ=67A7Hÿ9@45
       (&9ÿ.I8ÿ98
       ,-.ÿ"("J"K'!ÿ
       <ABA6Lÿ>6D1;4@7A16
       01234567ÿ934:5;                   .5M44454545N
       <=>?=>9ÿ934:5;                    +
       0@75ÿ<AB5C                        5313M1345M
       =DD527AE5ÿ0@75                    4514313450
       F7@75                             (*
       F7@73G                            K 'O
       P;A62AQ@BÿRCC;5GG
       054SÿK6"!+ÿ"+K6ÿ
       'K-.KTÿ(*ÿNNUNVÿ
       W@ABA6LÿRCC;5GG
       .+ÿ,+Xÿ5SMU3ÿ
       'K-.KTÿ(*ÿNNU0Vÿ
       Y5LAG75;5CÿRL567ÿ9@45ÿZÿRCC;5GG
       -JTÿXK,
       054SÿK6"!+ÿ"+K6ÿ
       'K-.KTÿ(*ÿNNUNVÿ
       [DDA25;?0A;5271;ÿ057@AB
       9@45ÿZÿRCC;5GGÿ
       ÿ
       '87ÿ.ÿ
       ÿ
       -JTÿXK,
       054SÿK6"!+ÿ"+K6ÿ
       'K-.KTÿ(*ÿNNUNVÿ
       ÿ
       '87ÿO.ÿ
       ÿ
       ,-.ÿ\!Kÿ
       054SÿK6"!+ÿ"+K6ÿ
       'K-.KTÿ(*ÿNNUNVÿ
       ÿ
       R663@BÿY5Q1;7G
       91ÿR663@BÿY5Q1;7Gÿ<AB5C
       ÿ
       01234567ÿ>4@L5G
           5313M1345Mÿ]]ÿ678ÿ.I8   O7)ÿ97ÿÿ.6(ÿI98
       ÿ
       ÿ

                                                        ^_`abcdÿfghdaijgkiÿ`lÿmidignÿfbobpb̀kÿ`lÿq`ah`adib̀kp




881179 1198!791!79"786789#87$8897%&78'7$()9&*8%7997+&7$,-./ 313

                                                                         JA449
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  Attachment 2
01213450                                                             6789ÿÿ88ÿ97
 (&9ÿ679878ÿ0ÿ!8987                                                                                6R!+ÿ+(ÿ +".+"M'+!



                                                                       [J,,,c;Ju I uj
                                                                    CuJJ ~Dl:f~T1u1 fJ
     679878ÿ0ÿ!8987ÿ1ÿ61ÿ0ÿ98ÿ1ÿ!79ÿ"7&ÿ1ÿ6789ÿ,ÿ678ÿ 71

        279BCDÿ<Kÿ?89C9Kÿ;B67
        (&9ÿ.08ÿ98
        ,-.ÿL!MNÿ 
        >CDC8Oÿ@8J3=6B9C38
        23456789ÿ;56<7=              .5P4445455Q3
        >?@A?@;ÿ;56<7=               M..*6ÿ(+"
        2B97ÿ>CD7E                   5313P1345P
        F9B97                        (*
        F9B95G                       M 'R
        HBG9ÿ?I789                   M-6-'
        ?I789ÿ2B97ÿ>CD7E             4P13S1345T
        ?I789ÿ?JJ749CI7ÿ2B97         +
        U=C84CVBDÿWEE=7GG
        054TÿM&7ÿ"9&ÿ
        'M-.MNÿ(*ÿPPQPXÿ
        ÿ
         97&ÿ4P13X13450
        YBCDC8OÿWEE=7GG
        .+ÿ,Zÿ5TSQ3ÿ
        'M-.MNÿ(*ÿPPQ0Xÿ
        ÿ
          97&ÿ421541345Xÿ
        [7OCG97=7EÿWO789ÿ;B67ÿ\ÿWEE=7GG
        -]Nÿ^M,
        054Tÿ9&7ÿ9&ÿ
        'M-.MNÿ(*ÿPPQPXÿ
        ÿ
        M&&7ÿ97&ÿ4P13X13450
        _JJC47=A2C=7493=ÿ279BCD
        ;B67ÿ\ÿWEE=7GGÿ
        ÿ
        '87ÿ.ÿ
        ÿ
        -]Nÿ^M,
        054Tÿ9&7ÿ9&ÿ
        'M-.MNÿ(*ÿPPQPXÿ
        ÿ
        '87ÿRÿ
881179 1198!791!79"786789#87$8897%&78'7$()9&*8%7997+&7$,-./ 513

                                                                 JA450
  USCA Case #21-1251                     Document #1955329                                          Filed: 07/15/2022   Page 455 of 561
  Attachment 2
01213450                                                                    6789ÿÿ88ÿ97
       ÿ
       !01ÿ*2
       0543ÿ9&7ÿ"9&ÿ
       '2-.21ÿ(*ÿ44546ÿ
       ÿ
       7889:;ÿ=>?@ABC
       =>?@ABÿD>:A             EF;>GÿH:B>
       3455                    4413513455
       345I                    451401345I
       3450                    4413613450
       ÿ
       H@J9K>8BÿLK:M>C
           4413613450ÿNNÿ2O2*ÿ".+"'   P7)ÿ97ÿÿ.6(ÿQ98
           451401345IÿNNÿ2O2*ÿ".+"'   P7)ÿ97ÿÿ.6(ÿQ98
           4413513455ÿNNÿ2O2*ÿ".+"'   P7)ÿ97ÿÿ.6(ÿQ98
           4413I13453ÿNNÿ27&78       P7)ÿ97ÿÿ.6(ÿQ98
           4514213453ÿNNÿ2O2*ÿ".+"'   P7)ÿ97ÿÿ.6(ÿQ98
           4215413456ÿNNÿ2O2*ÿ".+"'   P7)ÿ97ÿÿ.6(ÿQ98
           5313413454ÿNNÿ678ÿ.Q8   P7)ÿ97ÿÿ.6(ÿQ98
       ÿ
       ÿ

                                                      RSTUVWXÿZ[\XU]^[_]ÿT`ÿa]X][bÿZVcVdVT_ÿT`ÿeTU\TUX]VT_d




881179 1198!791!79"786789#87$8897%&78'7$()9&*8%7997+&7$,-./ 313

                                                                       JA451
  USCA Case #21-1251                          Document #1955329                                            Filed: 07/15/2022   Page 456 of 561
  Attachment 2
01012340                                                                           56789ÿ ÿ797ÿ86

        -24=>?ÿ7Fÿ:34>4Fÿ6=12
        G9%8ÿHI97ÿ879
        () ÿ* )Jÿ
        9>?>3Kÿ;3A.81=4>.3
        -./01234ÿ601728                    H403333L20M2
        9:;<:;6ÿ601728                     '
        -=42ÿ9>?2@                         3N13M12340
        :AA2/4>B2ÿ-=42                     3N13N12340
        C4=42                              GO
        C4=40D                             )&P
        E=D4ÿ:B234                         )Q5Q&
        :B234ÿ-=42ÿ9>?2@                   3R13S12340
        :B234ÿ:AA2/4>B2ÿ-=42               '
        T8>3/>U=?ÿV@@82DD
        043Rÿ)5! 'ÿ!')5ÿ
        &)QH)JÿGOÿLLMLNÿ
        W=>?>3KÿV@@82DD
        H'ÿX'Yÿ4RSM2ÿ
        &)QH)JÿGOÿLLM0Nÿ
        Z2K>D4282@ÿVK234ÿ6=12ÿ[ÿV@@82DD
        Q(JÿY)X
        0434ÿ)5! 'ÿ!')5ÿ
        &)QH)JÿGOÿLLMLNÿ
        \AA>/28<->82/4.8ÿ-24=>?
        6=12ÿ[ÿV@@82DDÿ
        ÿ
        &976ÿHÿ
        ÿ
        Q(JÿY)X
        0434ÿ)5! 'ÿ!')5ÿ
        &)QH)JÿGOÿLLMLNÿ
        ÿ
        V330=?ÿZ2U.84D
        6.ÿV330=?ÿZ2U.84Dÿ9>?2@
        ÿ
        -./01234ÿ;1=K2D
           3R13S12340ÿ]]ÿ)6%67         P96^ÿ986ÿ9ÿH5GÿI87
           3N13M12340ÿ]]ÿ5679ÿHI97   P96^ÿ986ÿ9ÿH5GÿI87
        ÿ
        ÿ

                                                             _àbcdeÿghiebjkhljÿamÿnjejhoÿgcpcqcalÿamÿrabiabejcalq




771168 9191879 68168!6756789"9976#79786$%9679& 6#9798$6886'%6#() * )+, 212

                                                                              JA452
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Attachment 2




                           Exhibit 8-B




                                  JA453
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  Attachment 2
012013432      56789 ÿ ÿ23ÿÿÿÿ5ÿÿ0ÿÿÿ2ÿ!ÿ""#22ÿ5!$ÿÿ%&$'!ÿ(!ÿ!ÿ)ÿ(6*87ÿ$8+,7-ÿ.ÿ5/




  6789:;7
  <=>?
         6789--
      • --    :;7
      • CHG PR:H8Q
      • 6@ HdPARQ
      • L7R  7
      • 6@ :A:8B
      • CD6ÿ   FGHI7G
      • CJ7@  AK
            =8
         LJMHÿNJOPJQRÿ7ÿLJMH
      •
      • -C:B--
            8ÿ:8
      • -----

  CPSSGTÿUK7:8ÿV8RJGG:BJ8AJÿ7IHPRW
  XYZ[\]^^ÿ̀^ab
  UHMS78TÿS@Hc:GJÿ ÿÿ?8:RJdÿCR7RJQ
  e[[ÿXYZ[\]^^ÿ̀^abfgÿhZijYakgÿ]^jÿgYhhlm[Zg
  nKHPQ78dQÿHcÿAHMS78:JQÿG:oJÿTHPÿPQJÿ6789:;7ÿRHÿ@JQJ7@AKÿQPSSG:J@Qÿ78dÿAHMSJR:RH@Qp
  NJOPJQRÿ7ÿLJMH




0--+1211+ 345,9156789 # 1020 2                                                                                      210

                                                         JA454
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  Attachment 2
012013432      56789 ÿ ÿ23ÿÿÿÿ5ÿÿ0ÿÿÿ2ÿ!ÿ""#22ÿ5!$ÿÿ%&$'!ÿ(!ÿ!ÿ)ÿ(6*87ÿ$8+,7-ÿ.ÿ5/

  67879:ÿ<9==7>?@ÿA?ÿB:CD9:ÿ=>9E7
  FGHÿJGKLMNOPQRNPSOGLQÿMTUMÿQKHHVWÿXKNPYULLÿZLJ[
  \NOSOLÿ]GKLMNWR^PSOGL
     • _GKM   Tÿ̀GNPU
        aabÿQTOHYPLMQÿcadd[def




  g9@hÿ9ii7@@ÿ=Cÿ=>9E7ÿE9=9
  jklkÿmn@=Co@ÿ>7iC>E@ÿC>B9?Ap7EÿDhÿiCo<9?h
  aabÿq[_[ÿQTOHYPLMQÿUrUOVUsVPÿtGNÿXKNPYULLÿZLJ[uÿKHvUMPvÿwPPxVWÿQOLJPÿyddz
                                                                                                                      }~
   {9=7 |nh7> ln<<:A7>                                       {7=9A:@                                                oC>7
                                                                                                                    A7:E@
  ydyaXKNPYULLXKNPYULL^^Z^ Fÿ _ÿ^a ÿ] __y[ÿyÿqÿ\ab                                                   OVV
  dayZLJ[ ZLJ[ ^^Z^ Fÿ _ÿ^a ÿ] __y[ÿyÿqÿ\ab                                                         Gt
                                                                                                                   VUvOLS
  ydyaXKNPYULLXKNPYULL^^Z^ Fÿ _ÿ^a ÿ] __y[ÿyÿqÿ\ab                                                   OVV
  dadZLJ[ ZLJ[                                                                                                   Gt
                                                                                                                   VUvOLS
  ydydXKNPYULLXKNPYULL^      ^Z^ Fÿ _ÿ^a ÿ] __y[ÿyÿqÿ\ab                                             OVV
  ayyZLJ[ ZLJ[ ^            ^Z^ Fÿ _ÿ^a ÿ] __y[ÿyÿqÿ\ab
                            ^^Z^ Fÿ _ÿ^a ÿ] __y[ÿyÿqÿ\ab
                                                                                                                   Gt
                                                                                                                   VUvOLS
  _TOHYPLMÿvUMUÿQTGwQÿwTUMÿHNGvKJMQÿUÿJGYHULWÿOQÿMNUvOLSÿULvÿYGNP[ÿPUNLÿYGNP
0--+1211+ 345,9156789 # 1020 2                                                                                      310

                                                         JA455
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  Attachment 2
012013432      56789 ÿ ÿ23ÿÿÿÿ5ÿÿ0ÿÿÿ2ÿ!ÿ""#22ÿ5!$ÿÿ%&$'!ÿ(!ÿ!ÿ)ÿ(6*87ÿ$8+,7-ÿ.ÿ5/
  6789:;<ÿ>;?@ABCÿ;<9?>A:BDEA8DÿEA@@<BÿABÿDF889GÿHE?ABÿ@?>?
  IF889GÿHE?ABÿJ?8
                                                                                      Nike Canada

                                                                                      Ua Chile Spa

                                                                                      Nike De Chile Umitada

                                                                                      Mammut Sports Group Gmbh




                                                                                      Wal Mart International

                                                                                      Fanatics, Inc,

                                                                                      Kohl's Department Stores, Inc.




                                                                                      Gfsi Inc,

                                                                                      Carhartt, Inc,

                                                                                      The North Face

                                                                                      Sports Licensed Division 5 Industries




                                                                                      Under Armour Canada Inc,

                                                                                      Under Armour Europe BV


  KLLÿNOOÿPÿQRSSOTLUQÿVWÿXRULYNZZÿ[Z\]
  ^:B>?H>ÿAB_:;J?>A:Bÿ_:;ÿ̀F;<J?BBÿaBHb
  ÿ
  c@@;<DD
  defPÿg]ÿhijkÿKl]ÿlmnXmÿopqÿqrqdÿsKmÿomkÿtfÿluqÿvdvwfdefÿXuxKjiÿ[iÿyzmx{uÿ|uiÿnui
  ÿ
  ÿ
  }:8ÿ8;:@FH>D
     f]ÿULWUT~LUNZÿ~NQ
  }:8ÿIÿ^:@<D
     f]ÿzKÿPeÿwÿjU~NZT\ÿ\LYT\NOQ
     P]ÿzKÿqtÿwÿyLYT\NOÿSUVR\QÿZ]L]\]
0--+1211+ 345,9156789 # 1020 2                                                                                          10

                                                         JA456
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  Attachment 2
012013432      56789 ÿ ÿ23ÿÿÿÿ5ÿÿ0ÿÿÿ2ÿ!ÿ""#22ÿ5!$ÿÿ%&$'!ÿ(!ÿ!ÿ)ÿ(6*87ÿ$8+,7-ÿ.ÿ5/
  677ÿ9:;7ÿ<::=>ÿ>?@AA7=ÿ:BÿCDBE@FD
  GHIJKLÿNOKKÿPQÿRHSOTU
  VVWÿXYOJILTZÿ[L\P[SXÿH]HOKH^KL
  _D7̀
  abacdbcdae
  6?@AA7;ÿfD97
  Cg;79DBBÿhBij
  6?@AA7;ÿk==;7>>
  lladclÿmknopkqrrhfdsrÿtkfqkfdmunrfÿvrnwfÿxowfqvwyÿaz{c|ÿ6rw}oÿyrÿ}nsnk
  ~kÿza
  x:B>@<B77ÿfD97
  Cg;79DBBÿhBi
  x:B>@<B77ÿk==;7>>
  e{caÿpÿyfrÿ6}ÿ}kmCkÿ~lÿl|leÿw6kÿ~kÿzcÿ}nlÿedce{cÿCns6rfÿhfÿxoksqnÿvnfÿmnf
  f:`@ÿCD;`ÿfD97
  Cg;79DBBÿhBi
  f:`@ÿCD;`ÿk==;7>>
  e{caÿpÿyfrÿ6}ÿ6wh}nÿcbbjÿ}kmCkÿ~ll|leÿw6
  p7@<?`
  e|aa
  p7@<?ÿ̀wB@`
  y
  p7@<?ÿ̀@Bÿyq
  e|aab
  gDB`@`
  aab
  gDB`@`ÿwB@`
  xu
  6?@A97Bÿ̀r;@<@B
  6:g`?ÿy:;7D
  _7D̀@>
  e|jaabÿ<
  ~;:9ÿA:;`ÿvg>DBjÿ6:g`?ÿy:;7Dÿ
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                           Exhibit 8-C




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Attachment 2




                           Exhibit 8-D




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                           Exhibit 8-E




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Attachment 2


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    Nithya Nagarajan
    Partner

    750 17th St. N.W., Suite 900
    Washington, DC 20006-4675
    Direct: 202.378.2409
    Fax: 202.348.2319
    nithya.nagarajan@huschblackwell.com

                                              November 12, 2019

                                                        Case No. A-570-028
                                                        Total Pages: 169
                                                        Anti-Circ: HFC Components
                                                        E&C: Operations

                                                        PUBLIC VERSION
                                                        Business Proprietary Information removed
                                                        from brackets in Q&V Response pages 2-5
                                                        and Attachments II-A to II-D.

     Honorable Wilbur Ross
     Secretary of Commerce
     U.S. Department of Commerce
     Attention: Enforcement and Compliance
     Central Records Unit, Room 1870
     14th Street and Constitution Avenue, N.W.
     Washington, D.C. 20230

                   Re:     Hydrofluorocarbon Blends from the People’s Republic of China:
                           Response to Quantity and Value Questionnaire

     Dear Secretary Ross:

              On behalf of the following companies:

              1. 7680 Paradise Point LLC
              2. 8105 Anderson LLC
              3. 8900 Armenia LLC
              4. AC Tampa Bay, Inc.
              5. Assured Comfort A/C Inc.
              6. BMP International, Inc.
              7. BMP Refrigerants Inc.
              8. BMP USA Inc.
              9. Cool Master U.S.A., L.L.C.
              10. E.T.S. of Tampa Bay, Inc.
              11. iGas USA Inc.
                                                                                      Husch Blackwell LLP




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            12. iGas, Inc.
            13. L.M. Supply, Inc. (AKA LMJ Supply, Inc.)
            14. MasterJ LLC
            15. MS Fund LLC
            16. Organic Apple, LLC
            17. Organic Orange, L.L.C.
            18. U.S. Ladder, Inc.
            19. U.S. Metal of Tampa, Inc.

            Collectively named “BMP and its affiliates”, we hereby submit the foregoing quantity

     and value questionnaire response in the above-referenced proceeding. Each of the company

     certifications are being provided after the respective company’s Q&V response.


                           REQUEST FOR PROPRIETARY TREATMENT

            Certain information contained herein is business confidential data that is proprietary.

     This information is enclosed with brackets (“[ ]”). Disclosure of this information would cause

     substantial competitive and commercial harm to the parties. Such data is marked as “Proprietary

     Treatment Requested.” Confidential treatment, subject to administrative protective order, is

     requested pursuant to 19 C.F.R. § 351.105(c) (2012). Information marked as business

     proprietary has been so marked for one or more of the following reasons, in accordance with 19

     C.F.R. §351.105(c) (2012):

            (1)     Business or trade secrets concerning the nature of a product or production
                    process;
            (2)     Production costs (but not the identity of the production components unless a
                    particular component is a trade secret);
            (3)     Distribution costs and channels of distribution;
            (4)     Terms of sale (but not terms of sale offered to the public);
            (5)     Prices of individual sales, likely sales, or other offers (but not components of
                    prices, such as transportation, if based on published schedules, dates of sale,
                    product descriptions except business or trade secrets described in term 1 above, or
                    order numbers);
            (6)     Names of particular customers, distributors, or suppliers (but not destination of
                    sale or designation of type of customer, distributor, or supplier, unless the
                    designation of destination would reveal the name);
                                                                                        Husch Blackwell LLP




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Attachment 2




                       BMP International Inc.




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                                        COMPANY CERTIFICATION

        I, Ben Meng, President, currently employed by BMP International Inc. certify that I prepared
        or otherwise supervised the preparation of the attached submission of Hydrofluorocarbon
        Blends from the People's Republic of China: Quantity and Value Questionnaire Response,
        due on November 12, 2019, pursuant to the Anti-Circumvention Inquiry on
        Hydrofluorocarbon Blends from the People's Republic of China {A-570-028). I certify that
        the public information and any business proprietary information of BMP International Inc. in
        the submission is accurate and complete to the best of my knowledge. I am aware that the
        information contained in this submission may be subject to verification or corroboration (as
        appropriate) by the U.S. Department of Commerce. I am also aware that U.S. law (including, but
        not limited to, 18 U.S.C.1001) imposes criminal sanction on individuals who knowingly and
        willfully make material false statements to the U.S. Government. In addition, I am aware that,
        even if this submission may be withdrawn from the record of the AD/CVD proceeding, the U.S.
        Department of Commerce may preserve this submission, including a business proprietary
        submission, for purposes of determining the accuracy of this certification. I certify that a copy of
        this signed certification will be filed with this submission to the U.S. Department of Commerce.


                Signature: _ _ _  \2~·~----'----------
                Date:    November 12, 2019
                                              ------------




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                                                                              PUBLIC VERSION




                         OFFICE OF AD/CVD ENFORCEMENT
                       QUANTITY AND VALUE QUESTIONNAIRE

       REQUESTER(S):               BMP International Inc.
                                   8105 Anderson Road
                                   Tampa, Florida 33634
                                   Ben Meng, President
                                   813-298-8101
                                   813-889-7900
                                   ben@bmp-usa.com


       REPRESENTATION:             Nithya Nagarajan
                                   Partner
                                   HUSCH BLACKWELL LLP
                                   750 17th Street, NW,
                                   Suite 900
                                   Washington, D.C. 20006-4675
                                   Direct: 202.378.2409
                                   Fax: 202.378.2319
                                   Nithya.Nagarajan@huschblackwell.com

       CASE:                  Hydrofluorocarbon Blends from the People’s Republic of China

       DATE OF INITIATION:    June 18, 2019

       DUE DATE FOR Q&V RESPONSE:             November 5, 2019

       OFFICIALS IN CHARGE:          Andrew Medley, Ben Luberda




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     Submit all completed charts required by this questionnaire in Excel format.
      1. In the chart provided in attachment II-A, please provide monthly and total quantity (in
         kilograms) and monthly and total value (in U.S. Dollars)4 of your shipments (if you are an
         exporter and/or producer) or imports (if you are an importer) of merchandise under U.S.
         Harmonized Tariff Schedule (USHTS) code 2903.39.2035 (“Difluoromethane;
         pentafluoroethane; and 1,1,1-trifluoroethane”) for the time period of July 1, 2011, through
         June 30, 2019. Provide a narrative explanation of how you aggregated these data from your
         books and records.

     Response:

     The monthly and total quantity and value of BMP International Inc’s (“BMP

     International”) imports is provided at Attachment II-A. BMP International Inc.

     maintains an [                                                                          ].

     Whenever BMP International receives the Importer Security Filing (“ISF”) from the

     exporter for an upcoming shipment, it [

                                                              ] based on the ISF and the ISF is

     [                         ]. When the exporter sends the commercial invoice, packing list,

     and bill of lading, BMP International matches the invoice with the contract and records the

     invoice information in the [          ]. The commercial invoice, packing list and bill of

     lading are also linked to the [         ]. When the product is received at the warehouse,

     BMP International matches the quantity with the commercial invoice and records the

     [                                          ] and into the company’s Quickbooks system. In

     order to complete the attachment, BMP International totaled the monthly quantities and

     values of the relevant imports based on the commercial invoice date.

     2. Identify whether you are a producer, exporter, or U.S. importer of R-32, R-125, and/or R143a
     produced in China.




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     Response:

             BMP International has imported R-32, R125 and R143A produced in China since

     [             ]. Before that BMP International imported HFC blends from China, including

     R410A, R404A, R407A, R407C and R507. BMP International resells all imported product

     in the United States. BMP International does not blend any HFC components.

     3.If you are a producer and/or exporter of R-32, R-125, and/or R-143a in China, identify your top
     five U.S. importers. Fill in the chart provided in attachment II-B with the monthly quantities and
     values of your shipments under USHTS 2903.39.2035 to each of your top five U.S. importers.
     Response:
     Not applicable.. BMP International is not a producer or exporter of R-32, R-125 or R-

     143a.

     4. If you are a U.S. importer of R-32, R-125, and/or R-143a produced in China, identify your top
     five Chinese producers/exporters. Fill in the chart provided in attachment II-C with the monthly
     quantities and values of your purchases under USHTS 2903.39.2035 from each of your top five
     Chinese producers/exporters.
     Response:

     The requested information is provided at Attachment II-C. This response has been

     aggregated in the same manner as our response to Attachment II-A. The [                   ]

     maintained by BMP International contains the quantity and value of each import and the

     identity of the exporter. In order to complete the attachment, BMP International filtered

     the information in the [                              ] to obtain the monthly quantities and

     values that BMP International received from [                   ].



     5. State whether you are affiliated with any: a. producers of HFC components R-32, R-125,
     and/or R-143a in China; b. exporters of HFC components R-32, R-125, and/or R-143a in China;
     or c. importers of HFC components R-32, R-125, and/or R-143a produced in China into the
     United States. If yes, please identify those producers, exporters, or importers.

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                                                                                        PUBLIC VERSION




     Response:

     BMP International is affiliated with the following importers of HFC components R-32, R-

     125 and R143A produced in China:

     [

                     ]

     A separate response is being submitted for each of these companies.

     Please respond to questions 6, 7, 8, and 9 (below) only if you are a U.S. importer of HFC
     components R-32, R-125, and/or R-143a produced in China into the United States.
     Producers/exporters need not respond to questions 6, 7, 8, and 9.

     6. Provide a detailed narrative response as to what your company does with the imported HFC
     components (including, but not limited to, whether your company, or another company on behalf
     of your company, blends them to create HFC blends, resells the HFC components, etc.).
     Response:

     BMP International resells all HFC components to [                      ]. The components are

     sold in ISO tanks. No HFC components or HFC blends were sold back to BMP

     International by [                 ]. See response to question 9.

     7. If your company, or another company on behalf of your company, blends the HFC
     components, identify all HFC blends (e.g., R-404A, R-410A, R-507A) your company produces
     using the imported HFC components. Please also identify if the HFC blends are then sold in the
     United States.
     Response:

     BMP International was not involved in blending the HFC components. All HFC

     components were sold to [                   ]. See response to question 9.

     8. If your company, or another company on behalf of your company, blends the imported HFC
     components to create HFC blends, complete the chart in attachment II-D, which details the
     monthly quantities and values of each HFC blend identified in question 7 using the imported
     HFC components for the period of July 1, 2011, through June 30, 2019.




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     Response:

     Not applicable. BMP International does not blend HFC components. [                        ]

     has submitted a separate response to this questionnaire with the requested information.

     9. If your company resells the HFC components, please identify the customers of the resold HFC
     components, and please explain whether, to the best of your knowledge, these customers are
     involved in the blending of the HFC components to create HFC blends which are then sold in the
     United States.
     Response:

     BMP International sells HFC components to [                    ]. [                ] resells

     some of the HFC components in the United States and also blends the HFC components to

     create HFC blends which are then sold in the United States.




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                           BMP USA Inc.




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                                       COMPANY CERTIFICATION

        I, Ben Meng, President, currently employed by BMP USA Inc. certify that I prepared or
        otherwise supervised the preparation of the attached submission ofHydrofluorocarbon Blends
        from the People's Republic of China: Quantity and Value Questionnaire Response, due on
        November 12, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
        Blends from the People's Republic of China (A-570-028). I certify that the public information
        and any business proprietary information ofBMP USA Inc. in the submission is accurate and
        complete to the best of my knowledge. I am aware that the information contained in this
        submission may be subject to verification or corroboration (as appropriate) by the U.S.
        Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
        U.S.C.1001) imposes criminal sanction on individuals who knowingly and willfully make
        material false statements to the U.S. Government. In addition, I am aware that, even if this
        submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
        of Commerce may preserve this submission, including a business proprietary submission, for
        purposes of determining the accuracy of this certification. I certify that a copy of this signed
        certification will be filed with this submission to the U.S. Department of Commerce.


                Signature:       '\!-,/ -
                             --------"---------
                Date:   November 12 2019




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                                                                              PUBLIC VERSION




                        OFFICE OF AD/CVD ENFORCEMENT
                      QUANTITY AND VALUE QUESTIONNAIRE

     REQUESTER(S):                 BMP USA Inc.
                                   8101 Anderson Road
                                   Tampa, Florida 33634
                                   Ben Meng, President
                                   813-298-8101
                                   813-889-7900
                                   ben@bmp-usa.com

       REPRESENTATION:             Nithya Nagarajan
                                   Partner
                                   HUSCH BLACKWELL LLP
                                   750 17th Street, NW,
                                   Suite 900
                                   Washington, D.C. 20006-4675
                                   Direct: 202.378.2409
                                   Fax: 202.378.2319
                                   Nithya.Nagarajan@huschblackwell.com

       CASE:                  Hydrofluorocarbon Blends from the People’s Republic of China

       DATE OF INITIATION:    June 18, 2019

       DUE DATE FOR Q&V RESPONSE:             November 5, 2019

       OFFICIALS IN CHARGE:          Andrew Medley, Ben Luberda




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     Submit all completed charts required by this questionnaire in Excel format.
      1. In the chart provided in attachment II-A, please provide monthly and total quantity (in
         kilograms) and monthly and total value (in U.S. Dollars) of your shipments (if you are an
         exporter and/or producer) or imports (if you are an importer) of merchandise under U.S.
         Harmonized Tariff Schedule (USHTS) code 2903.39.2035 (“Difluoromethane;
         pentafluoroethane; and 1,1,1-trifluoroethane”) for the time period of July 1, 2011, through
         June 30, 2019. Provide a narrative explanation of how you aggregated these data from your
         books and records.

      Response:

      The monthly and total quantity and value of BMP USA Inc’s (“BMP USA”) imports is

      provided at Attachment II-A. BMP USA maintains an [

                                       ] for each year. Whenever BMP USA receives the

      Importer Security Filing (“ISF”) from the exporter for an upcoming shipment, it [



                  ] based on the ISF and the ISF is linked to the [                ]. When the

      exporter sends the commercial invoice, packing list, and bill of lading, BMP USA matches

      the invoice with the contract and records the invoice information in the [             ]. The

      commercial invoice, packing list and bill of lading are also linked to the [           ]. When

      the product is received at the warehouse, BMP USA matches the quantity with the

      commercial invoice and records the inventory information into the [

                              ] system. In order to complete the attachment, BMP USA totaled

      the monthly quantities and values of the relevant imports based on the commercial invoice

      date.

     2.Identify whether you are a producer, exporter, or U.S. importer of R-32, R-125, and/or R143a
     produced in China.




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     Response:

     BMP USA imports R-32, R125 and R143A produced in China. BMP started importing

     these components in [               ]. BMP USA also blends these components into HFC

     blends such as R410A, R404A, R407A, R407C, R507. BMP USA sells these HFC blends to

     [            ] in the United States.


     3.If you are a producer and/or exporter of R-32, R-125, and/or R-143a in China, identify your top
     five U.S. importers. Fill in the chart provided in attachment II-B with the monthly quantities and
     values of your shipments under USHTS 2903.39.2035 to each of your top five U.S. importers.
     Response:
     Not applicable. BMP USA is not a producer or exporter of R-32, R-125 or R-143a.
     4. If you are a U.S. importer of R-32, R-125, and/or R-143a produced in China, identify your top
     five Chinese producers/exporters. Fill in the chart provided in attachment II-C with the monthly
     quantities and values of your purchases under USHTS 2903.39.2035 from each of your top five
     Chinese producers/exporters.
     Response:

     The requested information is provided at Attachment II-C. This response has been

     aggregated in the same manner as our response to Attachment II-A. The [                   ]

     maintained by BMP USA contains the quantity and value of each import and the identity

     of the exporter. In order to complete the attachment, BMP USA filtered the information

     in the [         ] by exporter name to obtain the monthly quantities and values that BMP

     USA received from each exporter.

     5. State whether you are affiliated with any: a. producers of HFC components R-32, R-125,
     and/or R-143a in China; b. exporters of HFC components R-32, R-125, and/or R-143a in China;
     or c. importers of HFC components R-32, R-125, and/or R-143a produced in China into the
     United States. If yes, please identify those producers, exporters, or importers.
     Response:

     BMP USA is affiliated with the following importers of HFC components R-32, R-125 and

     R143A produced in China.
                                                     3




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     [

                                 ]

     A separate response is being submitted for each of these companies.


     Please respond to questions 6, 7, 8, and 9 (below) only if you are a U.S. importer of HFC
     components R-32, R-125, and/or R-143a produced in China into the United States.
     Producers/exporters need not respond to questions 6, 7, 8, and 9.
     6. Provide a detailed narrative response as to what your company does with the imported HFC
     components (including, but not limited to, whether your company, or another company on behalf
     of your company, blends them to create HFC blends, resells the HFC components, etc.).
     Response:

     BMP USA [                                                        ] in the United States in ISO

     tanks or 125lbs cylinders. BMP USA also blends these components into HFC blends such as

     R410A, R404A, R407A, R407C, R507. These HFC blends are packaged in ISO tanks, 30lbs

     cylinder or 125lbs cylinders and sold to distributors in the United States.

     7. If your company, or another company on behalf of your company, blends the HFC
     components, identify all HFC blends (e.g., R-404A, R-410A, R-507A) your company produces
     using the imported HFC components. Please also identify if the HFC blends are then sold in the
     United States.
     Response:

     See response to question 6 above. BMP USA blends R404A, R407A, R407C, R410A and

     R507 and sells the blends to distributors in the United States. BMP USA also uses

     unaffiliated third-party companies [                             ] and [

               ] to blend R404A, R407A, R407C, R410A and R507 and then sells the HFC

     blends in the United States.

     8. If your company, or another company on behalf of your company, blends the imported HFC
     components to create HFC blends, complete the chart in attachment II-D, which details the
     monthly quantities and values of each HFC blend identified in question 7 using the imported
     HFC components for the period of July 1, 2011, through June 30, 2019.


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     The requested information is provided at Attachment II-D. BMP USA records the

     quantity and value of every sale made in the United States in [              ]. Whenever

     BMP USA receives a purchase order from a customer, it creates an invoice in [                    ]

     with the product item code, quantity, unit price, ship to address, bill to address, and

     payment terms. BMP USA’s production is based on sales such that the sales information is

     reflective of its production. In order to complete the attachment, BMP USA summed the

     monthly sales quantities and values for each HFC blends

     9. If your company resells the HFC components, please identify the customers of the resold HFC
     components, and please explain whether, to the best of your knowledge, these customers are
     involved in the blending of the HFC components to create HFC blends which are then sold in the
     United States.
     Response:

     BMP USA sells HFC components to the companies listed below.

     [


                     ]

     Our understanding is that the unaffiliated companies blend the HFC components to create

     HFC blends. BMP USA does not know what these companies do with the HFC blends, but

     assumes at least some of the blends are sold in the United States.

     [                   ] is submitting a separate response to this questionnaire with information

     on its operations. The other companies are not affiliated with BMP USA.




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                     Cool Master U.S.A., LLC




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                                       COMPANY CERTIFICATION

       I, Ben Meng, President, currently employed by Cool Master U.S.A., LLC certify that I
       prepared or otherwise supervised the preparation of the attached submission of
       Hydrofluorocarbon Blends from the People's Republic of China: Quantity and Value
       Questionnaire Response, due on November 12, 2019, pursuant to the Anti-Circumvention
       Inquiry on Hydrofluorocarbon Blends from the People's Republic of China (A-570-028). I
       certify that the public information and any business proprietary information of Cool Master
       U.S.A., LLC in the submission is accurate and complete to the best of my knowledge. I am
       aware that the information contained in this submission may be subject to verification or
       corroboration (as appropriate) by the U.S. Department of Commerce. I am also aware that U.S.
       law (including, but not limited to, 18 U.S.C.1001) imposes criminal sanction on individuals who
       knowingly and willfully make material false statements to the U.S. Government. In addition, I
       am aware that, even if this submission may be withdrawn from the record of the AD/CVD
       proceeding, the U.S. Department of Commerce may preserve this submission, including a
       business proprietary submission, for purposes of determining the accuracy of this certification. I
       certify that a copy of this signed certification will be filed with this submission to the U.S.
       Department of Commerce.


                                 \,~/----/
                                 ,-i--_ ____________
                Signature: _ _ _ _

                Date:   November 12 2019




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                                                                              PUBLIC VERSION




                        OFFICE OF AD/CVD ENFORCEMENT
                      QUANTITY AND VALUE QUESTIONNAIRE

     REQUESTER(S):                 Cool Master U.S.A., LLC
                                   8101 Anderson Road
                                   Tampa, Florida 33634
                                   Ben Meng, President
                                   813-298-8101
                                   813-889-7900
                                   ben@bmp-usa.com


       REPRESENTATION:             Nithya Nagarajan
                                   Partner
                                   HUSCH BLACKWELL LLP
                                   750 17th Street, NW,
                                   Suite 900
                                   Washington, D.C. 20006-4675
                                   Direct: 202.378.2409
                                   Fax: 202.378.2319
                                   Nithya.Nagarajan@huschblackwell.com

       CASE:                  Hydrofluorocarbon Blends from the People’s Republic of China

       DATE OF INITIATION:    June 18, 2019

       DUE DATE FOR Q&V RESPONSE:             November 5, 2019

       OFFICIALS IN CHARGE:          Andrew Medley, Ben Luberda




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                                                                                       PUBLIC VERSION




     Submit all completed charts required by this questionnaire in Excel format.
      1. In the chart provided in attachment II-A, please provide monthly and total quantity (in
         kilograms) and monthly and total value (in U.S. Dollars) of your shipments (if you are an
         exporter and/or producer) or imports (if you are an importer) of merchandise under U.S.
         Harmonized Tariff Schedule (USHTS) code 2903.39.2035 (“Difluoromethane;
         pentafluoroethane; and 1,1,1-trifluoroethane”) for the time period of July 1, 2011, through
         June 30, 2019. Provide a narrative explanation of how you aggregated these data from your
         books and records.

     Response:

     The monthly and total quantity and value of Cool Master U.S.A., LLC. ‘s (“Cool Master”)

     imports is provided at Attachment II-A. Cool Master U.S.A., LLC maintains an [

                                                     ] for each year. Whenever Cool Master

     receives the Importer Security Filing (“ISF”) from the exporter for an upcoming shipment,

     it creates a record in the [         ] with the quantity, estimated arrival time, and the

     exporter’s information based on the ISF and the ISF is linked to the [               ]. When

     the exporter sends the commercial invoice, packing list, and bill of lading, Cool Master

     matches the invoice with the contract and records the invoice information in the [

        ]. The commercial invoice, packing list and Bill of lading are also linked to the [

        ]. When the product is received at the warehouse, Cool Master matches the quantity

     with the commercial invoice and records the inventory information into the [

                                              ]. In order to complete the attachment, Cool Master

     totalled the monthly quantities and values of the relevant imports based on the commercial

     invoice date.

     2.Identify whether you are a producer, exporter, or U.S. importer of R-32, R-125, and/or R143a
     produced in China.




                                                     2




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     Response:

     Cool Master onl)' imported R-32, R125 and R143A produced in China during a [

                          ]. The company also imports R134A, R421A and R407C into the

     United States. The company sold all imported product in the United States and did not

     blend any HFC components.

     3.Ifyou are a producer and/or exporter ofR-32, R-125, and/or R-143a in China, identify your top
     five U.S. importers. Fill in the chart provided in attachment 11-B with the monthly quantities and
     values of your shipments under USHTS 2903.39.2035 to each of your top five U.S. importers.

     Response:
     Not applicable. Cool Master is not a producer or exporter of R-32, R-125 or R-143a.


     4. If you are a U.S. importer ofR-32, R-125 , and/or R-143a produced in China, identify your top
     five Chinese producers/exporters. Fill in the chart provided in attachment 11-C with the monthly
     quantities and values of your purchases under USHTS 2903.39.2035 from each of your top five
     Chinese producers/ exporters.

     Response:

     The requested information is provided at Attachment 11-C. This response has been

     aggregated in the same manner as our response to Attachment II-A. The [                   ]

     maintained by Cool Master contains the quantity and value of each import and the identity

     of the exporter. In order to complete the attachment, Cool Master filtered the information

     in the [         ] by the exporter name to obtain the monthly quantities and values that

     Cool Master received from each exporter.



     5. State whether you are affiliated with any: a. producers ofHFC components R-32, R-125 ,
     and/or R-143a in China; b. exporters ofHFC components R-32, R-125 , and/or R-143a in China;
     or c. importers of HFC components R-32, R-125 , and/or R-143a produced in China into the
     United States. If yes, please identify those producers, exporters, or importers.




                                                     3




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     Response:

     COOL Master is affiliated with the following importers of HFC components R-32, R-125

     and R143A produced in China.

     [

                      ]

     A separate response is being submitted for each of these companies.


     Please respond to questions 6, 7, 8, and 9 (below) only if you are a U.S. importer of HFC
     components R-32, R-125, and/or R-143a produced in China into the United States.
     Producers/exporters need not respond to questions 6, 7, 8, and 9.
     6. Provide a detailed narrative response as to what your company does with the imported HFC
     components (including, but not limited to, whether your company, or another company on behalf
     of your company, blends them to create HFC blends, resells the HFC components, etc.).
     Response:

     COOL Master sells all HFC components to [                       ]. The components are sold in

     ISO tanks. No HFC components or HFC blends were sold back to COOL Master by [

               ]. See response to question 9.

     7. If your company, or another company on behalf of your company, blends the HFC
     components, identify all HFC blends (e.g., R-404A, R-410A, R-507A) your company produces
     using the imported HFC components. Please also identify if the HFC blends are then sold in the
     United States.
     COOL Master was not involved in blending the HFC components. All HFC components

     were sold to [                 ]. See response to question 9.

     8. If your company, or another company on behalf of your company, blends the imported HFC
     components to create HFC blends, complete the chart in attachment II-D, which details the
     monthly quantities and values of each HFC blend identified in question 7 using the imported
     HFC components for the period of July 1, 2011, through June 30, 2019.




                                                     4




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     Response:

     Not applicable. COOL Master does not blend HFC Components. [                         ] has

     submitted a separate response to this questionnaire with the requested information.

     9. If your company resells the HFC components, please identify the customers of the resold HFC
     components, and please explain whether, to the best of your knowledge, these customers are
     involved in the blending of the HFC components to create HFC blends which are then sold in the
     United States.
     Response:

     COOL Master sells HFC components to [                      ]. [              ] resells some of

     the HFC components in the United States and also blends the HFC components to create

     HFC blends which are then sold in the United States.




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                           IGAS USA Inc.




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 Attachment 2




                                      COMPANY CERTIFICATION

       I, Ben Meng, President, currently employed by IGAS USA Inc. certify that I prepared or
       otherwise supervised the preparation of the attached submission ofHydrofluorocarbon Blends
       from the People's Republic of China: Quantity and Value Questionnaire Response, due on
       November 12, 2019, pursuant to the Anti-Circumvention Inquiry on Hydrofluorocarbon
       Blends from the People's Republic of China (A-570-028). I certify that the public information
       and any business proprietary information ofIGAS USA Inc. in the submission is accurate and
       complete to the best of my knowledge. I am aware that the information contained in this
       submission may be subject to verification or corroboration (as appropriate) by the U.S.
       Department of Commerce. I am also aware that U.S. law (including, but not limited to, 18
       U.S.C.1001) imposes criminal sanction on individuals who knowingly and willfully make
       material false statements to the U.S. Government. In addition, I am aware that, even if this
       submission may be withdrawn from the record of the AD/CVD proceeding, the U.S. Department
       of Commerce may preserve this submission, including a business proprietary submission, for
       purposes of determining the accuracy of this certification. I certify that a copy of this signed
       certification will be filed with this submission to the U.S. Department of Commerce.


                Signature: _ _ _ \2:-::.....__~---------
                Date:   November 12 2019




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                                                                              PUBLIC VERSION




                         OFFICE OF AD/CVD ENFORCEMENT
                      QUANTITY AND VALUE QUESTIONNAIRE

     REQUESTER(S):                 IGAS USA Inc.
                                   8105 Anderson Road
                                   Tampa, Florida 33634
                                   Ben Meng, President
                                   813-298-8101
                                   813-889-7900
                                   ben@bmp-usa.com



       REPRESENTATION:             Nithya Nagarajan
                                   Partner
                                   HUSCH BLACKWELL LLP
                                   750 17th Street, NW,
                                   Suite 900
                                   Washington, D.C. 20006-4675
                                   Direct: 202.378.2409
                                   Fax: 202.378.2319
                                   Nithya.Nagarajan@huschblackwell.com

       CASE:                  Hydrofluorocarbon Blends from the People’s Republic of China

       DATE OF INITIATION:    June 18, 2019

       DUE DATE FOR Q&V RESPONSE:             November 5, 2019

       OFFICIALS IN CHARGE:          Andrew Medley, Ben Luberda




                                               1




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                                                                                       PUBLIC VERSION




     Submit all completed charts required by this questionnaire in Excel format.
      1. In the chart provided in attachment II-A, please provide monthly and total quantity (in
         kilograms) and monthly and total value (in U.S. Dollars)4 of your shipments (if you are an
         exporter and/or producer) or imports (if you are an importer) of merchandise under U.S.
         Harmonized Tariff Schedule (USHTS) code 2903.39.2035 (“Difluoromethane;
         pentafluoroethane; and 1,1,1-trifluoroethane”) for the time period of July 1, 2011, through
         June 30, 2019. Provide a narrative explanation of how you aggregated these data from your
         books and records.


     Response:

     The monthly and total quantity and value of iGAS USA Inc’s (“iGAS USA”) imports is

     provided at Attachment II-A. IGAS USA maintains an [

                         ] for each year. Whenever IGAS USA receives the Importer Security

     Filing (“ISF”) from the exporter for an upcoming shipment, it creates a record in the

     [          ] with the quantity, estimated arrival time, and the exporter’s information based

     on the ISF andthe ISF is linked to the [             ]. When the exporter sends the

     commercial invoice, packing list, and bill of lading, IGAS USA matches the invoice with the

     contract and records the invoice information in the [            ]. The commercial invoice,

     packing list and bill of lading are also linked to the [        ]. When the product is

     received at the warehouse, IGAS USA matches the quantity with the commercial invoice

     and record the inventory into the [                                             ] system.

     In order to complete the attachment, IGas USA summed the monthly quantities and values

     based on the commercial invoice date

     2.Identify whether you are a producer, exporter, or U.S. importer of R-32, R-125, and/or R143a
     produced in China.




                                                     2




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     Response:

     IGAS USA imports R-32, R125 and R143A ()roduced in China. IGAS USA also blends

     these components into HFC blends such as R410A, R404A, R407A, R407C, R507. IGAS

     USA sells these HFC blends to distributors in the United States.

     3.Ifyou are a producer and/or exporter ofR-32, R-125 , and/or R-143a in China, identify your top
     five U.S. importers. Fill in the chart provided in attachment 11-B with monthly quantities and
     values of your shipments under USHTS 2903.39.2035 to each of your top five U.S. importers.

     Response:
     Not applicable. IGAS USA is not a producer or exporter of R-32, R-125 or R-143a.
     4. If you are a U.S. importer ofR-32, R-125 , and/or R-143a produced in China, identify your top
     five Chinese producers/exporters. Fill in the chart provided in attachment 11-C with the monthly
     quantities and values of your purchases under USHTS 2903.39.2035 from each of your top five
     Chinese producers/ exporters.

     Response:

     The requested information is provided at Attachment 11-C. This response has been

     aggregated in the same manner as our response to Attachment II-A. The [                  ]

     maintained by IGAS USA contains the quantity and value of each import and the identity

     of the exporter. In order to complete the attachment, IGAS USA filtered the information

     in the [         ] by exporter to obtain the monthly quantities and values that IGAS USA

     received from each exporter.



     5. State whether you are affiliated with any: a. producers ofHFC components R-32, R-125 ,
     and/or R-143a in China; b. exporters ofHFC components R-32, R-125 , and/or R-143a in China;
     or c. importers of HFC components R-32, R-125 , and/or R-143a produced in China into the
     United States. If yes, please identify those producers, exporters, or importers.

     Response:

     IGAS USA is affiliated with the below importers of HFC components R-32, R-125 and

     R143A produced in China.


                                                    3




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     [

                                 ]

     These companies are submitting their own responses to the questionnaire.
     Please respond to questions 6, 7, 8, and 9 (below) only if you are a U.S. importer of HFC
     components R-32, R-125, and/or R-143a produced in China into the United States.
     Producers/exporters need not respond to questions 6, 7, 8, and 9.

     6. Provide a detailed narrative response as to what your company does with the imported HFC
     components (including, but not limited to, whether your company, or another company on behalf
     of your company, blends them to create HFC blends, resells the HFC components, etc.).
     Response:

     IGAS USA resells the HFC components to other companies in the United States. The

     components are sold in ISO tanks or 125lbs cylinders. IGAS USA also blends these

     components into HFC blends such as R410A, R404A, R407A, R407C, R507. These HFC

     blends are packaged in ISO tanks, 30lbs cylinder or 125lbs cylinders and sold to

     distributors in the United States.

     7. If your company, or another company on behalf of your company, blends the HFC
     components, identify all HFC blends (e.g., R-404A, R-410A, R-507A) your company produces
     using the imported HFC components. Please also identify if the HFC blends are then sold in the
     United States.
     Response:

     See response to question 6. IGAS USA blends R404A, R407A, R407C, R410A and R507

     and [                                ] in the United States. IGAS USA also uses an

     unaffiliated third-party company called [                               ] to blend R404A,

     R407A, R407C, R410A and R507 and then sells the HFC blends in the United States.

     8. If your company, or another company on behalf of your company, blends the imported HFC
     components to create HFC blends, complete the chart in attachment II-D, which details the
     monthly quantities and values of each HFC blend identified in question 7 using the imported
     HFC components for the period of July 1, 2011, through June 30, 2019.



                                                     4




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Attachment 2

                                                                                      PUBLIC VERSION




     Response:

     The requested information is provided at Attachment II-D. In order to complete this

     attachment, IGAS USA summed its monthly sales of each HFC blends. IGAS USA records

     the quantity and value of every sale made in the United States in [              ]. Whenever

     IGAS USA receives a purchase order from the customer, it creates an [

                 ] with the product item code, quantity, unit price, ship to address, bill to

     address, and payment terms. IGAS USA’s production is based on sales and the sales

     information is, therefore, reflective of the company’s production. In order to complete the

     attachment, IGAS USA summed the monthly sales quantities and values for each HFC

     blend

     9. If your company resells the HFC components, please identify the customers of the resold HFC
     components, and please explain whether, to the best of your knowledge, these customers are
     involved in the blending of the HFC components to create HFC blends which are then sold in the
     United States.
     Response:

     IGAS USA sells HFC components to the unaffiliated companies listed below.

     [

                               ]

     IGAS USA’s understanding is that these companies blend the HFC components to create

     HFC blends. IGAS USA does not know what these companies do with the HFC blends, but

     assumes at least some of them are sold in the United States




                                                    5




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                           Exhibit 8-F




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Attachment 2


                                Barcode:3187000-01 A-570-998 INV - Investigation   -               NEW YORK


 GDLSI
  GRUNFELD DESIDERIO LEBOWITZ
                                                                                                   WN,.,_.:NCiT()f'.J. '.'>C
                                                                                                   LCS /\f\l(iELES
                                                                                                   HON(, KONCi
  SILVERMAN KLESTADT :. i P



                                                   March 10, 2014


                                                                                Case No. A-570-998
                                                                               Total Pages: 50
                                                                                        Investigation
                                                                                POI: 4/1/13-9/30/13

                                                                   Business Proprietary Information
                                                                            On Narrative Page D-19
                                               and in Exhibits D-1 to D-9 has been ranged or deleted


                                                                                       PUBLIC VERSION


         VIA ELECTRONIC FILING
         Hon. Penny Pritzker
         Secretary of Commerce
         Enforcement and Compliance
         Room 1870
         U.S. Department of Commerce
           th
         14 Street & Constitution Avenue, N.W.
         Washington, D.C. 20230

                  Attn:   Joshua Startup

                  Re:     Juhua Group's Section D Response: Antidumping Duty Investigation of 1,1,1,2
                          Tetrafluoroethane from the People's Republic of China

         Dear Madam Secretary:

                  This Section D questionnaire response is filed by GDLSK, on behalf of the Juhua Group

         to support the Sections A, C, D (packing only) Questionnaire responses filed on behalf of

         Weitron International Refrigeration Equipment (Kunshan) Co., Ltd., an exporter of subject

         merchandise, in the above referenced investigation. We note that this response is being

         submitted as factual information under 19 CFR 351.102(b)(21 )(i).




            Filed By: DChoudhary@gdlsk.com, Filed Date: 3/10/14 2:40 PM, Submission Status: Approved




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Attachment 2


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               Should you have any questions concerning this matter, please do not hesitate to contact

        us.

                                                     Respectfully submitted,

                                                     GRUNFELD, DESIDERIO, LEBOWITZ
                                                     SILVERMAN & KLEST ADT LLP
                                                                                           (y(---)
                                                   (t7w,U-       ;tA   -~~
                                                     Bruce M. Mitchell
                                                     Max F. Schutzman
                                                     Ned. H. Marshak
                                                     Dharmendra N. Choudhary




          Filed By: DChoudhary@gdlsk.com, Filed Date: 3/10/14 2:40 PM, Submission Status: Approved




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                                                   SECTIOND
                                       Factors of Production Questionnaire



      I.       General Explanation

      This section of the anti dumping questionnaire instructs you on how to report the factors of
      production (factors) of the merchandise under consideration. Please refer to the cover letter to
      determine your reporting requirements.

      A.       Factors of Production

               Factors of production are used to construct the value of the product sold by your
               company in the United States. The Department will use the input amounts you report,
               along with the appropriate price from the chosen surrogate country, to construct the
               normal value of the merchandise under consideration sold by your company to the U.S.
               market. Surrogate values for overhead, selling, general and administrative (SG&A)
               expenses and profit will also be added. Unless otherwise instructed by the Department,
               you should report factors information for all models or product types in the U.S. market
               sales listing submitted by you (or the exporter) in response to Section C of the
               questionnaire, including that portion of the production that was not destined for the
               United States. The reported amounts should reflect the factors of production used to
               produce one unit of the merchandise under consideration.

               If you believe that your company uses any raw materials that should be classified as
               factory overhead expenses rather than valued as factors of production and directly
               included in normal value, please: (1) notify the Department official in charge, and (2)
               identify these materials in your first Section D questionnaire response. Your first Section
               D questionnaire response should contain a comprehensive list of all such materials you
               consider to be part of factory overhead. Please provide this information to the
               Department immediately, as this will afford your company and the Department sufficient
               time to evaluate your company's specific use of the raw material and to determine the
               most appropriate manner in which the raw material should be valued.

               If you have any questions regarding how to compute the factors of the merchandise under
               consideration, please contact the official in charge before preparing your response to this
               section of the questionnaire.

      Answer: This questionnaire response to Section D of the Department's questionnaire is
      provided by the Juhua Group Corporation to support the Questionnaire Response of
      Weitron International Refrigeration Equipment (Kunshan) Co., Ltd ("Weitron China"), in
      connection with Weitron-China's exportation of R134a to the United Sates, which was


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       resold by Wietron-USA during the Period of Investigation ("POI").

       Weitron China did not produce R134a. Rather, it obtained bulk R134a in isotanks from a
       member of the Juhua GrouP-, Zhe'iang Quhua Fluor-chemistn: Co., Ltd ("QuHua"), which
       Weitron-China then packed and shipped to the United States. Thus, this response is
       limited to the factors of production of bulk R134a supplied by the Juhua Group to Weitron.
       The information in this response consists of Juhua Group proprietary business information,
       which the Juhua Group is submitting directly to the Department, through counsel, for the
       Department's use in the calculation of Weitron's dumping margins.

       The actual oroducers of Rl34a are two members of the Juhua Grouo: Zhejiang Juhua Co.J
       Ltd., at its Organic Fluorine Plant ("JuHuaOP") and Zheiiang Qzhou Juxin1
       Fluorochemical Industrial Co., Ltd ("JuXin"), located in QuZhou City, ZheJiang Province~
       China . .J'hese companies are collectively referred to as "JuHua" or "JuHua Group."
       JuHuaOP and JuXin sell R134a to another member of the Juhua Group, QuHua, which as
       noted, supplies the bulk R134a to Weitron.

       The Juhua Group and Weitron are not affiliated parties.

       JuHuaOP and JuXin have reported the weighted average FOPs for the bulk Rl34a sold to
       Weitron which was packed by Weitron in China for sale by Weitron-USA to its unaffiliated
       customers in the U.S. market during the POI. A printout of the FOP file detailing the FOPs
       for each input used to produce bulk R134a sold by the Juhua Group to Weitron is
       provided in Exhibit D-1. The factors of production have been provided on a per Ton unit
       basis.

       We note that two members of the Juhua Group, QuHua and Zhejiang Quzhou Lianzhou
       Refrigerants Co., Ltd. (Lianzhou) sold subject R134a directly to the United States during
       the POI. The R134a sold by Quhua and Lianzhou also was produced by JuHuaOP and
       JuXin. QuHua and Lianzhou have submitted Separate Rate Applications to the
       Department, describing the corporate structure of the Juhua Group. In addition, QuHua is
       a mandatory respondent in the Department's countervailing duty investigation.

       Additional information regarding members of the Juhua Group involved in the production
       and/or sale of subject merchandise and/or inputs which are used, directly or indirectly, in
       the production and/or sale of subject merchandise is found in Exhibit D--9. This exhibit
       consists of information previously submitted to the Department in QuHua's CVD
       questionnaire response, at pages 4 - 7.




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                           Exhibit 8-G




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                                                        2018 Annual Report
                     Company code: 600160                                       Company abbreviation: Juhua




                                                                                                                                                               JA504
                                               Zhejiang Juhua Co., Ltd.
                                                  2018 Annual Report
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7/8/2020                                                                                                     Zhejiang Juhua Co., Ltd. 2018 Annual Report
                                                       Board of Directors of Zhejiang Juhua Co., Ltd.
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                                                                                                                                                                                                                           JA505
                                                                            2018 Annual Report
                                                                              important hint
                     1. The company's board of directors, board of supervisors, directors, supervisors, and senior management ensure that the content of the annual report is true, accurate, and complete,
                          There are no false records, misleading statements or major omissions, and bear individual and joint legal responsibilities.
                     2. All directors of the company attended the board meeting.
                     3. Tianjian Certified Public Accountants (Special General Partnership) issued a standard unqualified audit report for the company.
                     4. Hu Zhongming, person in charge of the company, Wang Xiaoming, person in charge of accounting work, and Wang Xiaoming, person in charge of accounting institutions (accounting officer)
                          Statement: Guarantee the truthfulness, accuracy and completeness of the financial report in the annual report.
                     5. The profit distribution plan for the reporting period or the plan for the conversion of provident funds to share capital after consideration by the board of directors
                           Based on the company’s total share capital of 2,745,166,103.00 shares at the end of 2018 as a base, cash is distributed to all shareholders for every 10 shares of 1.5
                     Yuan (including tax), a total of 411,774,915.45 yuan of dividends will be distributed; this time, the stock dividend distribution method will not be adopted, nor will the capital public
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7/8/2020                                                                                                                                    Zhejiang Juhua Co., Ltd. 2018 Annual Report
                     Provident fund turned into share capital. This plan still needs to be implemented after being reviewed and approved by the company's 2018 annual shareholders' meeting.
                     Six, forward-looking statements risk statement
                     √Applicable □Not applicable
                           Forward-looking statements such as future plans and development strategies involved in this report do not constitute the company’s substantial commitment to investors.
                     Investors pay attention to investment risks.
                     7. Is there any non-operating capital occupation by the controlling shareholder and its related parties?
                     no
                     8. Is there any external guarantee that violates the prescribed decision-making procedures?
                     no
                     Nine, major risk warning
                           In this report, the company has described in detail the risk factors that may arise for the realization of the company's future development strategy and business objectives.
                     And the measures that the company has taken or will take. Please refer to the discussion and analysis on the company's future development
                     Discuss and analyze the risks that the company may face.




                                                                                                                                                                                                                                               JA506
                     Ten, other
                     □Applicable √Not applicable
                                                                                                      2 / 235
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                                                                                             2018 Annual Report
                                                                                                     table of Contents
                     Section 1         Interpretation ................................................. .................................................. ................................. 4
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                     Section Three     Company Business Overview ................................................ .................................................. .................. 14
                     Section 4         Business Discussion and Analysis .......................................... .................................................. ........18
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                     Section 7      Preference shares ................................................. .................................................. ............... 93
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                                    -  -- -    supervisors,
                                                 - - - -senior
                                                            - - managers
                                                                -- --    and - - - -.............................................
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                     Section 9      Corporate Governance .......................................... .................................................. ...................99
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7/8/2020                                                                                                  Zhejiang Juhua Co., Ltd. 2018 Annual Report
                                                                           2018Annua1Report
                                                                       Section 1 Interpretation
                     I. Interpretation
                     In this report, unless the context otherwise requires, the following words have the following meanings:
                     I. Interpretation of common words
                     Company or companyR.efers to Zhejiang Juhua Co., Ltd.
                     Juhua shares
                     Controlling shareholdenbmglaniup Co., Ltd.
                     Chemical Group
                     ,Quhua Fluoride Company)refers to~ ejiang Quhua Fluorine Chemical Co., Ltd., a wholly-owned subsidi'!!)'. of Juhua
                     Juxin Fluoride Company) efers to(Zhejiang Quzhou Juxin Fluorine Chemical Co., ,Ltd., a wholly-owned subsidi'!!)'. of Juhim;
                     Lanxi Fluoride Company refers to Zhejiang Lanxi Juhua Fluorine Chemical Co. , Ltd., a subsidiary of Juhua Co., Ltd.
                     Lianzhou Refrigeration Company refers to~ hejiang Quzhou Lianzhou Refrigerant Co., Ltd., a wholly-owned subsidiary of Juhua·
                     Fluorine Chemical Company refers to~      jiang Quzhou Fluorine Chemical Co., LJ!j), a wholly-owned subsidiary of Juhua
                     Kaisheng Fluoride Company refers to Zhejiang Kaisheng Fluorine Chemical Co. , Ltd.
                     Kaiheng Electronic Company refers to Zhejiang Kaiheng Electronic Material Co., Ltd.




                                                                                                                                                                                                                                JA508
                     Jusheng Fluoride refers to Zhejiang Jusheng Fluorine Chemical Co., Ltd., a subsidiary of Juhua Holdings
                     Quzhou Xinju Company refers to Zhejiang Quzhou Xinju Fluorine Material Co., Ltd., a subsidiary of Juhua Holdings
                     Borui Electronics refers to Zhejiang Borui Electronic Technology Co., Ltd.
                     Jusu Chemical Company refers to Zhejiang Quzhou Jusu Chemical Co., Ltd., a wholly-owned subsidiary of Juhua
                     Juhua Nylon Company refers to Quzhou Juhua Nylon Co., Ltd., a wholly-owned subsidiary of Juhua Co., Ltd.
                     Ningbo Juhua Company refers to Ningbo Juhua Chemical Technology Co., Ltd. , a wholly-owned subsidiary of Juhua Co. , Ltd.
                     Ningbo Jux.ie Company refers to Ningbo Jux.ie Energy Co., Ltd., a wholly-owned subsidiary of Juhua
                     Ninghua New Materiakfem$(l0rl\tin11bo Juhua New Materials Co., Ltd. and Juhua Holding Sun Company
                     Division
                     Jubang High-tech Company refers to Zhejiang Jubang High-tech Co., Ltd., a subsidiary of Juhua Holdings
                     Lishui Fuhua refers to Zhejiang Lishui Fuhua Chemical Co., Ltd., a wholly-owned subsidiary of Juhua
                     Juhua Hong Kong refers to Juhua Trading (Hong Kong) Co. , Ltd. , a wholly-owned subsidiary of Juhua
                     Zhanan Petrochemical Company refers to Zhejiang Juhua Zhanan Petrochemical Engineering Co., Ltd., a subsidiary of Juhua
                     Lianzhou RefrigeratioRerec9DIJ>il>g!'-iiang Juhua Lianzhou Refrigeration Technology Co., Ltd., Juhua Holding Sun Company
                     the company
                     Jinju Chemical Company refers to Zhejiang Jinju Chemical Co., Ltd., a subsidiary of Juhua Holdings
                     Tianjin Bairui Company refers to Tianjin Bairui Polymer Material Co., Ltd. and Juhua Holding Sun Company
                     Technology Center Company refers to Zhejiang Juhua Technology Center Co., Ltd., a subsidiary of Juhua Holdings
                     New Materials Researllliflnstirulfuejiang Juhua New Materials Research Institute Co., Ltd., a subsidiary of Juhua Holdings
                     the company
                     Montreal agreement Refers to the Montreal Convention. It is the United Nations in order to prevent the chlorofluorocarbons in industrial products from stinking the earth.
                     book                        The oxygen layer continues to cause deterioration and damage, inheriting the general principles of the 1985 Vienna Convention for the Protection of the Ozone Layer,
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7/8/2020                                                                                                   Zhejiang Juhua Co., Ltd. 2018 Annual Report
                                                On September 16, 1987, 26 member states were invited to sign the environment in Montreal, Canada
                                                Protection Convention
                     The Montreal Protocol refers to the resolution adopted at the 28th Meeting of the Parties to the Montreal Protocol on October 15, 2016.
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                                                                           2018 Annual Report
                     The Final Book Kigali      Amendment to reduce HFCs. The effective date is January 1, 2019.
                     Amendment
                     kt/a                 Refers to thousand tons/year
                     CDM                  Refers to the clean development mechanism and is one of the flexible compliance mechanisms introduced in the Kyoto Protocol. The core content is
                                                Allow developed and developing countries to transfer and obtain project-level emission reduction offsets
                                                Developing countries implement greenhouse gas emission reduction projects
                     ODS                  Refers to ozone depleting substances (OzoneDepleting Substances), destroying the atmospheric ozone layer, harm




                                                                                                                                                                                                                         JA509
                                                Chemical substances in human living environment
                     ODS alternatives     Refers to products that replace ozone-depleting substances
                     CFCs                 Refers to chlorofluorocarbons, a group of halogenated alkanes composed of chlorine, fluorine, and carbon. At first it was used as a refrigerator to cool
                                                Agent, but since it will decompose the ozone layer, from January 1, 1996, chlorofluorocarbons
                                                The compound is officially banned
                     Refrigerants         Refers to also known as refrigerant, refrigerant, and refrigerant, which is the medium substance used in various heat engines to complete energy conversion
                     2. Major Outsourcing Refers to the following purchased materials
                     raw material
                     VCM                  Refers to vinyl chloride, which undergoes addition polymerization under the action of an initiator to produce polyvinyl chloride (PVC) plastic. Also
                                                By copolymerizing with certain unsaturated compounds to become a modified variety to improve certain properties
                     fluorite             The main component is calcium fluoride (CaF2), which is an important mineral for extracting fluorine
                     industrial salt      Refers to sodium chloride, white crystal form, its source is mainly seawater, easily soluble in water, glycerin, slightly soluble in ethanol,
                                                Liquid ammonia; insoluble in concentrated hydrochloric acid. Industrially used to manufacture soda ash, caustic soda and other chemical products, ore smelting
                                                Refining
                     Calcium carbide      Refers to calcium carbide, an important basic chemical raw material, mainly used to produce acetylene gas. Also used in organic synthesis, oxygen
                                                Acetylene welding
                     Spermidine           Refers to tetrachloroethane, a colorless liquid with a chloroform-like smell. Non-flammable, toxic and irritating, mainly used for health
                                                The raw material for producing trichloroethylene and tetrachloroethylene is also used as a non-flammable solvent for resin, rubber, fat, etc.
                                                Used in the production of metal detergents, insecticides, herbicides, etc.
                     coal                 Refers to a combustible black or brownish black sedimentary rock, mainly composed of carbon, Together with a different number of others
                                                Elemental composition is mainly hydrogen, sulfur , oxygen and nitrogen. Used as an energy resource, mainly burned to produce electricity
                                                Power and/or heat, and can also be used for industrial purposes, such as refining metals, or producing fertilizers and many chemical
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7/8/2020                                                                                                    Zhejiang Juhua Co., Ltd. 2018 Annual Report
                                                 Industrial products
                     benzene               Refers to an organic compound, a colorless liquid with a special smell, which can be extracted from coal tar and petroleum, is
                                                 A variety of raw materials and solvents for the chemical industry. Used as synthetic dye, synthetic rubber, synthetic resin, synthetic fiber
                                                 dimension
                     Sulfur concentrate    Refers to pyrite, semiconductor mineral, the main raw material for producing sulfur and sulfuric acid. When Au, Co, Ni is included
                                                 Take associated elements
                     3. The main products refer to the following classified products
                     1. Fluorine chemical raw materials refer to the following products
                     AHF                   Refers to anhydrous hydrogen fluoride, widely used in atomic energy, chemical, petroleum and other industries, is it a strong oxidant
                                                 Take elemental fluorine, various fluorine refrigerants, inorganic fluorides, basic raw materials of various organic fluorides
                                                 It is made into hydrofluoric acid for various purposes, used in the manufacture of graphite and catalysts for the manufacture of organic compounds, etc.
                     Methane chloride      Refers to monochloromethane (CH3CL), dichloromethane (CH2CL2), chloroform (also known as chloroform, CHCL3),
                                                 Carbon tetrachloride (CCL4), the general term for four products, is an important chemical raw material and organic solvent. In the father
                                                 Division, dichloromethane is the raw material of R32, chloroform is the raw material of R22, and carbon tetrachloride is the raw material of PCE
                                                                                  5 / 235
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                                                                                                                                                                                                                                     JA510
                                                                            2018 Annual Report
                                                 material
                     PCE                   Refers to tetrachloroethylene, mainly used as cleaning (dry) lotion, solvent and chemical synthesis agent; as raw material intermediate
                                                 Used to produce HFC-125
                     TCE                   Refers to trichloroethylene, is an important chemical raw material, used in industry for metal cleaning, electronic components cleaning;
                                                 As a raw material intermediate, it can be used to produce tetrachloroethylene, HFC-125, HFC-134a, etc.; also used for extraction
                                                 Agents, solvents and low temperature thermal oil media
                     HCFC-142b             Refers to difluorochloroethane, which is mainly used in refrigeration and air-conditioning systems, heat pumps, and various mixed refrigerants in high-temperature environments
                                                 Important components, and the middle of polymer (plastic) foaming, thermostatic control switch and aviation propellant
                                                 It is also used as a raw material for PVDF and fluororubber chemicals
                     HCFC-141b             Refers to monofluorodichloroethane, which can replace CFC-11 as a foaming agent for rigid polyurethane foam.
                                                 CFC-113 is used as a cleaning agent, and it can also be used as a raw material for fluorinated chemicals
                     Methanol              Refers to saturated monohydric alcohol, basic organic chemical raw materials and high-quality fuel. Mainly used in fine chemicals, plastics
                                                 And other fields, it is used to manufacture various organic products such as formaldehyde, acetic acid, methyl chloride, methylamine, thiomethyl dimethyl,
                                                 It is also one of the important raw materials for pesticides and medicines
                     2. Refrigerant        Refers to the following products
                     CFC-12                Refers to difluorodichloromethane, mainly used as piston refrigerator, refrigerator, refrigerator, air conditioner, refrigerant
                     HCFCs                 Refers to hydrochlorofluorocarbons and is a substitute for a series of refrigerants, mainly including: HCFC-22, HCFC-123,
                                                 HCFC-124, HCFC-141b and HCFC-142b, etc., of which HCFC-22 production accounts for all HCFCs
                                                 Has a relatively large proportion and is mainly used as a raw material for refrigerants, foaming agents and other chemical products
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7/8/2020                                                                                                     Zhejiang Juhua Co., Ltd. 2018 Annual Report
                     HFCs                 Refers to hydrofluorocarbons, which help to avoid ozone-depleting substances, and is often used to replace ozone-depleting substances, such as
                                                Chlorofluorocarbons (CFCs) conunonly used in refrigerators, air conditioners and insulating foam production
                     F22                  Refers to also known as HCFC-22, R22, used for reciprocating compressors, used in household air conditioners, central air conditioners, mobile
                                                Air conditioners, heat pump water heaters, dehumidifiers, freeze dryers, cold storages, food freezing equipment, marine systems
                                                Refrigeration equipment such as cold equipment, industrial refrigeration, conunercial refrigeration, freezing and condensing units, supermarket display cabinets, etc.
                                                Etc.; HCFC-22 is also widely used as a raw material for Teflon resin and the middle of gas fire extinguishing agent 1211
                                                Body, and physical blowing agent for polymers (plastics). Can also be used as aerosol for pesticides and paint
                                                Propellant is the basic raw material for producing various fluorine-containing polymer compounds
                                          Refers to also as R32, difluoromethane, is a kind ofrefrigerant, no damage to the atmospheric ozone layer, and can be used with HFC-125
                                                Mixed into HFC-41 0a
                       FC-134a            Refers to also as Rl34a, l,l , l ,2-tetrafluoroethane, is a fluorine refrigerant, mainly used to replace the refrigeration industry
                                                CFCs used in, including refrigerators, freezers, water dispensers, car air conditioners, central air conditioners,
                                                Wet machine, cold storage, conunercial refrigeration, ice water machine, ice cream machine, freezing condensing unit and other refrigeration equipment,
                                                It can also be applied to aerosol propellants, medical aerosols, insecticide propellants, polymers (plastics)
                                                Foaming agent, and magnesium alloy protective gas. Widely used as car air conditioner, refrigerator, central air conditioner,
                                                Refrigerant for conunercial refrigeration and other industries, and can be used in medicine, pesticides, cosmetics, cleaning industry
                                          Refers to pentafluoroethane, a kind of refrigerant, which does not damage the ozone layer of the atmosphere, and is mainly used in air conditioning, industrial
                                                Used in conunercial refrigeration, chiller and other industries to prepare R404A, R407C, R410A, R507 and other refrigeration
                                                Agent, used to replace R22, Rl2, etc. Can also be used as a fire extinguishing agent to replace part of the halon series
                                                Gunpowder. HFC-4 I 0a mixed with HFC-32 is a new refrigerant




                                                                                                                                                                                                                                 JA511
                     HFC-245fa            Refers to pentafluoropropane, which is a kind of foaming agent, used for polyurethane (PU) development of refrigerators, cold storages and building boards
                                                Foam; can also be used as a refrigerant to replace R-123 and R-22 refrigerants in central air conditioners (chillers)
                       FC-410a            Refers to the mixture ofHFC-125 and HFC-32, which is currently the mainstream recognized and reconunended by most countries in the world
                                                Low temperature environmentally friendly refrigerant, widely used in the initial installation and re-adding process of new refrigeration equipment
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                     HFO-1234fy           Refers to the fourth-generation refrigerant, the Chinese name 2,3,3,3 -tetrafluoropropene, is a substitute for the third-generation refrigerant, used in
                                                Refrigerator refrigerant, fire extinguishing agent, heat transfer medium, propellant, foaming agent, foaming agent, gas medium, extinguishing agent
                                                Bacterial carrier, polymer monomer, particle removal fluid, carrier gas fluid, abrasive polishing agent, replacement drying
                                                Agent, electric circulating working fluid and other fields
                     3. Fluoropolymer refers to the following products
                     TFE                  Refers to tetrafluoroethylene, used in the manufacture ofpolytetrafluoroethylene and other fluoroplastics, fluororubber and polyfluoroethylene propylene
                                                body
                     PTFE                 Refers to polytetrafluoroethylene, a polymer compound formed by polymerization oftetrafluoroethylene, which has excellent comprehensive performance,
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                                              High temperature resistance, corrosion resistance, non-stick, self-lubricating, excellent dielectric properties, very low coefficient of friction. Compressible
                                              Shrinkage or extrusion processing; can also be made into an aqueous dispersion for coating, impregnation or fiber. In the original
                                              Zineng, national defense, aerospace, electronics, electrical, chemical, machinery, instruments, meters, construction, textile,
                                              Widely used in metal surface treatment, pharmaceutical, medical, textile, food, metallurgy and other fields
                     ETFE               Refers to the ethylene-tetrafluoroethylene copolymer, which is the strongest fluoroplastic. It maintains the good heat resistance of PTFE,
                                              At the same time of chemical resistance and electrical insulation performance, radiation resistance and mechanical properties have been greatly improved.
                                              The tensile strength can reach 50MPa, which is close to twice that of PTFE. Mainly used in anti-corrosion lining, house
                                              Roofing materials, covering materials for agricultural greenhouses, canopy materials for various shaped buildings, such as stadium stands,
                                              Building cone roof, casino, various canopies, parking lots, exhibition halls and museums, etc. The material is gold
                                              It is a unique strong adhesion characteristic, and its average linear expansion coefficient is close to that of carbon steel. It is a metal
                                              Ideal composite material
                     HFP                Refers to hexafluoropropylene, which can be used as a raw material for the preparation of fluorosulfonic acid ion exchange membrane, fluorocarbon oil and polyperfluoroethylene propylene.
                                              Can also prepare a variety of fluorine-containing fine chemical products, pharmaceutical intermediates, fire extinguishing agents
                     FEP                Refers to polyperfluoroethylene propylene, has similar characteristics to PTFE, and has a good processing technology for thermoplastics
                                              Art, mainly used to make the inner layer of pipes and chemical equipment, the surface layer of the drum and various wires and cables. in
                                              Widely used in the production of wire and cable in electronic equipment transmission lines used in high temperature and high frequency, computer
                                              Internal connection wires, aerospace wire, and other special purpose installation wires, oil mine logging cables,
                                              Submersible motor winding wire, micro motor lead wire, etc.
                     VDF                Refers to vinylidene fluoride, mainly used as a monomer raw material for fluororesin and fluororubber
                     PVDF               Refers to the copolymerization of polyvinylidene fluoride, vinylidene fluoride polymer, or vinylidene fluoride with a small amount of other fluorine-containing vinyl monomers




                                                                                                                                                                                                                                             JA512
                                              Polymer, which has the characteristics of fluorine resin and general resin, in addition to having good chemical resistance and high resistance
                                              In addition to temperature resistance, oxidation resistance, weather resistance, and radiation resistance, it also has piezoelectricity, dielectricity, heat
                                              Electricity and other special properties are the second largest products among fluoroplastics, mainly used in petroleum
                                              Chemical, electronic and electrical, and fluorocarbon coatings. Is the entire fluid processing system of petrochemical equipment or
                                              One of the best materials for lined pumps, valves, pipes, pipe fittings, storage tanks and heat exchangers. Be wide
                                              It is widely used in the storage and transportation of high-purity chemicals in the semiconductor industry.
                                              Porous membranes, gels, separators, etc., are used in lithium secondary batteries, and this use has become an increasing demand for PVDF.
                                              One of the fastest growing markets. PVDF is one of the main raw materials for fluorocarbon coatings, which are widely used
                                              Used in power stations, airports, highways, high-rise buildings, etc. In addition, PVDF resin can also be used with other trees
                                              Fat blending modification, such as PVDF and ABS resin blending to obtain composite materials, has been widely used in construction,
                                              Car decoration, home appliance shell, etc.
                     FKM                Refers to fluororubber, which refers to a synthetic polymer elastomer containing fluorine atoms on the carbon atoms of the main chain or side chain.
                                              Aerospace, automotive, petroleum, and household appliances have been widely used, and are among the most advanced industries in national defense.
                                              Irreplaceable key materials
                     4. Fine fluorine   Refers to the following products
                     Scholastic
                                                                               7 / 235
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                                                   Miscellaneous craft
                     Wet electronic chemicals refer to the chemical products with the highest requirements on quality and purity among the fine chemical and electronic information industries.
                                                   Subdivided fields, including electronic grade hydrochloric acid, electronic grade nitric acid, electronic grade sulfuric acid, electronic grade hydrofluoric acid, etc.,
                                                   Mainly used in flat panel display, semiconductor and photovoltaic solar fields
                                                       Section 2 Company Profile and Main Financial Indicators
                     I. Company Information
                                        The company's Chinese name                                   ,Zhejiang Juhua Co., Ltd.
                                        Chinese abbreviation                                                  Juhua shares
                                        The company's foreign name                                  IZ HEJIANG JUHUA CO.,LTD.
                                  Abbreviation of the company's foreign name                                  ZJJH
                                       The company's legal representative                                      Hu Zhongming
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                     2. Contact person and contact information
                                                                               Secretary of the Board                     Securities Affairs Representative
                     Name                                                          Liu Yunhua                                    Julie
                     contact address                               Z hejiang Juhua, Kecheng District, QuzhouZlitjiai\ge,!Wll!!lPl<m<ibcllg District, Quzhou City, Zhejiang Province
                                                                              Co., Ltd.                                   Co., Ltd.
                     phone                                                    0570-3091758                                0570-3091704
                     fax                                                      0570-3091777                                0570-3091777
                     email                                               gfzqb@juhua.com.cn                           zhul i@j uhua.com.cn
                     3. Introduction
                     Company registered address                                                       Kecheng District, Quzhou City, Zhejiang Province
                     Postal code of company registered address                                                 324004
                     Company office address                                                           Kecheng District, Quzhou City, Zhejiang Province
                     Postal code of company office address                                                     324004
                     company website                                                                http ://wwwjhgf.com.cn
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                     1. The company's main business, business model and industry description during the reporting period
                          1. Main business: The company is a leading domestic advanced manufacturing base of fluorine chemicals and chlor-alkali chemicals.
                     The business is the research and development, production and sales of basic chemical raw materials, food packaging materials, fluorinated chemical raw materials and subsequent products, with chlor-alkaliization
                     Chemical industry, sulfuric acid chemical industry, coal chemical industry, basic fluorine chemical industry and other necessary chemical industry self-supporting system, and on this basis, formed a
                     Complete fluorinated chemical products including basic supporting raw materials, fluorine refrigerants, organic fluorine monomers, fluoropolymers, fine chemicals, etc.
                     Industry chain, and involved in the petrochemical industry.




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                           The company has many products, is widely used, and has a high degree of relevance to other industries (the company's main product uses, please read the first section of this report
                     "Interpretation", Section 4 "Discussion and Analysis of Business Situation"). The company's fluoropolymer materials, food packaging materials and other new chemical materials
                     The material performance is superior, and its application range continues to expand into wider and deeper fields as technology advances and consumption upgrades.
                           2. Main business model: mainly R&D-procurement-production-sales model. The company's production management plan approved by the board of directors
                     Planning, on the basis of a comprehensive budget, the procurement department carries out intensive procurement of raw and auxiliary materials, and each production entity unit prepares production operations




                                                                                                                                                                                                                                                             JA515
                     Concretely implement the plan and organize the implementation. The sales department is responsible for product sales.
                           The company belongs to the chemical raw materials and chemical products manufacturing industry.
                     Industrial chain, leading domestic product scale technology, of which fluorine refrigerants are in the global leading position), is a means of production, directly
                     The industry supply cycle, downstream consumption cycle and macro cyclical fluctuations, and the company's product price elasticity and performance elasticity are greater,
                     Has obvious periodic characteristics. As the company continues to increase the development of advanced chemical materials, the company's industrial chain is complete, and multiple chemical subsidiaries
                     Industry, and the continuous deepening of supply-side structural reforms, etc., the cyclical volatility of the company's industry has weakened. Company product cost,
                     Expenses and revenue (product price, sales volume) are the main drivers of company performance.
                           3. Industry situation: During the reporting period, the world economy has recovered and grown, my country's economy has progressed steadily, and the supply side of the chemical industry has undergone structural changes
                     The reform has advanced in depth, the safety and environmental pollution prevention policies have become stricter, the competition order of the industry in which the company is located continues to improve, and the prices of majo
                     As the pivot rises, the industry's concentration will further increase (for details, please read Section 4 "Discussion and Analysis of Business Situation" of this report).
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                     2. Explanation of major changes in the company's main assets during the reporting period
                     □ Applicable ✓Not applicable
                     3. Analysis of core competitiveness during the reporting period
                     ✓Applicable □Not applicable
                           Since the company was established 21 years ago, its business has developed steadily. The company has gradually transformed from a basic chemical industry enterprise to China's leading fluorine chemical industry
                     The company has become a leading domestic advanced manufacturing base of fluorine chemicals, chlor-alkali chemicals, and coal chemicals.
                     The characteristics of clustering, baseization, recycling and industrialization have accumulated spatial layout, industrial chain, scale technology, brand, market, investment
                     Sources, management and other development of the competitive advantages of fluorinated chemicals and new chemical materials, and formed a pattern of industrial collaboration and high-end extension of the industrial chain
                     With trends.
                           The company's main product production technology, safety and environmental protection technology and its supporting facilities, production and operation management level are all in line
                     Industry leadership. Under the environment of deepening supply-side structural reforms and increased safety and environmental governance, the company has a competitive advantage
                     Continuously strengthen.
                         (I) Advantages of industrial chain and spatial layout




                                                                                                                                                                                                                                                         JA516
                           The company specializes in its main business, and has now developed into a leading enterprise in China's fluorine chemical industry.
                     The complete fluorinated chemical industry chain including refrigerants, organic fluoromonomers, fluoropolymers, fine chemicals, etc.; in addition, the company is a
                     The leading VDC-PVDC material supplier in China, the main manufacturer of cyclohexanone-caprolactam, and actively layout the electronic chemical materials industry,
                     Interwoven with the fluorinated chemical industry chain into a network structure industrial layout, forming a synergistic and intensive development advantage.
                           The company's production base is mainly concentrated in the company's Quzhou headquarters and the surrounding Ningbo and Lanxi area ~ The core industrial space layout is base,
                     Clustering and intensive and coordinated development have obvious advantages. Relying on a complete industrial chain, the company adheres to the green and high-end development of the industry, "Base
                     "Eco-parking, product serialization, and economic recycling" have achieved remarkable results. The establishment of an advantageous industrial cluster with fluorine chemical as the core
                     The transformation of single product competition to industrial competition and industrial cluster competition is an extension of the company's low-cost operation, low-cost development, and high-end industry
                     A solid support has accumulated.
                           Starting from strategic planning, the company attaches great importance to the industrial chain and spatial layout, with "beautiful giant", "Sansheng (production, living,
                     "Ecological" giant" construction as a breakthrough, adhere to the principle of circular economy 4R (reduction, reuse, recycling, remanufacturing), complete
                     The high-end extension of the industrial chain and the creation of a beautiful ecological chemical park provide favorable support for the company's sustainable development under the new situation.
                         (2) Advantages of scale and technology
                           The company's leading product scale is domestically leading, the main products are produced using international advanced standards, and the core business of fluorine chemical is in the domestic market.
                     Leading position (including fluorine refrigerants in the world's leading position), special chlor-alkali new materials in the domestic leading position. As of the end of 2018, the company
                     The company has 240 authorized patents (including 6 foreign authorized patents).
                           During the reporting period, the company acquired I 00% equity of Zhejiang Juhua Technology Center Co., Ltd. and Zhejiang Juhua New Materials Research Institute Co., Ltd. ,
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                     2      Products and Production
                     (I). Main business model
                     ✓Applicable □Not applicable
                            Fluorine refrigerants and their substitutes, fluoropolymers, food packaging materials, fluorinated chemical raw materials, fluorinated fine chemicals, petrochemicals
                     Research, development, production and sales of materials, coal chemicals, basic chemical products and other products.
                     The main situation of adjusting the business model during the reporting period
                     □ Applicable ✓Not applicable
                     (2). Main products
                     ✓ Applicable □Not applicable
                                                                 Main upstream raw materials
                           product        Industry subdivision                           Main downstream application are:Main factors affecting price
                                                                       material
                     AHF                  Fluorine chemical raw'lnototo:j.lH.Ilfuric acid Fluorine                             Manufacturing cost, supply and demand
                     Methane chloride fluoride raw materials Chlorine, methanol           Fluorine chemical, refrigerant       Manufacturing cost, supply and demand
                     TCE                  Fluorine chemical ra~ne; chlorine               Fluorine chemical, refrigerant, cleaning agent manufacturing cost, supply and demand status
                     PCE                  Fluorine chemical ra~aj~ichloroethaliluorine chemical, refrigerant, cleaning agent manufacturing cost, supply and demand status
                                                                 Alkanes, carbon tetrachloride
                     HCFC-14lb            Fluorine               Vinylidene chloride, n<nnaming agent, cleaning agent          Manufacturing cost, supply and demand




                                                                                                                                                                                                                      JA517
                                                                 Hydrofluoric acid
                     Rll , Rl2            Refrigerant            AHF, CCL4                Now mainly used in pharmaceutical lntlmmdl'!l>eiicy
                     R22                  Refrigerant            AHF, CHCL3               Air conditioning, fluoride           Manufacturing cost, supply and demand
                     !ml                (Refrigerant             AHF, CH2CL2              Air conditioner, refrigerator, mixed tloorinfuo!miil!)gati&I} supply and demand
                                                                                          Agent
                     HFU3~al            /Refrigerant             AHF, TCE                 Automotive air conditioning, commdMio:iufadtirrihgllri:mt, supply and demand
                                                                                          refrigerating system
                                          Refrigerant            R32, Rl25                air conditioning                     Manufacturing cost, supply and demand
                                          Refrig erant           Rl34a, Rl25              Air conditioning, low and medium telllllpnnflwkt~gesatirnpply and demand
                                                                                     42 / 235
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                     R507                 Refrigerant            Rl34a, Rl25              Air conditioning, low and medium telllllpnnflwkt~gesatirnpply and demand
                     ruE                  Refrigerant            AHF, TFE monomer mixed working medium, air conditionManufacturing cost, supply and demand
                     R245                 Refrigerant            CCL4, VCM                Air conditioner, foaming agent       Manufacturing cost, suppl y and demand
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                     TFE                Fluoropolymer material
                                                            F22, water vapor           Fluorine chemical raw materials     Manufacturing cost, supply and demand
                                        material
                     PTFE               Fluoropolymer material
                                                            TFE monomer                Chemical anti-corrosion, sealing, aerospace,
                                                                                                                            Manufacturing cost, supply and demand
                                        material                                       Building materials and other industries
                     HFP                Fluoropolymer material
                                                            TFE monomer                New refrigerant, fire extinguishing agent,
                                                                                                                            Manufacturing cost, supply and demand
                                        material                                       Fluoropolymers, pharmaceutical intermediates
                     FEP                Fluoropolymer material
                                                            HFP monomer                High temperature wire and cable, valve
                                                                                                                           Manufacturing
                                                                                                                              lining     cost, supply and demand
                                        material                                       Other industries
                     PVDF               Fluoropolymer material
                                                            F142b, VDF                 Solar backsheet film, water treatmentManufacturing
                                                                                                                             film         cost, supply and demand
                                        material                                       Wait
                     VDC                Food packaging materials Chlorine, VCM Fluorine chemical raw materials, food
                                                                                                                   Manufacturing
                                                                                                                     packaging materials
                                                                                                                                 cost, supply and demand
                                                                                       Raw materials
                     PVDC resin         Food packaging materials VDC, VCM              Packaging of food, medicine and military
                                                                                                                          Manufacturing
                                                                                                                                products cost, supply and demand
                                                                                       Material processing
                     PVDC membrane Food packaging materials PVDC resin                 Food and medicine packaging         Manufacturing cost, supply and demand
                     Caustic soda, liquid chlorine basic chemical industry industrial salt (NaCL) basic chemical products,Manufacturing
                                                                                                                           fluoride chemical
                                                                                                                                         cost, supply and demand
                     Cyclohexanone      Petrochemical materials
                                                            Benzene, H2                Organic solvents, synthetic caprolactam
                                                                                                                            Manufacturing cost, supply and demand
                                                                                       And organic materials such as adipic acid
                     Caprolactam        Petrochemical materials
                                                            Cyclohexanone, ammonia,
                                                                               Nylon, engineering plastic, plastic thin
                                                                                                                     Manufacturing cost, supply and demand
                                                               Hydrogen peroxide       membrane




                                                                                                                                                                                                                                                          JA518
                     Methanol           Coal chemical products
                                                            coal                       Fine chemicals, plastics and other fields
                                                                                                                             Manufacturing cost, supply and demand
                     Liquid ammonia     Coal chemical products
                                                            coal                       Manufacturing costs, supply and demand status of raw materials for chemical fertilizers, medicines and pesticides
                     Industrial sulfuric acid
                                          Basic chemical industry pyrite, water,       Basic chemical products, fluorinatedManufacturing
                                                                                                                           chemicals, etc. cost, supply and demand
                                                               air                     industry
                     Chlorosulfonic acidHydrogen chloride and trioxygen in basic chemical
                                                                                   Basic chemical
                                                                                          industryproducts                 Manufacturing cost, supply and demand
                                                               Sulfur
                     Calcium chloride Limestone, hydrochloric acid snow-melting agent, desiccant for basic chemical industry
                                                                                                                     Manufacturing cost, supply and demand
                     (3). R&D and innovation
                     √Applicable □Not applicable
                            During the reporting period, the company continued to adhere to the combination of self-development and cooperative development, the introduction of technology and the absorption and re-innovation of imported technology
                     Combining the principles, actively promote technological progress and new product development, and promote the transformation of the main production equipment APC. R&D investment of 496 million
                     Yuan, implement new product development (small and medium-sized test, etc.), industrialization verification and industrialization, industrial upgrading (process transformation, informatization, intelligence,
                     Safety and environmental protection improvement, etc.) 110 R&D projects, and through the acquisition of Zhejiang Juhua Technology Center Co., Ltd. and Zhejiang Juhua New Materials Research
                     Research Institute Co., Ltd. 100% equity, establish and improve independent research and development system, quickly enhance the independent innovation capability of core technology, increase technology storage
                     Equipment, increase product variety, improve product quality, improve production technology, and enhance the company’s core competitiveness and sustainable development capabilities.
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                                                                           1,940                                 0.12
                     Basic situation of major environmental violations during the reporting period
                     □ Applicable ✓Not applicable
                     (3). Other information
                     □ Applicable ✓Not applicable
                     (Fives)     Investment status analysis
                     1. Overall analysis of foreign equity investment
                     ✓Applicable □Not applicable
                           In the reporting period, the total amount of foreign equity investment was RMB 141, 193,700, an increase of RMB 84,392,200 compared with the previous year, an increase of 6.32%, mainly
                     The reason is that in 2018, RMB 370 million was invested to increase the capital of Zhej iang Jinju Chemical Co. , Ltd. , and RMB 380 million was increased to Zhej iang Quzhou Jusu Chemical
                     Co. , Ltd., RMB 252.8488 million acquisition of Zhejiang Juhua Technology Center Co., Ltd. , and RMB 18.41120 million acquisition of Juhua Group Finance Co. , Ltd.
                     This is due to the 16% equity of the responsible company.
                                                                                                                                Unit: ten thousand y uan
                          Name of company invested                         Main business                     Investment method       Investment




                                                                                                                                                                                                                               JA519
                       Shanghai Aixin Liquefied Gas Limited
                                                      Wholesale hazardous chemicals, etc.                    Capital increase        433.92
                      the company
                       Zhejiang Quzhou Jusu Chemical €01¥:lihlylidene chloride resin, polyvinylidene chloridt: .
                                                                                                         Capital mcrease              38000
                      the company                    Production and sales of ene emulsion
                       Lianzhou refrigerant in Quzhou, Zhejiang has
                        . .                            Blending and filling of single refrigerant               Capital increase       6000
                       L1m1ted company
                                                              roduction, procurement, mixing, storage, transpo_rtation
                      ,1Gas USA Inc.                                                                          \New               1,000)
                                                               d sales ofrefrigerants and related product~          -
                      Zhej iang Jinju Chemical Co., Ltd. production and sales of methanol, liquid ammonie:~al increase                37000
                       Tianjin Bairui polymer materials l?.lmic film products, machinery and equipment manufacturing,
                                                                                                        Takeover                       3046
                      Limited company                     Processing, sales, etc.
                       Juhua Group Finance Co., Ltd.      CBRC approved business                                Takeover             18411.2
                                                                                   58 / 235
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                                                                           20 I 8 Annua l Report
                       the company
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                       Zhejiang Juhua Technology Center
                                                     Research
                                                        Co., Ltd.on the development and application of new products and technologies
                                                                                                        Takeover         25284.88
                       the company                   Wait for
                       Zhejiang Juhua New Materials Research
                                                     Technical
                                                             Institute
                                                                development of chemical materials, chemical environmental protection, etc.
                                                                                                      Takeover         6,983.67
                       Limited company               Development, technology transfer, technology consulting services
                     (1) Significant equity investment
                     √Applicable □Not applicable
                                                                                                                                     Unit: ten thousand yuan
                      Invested company                                                               Post bet
                                                           Main business              Investment method           Post-investment ratio
                            name                                                                     Book capital
                      Zhejiang Quzhou Giant
                                         Polyvinylidene
                                            Plastic     chloride resin, polyvinylidene chloride
                                                                                  Capital increase
                                                                                                73000                     38000             100.00%
                      Chemical Co., Ltd. Production and sales of vinyl chloride emulsion
                      Zhejiang Jinju Chemical
                                          Production and sales of methanol, liquid ammonia,
                                                                                   Capital increase
                                                                                              etc.73250                   37000             64.85%
                        Limited company
                      Juhua Group Finance
                                            CBRC approved business                       Takeover        80000           18411.2 46.00%
                      limited liability company
                      Zhejiang Juhua Technology
                                          Development and application of new products and technologies
                                                                                Takeover       5000                     25284.88 100.00%
                      Center Co., Ltd.    Research




                                                                                                                                                                                                 JA520
                     (2) Material non-equity investments
                     √Applicable □Not applicable
                                                                                                                                  unit: yuan
                                                                                     Transfer to fixed assets                 Engineering progress
                                                                                                                                          Funds come
                      project name                    Opening numberIncrease in this period                 End of period
                                                                                           Produce                             degree(%)          source
                      100kt/a polyvinylidene chloride
                                                 86,934,445.            84,468,3      124,175,03         47,227,808.
                      High performance ethylene barrier                                                                                85      [Note]
                                                                   02       99.63              6.32                      33
                      Materials Phase I
                           [Note]: The raised funds invested 535 million yuan, and the rest were self-raised funds.
                     (3) Financial assets measured at fair value
                     √Applicable □Not applicable
                                                                                                                                     unit: yuan
                                                      project name                                                    Ending balance
                      Designated financial assets measured at fair value and whose changes are included in the961,446,950.12
                                                                                                               current profit and loss
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                          (six)         Major asset and equity sale
                          ✓ Applicable □Not applicable
                                  As approved by the tenth meeting of the seventh session of the board of directors of the company and the first extraordinary general meeting of the company in 2018, the company will be a wholly-owned subsidiary
                          The I 00% equity of Zhejiang Kaisheng Fluorine Chemical Co., Ltd. and the 100% equity of Zhejiang Borui Electronic Technology Co., Ltd. are jointly conducted as a target
                          Publicly listed for transfer. For details, please refer to the company's Lin 20 I 7-53 "Juhua shares transfer of equity of wholly-owned subsidiaries and change part of the raised capital investment
                          Project Announcement, Lin 2018-02 "Juhua Shares 2018 First Extraordinary General Meeting Resolution Resolution Announcement" and Lin 2018-08 "Juju
                          Announcement on the Progress of Equity Transfer of the Wholly-owned Subsidiaries




                                                                                                                                                                                                                                                                JA521
                          (Seven)       Analysis of major holding companies
                          ✓Applicable □Not applicable
                                                                                                 Registered capital     Total assets       Net assets      Net profit
                 :_               _ _----.                   =1   Business Scope
                                                    nature                                      (Ten thousand yuanfTen thousand yua(Wen thousand yua(lfen thousand yuan)
                 ~                           uorine G:aolmlri~)'luorine chemical raw materials and fluorine
                      '      ~-                           !!'!l'J.                     22 359 22                      197,691.08 166,679.27 60,659.54
                                                    manufacttkfrigerant production and s~les ·
                                                                  Fluorine refrigerant production and sales
                                                                                            ll3 ,014.I0               170,750.75 151 , 122.08 31 ,194.45
                                                    manufactt&!le
                 Zhejiang Quzhou fluorine i:mJlmB!gll
                                                             Production and sales of hydrofluoric acid 2,000.UIJ7,990.80 16,334.50                         5,724.32
                 Engineering co. , ltd.             manufacture
                 Zhejiang Quzhou Giant Pl:iatlai;tiyg Trichloroethylene, PVDC
                                                                                       73 ,000.00                      90,601.19 71 , ll 8.48 10,073.51
                 Engineering co., ltd.              manufactuWait for production and sales
                 Tianjin Berry Polymer              industry Plastic film products
                                                                                             1,036.83                   2,049.ll           1,652.12           -35.49
                  Materials Co., Ltd.               manufactuProduction and sales
                 Ningbo Juhua Chemical Ei~sltjngllll,qr.iimnlnical raw material production,
                                                                         26,231.67                                    121 ,780.49 105,356.78 41,019.09
                 Technology Co., Ltd.   manufactullales
                 Ningbo Juhua New Materiidi;lustry Chemical raw materials and products
                                                                            5,000.00                                     8,012.62          3,374.36         -237.48
                 Limited company        manufactuP,oduction and sales
                 Ningbo J uxie Energy has commodity::hemical raw materials and products
                                                                             5,000.00                                  28,063.64 11 ,173.32                   859.59
                 Limited company          trading Sales
                 Quzhou Juhua Nylon has industry Caprolactam, cyclohexanone
https://translate.googleusercontent.com/translate_f                                                                                                                                                                                                    75/290
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                  Limited liability company manufacture
                                                     Wait for production and sales
                                                                               102,067.00               94,316.64 80,339.95 10,848.15
                  Zhejiang Jusheng Fluorineindustry
                                            Chemistry
                                                    Production and sales of fluorine products USD1,200
                                                                                                   31,394.15 22,555.73                     7,850.35
                  Limited company          manufacture
                  Zhejiang Quzhou Xin Ju Fluoride
                                          industry Ultra high molecular weight poly four
                                                                             3,000.00                    1,792.82         1,404.72                -0.48
                  Materials Co., Ltd.     manufacture
                                                   Production and sales of vinyl fluoride
                  Zhejiang Borui Electronicsindustry Electronic special gas products, etc.
                                                                               72,600.00                       0.00             0.00         -979.50
                  Technology Co., Ltd.      manufacture
                                                     Production and sales
                  Zhejiang Kaisheng Fluorine
                                           industry
                                             Chemistry
                                                    Electronic wet chemical production
                                                                             15,000.00                         0.00             0.00 -1,179.37
                  Limited company          manufacture
                                                    Production and sales
                  Zhejiang Kaiheng Electronic
                                           industry
                                              Materials
                                                     Electronic grade hydrofluoric
                                                                               1,200.00
                                                                                   acid                        0.00             0.00             -45.44
                                                                                 60 / 235
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                                                                                                                                                                                           JA522
                  Materials Co., Ltd.       Manufacturing and sales
                  From Quzhou Lianzhou, Zhejiang
                                         industry Mixing and refrigerant charging
                                                                            8,100.00                    33,185.54 17,085.90                2,402.75
                  Refrigerant Co., Ltd.  manufacture
                                                  Production
                  Zhejiang Juhua Lianzhou System
                                          industry Mixing and refrigerant charging
                                                                             6,000.00                    6,036.00         5,941.09               -58.91
                  Cold Technology Co., Ltd.manufacture
                                                    Production
                  Zhejiang Jubang High-techindustry Food additives, etc.
                                                                                1,200.00                 1,560.83         1,454.13               137.48
                  Technology Co., Ltd.      manufacture
                                                     Production and sales
                  Zhejiang Lanxi Juhua Fluoride
                                           industry Fluorine refrigerant production and sales
                                                                              5,000.00                  15,889.39 11,827.25                6,180.62
                  Chemical Co., Ltd.       manufacture
                                                    Sale
                  Juhua Trading (Hong Kong)
                                         commodityChemical raw materials and products
                                                                           USD2,000                     15,426.34 11,162.98                      868.71
                  Limited company        trading Sales
                                                       Petrochemical plant and others
                  Zhejiang Juhua Inspection installation
                                             Anshi
                                                       Industrial equipment installation,
                                                                                 5,000.00 maintenance   17,588.19         7,395.15         2,380.92
                  Chemical Engineering Co.,service
                                            Ltd.
                                                      repair
                  Zhejiang Lishui Huahua commodityChemical raw materials and products
                                                                           1,000.00                      6,377.17         5,812.52         3,433.22
                  Engineering co., ltd.  trading Sales
                  Zhejiang Jinju Chemical has
                                           industry
                                                     Production and sales of ammonia products           86,251.95 67,697.03                1,555.33
                  Limited company           manufacture
https://translate.googleusercontent.com/translate_f                                                                                                                               76/290
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                                                         New products, new technologies
                                                    Development and applied research,
                  Zhejiang Juhua Technologytechnology
                                                    The production of scientific
                                                                              5,000.00
                                                                                 research products      13,626.31          7,652.83        400.54
                  Heart Limited              service
                                                         Production and sales, technical consulting
                                                         Inquiry and service
                                                  Production and sales of chemical materials
                  Zhejiang Juhua New Materials
                                         technology
                                                  Sales, technology development,
                                                                            5,000.00
                                                                                  technology             4,588.40          4,299.44        240.50
                  Research Institute Co., Ltd.service
                                                         Technical transfer, technical consultation
                                                         Operating the Chinese banking industry
                                                         Supervision and Management Committee
                  Juhua Group Finance        financial
                                                         In accordance with relevant
                                                                                  80,000.00
                                                                                     laws and regulations
                                                                                                        393,559.82 106,547.61            6,366.36
                  Limited liability company service
                                                         Political regulations and other regulations
                                                         Approved business
                  Shanshan New Material (Qu
                                          industry Production of lithium hexafluorophosphate,
                                                                             12,000.00                  68,538.77 10,433.29 -6,928.25
                  State) Co., Ltd.        manufacture
                                                   Sales
                  Shanghai Juhua Industrial commodity
                                            Development
                                                    Chemical raw materials and products
                                                                             7,000.00                   17,790.27          6,512.05        368.36
                  Exhibition Co., Ltd.      trading Sales
                  Juhua Zhao, Quzhou, Zhejiang
                                           industry Electronic chemical production,
                  And electronic chemical materials                          4,400.00                    4,637.19          4,386.62        259.53
                                           manufacture
                                                    Sales
                  Limited company




                                                                                                                                                                                        JA523
                  Quzhou Fuhuihua            industry Production and sales of heptafluoropropane 1,200.00
                                                                                                       5,817.63            1,909.46        383.40
                                                                                    61 / 235
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                                                                               2018 Annual Report
                  Industrial Technology Co.,Manufacture
                                            Ltd.        sale
                                                         Investment management
                  Zhejiang Silicon Valley Giant Investment
                                                      Inquiry (except securities, period
                                            investment                           600.00                     439.68              388.82     -49.76
                  Capital Management Co., Ltd.        Goods), equity investment and
                                                         Related consulting services.
                  Quzhou Juhuahuachenwu
                                             Warehousing, storage, goods            2,000.00                104.08 -1,479.55                 -0.02
                  Flow Co., Ltd.
                  Zhejiang Juhua shares have
                                           industry
                  Limited company Lanxi pesticide Pesticide production              2,688.00                   9.40 -9,368.56                -0.14
                                           manufacture
                  plant
https://translate.googleusercontent.com/translate_f                                                                                                                            77/290
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                 Zhongjuxin Technology Cin,dut41:y Electronic chemical materials, chemical
                                                   Production and sales of indOO~ucts                  J J J,034.18 100,733.58                       -789.91
                 the company             manufacture
                                                   Sale
                                                   Hazardous chemicals, chemical industry
                  Shanghai Aixin LPG       commodity
                                                   Product wholesale, goods t!BAl.00                      8,782.39            1,852.68              1,048.65
                 Body Co., Ltd.            trading
                                                     Technology Import and Export
                                                           ical raw materials and products
                  iGas USAinc.                                                  .USD294 1.1 7.          /1 1,66 1.58 19,574.1 9,
                 Note: The company holds Zhejiang Borui Electronic Technology Co., Ltd., Zhejiang Kaisheng Fluorine Chemical Co., Ltd. and its subsidiaty Zhejiang Kaiheng Electronic Materials
                 The shares of Material Co., Ltd. were all transferred to Zhongjuxin Technology Co., Ltd. in April 2018 .
                 Explanation of the impact of the net profit derived from a single subsidiary or the investment income of a single shareholding company on the company's net profit of more than I 0%:
                  Subsidiaries and associated companies        Operating income (ten thousa~mllii)g profit (ten thousand yuan) Net profit (ten thousand yuan)
                 Zhejiang Quhua Fluorine Chemical Co. , Ltd.              356,047.49                       67,074.65                   60,659.54
                 Zhejiang Quzhou Juxin Fluorine Chemical Co., Ltd.        214,217.99                       40,423.18                   31 ,194.45
                 Ningbo Juhua Chemical Technology Co., Ltd.               211 ,822.82                      48,953.84                   41 ,019.09
                 In 2018, the company's 3 subsidiaries and assoc iated companies had a performance change of more than 30%, and had a significant impact on the company's consolidated operating performance.




                                                                                                                                                                                                                         JA524
                 The performance changes and reasons are as fo llows:
                                                                      Net profit (ten thousand yuan)
                   company name                                                                          Variation%                      Reason for change
                                                               2018                 20 17
                                                                                                                               Product price increase and production and sales
                 Zhejiang Quhua Fluorine Chemical Co. , Ltd.60,659.54                   28,674.83                11 1.54
                                                                                                                               Volume increase
                                                                                                                              Product price increase and production and sales
                 Zhejiang Quzhou Juxin Fluorine Chemical C3tLM.45                       22,100.97                 41.15
                                                                                                                              Volume increase
                                                                                                                               Product price increase and production and sales
                 Ningbo Juhua Chemical Technology Co., LtdH,019.09                      21 ,382.41                91.84
                                                                                                                              Volume increase
                                                                                 62 / 235
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https://translate.googleusercontent.com/translate_f                                                                                                                                                             78/290
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                     (Eight)       The situation of the structured subject controlled by the company
                     □ Applicable ✓Not applicable
                     3. The company's discussion and analysis on the company's future development
                     (One)         Industry pattern and trends
                     ✓App licable □Not applicable
                     For details, please refer to "Industry Basics" in "Analysis of Operating Information in Chemical Industry" in Section 4 "Discussion and Analysis of Business Situation" of this report.
                     (two)         Company development strategy
                     ✓App licable □Not applicable
                         I. Company development strategy
                         Company Vision: To be a respected enterprise.
                         Company mission: to become a first-class enterprise.
                         The company's development strategy: adhere to scientific development, open development, integrated development, industrial management and capital management are equally important, management, technology
                     Combining technology, market, and mechanism innovation, with fluorine chemical as the core, new materials, new environmental protection, new energy, and new uses as industrial transformation
                     Upgrading direction, give full play to the company's accumulated competitive advantages, accelerate innovation-driven, transformation and upgrading, and realize the characteristic industrialization of industrial bases,




                                                                                                                                                                                                                                                                  JA525
                     Integration of the industrial chain, high-end products, serialization, high-quality, refined, differentiated, and complex, making the company a domestic
                     The leader of fluorine chemical industry, the domestic first-class chemical new material supplier and service provider.
                         2. Business unit strategy
                         (I) Fluorine chemical development strategy
                             f .Luorine..shemicaLis_the_compan)"s core main business~ insisting on the development path of high-end, specialization, internationalization, and technology leadership, fluorine polymerization
                     Substances, ODS substitutes, fluorine-containing electronic chemicals, and fluorine-containing fine chemicals, coordinate development, give priority to the development of fluorine materials, and further enrich fluorine
                     Connotation of the chemical industry chain, forming an industrial pattern of large-scale basic raw materials, serialization of intermediate products, and refinement and functionalization of downstream products,
                     Initially realize the transformation of fluorine chemical to high-end, materialization and specialization; build the company into the most comprehensive fluorine chemical in China
                     Enterprises, enhance and establish the leadership, initiative and control in the field of domestic fluoride industry, achieve sustainable development, and make the company a country
                     The world's first-class fluoride chemical enterprises lay a solid industrial foundation.
                             (2) Development strategy of chlor-alkali sector
                             Adhere to the linkage of fluorine and chlorine, take the high-tech industry as the leading factor, support and promote the development of the company's fluorine chemical industry; further strengthen the production of chlor-alk
                     The industry has advantages in technology, market, brand, product structure, etc., relying on technology, management and system innovation to cultivate independent research and development capabilities and nuclear
                     Focus on competitiveness, build a new chlor-alkali industry chain centered on new chlor-alkali materials and special chlorine-containing chemicals;
                     Ningbo base's port advantage, accelerate the effective integration of the company's local port and Ningbo base resources, and strengthen the development of new varieties and new technology products.
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               ;l . The basic situation of the com~
               j t\
                       hejiang Juhua Co., Ltd. (hereinafter referred to as the company or the company) approved by the Zhejiang Provincial People's Government, Zhejiang Zhengfa [ 1998] No. 68,
               Initiated_and_established by Juhua Group Co., Ltd., registered on June 17, 1998 with Zhejiang Provincial Administration for lndustty and_C:ommerc(;
               ln Quzhou City~      ejiang Province. The company now holds a business license with a unified social credit code of9 1330000704204554C and registered capital
               2,745, 166, 103 .00 yµan, the total number of shares is 2,745, 166, I 03 shares (each par value is I yµan). Among them, _lhe_circulation__o()imited__sa!es_condition~




                                                                                                                                                                                                                           JA526
               Shares: 86,746,046 A-shares; 2,658,420,057 A-shares with unlimited sales. The compan)'.'s stock_wa,,___listed_in~22B.
               Listed.J)n_the___Shanghai Stock Exchange on June 26, 2Q l 4~
                      iThe company belongs to the chemical industry. The main business activities are research and development, production and sales of chemical raw materials and products, food addi ti ves,
               .Cylinder inspection, provide related technical services, consultation and technology transfer, and operate import and export business. The main products are: refrigerant, petrochemical
               Materials,.!J..l!\.>[!!!at~\l..£'1emi9?l.rn~ ...mat~rial~, tluoropolymer materials, food packaging materials, fluorinated fine chemicals, basic chemical products and others.
                      1The financial statements were approved by the company on April 17, 2019, and the 24th meeting of the seventh board of directors approved the report,
               2. Scope of consolidated financial statements
               ✓App li cab l e □Not applicabl e
                      The company wi ll Zhej iang Jubang High-tech Co., Ltd. (hereinafter referred to as Jubang High-tech Company), Zhej iang Lanxi Juhua Fluorine Chemical Co., Ltd.
               Division (hereinafter referred to as Lanxi Fluoride Company), Zhejiang Quhua Fluorine Chemical Co., Ltd. (hereinafter referred to as Quhua Fluoride Company), Zhejiang Quzhou Ju
               Plastic Chemical Co. , Ltd. (hereinafter referred to as Juju Chemical Company), Ningbo Juhua Chemical Technology Co., Ltd. (hereinafter referred to as Ningbo Juhua Company),
               Zhejiang Quzhou Juxin Fluorine Chemical Co., Ltd. (hereinafter referred to as Juxin Fluoride Company), Ningbo Juxie Energy Co., Ltd. (hereinafter referred to as Ningbo)
               Juxie Company), Zhejiang Quzhou Xinj u Fluorine Material Co., Ltd. (hereinafter referred to as Quzhou Xinj u Company), Juhua Trading (Hong Kong) Co., Ltd.
               Division (hereinafter referred to as Juhua Hong Kong Company), Zhejiang Jusheng Fluorine Chemical Co., Ltd. (hereinafter referred to as Jusheng Fluorine Company), Quzhou Juhuaj in
               Co., Ltd. (hereinafter referred to as Juhua Nylon Company), Zhejiang Quzhou Lianzhou Refrigerant Co., Ltd. (hereinafter referred to as Lianzhou Refrigeration Company)
               Division), Ningbo Juhua New Materials Co., Ltd. (hereinafter referred to as Ninghua New Materials Co., Ltd.), Zhejiang Quzhou Fluorine New Chemical Co., Ltd. (hereinafter referred to as
               Referred to as Fuxin Chemical Company), Zhej iang Juhua Jian'an Petrochemical Engineering Co., Ltd. (hereinafter referred to as Jian'an Petrochemical Company), Zhejiang Lishui Fuhua
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               Chemical Co. , Ltd. (hereinafter referred to as Lishui Fuhua Company), Zhejiang Juhua New Materials Research Institute Co., Ltd. (hereinafter referred to as the Research Institute),
               Zhejiang Jinju Chemical Co., Ltd. (hereinafter referred to as Jinju Chemical Company), Zhejiang Juhua Technology Center Co., Ltd. (hereinafter referred to as technology in
               Xin), Tianjin Bairui Polymer Material Co. , Ltd. (hereinafter referred to as Tianjin Bairui Company) and(Zhejiang Juhua Lianzhou Refrigeration Technology Co., Ltd.
               (Hereinafter referred to as Juhua Lianzhou Company) and 21 other Sun subsidiaries are included in the scope of the consolidated financial statements of this period.
               Note the change in the scope of consolidation and the description of equity in other entities.
               Fourth, the basis for the preparation of financial statements
               I. Basis of preparation
               The company's financial statements are prepared on the basis of continuous operations.
                                                                           124 / 235
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                                                                                                                                                                                                                            JA527
                                                                      2018 Annual Report
               2. Continue to operate
               ✓Applicable □N ot applicable
                     The company has no events or circumstances that have caused significant doubts about the ability to continue operations within 12 months from the end of the reporting period.
               V. Important accounting policies and accounting estimates
               Specific accounting policies and accounting estimation tips:
               ✓Applicable □Not applicable
                     Important note: The company accrues the provision for bad debts of receivables, depreciation of fixed assets, and intangibles based on actual production and operation characteristics
               Specific accounting policies and accounting estimates have been formulated for transactions or events such as asset amortization and revenue recognition.
               I. Statement of compliance with corporate accounting standards
               The financial statements prepared by the company comply with the requirements of enterprise accounting standards, and truly and completely reflect the company's financial status and operations
               Achievements, changes in shareholders' equity and cash flow and other relevant information.
               2. Accounting period
               The company's fiscal year starts on January I and ends on December 31 of the Gregorian calendar.
               3. Business cycle
               ✓Applicable □N ot applicable
                     The business cycle of the company's business is relatively short, with 12 months as the standard for dividing the liquidity of assets and liabilities.
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                     5. The continuous third-level fair value measurement project, the adjustment information and unobservable parameter sensitivity between the opening and closing book value of the period
                           Sex analysis
                     □Applicable √Not applicable
                     6. For the continuous fair value measurement project, if there is a conversion between all levels during the period, the reason for the conversion and the policy to determine the time of conversion
                           Policy
                     □Applicable √Not applicable
                                                                                   208 / 235
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                     7. Changes in valuation techniques and the reasons for the changes during the period




                                                                                                                                                                                                                                       JA528
                     □Applicable √Not applicable
                     8. Fair value of financial assets and financial liabilities not measured at fair value
                     □Applicable √Not applicable
                     9. Others
                     □Applicable √Not applicable
                     12. Related parties and related transactions
                     1. The parent company of the company
                     √Applicable □Not applicable
                                                                                                                      Unit: Ten Thousand Yuan Currency: RMB
                                                                                                              Parent company
                                                                                                                                  Parent company to the enterprise
                      Parent company nameRegistration           Nature of business    Registered capital Shareholding ratio
                                                                                                                                  Of voting rights (%)
                                                                                                                   (%)
                     Juhua Group has      Hangzhou          Manufacturing, business400,000.00                            51.91%                54.09%
                     Limited company                        Wait
                     Description of the parent company of the company
                           As of December 31, 2018, Juhua Group Co., Ltd. directly held 38.65% of the company's shares, and another 13.26%
                     The shares are deposited as the trust and guarantee property of 17 Juhua EB in Juhua Group-Zheshang Securities-17 Juhua EB Guarantee and Trust Property
                     Account (with Zheshang Securities, the trustee of 17 Juhua EB as the nominal holder), through its wholly-owned subsidiary Zhejiang Juhua Investment Co., Ltd.
https://translate.googleusercontent.com/translate_f                                                                                                                                                                          256/290
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                     The company holds 2.18% of the company's shares, and the total voting right ratio is 54.09%.
                     The ultimate controlling party of this enterprise is the State-owned Assets Supervision and Administration Commission of Zhejiang Provincial People's Government
                     other instructions:
                     no
                     2. The company's subsidiaries
                     For details of the company's subsidiaries, see the note
                     ✓Applicable □Not applicable
                     For details, please refer to the explanation of the equity in other entities in the notes to the financial statements.
                     3. The company's joint ventures and associated enterprises
                     Please refer to the notes for the important joint ventures or associates of the company
                     □ Applicable ✓Not applicable
                     Other joint ventures or associated enterprises that have had a related pa!:l)'. transaction with the company in the current period, or have a balance with the company in the previous period_
                     details as followin
                     ✓Applicable □Not applicable
                                   Name of joint venture or joint venture                                    Relationship with the company
                     JGAS USA, rNC.                                              ifhe company's associates
                     Shanghai Juhua Industrial Development Co., Ltd.              The company's associates
                     Shanshan New Materials (Quzhou) Co., Ltd.                    The company's associates
                     Zhejiang Engineering Design Co., Ltd.                        The company's associates
                     Zhejiang Quzhou Fuhui Chemical Technology Co., Ltd. The company's associates




                                                                                                                                                                                                                                JA529
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                                                                               2018Annua1Report
                     Shanghai Aixin Liquefied Gas Co. , Ltd.                      The company's associates
                     Zhejiang Quzhou Juhua Showa Electronic Chemical Matefhils;:6lop~'s associates
                     Division
                     Juhua Group Finance Co. , Ltd.                               The company's associates
                     Zhejiang Jinju Chemical Co. , Ltd.                           [Note 1]
                     Zhejiang Borui Electronic Technology Co., Ltd.               [Note 2]
                     Zhejiang Kaisheng Fluorine Chemical Co. , Ltd.               [Note 2]
                     Zhejiang Kaiheng Electronic Material Co., Ltd.               [Note 2]
                     other instructions
                     ✓Applicable □Not applicable
                           [Note 1]: In September 2018, Zhejiang Jinju Chemical Co. , Ltd. was changed from an associate to a subsidiary due to the company's capital increase.
                           [Note 2]: In April 2018, Zhejiang Borui Electronic Technology Co., Ltd., Zhejiang Kaisheng Fluorine Chemical Co., Ltd. and its subsidiaries Zhejiang
https://translate.googleusercontent.com/translate_f                                                                                                                                                                   257/290
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                     Jiang Kaiheng Electronic Materials Co., Ltd. was changed from a subsidiary of the company to a subsidiary ofan associated company due to the equity transfer.
                     4.lThe situation of other related JJ,artie~
                     ✓Applicab le □Not applicable
                                       Name of other related parties                            Relationship between other related parties and the company
                     Juhua Group Corporation Automobile Transportation Co.j\l)Jjd.controlled by Juhua Group Co., Ltd.
                     Zhejiang Juhua Equipment Manufacturing Co., Ltd.         Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Juhua Chemical Mining Co., Ltd.                 Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Juhua Chemical Materials Co., Ltd.              Also controlled by Juhua Group Co., Ltd.
                     Juhua Group Company Xinghua Industrial Co., Ltd.         Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Juhua Calcium Carbide Co., Ltd.                 Also control led by Juhua Group Co., Ltd.
                     Zhejiang Juhua Logistics Co., Ltd.                       Also control led by Juhua Group Co., Ltd.
                     Zhejiang Gerui New Materials Co., Ltd.                   Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Juhua Xinlian Chemical Co., Ltd.                Also controlled by Juhua Group Co., Ltd.
                     Quzhou Fluorosilicone Technology Research Institute      Also controlled by Juhua Group Co., Ltd.
                     Zhejiang South Engineering Construction Supervision Cc,\lMd:ontrolled by Juhua Group Co., Ltd.
                     Juhua Holdings Limited                                   Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Kejian Safety and Health Consulting Co., Ltd. Also controlled by Juhua Group Co., Ltd.
                     Zhej iang Juhua Group Import and Export Co., Ltd.        Also control led by Juhua Group Co., Ltd.
                     Zhej iang Juhua Hanzheng New Material Co. , Ltd.         Also control led by Juhua Group Co., Ltd.
                     Juhua Group Corporation Engineering Co., Ltd.            Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Qingke Environmental Protection Technology ailsm.-lmntrolled by Juhua Group Co., Ltd.




                                                                                                                                                                                                                 JA530
                     Zhejiang Huajiang Technology Co., Ltd.                   Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Quzhou Jutai Building Material Co., Ltd.        Also control led by Juhua Group Co., Ltd.
                     Juhua Group Pharmaceutical Factory                       Also control led by Juhua Group Co., Ltd.
                     Quzhou Juhua Renewable Resources Technology Co., Ltd\.lso controlled by Juhua Group Co., Ltd.
                     Quzhou Qingtai Environmental Engineering Co., Ltd.       Also control led by Juhua Group Co., Ltd.
                     Quzhou Qingyuan Biological Technology Co., Ltd.          Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Jinhua New Materials Co., Ltd.                  Also controlled by Juhua Group Co., Ltd.
                     Zhejiang Juxing Optical Material Co., Ltd.               Also controlled by Juhua Group Co., Ltd.
                     Quzhou Chemical Industry Company Shanghai Debang O\,mp110J1trolled by Juhua Group Co., Ltd.
                     Lanxi Pesticide Factory                                  Settlement of unregistered companies
                     Lanxi Shuangfeng Julong Water Supply Co., Ltd.           Subsidiary company
                     Juhua Group Company Shangyu Joint-stock Company          Shareholding company of Juhua Group Co., Ltd.
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                     Zhej iang Feida Environmental Protection Technology Co4Istrlcontrolled by Juhua Group Co., Ltd.
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                     other instructions
                     no
                     5. Related party transactions
                     (I). Connected transactions for the purchase and sale of goods, provision and acceptance of labor services
                     Procurement of goods I acceptance of labor services
                     ✓Applicable □Not applicable
                                                                                                                         Unit: Currency: RMB
                                      Related party                     Related transaction content        Current amount            Amount in the previous period
                     Juhua Group Co., Ltd.                       Materials, hydropower, etc.            2,362,818,813 .23 2,031 ,097,204.12
                     Zhejiang Jinju Chemical Co., Ltd.           Methanol, nitrogen, etc.                  515,518,739.46553 ,853 ,481.63
                     Juhua Group Corporation Automobile Transportation Co. , Ltd. freight, repair seatii;l,9~48.42 237,961 ,986.10
                     Zhejiang Juhua Equipment Manufacturing IEogibllllring materials, spare parts, etc.67,506,828 .10                 36,726,486.37
                     Zhejiang Juhua Chemical Mining Co., Ltd.Fluorite mine                                  65,446,333 .35            66,284,099.72
                     Zhejiang Juhua Chemical Materials Co., Ltlf.ngineering materials, color expansion5fl;el;l 4,115.33               14,618,386.65
                     Juhua Group Company Xinghua Industrial Co. , Ltd. Greening fee, meal fee, etc. 36,646,253.99                     43,537,992.92
                     Zhejiang Juhua Calcium Carbide Co., Ltd. High-purity nitrogen, calcium carbide, '.c!,456,011.13                  29,794,467.80
                     Zhejiang Juhua Logistics Co., Ltd.          Freight, warehousing services, etc.          5,498,919.83             3,869,973.74
                     Zhejiang Gerui New Materials Co., Ltd.      Steel lined PTFE straight pipe, etc.         5,201,834.21            14,506,069.67
                     Shanghai Juhua Industrial Development Ccflibtrhinous coal, technical consulting se~696.85                              166,337.83
                     Zhejiang Juhua Xinli an Chemical Co., Ltd. Woven bags                                    3,692,695.79            60,613,224.82
                     Quzhou Fluorosi licone Technology Researc'J'eitutg11te, consulting service               3,527,097.08             1,797,659.25




                                                                                                                                                                                                  JA531
                     Supervision service of Zhejiang South Engineering Construction Supervision Co., U(ll89,502.0l                     2,443 ,138.91
                     Juhua Holdings Limited                      consultation service                         1,547, 169.82
                     Zhej iang Borui Electronic Technology Co.,IILjdrogen chloride                            1,497,432.00
                     Zhejiang Kejian Safety & Health Consulting Co. , Ltd. Hazard Prevention Evaluation ~9i6€2.64
                     Shanshan New Materials (Quzhou) Co., Ltd. lithium hexafluorophosphate                       436,068.38                 670,016.56
                     Zhejiang Kaisheng Fluorine Chemical Co., ll,llttic acid, hydrochloric acid, etc.            354,128.21
                     Zhejiang Juhua Group Import and Export Co., Ltd. chemical raw materials                     309,860.68            3,802,921.92
                     Zhejiang Juhua Hanzheng New Materials Co., Ltd. chemical raw materials                      287,145.21            1,078,888.89
                     Juhua Group Corporation Engineering Co.,ILtpair costs, etc.                                 159,262.04           40,264,778.00
                     Zhej iang Qingke Environmental Protectionllmlln:i0Mg1/mli:!;9fyti$.ervices                   61 ,320.76
                     Zhejiang Huajiang Technology Co., Ltd.      Technical testing services                       57,60.38                    2,564.11
                     Zhejiang Quzhou Jutai Building Material CW,lgjloling fees                                    53 ,070.32
                     Zhejiang Engineering Design Co., Ltd.       Technical Advisory Services                      37,735 .85           1,149,260.01
                     Juhua Group Pharmaceutical Factory          Warehousing Services                               8,490.57
                     Zhejiang Quzhou Fuhui Chemical Technology Co., Ltd. anhydrous hydrofluoric acid                                   3,896,154.70
                     Lanxi Shuangfeng Julong Water Supply Co., Ltd. utilities                                                               177,366.99
                     total                                                                              3,417,201 ,855.64 3,148,3 12,460.71
                     Sales of goods / provision of services
                     :iApplicable □Not applicabl~
                                                                                                                         Unit: Currency: RMB
                                      Related party                      Related transaction content        Current amount            Amount in the previous period
                     ------
                     IGAS~ A, INC.                               MateriaLsale~                                33,708,7_0_1.68_
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                     Juhua Group Corporation Engineering Co., Utilities,
                                                              Ltd.       etc.                                 399,206.48              551,017.54
                     Juhua Group Company Automobile Transportation Co., Ltd. Material Sales                   177,004.39              165,667.28
                     Juhua Group Corporation Xinghua Industrial Co., Ltd.                                  1,394,312.54 1,740,054.66
                     Juhua Group Pharmaceutical Factory         Electricity, steam, nitrogen, etc.         1,004,416.33 1,007,202.86
                     Juhua Group Co., Ltd.                      Technical service, inspection and maintenance
                                                                                                        40,920,357.09 33,995,373.81
                     Quzhou Fluorosilicone Technology Research
                                                            Utilities,
                                                               Institute
                                                                       etc.                                   251,526.45
                     Quzhou Juhua Renewable Resources Technology Co., Ltd. scrap steel, etc.               1,421,333.35 1,428,311.96
                     Quzhou Qingtai Environmental Engineering Co., Ltd. material sales, inspection and maintenance
                                                                                                        6,420,547.26 3,976,621.77
                     Quzhou Qingyuan Biological Technology Co., Ltd. Material sales, inspection and maintenance
                                                                                                          129,693.38
                     Shanshan New Materials (Quzhou) Co., Ltd. material sales, inspection and maintenance
                                                                                                       1,148,907.25 2,101,729.65
                     Shanghai Aixin Liquefied Gas Co., Ltd.     Sales of refrigerants and other materials303,999,225.04
                     Shanghai Juhua Industrial Development Co.,
                                                             Sales
                                                                Ltd.of materials such as methyl chloride15,465,229.10 50,324,955.65
                     Zhejiang Borui Electronic Technology Co.,Sales
                                                              Ltd. of materials such as hydrogen chloride
                                                                                                       7,902,880.01




                                                                                                                                                                                                JA532
                     Zhejiang Huajiang Technology Co., Ltd.     Biological filter material                    684,753.55
                     Zhejiang Jinhua New Materials Co., Ltd. liquid ammonia and other materials sales 34,005,675.21 14,399,789.15
                     Zhejiang Jinju Chemical Co., Ltd.          Material sales, inspection and maintenance
                                                                                                        26,303,767.99 8,595,232.07
                     Zhejiang Juhua Calcium Carbide Co., Ltd. Inspection and maintenance                   1,189,678.00
                     Hexafluoropropylene and other materials sales of Zhejiang Juhua Hanzheng New Materials
                                                                                                   20,743,547.17
                                                                                                            Co., Ltd.
                                                                                                                   22,614,033.81
                     Zhejiang Juhua Chemical Materials Co., Ltd.
                                                              Anhydrous calcium chloride                  23,566,770.17 3,971,863.25
                     Zhejiang Juhua Chemical Mining Co., Ltd.Calcium carbide slag                                3,405.93                5,555.47
                     Zhejiang Juhua Group Import and Export Co., Ltd. industrial salt, ammonium sulfate 3,780,662.29 5,156,567.36
                     Zhejiang Juhua Logistics Co., Ltd.         Inspection and maintenance                    112,043.85                68,375.94
                     Zhejiang Juhua Xinlian Chemical Co., Ltd.Hydrochloric acid treatment fee                    3,687.13 4,251,309.90
                     Zhejiang Juhua Equipment Manufacturing Co.,
                                                            Inspection
                                                                 Ltd. and maintenance                         968,962.44 8,497,216.37
                     Zhejiang Kaiheng Electronic Material Co., Anhydrous
                                                               Ltd.      hydrofluoric acid, etc.          53,929,402.81
                     Zhejiang Kaisheng Fluorine Chemical Co., Anhydrous
                                                              Ltd.      hydrofluoric acid, etc.           16,171,924.70
                     Zhejiang Qingke Environmental ProtectionFresh-keeping
                                                             Technology Co.,
                                                                           bag,
                                                                             Ltd.
                                                                                fresh-keeping film               2,612.07
                     Zhejiang Quzhou Fuhui Chemical Technology Co., Ltd. material sales, labor costs,159,667,667.70
                                                                                                      etc.          195,088,125.92
                     Zhejiang Gerui New Materials Co., Ltd.     Material sales                            29,617,824.22 17,918,704.70
                     Zhejiang Quzhou Juhua Showa Electronic Chemical
                                                            Cyclohexanone,
                                                                     Materials
                                                                           water, electricity and steam
                                                                                                     18,078,826.91 15,971,235.46
                     Limited company
                     Zhejiang Quzhou Jutai Building Material Co.,
                                                              Fluorogypsum,
                                                                  Ltd.      etc.                           4,378,763.88 4,156,026.15
                     total                                                                           1,007,553,319.37 395,984,970.73
                     Description of related party transactions for the purchase and sale of goods, provision and acceptance of labor services
                     □Applicable √Not applicable
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                     (2). Related commissioned management/contracting and entrusted management/outsourcing
                     The company's entrusted management/contracting situation table:
                     √Applicable □Not applicable
                                                                                                                        Unit: Currency: RMB
                                                                                                            Escrow revenue/commitment
                                                                                                                               The current confirmation
                      Client/outsourcing Trustee/ContractorTrusted/ContractedTrusted/Contracted
                                                                                            Trusted/Contracted
                                                                                                           Package revenue is priced
                                                                                                                                Management
                                                                                                                                      according
                                                                                                                                             income/contract
                                                                                                                                                to
                          Party name        Party name        Type of production
                                                                               Start date     Expiration date
                                                                                                                  according to       income
                     Juhua Group Limited
                                      Our company          Other assets       2016 12            December 2018 600,000/year (including 566,037.74
                     the company                           tube               January 1          December 31     tax)
                     Juhua Group Limited
                                      Our company          Other assets       2017 12            2019 12         10,000/month (including tax) 113,207.54
                     the company                           tube               January 1          December 31
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                     Description of related hosting/contracting




                                                                                                                                                                                                                                                         JA533
                     √Applicable □Not applicable
                           (1) Juhua Group Co., Ltd. entrusted the company to manage Zhejiang Juhua Xinlian Chemical Co., Ltd. and Juhua Group Company's plasticizing plant
                     The daily production and operation activities of the enterprise are entrusted from January 1, 2016 to December 31, 2018.
                     After the expiry of the contract, if the parties to the contract do not raise any objection, the entrusted management period is automatically extended by 1 year, and the entrusted management fee is 600,000 yuan/year
                     tax). In the current period, 600,000 yuan (including tax) for the custody fee was received, and 600,000 yuan (including tax) was received in the same period last year.
                           (2) Juhua Group Co., Ltd. entrusted the company to manage the daily production and operation activities of Zhejiang Juhua Carbide Co., Ltd.
                     From January 1, 2017 to December 31, 2019, after the expiration of the entrusted management period, if the parties to the contract do not raise an objection, the entrust
                     The management period is automatically extended for 1 year, and the standard of entrusted management fees is 10,000/month (including tax), which is settled every six months. This period has received
                     The management fee is 120,000 yuan (including tax).
                     The company entrusted management / outsourcing situation table
                     □Applicable √Not applicable
                     Related management/outsourcing information
                     □Applicable √Not applicable
                     (3). Related lease
                     The company as the lessor:
                     √Applicable □Not applicable
                                                                                                                        Unit: Currency: RMB
                                                                   Lease assets
                                    Tenant name                                         Rental income recognized in the current
                                                                                                                        Lease income
                                                                                                                                period recognized in the previous period
                                                                          class
https://translate.googleusercontent.com/translate_f                                                                                                                                                                                            261/290
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                     Zhejiang Quzhou Juhua Showa Electronic Chemical
                                                              Industrial
                                                                      Materials
                                                                         land                        380,952.38
                     Limited company
                     Industrial Land of Zhejiang Quzhou Fuhui Chemical Technology Co., Ltd.                                            161,349.04
                     The company as the lessee:
                     √Applicable □Not applicable
                                                                                                                       Unit: Currency: RMB
                                Lessor name                      Types of leased assets     The lease fee confirmed in the current
                                                                                                                           The lease
                                                                                                                                   period
                                                                                                                                     fee confirmed in the previous period
                     Juhua Group Pharmaceutical Factory warehouse                                        25,471.70                      16,216.22
                     Juhua Group Co., Ltd.                 Plant                                    3,589,889.36                    1,373,312.87
                     Juhua Group Co., Ltd.                 Office building                             378,300.00                      100,000.00
                     Zhejiang Juhua Calcium Carbide Co., Ltd.
                                                          site                                         232,262.39                      217,825.23
                     Zhejiang Juhua Logistics Co., Ltd.    warehouse                                        7,727.27                      7,657.66
                     Warehouse of Zhejiang Juxing Optical Material Co., Ltd.                           193,200.00                      193,200.00
                     Warehouse of Zhejiang Quzhou Jutai Building Materials Co., Ltd.                   363,591.15                       78,120.00
                     Factory Building of Zhejiang Juhua Equipment Manufacturing Co., Ltd.           1,960,000.00
                     Juhua Group Corporation Engineering Co., Ltd. Equipment                           316,012.07
                              total                                                                 7,066,453.94                    1,986,331.98
                     Related lease description
                     □Applicable √Not applicable




                                                                                                                                                                                                        JA534
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                     (4). Related guarantees
                     The company as the guarantor
                     □Applicable √Not applicable
                     The company as the guaranteed party
                     √Applicable □Not applicable
                                                                                                                         Unit: Currency: RMB
                                                                                                                         Whether the guarantee has been fulfilled
                             guarantor              Guarantee amount      Guarantee start date      Guarantee maturity date
                                                                                                                                    complete
                     Juhua Group Co., Ltd. 29,990,000.00 2018-6-21                              2019-5-24                 no
                     Juhua Group Co., Ltd. 20,000,000.00 2018-3-15                              2019-3-14                 no
                     Description of related guarantee
                     □Applicable √Not applicable
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                     (5). Fund borrowing of related parties
                     √Applicable □Not applicable
                                                                                                                             Unit: Currency: RMB
                             Related party               Borrowing amount            Start date        expiry date                    Explanation
                     Break in
                     Lanxi City Shuangfeng Giant Dragon
                                                  1,640,030.04                                                           Shuangfeng Dragon has occupied the funds in
                     Water Co., Ltd.                                                                                    All returned in January 2018
                     Juhua Group Co., Ltd. 53,330,000.00                                                                Jinju Chemical Company is controlled by the company
                                                                                                                        Before the merger, Xianghua Group Co., Ltd.
                                                                                                                        Loan from the company 53,330,000.00
                                                                                                                        Yuan, the company's holding merger Jinjuhua
                                                                                                                        Transferred into the industrial company.
                     Take out
                     (6). Asset transfer and debt restructuring of related parties
                     √Applicable □Not applicable
                                                                                                                          Unit: Currency: RMB
                                       Related party                  Related transaction contentCurrent amount                      Amount in the previous period
                     Juhua Group Co., Ltd.                           Disposal of fixed assets                7,918.00




                                                                                                                                                                                                          JA535
                     Quzhou Juhua Renewable Resources Technology Co., Ltd. disposes of fixed assets
                                                                                               129,207.93
                     Zhejiang Jinju Chemical Co., Ltd. (before merger) purchased forklift                  30,709.00                        175,864.00
                     Juhua Group Corporation Engineering Co., Ltd.
                                                                Purchase equipment                        463,222.52                          17,314.49
                     Juhua Group Co., Ltd.                           Purchase equipment                3,502,304.12                     21,243,035.32
                     Purchase land use rights                                                          7,835,290.93
                     Zhejiang Engineering Design Co., Ltd.           Purchase equipment                   243,138.72                     3,419,805.13
                     Zhejiang Juhua Group Import and Export Co., Purchase
                                                                 Ltd.     equipment                    7,962,035.68                     22,940,269.36
                     Zhejiang Juhua Xinlian Chemical Co., Ltd.       Purchase equipment                      5,481.04                   56,414,343.40
                     Zhejiang Juhua Equipment Manufacturing Co.,Purchase
                                                                 Ltd.    equipment                    70,678,007.77                     47,137,064.47
                     Zhejiang Juhua Chemical Materials Co., Ltd. Purchase equipment                                                      2,491,050.60
                     Zhejiang Feida Environmental Protection Technology Co., Ltd.                   184,112,000.00
                         total                                                                    1,529,395,327.10                    161,674,037.70
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                     (7). Key management personnel compensation
                     √Applicable □Not applicable
                                                                                                                         Unit: Ten Thousand Yuan Currency: RMB
                                          project                                        Current amount                          Amount in the previous period
                     Key management personnel compensation                                           361.07 million                     RMB 3.2092 million
                     (8). Other related party transactions
                     √Applicable □Not applicable
                             (1) Juhua Group Co., Ltd., Juhua Group Company Engineering Co., Ltd., Zhejiang Engineering Design Co., Ltd., Juhua Group
                     Xuanhua Industrial Co., Ltd., Zhejiang Juhua Equipment Manufacturing Co., Ltd., Zhejiang Gerui New Materials Co., Ltd. and Zhejiang Qingkehuan
                     Bao Technology Co., Ltd. provides construction and installation services and engineering design services to the company and its subsidiaries through bidding
                     12.46294 million yuan, 85.833 million yuan, 36.695 million yuan, 7.629 million yuan, 31.607 million yuan, 1.0002 million yuan and
                     RMB 187,800, the total amount of such services in the same period last year was RMB 83.9076 million. Quzhou Qingtai Environmental Engineering Co., Ltd.
                     Jiang Quzhou Jutai Building Materials Co., Ltd. provided waste liquid and sewage treatment services to the company and its subsidiaries for a total of 61,650,500 yuan.
                     The same period last year was RMB 47,495,500. Juhua Group Co., Ltd. and Zhejiang Jinju Chemical Co., Ltd. to the company and its subsidiaries
                     The total amount of transferred sewage rights is 2.201 million yuan.




                                                                                                                                                                                                                                        JA536
                             (2) As approved by the company's board of directors in the last period, the subsidiary Jusu Company will develop its 100kt/a polyvinylidene chloride high-performance barrier material project
                     (Phase I) Sections B and C adopt the (EPC) project general contracting method and are issued to Juhua Group Corporation Engineering Co., Ltd., Zhejiang
                     Juhua Equipment Manufacturing Co., Ltd. and Zhejiang Engineering Design Co., Ltd. The B and C sections of this project have been completed and converted to solid.
                     A total of RMB 27,135,300 was paid for the total contracting cost of the project, and RMB 72,093,300 was paid in advance for the same period last year. Simultaneously 18 years D
                     The project was started, and the (EPC) project general contracting method was adopted, which was issued to Zhejiang Juhua Equipment Manufacturing Co., Ltd. and Zhejiang Engineering Design
                     For the limited company, a total of RMB 23,233,900 was paid for the general contracting cost of the project in this period.
                             (3) Transactions with Juhua Group Finance Co., Ltd.
                             (1) Entrusted deposits in the current period
                              Opening number                   Increase in this period         Decrease in this period        Ending balance
                              304,245,174.36 38,493,949,974.53 38,269,457,939.06                                              528,737,209.83
                                   2. Loan acceptance status
                              Opening number                   Increase in this period         Decrease in this period        Ending balance
                                  5,000,000.00                    5,000,000.00                    5,000,000.00                  5,000,000.00
                                 3. Juhua Group Finance Co., Ltd. received interest of RMB 5,635,008.77 in the current period, which was 2,956,076.78 in the same period of the previous year
                     yuan.
https://translate.googleusercontent.com/translate_f                                                                                                                                                                           264/290
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                                4. The loan interest paid to Juhua Group Finance Co., Ltd. was 193 ,877.08 yuan in the current period, compared with 188,681.25 in the same period last year
                     yuan.
                     6. Receivables due from related parties
                     (I). Items receivable
                     ✓Applicable □Not applicable
                                                                                                                            Unit: Currency: RMB
                                                                                     Ending balance                                Opening Balance
                       project name              Related party
                                                                         Book balance                Bad debt provision   Book balance         Bad debt provision




                                                                                                                                                                                                                     JA537
                       ills receivable ruifiAS USA, lliC              24,593, 101.95 1,229,655.10
                     accounts_receiyable_
                     Bi lls receivable anllihua Group Co., Ltd. 21 ,277,887.26                              295.83 16,045,382.4                751 ,769.11
                     accounts receivable                                                                                                   9
                     Bills receivable anllhanshan New Materials (Quzhou)l5,369.52                        1,536.95           97,293 .84 4,864.69
                     accounts receivableimited company
                     Bills receivable an,lhejiang Borui Electronic Techna1 ..gy783.56                    4,104.66
                     accounts receivableimited company
                     Bills receivable an,lhejiang Gerui New MaterialsS,744,970.60                     437,248 .53
                     accounts receivableimited company
                     Bills receivable an,lhejiang Jinhua New Materialqflli%685. l 8                   352,684.26
                     accounts receivabl€o., Ltd.
                     Bills receivable an,lhejiang Kaiheng Electronic M;1hli4;11§9.42                  107,227.97
                     accounts receivableimited company
                     Bills receivable an,lhejiang Kaisheng Fluorine Clli;rolfr;ilj9dlpLtd.             87,832 .95
                     accounts receivableimited company
                     Bills receivable an,lhejiang Quzhou Fuhui Chemii;9l77,494.45                     198,874.72 13,593 ,935 .9                334,696.80
                     accounts receivablfechnology Co., Ltd
                                        Zhejiang Quzhou Juhua Showa 106,740.47                           5,337.02
                     Bills receivable and
                                        Limited electronic chemical materials
                     accounts receivable
                                        the company
                     Bills receivable an,lhejiang Juhua Chemical Mining          113.74                        5.69               390.62              19.53
                     accounts receivableimited company
                     Bills receivable anl:lanxi Pesticide Factory     60,266,197.95 33,507,430.15 60,266,197.9                                 33,507,430
                     accounts receivable                                                                                                   5             .15
https://translate.googleusercontent.com/translate_f                                                                                                                                                        265/290
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                     Bills receivable and
                                        Zhejiang Jinju Chemical Co., Ltd.                                            3,750.00             187.50
                     accounts receivablethe company
                     Bills receivable and
                                        Zhejiang Juhua Hanzheng New Materials                                   5,682,377.27 284,118.86
                     accounts receivable
                                       Materials Co., Ltd.
                     Bills receivable and
                                        Zhejiang Juhua Equipment Manufacturing                                  6,339,527.36 316,976.37
                     accounts receivable
                                       Limited company
                     Bills receivable and
                                        Juhua Group Company Engineering                                           366,630.86 18,331.54
                     accounts receivable
                                       Limited company
                     Bills receivable and
                                        Zhejiang Juhua Chemical Materials
                                                                       300,000.00                                 982,000.00
                     accounts receivable
                                       Limited company
                     Bills receivable and
                                        Shanghai Juhua Industrial Development                                       77,595.00
                     accounts receivable
                                       Limited company
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                                                                                                                                                                                           JA538
                                                                   130,550,563.16 35,932,233.84 103,455,081.                         35,218,394
                     Subtotal
                                                                                                                                30            .55
                     Prepayments         Juhua Group Co., Ltd.              74,046.60                             652,480.60
                                         Quzhou Qingtai Environmental Engineering
                                                                        45,226.00                                    6,498.18
                     Prepayments
                                         Cheng Co., Ltd.
                                         Zhejiang Juhua Hanzheng New Materials
                                                                      326,554.29
                     Prepayments
                                         Materials Co., Ltd.
                                         Zhejiang Juhua Chemical Mining            0.08
                     Prepayments
                                         Limited company
                                         Zhejiang Juhua Logistics Co., Ltd. 16,078.90
                     Prepayments
                                         the company
                                         Zhejiang Juhua Equipment Manufacturing
                                                                        76,298.33
                     Prepayments
                                         Limited company
                                         Zhejiang Juhua Group                                                     580,000.00
                     Prepayments
                                         Mouth co., ltd.
                     Subtotal                                             538,204.20                            1,238,978.78
                                         Juhua Group Company Engineering10,237.31                  511.87
                     Other receivables
                                         Limited company
                     Juhua Group Co., Ltd.                                  17,130.00              856.50 100,600.00 10,030.00
                                         Lanxi Pesticide Factory     92,864,321.67 51,631,675.43 92,864,321.6                        51,631,675
                     Other receivables
                                                                                                                                 7            .43
                                         Lanxi City Shuangfeng Giant Dragon                                     1,640,030.04 280,253.37
                     Other receivables
                                         Water Co., Ltd.
                                         Shanshan New Materials (Quzhou)20,000.00                1,000.00
                     Other receivables
                                         Limited company
https://translate.googleusercontent.com/translate_f                                                                                                                              266/290
USCA Case #21-1251   Document #1955329    Filed: 07/15/2022   Page 543 of 561
Attachment 2




                            Exhibit 9




                                  JA539
 Attachment 2




                                                                                                                                        USCA Case #21-1251
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                                       Pure Mann                HOME   Com pany   Products   PR Center   Custormer




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                                                                                                                                        Page 544 of 561
    Attachment 2




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                         PureMann                                                    HOME    Company   Er.QdLLcts            PR Center   Custormer
                                                                                                       Refrigerant Gas




                                                                                                                                                             Document #1955329
                                                                                                       Fire Extinguishing Agent
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                                                                                                                                                               JA541
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                                     R-134a                       R-41 0A                   R-404A              R-407C                    R-507




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Attachment 2




                           Exhibit 10




                                  JA542
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Attachment 2




           AUTO and HVAC
           INSIDE CONTAINER COMPLIES WITH PRESCRIBED SPECIFICATIONS
       LE CONTENU OE L'EMBALLAGE EST CONFORME AUX NORMES PRESCRITES
    ESTE CYLINOAO CUMPLEM CON LAS ESPECIFICACIONS REQUEAIDAS POR LA LEY




       30 LB. 13.
      Processed in Korea from imported materials
                           PUREMANN INC.
                           4912 W KNOX ST. SUITE 100
                           TAMPA, FL 33634, U.S.A
                          Tel:(813) 884-1900




NON-RETURNABLE                                         NON-REFILLABLE
EMBALLAGE PERDU                                        NE PAS REUTILISER
CYLINDER DESECHABLE                                    NO RELLENABLE



         DO NOT STORE ABOVE 125° F
       NE PAS STO CKER A PLUS DE 52° C
        NO ALMACENARLO SOBRE 52° c,~---~~



                                        JA543
USCA Case #21-1251   Document #1955329    Filed: 07/15/2022   Page 548 of 561
Attachment 2




                           Exhibit 11




                                  JA544
USCA Case #21-1251                             Document #1955329    Filed: 07/15/2022   Page 549 of 561
Attachment 2




                     KEEP 'r'Wl RfCFIPT
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                return Is done after 10/19/16

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USCA Case #21-1251   Document #1955329    Filed: 07/15/2022   Page 550 of 561
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USCA Case #21-1251                      Document #1955329                  Filed: 07/15/2022                                  Page 551 of 561
Attachment 2




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Attachment 2




                           Exhibit 12




                                  JA548
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                                                                                 Update : Apr 2020 / Volume unit : MT
                    2010     2011     2012     2013    2014    2015      2016    2017     2018      2019      2020
            China       ‐    3,912     5,736   5,670   6,138   5,702     5,218   6,894    7,476      5,684    1,842
   Import
    from




            India       ‐        ‐         ‐       ‐       ‐      36       108      36      108         37       37
            US        213       48       362      84      14      15        14      15       18         18        1
            China       3        ‐         ‐       ‐       ‐       ‐         ‐       0        ‐          0        ‐
   Export
     to




            India      15        ‐         ‐       ‐       ‐       ‐         ‐       ‐        ‐          ‐        ‐
            US          ‐        ‐         3       ‐              36        51     277    1,271      1,182      393


    Source: Korea Customs Service




                                                       JA549
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                           Exhibit 13




                                  JA550
USCA Case #21-1251                                                             Document #1955329                                                                                               Filed: 07/15/2022                                                              Page 555 of 561
Attachment 2
                                                                                                           PureMann entries, 01/01/2019 - 07/31/2020


       Date         Consignee Declared        Shipper Declared       Short Container Description              Country of Origin       Port of Arrival      Final Destination   Weight          Weight Unit   Quantity           Quantity Unit   Month         Consignee Declared Address            Shipper Address

        7/22/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            22,801.00 K                      1,340.00 CYL                            7 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO,
                                                                                                                                                                                                                                                                                                  JANGANMYEON,BOEUN,
                                                                                                                                                                                                                                                                                                  CHUNGBUK,
        7/21/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            LONG BEACH,CA         NOT DECLARED            47,832.00 K                    100,800.00 CAN                            7 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO,
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               JANGANMYEON,BOEUN,
                                                                                                                                                                                                                                                                                                  CHUNGBUK,
        7/17/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            69,408.00 K                      4,080.00 CYL                            7 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO,
                                                                 CLASS2.2 UN NO3159 REFRIGERANT GAS                                                                                                                                                                                               JANGANMYEON,BOEUN,
                                                                 R134A CLASS2.2 UN NO3159                                                                                                                                                                                                         CHUNGBUK,
         7/6/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            46,272.00 K                      2,720.00 CYL                            7 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO,
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               JANGANMYEON,BOEUN,
                                                                                                                                                                                                                                                                                                  CHUNGBUK,
         7/6/2020 CROSS WORLD CORPORATION   PUREMANN INC,        REFRIGERANT GAS                           SOUTH KOREA            SEATTLE,WA            OMAHA, NE               19,663.00 KG                     1,240.00 PKG                            7 . THROUGH ITS AGENT244 FIFTH AVENUE    . 332‐13, MAEHWAGOOIN‐
                  LIMITED                                                                                                                                                                                                                                  2ND FLOORNEW YORK NY 10001 U.S.A       RO. JANGAN‐MYEO N,
                                                                                                                                                                                                                                                                                                  BOEUN‐GUNCHUNGBUK,
                                                                                                                                                                                                                                                                                                  28916, SOUTH

        6/21/2020 CROSS WORLD CORPORATION   PUREMANN INC,        REFRIGERANT GAS                           SOUTH KOREA            SEATTLE,WA            OMAHA, NE               19,926.00 KG                    40,320.00 PKG                            6 . THROUGH ITS AGENT CROSS WORLD        . 332‐13, MAEHWAGOOIN‐
                  LIMITED                                                                                                                                                                                                                                  LLC2 44 FIFTH AVENUE 2ND FLOORNEW      RO. JANGAN‐MYEO
                                                                                                                                                                                                                                                           YORK                                   N,BOEUN‐
                                                                                                                                                                                                                                                                                                  GUN,CHUNGBUK, 28916,
                                                                                                                                                                                                                                                                                                  SOUTH
        6/14/2020 CROSS WORLD CORPORATION   PUREMANN INC,        REFRIGERANT GAS                           SOUTH KOREA            SEATTLE,WA            OMAHA, NE               19,838.00 KG                     1,160.00 PKG                            6 . THROUGH ITS AGENT CROSS WORLD        . 332‐13, MAEHWAGOOIN‐
                  LIMITED                                                                                                                                                                                                                                  LLC2 44 FIFTH AVENUE 2ND FLOORNEW      RO. JANGAN‐MYEO
                                                                                                                                                                                                                                                           YORK                                   N,BOEUN‐
                                                                                                                                                                                                                                                                                                  GUN,CHUNGBUK, 28916,
                                                                                                                                                                                                                                                                                                  SOUTH
        6/14/2020 CROSS WORLD CORPORATION   PUREMANN INC,        REFRIGERANT GAS                           SOUTH KOREA            SEATTLE,WA            OMAHA, NE               19,513.00 KG                     1,320.00 PKG                            6 . THROUGH ITS AGENT CROSS WORLD        . 332‐13, MAEHWAGOOIN‐
                  LIMITED                                                                                                                                                                                                                                  LLC2 44 FIFTH AVENUE 2ND FLOORNEW      RO. JANGAN‐MYEO
                                                                                                                                                                                                                                                           YORK                                   N,BOEUN‐
                                                                                                                                                                                                                                                                                                  GUN,CHUNGBUK, 28916,
                                                                                                                                                                                                                                                                                                  SOUTH
        5/27/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            23,136.00 K                      1,360.00 CYL                            5 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO,
                                                                                                                                                                                                                                                                                                  JANGANMYEON,BOEUN,
                                                                                                                                                                                                                                                                                                  CHUNGBUK,
        5/21/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            23,136.00 K                      1,360.00 CYL                            5 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        5/13/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            23,136.00 K                      1,360.00 CYL                            5 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        5/13/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            23,916.00 K                     50,400.00 CAN                            5 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        4/24/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            41,191.00 K                      2,420.00 CYL                            4 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159
        4/12/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            18,000.00 K                         1.00 TNK                             4 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        4/12/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            18,000.00 K                         1.00 TNK                             4 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        4/12/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            18,000.00 K                         1.00 TNK                             4 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        4/10/2020 ECOTEC MANUFACTURING INC PUREMANN INC          R134A IN 17000KG ISOTANK UN NO. 3159      SOUTH KOREA            MIAMI,FL              NOT DECLARED            17,000.00 K                         1.00 TNK                             4 312 SW 7TH AVE OKEECHOBEE              332 13 MAEHWAGOOIN
                                                                 CLASS NO. 2.2                                                                                                                                                                             FL34974 US                             RO JANGAN MYEON
                                                                                                                                                                                                                                                                                                  BOEUN GUN CHOONGBUK
                                                                                                                                                                                                                                                                                                  CHOONGBUK
                                                                                                                                                                                                                                                                                                  KR


        3/30/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            23,916.00 K                     49,920.00 CAN                            3 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        3/23/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            18,000.00 K                         1.00 TNK                             3 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        3/22/2020 CROSS WORLD CORPORATION   PUREMANN INC,        REFRIGERANT GAS                           SOUTH KOREA            SEATTLE,WA            NOT DECLARED            19,887.00 KG                     1,320.00 PKG                            3 . THROUGH ITS AGENT CROSS WORLD        . 332‐13, MAEHWAGOOIN‐
                  LIMITED                                                                                                                                                                                                                                  LLC2 44 FIFTH AVENUE 2ND FLOORNEW      RO. JANGAN‐MYEO
                                                                                                                                                                                                                                                           YORK                                   N,BOEUN‐
                                                                                                                                                                                                                                                                                                  GUN,CHUNGBUK, 28916,
                                                                                                                                                                                                                                                                                                  SOUTH
        3/22/2020 CROSS WORLD CORPORATION   PUREMANN INC,        REFRIGERANT GAS REFRIGERANT GAS           SOUTH KOREA            SEATTLE,WA            NOT DECLARED            62,358.00 KG                     3,960.00 PKG                            3 . THROUGH ITS AGENT CROSS WORLD        . 332‐13, MAEHWAGOOIN‐
                  LIMITED                                        REFRIGERANT GAS                                                                                                                                                                           LLC2 44 FIFTH AVENUE 2ND FLOORNEW      RO. JANGAN‐MYEO
                                                                                                                                                                                                                                                           YORK                                   N,BOEUN‐
                                                                                                                                                                                                                                                                                                  GUN,CHUNGBUK, 28916,
                                                                                                                                                                                                                                                                                                  SOUTH
         3/2/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            36,000.00 K                         2.00 TNK                             3 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               BOEUN, CHUNGBUK,
         3/2/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            36,000.00 K                         2.00 TNK                             3 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               BOEUN, CHUNGBUK,
         2/2/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            36,000.00 K                         2.00 TNK                             2 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               BOEUN, CHUNGBUK,
        1/26/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            36,000.00 K                         2.00 TNK                             1 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               BOEUN, CHUNGBUK,
        1/17/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            23,916.00 K                     49,920.00 CAN                            1 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        1/12/2020 ECOTEC MANUFACTURING INC PUREMANN INC          R134A IN 17000KG ISOTANK                  SOUTH KOREA            MIAMI,FL              NOT DECLARED            17,000.00 K                         1.00 TNK                             1 312 SW 7TH AVE OKEECHOBEE              332 13 MAEHWAGOOIN
                                                                                                                                                                                                                                                           FL34974 US                             RO JANGAN MYEON
                                                                                                                                                                                                                                                                                                  BOEUN GUN CHOONGBUK
                                                                                                                                                                                                                                                                                                  28916 SOUTH KOREA

        1/10/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            36,000.00 K                         2.00 TNK                             1 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               BOEUN, CHUNGBUK,
         1/3/2020 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            36,000.00 K                         2.00 TNK                             1 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               BOEUN, CHUNGBUK,
       12/14/2019 ECOTEC MANUFACTURING INC PUREMANN INC          R134A IN 17000KG ISOTANK                  SOUTH KOREA            MIAMI,FL              NOT DECLARED            17,000.00 K                         1.00 TNK                            12 312 SW 7TH AVE OKEECHOBEE              332 13 MAEHWAGOOIN
                                                                                                                                                                                                                                                           FL34974 US                             RO JANGAN MYEON
                                                                                                                                                                                                                                                                                                  BOEUN CHUNGBUK
                                                                                                                                                                                                                                                                                                  CHUNGBUK
                                                                                                                                                                                                                                                                                                  KR
       10/24/2019 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            TAMPA,FL              NOT DECLARED            46,512.00 K                      2,720.00 CYL                           10 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 REFRIGERANT GAS R134A                                                                                                                                                                                                     RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159                                                                                                                                                                                                               BOEUN, CHUNGBUK,
        10/5/2019 ECOTEC MANUFACTURE INC    PUREMANN INC         R134A IN 17000KG ISOTANK CLASS 2.2 UN     SOUTH KOREA            MIAMI,FL              NOT DECLARED            17,000.00 K                         1.00 TNK                            10 312 SW 7TH AVE OKEECHOBEEFL34974       332 13 MAEHWAGOOIN
                                                                 3159                                                                                                                                                                                      US                                     RO JANGAN MYEON
                                                                                                                                                                                                                                                                                                  BOEUN GUN CHOONGBUK
                                                                                                                                                                                                                                                                                                  KR

        10/1/2019 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R134A CLASS2.2 UN         SOUTH KOREA            LONG BEACH,CA         NOT DECLARED            23,256.00 K                      1,360.00 CYL                           10 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159                                                                                                                                                                                                                           RO, JANGANMYEON
                                                                                                                                                                                                                                                                                                  BOEUN, CHUNGBUK,
        10/1/2019 PUREMANN INC.             PUREMANN INC,        REFRIGERANT GAS R‐134A CLASS2.2 UN        SOUTH KOREA            LONG BEACH,CA         NOT DECLARED            54,000.00 K                         3.00 TNK                            10 4912 W KNOX ST. SUITE 100              332‐13, MAEHWAGOOIN‐
                                                                 NO3159 E . REFRIGERANT GAS R‐134A                                                                                                                                                                                                RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159 E . REFRIGERANT                                                                                                                                                                                               BOEUN, CHUNGBUK,
                                                                 GAS R‐134A CLASS2.2 UN NO3159 E .
         9/4/2019 PUREMANN INC              PUREMANN INC         REFRIGERANT GAS R‐134A CLASS2.2 UN        SOUTH KOREA            TAMPA,FL              NOT DECLARED            36,000.00 K                         2.00 TNK                             9 4912 W KNOX ST. SUITE 100 TAMPA, FL    332‐13, MAEHWAGOOIN‐
                                                                 NO3159 E . REFRIGERANT GAS R‐134A                                                                                                                                                         33634, U.S.A                           RO, JANGANMYEON
                                                                 CLASS2.2 UN NO3159 E .                                                                                                                                                                                                           BOEUN, CHUNGBUK
         9/4/2019 ECOTEC MANUFACTURING INC PUREMANNINC           R134A IN 17000KG ISOTANK UN NO. 3159      SOUTH KOREA            MIAMI,FL              NOT DECLARED            17,000.00 K                         1.00 TNK                             9 312 SW 7TH AVE OKEECHOBEE              332 13 MAEHWAGOOIN
                                                                 CLASS NO. 2.2                                                                                                                                                                             FL34974 US                             RO JANGAN MYEON
                                                                                                                                                                                                                                                                                                  BOEUN CHUNGBUK
                                                                                                                                                                                                                                                                                                  CHUNGBUKKR
        5/22/2019 MONDY GLOBAL, INC.        PUREMANN INC         1340 CYLINDERS OF R410A IN 25LB DOT 39    SOUTH KOREA            LOS ANGELES,CA        NOT DECLARED            41,916.00 KG                     2,680.00 CYL                            5 12118 VALLIANT SUITE206 SAN ANTONIO    332‐13, MAEHWAGOOIN‐
                                                                 DISPOS ABLE CYLINDER 1340 CYLINDERS                                                                                                                                                       TEXAS 78216 USA                        RO,JANGAN‐MYEON
                                                                 OF R410A IN 25LB DOT 39 DISPOS ABLE                                                                                                                                                                                              BOEUN, CHUNGBUK,
                                                                 CYLINDER                                                                                                                                                                                                                         SOUTH KOREA
        5/18/2019 MONDY GLOBAL INC          PUREMANN INC         R410A IN 25LB DOT 39 DISPOSABLE           SOUTH KOREA            HOUSTON,TX            NOT DECLARED            47,566.00 K                      3,042.00 PKG                            5 12118 VALLIANT SUITE 206 SAN ANTONIO   332 13 MAEHWAGOOIN
                                                                 CYLINDER EMP TY CARTONS R410A IN                                                                                                                                                          TX78216 US                             RO JANGAN MYEON
                                                                 25LB DOT 39 DISPOSABLE CYLINDER EMP                                                                                                                                                                                              BOEUN CHUNGBUK
                                                                 TY CARTONS                                                                                                                                                                                                                       KR
        4/26/2019 MONDY GLOBAL INC          PUREMANN INC         4560 CYLINDERS OF R410A IN 25LB DOT 39    SOUTH KOREA            HOUSTON,TX            NOT DECLARED            78,888.00 K                      4,560.00 CYL                            4 12118 VALLIANT SUITE 206 SAN ANTONIO   332 13 MAEHWAGOOIN
                                                                 DISPOS ABLE CYLINDER 4560 CYLINDERS                                                                                                                                                       TX78216 US                             RO JANGAN MYEON
                                                                 OF R410AIN 25LB DOT 39 DISPOS ABLE                                                                                                                                                                                               BOEUN CHUNGBUK
                                                                 CYLINDER 4560 CYLINDERS OF R410A IN                                                                                                                                                                                              KR
                                                                 25LB DOT 39 DISPOS ABLE CYLINDER


        3/27/2019 ECOTEC MANUFACTURING INC PUREMANN INC          R134A IN 17000KG ISOTANK UN NO. 3159      SOUTH KOREA            MIAMI,FL              NOT DECLARED            25,900.00 K                         1.00 TNK                             3 312 SW 7TH AVE OKEECHOBEE              332 13 MAEHWAGOOIN
                                                                 CLASS NO. 2.2                                                                                                                                                                             FL34974 US                             RO JANGAN MYEON
                                                                                                                                                                                                                                                                                                  BOEUN CHUNGBUK
                                                                                                                                                                                                                                                                                                  SOUTH KOREA CHUNGBUK
                                                                                                                                                                                                                                                                                                  KR


        3/18/2019 ECOTEC MANUFACTURING INC PUREMANN INC          R134A IN 17000KG ISOTANK UN NO. 3159      SOUTH KOREA            MIAMI,FL              NOT DECLARED            25,900.00 K                         1.00 TNK                             3 312 SW 7TH AVE OKEECHOBEE              332 13 MAEHWAGOOIN
                                                                 CLASS NO. 2.2                                                                                                                                                                             FL34974 US                             RO JANGAN MYEON
                                                                                                                                                                                                                                                                                                  BOEUN CHUNGBUK
                                                                                                                                                                                                                                                                                                  SOUTH KOREA CHUNGBUK
                                                                                                                                                                                                                                                                                                  KR


        1/27/2019 PUREMANN INC,             PUREMANN INC,        REFRIGERANT GAS R‐134A PACKED IN          SOUTH KOREA            TAMPA,FL              NOT DECLARED           119,802.00 LB                    99,840.00 PKG                            1 4912 W. KNOX ST. SUITE 100 TAMPA, FL   332‐13, MAEHWAGOOIN‐
                                                                 12OZ (340G) DOT CAN ‐49,920 CANS (4,160                                                                                                                                                   33634, U.S.A TEL. (813) 884‐1900       RO,JANGAN‐MYEO,
                                                                 BOXES)/ 40FT. HQ REFRIGERANT GAS R‐                                                                                                                                                                                              BOEUN, CHUNGBUK,
                                                                 134A PACKED IN 12OZ (340G) DOT CAN ‐                                                                                                                                                                                             SOUTH KOREA TEL.
                                                                 49,920 CANS (4,160 BOXES)/ 40FT. HQ                                                                                                                                                                                              +82.43.544.8388 /
                                                                 REFRIGERANT GAS R‐13 [MORE]


        1/22/2019 MONDY GLOBAL INC          PUREMANN INC         R410A IN 25LB DOT 39 DISPOSABLE           SOUTH KOREA            HOUSTON,TX            NOT DECLARED            26,296.00 K                      1,520.00 CYL                            1 12118 VALLIANT SUITE 206 SANANTONIO    332 13 MAEHWAGOOIN
                                                                 CYLINDER                                                                                                                                                                                  TX78216 US                             RO JANGAN MYEON
                                                                                                                                                                                                                                                                                                  BOEUN CHUNGBUK
                                                                                                                                                                                                                                                                                                  KR




      Source: Descartes Datamyne




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Attachment 2




                           Exhibit 14




                                  JA552
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    Attachment 2
퓨어만 주식회사


       KOREAN / ENGLISH




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                     For your Safety, Property and
                                Nature
                                     UL & FM approved fire extinguishing agents




       퓨어만 주식회

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                                                      JA553
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    Attachment 2
퓨어만 주식회사




                사
                       Various applications in our life
      대표이사 : 이민석 김태한
      본사 및 공장 : 충북 보은군 장안면 매화구인로   332-13 (구인리
                            Our products   can be192-20 번지),to
                                                   applied   28916
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      전화 : 043-544-8388/8389 / 팩스 : 043-544-8390
      사업자등록번호 : 302-81-24794 / 법인등록번호 : 154111-000882 / 무역업고유번호 : 30729379 / 통신판매업신고 : 제2014-44-20076-30-2-
      00007
      원화입금계좌번호 : 기업은행 516-057254-01-015 퓨어만(주)

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                         Purified & Mixed Products in
                                    Korea
                                  Various products of PureMann are being produced in Korea




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                                                          JA554
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    Attachment 2
퓨어만 주식회사




                                                                                               [i.]
                                                                                               NFPA
                                                                                  APPROVED




                     For your Safety, Property and
                                Nature
                                     UL & FM approved fire extinguishing agents




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                                                      JA555
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                           Exhibit 15




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Attachment 2


     Exhibit 15


       I.      U.S. importers identified by Commerce in affirmative anti-circumvention inquiries
               completed in 2020

                  Reblended R-421A anticircumvention determination:

                          L.M. Supply, Inc.,
                          Cool Master U.S.A., L.L.C.,
                          BMP USA, Inc.
                          iGas USA Inc.
                  Indian Blends anticircumvention determination:
                          *Altair Partners, LP,
                          Dynatemp International,
                          GFL Americas, LLC,
                          *Kivlan & Company, Inc., and
                          *Mondy Global, Inc.
                  Unfinished Blends anticircumvention determination:
                          *Weitron, Inc.


      II.      U.S. importers with histories of transshipment or non-compliance with country of
               origin requirements that merit consultation with CBP before awarding consumption
               allowances

                          L.M. Supply, Inc.
                          *iCool Inc.,
                          Puremann, Inc., and
                          Carquest Corporation

            * Indicates the importer is listed in Table 4 of the EPA Production and Consumption Tables
            (April 2021).




                                                     JA557
